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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

______________________________
STEPHEN DALE BARBEE,               §
                                   §
                Petitioner,        §
                                   §
         vs.                       §                  Civil Action No. 4:09-cv-074-Y
                                   §
WILLIAM STEPHENS,                  §
                Director,          §
Texas Department of Criminal       §
Justice, Correctional Institutions §                     (Death Penalty Case)
Division,                          §
                 Respondent        §
______________________________ §


            FIRST AMENDED PETITION FOR WRIT OF HABEAS CORPUS
                              (Post-Exhaustion)

       TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

       Petitioner Stephen Dale Barbee is currently confined in the Polunsky Unit of the Texas

Department of Criminal Justice, Livingston, Texas, in the custody of the Respondent, the Director

of the Correctional Institutions Division of the Texas Department of Criminal Justice. Mr. Barbee

is confined in violation of the Constitution and laws of the United States, and files this First

Amended Petition for a Writ of Habeas Corpus pursuant to 28 U.S.C. §2254 et. seq. in order to

secure the reversal of his capital murder conviction and sentence of death, and for his release from

confinement.1




       1
          Mr. Barbee’s initial petition and exhibits in support of that petition were filed in this
Court on November 10, 2010. (Docket Nos. 24-29.) On May 5, 2011, this Court stayed
proceedings and held the petition in abeyance in order to allow Mr. Barbee to exhaust his issues
in state court in a subsequent petition. (Docket No. 47.) This “First Amended Petition” is filed
following the state court’s dismissal of the subsequent petition.
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       In support thereof, Mr. Barbee would show the following:

                                                 I.

                      JURISDICTION AND PROCEDURAL HISTORY

       Mr. Barbee (“Petitioner”) invokes the jurisdiction of this Court pursuant to 28 U.S.C. §2254

et. seq. Petitioner is a citizen of the United States and a resident of the State of Texas, and is

incarcerated in the custody of Respondent, the Texas Department of Criminal Justice, Correctional

Institutions Division. Petitioner is indigent, is represented by undersigned counsel of record and

is unable to provide funds for any aspect of his representation.

       Petitioner was charged in an indictment, returned on December 20, 2005, with the offense

of capital murder (two murders during the same transaction). (Exhibit 1, Indictments of Feb. 25,

2005; April 27, 2005; Dec. 20, 2005.)2 Tex. Penal Code Ann. Sec. 19.03(7)(A)(Vernon 2003). On

Feb. 25, 2005, attorney William H. Ray was appointed to represent Petitioner and on March 4, 2005,

attorney Tim Moore was appointed as co-counsel. (Exhibit 2, orders appointing counsel.) On

February 23, 2006 Petitioner was convicted by a jury of the offense of capital murder in the 213th

Judicial District Court of Tarrant County, Texas, Judge Robert K. Gill presiding. (Exhibit 5, Court’s

Charge and guilty verdict as guilt/innocence phase of the trial.) The jury subsequently answered the

special issues submitted pursuant to Texas Code of Criminal Procedure article 37.071, and pursuant

to those answers the trial court set punishment at death on February 27, 2006. (Exhibit 6, Court’s

Charge on Punishment and verdict; Exhibit 7, Judgment and Verdict.) Tex. Code Crim. Proc. Art.




       2
          References to “Exhibits” refer to the exhibits previously filed in this matter in support
of Petitioner’s original petition, Exhibits 1 through 47, and the new exhibits filed with this
amended petition. The additional exhibits were all part of the state court record in the
subsequent writ proceedings and are numbered beginning at Exhibit 48.

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37.071 sec. 2(g).

       Petitioner appealed this conviction and death sentence in cause No. AP-75,359. The

following issues were raised on direct appeal:

       1. The evidence is legally insufficient to support Appellant’s conviction for capital
       murder because the State failed to prove that the grand jury exercised due diligence
       in determining the manner and means of Jayden Underwood’s death.
       2. The evidence is factually insufficient to support the jury’s conviction for capital
       murder pursuant to Clewis v. State.
       3. The trial court abused its discretion by refusing to grant Appellant’s challenge for
       cause on Juror No. 126, Denise Anderson, pursuant to Art. 35.16(a)(10) of the Tex.
       Crim. Proc. Code Ann. (Vernon 1995)
       4. The trial court abused its discretion in denying Appellant’s motion to suppress his
       alleged statement made to Detective Carroll in the bathroom of the Tyler Police
       Department in violation of Art. 38.22 of the Tex. Crim. Proc. Ann. (Vernon 2001).
       5. The trial court abused its discretion in denying Appellant’s motion to suppress his
       alleged statement made to Detective Carroll in an office at the Tyler Police
       Department in violation of Art. 38.22 of the Tex. Crim. Proc. Code Ann. (Vernon
       2001)
       6. The trial court abused its discretion in denying Appellant’s motion to suppress his
       alleged statement made to Detective Carroll while traveling to Ft. Worth in an
       automobile in violation of Art. 38.22 of the Tex. Crim. Code Ann. (Vernon 2001).
       7. The trial court abused its discretion in denying Appellant’s motion to suppress a
       recorded conversation with his wife, Trish Barbee, taken at the Tyler Police
       Department in violation of R. 504 (a) Tex. R. Evid.
       8. The evidence is legally insufficient to support the jury’s affirmative answer to the
       first special issue that Appellant “would commit criminal acts of violence that would
       constitute a continuing threat to society.”
       9. The Texas death penalty sentencing scheme is unconstitutional as applied to
       Appellant because it failed to require that the jury was charged on the mitigation
       issue with the “beyond a reasonable doubt” burden of proof.

       On December 10, 2008 the Texas Court of Criminal Appeals affirmed Petitioner’s

conviction and sentence of death. Barbee v. State, No. AP-75,359 (Tex. Crim. App. December 10,

2008)(not designated for publication)(Exhibit 8.)

       Petitioner also sought state post-conviction relief and timely filed an application through

retained counsel Don Vernay. (Exhibit 11, Petition for Writ of Habeas Corpus, Ex parte Barbee).



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 The following issues were raised on state post-conviction review:

       1. Ineffective assistance of counsel at the pretrial stage.
       2. Abandonment by counsel at the trial stage
       3. Ineffective assistance of counsel at the punishment phase
       4. Police misconduct (withholding of the complete videotape of the interrogation)
       (Exhibit 11.)

       The State filed a reply (Exhibit 12) and the state habeas court, Judge Louis Sturns presiding,

found that there were no controverted factual issues (Exhibit 15) and then ordered both parties to

file proposed findings of fact and conclusions of law, which they did. (Exhibits 13, 14.) The state

habeas judge, who was not the trial judge, then adopted verbatim the state’s proposed findings of

fact and conclusions of law, without changing so much as a comma, despite the existence of

controverted factual issues. (Exhibit 15.)    On January 14, 2009, the Texas Court of Criminal

Appeals denied the state post-conviction application for writ of habeas corpus by similarly adopting

verbatim the state habeas court’s findings and conclusions. Ex Parte Stephen Dale Barbee , No.

WR-71,070-01 (Tex. Crim. App. January 14, 2009)(per curiam)(not designated for

publication)(Exhibit 9.)

       Mr. Barbee then filed his motion to proceed in forma pauperis with a supporting affidavit

on February 4, 2009 in this Court. (Docket No. 3). Although this Court ultimately denied the

motion to proceed in forma pauperis, the Court held that “finding does not affect Petitioner’s right

to the appointment of counsel or to funds for investigative or expert assistance, which is governed

by the provisions of 18 U.S.C. § 3599.” (Docket No. 12, Order Clarifying Status, at 2.)

       On October 5, 2009, Mr. Barbee’s case became final on appeal when his petition for writ of

certiorari from his direct appeal was denied by the United States Supreme Court. Barbee v. Texas,

No. 08-10834, cert. denied, October 5, 2009. (Exhibit 44, Supreme Court docket sheet.)

       On October 4, 2010, Mr. Barbee filed his federal petition for writ of habeas corpus in this

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Court. (Docket No. 24.) A few days later, he filed a “Motion to Hold Proceedings in Abeyance to

Allow Petitioner to Exhaust Claims in State Court.” (Docket No. 30.) Respondents filed an

opposition to the motion to stay and hold proceedings in abeyance (Docket No. 35) and Petitioner

filed a reply to that opposition. (Docket No. 38.) On January 18, 2011, Respondents filed an answer

to the petition for writ of habeas corpus (Docket No. 40, hereafter, “RA”) and on March 21, 2011,

Petitioner filed a reply to that response. (Docket No. 43). On May 18, 2011, this Court granted Mr.

Barbee’s motion for stay and abeyance. (Docket No. 47.) On June 24, 2011, this Court ordered the

state application to be filed by July 18, 2011. (Docket No. 51.)

        In accordance with that order, Petitioner filed his state application by July 18, 2011. On

September 14, 2011, the Texas Court of Criminal Appeals issued an order finding that Mr. Barbee’s

conflict of interest claim (Claim 2) satisfied the subsequent writ requirements of Tex. Code Crim.

Proc. 11.051 Section 5(a) and remanded the application to the trial court for consideration of that

single claim. Ex parte Stephen Dale Barbee, No. WR-71,070-02 (Tex. Crim. App. Sept. 14, 2011)

at 2. (Exhibit 48.) That claim, Claim 2 in both these proceedings and in the state courts, is whether

applicant “was deprived of due process and a fair trial because his attorneys had a conflict of

interest.” (Id. at 2.)

        On remand, the trial court ordered a live evidentiary hearing on that claim. (See Exhibits 49,

50 and 51, transcripts of the hearing and hearing exhibits). After the hearing, both parties submitted

proposed findings of fact and conclusions of law. (See Exhibit 53 (Petitioner’s proposed findings

and conclusions) and Exhibit 54 (State’s proposed findings and conclusions).3 The transcript of the



        3
          Petitioner also submitted an “Applicant’s Additional Post-Hearing Submission” based
on the declaration of Stephen Andrew Hall (Exhibit 55) and the state submitted a reply to that
submission, mainly consisting of Mr. Hall’s criminal history. (Exhibit 56.)

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hearing was filed on March 23, 2012. The trial court subsequently adopted the State’s proposed

findings and conclusions verbatim and relief on Claim 2 was ultimately denied by the Court of

Criminal Appeals “[b]ased upon the trial court’s findings and conclusions and our own review.”

The other claims, Claims 1 and 3 through 21 were also dismissed “as an abuse of the writ” because

those allegations “do not satisfy the requirements of Article 11.071 Section 5” on May 8, 2013. Ex

parte Stephen Dale Barbee, No. WR-71,070-02, at 2. (Tex. Crim. App. May 8, 2013)(Exhibit 52.)

       Mr. Barbee has been represented by the following counsel:

1.     William H. “Bill” Ray, Esq.
       515 Main Street, Suite 308
       Fort Worth, Texas 76102
       (Trial counsel, 1st chair)

2.     Tim Moore, Esq.
       Attorney at Law
       115 West Second Street, Suite 202
       Fort Worth, Texas 76102
       (Trial counsel, 2nd chair)

3.     Mary B. Thornton, Esq.
       3901 Race Street
       Fort Worth, Texas 76111
       (Counsel on direct appeal)

4.     Don Vernay, Esq.
       1604 Golf Course Road
       Rio Rancho, NM 87124
       (Counsel on state habeas)

5.     William S. Harris, Esq.
       307 West Seventh Street, Ste. 1905
       Fort Worth, Texas 76102
       (Counsel on petition for writ of certiorari, U.S. Supreme Court)

6.     A. Richard Ellis, Esq.
       75 Magee Ave.
       Mill Valley, CA 94941
       (Federal post-conviction counsel; counsel in subsequent state proceedings; current counsel)


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                                                 II.

                                          TIMELINESS

       Mr. Barbee’s first pre-exhaustion petition was timely filed, as it was filed within one year

of the denial of Mr. Barbee’s Petition for Writ of Certiorari in the United States Supreme Court.

(Anti-Terrorism and Effective Death Penalty Act of 1996 (“AEDPA”), 28 U.S.C. § 2244(d)(1)).

As discussed supra, Mr. Barbee’s state post-conviction application for habeas corpus relief had

been filed and denied while the direct appeal was still pending. (See Exhibit 11, Mr. Barbee’s state

habeas application; Exhibit 8, opinion on direct appeal dated Dec. 10, 2008.) Hence no portion of

the AEDPA one-year period had elapsed in state court prior to the filing of the state habeas petition.

(28 U.S.C. § 2244(d)(1).) This one-year period began to run when Mr. Barbee’s appeal became final

upon the denial of certiorari by the United States Supreme Court on October 5, 2009.4 (Exhibit 44.)

       This first amended petition is also timely filed, as this Court ordered it filed by October 2,

2013. (Court’s Order of September 17, 2013.)




       4
          Not on January 14, 2009, when the Texas Court of Criminal Appeals denied the state
post-conviction application for writ of habeas corpus. “A 1-year period of limitation shall apply
to an application for a writ of habeas corpus...the limitation period shall run from the latest of---
(A) the date on which the judgment became final by the conclusion of direct review or the
expiration of the time for seeking such review.” 28 U.S.C. § 2244(d)(1). Mr. Barbee sought
such review, which was denied by the United States Supreme Court on October 5, 2009, the date
upon which the judgment on direct appeal became final. (Exhibit 44.) See, e.g., United States v.
Thomas, 203 F.3d 350, 354-355 (5th Cir. 2000)(if defendant files timely petition for certiorari on
direct appeal, “time period begins to run when a petition for certiorari is denied by the Supreme
Court or when the Supreme Court issues a decision on the merits.”)

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                                                  III.

                             INCORPORATION BY REFERENCE

        This is Mr. Barbee’s first amended application for federal habeas corpus relief and it is an

amended version of the petition first filed in this Court on October 4, 2010. All prior pleadings and

exhibits in this matter, including the original petition, all subsequent briefs, motions, replies and

responses, and all exhibits and affidavits filed in support of those petitions, briefs, motions, replies

and responses are specifically adopted and incorporated herein by reference. See King v. Dogan,

31 F.3d 344, 346 (5th Cir. 1994)(“An amended complaint supersedes the original complaint and

renders it of no legal effect unless the amended complaint specifically refers to and adopts or

incorporates by reference the earlier pleading”); Boelens v. Redman Homes, Inc. 759 F.2d 504, 508

(5th Cir. 1985); Sam v. Louisiana, 409 Fed. Appx. 758 (5th Cir. 2011).




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                                                  IV.

                                   FACTUAL BACKGROUND

        A. Introduction.5

        Mr. Barbee, a successful business owner with no prior criminal record, was arrested and

charged with the murder of Lisa Underwood, his ex-girlfriend, and her son Jayden which occurred

on February 19, 2005. Soon after Mr. Barbee’s arrest, the police obtained an alleged “confession”

which was mainly based on an unrecorded statement in the police station restroom supposedly

given to the investigating officer. This “confession” was not written up or memorialized until ten

months after it was allegedly made. Because the police threatened him with the death penalty, and

out of fear of his co-defendant’s threats against his family, Mr. Barbee initially told the officer that

the deaths were caused by him, but were accidental and un-premeditated. Immediately upon his

transfer to the county jail, Mr. Barbee recanted this coerced “confession” and has maintained his

innocence ever since. Yet his trial attorneys, who where under pressure from the trial court judge

to plead the case, failed to take any reasonable steps to establish his innocence or to investigate the

facts pointing to the possibility that his employee Ron Dodd had actually committed the murders,

as Mr. Barbee has long maintained.

        The trial itself was a perfunctory two-and-a-half day affair. The defense case at the guilt

phase was a total of about three transcript pages and the penalty phase presentation omitted almost

all of Mr. Barbee’s compelling mitigating evidence. His attorneys, against Mr. Barbee’s express



        5
           This factual summary introduction has been compiled from the record and from the
appendices and declarations and other documents which accompany this petition attached hereto
as exhibits. The factual summary of the trial which follows this introduction has been compiled
from the testimony and evidence introduced at trial, and is not intended as an admission by
Petitioner of the veracity of any of that testimony or evidence.

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wishes, and without first notifying him, confessed his guilt to the jury in the guilt phase final

argument.

        Herein, Petitioner presents compelling evidence that he was pressured into “confessing,” that

he is actually innocent of these murders and was framed, that the State’s case lacks coherence and

was based almost entirely on a false and coerced confession, and that Mr. Dodd had the motive and

has actually subsequently confessed to the murders. It also presents compelling evidence that Mr.

Barbee did not receive a fair trial and was deprived of due process through the failure of his

attorneys to present his case to the jury at both phases of his trial.

        In the initial state habeas proceedings, despite the existence of numerous controverted factual

issues, the state habeas judge, who was not the trial judge, rubber-stamped the State’s pleadings and

proposed orders, without changing a comma. These findings and conclusions were based on, among

other things, an affidavit from the trial attorneys that is full of self-serving misrepresentations,

illogicalities and inconsistencies. The prosecutor-drafted findings and conclusions, some of which

are total nonsense, were eventually adopted verbatim by the Texas Court of Criminal Appeals as a

result of these one-sided proceedings which don’t even come close to a full and fair review.

        Claim 2 involves revelations that show that the trial judge and Petitioner’s chief trial

attorney had a secret agreement designed to move cases quickly through the court while pressuring

defendants into pleading guilty, which is exactly what happened here. When this Court stayed

federal proceedings and Petitioner returned to state court, the Court of Criminal Appeals found that

this claim met the standards for subsequent writ applications under Tex. Code Crim. Proc art. 11.071

sec. 5(a). The trial court held an evidentiary hearing on the claim but, relying mainly on the

testimony of the trial attorneys, denied relief on the claim by again adopting verbatim prosecutor-

prepared findings and conclusions. Petitioner shows herein how the holdings as to that claim and

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his other claims are flawed both factually and legally, as they are contrary to clearly established

federal law and/or an unreasonable determination of the facts. Mr. Barbee respectfully requests that

he be granted relief on his meritorious claims.




       B. Statement of Facts.

       Mr. Barbee was arrested and charged with the capital murder of Lisa and Jayden Underwood

which occurred on the evening of February 19-20, 2005. (24 RR 119-121)(Exhibit 1.)

       i) Suppression hearing.

       On February 3, 2006, a hearing was held in the 213th Judicial District Court of Tarrant

County, the Honorable Robert K. Gill, judge presiding (State v. Barbee, No. 1004856R) on a hearing

on the defense’s motion to suppress certain statements of Mr. Barbee. (Exhibit 4, Motion to

Suppress).

       At that hearing, Ron Dodd was called as a witness and he invoked his rights under the Fifth

Amendment. (15 RR 3-4.)6

       Detective Michael Carroll testified that he was a detective working with the homicide

division of the Fort Worth Police Department and had been involved in the investigation of this case.

(15 RR 5.) His first contact with Mr. Barbee was on February 21, 2005, at about 5:40 p.m. in the

parking lot of Wal-Mart in Tyler, Texas. (15 RR 6.) They then went to the Tyler Police Department

to interview both Mr. Barbee and his business partner Ron Dodd in more detail. (15 RR 8.) They

arrived at the police station at about 7:30 p.m. (15 RR 60.) Stephen Barbee and Ron Dodd were


       6
            “RR” refers to the Reporter’s Record in this matter, with the volume number
preceding the page number. “CR” refers to the Clerk’s Record in similar fashion.

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then placed in separate interview rooms which were wired for sound and video-recording. (15 RR

10-11.) Detectives Carroll and Jameson conducted the initial interview with Mr. Barbee. (15 RR

12.) Initially, Mr. Barbee was given Miranda warnings and he waived his right to counsel. (15 RR

13.) These warnings were given at about 7:45 p.m. (15 RR 60.) At first, Mr. Barbee began to tell

the officers a story that they knew was not true. (15 RR 60-63.) After about 25-27 minutes, there

was a break in the recording in order to document some injuries to Mr. Barbee’s body. (15 RR 16.)

This was about an eight-minute break. (15 RR 17.) During this break, allegedly Det. Carroll told

Mr. Barbee that a white male had been stopped and videotaped by a Denton County deputy the night

of the murders near the location where the victim’s vehicle had been found. Mr. Barbee was told

that the deputy was coming to the station to identify the person on the videotape, who had given a

fake name and then fled after the deputy tried to identify him. (15 RR 17.) Mr. Barbee then

admitted that he was the person who had been stopped by the deputy. (15 RR 17, 62.)

       The tape was re-started and Mr. Barbee was confronted with the issue of running from the

police. (15 RR 19-20.) Det. Jameson left the interview room and Mr. Barbee was alone in the room

for 30 to 35 minutes. (15 RR 22.) At this time, Ron Dodd, being interviewed separately, told the

officers the bodies had been left near FM 407, and Det. Carroll went back and asked Mr. Barbee

“Does FM 407 ring a bell or sound familiar to you?” (15 RR 22.)

       Det. Carroll testified that Mr. Barbee then asked to go to the restroom, and the detective

allegedly accompanied him. (15 RR 25-26.) There, the detective told Mr. Barbee that he had

admitted to running from the police in an area close to where the victim’s vehicle was found and that

Ron Dodd was going to testify against him. (15 RR 27.) Then, allegedly Mr. Barbee stated that he

had killed Lisa and Jayden in a plan involving Mr. Dodd. (15 RR 29-30.) Det. Carroll claimed that

in the restroom Mr. Barbee confessed that he had gone over to Lisa Underwood’s house, could not

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kill her, and then left. Mr. Dodd mentioned getting a “hit man” to do it. Mr. Barbee allegedly

returned, picked a fight with Lisa, killed her and Jayden and then buried their bodies. (Id.)

Supposedly this restroom conversation took about 45 minutes to an hour and no one else entered or

left the restroom while it was taking place. (15 RR 32.) Also, Mr. Barbee allegedly pointed out to

the detectives where the bodies had been left. (15 RR 33-34.)7

        Then Det. Carroll and Mr. Barbee returned to the interview room to put it on tape. (15 RR

33.) At this point, Mr. Barbee asked for an attorney. (15 RR 36, 67-68.) But, nevertheless, the

recording resumed without an attorney being present. (15 RR 37.)

       The next morning, Det. Carroll, accompanied by Mr. Barbee, drove to Denton County. (15

RR 41-42.) The detective had known from about 10 a.m. that morning that the victim’s vehicle had

been recovered, and they drove toward that location. (15 RR51.) They were also aware that the

Denton County Sheriff had stopped a man near the location where the victim’s vehicle had been

found. (15 RR 53.)

       Detective Carroll admitted that the notes upon which he based his testimony were written

two to three weeks before the hearing. (15 RR 49-50.)

       The Court later ruled, at the beginning of Petitioner’s trial, that it would suppress part of the

confession, the portion of Mr. Barbee’s statement to Detective Carroll where the defendant asked

for counsel. (23 RR 2.)




       7
          Det. Carroll admitted that this conversation was not recorded. (15 RR 66.) Nor was it
put into Det. Carroll’s first police report. (15 RR 73-74.)

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       ii) Trial.

       a) The State’s case at the guilt/innocence phase.

       Petitioner’s trial commenced on February 21, 2006 in Forth Worth, Texas, in the 213th

Judicial District Court of Tarrant County, the Honorable Robert K. Gill, judge presiding. (State v.

Barbee, No. 1004856R.) Representing the State were Kevin Rousseau and Dixie Lee Bersano of

the Tarrant County District Attorney’s Office and representing Petitioner were William H. Ray and

Tim Moore, court-appointed attorneys. (23 RR et. seq.)

       At the outset of the trial, the Court ruled that it would suppress the portion of the defendant’s

statement to Detective Carroll where the defendant invoked his rights to counsel. (23 RR 2.) Also

suppressed was the defendant’s statement when Detective Carroll left the room and the defendant

allegedly said something to the effect of “God, what have I done?” (23 RR 2-3.) The Court

overruled the defense’s objections, on the basis of hearsay, to the State’s placement of a

transcription along the bottom of the DVD and overruled their objection (based on the marital

privilege) of a recording of the defendant and Ms. Barbee’s conversation. (23 RR 4.) The Court

also overruled the defense request for a hearing on the qualifications of the experts, as the State had

designated nine such people. (23 RR 5.) The State filed its witness list late, but the defense

objection to fifteen newly-added witnesses was overruled. (23 RR 6.)

       The prosecutor made an opening statement in which he outlined the State’s theory of the

case. (23 RR 10 et seq.) He asserted that Lisa Underwood, age 34, and her son Jayden Underwood

aged 7, were murdered by Stephen Barbee. (23 RR 10-11.) The defense did not offer an opening

statement. (23 RR 19.)

       Paula Hernandez, of the Fort Worth Police Department, was working as a patrol officer on

February 19, 2005. (23 RR 22.) At 3 or 4 in the afternoon she responded to a call at Western Center

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and Beach Street, the site of Boopa’s Bagels. (23 RR 23.) She went there regarding a missing

person by the name of Lisa Underwood. (23 RR 24.) Officer Hernandez then proceeded to Lisa

Underwood’s house. (23 RR 26-27.) There was no sign of forced entry, but she saw a blood stain

on the carpet in the family room. (23 RR 27-28.) Four people accompanied her throughout the

house before this stain was discovered. (23 RR 37.) Under the coffee table was a bigger stain,

about three by four feet. (23 RR 29.) It looked like somebody had cleaned it with soap. (23 RR

31.) The house was then cleared (23 RR 32) and crime scene officers arrived. (23 RR 34.) Two

or three days later, this officer was involved with the recovery of the victim’s Durango SUV. (23

RR 35.) However, she made no written report on this case. (23 RR 36.)

       Holly Pils was the co-owner of Booga’s Bagels with the victim Lisa Underwood. (23 RR

39.) She had first hired Lisa Underwood to work at a bagel shop in 1999. (23 RR 40.) In 2000,

this shop went bankrupt, but she decided to go into business with Lisa at the same location under

a new name. (23 RR 43, 66-67.) They named it after Jayden, as “Boopa” was his nickname. (23

RR 43.) Ms. Pils knew Stephen Barbee as a customer at the shop. (23 RR 46.) She also knew that

Lisa and Stephen had a relationship during the fall of 2003. (23 RR 47, 69.) They split up and Lisa

then dated a man named Ed Rogers from the end of January 2004 until the summer of 2004. (23 RR

48, 69.) But she continued to date Stephen Barbee in the summer of 2004. (Id.) Lisa got pregnant

in July and she believed it was Stephen’s baby (23 RR 50) but she wasn’t sure. (23 RR 71.)

       In mid-February of 2005, both Lisa and Jayden were ill. (23 RR 50.) Jayden had flu-like

symptoms and missed school. (23 RR 50.) Lisa also felt bad and missed work on Wednesday

afternoon, Thursday and Friday, February 16 through the 18th. (23 RR 51-52.) Holly Pils talked with

Lisa on the telephone three times on Friday. (23 RR 53.) Lisa was starting to feel better. (23 RR

53-54.) They last talked about 7:45 p.m. that Friday evening, February 18th. (23 RR 55.) A baby

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shower was planned for the next day at the bagel shop. (23 RR 55.) Lisa was to be there a little

before 4 p.m. (23 RR 56.)

       Ms. Pils went to work on Saturday. (23 RR 58.) She tried to call Lisa but there was no

answer. (23 RR 58.) Everyone arrived for the baby shower by 4 p.m. but Lisa and Jayden did not

show up. (23 RR 60.) At about 4:15 they started calling hospitals. (23 RR 60.) Lisa’s mother went

to her house to check on Lisa and then returned. (23 RR 60.) At about 4:30 they called the police

and they went back to her house. (23 RR 61.) Ms. Pils went to Lisa’s house around 6:30 or 7:00

but the police were telling everyone to get out as it was now a crime scene. (23 RR 62.) Jayden’s

shoes were seen on the fireplace mantel, where they were normally left so the dog would not chew

them. (23 RR 62.)

       David Brawner, an employee of the Denton County Sheriff’s Office, testified that on

February 18, 2005, he was on night duty. (23 RR 78-79.) In the early hours of February 19, at about

3 a.m., he was on the I-35 service road heading north towards Denton when he saw an individual

walking northbound on the road. (23 RR 81.) The area is sparsely populated and he did not see

anyone else there. (23 RR 82.) The officer pulled up behind him and turned on the lights and video

recording system as he thought this was a suspicious person. (23 RR 82.) The pedestrian just

stopped but did not turn around. (23 RR 82.) He was wearing a dark sweatshirt, jeans and tennis

shoes. (23 RR 82.) The officer got out of his car and noticed that the pedestrian was covered with

mud and his clothes were wet. (23 RR 84, 88.) The pedestrian said he had an altercation with a

friend and his wallet was at the friend’s residence. (23 RR 84.) The man gave a name, David

Weekley, and a date of birth. (23 RR 84.) He was about 5 feet 6 inches, 160 pounds, and

Caucasian. (23 RR 86.) The officer then ran this information through the system. (23 RR 85.)

Police dispatch said there was no information on this individual and when the officer exited his car

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to talk to him about it, the person ran. (23 RR 87.) The officer pursued him. (23 RR 87.) The

individual got tangled in a barbed wire fence but got out and ran north. (23 RR 88.) Other officers

joined the hunt and set up a perimeter. (23 RR 90.) They searched for two hours but lost him. (23

RR 91, 111.)

       The videotape of this pedestrian stop was introduced into evidence over defense objections.

(23 RR93-94, 95.) It was played for the jury. (23 RR 99.) The clock on the tape was not accurate,

it was 30 minutes fast. (23 RR 94.) The witness identified Mr. Barbee as the man he stopped that

night. (23 RR 95.)

       Two days after the flight of the suspicious person, on February 21, Officer Brawner was

called out to the scene of the pursuit. (23 RR 96.) A Dodge Durango was found part-way in a creek.

(23 RR 97, 111.) It was about 300 yards from where he had stopped the defendant. (23 RR 114.)

The officer was shown a photo spread and he identified Mr. Barbee as the man who had fled. (23

RR 113.) He was 100 per cent positive. (23 RR 113.)

       Troy Lawrence, a detective with the Forth Worth Police Department, went to the scene

where the bodies were recovered. (23 RR 117.) He was later called back when divers recovered

a purse in the water. (23 RR 117.) It was completely waterlogged. (23 RR 121.)

       Mr. Lawrence had been the computer forensics expert for the Fort Worth Police Department

since 2000. (23 RR 123.) This witness’s purpose was to discuss Lisa Underwood’s computer. (23

RR 126.) He stated that a web page was logged onto at 11:43 p.m. on February 18 and disconnected

at 12:02 a.m. (23 RR 126, 131.)     This computer had been seized by a police detective. (23 RR

128.) Lisa was on the computer for about 40 minutes. (23 RR 131.) There was no way to tell if

Lisa logged off or was automatically disconnected. (23 RR 134.) The computer would have to have

been used up to 11:52 p.m. as there was a disconnection after ten minutes of inactivity (23 RR 135)

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or, alternatively, she could have been using it until 12:02 a.m. (23 RR 135.)

       Dr. Marc Krouse performed the autopsy on Lisa Underwood. (23 RR 137.) He was the

Deputy Chief Medical Examiner in Fort Worth covering Tarrant, Denton and Parker Counties. (23

RR 141.) In a hearing outside the presence of the jury, Dr. Krouse stated that, in his opinion, the

cause of death of Ms. Underwood was traumatic asphyxiation by either suffocation or compression,

and it was a homicide. (23 RR 137, 140.) There were a number of abrasions and bruises to her face

and lips. (23 RR 137.) There was also evidence of the compression of her teeth against her cheek

and bruises under her scalp and on her back. (23 RR 138.) She also had a broken forearm just

above her wrist and her thumb was also broken. (23 RR 138, 162, 167.) The victim was seven and

a half months pregnant. (23 RR 139.)

       In front of the jury, Dr. Krouse stated that he was at the scene where the bodies were found

under a pile of brush and dirt. (23 RR 145.) Lisa Underwood was clothed in underpants and a t-

shirt with sleep clothes underneath her body. (23 RR 146.) At 3 p.m. that day, there was still a little

rigor mortis in her body. (23 RR 147.) Normally, rigor mortis disperses in 24 to 36 hours but can

last longer in cold environments. (23 RR 148.) Cooling causes rigor mortis to persist longer. (23

RR 148.)

       The victim had a black eye, a contusion of the lower lip and face, an abrasion on her cheek

and in her armpit, several bruises on her back and on her right wrist. (23 RR 148-149, 153.) There

were bruises under the scalp and hemorrhage of the muscle that did not show externally. (23 RR

152.) Some scratches were caused around the time of death. (23 RR 155.) There was evidence of

blunt force trauma caused by having a great force applied to her. (23 RR 155-157.) However, the

witness could not say what type of force caused the injuries. (23 RR 158.) As for the compression

force required, it had to be sufficient to asphyxiate someone (five to seven minutes of 100 to 300

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or 400 pounds of force) which would have caused the type of soft tissue injury, and not bony

trauma, seen by the witness. (23 RR 158-159.)          The facial injuries could have been from a

moderate blow. (23 RR 159.) The external injuries were consistent with blunt force injury. (23

RR 160.) The patterned injuries were probably due to pressure or pressure with a blow component

to it. (23 RR 160.) Force was applied over a very broad area of the victim’s back. (23 RR 160-

161.) The broken bone in her forearm indicates that the force was applied from above, a shearing

force. (23 RR 169-172.) It would have required several minutes to cause her death, from two to

three minutes to seven or eight. (23 RR 163.)

       The body had been secreted and concealed, which, in the witness’s opinion, increased the

chances it was a homicide. (23 RR 165.) The doctor was quite confident that it was a homicide.

(23 RR 166.) He speculated that the bruises on the victim’s back could have been caused by

someone sitting on her. (23 RR 174-175.) The doctor was allowed to answer the speculative

question, “is there anything that is inconsistent with Lisa Underwood being beaten followed by or

contemporaneous with her face being forced to the floor while her assailant sat or kneeled on her

back?” (23 RR 180.)

       The cause of death was traumatic asphyxiation, in the witnesses’s opinion. (23 RR 181.)

This involved the fatal deprivation of oxygen to the victim’s brain through an obstruction. (23 RR

182.) The doctor was also allowed to speculate that “[t]he allegation here is that Lisa’s death was

caused by smothering her with the weight of a body or with an object that is unknown or by a

combination of the two.” (23 RR 183.) It could take up to seven minutes for death to occur. (23

RR 184.) But someone could lose consciousness within seven or eight seconds. (23 RR 184.) His

opinion was that it would take two or three minutes of applied force to lose consciousness. (23 RR

185.) The more the airway is obstructed, the faster it would be. (23 RR 188.) The unborn fetus

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was seven to seven and a half months of gestational age. (23 RR 186.) It would have been a viable

fetus had she been born that day. (23 RR 187.) Ms. Underwood’s arm may have been struck or

punctured with something. (23 RR 190.) In the witness’ opinion, she was certainly in a fight of

some sort as she had a black eye and other bruises. (23 RR 191.) Dr. Krause opined that the cause

of death was a homicide at the hands of another. (23 RR 194-196.) “The other injuries tell me that

this happened in the context of an altercation, of a fight, basically.” (23 RR 195.) There were

bruises on the victim’s hands. (23 RR 197.) The victim may have stopped breathing and started

again. (23 RR 199.)

       Kyle Sullivan, a Fort Worth police officer, testified as a blood stain analyst. (23 RR 200-

205.) On February 19, 2005, he was called to the victim’s house at 3745 Chaddybrook. (23 RR

206-207.) He saw a blood stain on the living room floor and also smaller stains on an entertainment

center and a couch cover. (23 RR 206-208.) There were also blood stains on the garage floor. (23

RR 208, 212.) The next day, this officer returned to the house and made a videotape. (23 RR 211.)

       It appeared to the witness that an attempt had been made to clean up or wipe the carpet in

the area of the blood stain. (23 RR 216.) It was a saturation stain which indicated that someone

above it was bleeding. (23 RR 217.) There also appeared to be a “cast off” blood stain on the walls.

(23 RR 219.) Some of the blood drops on the cushions appeared to be just straight down. (23 RR

221-222.) There was also blood on the interior of the door knob. (23 RR 223.) Another stain

appeared to be from a hair swipe across the floor. (23 RR 224.) The witness also collected latent

prints from the house. (23 RR 225-226.) In all, 64 prints were taken and 27 swabs of what might

be blood. (23 RR 247.) The evidence was turned over to the Fort Worth Police crime lab. (23 RR

245, 249.)



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       On February 21, 2005, the witness went to the suspect Stephen Barbee’s house at 4108

Walnut Creek and looked in the trash but found nothing significant. (23 RR 227.)

       When the victim’s vehicle, the Durango, was found in the creek, Officer Sullivan inspected

it. (23 RR 229.) He found a Windex window cleaning solution on the seat. (23 RR 231.) A brown

leather purse belonging to the victim was also recovered. (23 RR 233.) The witness also took five

swabs from the Durango and turned them over to the crime lab. (23 RR 251.)

       Next, Officer Sullivan went to an address, 4315 Farm-to-Market Road 407, that was believed

to be a possible burial place of the victims. (23 RR 236.) The next day, the burial site was found

and photos were taken of the recovery of the victims from that site. (23 RR 237.)

       Laurie Scheieirn, a Fort Worth police officer, testified that on February 21, 2005 she was

sent to a location in Denton, Texas, where a vehicle had been found in a creek. (24 RR 3-4.) A

couple of pieces of blue denim had been found nearby on a fence-post barbed wire. (24 RR 4.) She

took photos of that and other evidence. (24 RR 5-7.) Two pieces of duct tape were found near

where the victim’s bodies were recovered. (24 RR 9.) The duct tape was sent to the property room.

(24 RR 16.)

       Joel Downs served on the grand jury that indicted Mr. Barbee. (24 RR 20-21.) The

indictment read that “Jayden Underwood was killed by smothering him with a hand or by a means

unknown to the grand jury” and that “Lisa Underwood was smothered with the weight of a body or

with an object unknown to the grand jury or a combination of the two.” (24 RR 21, 26.) They

voted a true bill in this case. (24 RR 22.)

       Connie Patton, a DNA tester for the Tarrant County Medical Examiner’s Office, testified

out of the presence of the jury that she ran the tests for blood. (24 RR 28.) The tests were positive

on swabs from door knobs, the wall, a blanket, the carpet, and tissue paper. (24 RR 28.) There

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were negative tests from the north living room wall, a bathtub water knob, the garage opener, blue

jeans, socks, the two pieces of duct tape, the steering wheel, and swabs from the garage floor. (24

RR 29.) There were no findings of sexual assault on either victim. (24 RR 30.)

       Blood matching Lisa Underwood’s DNA was found on the car door knob, and the east living

room wall. (24 RR 31.) Stephen Barbee and Ronald Dodd were excluded as possible contributors

to male DNA found on the couch cover. (24 RR 32.) Jayden’s DNA profile was found on the tissue

paper. (24 RR 32.)

       In the presence of the jury, Ms. Patton testified that she took some swabs from the deadbolt

knob, the east living room wall, and they matched the DNA profile of Lisa Underwood. (24 RR 42.)

A swab from the garage floor and the entertainment center also matched her DNA profile. (24 RR

44.) Various swabs from the Dodge Durango were also offered in evidence. (24 RR 46.) However,

no conclusions could be made about them. (24 RR 47-48.) A hair root on the duct tape was found

to fit Jayden Underwood’s DNA profile. (24 RR 50.) A blood stain was found on the couch cover,

but both Mr. Barbee and Mr. Dodd were excluded as being possible contributors. (24 RR 50.) Lisa

Underwood tested negative for sexual assault. (24 RR 51.) Other items, such as the blue jeans, were

also tested with negative results. (24 RR 53.)

       On cross examination, the witness stated that skin cells could be expected to adhere to the

duct tape if it was on a person for several hours. (24 RR 58.) Both Mr. Barbee and Mr. Dodd were

excluded from all profiles she took. (24 RR 60.)

       After the testimony of this witness, a stipulation was received that evidence samples were

also received from the fingernails of Jayden and Lisa and nothing linking Mr. Barbee or Mr. Dodd

to them was found. (24 RR 63-64.)



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       Michael Carroll, a Fort Worth homicide detective, testified that he was the lead detective

in this case. (24 RR 68-69.) He first became involved when the vehicle was recovered. (24 RR

70.) He was asked to go to Tyler to interview Mr. Barbee and Mr. Dodd. (24 RR 70.) Another

detective, Dick Galloway, eventually became the lead detective. (24 RR 71.) According to the

witness, Det. Galloway’s notes were not detailed and some of the times were incorrect, so Detective

Caroll later corrected them in his report. (24 RR 74.) His interview of Mr. Barbee was recorded.

(24 RR 74.) Detective Carroll admitted that in order to get to the truth, he sometimes lies to the

person under investigation. (24 RR 75.)

       Detective Carroll first went to the vehicle recovery site. (24 RR 76.) He had heard of the

incident involving the Denton County officer who made an investigative stop close to where the

vehicle was recovered and he knew that the deputy involved had made an identification of Mr.

Barbee from a photo spread. (24 RR 78.) Due to that identification, Detective Carroll became more

suspicious of Mr. Barbee. (24 RR 79.)

       They went to Tyler to interview him (24 RR 80) and they met in a Wal-Mart parking lot.

(24 RR 82.) First they taped an interview with Mr. Barbee’s wife Trish Barbee, to find out when

she had last seen him that night. (24 RR 82.) Ron Dodd and Stephen Barbee then drove to the Tyler

Police Station because Det. Carroll wanted to interview them in a proper place. (24 RR 83.) Mr.

Dodd and Mr. Barbee were placed in different rooms in the police station. (24 RR 84.)

       Mr. Barbee was cooperative and was read his Miranda rights. (24 RR 85.) The interview

was recorded. (24 RR 85.) The interview was received in evidence over defense objections (24 RR

86) and it was played for the jury. (24 RR 88.)

       The detectives had learned that the person who ran from the officer that night had cut his leg.

(24 RR 89.) At this point, the detectives were fairly certain that Mr. Barbee was the person who had

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run from the deputy on the might in question. (24 RR 89-90.) Det. Carroll told him that they had

a video of a person running and that an officer from Denton County was going to look at him to see

if he could identify Mr. Barbee. (24 RR 90.) At that point, Mr. Barbee admitted he ran. (24 RR

90.) Mr. Barbee had injuries to his arms and legs. (24 RR 91.) Then there was an eight-minute

break in the tape recording. (24 RR 91-92.)

       Detective Jameson was talking with Mr. Barbee and Det. Carroll was upset as it had been

planned that both of them would leave the room together. (24 RR 94.) Det. Carroll talked to his

superiors about getting a warrant for Mr. Barbee’s arrest based on his confession to running. (24

RR 95.) The detective also wanted to know what Mr. Dodd was telling Det. McCaskill. (24 RR 95.)

In that interview with Mr. Dodd, they learned about the location of the bodies and then Det. Carroll

went back to Mr. Barbee and asked “Does FM 407 sound familiar to you?” (24 RR 98.)

       Then Mr. Barbee allegedly asked to go to the restroom. (24 RR 99.) In the restroom, Det.

Carroll allegedly told Mr. Barbee that “Dodd’s going to lay this whole thing in your lap” and “Dodd

is basically saying you are a cold-blooded killer.” (24 RR 100.) Detective Carroll admitted that this

was not true. (24 RR 101.) The detective also told Mr. Barbee that Lisa’s family needed closure.

(24 RR 102.) According to Detective Carroll, Mr. Barbee then told him the following: that he was

going to jail for the rest of his life and that he and Dodd had created a plan to kill Lisa as she was

trying to take money from him and ruin him and his relationship with his wife. (24 RR 102-103.)

He believed that Lisa was carrying his child. (24 RR 103.) Barbee was going to drop his car off

at Dodd’s house, go to Lisa’s house and pick a fight with her. (24 RR 103.)       Then he was going

to put her body in her vehicle and drive it up north with Dodd following and then dispose of the

body. (24 RR 103.) But she wouldn’t pick a fight and Barbee left the house, called Dodd and said

he couldn’t do it. (24 RR 103.) Barbee then changed his mind and Dodd took him back to Lisa’s

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house. (Id.) Lisa got upset, Barbee wrestled her to the ground and held her face down to the carpet

until she stopped breathing. (24 RR 104.) Jayden came in and started crying and he was smothered.

(24 RR 105.)

       Then Barbee put the bodies into Lisa’s SUV and drove it to a road off FM 407 where they

buried both bodies. (24 RR 105.) Barbee also allegedly said that he tried to clean up the house with

a solvent and covered a blood spot with furniture. (24 RR 106.) He also described where the bodies

were buried. (24 RR 106.) Through these directions, the detective went to the location and found

the bodies. (24 RR 107.) Dodd supposedly provided Barbee with shovels. (24 RR 108.) Barbee

also said he had parked Lisa’s car near the creek but not in it. (24 RR 109.) He then agreed to put

this bathroom conversation on tape but he did not want to talk about Ron Dodd’s involvement. (24

RR 109.) This unrecorded restroom interview took about 45 minutes to an hour. (24 RR 110.) Det.

Carroll admitted he did not take notes during this restroom conversation. (24 RR 111.)

       They went back to Det. Cashell’s desk to use a computer to obtain a location for the bodies.

(24 RR 112.) Barbee gave very specific information as to where the bodies were. (24 RR 113.)

Then they continued the conversation on tape. (24 RR 115.) This was played for the jury. (24 RR

117.) Mr. Barbee’s wife Trish entered the room and was told that he had confessed to killing Lisa

but not Jayden. (24 RR 118.) Eventually Mr. Barbee was arrested. (24 RR 120-121.)

       The next day, Mr. Barbee and the detectives drove to the spot Barbee described as the burial

site. (24 RR 122, 146.) In the pickup, Barbee said he did not want to see the bodies and he didn’t

want to see the media. (24 RR 123.) As they got closer, Barbee had them change their route and

they went through a back way. (24 RR 125.) The police had diverted the media elsewhere. (24 RR

125-126.) There were two piles of rubble and the detective saw Lisa’s clothes protruding from the

earth. (24 RR 130.) Both bodies were recovered. (24 RR 130.)

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       On cross examination, Det. Carroll stated that Det. Galloway was the lead detective on the

case. (24 RR 134.) Det. Carroll admitted that his report was not detailed in regard to the alleged

bathroom interview at the Tyler Police Department. (24 RR 134.) Nor did Det. McCaskill’s report

have enough detail about the alleged bathroom interview. (24 RR 135.) The only report that was

generated was a five page report in December 2005, ten months after the incident. (24 RR 136.)

There were some inaccuracies in Detective McCaskill’s report, such as that he spoke with Barbee

at 18:55, but actually they were still at the Wal-Mart at that time. (24 RR 136-137.) There was no

video or audio equipment in the bathroom nor did he take notes. (24 RR 138, 144.) In the report,

there were no details about the plan between Dodd and Barbee. (24 RR 140.) The witness stated

that it was legal to lie to a suspect to induce him to confess. (24 RR 142.) Once he confessed, Mr.

Barbee began crying. (24 RR 145.) At a prior hearing, the witness said Mr. Barbee told him he had

held Lisa down too long. (24 RR 148.) The witness agreed to tell the district attorney that Barbee

was remorseful in order for him to cooperate in finding the bodies. (24 RR 150.)

       Dr. Lloyd White, a deputy Tarrant County Medical Examiner, testified that he performed

an autopsy on Jayden Underwood on February 23, 2005. (24 RR 155.) The witness observed a

bruise on his upper left back, an abrasion just below the top of the shoulder, scratches on the calf,

discoloration around the right eye, contusions on the lips and “small pinpoint hemorrhages that are

associated with increased pressure in the chest and are sometimes seen with asphyxial death, or

death due to lack of oxygen, associated with increased pressure on the chest.” (24 RR 156, 162.)

       Dr. White testified that “petechiae” are “little pinpoint hemorrhages” sometimes seen

“around the face and sometimes on the internal organs in association with asphyxial death, such as

strangulation where the neck is constricted.” (24 RR 156-157.) The witness speculated that the

bruises of the membranes “could” have been the source of blood fluid in the mouth. (24 RR 157.)

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The injuries to the lips and gums are caused by compression, “some object put over the area of the

mouth pressing on the mouth and compressing the lips against the underlying teeth.” (24 RR 158.)

Scrapes and scratches appeared to be antemortem, caused before death. (24 RR 159.)

        In Dr. White’s opinion, the cause of death was “asphyxia by smothering...obstruction or

occultation of the airway externally by something being put over the face and the mouth so that

adequate oxygen and air is not supplied to the organs and tissues of the body.” (24 RR 160.)

Something hit the victim in the head, causing a hemorrhage, before he died. (24 RR 163.) There

were also abrasions and scratches that were probably not caused before death. (24 RR 163.) The

manner of death was homicide. (24 RR 160.) The witness said that he could not determine whether

the death was caused by a hand over his mouth, or his mouth being pressed against a couch or a

carpeted floor. (24 RR 166-167.) There was no evidence that Jayden had been bound with tape.

(24 RR 167.)

        The State rested after this witness. (24 RR 169.)

        The defense asked for an instructed verdict based on a lack of evidence that Lisa or Jayden

Underwood were killed or transported in Tarrant County. (24 RR 169.) The motion was denied.

(24 RR 169.) The defendant also moved for an instructed verdict on capital murder due to a lack

of evidence that the defendant acted intentionally or knowingly, and this too was denied. (24 RR

169.)




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       b) The defense case at the guilt/innocence phase.

       The defense called Ron Dodd, outside the presence of the jury. (24 RR 170.) Mr. Dodd

invoked his rights under the Fifth Amendment. (24 RR 170.)

       Then the defendant stated that he did not want to testify. (24 RR 171-173.)

       Stanley Keaton was called as a defense witness. (24 RR 174.) He was the defense

investigator and served subpoenas for cell phone records from the City of Fort Worth on February

21 through February 22, 2005. (24 RR 175.) He also requested policies and procedure manuals

relating to taking statements and confessions from witnesses and suspects. (24 RR 175-176.) These

records were admitted into evidence. (24 RR 177.)

       The defense then rested. (24 RR 176.)

       The state argued that Mr. Barbee committed the murders. There was a running defense

objection to the comments allegedly made by Mr. Barbee. (25 RR 6.) Defense counsel confessed

Mr. Barbee’s guilt to the jury without his permission and argued that the killings were not

intentional. (25 RR 8-18.)

       Mr. Barbee was found guilty of capital murder on February 23, 2006. (25 RR 24-25.)




       c) The prosecution’s case at the punishment phase.

       The punishment phase of the case began the same day the guilty verdict was returned. (25

RR 27.)

       Theresa Barbee, Mr. Barbee’s ex-wife, testified for the State. (25 RR 28.) Stephen and

Theresa were married from 1996 until December of 2003. (25 RR 29.) They owned several

businesses together. (25 RR 29.) “All Four Seasons” was a tree service that developed into a larger

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entity that did tree cutting and removal for the State Department of Transportation. (25 RR 30.)

They also owned “Cowboy Cutters,” a concrete cutting business. (25 RR 30-31.) All Four Seasons

did well and was awarded government contracts. (25 RR 32.) But when they acquired Cowboy

Cutters, things went downhill. (25 RR 33.) They borrowed a million dollars to buy the business.

(25 RR 33.)8

       Stephen allegedly assaulted his wife Theresa twice in the course of the marriage. (25 RR

34.) The first fight occurred when they were living in an apartment in Forth Worth, and the next one

was when they lived in a metal building they had bought for the company. (25 RR 34-36.) The

police were called both times, but Teresa did not have any injuries. (Id.) The defense objected to

these instances because of an untimely-filed “Notice of Extraneous Offenses.” (25 RR 38.)

       The next fight involved Mr. Barbee knocking something off the wall and it accidentally hit

Theresa. (25 RR 40.) As she was knocked unconscious, she asked to be taken to a hospital, and

when he refused, she drove herself. (25 RR 42.) She had a concussion. (25 RR 43.) Stephen later

showed up at the hospital. (25 RR 44.)9

       The next fight was in 2002 when Theresa admitted she egged him on and Stephen hit her in

the arm. (25 RR 45.) She suffered a bruise. (25 RR 45.) Another incident was recalled from 2003

when she hit Stephen at a party and he left her for good. (25 RR 47-48.) He did not move back to




       8
         Theresa had previously worked as an airline stewardess but was injured on the job.
(25 RR 148.)
       9
           The witness also testified about Stephen once joking about throwing her through the
wood chipper and on July 4, 2003, when he said it, she thought he was serious. (25 RR 64-65.)
But at the grand jury hearing, Theresa had earlier testified that she did not think Stephen was
serious when he said this at the July 4th party. (25 RR 65-67.)

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the house. (25 RR 48, 68.)10 All told, they had 3 or 4 fights. (25 RR 67-68.)

       Theresa recalled another incident about one year after their marriage when Stephen’s car was

cut off by a careless driver, and he became angry and followed the driver. (25 RR 50-52.) Stephen

threw a punch at the driver through the window. (25 RR 51.)

       At the time of the murders, Theresa’s boyfriend was Ron Dodd. (25 RR 52.) They met in

2003 when Stephen hired him in the concrete business. (25 RR 52.) Mr. Dodd left the company and

then returned. (25 RR 53.) In December of 2003, Theresa was divorced from Mr. Barbee and she

started dating Mr. Dodd almost immediately, at the beginning of 2004. (25 RR 53-54.) Later on,

he moved into her house. (25 RR 54.) At the time of the trial, Mr. Dodd was charged with

tampering with the evidence and faced up to 20 years in prison. (25 RR 55.)

       Theresa and Stephen’s divorce was on the grounds of incompatibility. (25 RR 56.) Mr.

Barbee had been close to his sister Cathy, who died shortly after giving birth to a daughter, and to

his brother David, who died at the age of 21. (25 RR 58.) At the time of the trial, Theresa had

come to own Cowboy Cutters; All Four Seasons was no longer operating. (25 RR 58.)          Theresa

admitted that she took papers to Stephen when he had been in jail three or four days and had him

sign over the businesses to her. (25 RR 59-61.) She claimed the business was not worth anything

at that time. (25 RR 62.)

       When Lisa and Jayden were killed on February 14, 2005, Stephen was working for All Four

Seasons (25 RR 71) with Ron Dodd. (25 RR 74.) At that time, there were problems between her

and Trish, Stephen’s new wife, and Stephen’s mother. (25 RR 74.) There was also an ongoing

fight about money that week. (25 RR 75.) Ron was also working in the concrete business. (25 RR


       10
          The house in question was 4000 square feet with a movie room and a pool. (25 RR
63.) Stephen’s mother helped them pay for it. (25 RR 63.)

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75.) That week, Stephen was upset because he was told that his father had colon cancer. (25 RR

75.) Stephen was also having headaches because he had been in an accident several weeks earlier.

(25 RR 76.) Ron Dodd had caused a pipe to fall and it hit Stephen in the head. (25 RR 77.) It

weighed 400 or 500 pounds and he had to go to the hospital. (25 RR 77.) As a consequence of this

accident, Stephen had been knocked unconscious and some thought he was dead. (25 RR 77.) In

early 2003, Stephen had tried to commit suicide. (25 RR 78.) Theresa found him lying face down

in the pool, and pulled him out and he was taken to the hospital. (25 RR 79-81.)

       On February 18, 2005, Ron, Stephen, Ron’s son and Theresa went to dinner and returned

at about 10 p.m. (25 RR 82, 104.) Theresa later saw Ron and Stephen in the metal building. (25

RR 83.) They left together around that time and were gone a short time. (25 RR 88.) They returned

and were at the house for several hours, talking on the driveway. (25 RR 90, 104.) At about 3

a.m., Theresa woke Ron up and told him that Stephen was calling. (25 RR 90.) She heard Stephen

say that he needed help as he had run out of gas. (25 RR 90.) Ron left the house after 3 a.m. (25

RR 90.) At this time, Theresa did not know about Stephen’s involvement with Lisa Underwood.

(25 RR 85.)

       Theresa next saw Ron Dodd on Saturday afternoon. (25 RR 91.) She saw Stephen on

Sunday and he was upset and crying. (25 RR 91.) He said his life was over. (25 RR 91.) Two

police officers had been to Theresa’s house asking about Stephen and his Corvette. (25 RR 91.)

There was an Amber Alert out for Lisa and her son, as they were missing. (25 RR 92.) At this time,

Stephen told Theresa that Lisa was the girl who worked at the bagel store and who came to the metal

building and was screaming at him. (25 RR 92.)




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        Stephen asked for Theresa’s help that Sunday. (25 RR 93.) He would not say why he

thought his life was over, but Theresa drew some conclusions after she saw the reports on television.

(25 RR 93.) That day, Stephen told her to get the businesses out of his name. (25 RR 93.) Stephen

said he was going to talk to the police. (25 RR 94.) Later, he told her he had confessed, that “he

had to.” (25 RR 94.) He said “he didn’t mean to do...He went over there to talk to her and do the

right thing...and...they got into a fight. And they...she hit him, and they just got into it. And before

he knew it, he had held her down.” (25 RR 95.) Stephen also said he was trying to keep the boy

quiet. (25 RR 95.)      He also allegedly said Ron didn’t have anything to do with it, “the only

thing...Ron’s mistake was picking him up.” (25 RR 95.)

        Theresa next talked to Stephen at the Mansfield jail. (25 RR 96.) His family was there. (25

RR 97-98.) He said that he didn’t do it, that “it was some mistake.” (25 RR 98.)

        Theresa said that after that, she visited Stephen in jail weekly. (25 RR 86, 98-99.) His story

changed, and he said he didn’t do it but he admitted cleaning up. (25 RR 100.) Another time he said

Ron Dodd did it. (25 RR 99-100.) Stephen said he wished he had not divorced her. (25 RR 100.)

Theresa stopped seeing him because he wanted her to say that Ron did the murders. (25 RR 101.)11

He wanted her to call the attorneys and tell them that Ron had set him up. (25 RR 101.) He held

up a piece of paper outlining this. (25 RR 102.) But she admitted she never showed this to

Stephen’s attorneys. (25 RR 103.)

        Theresa admitted that their fights were not all his fault. (25 RR 87.) When they were

married, they attended church and were in charge of the children’s church activities. (25 RR 106.)

They also raised money for the church. (25 RR 107.)


        11
           Dodd told Theresa that he had nothing to do with the murders but admitted picking
up Stephen. (25 RR 72.)

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       Marie Mendoza, the owner of a cleaning service and an employee of UPS, knew Stephen

Barbee when he worked part-time for UPS five or six years prior to the trial. (25 RR 109.) They

talked about their respective businesses. (25 RR 111-112.) Stephen told Ms. Mendoza that he was

not married, but sometimes she would hear female voices when he called. (25 RR 117.) The

witness asked for an estimate on some tree work. (25 RR 113.) Stephen went ahead and actually

trimmed the trees before giving the estimate. (25 RR 113-114.) Ms. Mendoza told Stephen that

she was not interested in starting a relationship. (25 RR 118.) Stephen then had an outburst and said

some “mean” things to her. (25 RR 118.) Based on this one incident, she thought he was mean and

cruel. (25 RR 119.)

       After this witness, the State rested. (25 RR 121.)




       d) The defense case at the punishment phase.

       The defense called Nancy Cearly, an administrator of a religious college and a pastor’s wife.

(25 RR 122.) She met Stephen at a church in Azle, Texas. (25 RR 122.) The Barbee family, Bill

and Jackie Barbee, began attending the church in 1989. (25 RR 123.) She also knew Stephen and

Theresa. (25 RR 124.) Ms. Clearly attended and performed the wedding of Steve and Theresa

Barbee. (25 RR 124.) The Barbees became the children’s church leaders. (25 RR 125.) They did

that for several years. (25 RR 126.) They also hosted puppet shows for the children. (25 RR 127.)

Ultimately, there were 75 or 80 kids in this program. (25 RR 131.) There were never any

complaints. (25 RR 127.) The witness visited Mr. Barbee in jail every week and brought him books

and a Bible. (25 RR 127.)

       Jackie Barbee, Stephen’s mother, testified that at the time of the trial, Stephen was 38 years

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old. (25 RR 134.) Her daughter Catherine died when she was 20, and her son David also died at

the age of 20 when he was in a car accident. (25 RR 136.) Stephen was 14 and 16 years old at the

time of these deaths. (25 RR 136.)

        Stephen attended schools in Azle, Texas, but he did not graduate from high school because,

after David died, Stephen shut down. (25 RR 138.) The witness was shown some family photos

which she identified. (25 RR 139-143.)

        After high school, Stephen wanted to be a policeman. (25 RR 144.) He worked for the Blue

Mound Police Department for two and a half years. (25 RR 145.) He then started a tree cutting

business which became “All Four Seasons.” (25 RR 146-147.)

        Mrs. Barbee had been visiting Stephen in jail once a week, the maximum permitted. (25 RR

150.)

        Mary Hackworth, Stephen’s sister, testified that she loved and supported him. (25 RR

153-154.)      Jennifer Cherry, Stephen’s niece, testified that she was very close to him, that he

was almost like a brother, and that she loved him. (25 RR 156-157.)

        Ashley Vandiver testified that she was a friend of Stephen and they met at church. (25 RR

161.) He was a youth minister and a good friend. (25 RR 162-164.) She has visited him in jail.

(25 RR 164.)

        Denise Morrison testified that she met Stephen at Six Flags about five and a half years prior

to the trial. (25 RR 168.) They became romantically involved after his divorce. (25 RR 168.) They

did not get married as Stephen wanted a child but Ms. Morrison already had a child and did not want

another. (25 RR 169.) They remained good friends and she has been to visit him in the jail. (25

RR 170.) When they first met, she did not know he was married until he told her a few days later.

(25 RR 171-172.) She did not believe Stephen committed the murders. (25 RR 174-175.)

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       Susan Evans, a former senior warden of several penal institutions of the Texas Department

of Criminal Justice, was called as a witness by the defense. (26 RR 2-3.) She testified regarding

prison conditions in Texas and the requirements to become a prison guard. (26 RR 4 et. seq.) Their

duties and responsibilities were explained. (26 RR 5-16.) The guards are trained to search for

contraband, to respond to emergencies, first aid, to respond to riots and security issues, to recognize

extortion attempts. (26 RR 5-16.) They are also trained in survival and restraint tactics, firearm

safety, searches, and all of this is regularly tested and evaluated. (26 RR 18-26.) Ms. Evans

outlined the testing procedures and the hours of education required. (26 RR 26-30.)

       She also testified regarding the prison classification system. (26 RR 33.) Some prisoners

are isolated and have restricted access to parts of the prison. (26 RR 33-38.) General Population

Levels range from G1 to G5, the higher numbers being the more restrictive. (26 RR 42.) A person

who goes to the penitentiary for murder could never be a G1. (26 RR 43.) A person who is

convicted of murder could be classified as a G2. (26 RR 45.) Offenders committed to TDCJ for G3

offenses of 50 years or more must serve at least five years before they can go to G2 level. (26 RR

46.) A prisoner who has a security precaution on him cannot be a G2. (26 RR 47.) Offenders with

a sentence of 50 years or more who are higher than a G3 can go down to G3 level. (26 RR 48.) If

the prisoner commits assaults or engages in violence, they can be moved higher into a more

restrictive classification status. (26 RR 49.) A G5 is a prisoner who has attempted escape or

assaulted an officer. (26 RR 51.)

       The men on death row are at the Polunsky Unit, a new prison. (26 RR 53.) The defense then

showed a tape of the Connally Unit. (26 RR 55.)

       Defense counsel then asked about specific differences of death row from the general

population. (26 RR 55.)        The witness testified that everyone on death row is in the same

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classification. (26 RR 57.) The defense counsel mentioned a person, Martin Gerule, who escaped

from death row. (26 RR 57.) According to the witness, visitation on death row is non-contact. (26

RR 58, 60.) Death row inmates take recreation singly, and not in a group. (26 RR 60.) They spend

23 hours a day in their cell. (26 RR 60.) Their meals are served in the cell. (26 RR 60.) “Someone

watches them the whole time.” (26 RR 61.) The witness commented on the tape the Connally Unit.

(26 RR 62-65.) The witness stated that two officers are required to be present when the inmates are

being moved within the prison. (26 RR 66.)

       The inmates in general population have television in the day room. (26 RR 70.) The witness

testified that those who were convicted of a violent crime are not always the worst inmates in prison.

(26 RR 72.) “Generally they are under a very controlled environment.” (26 RR 72.)

       The witness said that prison is a hazardous work environment. (26 RR 74.) The current

rules for changes in prisoner status are subject to revision. (26 RR 76.) To be placed in

administrative segregation takes several bad acts. (26 RR 83.) The witness admitted that there were

seven people who escaped from the Connally Unit, the same unit that was the subject of the

videotape, in 2000. (26 RR 84.) They all eluded capture and they were all walking around the

streets and they murdered a police officer. (26 RR 84-86.)          There were 19,000 disciplinary

convictions for assaults in the Texas prison system in 2005. (26 RR 88.) The prosecution asked

about reports of prior assaults and a rape of a corrections officer. (26 RR 90.)

       On re-direct, the witness stated that the restrictions on custody have become more strict in

the last 20 years. (26 RR 92.)

       The witness also stated that murderers are sometimes the best trustees. (26 RR 94-95.)

       Christy McKemson testified that she knew Stephen through her ex-boyfriend who worked

for him. (26 RR 98.) She was there to support him. (26 RR 99.)

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       Jerry Jones, a jail officer for the Tarrant County Sheriff’s Department, had not come into

contact with Stephen in the jail, but knew him from dating his sister in high school. (26 RR 100.)

He also knew Stephen’s parents. (26 RR 101.) According to Mr. Jones, their health has been

affected by what has happened. (26 RR 102.)

       David Derusha, a bailiff in the trial court, was assigned to bring Stephen from the jail to the

courtroom. (26 RR 103-104.) Stephen had never been a problem during the trial. (26 RR 105.)

       The defense rested. (26 RR 105.)




       e) The State’s case on rebuttal at the punishment phase.

       Bruce Cummings, a private investigator, testified that he knew Lisa and Jayden Underwood

because Jayden was a player on a soccer team that he coached. (26 RR 106.)

       The state and the defense closed. (26 RR 109.) Mr. Barbee stated that he did not want to

testify. (26 RR 110.)

       The defense objected to the 10-2 rule in that the jury was not told that if one juror did not

want to sentence the defendant to death. (26 RR 111.) The other objection was the lack of a burden

of proof as to Special Issue No. 2. (26 RR 111-112.) Both objections were overruled. (26 RR 112.)

       After final argument, the jury answered Special Issue No. 1, the future dangerousness issue,

in the affirmative. (27 RR 24.)(Exhibit 6.) They answered Special Issue No. 2, the mitigation

issue, in the negative. (27 RR 24.)(Exhibit 6.) Mr. Barbee was sentenced to death. (Exhibit 7.)




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       iii) State post-conviction.

       An evidentiary hearing was held in the trial court on February 22 and 23, 2012. Since this

hearing was limited to Claim 2, the conflict of interest claim, the factual summary of that hearing

is presented infra, in the summary of facts in support of Claim 2.




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                                        V.
                       THE STANDARD OF REVIEW UNDER §2254(d)


         This Petition considers both the merits of Mr. Barbee’s claims and how they meet the

heightened standards of review of 2254(d), if those standards apply to his case. In light of Cullen

v. Pinholster, 563 U.S. __, 131 S.Ct. 1388 (2011) and Harrington v. Richter, 562 U.S. __, 131 S.

Ct. 770 (2011), “merits” review arguably encompasses separate but related inquiries, as described

below.



         A. Introduction.

         The statutory authority of federal courts to issue a habeas writ for persons in state custody

is 28 U.S.C. §2254, as amended by the Antiterrorism and Effective Death Penalty Act (“AEDPA”).

Under 28 U.S.C. § 2254(a), a federal court may “entertain an application for a writ of habeas corpus

. . . only on the ground that [a petitioner] is in custody in violation of the Constitution or laws or

treaties of the United States.” Under 28 U.S.C. § 2254(d), however, such an application “shall not

be granted with respect to any claim that was adjudicated on the merits in State court proceedings

unless the adjudication of the claim . .

         (1) resulted in a decision that was contrary to, or involved an unreasonable
         application of, clearly established Federal law, as determined by the Supreme Court
         of the United States. . . (2) . . . resulted in a decision that was based on an
         unreasonable determination of the facts in light of the evidence presented in the State
         court proceeding.

         As the Supreme Court explained in (Terry) Williams v. Taylor, 529 U.S. 362, 412 (2000),

this operates as a “constraint on the power of a federal habeas court to grant ... the writ” in cases in

which the federal court has found constitutional error. Regarding the order in which a federal court

addresses the merits and the § 2254(d) determination, the Supreme Court has made clear that

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“AEDPA does not require a federal habeas court to adopt any one methodology.” Lockyer v.

Andrade, 538 U.S. 63, 71 (2003). Within the Supreme Court’s own jurisprudence the analysis of

whether § 2254(d) operates in a given case to bar relief is often preceded by a traditional analysis

of the merits of the underlying constitutional claim. See, e.g., Weeks v. Angelone, 528 U.S. 225

(2000); Ramdass v. Angelone, 530 U.S. 156 (2000); Penry v. Johnson, 532 U.S. 782 (2001). Thus,

although one could argue that the question whether relief for an otherwise meritorious constitutional

violation under § 2254(a) is barred by operation of § 2254(d) is a matter to be raised by the

Respondent, cf. O’Neal v. McAnich, 513 U.S. 432 (1995) (analogizing the State’s harmless error

argument to an affirmative defense), Mr. Barbee will combine a discussion of the law governing the

alleged constitutional violations with the discussion of the reasonableness or unreasonableness of

the prior state court adjudications, where applicable.12

       The AEDPA deferential standard of review applies only to claims that were actually

“adjudicated on the merits in State court proceedings.” 28 U.S.C. § 2254(d). Where the state courts

did not reach a federal constitutional issue, “the claim is reviewed de novo.” Cone v. Bell, 556 U.S.

449, 472 (2009)(“Because the state court did not decide whether Porter’s counsel was deficient, we

review this element of Porter’s claim de novo”); Graves v. Dretke, 442 F.3d 334, 339 (5th Cir.

2006). Where no state court has squarely addressed the merits of a habeas claim, “we review the

claim under the pre-AEDPA standard of 28 U.S.C. § 2243, under which we dispose of the matter

as law and justice require.” Toliver v. Pollard, 688 F.3d 853, 859 (7th Cir. 2012);        Porter v.

McCollum, 130 S. Ct. 447, 452 (2009)(per curiam). The operative decision under review is that of



       12
           As the Fifth Circuit has noted, “AEDPA limits our review to the reasonableness rather
than the correctness of the state court’s decision...” Goodrum v. Quarterman, 547 F.3d 249, 266
(5th Cir. 2008).

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the last state court to address a given claim on the merits. Greene v. Fisher, 132 S. Ct. 38, 45

(2011). Here, the “last state court” would be the Texas Court of Criminal Appeals (“CCA”) for

those issues brought on direct appeal, and, as for the issues brought on state habeas, both in the

initial and the subsequent application, the trial court’s findings of fact and conclusions of law, as

adopted by the CCA.

       As will be discussed herein as to the individual claims, many of Mr. Barbee’s claims were

found to be procedurally defaulted because they were not brought in the initial state habeas petition

and when they were brought in the subsequent petition, they were found not to meet the standards

for subsequent application claims. These claims were therefore never adjudicated on the merits.

As to the three record-based assertions of ineffective assistance brought in the initial state habeas

proceedings (Claims 1, 2, and 3 in that state petition), the trial court adopted the prosecutor’s

conclusions of law that the claims should be denied on the merits. (Exhibits 14 and 15.) The CCA

than adopted the “trial judge’s [sic] findings and conclusions.” Ex parte Stephen Dale Barbee, No.

WR-71-071-01, at 2. (Exhibit 9.)

       As to the claims first brought in Mr. Barbee’s subsequent habeas application (most of the

claims considered herein), on September 14, 2011 the CCA held that only the conflict of interest

claim (Claim 2) satisfied the requirements of Article 11.071 Sec. 5 and remanded it to the trial court.

Ex parte Stephen Dale Barbee, No. WR-71,070-02, at 2. (Exhibit 48.) After an evidentiary hearing

limited to this claim (Exhibits 49, 50 and 51, transcripts of the hearing and hearing exhibits), both

parties submitted proposed findings of fact and conclusions of law. (See Exhibit 53 (Petitioner’s




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proposed findings and conclusions) and Exhibit 54 (State’s proposed findings and conclusions).13

The trial court subsequently adopted the State’s proposed findings and conclusions verbatim and

relief on Claim 2 was ultimately denied “[b]ased upon the trial court’s findings and conclusions and

our own review.” The other claims, Claims 1 and 3 through 21 were also dismissed “as an abuse

of the writ” because those allegations “do not satisfy the requirements of Article 11.071 Section 5.”

Ex parte Stephen Dale Barbee, No. WR-71,070-02, at 2. (Tex. Crim. App. May 8, 2013)(Exhibit

52.)

       In answering Petitioner’s initial federal petition, the Director claimed that only Claims 3(a),

4(b), 5(d), 13 and 19 were reviewed on the merits and exhausted. See Docket no. 40, RA at 17. He

also argued and conceded, somewhat inconsistently, that several additional claims—Claims 5(b)

(RA at 41-46) , 5(c) (RA at 41-46) , 5(f) (RA at 57-75), and Claim 15 (RA at 76)—were brought in

the initial state court proceedings and were denied on the merits and hence exhausted. All claims

presented herein are now exhausted, as those that were not previously presented on direct appeal or

in the initial state habeas application were brought in the subsequent state application. A discussion

of the procedural posture of all claims and how they were presented to the state courts is provided

infra as to each individual claim and sub-claim.

       Article 11.071 §5(a) has three parts: Subsection (a)(1) provides that the merits of the claim

may not be considered and relief on the claim may not be granted unless the current claims and

issues have not been and could not have been presented previously in a timely initial application or

in a previously considered application because the factual or legal basis for the claim was



       13
           Petitioner also submitted an “Applicant’s Additional Post-Hearing Submission” based
on the declaration of Stephen Andrew Hall (Exhibit 55) and the state submitted a reply to that
submission, mainly consisting of Mr. Hall’s criminal history. (Exhibit 56.)

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unavailable on the date the applicant filed the previous application. Subsection (a)(2) provides that

the merits of the claim may not be considered and relief may not be granted unless the application

contains sufficient facts establishing that by a preponderance of the evidence, but for a violation of

the United States Constitution, no rational juror could have found the applicant guilty beyond a

reasonable doubt. Subsection (a)(3) provides that the merits of the claim may not be considered and

relief may not be granted unless the application contains sufficient specific facts establishing that

by a preponderance of the evidence, but for a violation of the United States Constitution, no rational

juror could have answered in the state’s favor one or more of the special issues that were submitted

to the jury in the applicant’s trial under Article 37.071 or 37.0711.

       When the Texas Court of Criminal Appeals dismisses a subsequent habeas petition and gives

no reason beyond citing to Art. 11.071 §5(a), it is unclear whether the State court dismissed the

claims on procedural grounds or on the merits. See Balentine v. Thaler, 626 F.3d 842, 851-857 (5th

Cir. 2010), cert. denied, ___U.S.___, 131 S. Ct. 2992 (2011). In this circumstance, this Court must

determine whether the state court’s decision was based on procedural grounds or on the merits and

also determine the adequacy and independence of any possible state law ground when it is not clear

from the face of the opinion.

       Here, the analysis should begin with examining the subsequent state petition to ascertain

what subsection of Art. 11.071 §5(a) Mr. Barbee relied on in arguing that his claims should be

considered on the merits. Mr. Barbee made clear to the state courts that he relied on all three

subsections of §5(a):

               Applicant has met the requirements for a subsequent writ application under Tex.
       Code Crim. Proc. art. 11.071 sec. 5(a)(1), (2) and (3). There are three well-established
       exceptions to the bar on subsequent writs contained in article 11.071 sec 5(a). That section
       reads as follows:


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     If a subsequent application for a writ of habeas corpus is filed after filing an initial
     application, a court may not consider the merits of or grant relief based on the subsequent
     application unless the application contains sufficient specific facts establishing that:

     (1) the current claims and issues have not been and could not have been presented previously
     in a timely initial application or in a previously considered application filed under this article
     or Article 11.07 because the factual or legal basis for the claim was unavailable on the date
     the applicant filed the previous application;

     (2) by a preponderance of the evidence, but for a violation of the United States Constitution
     no rational juror could have found the applicant guilty beyond a reasonable doubt; or

     (3) by clear and convincing evidence, but for a violation of the United States Constitution
     no rational juror would have answered in the state’s favor one or more of the special issues
     that were submitted to the jury in the applicant’s trial under Article 37.071 or 37.0711.
     Tex. Code Crim. P. art. 11.071 sec. 5(a).

              Exception 5(a)(1) applies here in light of the newly-available evidence of the
     conflict of interest of Mr. Barbee’s trial counsel, as summarized supra and discussed in
     detail in Claim Two. The evidence of a conflict of interest could not have been presented
     earlier, as it came to light only after the initial state application had been filed. Exception
     5(a)(2) applies to Mr. Barbee’s claim of actual innocence (Claim One). The actual innocence
     claim was not presented previously in State court, contrary to Mr. Barbee’s express wishes.

     Other claims also meet some of the art. 11.071 sec. 5(a) exceptions to the bar on subsequent
     writs. Claim Three (ineffective assistance of counsel at the pre-trial stage) meets the art.
     11.071 sec. 5(a)(2) exception; Claim Four (ineffective assistance of counsel at the guilt-
     innocence phase of the trial) also meets the art. 11.071 sec. 5(a)(2) exception; and Claim
     Five (ineffective assistance of counsel at the punishment phase of the trial) meets the art.
     11.071 sec. 5(a)(3) exception. These claims and the reasons they meet these exceptions are
     discussed in further detail herein. Claims Six (unfair pre-trial publicity) and Seven
     (ineffective assistance of counsel for failure to file a motion for change of venue) meet the
     11.071 sec. 5(a)(2) and (3) exceptions, as Applicant shows herein the tremendous adverse
     effect the publicity and hostile trial atmosphere had on his trial, rendering it unfair and the
     results unreliable. Claim Eight also meets the sec. 5(a)(2) and (3) exceptions, as it
     represents an opportunity for this Court to correct its earlier dismissal of Applicant’s initial
     writ application, which was based on erroneous trial court findings which misled the Texas
     Court of Criminal Appeals.

     (Petitioner’s subsequent state writ application, at pages 6-7; see also the discussion of these
     grounds at pages 7-16 of that application.)

     In the subsequent state application, Claims 1 and Claims 3 though 21 were denied purely on



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procedural grounds, as the CCA stated that they “do not satisfy the requirements of Article 11.071,

Section 5" and “[t]herefore, we dismiss those allegations as an abuse of the writ. Ex parte Stephen

Dale Barbee, No. WR-71,070-02, at 2. (Tex. Crim. App. May 8, 2013)(Exhibit 52.) As to Claim

2, it was denied on the merits “[b]ased upon the trial court’s findings and conclusions and our own

review.” Id. However, some of these claims had previously been denied on the merits on direct

appeal or in the initial state habeas proceedings.

       As to the denial of Claim 1, it is not subject to procedural default as it is a “gateway” claim.

As to Claim 2, it was found to meet the criteria of Article 11.071, Section 5 but denied on the

merits, and Mr. Barbee will show that denial does not comport with 2254(d)(1) and d(2). As to

Claims 3, 4, and 5, they assert ineffective assistance of trial counsel, and “cause and prejudice” for

their default is asserted in the discussion below at Sections C through F and also in Section G which

deals with the exceptions the Supreme Court has defined in Martinez v. Ryan, 132 S. Ct. 1309

(2012) and Trevino v. Thaler, 133 S. Ct. 1911 (2013), which establish “cause” for any default.

Claim 1 also establishes the “miscarriage of justice” exception to procedural default. Ruiz v.

Quarterman, 460 F.3d 638, 642-643 (5th Cir. 2006).

       As to many of his claims, Mr. Barbee met the standards for subsequent state applications,

and argued that any failure to present them initially was due to the failure of initial state habeas

counsel to do so. See Petitioner’s subsequent state application at 9, 16-18, and also in the

discussions of the individual claims of ineffective assistance of counsel. As to Claim 2, Petitioner

has shown that it was an unreasonable determination of both the facts and the law under the 2254(d)

standards. In addition, even if the State was entitled to benefit from the sham initial state writ

proceedings, Mr. Barbee has also shown “cause and prejudice” and a fundamental miscarriage of

justice (his claim of actual innocence) sufficient to excuse any procedural default. As to all of the

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ineffective assistance of trial counsel claims, Claims 3, 4, and 5, any procedural default is excused

under the exceptions the Supreme Court has defined in Martinez v. Ryan, 132 S. Ct. 1309 (2012)

and Trevino v. Thaler, 133 S. Ct. 1911 (2013), as discussed in the next section. As to many of the

claims that were first presented to the state court in the subsequent state habeas application and

denied solely on procedural grounds, 2254(d) does not apply and review is de novo in this Court.

The “prejudice” component of “cause and prejudice” is discussed in the factual summary of each

claim or sub-claim.

        For most claims, the analysis that the state court ruling was objectively unreasonable will

also entail an analysis of why Mr. Barbee should prevail on the merits. For many claims and sub-

claims, a finding that the state court decision lacked a reasonable basis upon which to base its

holding will mean that Mr. Barbee is entitled to de novo review of the merits of the claim(s) in

question and/or further factual development in this Court. It must be noted, however, that with

regard to all extra-record claims, the State has not yet filed its answer to this first amended petition,

and therefore has not yet either admitted nor denied any of the alleged facts. Thus, in some respects,

this discussion of the procedural defenses must necessarily be preliminary. Additional discussion

of the significance of the facts alleged or proven, and any available procedural defenses, must

necessarily await the State’s answer and/or further factual development in this Court, such as an

evidentiary hearing or depositions.

        Recently, in Cullen v. Pinholster, 563 U.S. __ 131 S.Ct. 1388 (2011), the Supreme Court

held that “§2254(d)(1) is limited to the record that was before the state court that adjudicated the

claim on the merits.” Id. at 1398. When a federal habeas court is called upon to apply § 2254(d)(1),

Pinholster held, the court’s assessment of the reasonableness of the state court’s adjudication must



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be determined on the basis of the facts that were before the state court. Id. at 1400. All the claims

and exhibits presented herein were previously presented to the state courts, so Pinholster will not

circumscribe this Court’s review.

        B. The 2254(d) standards.

        Application of § 2254(d) in light of Pinholster should be considered in the statute’s

constitutional and historical context. Panetti v. Quarterman, 551 U.S. 930, 945-46 (2007)

(“purposes [of statute], and the practical effects of our holdings, should be considered when

interpreting AEDPA”). Pinholster stresses that § 2254(d) review is distinct from the question raised

under § 2254(a), viz. whether the petitioner has demonstrated that he is in custody in violation of

the Constitution of the United States. 131 S. Ct. at 1398. That interpretation is consistent with

earlier cases.14

        In §§ 2254(d)(1) and (d)(2), Congress established two broad sets of conditions under which

a federal habeas court could grant relief for a constitutional violation. Congress stated these

conditions in the disjunctive, leaving federal habeas courts alternatives for the exercise of their

power to remedy constitutionally infirm state-court judgments. Detrich v. Ryan, 619 F.3d 1038,

1059-60 (9th Cir. 2010), vacated on other grounds, Ryan v. Detrich, 131 S.Ct. 2449 (2011); see also



        14
           See, e.g., Fry v. Pliler, 551 U.S. 112, 119 (2007) (§ 2254(d) “sets forth a precondition
to the grant of habeas relief . . . not an entitlement to it”); Carey v. Musladin, 549 U.S. 70, 74
(2006) (explaining that § 2254(d) must be satisfied before “federal habeas relief may be
granted”); Tennard v. Dretke, 542 U.S. 274, 282 (2004) (“Relief may not be granted unless”
§ 2254(d) is satisfied); Wiggins v. Smith, 539 U.S. 510, 534 (2003) (“The requirements for
habeas relief established by 28 U.S.C. § 2254(d) are thus satisfied”); Bell v. Cone, 535 U.S. 685,
694 n.2 (2002) (referring to § 2254(d) as a “statutory provision governing respondent’s ability to
obtain federal habeas relief”); (Terry) Williams v. Taylor, 529 U.S. 362, 412 (2000) (§ 2254(d)
“places a new constraint on the power of a federal habeas court to grant a state prisoner’s
application for a writ of habeas corpus with respect to claims adjudicated on the merits in state
court”).

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Miller-El v. Dretke, 545 U.S. 231, 240 (2005) (granting relief after finding petitioner satisfied (d)(2)

without mentioning (d)(1)); cf. Garcia v. United States, 469 U.S. 70, 75 (1984) (“terms in question

are made separate and distinct from one another by Congress’ use of the disjunctive”).15

        The distinction AEDPA’s drafters created between the core question of habeas corpus law

– whether the petitioner’s custody is lawful – and whether the habeas court must deny relief out of

deference to the state court responsible for that allegedly unlawful custody presents several

constitutional questions. Petitioner addresses those issues as well as the doctrinal origins of

AEDPA’s scheme infra, and at various points in this petition.

        1. Review of a State Court’s Decision under § 2254(d)(1)

        “The writ of habeas corpus stands as a safeguard against imprisonment of those held in

violation of the law. Judges must be vigilant and independent in reviewing petitions for the writ,

a commitment that entails substantial judicial resources.”16 Harrington v. Richter, 536 U.S. ___,

131 S. Ct. 770, 780 (2011). As the Supreme Court has emphasized, the deference § 2254(d) requires




       15
           In Jefferson v. Upton, 560 U.S. ___, 130 S. Ct. 2217 (2010), the Court reversed an
Eleventh Circuit decision that failed to consider alternative grounds for overcoming the
presumption of correctness under the pre-AEDPA § 2254(d). The Court emphasized that
Congress had adopted eight alternative means of overcoming the presumption and stated them in
the disjunctive. 130 S. Ct. at 2221. The Court held “the Court of Appeals did not properly
consider the legal status of the state court’s factual findings” when it considered only one of the
eight enumerated exceptions despite the petitioner having argued that others applied. Id. at
2222-23.
       16
           See also, Murray v. Carrier, 477 U.S. 478, 500 (1986) (“‘The writ of habeas corpus is
the fundamental instrument for safeguarding individual freedom against arbitrary and lawless
state action.’”) (quoting Harris v. Nelson, 394 U.S. 286, 290-291 (1969)); Harris, 394 U.S. at
292 (“There is no higher duty of a court, under our constitutional system, than the careful
processing and adjudication of petitions for writs of habeas corpus, for it is in such proceedings
that a person in custody charges that error, neglect, or evil purpose has resulted in his unlawful
confinement and that he is deprived of his freedom contrary to law.”).

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“does not imply abandonment or abdication of judicial review.” Miller-el v. Cockrell, 537 U.S.

322, 340 (2003). On the contrary, recent cases such as Richter and Cullen v. Pinholster, 563 U.S.

___, 131 S. Ct. 1388 (2011), make clear that AEDPA added a layer of judicial review – “§ 2254(d)

review” – that a state court decision must survive in order to receive deference.

       The means by which a federal habeas court discharges its duty may vary depending upon the

circumstances of the case. “AEDPA does not require a federal habeas court to adopt any one

methodology” for applying § 2254(d). Lockyer v. Andrade, 538 U.S. 63, 71 (2003). Such a

limitation on federal courts’ vigilance and independence would violate the separation of powers

doctrine. See infra.

       Like any Supreme Court case, Cullen v. Pinholster, 563 U.S. ___, 131 S. Ct. 1388 (2011),

decided the questions on which certiorari was granted. Glover v. United States, 531 U.S. 198, 205

(2001) (“As a general rule . . . we do not decide issues outside the questions presented by the

petition for certiorari.”); Sup. Ct. R. 14.1(a). The Court in Pinholster

       granted certiorari to resolve two questions. First, whether review under [28 U.S.C.]
       § 2254(d)(1) permits consideration of evidence introduced in an evidentiary hearing
       before the federal habeas court. Second, whether the Court of Appeals properly
       granted Pinholster habeas relief on his claim of penalty-phase ineffective assistance
       of counsel.
       131 S. Ct. at 1398.

       In addressing the first question – review under § 2254(d)(1) generally – the Court observed

that § 2254(d)(1) is one of “several limits on the power of a federal court to grant an application for

a writ of habeas corpus on behalf of a state prisoner.” Id. Review under § 2254(d)(1), or

“§ 2254(d)(1) review,” is distinct from the question presented by § 2254(a), which is whether the

petitioner “is in custody in violation of the Constitution or laws or treaties of the United States.”




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Id.17 This distinction is written into the structure of § 2254, including the prerequisite for the

application of § 2254(d), that the state court adjudicated the claim on the merits. Where that

prerequisite is absent, the federal court conducts review de novo. Wiggins v. Smith, 539 U.S. 510,

534 (2003) (“our review is not circumscribed by a state court conclusion with respect to prejudice,

as neither of the state courts below reached this prong of the Strickland analysis”); Rompilla v.

Beard, 545 U.S. 374, 390 (2005) (citing Wiggins) (“Because the state courts found the representation

adequate, they never reached the issue of prejudice, and so we examine this element of the

Strickland claim de novo.”) (internal citation omitted). Cf. Wiggins, 539 U.S. at 527-28, 531

(holding state court’s determination of fact was unreasonable and that Court “therefore must

determine, de novo” what the facts were).

       In answer to this first question, Pinholster “h[eld] that review under § 2254(d)(1) is limited

to the record that was before the state court that adjudicated the claim on the merits.” 131 S. Ct. at

1398. The statute’s “backward-looking language requires an examination of the state-court decision

at the time it was made.” Id. “[R]eview under § 2254(d)(1) focuses on what a state court knew and

did.” Id. at 1399.

       When a federal habeas court is called upon to apply § 2254(d)(1), Pinholster held, the court’s

examination of the reasonableness of the state court’s adjudication must be based on the facts that

were before the state court. Id. at 1399. Where a claim presents mixed questions of law and fact,



       17
           See also Danforth v. Minnesota, 552 U.S. 264, 270 (2008) (discussing distinction
between violations of constitutional rights and redressibility of such violations in habeas cases);
Panetti, supra, 551 U.S. at 953 (when “requirement set forth in § 2254(d)(1) is satisfied …
federal court must then resolve the claim without the deference AEDPA otherwise requires”);
Gonzalez v. Crosby, 545 U.S. 524, 532 n.4 (2005) (defining “merits” decision in habeas case as
“determination that there exist or do not exist grounds entitling a petitioner to habeas corpus
relief under 28 U.S.C. §§ 2254(a) and (d)”); 28 U.S.C. §§ 2241(c), 2243, cl. 1.

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such as a claim under Strickland v. Washington, 466 U.S. 668, 698 (1984), the Court held, as it had

eleven years earlier, under § 2254(d)(1), if the state court decision identifies the correct governing

legal principle in effect at the time of its decision, the federal court must ask whether the state court

unreasonably applied that principle to the facts of the prisoner’s case. Id., 131 S. Ct. at 1399, citing

(Terry) Williams v. Taylor, 529 U.S. 362, 413 (2000). But what constitutes the factual record that

was before the state court?

         In answering that question, Pinholster followed a long line of cases in which the Court

examined state post-conviction cases in order to inform the federal habeas court’s understanding of

what the state court knew and did. Regarding summary review of claims, Pinholster observed,

         It appears that the court generally assumes the allegations in the petition to be true,
         but does not accept wholly conclusory allegations, People v. Duvall, 9 Cal.4th 464,
         474, 37 Cal.Rptr.2d 259, 886 P.2d 1252, 1258 (1995), and will also “review the
         record of the trial ... to assess the merits of the petitioner’s claims,” [In re] Clark,
         supra, [5 Cal.4th 750] at 770, 21 Cal.Rptr.2d 509, 855 P.2d, at 742 [1993].
         131 S. Ct. at 1402 n.12.

         The Court surmised that in a habeas case, the factual record against which the reasonableness

of the state court’s adjudication is judged includes the allegations of the state habeas petition, its

exhibits, and the record on appeal. Pinholster, at 1402 n.12. As discussed more infra, the Supreme

Court did not have occasion to decide whether the state court in question [in Pinholster, the

California Supreme Court] may have based its decision on an unreasonable determination of the

facts.

         That is the extent of Pinholster’s holding regarding the application of § 2254(d)(1). Once

the court has conducted the requisite “thorough review of the state court record,” 131 S. Ct. at 1402,

it must apply either the contrary-to standard, or the objective standard of reasonableness the Court




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adopted in Terry Williams, or both.18 Id. at 1399; see also Terry Williams, 529 U.S. at 404-05

(“2254(d)(1) defines two categories of cases in which a state prisoner may obtain federal habeas

relief with respect to a claim adjudicated on the merits in state court” and lower court “properly

accorded both the ‘contrary to’ and ‘unreasonable application’ clauses independent meaning”). The

Court in Pinholster did not have occasion to apply § 2254(d)(1)’s contrary-to clause, which the

statute lists in the disjunctive. This case does require consideration of that clause.

       In order for a state court’s decision to be contrary to law it “must be substantially different

from the precedent of [the Supreme] Court.” Terry Williams, 529 U.S. at 405. Where a “state court

applies a rule that contradicts the governing law,” its decision “will certainly be contrary to . . .

clearly established precedent.” Id. “A state-court decision will also be contrary to [the Supreme]

Court’s clearly established precedent if the state court confronts a set of facts that are materially

indistinguishable from a decision of this Court and nevertheless arrives at a result different from our

precedent.” Id. at 406.

       Terry Williams held the Virginia Supreme Court’s reliance upon Lockhart v. Fretwell, 506

U. S 364 (1993), as one among other reasons to reject an ineffective-assistance claim, was “both

contrary to and involving an unreasonable application of the standard set forth in Strickland.”

Panetti, 551 U.S. at 953. In Terry Williams the state court’s decision was both contrary to and

involved an unreasonable application of Strickland insofar as it was informed by the “erroneous

view that a ‘mere’ difference in outcome is not sufficient to establish constitutionally ineffective

assistance of counsel.” Williams, 529 U.S. at 397; id. at 413 (O’Connor, J., concurring).



       18
           See also Cavazos v. Smith, 565 U.S. ___, 132 S. Ct. 2 (2011) (per curiam) (observing
that federal habeas relief is available “only if the state court decision was ‘objectively
unreasonable’”) (quoting Renico v. Lett, 599 U.S. ___, 130 S. Ct. 1855, 1862 (2010)).

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       The “contrary to” clause applies when a state court’s decision relied to any extent on a legal

standard that substantially differs from the clearly established Supreme Court precedent governing

the petitioner’s claim. In Terry Williams, Justice O’Connor, the author of the standard for applying

§ 2254(d)(1), rejected the dissent’s argument that the Virginia Supreme Court cited the correct legal

standard for determining prejudice. The majority observed, “[i]t is impossible to determine . . . the

extent to which the Virginia Supreme Court’s error with respect to its reading of Lockhart affected

its ultimate finding that Williams suffered no prejudice.” 529 U.S. at 414. It nevertheless held

AEDPA was satisfied. Id.

       That federal habeas review of claims previously adjudicated on the merits in state court

involves the sort of two-tiered analysis described above – as opposed to a more superficial

“reasonableness” examination suggested by terms like “deference” or “standard of review” – is

confirmed by the Supreme Court’s decisions granting relief in cases governed by § 2254(d). For

example, in both Rompilla and Wiggins, supra, the Court first undertook its own detailed review of

the merits of the petitioners’ contentions that their trial counsel were ineffective for failing to

adequately investigate, Rompilla, 545 U.S. at 381-387; Wiggins, 539 U.S. at 519-527, and then

performed a careful analysis of the ways in which the state courts’ decisions rejecting the

petitioners’ claims were based on an “unreasonable determination of the facts,” and involved an

“unreasonable application of” federal law. Rompilla, 545 U.S. at 389-390; Wiggins, 539 U.S. at

527-534. The Court took the same approach in Miller-El v. Dretke, 545 U.S. 231 (2005), again

conducting a painstaking evaluation of the merits of the petitioner’s claim under Batson v. Kentucky,

476 U.S. 79 (1986), before further concluding that the state court’s rejection of that claim was based

on an “unreasonable determination of the facts in light of the evidence presented in the state court



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proceeding,” such that federal habeas relief was appropriate. The Court used the same framework

in Porter v. McCollum, 558 U.S. ___, 130 S. Ct. 447 (2009) – first conducting a careful review of

the mitigating evidence Porter claimed his trial counsel ineffectively failed to uncover and present

during the penalty phase of his capital trial, before then determining that the state court’s decision

that Porter suffered no prejudice was an unreasonable application of federal law.

        This petition follows the Supreme Court’s model. Whether a federal claim was well-pleaded

to the state court is itself a federal question, which this Court must answer. See, e.g., Carter v.

Texas, 177 U.S. 442, 447 (1900) (“[T]he question whether a right or privilege, claimed under the

Constitution or laws of the United States was distinctly and sufficiently pleaded and brought to the

notice of a state court, is itself a Federal question, in the decision of which this court, on writ of

error, is not concluded by the view taken by the highest court of the state.”); Staub v. City of Baxley,

355 U.S. 313, 318 (1958) (“‘Whether a pleading sets up a sufficient right of action or defense,

grounded on the Constitution or laws of the United States, is necessarily a question of federal law

and, where a case coming from a state court presents that question, this court must determine for

itself the sufficiency of the allegations displaying the right or defense, and is not concluded by the

view taken of them by the state court.’”) (quoting First National Bank of Guthrie Center v.

Anderson, 269 U.S. 341, 346 (1926)).19



        2. Review of a State Court’s Decision under § 2254(d)(2)

                a. Scope of the Factual Record

        Pinholster concluded that the record a federal court may consider for purposes of


       19
          See also Davis v. Wechsler, 263 U.S. 22, 24 (1923); Schuylkill Trust Co. v.
Pennsylvania, 296 U.S. 113, 122-123 (1935); Lovell v. City of Griffin, 303 U.S. 444, 450 (1938).

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§ 2254(d)(1) review is limited to the factual record that was before the state court. In reaching the

conclusion that § 2254(d)(1) review is backward-looking, the Court drew on § 2254(d)(2)’s express

prescription for the reasonableness determination to be made “‘in light of the evidence presented

in the State court proceedings.’” 131 S. Ct. at 1400 n.7 (quoting § 2254(d)(2)). That explicit

reference to the state-court record supported the inference that § 2254(d)(1)’s reasonableness

determination also should be based on the evidence presented in state court. Thus, in general, the

statute limits review of the reasonableness of a state-court factual determination to “the evidence

presented in the State court proceeding.” 28 U.S.C. § 2254(d)(2).

       Section 2254(d)’s backward-looking language extends the principle underlying the

exhaustion doctrine. What matters for purposes of exhaustion is what the petitioner presented and

not what the state court did or did not do with a claim. Smith v. Digmon, 434 U.S. 332 (1978); Dye

v. Hofbauer, 546 U.S. 1, 3 (2005). Similarly, the allegations and supporting documents presented

in state court are what matters for purposes of the evidentiary record in § 2254(d)(2) review and not

the status of item as “evidence.” As long as factual matter introduced in federal court was part of

the “evidence presented” in state court, this Court may consider it in its review under § 2254(d)(2).

       A federal court may not grant habeas relief unless the petitioner “has exhausted the remedies

available in the courts of the State.” 28 U.S.C. § 2254(b)(1)(A). Petitioner presented all claims

herein to the state courts in his subsequent state petition and some claims were also presented on

direct appeal and in the first state habeas application. Hence all claims are exhausted.



       b. Application of § 2254(d)(2) in this Case

       There are several circumstances in which a state court’s factual determination will be held

unreasonable. Federal habeas courts first conduct “intrinsic review of a state court’s processes” for

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determining the facts. Taylor v. Maddox, 366 F.3d 992, 999-1000 (9th Cir. 2004). A challenge to

the intrinsic reasonableness of a state court’s factual determination

         may be based on the claim that the finding is unsupported by sufficient evidence,
         see, e.g., Wiggins v. Smith, 539 U.S. 510, 123 S.Ct. 2527, 2538–39, 156 L.Ed.2d 471
         (2003); Ward v. Sternes, 334 F.3d 696, 705-08 (7th Cir. 2003), that the process
         employed by the state court is defective, see, e.g., Nunes v. Mueller, 350 F.3d 1045,
         1055–56 (9th Cir. 2003); Valdez v. Cockrell, 274 F.3d 941, 961–68 (5th Cir. 2001)
         (Dennis, J., dissenting), or that no finding was made by the state court at all, see, e.g.,
         Weaver v. Thompson, 197 F.3d 359, 363 (9th Cir. 1999); cf. Wiggins, 123 S.Ct. at
         2539–41.

Taylor v. Maddox, at 999. As with review under § 2254(d)(1), this review “must be particularly

deferential to . . . state-court colleagues” such that the federal court “must be satisfied that any

appellate court to whom the defect is pointed out would be unreasonable in holding that the state

court’s fact-finding process was adequate.” Id. at 1000; cf. Pinholster, 131 S. Ct. at 1399.

         [A]s the Supreme Court pointed out in Miller–El v. Cockrell, 537 U.S. 322, 123 S.Ct.
         1029, 154 L.Ed.2d 931 (2003), “Deference does not by definition preclude relief. A
         federal court can disagree with a state court's credibility determination and, when
         guided by AEDPA, conclude the decision was unreasonable.” Id. at 340, 123 S. Ct.
         1029. Indeed, the Supreme Court, our court and other circuits have all found the
         standard met. See Wiggins, 123 S.Ct. at 2538–39.

Taylor at 1000.

         Just as there is no single way to conduct review under § 2254(d)(1), Lockyer, supra, 538 U.S.

at 71,

         intrinsic challenges to state-court findings pursuant to the ‘unreasonable
         determination’ standard come in several flavors, each presenting its own peculiar set
         of considerations. No doubt the simplest is the situation where the state court should
         have made a finding of fact but neglected to do so. In that situation, the state-court
         factual determination is perforce unreasonable and there is nothing to which the
         presumption of correctness can attach. See, e.g., Wiggins, 123 S.Ct. at 2539–40;
         Killian v. Poole, 282 F.3d 1204, 1208 (9th Cir. 2002); Weaver, 197 F.3d at 363;


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       Nunes, 350 F.3d at 1055. A somewhat different set of considerations applies where
       the state court does make factual findings, but does so under a misapprehension as
       to the correct legal standard. See, e.g., Caliendo v. Warden, 2004 WL 720362, at *6
       (9th Cir. Apr.5, 2004); Fernandez v. Roe, 286 F.3d 1073, 1077 (9th Cir. 2002); Wade
       v. Terhune, 202 F.3d 1190, 1197 (9th Cir. 2000). Obviously, where the state court’s
       legal error infects the fact-finding process, the resulting factual determination will
       be unreasonable and no presumption of correctness can attach to it.

                Closely related to cases where the state courts make factual findings infected
       by substantive legal error are those where the fact-finding process itself is defective.
       If, for example, a state court makes evidentiary findings without holding a hearing
       and giving petitioner an opportunity to present evidence, such findings clearly result
       in an “unreasonable determination” of the facts. See, e.g., Weaver, 197 F.3d at 363;
       Nunes, 350 F.3d at 1055; cf. Bryan v. Mullin, 335 F.3d 1207, 1215–16 (10th
       Cir.2003) (declining to apply presumption where state court failed to hold an
       evidentiary hearing).20 But see Valdez, 274 F.3d at 948–50 (sections 2254(d)(2) and
       (e)(1) apply despite defects in the state-court hearing). Similarly, where the state
       courts plainly misapprehend or misstate the record in making their findings, and the
       misapprehension goes to a material factual issue that is central to petitioner's claim,
       that misapprehension can fatally undermine the fact-finding process, rendering the
       resulting factual finding unreasonable. See, e.g., Wiggins, 123 S.Ct. at 2538–39;
       Hall [v. Comm. Corrections], 343 F.3d [976,] 983. And, as the Supreme Court noted
       in Miller–El, the state-court fact-finding process is undermined where the state court
       has before it, yet apparently ignores, evidence that supports petitioner’s claim.
       Miller–El, 537 U.S. at 346, 123 S. Ct. 1029 (“Our concerns are amplified by the fact
       that the state court also had before it, and apparently ignored, testimony demonstrat-
       ing that the Dallas County District Attorney’s Office had, by its own admission, used
       this process to manipulate the racial composition of the jury in the past.”); accord
       Collins v. Rice, 365 F.3d 667, 685 (9th Cir. 2004).

       Taylor, 1000-01.

       As with review under § 2254(d)(1), review under § 2254(d)(2) must be based upon what the

state court knew and did, and that assessment must be made in accordance with state law. Absent

evidence of arbitrary or discriminatory action, federal habeas courts are bound by state supreme




       20
           A hearing was held here only on Claim 2. Petitioner requested a hearing on
additional issues of controverted issues of material fact, Claims 1 and Claims 3 through 8, but
this was denied. Ex parte Stephen Dale Barbee, No. WR-71,070-02, at 2. (Exhibit 48.)

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court decisions on state law, Mullaney v. Wilbur, 421 U.S. 684, 691 (1975), and must presume state

court judges follow state procedural law in reaching their decisions, Black v. Romano, 471 U.S. 606,

615 (1985).

        To the extent the CCA’s assuming the truth of Petitioner’s allegations constitutes a “factual

determination,” that determination is entitled to a presumption of correctness.            28 U.S.C.

§ 2254(e)(1); Burger v. Zant, 498 U.S. 433, 436 (1991) (per curiam) (state court findings favorable

to petitioner and adverse to State presumed correct).



       C. State Court Holdings.

       1. Introduction.

       “Under § 2254(d), a habeas court must determine what arguments or theories supported or,

as here, could have supported, the state court’s decision.” Richter, 131 S. Ct. at 786. In order to

follow Pinholster’s prescription that “review under § 2254(d)(1) focus[] on what the state court

knew and did,” 131 S. Ct. at 1399, it is necessary to examine the state law that governed the decision

under review in this case. Pinholster at 1402 n.12. Review under § 2254(d)(1) also requires the

federal court to examine what “arguments or theories...could have supported the state court’s

decision.” Richter, 131 S. Ct. at 786.

       In view of these issues, this Petition presents substantial, strong evidence that the CCA either

applied legal standards that are contrary to clearly established federal law, unreasonably applied the

correct legal standards, misapplied their own subsequent petition standards, or either did not resolve

factual disputes or did so in ways the Supreme Court and Fifth Circuit have held are unreasonable.

Mr. Barbee also requests discovery and an evidentiary hearing so that he may complete the

available evidence and present it.

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        2. 2254(d) and ineffective assistance of counsel claims.

        Where the U.S. Supreme Court has reviewed ineffective-assistance allegations for facially

sufficiency, it has found viable claims on far less a showing than Mr. Barbee makes as to many of

the claims discussed in this Petition. For example, in Kimmelman v. Morrison, 477 U.S. 365 (1986),

the court found facially sufficient evidence of deficient performance on the basis of the trial record.

It showed defense counsel learned during trial that a bed sheet had been seized from the defendant’s

apartment without a search warrant. 477 U.S. at 368-69. Trial counsel had not moved to suppress

the sheet within the time prescribed by state law because he “had never asked for any discovery,”

although he had been on notice earlier that the sheet had been seized and tested in a laboratory. Id.

at 369 (emphasis in original). The Supreme Court found the record showed trial counsel’s

performance was “unreasonable, that is, contrary to prevailing professional norms.” Id. at 385. The

Court found the record “adequate for our application of Strickland’s competency standard,” but

“incomplete with respect to prejudice.” Id. at 390. The record was sufficient to indicate the seizure

of the sheet was illegal but the Court held the State was “entitled to an opportunity to establish that

[the] search came within one of the exceptions . . . to the Fourth Amendment’s prohibition against

warrant less searches.” Id. at 390-91. The Court remanded the case back to federal court for further

proceedings on the prejudice question. Id. at 390. In doing so the court noted

        [the habeas petitioner] may be unable to show that absent the evidence concerning
        the bed sheet there is a reasonable probability that the trial judge would have had a
        reasonable doubt as to his guilt. If [the habeas petitioner] could not make this
        showing, a matter on which we express no view, there would of course be no need
        to hold an evidentiary hearing on his Fourth Amendment claim.

Id. at 387.




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       In Padilla v. Kentucky, 559 U.S. ___, 130 S. Ct. 1473 (2010), the Supreme Court held that

defense counsel’s failure to provide accurate advise about the risk a conviction would carry for him

to be deported was facially sufficient evidence of deficient performance.21 Padilla, a lawful

permanent resident charged with drug-related offenses accepted a plea bargain after his attorney

advised him that he would not be deported because he had been in the United States for a long time.

Id., 130 S. Ct. at 1478. In fact the plea made deportation “virtually mandatory.” Ibid. In state post-

conviction proceedings, Padilla claimed he would have insisted on going to trial if he had known

the truth. Ibid. The state court summarily, but with explanation, held Padilla failed to state a claim

under the performance prong of Strickland because defense counsel had no duty to advise him about

what it considered a collateral consequence of conviction. Ibid.; id. 130 S. Ct. at 1481. The

Supreme Court granted certiorari “to decide whether, as a matter of federal law, Padilla’s counsel

had an obligation to advise him that the offense to which he was pleading guilty would result in his

removal from this country.” Id. at 1479. It held that Strickland applied, id. at 1482, and that

Padilla’s counsel’s performance had been unreasonable under prevailing professional norms. Id.

at 1482-83.

       Apart from a discussion of immigration law, the Court’s reasoning was straightforward. It

did not matter whether deportation was a collateral consequence of conviction, what mattered were

(1) the ABA Standards and those of other treatises and bar organizations, id. at 1482-83; (2) the

importance to Padilla of what he faced, id. at 1483; and (3) that the law was clear that Padilla would


       21
           The Supreme Court has repeatedly relied upon its own recent decisions applying
Strickland when assessing whether an earlier state court decision satisfied § 2254(d). See, e.g.,
Porter v. McCollum, 558 U.S. ___, 130 S. Ct. 447, 452-53 (2009) (citing Williams v. Taylor, 529
U.S. 362, 396 (2000), and Wiggins v. Smith, 539 U.S. 510, 524 (2003)); Bobby v. Van Hook, 558
U.S. ___, 130 S. Ct. 13, 17 (2009) (per curiam) (citing Wiggins); id. at 18 (citing Williams, 529
U.S. at 395; Rompilla v. Beard, 545 U.S. 374, 387 (2005) (citing Wiggins).

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face some consequences to his immigration status, id. at 1483. Based on that alone, the Court held:

       Accepting his allegations as true, Padilla has sufficiently alleged constitutional
       deficiency to satisfy the first prong of Strickland. Whether Padilla is entitled to relief
       on his claim will depend on whether he can satisfy Strickland’s second prong,
       prejudice, a matter we leave to the Kentucky courts to consider in the first instance.


Id. at 1483-84. See also id. at 1486-87 (“Taking as true the basis for his motion for postconviction

relief, we have little difficulty concluding that Padilla has sufficiently alleged that his counsel was

constitutionally deficient. Whether Padilla is entitled to relief will depend on whether he can

demonstrate prejudice as a result thereof, a question we do not reach because it was not passed on

below.”) (emphasis added).

       In Terry Williams, supra, the Court illustrated the meaning of § 2254(d)(1)’s “contrary to”

clause with the example of a state court “reject[ing] a prisoner’s claim of ineffective assistance

counsel on the grounds that the prisoner had not established by a preponderance of the evidence that

the result of his criminal proceeding would have been different,” as opposed to Strickland’s

reasonable-probability standard. 529 U.S. at 405-06.

       3.Application of State-law Standards to Federal Claims.

       § 2254(d) applies only to claims that were adjudicated on the merits, that is, their merits

under the applicable federal law. Pinholster, 131 S. Ct. at 1399-1400 (distinguishing case where

federal claims was procedurally defaulted such that § 2254(d) did not apply); Richter, 131 S. Ct. at

784. As the Supreme Court recently restated,

       When a federal claim has been presented to a state court and the state court has
       denied relief, it may be presumed that the state court adjudicated the claim on the
       merits in the absence of any indication or state-law procedural principles to the
       contrary. Cf. Harris v. Reed, 489 U.S. 255, 265 (1989) (presumption of a merits
       determination when it is unclear whether a decision appearing to rest on federal
       grounds was decided on another basis). [¶] The presumption may be overcome

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       when there is reason to think some other explanation for the state court’s decision
       is more likely. See, e.g., Ylst v. Nunnemaker, 501 U.S. 797, 803 (1991).

Richter, 131 S. Ct. at 785-86.



       D. Constitutional and Equitable Issues Related to the Application of §2254(d).

       1. Constitutional Questions.

               A. AEDPA’s Origin and Aftermath.

       The AEDPA statute’s meaning and application continues to confound courts. The Supreme

Court has found that “in a world of silk purses and pigs’ ears, the Act is not a silk purse of the art

of statutory drafting.” Lindh v. Murphy, 521 U.S. 320, 335 (1997).

       The partisan opportunism that gave birth to AEDPA helps explain why a statute that attempts

to constrain both the constitutionally protected writ of habeas corpus and the independence of

federal judges has led to what scholars have described as “chaos,”22 an “intellectual disaster area,”23

“a charade,”24 and “so unworkable and perverse that reformers should feel no hesitation about

scrapping large chunks of it.”25 One of AEDPA’s chief sponsors declared that under it “things have




       22
         Larry W. Yackle, State Convicts and Federal Courts: Reopening the Habeas Corpus
Debate, 91 Cornell L. Rev. 541, 542, 553 (2006).
       23
          Yackle, 91 Cornell L. Rev. at 553 (quoting Larry W. Yackle, The Figure in the
Carpet, 78 Tex. L. Rev. 1731, 1756 (2000)).
       24
           Joseph L. Hoffmann & Nancy J. King, Rethinking the Federal Role in State Criminal
Justice, 84 N.Y.U. L. Rev. 791, 816 (2009).
       25
         Andrew Hammel, Diabolical Federalism: A Functional Critique and Proposed
Reconstruction of Death Penalty Federal Habeas, 39 Am. Crim. L. Rev. 1, 42 (2002).

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gotten worse, not better.”26

        The Supreme Court repeatedly has had to “resist[] an interpretation of the statute that would

produce troublesome results, create procedural anomalies, and close our doors to a class of habeas

petitioners seeking review without any clear indication that such was Congress’ intent.” Panetti,

551 U.S. at 946 (internal quotation marks and citations omitted). While it is settled that a court

should not recognize the progenitors of a bill as authorities on the meaning of an act, Graham

County Soil and Water Conservation Dist. v. U.S. ex rel. Wilson, 130 S. Ct. 1396, 1408-09 & n.17

(2010) (refusing to consider letter by statute’s drafters purporting to clarify statute’s meaning),

AEDPA’s origins explain the need to exercise care in applying the act to avoid perverse, inequitable

or unconstitutional results.27

        2. Avoiding an Unconstitutional Interpretation.

        The Supreme Court interprets § 2254(d) in the context of other provisions of § 2254 and the

habeas corpus law that preceded AEDPA. Pinholster, 131 S. Ct. at 1399-1400; Michael Williams,

529 U.S. at 432-33; Terry Williams, 529 U.S. at 408-12; Felker v. Turpin, 518 U.S. 651, 658-61

(1996). By doing so, the Court finds § 2254(d) represents “Congress’ intent to channel prisoners’

claims first to the state courts.” Pinholster, 131 S. Ct. at 1398-99. Section 2254(d), like most other



        26
          Marcia Coyle, Congress Looks at More Limits on Habeas, Nat’l L.J., July 25, 2005, at
18 (quoting Sen. Jon Kyl R-AZ)).
        27
          See, e.g., Holland v. Florida, 560 U.S. ___, 130 S. Ct. 2549, 2568 (2010) (Alito, J.,
concurring) (rejecting State’s “perverse” argument that petitioner should have been heard only
through attorney who abandoned him); Panetti, supra, 551 U.S. at 943 (quoting Stewart v.
Martinez-Villareal, 523 U.S. 637, 644 (1998), for proposition that State’s interpretation of
§ 2244(b) would lead to “‘far reaching and seemingly perverse’” result of executing incompetent
inmate because he could not raise unripe claim); cf. Brief of California Attorney General as
amicus curiae in Martinez-Villareal, 1997 WL 744599 (arguing Congress properly withdrew
federal courts’ jurisdiction to prevent wrongful execution of incompetent person).

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modifications of federal habeas law that date from the 1970s forward, is animated by concerns over

comity, finality and federalism. Id. at 1401 (citing earlier cases).

       The concern over comity was most dramatically expressed by Justice Jackson in his

concurring opinion in Brown v. Allen, 344 U.S. 443, 536-40 (1953). More commonly, comity has

been described as an effort to avoid results that “would be unseemly in our dual system of

government” because the state courts did not first have the opportunity to correct alleged errors.

Duckworth v. Serrano, 454 U.S. 1, 4 (1981). Concern over comity was not to be found in the habeas

statutes that existed from 1867 through 1965. Yet it gained sway over the express Congressional

intent that federal courts ensure that no one is in state custody pursuant to a judgment that violated

the Constitution, Fay v. Noia, 372 U.S. 391, 424 (1963), when the Court began to rely on the

Supremacy Clause’s demand that federal law be supreme in state courts. See Schneckloth v.

Bustamonte, 412 U.S. 218, 259 (1973) (Powell, J., concurring) (“It is the sworn duty of these [state]

courts, no less than federal ones, to safeguard personal liberties and consider federal claims in

accord with federal law.”). Therein lies a tension between the political or diplomatic concern over

federal-state relations and the equally real concern that state courts do not always respect federal

law. Cf. Walker v. Martin, 131 S. Ct. 1120, 1130 (2011)(state rule that is applied so as to

discriminate against federal claims will not be applied to bar federal habeas review).

       Before AEDPA, the Supreme Court endeavored to bring these two poles closer together by

respecting state procedural rules, Wainwright v. Sykes, 433 U.S. 72 (1977), preventing novel

constitutional rules of criminal procedure from upsetting state court judgments that became final

before their expression, Teague v. Lane, 489 U.S. 288 (1992), and ratcheting up the exhaustion

requirement, Rose v. Lundy, 455 U.S. 509 (1982). That the Court recognized the tension between



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constitutional-rights enforcement and friendly relations with state courts can be seen in Rose’s

express desire that “state courts may become increasingly familiar with and hospitable toward

federal constitutional issues.” Rose, 455 U.S. at 519, citing Braden v. 30th Judicial Circuit Court

of Kentucky, 410 U.S. 484, 490-91 (1973). It can also be seen in the Supreme Court’s insistence that

federal habeas courts not defer to state court decisions concerning federal law or on mixed questions

of law and fact. See, e.g., Strickland v. Washington, 466 U.S. 668, 689 (1984). Against this

historical backdrop it is easy to see how the interpretation and application of § 2254(d) to individual

cases pushes the limits of the Supremacy Clause and Congress’s power to control the decisions of

federal courts on matters of constitutional law. See O’Brien v. Dubois, 145 F.3d 16, 21 (3rd Cir.

1998); Terry Williams, 529 U.S. at 387 n.13 (Stevens, J., concurring).

       It is a historical fact that pique, racism, and local chauvinism have motivated state courts

(and sometimes federal courts) to use local practice or belief to frustrate efforts to enforce federal

constitutional rights. Examples abound in the Supreme Court’s habeas jurisprudence, including

cases applying AEDPA, and in the development of other federal civil rights laws. See, e.g., Abdul-

Kabir v. Quarterman, 550 U.S. 233 (2007) (overturning AEDPA § 2254(d) decision based on so-

called “Texas nexus” requirement for mitigation which had “no foundation in the decisions of this

Court”); Tennard v. Dretke, 542 U.S. 274, 284 (2007) (same); Smith v. Texas, 550 U.S. 297 (2007)

(reviewing Texas death sentence for second time because state court applied procedural bar after

Supreme Court held petitioner was entitled to relief on merits in Smith v. Texas, 543 U.S. 37

(2004)); Miller-el v. Dretke, 545 U.S. 231 (2005) (overturning AEDPA § 2254(d) decision that

failed to account for racial discrimination in jury selection and that had adopted dissenting opinion

from Miller-el v. Cockrell, 537 U.S. 322 (2003)); Ford v. Georgia, 489 U.S. 411 (1991) (overturning



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state court decision that applied procedural bar to claim raised under Batson v. Kentucky, 476 U.S.

79 (1991), where procedural rule had not existed previously); James v. Kentucky, 466 U.S. 341

(1984) (rejecting application of state procedural rule that placed form over substance of petitioner’s

federal law claim based on Carter v. Kentucky, 450 U.S. 288 (1981)); Henry v. Mississippi, 379 U.S.

443, 448-49 (1965) (rejecting state procedural bar to federal claim where application of bar served

no legitimate state interest); Barr v. City of Columbia, 378 U.S. 146 (1964) (rejecting apparently

discriminatory application of state procedural rule to defeat federal claim); Wright v. Georgia, 373

U.S. 284, 290-91 (1963) (same); Staub v. City of Baxley, 355 U.S. 313 (1958) (same) ; NAACP v.

Alabama ex rel. Patterson, 357 U.S. 449 (1958) (rejecting application of state procedural rule

applied in manner to frustrate review of federal claim). Recognizing that these things happen, the

Supreme Court announced a rule that “the assertion of Federal rights, when plainly and reasonably

made, is not to be defeated under the name of local practice.” Davis v. Wechsler, 263 U.S. 22, 24

(1923).

          In order for § 2254(d) to be constitutional as applied to a state court’s judgments, the state

courts to which AEDPA channels the presentation of federal constitutional claims must be worthy

of the presumption that they hold federal law supreme. As to some claims, Mr. Barbee

demonstrates that the decision in several claims was based on factual holdings or factual

interpretations and/or state law presumptions and interpretations that are inconsistent with the

federal law governing his claims. Were this Court to defer to the CCA’s rulings on federal claims

on state habeas review, § 2254(d) would be unconstitutional as so applied.

          When interpreting or imposing habeas reforms, the Supreme Court has frequently noted the

costs associated with habeas review, with some justices going so far as to say there is no social



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benefit to federal courts acting as a safeguard against States’ failure to give defendants fair trials.

E.g., Teague, supra, 489 U.S. at 389-90; Mackey v. United States, 401 U.S. 667, 691 (1971) (Harlan,

J., concurring in judgment in part and dissenting in part). These cases reflect the concern that the

“relitigation” of claims in federal court “‘must inevitably lead to the impairment of the public

confidence in our judicial institutions.’” Brown v. Allen, 344 U.S. 443, 539 n.13 (1953) (Jackson,

J., concurring) (quoting Conference of Chief Justices-1952, 25 State Government, No. 11, p. 249

(Nov. 1952)).

       Empirical evidence challenges the Supreme Court’s assumptions about the costs and benefits

of federal habeas review. Researchers have found that public confidence in the judicial system is

enhanced by review mechanisms. See, e.g., Tom R. Tyler, Why People Obey the Law (Princeton

U. Press 2006); Tom R. Tyler, Procedural Justice, Legitimacy, and the Effective Rule of Law, 30

Crime & Just. 283 (2003); Tom R. Tyler and Yuen J. Huo, Trust in the Law: Encouraging Public

Cooperation with the Police and Courts (Russell Sage Foundation 1992). The evidence will show

that “the procedural justice of experience determines its impact on views about the legitimacy of

authority.” Why People Obey the Law 172. In the present context this means, contrary to the

Supreme Court’s assumptions, it is the fullness and fairness of the process, not the results, that

determines people’s confidence in the judicial system. Trust in the Law 5, id. at 93 (“courts can

encourage a more favorable orientation towards the law by exercising procedural fairness”); Tom

Tyler & Jeffrey Fagan, Legitimacy and Cooperation: Why Do People Help the Police Fight Crime

in Their Communities?, 6 Ohio St. J. Crim. L. 231, 240 (2008). Courts lose legitimacy when they

do not provide fair mechanisms for reviewing decisions and correcting incorrect or unfair results.

Why People Obey the Law 119. Where state courts in particular do a poor job of considering



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people’s rights through full and fair procedures, confidence in them goes down. Trust in the Law

192-95.

       Specifically, confidence and legitimacy are harmed when courts do not appear to listen to

claims, are not respectful of them, are not transparent, when they do not subject themselves to

review by others, and when they do not follow their own rules. Trust in the Law 53-57. Consistency

– the like treatment of similarly situated people – also weighs heavily in people’s perception of

judicial legitimacy. Why People Obey the Law 119. Studies conducted by these scientists find that

when judicial procedures lack these qualities, people become less willing to cooperate in the legal

process and even become less likely to obey the law themselves.28

       Pinholster’s holding that 2254(d) review must look back at what the state court knew and

did illustrates how AEDPA codified the model for federal habeas review championed by Professor

Paul Bator. The principle that federal habeas review should not be available where state courts

afforded prisoners a full and fair process for hearing and adjudicating federal claims was set forth

in his article, Finality in Criminal Law and Federal Habeas Corpus for State Prisoners, 76 Harv.




       28
            As the chief critics of the literature cited here have said,

       Tyler has argued persuasively that law’s legitimacy (or at least a perception of it)
       is critical to a well-functioning criminal justice system and to public safety more
       generally. Specifically, effective crime control depends on volitional deference to
       substantive law and to its enforcement and adjudication. And, significantly,
       perceptions of procedural fairness may well facilitate such deference. The
       importance of the legitimacy project cannot, therefore, be oversold.
Josh Bowers & Paul H. Robinson, Perceptions of Fairness and Justice: The Shared Aims and
Occasional Conflicts of Legitimacy and Moral Credibility 4, U. Penn. Pub. L. & Legal Theory
Research Paper No. 11-13, available at http://ssrn.com/abstract=1814006 (emphasis added).

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L. Rev. 441 (1963), which has been influential, although also a source of controversy.29

       Professor Bator observed that the Constitution itself requires that federal habeas courts in

certain circumstances be available not only to review, but effectively correct, violations of law that

were inadequately reviewed in state court.

       It is, after all, the essence of the responsibility of the states under the due process
       clause to furnish a criminal defendant with a full and fair opportunity to make his
       defense and litigate his case: the state must provide a reasoned method of inquiry
       into relevant questions of fact and law (including, of course, all federal issues
       applicable to the case). If a state, then, fails in fact to do so, the due process clause
       itself demands that its conclusions of fact or law should not be respected: the
       prisoner’s detention can be seen as unlawful, not because error was made as to a
       substantive federal question fairly litigated by the state tribunals, but because the
       totality of state procedures did not furnish the prisoner with a fair chance to litigate
       his case.

Bator, Finality, 76 Harv. L. Rev. at 456-57. Even under the most conservative view of federal

habeas review, a “state appellate court’s perfunctory treatment of the [federal] question . . .

amounting to nothing more than reliance on the presumptive validity of the trial, was not in fact

acceptable corrective process and federal habeas would therefore lie to consider the merits of the

claim.” Fay v. Noia, 372 U.S. 391, 457-58 (1963) (Harlan, J., dissenting). AEDPA manifestly does

not require a petitioner to prove his due process rights were violated before federal courts do not


       29
           See, e.g., Danforth v. Minnesota, 552 U.S. 264, 272 n.6 (2008) (citing Bator as
explanation for habeas jurisprudence development since the mid-Twentieth Century); Calderon
v. Thompson, 523 U.S. 538, 555 (1998) (quoting Bator on importance of finality); Custis v.
United States, 511 U.S. 485, 509 (1994) (Souter, J., dissenting) (citing Bator as evidence that
majority, led by Rehnquist, C.J., lost its way); Wright v. West, 505 U.S. 277, 285-86 & n.3
(1992) (opn. Thomas, J.) (citing Bator in dispute with Justice O’Connor); McCleskey v. Zant,
499 U.S. 467, 478 (1991) (citing Bator on history of federal habeas expansion during and after
Reconstruction); Id. at 492 (citing Bator on philosophical justification for prizing finality); id. at
518 (Marshall, J., dissenting) (contrasting Majority’s view of Bator with Justice Frankfurter’s
objection that Court “‘under the guise of fashioning a procedural rule . . . wipe out the practical
efficacy of a jurisdiction conferred by Congress on the District Courts’”) (quoting Brown v.
Allen, 344 U.S. at 498-99 (opn. Frankfurter, J.) (alterations omitted); Fay v. Noia, 372 U.S. 391,
421 n.30 (1963); id. at 449 n.1 (Harlan, J., dissenting).

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have to defer to a state-court adjudication and § 2254(d) must be distinguished from § 2254(b)(1)(B)

which waives the exhaustion requirement where there is no effective state corrective process.

Rather, § 2254(d) requires petitioners to show the process was either contrary to law or

unreasonable.

        Where Congress wanted to limit federal habeas corpus review to correcting unconstitutional

interference with a state prisoner’s ability to raise a claim, it did so by mentioning the Constitution.

E.g., 28 U.S.C. §§ 2244(d)(1)(B), 2264(a)(1). The Supreme Court has held (a) that AEDPA’s

provisions must be read in relation to each other, e.g., Pinholster, 131 S. Ct. at 1399-1400, and (b)

that the exclusion of language from one section of AEDPA that is included elsewhere in the Act

reflects an intention that the language not be applied out of context, e.g., Lindh v. Murphy, 521 U.S.

320, 326-27 (1996). See also Pinholster, 131 S. Ct. at 1400 n.7 (“omission of clarifying language

from § 2254(d)(1) just as likely reflects Congress’ belief that such language was unnecessary as it

does anything else”). Courts interpreting other provisions of the federal habeas statute that reflect

the process model have held their language does not require petitioners to show a due process

violation before the state court process will be deemed inadequate for purposes of exhaustion.

Jackson v. Duckworth, 112 F.3d 878, 881 (7th Cir.), cert. denied, 522 U.S. 955 (1997) (interpreting

28 U.S.C. § 2254(b)(1)(B)); see also Young v. Ragen, 337 U.S. 235, 238-39 (1949); Harris v.

Champion, 15 F.3d 1538, 1554-57 (10th Cir. 1994); Hollis v. Davis, 941 F.2d 1471, 1473-75 (11th

Cir. 1991), cert. denied, 503 U.S. 938 (1992); Hawkins v. Fulcomer, 941 F.2d 246, 250 (3d Cir.

1991); Brooks v. Jones. 875 F.2d 30, 31-32 (2d Cir. 1989). Applying these holdings to the meaning

of “unreasonable” in § 2254(d), indicates that a state court’s process of adjudicating a claim need

not rise to the level of due process violation or be completely ineffectual before a federal court will



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move on to conduct de novo review of a claim.

        However, Bator’s criteria provide some insight into what is necessary for a reasonable

adjudication of a federal constitutional claim. “[T]he state must provide a reasoned method of

inquiry into relevant questions of fact and law (including, of course, all federal issues applicable to

the case).” As reflected in Pinholster and elaborated more fully infra, the summary disposition to

which many of Mr. Barbee’s habeas claims were subjected as a result of the trial court signing off

verbatim on prosecutor-prepared pleadings, findings and conclusions, without changing so much

as a comma, was a limited method of inquiry in which there was no, or very little, judicial inquiry

into either the facts or the law, either by the trial court or the CCA.

        The Supremacy Clause, U.S. Const. art. VI, places limits on the power of States to impose

rules that frustrate the enforcement of federal law in the state courts. Brown v. Western Ry. of

Alabama, 338 U.S. 294 (1950). The circumstances of Brown are similar to the circumstances of this

case. In Brown, the Georgia courts sustained a general demurrer to a claim raised under the Federal

Employers’ Liability Act on grounds that the complaint “failed to set forth a cause of action and is

otherwise insufficient in law.” 338 U.S. at 295 (internal quotation marks omitted). The state court

reached its conclusion “by following a Georgia rule of practice to construe pleading allegations

‘most strongly against the pleader.’” Ibid.

        Where state law requires federal constitutional claims to be raised in a particular proceeding,

as is the case here,



        Strict local rules of pleading cannot be used to impose unnecessary burdens upon
        rights of recovery authorized by federal laws. “Whatever springs the State may set
        for those who are endeavoring to assert rights that the State confers, the assertion of
        Federal rights, when plainly and reasonably made, is not to be defeated under the
        name of local practice.” Davis v. Wechsler, 263 U.S. [22,] 24. Cf. Maty v. Grasselli

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       Chemical Co., 303 U.S. 197, 58 S.Ct. 507, 82 L.Ed. 745. Should this Court fail to
       protect federally created rights from dismissal because of over-exacting local
       requirements for meticulous pleadings, desirable uniformity in adjudication of
       federally created rights could not be achieved.

Brown, 338 U.S. at 298-99.30

       In short, § 2254(d) must be interpreted to be consistent with the principle that federal rights

may not be frustrated, burdened, limited or precluded by state procedural rules. See, e.g., Felder,

487 U.S. at 141 (“States may not apply such an outcome-determinative law when entertaining

substantive federal rights in their courts”). State courts purporting to competently adjudicate a

federal claim must adhere to the procedural obligations that accompany that federal claim.

       Whether a federal claim was well-pleaded to the state court or procedurally defaulted is itself

a federal question, which this Court must answer. See, e.g., Carter v. Texas, 177 U.S. 442, 447

(1900) (“question whether a right or privilege, claimed under the Constitution or laws of the United

States was distinctly and sufficiently pleaded and brought to the notice of a state court, is itself a

Federal question, in the decision of which this court, on writ of error, is not concluded by the view

taken by the highest court of the state”); Staub, supra, 355 U.S. at 318 (“‘Whether a pleading sets

up a sufficient right of action or defense, grounded on the Constitution or laws of the United States,

is necessarily a question of federal law and, where a case coming from a state court presents that

question, this court must determine for itself the sufficiency of the allegations displaying the right

or defense, and is not concluded by the view taken of them by the state court.’”) (quoting First




       30
          See also Ward v. Love County, 253 U.S. 17, 22 (1920) (“if nonfederal grounds, plainly
untenable, may be . . . put forward successfully, our power to review easily may be avoided”
which “cannot be disregarded without neglecting or renouncing a jurisdiction conferred by law
and designed to protect and maintain the supremacy of the Constitution and the laws made in
pursuance thereof.”)

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National Bank of Guthrie Center v. Anderson, 269 U.S. 341, 346 (1926)).31

       An interpretation of § 2254(d) that required federal courts to defer to novel state-court rules

for applying the Constitution also would render the Act an unconstitutional encroachment upon the

Judicial Power of Article III of the Constitution. “Interpretation of the law and the Constitution is

the primary mission of the [federal] judiciary when it acts within the sphere of its authority to

resolve a case or controversy. Marbury v. Madison, 1 Cranch 137, 177, 2 L.Ed. 60 (1803) (‘It is

emphatically the province and the duty of the judicial department to say what the law is’).” Legal

Services Corp. v. Velazquez, 531 U.S. 533, 545 (2001). “Congress cannot wrest the law from the

Constitution which is its source. ‘Those then who controvert the principle that the constitution is to

be considered, in court, as a paramount law, are reduced to the necessity of maintaining that courts

must close their eyes on the constitution, and see only the law.’” Legal Services Corp., 531 U.S. at

545, quoting Marbury, 1 Cranch at 178.

       The power granted under Article III to decide “all cases, in law and equity, arising under this

Constitution,” is the power “to inquire not only whether the right was denied in express terms, but

also whether it was denied in substance and effect, as by putting forward non-federal grounds for

decision that were without any fair or substantial support.” Ward v. Love County, 253 U.S. 17, 22

(1920). Article III gives federal courts the power “not merely to rule on cases, but to decide them,”

which means that the “‘judicial Power’ is one to render dispositive judgments.” Plaut v. Spendthrift

Farm, Inc., 514 U.S. 211, 218-19 (1995). As then-judge Kennedy put it, “If the essential,

constitutional role is to be maintained, there must be both the appearance and the reality of control

by Article III judges over the interpretation, declaration, and application of federal law.”


       31
         See also, Davis v. Wechsler, supra, 263 U.S. at 24; Schuylkill Trust Co. v.
Pennsylvania, 296 U.S. 113, 122-123 (1935); Lovell v. City of Griffin, 303 U.S. 444, 450 (1938)

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Pacemaker Diagnostic Clinic of America, Inc. v. Instro-Medix, 725 F.2d 537, 544 (9th Cir.) (en

banc), cert. denied, 469 U.S. 824 (1984) (emphasis added). Accordingly, Congress “cannot . . .

indirectly control the action of the courts[] by requiring of them a construction of the law according

to its own view,” Plaut, 514 U.S. at 218 (emphasis added), and may not directly control the action

of courts “by setting aside their judgments” or directing changed outcomes. Id., 514 U.S. at 225.

To the extent § 2254(d) is read to require a federal court to act as though no constitutional violation

occurred in the view of the federal court, the provision violates Article III and the separation-of-

powers doctrine.

       For analogous reasons, an interpretation of § 2254(d) that required uncritical deference to

the CCA’s rulings in this case would violate the Suspension Clause of Article I, § 9, cl. 2. In

Boumediene v. Bush, 553 U.S. 723, 128 S. Ct. 2229 (2008), the Court struck down a provision of

the Military Commissions Act of 2006 on grounds that it denied petitioners access to the habeas

remedy without providing “a constitutionally sufficient replacement for habeas corpus.” 553 U.S.

at 792. The Court “h[eld] that when the judicial power to issue habeas corpus is properly invoked

the judicial officer must have adequate authority to make a determination in light of the relevant law

and facts and to formulate and issue appropriate orders for relief, including, if necessary, an order

directing the prisoner’s release.” Id. at 787.

        Were § 2254(d) interpreted to prohibit this Court from ordering a new trial in this case,

AEDPA would “effect an unconstitutional suspension of the writ.” Id. at 787. However, because,

the state court process and holdings were both contrary to and an unreasonable application of the

clearly established law governing Mr. Barbee’s claims, this Court need not hold the statute

unconstitutional. Consistent with Boumediene, this Court must provide a forum for de novo

consideration of Mr. Barbee’s federal constitutional claims.

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       E. The Applicability of Section 2254(d) to Mr. Barbee’s Case.

       i. Basic principles of determining the applicability of 2254(d).

       The United States Supreme Court’s decision in Williams v. Taylor, 120 S. Ct. 1495 (2000),

clarified in several ways the standard of review and the methodology to be employed by federal

courts entertaining habeas corpus petitions pursuant to 28 U.S.C. §2254.32 Under Williams, the

emphasis of the federal court’s inquiry is on the nature and quality of the state court decision.

Presented here is an outline to assist this Court in determining whether §2254(d)’s standard of

review is applicable in this matter, and, if so, whether the state court’s decision denying relief on

that claim is contrary to, or an unreasonable application of, clearly established federal law as

determined by the Supreme Court. Following this outline, the procedures are applied to the specifics

of Mr. Barbee’s case.

       1.      Did the last state court to which the claim was presented decide
               the claim on the merits, as opposed to disposing of the claim on
               one or more procedural grounds, or not addressing the claim at
               all?

       Here, the answer depends on when the state claims were denied: on direct appeal, in the first

state habeas, or in the subsequent state habeas proceedings. All of the claims denied on direct appeal

were, of course, denied on the merits. Barbee v. State, No. AP-75,359 (Tex. Crim. App. December

10, 2008)(not designated for publication)(Exhibit 8). Those were mainly claims of the insufficiency

of the evidence and the failure to suppress the alleged confession. As to the first round of state


       32
         The Supreme Court’s decision in Williams represents a considered rejection of the
Fourth, Fifth, Seventh, and Eleventh Circuits’ unduly deferential constructions of §2254(d)’s
“unreasonable application” standard. As the Ninth Circuit observed in an early post-Williams
decision, by repudiating those circuits’ subjective no-reasonable-jurist standard in favor of an
“objective reasonableness” inquiry, “[t]he Supreme Court . . . chose to adopt the interpretation of
AEDPA that espoused the more robust habeas review.” Van Tran v. Lindsey, ___F.3d___, 2000
WL 622070 at *4 (9th Cir. May 16, 2000)

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habeas proceedings, the state trial court adapted verbatim the State’s proposed findings of fact and

conclusions of law (Exhibit 14.) The CCA than adopted the “trial judge’s [sic] findings and

conclusions.” Ex parte Stephen Dale Barbee, No. WR-71-071-01, at 2.33 (Exhibit 9.) In the

subsequent state habeas proceedings, all claims except Claim 2 were denied “as an abuse of the

writ.” Ex parte Stephen Dale Barbee, No. WR-71,070-02, at 2. (Tex. Crim. App. May 8,

2013)(Exhibit 52.)

        Thus, Section 2254(d), by its own express terms, does not govern any of the claims brought

on only the subsequent state application except for Claim 2, and the federal court’s review of those

claims is de novo.34 Petitioner can easily overcome the state court’s procedural ruling, e.g., by

demonstrating that the state rule applied by the state court was not consistently or regularly applied,

and by showing cause and prejudice and “that failure to consider the claims will result in a

fundamental miscarriage of justice.” Coleman v. Thompson, 501 U.S. 722, 750 (1991). Merits

review of those claims by the federal court is de novo. Additionally, as to all claims of ineffective

assistance of trial counsel, they qualify due to initial state habeas counsel’s ineffectiveness, an

exception to procedural default the Supreme Court has recognized in Martinez v. Ryan, 132 S. Ct.

1309 (2012) and Trevino v. Thaler, 133 S. Ct. 1911 (2013), as discussed in the next section.

       2.      Did the state court provide any explanation for its denial of relief
               on the merits, or was relief denied summarily?

       If the state court did not provide any explanation for its denial of relief on the merits, then


       33
         This was incorrect as the trial judge made no findings and conclusions; they were
made by his successor, Judge Sturns.
       34
          There are a few exceptions as to some claims that were brought in the initial state
habeas proceedings, such as, but not limited to, Claims 3(a), 4(a), 4(b), 5(b), 5(c), 5(e), 5(f), 9,
10, 13, 15, and 19. Claims 2 and 8 could not have been in initial state habeas proceedings and
Claim 1 is not subject to procedural default.

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Williams suggests §2254(d) should not govern the federal court’s review of the claim. Without an

explanation of what federal law the state court applied, and how it applied that law, the §2254(d)

analysis exemplified in Williams is impossible. As we have seen, it appears that the claims raised

on appeal and in the initial habeas application were denied on the merits but all claims except one

raised in the subsequent state petition were denied on procedural grounds. Additionally, the trial

court signed off verbatim on the State’s proposed findings and conclusions, which meant that its

own reasoning or explanations are not contained in the ruling. As to each claim, we will thus have

to examine the State’s proposed findings and conclusions to ascertain the rationale behind the

CCA’s denial which was based on those findings and conclusions.

       3.      Did the state court correctly identify and articulate the legal
               principles governing the claim? Williams, 120 S. Ct. at 1519 (“A
               state-court decision will certainly be contrary to our clearly
               established precedent if the state court applies a rule that contradicts
               the governing law set forth in our cases”).

       Answering this question requires a careful review of the state court’s decision for

indications that the state court: identified the wrong precedent; identified the correct precedent but

misstated the rule of that precedent; misunderstood the rule established by governing precedent;

incorrectly determined that the governing precedent had been modified; or made some other mistake

in selecting or stating the governing federal rule. See generally Williams, 120 S .Ct. at 1512-1513,

1515 (explaining why state court’s decision was objectively unreasonable).35 In Mr. Barbee’s case,


       35
            Another, albeit pre-AEDPA, example of a case that would fit under the Court’s
“contrary to” analysis is Stansbury v. California, 511 U.S. 318 (1994). Stansbury held a police
officer’s subjective and undisclosed view that the person being interrogated was not a “suspect”
was irrelevant to the determination whether the individual was “in custody” for Miranda
purposes. The Court held that the California Supreme Court’s analysis was “not consistent in
all respects” with the Court’s prior decisions which “make clear, in no uncertain terms, that any
inquiry into whether the interrogating officers have focused their suspicions upon the individual .
. .is not relevant. 511 U.S. at 326

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only four federal cases were cited in the findings and conclusions adopted by the trial court (Exhibit

14) and the Texas Court of Criminal Appeals and most of the legal conclusions are largely based

on state law. Thus, the amended standard of review under 2254(d) cannot apply.

       A state-court decision can be “contrary to” controlling decisions of the U.S. Supreme Court,

in the sense of misinterpreting the Supreme Court’s precedents, even though the state court’s reading

of the relevant precedents is supported by a substantial number of other lower-court decisions,

including a majority of the federal circuit court opinions on point. This was the case in Williams,

in which the Supreme Court found any notion that Lockhart v. Fretwell clarified the Strickland

standard of prejudice “contrary to” Strickland and Fretwell, notwithstanding the fact that nine

federal circuits had read Fretwell as clarifying Strickland.

       A state-court decision can be “contrary to” a decision of the U.S. Supreme Court, in the

sense of misinterpreting the Supreme Court’s decision, even though the state court’s opinion is

susceptible of the reading that this misinterpretation was only an alternative ground for its decision,

and that it would have reached the same decision on a proper interpretation of Supreme Court

precedent. For instance, the Virginia Supreme Court opinion under review in Williams twice stated

explicitly that Strickland prejudice (a reasonable probability of a different result) had not been

shown, in addition to invoking the mistaken notion that Lockhart v. Fretwell had clarified the

Strickland standard. As Justice O’Connor explained, however, it was “impossible to determine . .

. the extent to which the Virginia Supreme Court’s error with respect to its reading of Lockhart

affected its ultimate finding that Williams suffered no prejudice.” (68 USLW at 4278). Williams,

120 S. Ct. at 1524 (O’Connor, J., concurring in grant of relief).

       4.      Did the state court correctly apply the governing legal principles to the
               facts of the claim? Williams, 120 S. Ct. at 1521 (“a federal habeas court
               making the ‘unreasonable application’ inquiry should ask whether the state

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                 court’s application of clearly established federal law was objectively
                 unreasonable”); id. at 1522 (“a federal habeas court may not issue the writ
                 simply because that court concludes in its independent judgment that the
                 relevant state-court decision applied clearly established federal law
                 erroneously or incorrectly. Rather, that application must also be
                 unreasonable”).

        Answering this question also requires careful review of the state court’s explanation for

denying relief. While Williams does not explain what elevated the state court’s application of

Strickland v. Washington in that case from “erroneous[] or incorrect[]” to “objectively

unreasonable,” the Court’s discussion of the merits of Terry Williams’ ineffective assistance claim

does afford a few examples.

        A failure to consider all record facts legally relevant to the federal question, Williams, 120

S. Ct. at 1515; or a failure to recognize or appreciate the impact of legal principles made relevant,

but not necessarily controlling, by the facts of the case, see Williams, 120 S. Ct. at 1516 (“Mitigating

evidence unrelated to dangerousness may alter the jury’s selection of penalty, even if it does not

undermine or rebut the prosecution’s death-eligibility case”) will mean that the amended 2254(d)

does not apply. In Mr. Barbee’s case, only four federal legal precedents were discussed at all and

the findings were mainly based on state law; hence the amended standard of review cannot apply.36

        A state-court decision can be “objectively unreasonable” in finding that prejudice has not

been established, or that a federal constitutional error is harmless, even though the evidence against

the petitioner is quite compelling. In Williams, the Virginia Supreme Court concluded that the

mitigating evidence undeveloped by Williams’ trial lawyer was inconsequential in the light of the

overwhelming evidence in aggravation, a finding the U.S. Supreme Court subsequently determined

to be objectively unreasonable.


        36
             See discussion, supra.

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       ii. Application of these principles to Mr. Barbee’s case.

       As discussed above, the purpose of the enaction of the AEDPA was to reward state courts

for good faith interpretations of federal constitutional law. This is one of the prerequisites for the

application of the new standards, and if the state court “adjudication” did not meet this threshold

requirement, then there must be de novo federal review of a petitioner’s constitutional claims. The

various deficiencies of the state court findings, discussed below, mean that not only are they not

entitled to any “deference” or “presumption of correctness” by this Court, but these deficiencies

also preclude the imposition of the AEDPA standard of review to Mr. Barbee’s case. Mr. Barbee’s

state court habeas proceedings utterly failed to meet the threshold requirements, as shown below.

       1) The state court proceedings in this case do not qualify as an “adjudication on the
       merits” because they failed to adequately deal with his claims and their basis in federal
       law, and thus deprived Mr. Barbee of his federal due process rights and his right to
       an impartial and fair determination of his federal constitutional challenges to his
       conviction and death sentence.

       In Mr. Barbee’s case, the state habeas process was unequivocally deficient, as will be

discussed in more detail in this section. Rather than carefully considering the facts and the

applicable law and arriving at an independent judicial determination, the state trial court judge

simply signed the district attorney’s proposed findings of fact and conclusions of law, which was

essentially the state’s brief with a signature line for the judge. The Texas Court of Criminal Appeals

also did not engage in substantive analysis of Petitioner’s claims, and in a two page order, merely

held that the recommendations of the trial court were supported by the record. Since it is hornbook

law “that finding the facts is an important part of the judicial function and that the judge cannot

surrender this function to counsel,” C. Wright & A. Miller, Federal Practice and Procedure § 2578




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(2d ed. 1995),37 it is Petitioner’s contention that the state court’s rubber stamp adoption of the State’s

pleading, and the subsequent rubber stamp adoption of those recommendations by the Texas Court

of Criminal Appeals, did not result in a qualifying “adjudication” for purposes of the application

of the AEDPA. Another important deficiency is the failure of the state habeas court to hold an

evidentiary hearing. Thus, there is no evidence at all of any independent consideration or

adjudication of Mr. Barbee’s state application at all by the State courts, unless one is to consider this

sign-on-the-dotted-line charade an “adjudication.” There were also other deficiencies in the state

habeas procedures which buttress the conclusion that the state process does not qualify as an

“adjudication” for the purposes of the AEDPA, as discussed in this section.

        As discussed above, in deciding whether §2254(d) of the AEDPA applies, this Court must

first determine whether or not Mr. Barbee’s claims have been “adjudicated on the merits” by the

state courts. If so, §2254(d) applies; if not, §2254(d) does not apply. A state court has adjudicated




        37
            See also Roberts v. Ross, 344 F.2d 747, 751-52 (3rd Cir. 1965) (it is the judge who
must “formulate and articulate his findings of fact and conclusions of law in the course of his
consideration and determination of the case and as a part of his decision making process . . .”);
Shaw v. Martin, 733 F.2d 304, 309, n.7 (4th Cir. 1984) ("The adoption of one party's proposed
findings and conclusions is a practice with which we have expressed disapproval on a number of
occasions"); Berger v. Iron Workers Reinforced Rodmen Local 201, 843 F.2d 1395, 1404 (D.C.
Cir. 1988) (citing Photo Elecs. Corp v. England, 581 F.2d 772, 777 (9th Cir. 1978)) (when court
adopts party's proposed findings wholesale, it raises possibility "that there was insufficient
independent evaluation of the evidence and may cause the losing party to believe that his
position has not been given the consideration it deserves"); Andre v. Bendix Corp., 774 F.2d 786,
800 (7th Cir. 1985) (quoting Flowers v. Crouch-Walker Corp., 552 F.2d 1277, 1284 (7th Cir.
1977)) ("the resulting findings are 'not the original product of a disinterested mind'"); Stephen B.
Bright & Patrick J. Keenan, Judges and the Politics of Death: Deciding Between the Bill of
Rights and the Next Election in Capital Cases, 75 Boston U. L.Rev. 759, 803-04 (1995)
(Describing orders such as the one signed by the judge in petitioner’s case as follows: “Such
ghostwritten orders are not the impartial findings of disinterested judges, but rather the briefs of
advocates, containing one-sided, exaggerated 'findings' that prosecutors have tailored for
strategic advantage on appeal and in post-conviction review”).

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a federal claim on the merits when its disposition of the claim reveals a basis in federal law with

sufficient clarity so that the federal habeas court can ascertain it. This, as examined herein, is both

the necessary and sufficient condition for according a state-court adjudication the respect which

subsections 2254(d)(1) and (2) contemplate.

        2) Federal constitutional law is not the main focus of the state habeas court’s findings
        and conclusions.

        A state court has adjudicated a federal claim on the merits when its disposition of the claim

reveals a basis in federal law with sufficient clarity so that the federal habeas court can ascertain it.

This, as examined herein, is both the necessary and sufficient condition for according a state-court

adjudication the respect which subsections 2254(d)(1) and (2) contemplate. In the state habeas

findings in Mr. Barbee’s case, however, state law, not federal constitutional law, was the main bases

for the decision.38 Despite the fact that all of Petitioner’s state claims were grounded in his federal

constitutional rights, the thirty-two-page state court findings only mention four federal cases.39

         Thus, the state habeas court never reached the federal constitutional basis of many of Mr.

Barbee’s claims. As such, the state habeas process cannot be considered an “adjudication on the

merits” for purposes of § 2254(d), and the AEDPA does not apply.

        It has frequently been held that when the state court does not reach the federal constitutional

questions presented, through denial of the claims based on state law, that the amended standard of

review under the AEDPA does not apply. See, e.g., Green v. Cain, 1998 WL 259970, at *1 (E.D.


        38
            The State’s Proposed Findings of Fact and Conclusions of Law adopted verbatim by
the trial court are Exhibits 14 (first petition) and Exhibit 54 (subsequent petition) herein; the
Order of the Texas Court of Criminal Appeals denying habeas relief is Exhibit 9 (first petition)
and Exhibit 52 (subsequent petition).
        39
         Two of them are the generic cases of Strickland v. Washington and Brady v.
Maryland. See Exhibit 14.

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La. May 19, 1998) (“since the state court relied on a state procedural (non-constitutional) bar, the

Court is unable to review questions of fact or law under the amended AEDPA standards”); Swann

v. Taylor, 1999 WL 92435, at *5 (4th Cir. Feb. 18, 1999), cert. denied, 119 S. Ct. 1591 (1999) (there

was no state court adjudication of federal issue on merits within meaning of section 2254(d) because

state court relied exclusively on state law and did not “mention or appear to apply the controlling

federal precedent..., nor...cite or rely upon state precedents that, in turn, cite or rely upon [controlling

federal precedent]”; Smith v. Smith, 1998 WL 764761, at *2 (6th Cir. Oct. 19, 1998) (ineffective

assistance claims are “reviewed de novo” because state courts resolved claims on procedural

grounds and never reached merits); Trice v. Ward, 196 F.3d 1151, 1166 n.5 (10th Cir. 1999) (“In

disposing of Trice’s arguments, the Court of Criminal Appeals did not cite any federal law, but

looked only to state law. Accordingly, it is questionable whether the standards of review set forth

in §2254(d)(1) apply. Assuming arguendo those standards do not apply, we proceed to review

Trice’s arguments de novo.”).

        3) Almost all of the claims in the subsequent petition were denied on state procedural
        grounds, not on the merits.

        Adjudication “on the merits” is a prerequisite for the application of the new standard of

review under the AEDPA.40 In both the initial and subsequent state habeas proceedings, the state

habeas court and the Texas Court of Criminal Appeals adopted these prosecutor-produced findings

verbatim, and they never did consider these claims on their own merits.


        40
            The AEDPA prescribes the following standard of review: [2254(d)] “An application
for a writ of habeas corpus on behalf of a person in custody pursuant to the judgment of a State
court shall not be granted with respect to any claim that was adjudicated on the merits in State
court proceedings unless...” (Emphasis added). See also Miller v. Johnson, 200 F.3d 274, 281
(5th Cir. 2000); Neal v. Puckett, 286 F.3d 230, 235 (5th Cir. 2002) (per curiam) (“In the context of
federal habeas proceedings, adjudication ‘on the merits’ is a term of art that refers to whether a
court’s disposition of the case was substantive as opposed to procedural.”)

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        Thus, Mr. Barbee’s federal constitutional claims have never been “adjudicated on the

merits.” This is a prerequisite to the application of 2254(d).

       The Fifth Circuit has held that “section 2254(d) [amended under the AEDPA] applies only

to issues that have been adjudicated on the merits in state court.” Miller v. Johnson, 200 F.3d

274, 281 (5th Cir. 2000). The Fifth Circuit in Miller also pointed out that “[r]eview is de novo when

there has been no clear adjudication on the merits” Id., at 281, n.4, citing Nobles v. Johnson, 127

F.3d 409, 416 (5th Cir. 1997). The court in Miller added that “[i]n the context of federal habeas

proceedings, a resolution (or adjudication) on the merits is a term of art that refers to whether a

court’s disposition of the case was substantive, as opposed to procedural.” Id. at 281. As it is

impossible to tell how these claims were denied, the standard of review under section 2254(d) does

not apply.41

        Since the passage of the AEDPA, numerous federal courts, including the Fifth Circuit have

found the state decisional process deficient, or have found that the state process did not amount to

an “adjudication on the merits,” and have refused to apply the Act. See, e.g., Lockhart v. Johnson,

104 F.3d 54, 57-58 (5th Cir.), cert. denied, 117 S. Ct. 2518 (1997) (“AEDPA’s provision altering our

standard of review, when the petitioner’s claim has been adjudicated on the merits by a state court,

has no application to this claim” because it was not presented to the state court and the Director has

waived the exhaustion requirement”); Fisher v. Texas, 169 F.3d 295, 299-300 (5th Cir. 1999)

(because state court’s rejection of claim on procedural grounds was not “adjudication on the



       41
            See also Blankenship v. Johnson, 106 F.3d 1202, 1204 (5th Cir.), superseded, 118 F.3d
312 (5th Cir. 1997) (“when faced with a silent or ambiguous state habeas decision, we ‘look
through’ to the last clear state decision,” and adopting additional rule that “[w]here, as here,
there is no clear state decision, we determine, on a case-by-case basis, whether the adjudication
was ‘on the merits’”).

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merits”—notwithstanding that state court opinion contained footnote addressing merits as alternative

ground of decision—state determination deserves no deference under section 2254(d)); Jones v.

Wood, 114 F.3d 1002, 1013 (9th Cir. 1997) (holding that when a state court has made no findings

of fact, “the district court’s duty to ascertain the sufficiency of the evidence by engaging in a

thorough review of the complete state court record is unaffected by the AEDPA”); Baylor v. Estelle,

94 F.3d 1321, 1325 (9th Cir. 1996) (stating that the district court’s evidentiary hearing was the first

chance that the petitioner had to develop the factual basis of his claim and therefore finding that it

would be inappropriate to disregard the facts developed in the district court even in the light of

AEDPA), cert. denied, 520 U.S. 1151, 117 S. Ct. 1329 (1997); Tucker v. Prelesnik, ____F.3d_____,

1999 WL 374105 (6th Cir. June 10, 1999) (“Having reviewed the performance of trial counsel in Mr.

Tucker’s case, we are persuaded that the unreasonableness of the state courts’ application of

Strickland is not debatable among reasonable jurists”); Moore v. Park, 148 F.3d 705 (7th Cir. 1998)

(“A prerequisite for applying [section 2254(d)] is that the state court adjudicated the issue before

us on the merits. In this case, the state court denied Moore’s petition because he failed to satisfy [a

procedural rule]. Therefore, the state courts did not address Moore’s sufficiency of the evidence

argument on the merits, and the new standard of review in AEDPA does not apply”... The court

addressed the merits of Moore’s claims de novo, and granted relief); Neeley v. Nagle, 138 F.3d 917

(11th Cir. 1998), cert. denied, 119 S. Ct. 811 (1999) (The state court analyzed Brady material

individually, and did not consider its collective effect; this approach is ‘contrary to’ clearly

established federal law; therefore the court must independently consider the merits of Neeley’s

claim); Jeffries v. Wood, 114 F.3d 1484 (9th Cir. 1997) (The state court erred in requiring Jeffries

to shoulder the burden of proof on prejudice on a juror misconduct issue; this was contrary to clearly

established federal law as determined by the Supreme Court and it was based on an unreasonable

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determination of the facts in light of the evidence presented in the state court proceedings, the

AEDPA would not preclude the issuance of the writ of habeas corpus); Hall v. Washington, 106 F.3d

742 (7th Cir. 1997), cert. denied, 118 S. Ct. 264 (1997) (granting penalty phase relief in capital case

on grounds that petitioner received ineffective assistance of counsel at sentencing phase because

counsel failed to present readily available mitigating evidence, even though state judge to whom

penalty phase was tried concluded during state post-conviction proceedings that had the mitigating

evidence been presented to him, he still would have imposed death...the state court’s finding that

Hall’s counsel provided effective assistance at sentencing ‘involved an unreasonable application of

clearly established Federal law’ as determined by the supreme Court in Strickland v. Washington);

Childress v. Johnson, 103 F.3d 1221 (5th Cir. 1997) (granting relief in noncapital case where the

state courts entirely failed to apply the law pertaining to constructive denial of the right to counsel,

which was ‘contrary to’ or an unreasonable application of Supreme Court precedent); Mata v.

Johnson, 99 F.3d 1261 (5th Cir. 1996), vacated on other grounds, 105 F.3d 209 (5th Cir. 1997) (it was

unreasonable for the state court to hold that the exclusion of all eight African-American prospective

jurors under an agreement between Mata and the State did not violate equal protection); Dickerson

v. Vaughn, 90 F.3d 87 (3rd Cir. 1996) (“To the extent that the state Supreme Court appears to have

adopted a per se rule that a defendant’s facially incorrect responses during a plea colloquy bar claims

for involuntariness, the holding is contrary to clearly established federal law as articulated in

[Blackledge v.] Allison, [431 U.S. 63 (1977)] and the other opinions we have cited”); Weeks v.

Angelone, 176 F.3d 249, 258, 263 (4th Cir. 1999) (“When a petitioner has properly presented a

claim to the state court but the state court has not adjudicated the claim on the merits, ...our review

of questions of law and mixed questions of law and fact is de novo.”); id, at n.32 (“In those instances

in which the merits of a properly presented claim have not been addressed by the Supreme Court

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of Virginia either on direct review or in state habeas proceedings, the claim is reviewed de novo”);

Lakin v. Stine, 44 F. Supp.2d 897 (E.D.Mich. 1999) (“The waiver of counsel did not comply with

the requirements of Faretta v. California, 422 U.S. 806 (1975). The failure of the state to provide

counsel was exacerbated by compelling Mr. Lakin to represent himself.” Applying § 2254(d), the

court grants habeas relief.”); Spicer v. Warden, 31 F.Supp.2d 509 (D.Md. 1998) (District court

applies § 2254(d), as amended by the AEDPA, and concludes that the “decision of the State post-

conviction courts involved an unreasonable application of clearly established Supreme Court law

and an unreasonable determination of the facts in light of the evidence presented. Accordingly, the

writ of habeas corpus will issue.”); Atley v. Ault, 21 F.Supp2d 949 (S.D.Iowa 1998) (“This court

is compelled to find the majority opinion of the Iowa Supreme Court an unreasonable application

of clearly established federal law, as established by the Supreme Court of the United States. The

Iowa Supreme Court failed to require the constitutionally mandated inquiry by the trial court and

also failed to require the substitution of counsel free from the constitutionally prohibited constraints

of a conflict of interest...”).

        Therefore, as to many claims, there has been no “adjudication on the merits,” a prerequisite

to the application of the amended standard of review under the AEDPA.



        4) Except as to Claim 2, there was no evidentiary hearing in state court.

        In the first round of state habeas proceedings, the state habeas court denied Petitioner’s

request for an evidentiary hearing when it adopted verbatim the prosecutor-prepared order “finding”

that there were no previously uncontroverted issues of fact. (Exhibits 14, 15.) This also shows that

there has been no “adjudication on the merits” sufficient for the application of the revised standard



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of review under the AEDPA. This deficiency also entitles Petitioner to a federal court evidentiary

hearing. See, e.g., Glock v. Singletary, 84 F.3d 385, 386 (11th Cir.), cert. denied, 117 S. Ct. 616

(1996) (petitioner entitled to evidentiary hearing because claim not meritless on its face and has

“heretofore been resolved on the record, without an evidentiary hearing” in either state or federal

court); Perillo v. Johnson, 79 F.3d 441, 444-45 (5th Cir. 1996) (petitioner entitled to federal

evidentiary hearing because state court proceedings did not include hearing on factual questions that

could be dispositive in resolving claim of conflict of interest by trial counsel); Bouchillon v. Collins,

907 F.2d 589 (5th Cir. 1990) (because state trial court did not hold hearing on competence to stand

trial, relying instead on statements of trial counsel and trial judge’s own observations, federal

hearing required).

        On November 6, 2008, less than ten days after the prosecutor’s answer was filed, the trial

court signed off verbatim on the prosecutor’s “Proposed Findings of Fact and Conclusions of Law.”

(Exhibits 14, 15.) In the subsequent writ application, a hearing was granted only as to Claim 2.



        5) In both rounds of state habeas proceedings, the state court findings and conclusions
        were adopted verbatim from the State’s proposed findings and conclusions.

        The trial court’s actions and those of the Texas Court of Criminal Appeals in this case

violated the basic principles of an adversary system and deprived Mr. Barbee of the independent,

impartial review which is the bedrock of our judicial system. The Findings and Recommendations

entered by the state trial court (and the affirmation of those recommendations in a summary order

by the Texas Court of Criminal Appeals) contain no original fact-findings, but simply adopt the

State’s responsive pleadings (“Respondent’s Proposed Findings of Fact, Conclusions of Law, and




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Order ) as the trial court’s own. (See Exhibits 14 and 15.) The district attorney prepared the

proposed findings and conclusions of the trial court, and the trial court then adopted the “State’s

Proposed Findings of Fact and Conclusions of Law” as its own, without even changing a comma.

The CCA than adopted the “trial judge’s [sic] findings and conclusions.” Ex parte Stephen Dale

Barbee, No. WR-71-071-01, at 2. (Exhibit 9.)

        The same procedure was followed in the subsequent habeas application (most of the claims

considered herein), with the exception that a hearing was ordered on one claim. After the

evidentiary hearing (Exhibits 49, 50 and 51, transcripts of the hearing and exhibits introduced), relief

on Claim 2 was ultimately denied “[b]ased upon the trial court’s findings and conclusions and our

own review” and the other claims, Claims 1 and 3 through 21 were also dismissed “as an abuse of

the writ” because those allegations “do not satisfy the requirements of Article 11.071 Section 5.”

Ex parte Stephen Dale Barbee, No. WR-71,070-02, at 2. (Tex. Crim. App. May 8, 2013)(Exhibit

52.)    This one-sided process denied Mr. Barbee of his federal due process rights and his right to

an impartial and fair determination of his constitutional challenges to his conviction and death

sentence. Disregard for fair process and impartial judicial review in any degree is of no small

moment and should not go uncorrected, particularly in a death penalty case. But the gravity of the

violations in this case have implications extending far beyond Mr. Barbee. When prosecutors and

judges are allowed to treat post-conviction applications for habeas corpus relief in the manner in

which Mr. Barbee’s application was treated, the judge’s role becomes indistinguishable from the

prosecutor’s, nullifying the statutory provisions for collateral review of constitutional violations in

criminal trials.

        The very practice implicated here, a court's routine and wholesale adoption of the



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prosecutor's proposed order, has been roundly -- and rightly --- condemned as a brazen denial of due

process and an engine for producing unreliable results. Countless courts have strongly criticized the

practice of adopting verbatim the findings of fact and conclusions of law proposed by one litigant.

See, e.g., Anderson v. City of Bessemer, 470 U.S. 564, 572 (1985) (criticizing courts for "verbatim

adoption of findings of fact prepared by prevailing parties," citing, e.g., United States v. El Paso

Natural Gas Co., 376 U.S. 651, 656-657 (1964); United States v. Marine Bancorporation Inc., 418

U.S. 602, 615 n.13 (1974)); FMC Corp. v. Varco Internat'l, 677 F.2d 500, 501 n.2 (5th Cir. 1982)

("We have consistently expressed our disapproval of the practice of unconditionally adopting

findings submitted by one of the parties to a litigation."); Cuthbertson v. Biggers Bros., Inc., 702

F.2d 454, 458-59 (4th Cir. 1984) (and cases cited therein); Ramey Construction Co. v. Apache Tribe,

616 F.2d 464, 466-69 (10th Cir. 1980); Tyler v. Swenson, 427 F.2d 412 (8th Cir. 1970); Holbrook

v. Institutional Insurance Co., 369 F.2d 236 (7th Cir. 1966); Roberts v. Ross, 344 F.2d 747, 750-752

(3rd Cir. 1965); Phillips v. Phillips, 464 P.2d 876, 878 (Colo. 1970); Kentucky Milk Marketing &

Anti-Monopoly Com. v, Borden Co., 456 S.W.2d 831, 834-35 (Ky. 1969); Krupp v. Krupp, 236 A.2d

653 (Vt. 1967); Nashville , C. & S. L. Ry. v. Price, 148 S.W. 219 (Tenn. 1911); see generally Judge

Skelly Wright, The Non-Jury Trial -- Preparing Findings of Facts, Conclusions of Law and

Opinions, Seminars for Newly Appointed Federal Judges, at 166 (1963); Judge Gunnar Norbye,

Improvements in Statements of Findings of Fact and Conclusions of Law, 1 F.R.D. 25, 30 (1940);

Henry Monaghan, Constitutional Fact Review, 86 Colum. L. Rev. 229, 272 (1986); Annotation,

Propriety and Effect of Trial Court's Adoption of Findings Prepared by Prevailing Party, 54

A.L.R.3rd 868 (& Supp.) (collecting state cases).

       An especially cogent discussion of why such verbatim adoptions of party-prepared findings



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and conclusions are improper is found in Roberts v. Ross, 344 F.2d 747 (3rd Cir. 1965). The case

merits extensive quotation:

        [W]e have observed in this case and in a number of others which have been brought here
        from the district court for review that the judge of the court has followed the practice of
        announcing his decision for the plaintiff or the defendant substantially in the form of a
        general verdict, either in a written order or by communication to counsel, and of thereupon
        directing counsel for the prevailing party to prepare and submit findings of fact, conclusions
        of law and a form of judgment. The trial judge's order has not been accompanied by an
        opinion setting out, even summarily, the facts and legal conclusions which have brought him
        to his decision. Obviously the judge must have dealt with the questions of fact and law
        involved in the case in the course of the reasoning by which he has reached his ultimate
        conclusion, even though his reasoning has not been articulated and put on paper. But
        counsel who is called upon to articulate and write out the findings and conclusions must do
        so without any knowledge of the fact findings and reasoning processes through which the
        judge has actually gone in reaching his decision.
        Id. at 751.

The court went on:

        We strongly disapprove this practice. For it not only imposes a well-nigh impossible task
        upon counsel but also flies in the face of the spirit and purpose, if not the letter, of Rule
        52(a).42 The purpose of that rule is to require the trial judge to formulate and articulate his
        findings of fact and conclusions of law in the course of his consideration and determination
        of the case and as a part of his decision making process, so that he himself may be satisfied
        that he has dealt fully and properly with all the issues in the case before he decides it and so
        that the parties involved and this court on appeal may be fully informed as to the bases of
        his decision when it is made. Findings and conclusions prepared ex post facto by counsel,
        even though signed by the judge, do not serve adequately the function contemplated by the
        rule. At most they provide the judge with an opportunity to reconsider the bases of his
        original decision but without affording the parties any information as to what those bases
        were or which of them are being reconsidered. At worst they are likely to convict the judge
        of error because, as here, they are inadequate to support his decision or because, as we have
        observed in other cases, they are loaded down with argumentative, over-detailed partisan
        matter much of which is likely to be of doubtful validity or even wholly without support in
        the record.
        Id. at 751-52.


   42
         While the analogous rule of the Texas Rules of Civil Procedure does not apply to state
habeas cases, the provisions found in Art. 11.071 of the Texas Rules of Criminal Procedure are
at least as clear, if not more so, in their requirement that the trial judge is responsible for
preparing any findings of fact, conclusions of law and recommendations


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        The court vacated the judgment and remanded for the trial court to make its own findings.

Id. at 753.

        After all, such a practice ultimately makes a mockery of the adversarial system of justice,

whose proper functioning is the most essential principle informing our notions of what "process"

is "due" under the Constitution. See Faretta v. California, 422 U.S. 806, 818 (1975) (the protections

in the Bill of Rights are "basic to our adversary system of criminal justice [and thus] part of 'due

process of law' [as] guaranteed by the Fourteenth Amendment"); United States v. Thompson, 827

F.2d 1254, 1261 (9th Cir. 1987) (adversary system serves the principles of due process).

        The adversary system has been recognized as particularly critical to our system of criminal

justice.43 See Thompson, 827 F.2d at 1258 (“The right of a criminal defendant to an adversarial

proceeding is fundamental”) (citations omitted); see also Rock v. Arkansas, 483 U.S. 44, 51 n.8

(1987). Two key elements in such an adversarial system are the firm neutrality of an “unbiased

judge,” cf. Johnson v. Mississippi, 403 U.S. 212, 216 (1971), and the minimal requirements of

procedural due process, namely, “notice and opportunity to be heard.” See, e.g., Phillips Petroleum

Co. v. Shutts, 472 U.S. 797, 812 (1985). Both fundamental requirements were subverted during Mr.

Barbee’s post-conviction proceedings when the trial court adopted verbatim the district attorney’s

proposed findings and the Texas Court of Criminal Appeals summarily affirmed. Thus, the state

habeas proceeding in Mr. Barbee’s case do not qualify as an “adjudication on the merits” for

purposes of §2254(d), and the AEDPA does not apply to this case.



   43
        Indeed, most of the fundamental protections afforded in criminal cases by the Bill of
Rights indirectly or directly relate to the adversarial process. See U.S. Const., Amendment V
(Self-Incrimination Clause); Amendment VI (Impartial Jury Clause; Notice-of-Nature-and-
Cause-and-Accusation Clause; Confrontation Clause; Compulsory Process Clause; Assistance of
Counsel Clause).

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                                                   VI.

    PROCEDURAL DEFAULT, “CAUSE AND PREJUDICE,” “FUNDAMENTAL
  MISCARRIAGE OF JUSTICE,” AND THE IMPACT OF MARTINEZ V. RYAN AND
                       TREVINO V. THALER..


        As procedural default is an affirmative defense that must be pled by Respondent, Petitioner

does not yet know whether or in what manner Respondent may assert any procedural defenses that

may be available in this post-exhaustion amended petition. Therefore, this section is only a short

overview of the foreseeable arguments that may be made by Respondent. A full discussion will be

appropriate and possible only in Petitioner’s Reply Brief, after Respondent has filed his Answer.

        A. Introduction.

        Contrary to the holding of the CCA, Mr. Barbee met the standards for subsequent habeas

corpus applications under Tex. Code Crim. Proc. Art. 11.071 § 5(a) as to claims other than Claim

2. That section provides as follows:

        If an initial application for a writ of habeas corpus is untimely or if a subsequent application
        is filed after filing an initial application, a court may not consider the merits of or grant relief
        based on the subsequent or untimely initial application unless the application contains
        specific facts establishing that:
        (1) the current claims and issues have not been and could not have been presented previously
        in a timely initial application or in a previously considered application filed under this article
        or Article 11.07 because the factual or legal basis for the claim was unavailable on the date
        the applicant filed the previous application;
        (2) by a preponderance of the evidence, but for a violation of the United States Constitution
        no rational juror could have found the applicant guilty beyond a reasonable doubt; or
        (3) by clear and convincing evidence, but for a violation of the United States Constitution
        no rational juror would have answered in the state’s favor one or more of the special issues.
        Tex. Code Crim. Proc. art. 11.071 sec. 5(a)(1) and (2) and (3).

        Questions of procedural default and cause and prejudice are not relevant until a federal court

first determines that the state procedural rule relied upon for the default is adequate and independent.




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See Coleman v. Thompson, 501 U.S. 722 (1991).

        Petitioner presented facts and arguments to the CCA that provided the requisite “sufficient

specific facts establishing” (art. 11.071, sec. 5 (a)) his claims that he is innocent of capital murder

as shown by the above evidence. In other words, Petitioner presented to the CCA facts and

argument that prove (1) “by a preponderance of the evidence, but for a violation of the United States

Constitution no rational juror could have found the applicant guilty beyond a reasonable doubt,” as

required by art. 11.071 section 5(a)(2), and (2) “by clear and convincing evidence, but for a violation

of the United States Constitution no rational juror would have answered in the state’s favor one or

more of the special issues that were submitted to the jury in the applicant’s trial under Article

37.071 or 37.0711” as required by art. 11.071, section 5 (a)(3).



        B. The CCA’s dismissal of Petitioner’s subsequent petition pursuant to Art. 11.071 Sec.
        5(a) does not deprive this Court of jurisdiction over those claims.

        As previously discussed, many of the claims presented herein by Mr. Barbee were first

presented to the state courts in his subsequent state petition. The CCA’s dismissal of that petition

as “an abuse of the writ” does not deprive this Court of jurisdiction over those claims.

        i. “Adequate and independent” state grounds.

        A federal court reviewing the lawfulness of a habeas petitioner’s custody should not reach

the merits of a federal constitutional claim where a previous state court’s decision relied upon an

adequate and independent state law ground to deny relief. Coleman v. Thompson, 501 U.S. 722

(1991). While the adequate and independent state ground doctrine is jurisdictional in the context

of direct review of state court judgments, in the habeas context, the doctrine is judicially created and

“grounded in concerns of comity and federalism.” Id at 730. The doctrine serves to “ensure[] that


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the States’ interest in correcting their own mistakes is respected in all federal habeas cases.” Id. at

732.

       ii. The Long Presumption.

       To determine whether a state court’s resolution of a claim is based on an adequate and

independent state ground, a federal habeas court looks to the highest state reviewing court’s decision

disposing of the claim. To preclude federal review, a reviewing court need only “clearly and

expressly [indicate] that it is...based on bona fide separate, adequate, and independent [state law]

grounds.” Michigan v. Long, 463 U.S. 1032, 1041 (1983). However, if the state court decision is

ambiguous about the ground of decision–federal or state law–then a presumption applies that federal

law was the basis of disposal and the federal court must review the claim:

       When...a state court decision fairly appears to rest primarily on federal law, or to be
       interwoven with the federal law, and when the adequacy and independence of any
       possible state law ground is not clear from the face of the opinion, we will accept as
       the most reasonable explanation that the state court decided the case the way it did
       because it believed that federal law required it to do so.
       Long, 463 U.S. at 1040-1041; see also Harris v. Reed, 489 U.S. 255, 257 (1989)(adopting

Long presumption in habeas corpus context); Coleman v. Thompson, 501 U.S. 722, 733

(1991)(reaffirming the Long presumption where state court ground of decision interwoven with

federal law or primarily relied on federal law).



       iii. State procedural rules that depend upon a predicate federal constitutional
       understanding are not independent.

       When resolution of a state procedural question depends upon a predicate federal

constitutional understanding, the state-law prong of the court’s holding is not independent of federal

law, and a federal court may address the merits of the claim. Ake v. Oklahoma, 470 U.S. 68, 75

(1985); Smith v. Texas, 550 U.S. 297, 315 (2007)(a state court’s predicate “error of federal law” in

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resolving a state procedural question does not preclude federal review); Delaware v. Prouse, 440

U.S. 648, 652-653 (1979)(state court decision is not based on an independent state ground when the

resolution of a state law question involves an interpretation of what federal law requires to state a

claim for relief). Under these circumstances, the federal court may review the claim because “[i]f

the state court misapprehended federal law, ‘[i]t should be freed to decide...these suits according to

its own local law,’” and not under a mistaken interpretation of federal law. Prouse, 440 U.S. at 653

(quoting Missouri ex rel. Southern R. Co. V. Mayfield, 340 U.S. 1, 5 (1950)). See also Long, 463

U.S. at 1042 (Long presumption foreshadowed by Prouse).



        iv. The State Court decision in this case is interwoven with federal law and does not
        clearly and expressly indicate that it is based on an independent state law ground.

        The Long presumption applies to the CCA’s decision in this case because (1) it is interwoven

with federal law; and (2) it does not clearly and expressly indicate that it is based on an independent

state law ground.

        Federal law is deeply interwoven both in the plain text of Section 5(a) and in the manner in

which the CCA has recently interpreted and applied it. The text of sections 5(a)(2) and 5(a)(3), for

example, both expressly invoke the federal question of whether a federal constitutional violation has

been alleged. See, e.g., Ex parte Blue, 230 S.W.3d 151, 167-168 (Tex. Crim. App. 2007).

        On its face, Section 5(a)(1) does not reference or incorporate substantive federal

constitutional law. However, the CCA has made clear that the 5(a) determination is necessarily

intertwined with federal law. See Ex parte Campbell, 226 S.W.3d 418 (Tex. Crim. App. 2007)(“We

have interpreted [the language of section 5] to mean that, to satisfy Art. 11.071, §5(a),...the specific

facts alleged, if established, would constitute a constitutional violation that would likely require


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relief from either the conviction or sentence.”)

       Thus, an applicant who wishes to raise a second or subsequent challenge to his capital

murder conviction or sentence of death under Section 5 of Article 11.071 must allege not only the

factual conditions which, as a matter of Texas law, permit a second or subsequent filing, but he must

also allege facts which, if true, would establish a violation of the United States Constitution. Id.;

Ex parte Brooks, 219 S.W.3d 396, 400 (Tex. Crim. App. 2007)(“While Article 11.071, section

5(a)(1) does not state that the application must include facts establishing that the applicant has a

prima facie Atkins claim, it would be absurd to consider applications in which the applicant does not

show that the previously unavailable legal basis applies to his claim.’)



       v. The CCA did not clearly and expressly indicate that its dismissal of Mr. Barbee’s
       subsequent state application was based on a state law procedural component of Section
       5(a).

       Mr. Barbee’s subsequent state habeas petition raised several claims of ineffective assistance

of counsel and a claim of actual innocence based on new facts, as discussed supra. To surmount the

Section 5(a) threshold, he asserted that these claims relied on “new facts,” that those facts were

previously unavailable, and that he was actually innocent of the murders. Thus, he asserted that he

met the standards for subsequent applications under Sections 5(a)(1) through 5(a)(3).

       The CCA’s order dismissing all the claims in Mr. Barbee’s subsequent application (except

Claim 2) as an “abuse of the writ” (Exhibit 52) does not rest on an adequate and independent state

ground because (1) as explained supra, the sections of the state statute upon which the CCA’s

dismissal relied incorporated and is interwoven with federal constitutional law (the merits of Mr.

Barbee’s federal constitutional claims, including his claim of actual innocence), raising the Long

presumption; (2) the language of the dismissal does not unambiguously declare its independence

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from federal law, leaving the Long presumption intact.

          Thus, the CCA’s decision dismissing Mr. Barbee’s subsequent petition is not independent

of, but intertwined with federal law. Id. 463 U.S. at 1040-1041, and this Court’s jurisdiction is

intact.



          C. Petitioner has also established “cause and prejudice” for any alleged procedural
          default because his state post-conviction counsel was responsible for the default.

          Mr. Barbee was denied meaningful access to courts and due process of law in state post-

conviction proceedings by the failure of his state post-conviction attorney to render effective

assistance in the initial state habeas proceedings. As discussed in more detail supra, in Martinez v.

Ryan, 132 S. Ct. 1309 (2012), the Supreme Court held that the ineffective assistance of post-

conviction counsel can be cause for the procedural default of an ineffective assistance of trial

counsel claim. Id. at 1318. Recently, Martinez was held to apply to Texas cases in Trevino v.

Thaler.

          i. Mr. Barbee did not receive “competent” representation in state post-conviction
          proceedings.

          Any “procedural default” suffered by Mr. Barbee stems from the failure of his state habeas

counsel to raise the issues in his initial state post-conviction application. The result was that Mr.

Barbee did not receive the “competent” representation to which he was entitled by Texas law. Mr.

Barbee’s retained state habeas attorney, Mr. Don Verany, submitted an egregiously inadequate

petition which was a complete abdication of habeas counsel’s duties. It was only 29 pages long,

of which only 12 pages were devoted to the claims and legal argument. It raised only four claims:

          1. Ineffective assistance of counsel at the pretrial stage.
          2. Abandonment by counsel at the trial stage
          3. Ineffective assistance of counsel at the punishment phase

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        4. Police misconduct (withholding of the complete videotape of the interrogation)
        (Exhibit 11.)

           Ineffective assistance of counsel claims, by their very nature, are often not apparent from

the face of the trial record, as they often involve favorable evidence that was not presented or

conflicts of interest. (“In the majority of instances, the record on direct appeal is simply undeveloped

and cannot adequately reflect the failings of trial counsel.” Jackson v. State, 973 S.W.2d 954, 957

(Tex. Crim. App. 1998)). Additionally, state habeas counsel performed no meaningful extra-record

investigation into the circumstances of Mr. Barbee’s conviction and death sentence and refused to

investigate and present his actual innocence claims. Without an effective investigation, Mr. Barbee

was unable to present the extra-record evidence concerning this issue and many others presented in

his federal petition. (See, e.g., Exhibits 20-34, various declarations not presented at trial or on state

habeas.)



        ii. Mr. Barbee was prejudiced as a result of this failure.

        State habeas counsel’s representation fell well below a minimal standard of competence in

the following ways: failure to adequately and coherently brief claims; failure to conduct more than

a bare-bones investigation of extra-record evidence, even though that is the primary purpose of

post-conviction proceedings; failure to present proper post-conviction claims; and failure to

adequately communicate with the client.           Mr. Barbee was prejudiced by this ineffective

performance, because, as his federal petition demonstrates, viable challenges to his conviction and

death sentence could have been, but were not, raised during state post-conviction proceedings.

        Performing an investigation to determine the existence of cognizable constitutional

violations is a fundamental component of adequate state post-conviction representation:


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       Accordingly, where necessary to assure the full and fair adjudication of the client’s
       federal claims, post-conviction counsel should request that the state post-conviction
       case be conducted, and should be prepared to conduct it, as a civil trial proceeding,
       initiated by her on behalf of the client, complete with frequent and productive
       interaction with the client; comprehensive pre-filing and pretrial documentary, field,
       and legal investigation to identify and prepare to litigate the appropriate causes of
       action; careful pleadings; motions practice; evidentiary hearings; briefing; and any
       other procedures that counsel might use in civil litigation on a plaintiff’s behalf.

1 JAMES S. LIEBMAN & RANDY HERTZ, FEDERAL HABEAS CORPUS PRAC. & PROC. § 7.1a, at 274-75

(3rd ed. 1998) (LIEBMAN & HERTZ) (footnotes omitted). In order to zealously represent the client

and preserve an appropriate record for later federal review, state post-conviction counsel is under

a binding professional and ethical obligation to determine the avenues of investigation which may

prove fruitful and request the resources necessary to pursue them, if such a request is necessary:

       At the outset of state post-conviction proceedings, counsel should identify the
       procedures and resources necessary to investigate the case fully and fairly; discover
       meritorious claims; ascertain the expert and other analyses, evidence, and testimony
       that effective litigation of those claims will require; and present that information in
       a meaningful manner, whether by way of an evidentiary hearing or some other
       procedure. Thereafter, counsel should request, formally and in writing, each of the
       necessary procedures and resources and explain with specificity why each is
       essential, what claim it relates to, what evidence is likely to be generated thereby,
       and, generally, how the “full and fair” litigation of one or more claims in the petition
       requires the requested procedure or resource.

Id. at 279 (footnote omitted). This is not an unreasonable or extraordinary burden to place on a

lawyer whose client faces execution by lethal injection

       State habeas counsel failed to perform any of these tasks. There were viable claims of

constitutional error affecting Mr. Barbee’s trial and direct appeal proceedings. Had state habeas

counsel properly investigated, he would have determined that there was a strong claim of actual

innocence at the guilt/innocence phase, but was not put before his jury.




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        D. Art. 11.071 is arbitrary, violates due process and is not “regularly and consistently”
        followed, and therefore cannot be an “adequate” state procedural rule to support any
        alleged default.44

                              **********************
        “State courts may not avoid deciding federal issues by invoking procedural rules that they
        do not apply evenhandedly to all similar claims”

        Hathorn v. Lovorn, 457 U.S. 255, 263 (1982)

                                **********************

        Even when a petitioner is found to have violated a state procedural rule, the procedural

default doctrine does not bar federal habeas relief unless the state procedural rule is both “adequate”

to support the state court judgment and “independent” of federal law. See, e.g., Coleman v.

Thompson, 501 U.S. 722, 729-32, 735 (1991) (under procedural default rule, which is derived from

the “independent and adequate state grounds” rule applied on direct review, federal habeas corpus

court may not review state court decision that “clearly and expressly rel[ied] on an independent and

adequate state ground” (emphasis added). The state procedural rule, art. 11.071 sec. 5(a), is

inadequate, and hence does not bar federal relief, because the state procedural rule is arbitrary,

violated due process, and was not “regularly and consistently” followed at the time of the alleged

default.

        Article 11.071 became effective on September 1, 1995, well before Mr. Barbee’s conviction

and sentence of death. Until that date, the controlling statute, Article 11.07, did not impose any

deadlines for the filing of state habeas applications. Article 11.071, in contrast, includes time limits

for almost every step of the process, including the filing of writ applications, with substantial


       44
           Petitioner acknowledges that art. 11.071 has been found to be an “adequate” state
procedural rule. However, in light of Martinez and Trevino case, those holdings may no longer
be valid. See. e.g., Primus, Eve B., “Effective Trial Counsel After Martinez v. Ryan: Focusing
On the Adequacies of State Procedures,” 2013 Yale Law Journal (forthcoming).

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penalties for applicants who fail to file on time. Article 11.071 also changed the Texas procedure

for capital habeas by promising, through the Court of Criminal Appeals, “competent counsel” for

death row inmates for the state habeas process, and “reasonable compensation” of appointed

counsel. Furthermore, Article 11.071 requires the state habeas remedy and the direct appeal to be

pursued simultaneously, rather than allowing the state habeas process to start after the direct appeal

was concluded as was the practice under 11.07. Perhaps most significant to Mr. Barbee’s case,

under former Article 11.07, there were no restrictions on the amendment of applications. Article

11.071 now imposes time limits on the filing of such amendments. If amendments or supplements

to writ applications are filed out of time, the facts and issues contained in them may be waived and

lost to the inmate for the balance of the state and federal habeas process.

        The statute was amended, effective September 1, 1999. It permitted inmates whose

attorneys had not made timely filings of the state habeas application, and who would otherwise be

barred by the earlier version of sec. 11.071, to return to the state courts for another round of state

habeas proceedings. Another amendment effective on the same date transferred the power of

appointment of counsel for death row inmates from the Texas Court of Criminal Appeals to the

convicting district courts in which the applications would be filed.

        Thus, the state procedural rule here (before the proposed 2003 amendments discussed

above), art. 11.071, gives a new round of state habeas to those applicants who filed untimely, but

does not give any explicit remedy to those who, through no fault of their own, were represented by

counsel who failed to bring their clients’ claims before the state court in a minimally competent

manner. Such an arbitrary distinction, between untimely applicants and those who had incompetent

attorneys, results in a deprivation of due process, and is not a state rule that is “adequate” to support



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a finding of procedural default. The Supreme Court has counseled that “State courts may not avoid

deciding federal issues by invoking procedural rules that they do not apply evenhandedly to all

similar claims.” Hathorn v. Lovorn, 457 U.S. 255, 263 (1982). See also Dobbs v. Zant, 506 U.S.

357, 359 91993) (per curiam) (petitioner permitted to rely on transcript not previously discovered

or asserted as basis for relief because “delay [in discovery of transcript] resulted substantially from

the State’s own erroneous assertions that closing arguments had not been transcribed” and because

petitioner properly relied on state’s assertions); Moore v. Reynolds, 153 F.3d 1086, 1096-97 (10th

Cir. 1998), cert. denied, 119 S. Ct. 1266 (1999) (state law requirement that ineffective assistance

of counsel claim be raised on direct appeal is inadequate state ground); Reynolds v. Berry, 146 F.3d

345, 349-50 (6th Cir. 1998) (state procedural bar to successive postconviction motions, when applied

to petitioner on novel theory that initial motion for resentencing was the sole opportunity to raise

all postconviction claims, was not “adequate” state ground); Gosier v. Welborn, 175 F.3d 504, 507

(7th Cir. 1999) (state procedural rule was inadequate to bar federal habeas corpus review because

state courts applied it inconsistently in “incompatible lines of authority, [and in] cases that do not

cite each other, let alone establish a rule-and-exception framework”).

       The Supreme Court has long “stress[ed] that a state procedural ground is not “adequate”

unless the procedural rule is ‘strictly or regularly followed.’” Hathorn v. Lovorn, 457 U.S. 255, 262-

63 (1982), quoting Barr v. City of Columbia, 378 U.S. 146, 149 (1964). See also Ford v. Georgia,

498 U.S. 411, 424 (1991) (state supreme court’s application of procedural rule “does not even

remotely satisfy the requirement ...that an adequate and independent state procedural bar to the

entertainment of constitutional claims must have been ‘firmly established and regularly followed’

by the time as of which it is to be applied”); Dugger v. Adams, 489 U.S. 401, 410-11 n.6 (1989)



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(state procedural default rule that is not “consistently or regularly applied” by state courts is “not

[an] adequate” state ground and may not supply basis for denying federal habeas corpus relief; rule

held to apply to circumstances of case); James v. Kentucky, 466 U.S. 341, 348 (1984) (only state

procedures that are “firmly established and regularly followed...can prevent implementation of

federal constitutional rights”).



        E. Petitioner has also established “prejudice” for the “cause and prejudice” exception
        to the procedural default doctrine.

        As discussed in the prior sections, Mr. Barbee has shown that the Texas statute is not an

“adequate” state procedural ground on which to base a procedural default. He also has shown

“cause” for any alleged default. A petitioner is barred from raising a defaulted claim as a basis for

federal habeas corpus relief unless he can “excuse” the default by “demonstrat[ing] ...cause for the

default and actual prejudice as a result of the alleged violation of federal law.” Coleman v.

Thompson, 510 U.S. 722, 750 (1991). See also, e.g., Murray v. Carrier, 477 U.S. 478, 485 (1986);

Wainwright v. Sykes, 433 U.S. 72, 87 (1977). This section will show how Mr. Barbee has also met

the closely related concept of “prejudice” to excuse any default.

        The Supreme Court has not yet provided a precise definition of the “prejudice” half of the

“cause and prejudice” exception to the procedural default doctrine. See, e.g., Amadeo v. Zant, 486

U.S. 214, 221 (1988) (Court’s “decisions...have not attempted to establish conclusively the contours

of the [cause and prejudice] standard,” leaving “open” ‘for resolution in future decisions the precise

definition of the ...standard’” (quoting Wainwright v. Sykes, supra, 433 U.S. at 87 (1977); United

States v. Frady, 456 U.S. 152, 168 (1982) (declining to define “import of the term [‘prejudice’] in

...situations” other than the one before the Court). In Strickler v. Greene, 119 S. Ct. 1936 (1999),


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the Court resolved the issue–whether the petitioner, in a Brady claim, suffered prejudice sufficient

to excuse his procedural default–without announcing a broad-based definition of “prejudice.” It

concluded that the nature of the defaulted Brady claim, involving prosecutorial suppression of

evidence, rendered the “prejudice” analysis of the procedural default doctrine coterminous with the

assessment of “materiality” under the substantive Brady rule. At least for some purposes, therefore,

“prejudice” is established by a showing that, but for the default, there is a reasonable probability that

the outcome of the relevant proceeding would have been different. The ‘relevant proceeding’

includes both stages of the trial, and the Supreme Court in Strickler exhaustively analyzed the facts

of the case and the possible effects of the prosecutor’s conduct on both the guilt/innocence and

penalty phases of the capital trial. Id. at 1952-55. The Court emphasized the inevitable complexity

of such an analysis of “prejudice.” Id. at 1952.

        In Strickler, the Court stated that “[t]he differing judgments of the District Court and the

Court of Appeals attest to the difficulty of resolving the issue of prejudice.” Id. at 1952.

“[Petitioner] must convince us that ‘there is a reasonable probability’ that the result of the trial

would have been different if the suppressed documents had been disclosed to the defense.” Id. at

1952. The Court concluded that, “[a]s we made clear in [Kyles v. Whitley, 514 U.S. 419 (1995)],

the materiality inquiry is not just a matter of determining whether, after discounting the inculpatory

evidence in light of the undisclosed evidence, the remaining evidence is sufficient to support the

jury’s conclusions...Rather, the question is whether ‘the favorable evidence could reasonably be

taken to put the whole case in such a different light as to undermine confidence in the verdict.” Id.

at 1952. (Citations omitted).

        The Supreme Court has said, however, that prejudice requires more than a “possibility of



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prejudice,” United States v. Frady, supra, 456 U.S. at 170, and that the error must have “worked to

[the petitioner’s] actual and substantial disadvantage.” Id. These admonitions offer little guidance,

however, because “actual prejudice” is a term of art meaning only that some kind of prejudice is

found and not merely a presumption of prejudice. United States v. Olano, 507 U.S. 725, 734-35,

736, 739-41 (1993). It is clear, however, that to excuse a default under the “cause and prejudice”

doctrine, a habeas petitioner must either show some “structural” error as to which prejudice is

always present or presumed, or demonstrate some specific type of prejudice produced by the

otherwise defaulted error.

        Mr. Barbee shows herein the existence of the deprivation of “structural” constitutional rights

that are “so basic to a fair trial that their infraction can never be treated as harmless error,” or as so

prone to prejudice, when violated, that prejudice should be presumed.

        Additionally, a strong showing on cause, such as here, has been held to go a long way toward

establishing prejudice. See, e.g., Wainwright v. Sykes, 433 U.S. 72, 95-96 (1977) (Stevens, J.,

concurring); Clay v. Director, 749 F.2d 427, 434 (7th Cir. 1984), cert. denied, 471 U.S. 1108 (1985)

(“if prejudice is high, cause will be more easily found”); Huffman v. Wainwright, 651 F.2d 347, 351

(5th Cir. 1981) (reviewing court may “view cause...with an eye to the possible resulting prejudice”);

Bridge v. Lynaugh, 856 F.2d 712, 714 (5th Cir. 1988)(procedural default overcome in part by “highly

prejudicial” quality of petitioner’s claim).

        If Respondent raises a procedural default issue, a hearing must be held on controlling and

controverted factual issues surrounding the default and any excuses for it, as the state courts have

not fully and fairly addressed the factual issues. See 28 U.S.C.A. §2254(e); Wainwright v. Sykes,

433 U.S. 72, 80 (1977); Townsend v. Sain, 372 U.S. 293, 312-18 (1963); Brown v. Allen, 344 U.S.



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443 (1953); Williams v. Turpin, 87 F.3d 1204, 1211 (11th Cir. 1996) (district court erred in refusing

to hold evidentiary hearing to assess sufficiency of petitioner’s allegations of “cause” and

“prejudice” for default).

       The failure of the state court to address Mr. Barbee’s issues in either his first or subsequent

application (except for Claim 2) emphasizes the need for a federal hearing to adjudicate these factual

issues. See, e.g., Jenkins v. Anderson, 447 U.S. 231, 234-35 n.1 (1980) (“application of the ‘cause’

and ‘prejudice’ standard may turn on factual findings that should be made by a district court”);

Humphrey v. Cady, 405 U.S. 504, 517 (1972); Barnard v. Collins, 13 F.3d 871, 878 (5th Cir.

1994)(district court’s finding of absence of “cause” was “premature in the absence of an evidentiary

hearing or other appropriate proceeding to determine exactly when Barnard’s counsel could have

discovered [the claim] through reasonable diligence and investigation”); Ratliff v. United States, 999

F.2d 1023, 1026 (6th Cir. 1993); Preston v. Maggio, 705 F.2d 113, 115 (5th Cir. 1983), cert. denied,

471 U.S. 1104 (1985); Walton v. Stewart, 1999 WL 57427, at *9-*11 (9th Cir. Feb. 5, 1999) (district

court erred in denying petitioner’s request for evidentiary hearing to prove “cause” and “prejudice”);

Holleman v. Duckworth, 155 F.3d 906, 909-12 (7th Cir. 1998)(holding, in writ-abuse context, that

district court erred in summarily rejecting petitioner’s claim of “cause” based on newly acquired

facts, and remanding to district court for evidentiary hearing on issue); Porter v. Singletary, 49 F.3d

1483, 1489-90 & n.13 (11th Cir. 1995)(per curiam) (petitioner was entitled to evidentiary hearing

to show “cause” for procedural default on ground that he did not know and could not reasonably

have known factual predicate for claim at time of default); Huffamn v. Wainwright, 651 F.2d 347,

353 (5th Cir. 1981).




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          F. Fundamental miscarriage of justice.

          Should this Court find that Mr. Barbee has failed to establish cause and prejudice to excuse

any procedural default, this Court may nonetheless consider the merits of any defaulted claims if

failure to do so would result in a fundamental miscarriage of justice. Coleman v. Thompson, 501

U.S. 722, 750 (1991). As with cause and prejudice, the Supreme Court has not defined precisely

what constitutes a fundamental miscarriage of justice. At the very least, the incarceration of one

who is actually innocent of the crime for which he was committed would constitute a fundamental

miscarriage of justice. Schlup v. Delo, 513 U.S. 298, 321-22 (1995). Thus, a petitioner who shows

that it is more likely than not that no reasonable juror would have found him guilty beyond a

reasonable doubt absent the constitutional violation demonstrates a fundamental miscarriage of

justice sufficient to overcome a procedural default. Bousley v. United States, 523 U.S. 614, 623

(1998).

          The Ninth Circuit has explained that the “actual innocence” showing necessary to establish

a fundamental miscarriage of justice to excuse a procedural default is less demanding than the

showing necessary to prevail on a “freestanding” claim of actual innocence. To establish a

freestanding claim of actual innocence in federal court, the petitioner must “go beyond

demonstrating doubt about his guilt, and must affirmatively prove that he is probably innocent.”

Carriger v. Stewart, 132 F.3d 463, 476 (9th Cir. 1997) (citing Herrera v. Collins, 506 U.S. 390, 442-

44 (1993) (Blackmun, J., dissenting)), cert. denied, 523 U.S. 1133 (1998). However, to demonstrate

a fundamental miscarriage of justice sufficient to excuse a procedural default, the petitioner must

demonstrate only that “in light of all the evidence, including new evidence, `it is more likely than

not that no reasonable juror would have found petitioner guilty beyond a reasonable doubt.'”



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Carriger, 132 F.3d at 478 (quoting Schlup v. Delo, 513 U.S. 298, 327 (1995)).

       In Carriger, the Ninth Circuit found a fundamental miscarriage of justice where “[a]lthough

Carriger has not affirmatively proved his actual innocence sufficiently to satisfy Herrera,” he

showed “sufficient doubt about the validity of his conviction to satisfy Schlup” because it was more

likely than not that no reasonable juror hearing all of the available evidence would have voted to

convict Carriger beyond a reasonable doubt. 132 F.3d at 478. See also Paradis v. Arave, 130 F.3d

385, 396 (9th Cir. 1997) (“[I]t may be more likely than not that no reasonable juror would have

found Paradis guilty beyond a reasonable doubt . . . .”).

       A petitioner likewise demonstrates a fundamental miscarriage of justice when he shows that

the constitutional violation probably resulted in the imposition of a death sentence upon one who

is “actually innocent” of the death penalty. Sawyer v. Whitley, 505 U.S. 333, 340-47 (1992).

Innocence of the death penalty means the petitioner was not death-eligible. Id. at 345. A petitioner

who shows by clear and convincing evidence that, but for the constitutional violation, he would not

have been eligible for the death penalty, demonstrates a fundamental miscarriage of justice sufficient

to excuse procedural default. Id. at 347-48.45 Aside from actual innocence and innocence of the

death penalty, the Supreme Court has not determined what other circumstances constitute a

fundamental miscarriage of justice sufficient to overcome a procedural default. But clearly, Mr.

Barbee’s strong claim of actual innocence meets the standards discussed supra.



       G. Martinez v. Ryan and Trevino v. Thaler Create an Exception to the Procedural Bar
       Formerly Precluding Review of Claims Three, Four and Five.

       45
          The standard for establishing innocence of the death penalty is not as stringent as the
standard for establishing constitutional insufficiency of the evidence under Jackson v. Virginia,
443 US. 307 (1979) ) that no rational trier of fact could have found proof of guilt beyond a
reasonable doubt. Schlup v. Delo, 513 U.S. 298, 323 n.38 (1995).

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        1. Introduction.

        The Supreme Court recently created an exception to the precedent that has repeatedly

refused to create an exception to the procedural bar that formerly precluded federal review of Mr.

Barbee’s procedurally defaulted claims of ineffective assistance of counsel. These claims would

be all the claims and sub-claims of ineffective assistance of trial counsel, Claims Three, Four and

Five.

        In Martinez v. Ryan, 132 S. Ct. 1309 (2012), the Court held that the ineffective assistance

of post-conviction counsel can be cause for the procedural default of an ineffective assistance of trial

counsel claim. Id. at 1318. Martinez represents a “jurisprudential sea change” in relevant law that

determines whether Mr. Barbee’s Sixth and Fourteenth Amendment defaulted effective assistance

of counsel claims can be reviewed on their merits by a federal court. Vicknair v. Formosa Plastics

Corp., Louisiana, 98 F.3d 837, 839 (5th Cir. 1996).

        Martinez was decided on March 20, 2012. Instead of addressing whether a defendant has

a constitutional right to counsel for the initial opportunity to raise a claim of ineffective assistance

of trial counsel, the Supreme Court addressed the narrower question of whether the ineffective

representation of state habeas counsel can establish cause for a procedural defaulted claim in federal

habeas corpus proceedings:

        Coleman v. Thompson, [501 U.S. 722, 755 (1991)] left open, and the Court of
        Appeals in this case addressed, a question of constitutional law: whether a prisoner
        has a right to effective counsel in collateral proceedings which provide the first
        occasion to raise a claim of ineffective assistance at trial. ....
        This is not the case, however, to resolve . . . [the] constitutional matter [left open in
        Coleman]. The precise question here is whether ineffective assistance in an
        initial-review collateral proceeding on a claim of ineffective assistance at trial may
        provide cause for a procedural default in a federal habeas proceeding.

Martinez v. Ryan, 132 S.Ct. at 1315. As described in more detail, infra, the Supreme Court


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answered the latter question in the affirmative.

        Martinez addressed the question of whether ineffective assistance of state habeas counsel

in state collateral proceedings which provide the first occasion to raise a claim of ineffective

assistance of trial counsel (“IATC”) may provide cause for a procedural default in federal habeas

proceedings. Martinez, 132 S. Ct. at 1315. That Court found that under the Arizona procedural

framework in which state law required that IATC claims must be raised in initial-review collateral

proceedings, ineffective assistance of habeas counsel (“IAHC”) “may establish cause for a

prisoner’s procedural default of a claim of ineffective assistance at trial.” Martinez, 132 S. Ct. at

1315. The Court held that a federal court may find cause excusing such procedural default where

(1) the ineffective assistance of trial counsel is a “substantial” claim; (2) the cause consisted of either

no counsel or ineffective assistance of habeas counsel; (3) the state collateral review proceeding was

the initial review proceeding with regard to the ineffective assistance of trial counsel claim; and (4)

state law requires that an ineffective assistance of trial counsel claim be raised in that initial review

collateral proceeding. Martinez, 132 S. Ct. at 1320

        The merits of those claims compels the equitable remedy of allowing Mr. Barbee to present

his argument that the deficient performance of his state habeas counsel excuses the procedural bar

to federal review of his ineffective assistance of trial counsel claims.



        2. Trevino v. Thaler makes the equitable holding of Martinez v. Ryan applicable to
        Texas cases.

        In Trevino v. Thaler, 133 S. Ct. 1911 (2013) the Supreme Court found that the Arizona

procedural framework differed from that of Texas only with respect to the fourth requirement. Id.

at 1918. It found that to be “a distinction without a difference.” Id. at 1921. It concluded that Texas


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does not afford a meaningful review of an ineffective assistance of trial counsel claim in proceedings

prior to the initial-review collateral proceedings. Id. at 1919. Thus, where a petitioner can establish

the first three requirements of Martinez, a procedural default will not bar a federal court from

hearing a Texas ineffective assistance of trial counsel claim. Id. at 1921. The holding in Trevino

overruled a contrary holding by the Fifth Circuit in Ibarra v. Thaler, 687 F.3d 222 (2012); accord,

Ibarra v. Stephens, ___F.3d.___, 2013 WL 3762683 (5th Cir. July 17, 2013).

        In the wake of Trevino, a procedural default will not bar a federal habeas court from hearing

the merits of a substantial claims of ineffective assistance of trial counsel in Texas cases “if, in the

initial-review collateral proceeding...counsel in that proceeding was ineffective.” Trevino, 133 S.

Ct. at 1921 (quoting Martinez, 132 S. Ct. at 1320). Trevino thus requires that a Texas habeas

petitioner such as Mr. Barbee now be provided a full and meaningful review of his meritorious

claims of ineffective assistance of trial counsel claims.

        Trevino, handed down on May 28, 2013, held that a federal habeas court can excuse a

defendant’s procedural default even if state law, as in Texas, did not require that an ineffective

assistance of trial counsel claim be raised in an initial collateral review proceeding. The case

clarified a question left open in Martinez.

        As discussed supra, Martinez had held that a procedural default “will not bar a federal

habeas court from hearing a substantial claim of ineffective assistance at trial if, in the [State’s]

initial-review collateral proceeding, there was no counsel or counsel in that proceeding was

ineffective.” Martinez, 132 S. Ct. at 1320. However, that holding was limited to states where

“claims of ineffective assistance of trial counsel must be raised in an initial-review collateral

proceeding.” Id. Although Texas state law does not “require” a defendant to raise such a claim in



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a state collateral review proceeding, in actuality “[t]he structure and design of the Texas system

make it ‘virtually impossible’ for an ineffective assistance claim to be presented on direct review.”

Trevino, 133 S. Ct. at 1915, quoting Robinson v. State, 16 S.W.3d 808, 810-811 (Tex. Crim. App.

2000).

         The Supreme Court determined that the Martinez exception to procedural default did apply

in Texas. In Trevino, a capital case, the initial state post-conviction petition did not include a claim

that trial counsel’s ineffectiveness “consisted in part of a failure adequately to investigate and to

present mitigating circumstances during the penalty phase of Trevino’s trial.” [a claim under

Wiggins v. Smith, 539 U.S. 510, 523 (2003)] Trevino, 133 S. Ct. at 1916. Subsequent federal habeas

counsel presented several aspects of this Wiggins claim to the federal district court which included

mitigating evidence not previously presented in state court. When the case was stayed in federal

court and Trevino returned to state court, the state court held that the claim was procedurally

defaulted because it had not been raised in the initial round of state post-conviction proceedings.

Trevino, 133 S. Ct. at 1916. The federal district court, citing Coleman v. Thompson, 501 U.S. 722

(1991) also held that the claim could not be considered due to Trevino’s failure to timely raise the

claim in state court. The Fifth Circuit agreed, although the case was decided before Martinez. The

Fifth Circuit’s reasoning in the later case of Ibarra v. Thaler, 687 F.3d 222 (2012) “makes clear that

the Fifth Circuit would have found that Martinez would have made no difference.” Id. Ibarra had

interpreted Martinez as holding that the “good cause exception applies where state law says that a

criminal defendant must initially raise his claim of ineffective assistance of trial counsel in initial

state collateral review proceedings.” Id. Because Texas law on its face appeared to permit a

criminal to raise such a claim on direct appeal, the Fifth Circuit held that Martinez does not apply

in Texas. Ibarra, 687 F.3d at 227.

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       The Supreme Court in Trevino recognized that a procedural default will normally rest upon

“an independent and adequate state ground.” Coleman, 501 U.S. at 729-730. If so, then a federal

habeas court normally cannot consider the defendant’s federal constitutional claim. Trevino at 1917.

However, there is a “cause and prejudice” exception to that rule. Martinez, 132 S. Ct. at 1316. In

Martinez, the Supreme Court held that a “narrow exception” should “modify the unqualified

statement in Coleman that an attorney’s ignorance or inadvertence in a postconviction proceeding

does not qualify as cause to excuse a procedural default.” Martinez, 132 S. Ct. at 1315. There were

three reasons for this holding: 1) the bedrock right to effective assistance of counsel, 2) ineffective

assistance of counsel on direct appeal could amount to cause, and 3) where the State consequently

channels review of the constitutional claim of ineffective assistance of counsel to collateral

proceedings, a lawyer’s failure to raise it during the initial state postoconviction proceedings could

deprive the defendant of any review of that claim at all. Martinez, 132 S. Ct. at 1316-1317. The

exception in Martinez was limited to “substantial” claims of ineffective assistance of trial counsel;

the state collateral proceeding was the “initial” review proceeding with respect to the ineffective

assistance of trial counsel claim, and where state law required that the claim be raised on state

habeas. Martinez, 132 S. Ct. at 1318-1319.

       Texas law differed from the Arizona law in Martinez which required that these claims be

raised on state habeas. The Supreme Court concluded that the difference in Texas law from the

outright prohibition in Arizona did not matter because 1) Texas procedure makes it virtually

impossible for appellate counsel to adequately present an ineffective assistance of trial counsel claim

on direct appeal, and 2) if the Martinez exception did not apply in Texas, then “the Texas procedural

system would create significant unfairness.” Trevino, 133 S. Ct. at 1919. In Texas, the motion for



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a new trial was an inadequate vehicle for these claims due to the severe time constraints and because

the trial record is generally not yet transcribed at this point. Trevino, 133 S. Ct. at 1918. In the vast

majority of cases. “The undeveloped record on direct appeal will be insufficient for an appellant to

satisfy the dual prongs of Strickland...” Id. Texas cases have held that raising the claim, or failing

to raise such a claim, on direct appeal does not bar it from being raised in state collateral

proceedings and have directed that counsel should not raise these claims on direct appeal. Id. at

1920. As the Supreme Court held,

        [h]ow could federal law deny defendants the benefit of Martinez solely because of
        the existence of a theoretically available procedural alternative, namely direct
        appellate review, that Texas procedures render so difficult, and in the typical case all
        but impossible, to use successfully, and which Texas courts so strongly discourage
        defendants from using?
        Id. at 1920.

        Practically, state collateral proceedings are the only method for raising trial counsel

ineffectiveness claims in Texas. As the Court stated,

        [w]hat the Arizona law prohibited by explicit terms, Texas law precludes as a matter
        of course. And, that being so, we can find no significant difference between this case
        and Martinez. The very factors that led this Court to create a narrow exception to
        Coleman in Martinez similarly argue for the application of that exception here.
        Id. at 1921.

        The Supreme Court concluded that,

        for present purposes, a distinction between 1) a State that denies permission to raise
        the claim on direct appeal and 2) a State that in theory grants permission but, as a
        matter of procedural design and systemic operation, denies a meaningful opportunity
        to do so is a distinction without a difference.
        Id.

        The Supreme Court also concluded that:

        For these reasons, we conclude that where, as here, state procedural framework, by
        reason of its design and operation, makes it highly unlikely in a typical case that a
        defendant will have a meaningful opportunity to raise a claim of ineffective
        assistance of trial counsel on direct appeal, our holding in Martinez applies:

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        ‘[A] procedural default will not bar a federal habeas court from hearing a substantial
        claim of ineffective assistance at trial if, in the initial-review collateral proceeding,
        there was no counsel or counsel in that proceeding was ineffective.’ Trevino at 1921,
        quoting Martinez, 132 S. Ct. at 1320.


        3. The claims of ineffective assistance of counsel are “substantial” as required by
        Martinez.

        Martinez held that “the underlying ineffective-assistance-of-trial-counsel claim [must be]

a substantial one, which is to say that … [it] has some merit.” Martinez, 132 S. Ct. at 1318–19. Mr.

Barbee presented extensive evidence that, at both phases of the trial, his attorneys failed to present

readily-available evidence that fell below the standards of Strickland v. Washington, 466 U.S. 668

(1984). The facts are discussed herein as to the previously-presented individual sub-claims. Mr.

Barbee’s’s trial attorneys presented very little at the guilt phase.

        Time and time again, the Supreme Court has counseled that the failure to investigate can

never be termed “strategy.” For example, in both Rompilla v. Beard, 545 U.S. 374 (2005) and

Wiggins v. Smith, 539 U.S. 510 (2003) the Court held that trial counsel were ineffective for failing

to adequately investigate. Rompilla, 545 U.S. at 381-387; see also Wiggins, 539 U.S. at 519-527.

The Supreme Court then performed a careful analysis of the ways in which the decisions rejecting

the petitioners’ claims were based on an “unreasonable determination of the facts,” and involved an

“unreasonable application of” federal law. Rompilla, 545 U.S. at 389-390; Wiggins, 539 U.S. at

527-534. The Court used the same framework in Porter v. McCollum, 558 U.S. ___, 130 S. Ct. 447

(2009) – first conducting a careful review of the mitigating evidence Porter claimed his trial counsel

ineffectively failed to uncover and present during the penalty phase of his capital trial, before then

determining that the state court’s decision that Porter suffered no prejudice was an unreasonable

application of federal law.


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       The perfunctory guilt and punishment phase defense presentations, compared with what

could have been presented, shows no effort to ensure that their client had representation that met

with even the most minimal of prevailing professional norms.

       In summary, Mr. Barbeee’s Claims Three, Four and Five, discussed in more detail infra,

demonstrate deficient performance, the first prong of the test under Strickland v. Washington, 466

U.S. 668 (1984). As Strickland makes clear, the evaluation of attorney error, and the resulting

prejudice, should be seen cumulatively. Strickland, 104 S. Ct. at 2069; Williams, 529 U.S. at 397.

Nor do trial counsel’s actions comport with Williams, Wiggins and Rompilla, supra, where despite

much more aggravating evidence and much less omitted mitigating evidence, ineffective assistance

of counsel was found. See, e.g, Williams 120 S. Ct. at 1500; Rompilla, 125 S. Ct. at 2460 and 2462

(Rompilla’s “own contributions to any mitigation case were minimal” as he was uninterested in

helping counsel and at times “even actively obstructive”); and Wiggins (trial counsel’s punishment-

phase strategy not owed the deference usually accorded trial strategy, because it was not the product

of a professionally reasonable investigation into other potential mitigation themes). Decisions made

from ignorance or the failure to investigate can never be called “strategy.” Lewis v. Dretke, 355

F.3d 364 (5th Cir. 2003).



       H. The Effect of Martinez v. Ryan and Trevino v. Thaler.

       1. Mr. Barbee can satisfy the two-part Martinez test for establishing cause for the
       procedural default of his ineffective assistance of trial counsel claim.

       As we have seen, Martinez held that

        “[A] procedural default will not bar a federal habeas court from hearing a substantial claim




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of ineffective assistance at trial if, in the initial-review collateral proceeding, there was no counsel

or counsel in that proceeding was ineffective” [under the standards of Strickland v. Washington, 466

U.S. 668, 104 S.Ct. 2052, 80 L.Ed.2d 674 (1984)]. Martinez v. Ryan, 132 S.Ct. 1911, 1320 (2012);

Trevino v. Thaler, 133 S. Ct. 1911, 1921 (2013). Mr. Barbee will address each part of the Martinez

test in turn.



        2. Counsel in the initial-review collateral proceeding, where the claim should have been
        raised, was ineffective pursuant to Strickland v. Washington, 466 U.S. 668 (1984).

        a. Mr. Barbee’s initial habeas counsel was grossly deficient in state habeas corpus
        proceedings.

        Mr. Barbee’s state habeas counsel, Mr. Don Vernay, incontestably failed to perform the

basic tasks necessary to identifying the factual bases for a habeas corpus application, much less the

investigation necessary to plead and prove any habeas claims. Mr. Verany’s 29-page writ

application clearly did not comply with applicable professional standards for Texas capital habeas

corpus counsel.46

        b. Texas capital habeas corpus counsel has a statutory duty to conduct a thorough
        extra-record investigation and identify the factual bases for relief.

        Article 11.071 of the Texas Code of Criminal Procedure governs Texas capital habeas corpus

proceedings. Tex. Code Crim. Proc. art. 11.071 § 1. The habeas statute requires that counsel

conduct an extra-record investigation:


        46
             Mr. Vernay was retained by Mr. Barbee’s family. The Martinez/Trevino equitable
analysis applies equally to this situation, as Mr. Barbee did not acquiesce in the omissions and
inadequate petition filed by Mr. Vernay any more than if he had been appointed by the state, and
neither Martinez nor Trevino purport to limit their holdings to state-appointed counsel. Indeed,
in Martinez, the Court held that “a prisoner may establish cause for a default of an ineffective-
assistance claim in two circumstances. The first is where the state courts did not appoint counsel
in the initial-review collateral proceeding...,” Martinez, 132 S. Ct. at 1318.

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        Investigation of Grounds for Application
         Sec. 3. (a) On appointment, counsel shall investigate expeditiously, before and after
        the appellate record is filed in the court of criminal appeals, the factual and legal
        grounds for the filing of an application for a writ of habeas corpus.

Id. at § 3 (emphasis added). Counsel must be thorough and exercise reasonable diligence to uncover

the factual basis for every available claim. Id. at § 5(e) (claims are not cognizable in subsequent

habeas applications, and thus waived, unless “the factual basis was not ascertainable through the

exercise of reasonable diligence” when the prior application was filed). Investigation is so

fundamentally important that Texas courts are obligated to grant all reasonable investigative funding

requests. Id. at § 3(c); § 3(d).

        c. The prevailing professional standards in Texas capital habeas corpus cases, as
        reflected in State Bar of Texas materials, prescribed a broad and thorough
        investigation.

        One year after the 1995 passage of article 11.071 overhauled capital habeas corpus

proceedings and established a right to counsel, the State Bar of Texas published the third edition of

the Texas Criminal Appellate Manual.47 One of the chapters in the State Bar Manual was a primer

for defense counsel litigating capital habeas corpus cases. Id. The State Bar Manual confirms that,

by the time of Mr. Barbee’s trial in 2006, the prevailing professional standards in capital habeas

corpus representation compelled counsel to conduct extensive investigation.

        The manual begins with “essential ideas to bear in mind” when considering the habeas

corpus litigation, the first two of which stress the need to investigate the case:

        1. State habeas litigation is not the same as a direct appeal. Habeas litigation
        concentrates on developing and presenting facts outside the appellate record
        which, in conjunction with facts in the record, raise important constitutional claims.
        Habeas counsel must know the appellate record, but cannot be bound to it, or they
        will offer their clients nothing more than another attempt at a direct appeal.


        47
             Attached herein as Exhibit 57.

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       2. Writ practice requires investigation. You can’t learn about, develop, and present
       facts outside the record if you don’t investigate the case. Investigation for a writ
       can be as intensive as investigation in preparation for trial. This must be so
       particularly where habeas counsel believes that trial counsel may have rendered
       ineffective assistance of counsel. It is impossible to accurately evaluate the
       effectiveness of counsel without knowing what the counsel in question knew or
       could have known.

       (Exhibit 57, State Bar Manual at 4 (emphasis added)).

       The State Bar Manual repeatedly emphasizes the paramount importance of extra-record fact

development:

       Facts outside the record are critical to a successful writ application. Those facts must
       be sought out through investigation . . . . Because of the nature of habeas claims,
       habeas counsel must investigate not only the client’s background and the facts that
       gave rise to the offense, but also the investigation by police and defense counsel and
       the actions of the jury. There is no quick and easy way to do this and counsel will
       almost certainly need the help of a trained investigator to do an efficient and
       complete job . . . .

       Exhibit 57, State Bar Manual at 31.

       Ten pages—almost 25%—of the State Bar Manual are dedicated to describing the scope and

depth of the requisite investigation. State Bar Manual at 31–40. Of course, any investigation begins

with the client, and the State Bar Manual describes the “[t]opics to cover” during client interviews:

       (1) Your client[’]s version of the facts of the offense; (2) his or her relationship with
       the trial and direct appeal lawyers; (3) anything the client found strange, unusual or
       objectionable about the trial or direct appeal; (4) your client’s social history,
       including his or her background, education, family history, medical history, drug
       abuse history, etc. You should strive to know more about your client and his or her
       history than any other lawyer has known, and perhaps more than his own family has
       known, to ensure that you are aware of and can use all beneficial information that
       might come from that knowledge.

       Exhibit 57, State Bar Manual at 32–33 (emphasis added).48 Given this broad range of topics,

       48
            This standard essentially mirrors the Texas Court of Criminal Appeals’ determination
that, in a 1997 trial, capital defense counsel had a duty to interview the client about specific
aspects of his social history. Ex parte Gonzales, 204 S.W.3d 391, 400–01 (Tex. Crim. App.
2006) (Cochran, J., concurring).

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the State Bar Manual advises habeas counsel that “the information you need from your client cannot

be obtained in just one interview,” thus “the more conversations you have, the more likely it is that

you will win the inmate’s trust and uncover additional helpful and highly relevant information.”

Exhibit 57, State Bar Manual at 33.

         Client interviews, though critical, “must serve as the beginning, not the end, of [counsel’s]

investigation”:

         [The client’s family] may shed light on mitigating evidence that was not presented
         at trial, or guilt/innocence phase evidence that was suggested to trial counsel, but not
         presented. They will certainly have things to tell you about your client’s
         background that you can get nowhere else that could contribute substantially to
         the development of claims concerning mental disorders, mental limitations, or drug
         abuse. You will also want to ask them about their contacts with trial counsel, as part
         of your investigation into trial counsel’s investigation.

         Exhibit 57, State Bar Manual at 33–34 (emphasis added).

         Habeas counsel must also meet with trial counsel or, at a minimum, obtain trial counsel’s

files:

         [Y]ou should always, at the first meeting with [trial counsel], request their files. The
         files and all the notes in them belong to the client, not the lawyer, and you should
         insist on them being turned over to you . . . . [H]aving access to the file is vital, for
         it will tell you a lot about what information the lawyers had and what they were
         doing before, during and after the trial. Be sure that the file you receive includes all
         notes of the lawyers as well, for those notes are also the property of the client.

         Exhibit 57, State Bar Manual at 34.

         The above steps are merely preliminary measures: “Your record review, and interviews of

your client, his or her family, and trial counsel will give you a pretty good idea of what some of the

important issues may be in the case. That will allow you to focus your energy on developing

information relevant to those issues.” Exhibit 57, State Bar Manual at 34–35. The State Bar Manual




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subsequently describes three basic methods for investigating the case.

       First, habeas counsel must collect a wide variety of records, a lengthy process that begins

early in the representation: “It is vital to start gathering records as early in your writ preparation

process as possible. Records collection is time consuming and is sometimes contested by agencies

who are the custodians of records. It is preferable to deal with these disputes early in the

investigation rather than in the last weeks or days before the writ application is due.” Exhibit 57,

State Bar Manual at 35. The State Bar Manual describes some of the records that should be gathered

in every case:

       ! Prison records: “Be sure to request all prison records from every previous incarceration
       of your client in any institution, as well as his or her time on death row . . . . Those records
       may contain very important information concerning your client’s mental and medical
       condition.” Exhibit 39, State Bar Manual at 35.

       ! School Records: “School records are another valuable source of information. Through
       them you can find out about learning and mental difficulties your client was having
       throughout school that your client may be too embarrassed to tell you about or does not think
       are important. The records may include I.Q. tests or other testing that is quite helpful in
       learning how your client was able to function as he or she developed.” Exhibit 39, State Bar
       Manual at 35.

       ! Medical and mental health records: “Medical and mental health records should be sought
       from any care provider who treated your client. When getting these records, particularly
       from mental health professionals, make sure you specifically request all the records the care
       provider has, including handwritten or dictated notes made at or shortly after interviews or
       times of testing.” Exhibit 39, State Bar Manual at 35.

       ! Criminal records of witnesses: “Criminal records of all important witnesses at the trial
       should be checked in the county of conviction and any counties where they have spent
       substantial time. You may find that some non-law enforcement witnesses had good reason
       to cooperate with the state at the trial, due to pending charges against them. You may also
       find that some witnesses had prior convictions that could have been used to impeach their
       testimony at trial.”
       Exhibit 57, State Bar Manual at 35-36.

In addition to these fundamental documents, the State Bar Manual includes a five-page



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“Investigative Source List,” State Bar Manual at Exhibit 39, which itemizes numerous other sources

of relevant documents.

         Second, habeas counsel must collect information from all relevant law enforcement agencies:

         Always seek access to the district attorney’s files and law enforcement agency files
         regarding the capital offense and any other offenses that you believe will be relevant
         to any of your claims, including offenses committed by key state’s witnesses, such
         as jailhouse informants . . . . [I]t [is] important to energetically seek access to the
         files of every law enforcement agency that may have generated information
         regarding your client.
          (Exhibit 57, State Bar Manual at 36.)

         Third, habeas counsel must obviously interview witnesses and, when possible do so in

person: “As you begin to focus on the claims you want to pursue, you will identify people who have

important information about those claims. Some may have testified at trial. Others may never have

been called or perhaps were even unknown at the time of trial. You or your investigator need to

interview these people in person, if at all possible.” Exhibit 57, State Bar Manual at 37.

         The State Bar Manual observed that “it should be clear that the services of an experienced

criminal or habeas investigator are invaluable in efficiently and comprehensively gathering the

information necessary for a writ application.” Exhibit 57, State Bar Manual at 38. “Other experts

will likely be needed, too,” including mental health and medical experts. Id.



                                                ****

         In sum, both the statute and the prevailing professional standards in capital habeas corpus

proceedings mandated that state habeas counsel conduct substantial extra-record investigation. Mr.

Barbee’s state habeas petition reveals little evidence of any investigation, as the claims are record-

based.

         Basing Mr. Barbee’s state habeas corpus application solely on record-based claims did

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nothing to fulfill habeas counsel’s duty.         It merely provided a facade of post-conviction

representation. This mode of post-conviction representation was condemned by the State Bar of

Texas Task Force on Habeas Counsel Training and Qualification as the among the most serious

deficiencies in post-conviction representation, equal in efficacy to representation by a deceased

lawyer: “[the lack of regulation of capital state post-conviction counsel] “resulted in a list containing

lawyers who were, at best, unqualified to serve as capital habeas counsel and at worst, lawyers who

. . . filed habeas writs copied verbatim from writs filed in other cases, lawyers who filed writs with

absolutely no cognizable claims, lawyer who were serving suspensions from the practice of law for

neglecting their clients and even lawyers who were deceased.” State Bar Task Force Report, p.8.

The type of deficient representation is what led to subsequent reforms in Texas, including the

creation of a specialized capital post-conviction defender agency. Mr. Vernay’s performance here

was grossly negligent and far below accepted norms of professional performance.



        3. Mr. Barbee’s state habeas proceeding was the “initial-review collateral proceeding”
        within the meaning of Martinez in which the claim should have been raised.

        a. Martinez applies to the first proceeding in which a prisoner can obtain relief for a
        violation of his Sixth Amendment right the effective assistance of counsel.

        Arizona, where Martinez arose, does not permit prisoners to raise ineffective assistance of

counsel claims on direct appeal, requiring them instead to file such claims in state collateral

proceedings. Martinez sought federal habeas corpus relief claiming ineffective assistance of trial

counsel. The claim was procedurally defaulted because it had not been properly raised in state court.

Martinez argued that he was entitled to the effective assistance of counsel in that state collateral

proceeding because it constituted his first opportunity to raise his claim of ineffective assistance of

trial counsel. Because he had been denied such assistance, Martinez contended, he had established

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“cause” for any default. The district court found his claim of ineffective assistance of trial counsel

procedurally defaulted, citing Coleman v. Thompson, 501 U.S. 722, 755 (1991) (holding that “post-

conviction counsel’s ignorance or inadvertence does not qualify as cause to excuse a procedural

default.”). The Ninth Circuit affirmed, and Martinez presented to the Supreme Court the question

Coleman left open: “whether a prisoner has a [constitutional] right to effective counsel in collateral

proceedings which provide the first occasion to raise a claim of ineffective assistance at trial.”

Martinez v. Ryan, 131 S.Ct. 2960 (2011).

        Although the Supreme Court granted certiorari to address Martinez’s constitutional question,

it deferred that issue and instead addressed “whether ineffective assistance in an initial-review

collateral proceeding on a claim of ineffective assistance at trial may provide cause for a procedural

default in a federal habeas proceeding.” Martinez, 132 S.Ct. at 1315. The Court concluded that “a

narrow exception” to the unqualified holding in Coleman was necessary “[t]o protect prisoners with

a potentially legitimate claim of ineffective-assistance of trial counsel.” Id. at 1315. Thus, the Court

held that “[i]nadequate assistance of counsel at initial-review collateral proceedings may establish

cause for a prisoner’s procedural default of a claim of ineffective assistance at trial.” Id.

        The Court explained that an exception to Coleman was appropriate because when “an initial

review-collateral proceeding” provides the first opportunity for raising a claim of ineffective

assistance of trial counsel, it is the equivalent of a prisoner’s direct appeal, in that “the state habeas

court looks to the merits of the claim of ineffective assistance, no other court has addressed the

claim, and defendants pursuing first-tier review are generally ill equipped to represent themselves

because they do not have a brief from counsel or an opinion of the court addressing their claim of

error.” Id. at 1317 (citations and internal quotation marks omitted). Martinez pointed out that if



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direct appeal counsel is ineffective, “the prisoner has been denied fair process and the opportunity

to comply with the State’s procedures and obtain adjudication on the merits of his [other] claims.”

Id. Without the effective assistance of counsel in initial-review collateral proceedings, there is a

similar risk that prisoners will forfeit claims of ineffective assistance of trial counsel. Id. Such

claims often cannot be presented adequately without factual investigation and an “understanding of

trial strategy.” Id. When a claim of ineffective assistance of trial counsel cannot be raised on direct

appeal, a prisoner in initial-review collateral proceedings

       cannot rely on a court opinion or the prior work of an attorney addressing that claim
       . . . . The prisoner, unlearned in the law, may not comply with the State’s procedural
       rules or may misapprehend the substantive details of federal constitutional law. . .
       . [C]onfined to prison, the prisoner is in no position to develop the evidentiary
       basis for a claim of ineffective assistance, which often turns on evidence outside
       the trial record.

       Id. (citation omitted) (emphasis added).

       The Martinez Court recognized that while there are sound practical reasons for adjudicating

ineffective assistance of counsel claims in collateral proceedings, doing so deprives the prisoner of

constitutionally-guaranteed counsel to help safeguard perhaps the most important trial right:

       Ineffective-assistance claims often depend on evidence outside the trial record.
       Direct appeals, without evidentiary hearings, may not be as effective as other
       proceedings for developing the factual basis for the claim. Ibid. Abbreviated
       deadlines to expand the record on direct appeal may not allow adequate time for an
       attorney to investigate the ineffective-assistance claim. See Primus, Structural
       Reform in Criminal Defense, 92 Cornell L.Rev. 679, 689, and n. 57 (2004) (most
       rules give between 5 and 30 days from the time of conviction to file a request to
       expand the record on appeal). Thus, there are sound reasons for deferring
       consideration of ineffective-assistance-of-trial-counsel claims until the collateral-
       review stage, but this decision is not without consequences for the State’s ability to
       assert a procedural default in later proceedings. By deliberately choosing to move
       trial-ineffectiveness claims outside of the direct-appeal process, where counsel is
       constitutionally guaranteed, the State significantly diminishes prisoners’ ability to
       file such claims. It is within the context of this state procedural framework that
       counsel’s ineffectiveness in an initial-review collateral proceeding qualifies as cause
       for a procedural default.

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Id. at 1318. The core concern of Martinez is that a prisoner receive an adequate opportunity to

vindicate his Sixth Amendment right to the guiding hand of counsel: “A prisoner’s inability to

present a claim of trial error is of particular concern when the claim is one of ineffective assistance

of counsel. The right to the effective assistance of counsel at trial is a bedrock principle in our

justice system.” Id. at 1317.



        I. No deference is due to the initial-round state court holdings as to any of the issues
        raised in the initial state habeas proceedings as the “paper hearings” were insufficient.

        The following issues were raised on state post-conviction review:

        1. Ineffective assistance of counsel at the pretrial stage.
        2. Abandonment by counsel at the trial stage
        3. Ineffective assistance of counsel at the punishment phase
        4. Police misconduct (withholding of the complete videotape of the interrogation)
        (Exhibit 11.)

        The judge who presided at Petitioner’s trial was Judge Robert K. Gill. See, e.g., 2 CR 394,

Court’s Charge at Guilt/Innocence, signed by Judge Bob Gill, 213th District Court. However, Judge

Gill did not preside over Petitioner’s state habeas proceedings. On March 14, 2008, Petitioner filed

his application for writ of habeas corpus setting forth four these four claims for relief. (Exhibit 11.)

On September 29, 2008, Judge Louis Sturns, Judge Gill’s successor in the 213th District Court,

signed a “Memorandum and Order” prepared by the State, holding that

        the Court hereby determines, pursuant to article 11.071, section 8(a), of the Code of Criminal
        Procedure, that there exists no controverted, previously unresolved factual issues material
        to the legality of the applicant’s confinement.
        (Exhibit 15, Memorandum and Order of September 29, 2008, by Judge Louis Sturns.)

        Petitioner’s state habeas application was then denied by Judge Louis Sturns on November

6, 2008 when he signed an Order, also prepared by the State, which adopted the state’s proposed



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findings and conclusions verbatim, without so much as changing a comma. (See Exhibit 15, Order

adopting the State’s proposed memorandum, findings of fact, and conclusions of law and forwarding

these findings and the application to the Texas Court of Criminal Appeals.) No evidentiary hearing

was held, as the CCA’s Order of January 14, 2009 points out. (See Exhibit 9, Order in Ex Parte

Stephen Dale Barbee, No WR-71,070-01, at 2; “The trial court did not hold an evidentiary hearing.”)

The State conceded the existence of genuine questions of fact in their reply (Exhibit 12)where they

used the affidavits of trial counsel and the prosecutor to controvert Petitioner’s claims, and their

proposed findings and conclusions were mainly based on those affidavits. (Exhibits 12, 14.)

         On January 14, 2009, the Texas Court of Criminal Appeals denied the state post-conviction

application for writ of habeas corpus. Ex Parte Stephen Dale Barbee , No. WR-71,070-01 (Tex.

Crim. App. January 14, 2009)(per curiam)(not designated for publication)(Exhibit 9). The CCA

held that “[w]e adopt the trial judge’s findings and conclusions. Based upon the trial court’s

findings and conclusions and our own review, the relief sought is denied.” (Exhibit 9, Ex parte

Stephen Dale Barbee, No. 71,070-01.) This is erroneous on its face, as the “trial judge,” Judge Gill,

made no findings and conclusions in the state habeas proceedings and the CCA’s “review”

apparently overlooked this basic fact. In fact, there were no “trial judge findings” for the CCA to

adopt.

         Even aside from this error, review of the state habeas claims must be de novo because the

Fifth Circuit has repeatedly held when the state habeas court judge was not the trial judge and there

is a factual dispute that, if resolved in the petitioner’s favor would entitle him to relief and the state

has not afforded him a full and fair hearing, these state court findings are not entitled to any

presumption of correctness. Nethery v. Collins, 993 F.2d 1154, 1157 n. 8 (5th Cir. 1993), cert.

denied, 114 S. Ct. 1416 (1994)(no presumption of correctness to a state court finding when the state

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habeas proceeding was not considered by the same judge who presided over the petitioner’s trial);

Salazar v. Johnson, 96 F.3d 789 (5th Cir. 1996)(no presumption of correctness to a state court

finding when the state judge who presided over the plea did not conduct the habeas proceeding);

Livingston v. Johnson, 107 F.3d 297 (5th Cir. 1997); Perillo v. Johnson, 79 F.3d 441, 446-47 (5th

Cir. 1996); Goodwin v. Johnson, 132 F.3d 162, 182 n. 15 (5th Cir. 1998)(“The presence of

conflicting evidence, even if substantially weighted in favor of the state, generally denotes the

existence of a genuine fact question requiring an evidentiary hearing.”)

        Thus, there is a long line of cases in which the Fifth Circuit has refused to sanction “paper

hearings” where the state habeas judge did not preside at the petitioner’s trial. Here, as to all claims

raised in state habeas proceedings, he did not. At the very least, no presumption of correctness

adheres to the state court habeas findings. Additionally, as we have seen, the CCA held that “we

adopt the trial judge’s findings and conclusions” even though there were no such findings and

conclusions by the trial judge. Clearly, in such circumstances, no deference need be paid to the

CCA’s statement that it conducted its “own review” when this “review” did not notice that the trial

judge was not the state habeas judge and their own “review” was merely a rubber-stamp of the trial

court “review” which in turn was a rubber stamp of the prosecution’s findings and conclusions. The

state habeas judge here performed no more functions than that of a rubber stamp or an Auto-Pen.

The CCA’s denial of relief was clearly erroneous and was a decision that was contrary to and

involved an unreasonable application of, clearly established Federal law, as determined by the

Supreme Court of the United States. (i.e., the federal law discussed in these claims infra.)




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                                                VII.

                                     CLAIMS FOR RELIEF



 CLAIM ONE: MR. BARBEE IS ACTUALLY INNOCENT OF CAPITAL MURDER.

       Petitioner's conviction and sentence are unlawfully and unconstitutionally imposed, in

violation of the Fifth, Sixth, Eighth, and Fourteenth Amendments to the United States Constitution,

because he is actually innocent of the murder of Lisa and Jayden Underwood.

       Petitioner hereby incorporates by reference the Statement of Facts, supra.

       From the time of his arrest and initial incarceration, Mr. Barbee has consistently maintained

his innocence of the murders of Lisa and Jayden Underwood. Immediately upon his transfer to the

county jail, Mr. Barbee recanted his coerced “confession” and maintained his innocence. Yet his

trial attorneys, who were under great pressure from the trial court judge to plead the case, failed to

take any steps to establish Mr. Barbee’s innocence or to investigate the possibility that his employee

Ron Dodd had actually committed the murders. The trial itself was a perfunctory two-and-a-half

day affair. His attorneys, against Mr. Barbee’s express wishes, confessed his guilt without his

permission.

       Herein, Petitioner presents compelling evidence that he is actually innocent of these murders.

       A. Facts in Support Presented to the State Courts.

       Immediately after his transfer to the county jail, Mr. Barbee recanted his confession and

professed his innocence of the murders of Lisa and Jayden Underwood. (See, e.g., Exhibits 19, 20,

37.) He has continued to maintain his innocence to the present day. Mr. Barbee consistently

communicated this fact to his lawyers, investigators, experts, and others involved in this case and

continues to do so. (Exhibit 37.) At no time after the statement made to Detective Carroll on

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February 21, 2005 did Mr. Barbee ever state to anyone that he had committed the crimes he was

charged with. Instead he told all who would listen that although he did assist in disposing of the

bodies, Ron Dodd had committed the murders. (See, e.g., Exhibit 16, Affidavit of Amanda

Maxwell at 4.)

       The State’s case, when subjected to close scrutiny, makes little sense. According to the

evidence presented at trial, Mr. Barbee, who lacked any prior history of criminal activities or

convictions, killed both Lisa and Jayden Underwood because he was worried about the prospect of

paying child support for the yet-unborn infant and his wife finding out about Lisa’s pregnancy.

Somehow he single-handedly placed the pregnant 166-pound Lisa in her SUV; and then drove both

bodies to a remote location and buried them. He was supposedly assisted by Ron Dodd, who,

having nothing to gain and a lot to lose as an ex-convict with a history of violent assault, decided

to implicate himself in a double murder and help dispose of the bodies simply because Mr. Barbee

asked him to do so.89 Mr. Dodd allegedly left his house late at night, drove many miles to the

location near Denton, brought a shovel, and assisted with the concealment of the bodies, then picked

up and drove Mr. Barbee back to his house.

       The implausibility of the State’s case is heightened by the newly-discovered evidence

uncovered in the investigation of this matter, which will be discussed categorically:

       i. Evidence pointing to the guilt of Ron Dodd.

       From the time of his false “confession,” Mr. Barbee has insisted that he did not commit the


       89
            It is instructive to recall Mr. Dodd’s situation at the time: an ex-con with a long
record who would ordinarily have trouble obtaining employment, at the time of the murders was
living in a 5,000 square foot house valued at over $400,000 with a large swimming pool, cabana,
movie room, and other luxury amenities, receiving a generous salary and benefits, co-habiting
with the co-owner of two very successful businesses. Clearly, Mr. Dodd had never had it so
good.

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murders. Unfortunately, his attorneys ignored him and failed to investigate, let alone present, any

evidence pointing to Ron Dodd as the actual perpetrator of the murders of Lisa and Jayden.

        1) Jerry Dowling is Theresa Barbee’s father and hence, hardly someone with a motive to lie

or submit a false affidavit. He has submitted a sworn affidavit stating that “[m]y son Danny

Dowling told me that Ron Dodd had told him right after the murders that he had to punch Lisa in

the face 25-26 times before ‘the fucking bitch would go down.’” (Exhibit 30, Declaration of Jerry

Dowling.) Ron Dodd impressed Mr. Dowling as “a smart ass, loud mouth, and obnoxious. When

Theresa wanted me to meet him, I told her I did not want to meet him and wanted nothing to do with

him. I knew that Ron Dodd was like a dog that would come up to the back door and Theresa was

feeding him. He was there for the money. Big money was being thrown around.” (Id.) Mr.

Dowling also does not believe that Mr. Barbee was responsible for the murders of Lisa and Jayden.

(Id.) Yet Mr. Dowling was never contacted by the defense attorneys or asked to testify at Mr.

Barbee’s trial. (Id.)

        2) This is confirmed by the declaration of Tina Church in which she states that “both Jerry

Dowling and his son Danny Dowling had said that Ron Dodd said he had to punch Lisa Underwood

25-26 [times] in the face before the ‘fucking bitch would go down.’ This confession was made

directly by Ron Dodd to Danny Dowling and repeated to Danny’s father Jerry Dowling.” (Exhibit

25, Declaration of Tina Church of Aug. 9, 2010.)

        3) Ron Dodd has admitted that he had his clothes washed at 4 a.m. on the night of the

murders and also that, the next morning, he had his vehicle power-washed by his son Nathan and

Danny Dowling. (Exhibit 25, Declaration of Tina Church of July 21, 2010 at 3.)

        4) Jennifer Cherry, Stephen’s niece, has stated that Theresa often told her “how much she

hated him and wanted him ‘gone.’” (Exhibit 24, at 1.) Ms. Cherry also states that “[a]fter their

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separation and divorce, Theresa would say directly to me that she wished Stephen would die and

wished he was out of the office. She used to think aloud that she wished there was a way to get rid

of him.” (Id. at 2.) When Ron Dodd came onto the scene and started living with Theresa, she now

had the means to put these wishes into action.

        5) In contrast to Mr. Barbee, Mr. Dodd has a long and well-documented history of violence.

(Exhibit 35, criminal records of Mr. Dodd.). From 1990, when Mr. Dodd was 19, he has a history

of arrests and convictions for assault, aggravated assault, assault causing bodily injury, telephone

harassment, and various violations of parole. (Id.) These records indicate that Mr. Dodd was in

prison from March of 1999 to January of 2003, almost four years, for aggravated assault causing

serious bodily injury. (Id.) Mr. Dodd appears to have been released on parole on January 23, 2003.

Shortly after his release, Mr. Dodd went to work for Mr. Barbee. (Exhibits 19, 20, 30.) At the time

of the murders, Mr. Dodd was an ex-con with an extensive criminal record that would have made

employment very difficult, was living in a large, expensive 4000 square foot house with a swimming

pool and movie room, was being paid a very adequate salary with the use of a company truck and

was living with the co-proprietor of two valuable businesses. Mr. Dodd was living with someone

who stood to benefit to the tune of a half-million dollars upon the demise of Mr. Barbee, the

proceeds of a life insurance policy, as well as the businesses. Clearly, this is the history of a person

who has resorted to violence in order to get his way and had a motive to do so here.

        ii. Evidence pointing to the motives for Mr. Dodd to commit the murders.

        The implications of the State’s case were that Mr. Dodd’s involvement in the murders was

altruistic, simply helping a friend conceal two bodies in a multiple murder and thereby implicating

himself, an ex-convict with a lot to lose if his actions became known to the police. But Mr. Dodd



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has never impressed anyone as a person given to spontaneous acts of generosity in the name of

friendship.

       However, there are reasons, other than spontaneous altruism being wildly out character for

Mr. Dodd, to suspect that he was much more involved in these heinous murders than the State’s case

made him out to be. Mr. Dodd had a huge financial motive to commit the murders and blame them

on Mr. Barbee.

       The trial attorneys rejected Stephen’s claim of actual innocence partly on the basis that they

found no motive for Mr. Dodd to “kill two persons he had no association with.” (Exhibit 37 at 5;

see also Declaration of Jackie Barbee of July 30, 2010 at 6, “Stephen repeatedly told his attorneys

that Ron Dodd had committed the murders, but Bill Ray refused to listen and kept saying there was

no motive”). This sentiment reveals the lack of investigation conducted by the trial attorneys, as

there were plenty of potential motives for Mr. Dodd to commit the crime, principally financial, had

the attorneys bothered to look.

       Jackie Barbee, Stephen’s mother, confirms the financial motive for Ron Dodd to have

committed the murders. (Exhibit 19, Declaration of Jackie Barbee of July 30, 2010) Soon after the

murders, Theresa Barbee visited her ex-husband in jail and had him sign over the businesses to her,

allegedly to prevent them being the subject of a lawsuit if they remained in Mr. Barbee’s name.

Shortly before the murders, Mr. Barbee had discovered that Theresa was embezzling money from

the companies, and this provided another motive for Ron and Theresa to want to take Stephen out

of the picture. Mr. Dodd was also instrumental in causing the serious head injury suffered by Mr.

Barbee only a month or so before the murders. (Id. at 5.)

       Jackie Barbee also states that Theresa had a $500,000 bonding insurance policy switched



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to her as the beneficiary, without Stephen’s knowledge or consent. (Id. at 2.) This would give her

a motive for wanting Stephen to be convicted, according to Ms. Barbee. (Id.) Theresa and Ron

Dodd, with whom she was living, also benefitted from the extensive home improvements paid for

by Jackie Barbee. (Id. at 2-3.) Theresa has also refused to pay back any of the $53,000 she owes

Jackie. (Exhibit 20, Declaration of Mr. Barbee, at 14.)

        Tina Church confirms that Theresa and Ron Dodd had a financial motive to have Stephen

out of the way. “Within two weeks of Stephen’s arrest, Theresa went to the jail with paperwork and

told Stephen that if he didn’t sign over the businesses to her that they would both lose everything.”

(Exhibit 25, Declaration of Tina Church of July 21, 2010 at 3.) Theresa also thought that it was odd

that Ron Dodd wanted his clothes washed at 4 a.m. in the morning and that he power-washed his

car, inside and out, the next day. (Id.)

        During the trial preparations, mitigation expert Amanda Maxwell uncovered significant

evidence of financial misdeeds by Theresa which would have provided a motive for Ron Dodd to

have committed the murders:

        During this November 2nd meeting I suggested to the attorneys that an investigation into
        Stephen’s business finances be conducted. I had found out that his former wife owed his
        mother tens of thousands of dollars. Additionally, I had discovered that his former wife,
        Theresa Barbee, was caught embezzling funds from company accounts, had long been trying
        to get majority control of the businesses, had lied about DNA evidence and coerced Stephen
        into signing over his interest in the businesses and was living with his so-called accomplice.
        As she was not the owner of two multi-million dollar companies, she agreed to keep money
        on Stephen’s jail accounts. She never followed through on this agreement and had stopped
        payment on the loan she owed to Stephen’s mother.
        (Exhibit 16 at 4.)

        iii. Evidence pointing to Mr. Dodd’s propensity for violence and Mr. Barbee’s lack of
        it.

        In order to accept the State’s case at face value, one has to believe that a person with



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absolutely no prior convictions or history of violence brutally strangled a pregnant woman and her

young son. But virtually every declarant appended to this petition speaks of their shock when

Stephen was accused of the murders, his lack of a history of violence, and his essentially non-violent

nature. Likewise, virtually every declarant who personally knew or came into contact with Md.

Dodd speaks of his history of violence and his essentially mean and manipulative nature. It strains

credulity to think that Stephen alone committed these murders.

        Mary Hackworth states that “Stephen since a child I have always known him to walk away

from any kind of confrontation.” (Exhibit 31, Declaration of Mary Hackworth at 2.) Bobby Boyd,

the former Assistant Superintendent of the Azle, Texas School District, states that “Steve was a

well-behaved young man when I knew him...” (Exhibit 21.)

        The cruelty and malignant nature of the murder of Jayden was repeated often in both the

media (Exhibit 10) and at trial, yet Stephen’s fondness for children was never raised by his

attorneys. Christy Mackenson, a friend of Stephen’s former roommate, states that “Steve was crazy

about Trish’s kids and was very good with them. (Exhibit 32, Declaration of Christy Mackenson.)

Ms. Mackenson also states that “I never saw Steve angry. He was always fun and the life of the

party. Based on my prior knowledge of him, an his love for Trish’s kids, it is hard for me to believe

that Steve is guilty of these murders.”(Id.)

        Melody Tarwater, Stephen’s cousin, states that “I felt that Ron Dodd was trouble, and he was

not a person that I wanted anything to do with.” (Exhibit 33, Declaration of Melody (Tarwater)

Novak.) She also states that “I was shocked to learn that Stephen had been arrested for something

like this, and I still don’t believe that he would be capable of such an act....From the first time that

I saw Stephen [in jail] he proclaimed his innocence. He kept saying, ‘it’s not what it seems, I can’t



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explain, but I didn’t do it.’ I believed Stephen when he made that statement to me.” (Id.)

       In contrast to Mr. Barbee’s history, we have discussed supra the fact that Mr. Dodd had a

long and well-documented history of violence. (Exhibit 35, criminal record of Mr. Dodd.). From

1990, when Mr. Dodd was 19, he has a history of arrests and convictions for assault, aggravated

assault, assault causing bodily injury, telephone harassment, and various violations of parole. (Id.)

These records indicate that Mr. Dodd was in prison from March of 1999 to January of 2003, almost

four years, for aggravated assault causing serious bodily injury. (Id.) Mr. Dodd appears to have been

released on parole on January 23, 2003. Shortly after his release, Mr. Dodd went to work for Mr.

Barbee (Exhibits 19, 20, 30) and was living with Therea Barbee at the time of the murders.

       iv. Evidence pointing to the falsity of Mr. Barbee’s “confession.”

       The State’s case against Mr. Barbee rested to a large degree on his “confession” as there was

no forensic evidence connecting him to the scene of the murders in the victim’s residence. There

is an abundance of evidence to show that his confession was coerced and false.

       1) Mr. Barbee explains in his own affidavit how the confession was coerced:

       The next morning, Monday, I was once again contacted by the police. I agreed to meet them
       at the Wal-Mart at 6:30 p.m. My headache had still not gone away. I took three more
       hydrocodone in addition to 3-4 generic ibuprophen. Detective Carroll met me and I was
       taken in for questioning. They wanted a written statement which I never got to do. Ron had
       told me that if I said anything about him, that he would do something to harm my parents.
       I told Theresa this when I was in the Mansfield Police Department. A tape was made of my
       interrogation and it starts and stops. At this time, my head was hurting all the time as a
       result of the pipe accident. Det. Carroll kept saying “Just tell us it was an accident.”
       Eventually I said it was an accident because Det. Carroll said I was going to get the death
       penalty unless I said this. Det. Carroll testified that eventually there was a 45-minute
       confession by me in the restroom. But this was not true. Actually, I told him that I didn’t
       do it. He said that he had enough evidence to give me the death penalty. He also said that
       an accident is an accident that would save me. Finally, they got a false confession from me.
       I was crying and holding my head, it was hurting bad.
       (Exhibit 20, at 13-14.)



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        Mr. Barbee also states that “Det. Carroll asked me if I knew where FM 407 was. I said yes.

He asked me to go to the computer map and point to FM 407. I did. I did not point to a site, only

to FM 407.” (Id. at 14.) Mr. Barbee has admitted he panicked when he saw the bodies after Ron

Dodd left the victim’s house, as he thought that he would be blamed for the murders. (Id. at 11.)

He has also admitted that he transported the bodies and met Ron Dodd at a deserted location to

conceal them. (Id. at 12.) Hence, he did know the approximate location of the bodies and this

knowledge does not show that he actually committed the murders or that his confession was true.

        2) Stephen, at the time of his arrest, also told his niece Jennifer Cherry that Stephen

confessed because he “was protecting his family because Ron threatened Stephen that if he told

anyone what really happened, he would hurt his family...” (Exhibit 24, Declaration of Jennifer

Cherry at 4.)

        3) As we have seen, Stephen has insisted, virtually from the time of his coerced confession,

that it was false. There are not new allegations, presented here for the first time. Jackie Barbee

states that

        Stephen proclaimed his innocence from the very moment that I received a call from him
        right after his arrest and arrival in Mansfield. Bill, Theresa, Trish, Jennifer and myself all
        went to Mansfield and were allowed a short visit for approximately 10 minutes. During this
        time Stephen kept saying, “it’s not what it looks like, I didn’t kill anyone.” Theresa kept
        telling Stephen to tell the truth, and he said he was.
        (Exhibit 19, Declaration of Jackie Barbee of July 30, 2010 at 5.)

        Stephen also refused a guilty plea that would have taken the death penalty off the table. (Id.

at 6.) Although Stephen told his attorneys that he was innocent, “[t]hey wanted Stephen to admit

to a crime that he did not commit.” (Id.)

        4) One of the main problems with the State’s case is the reliance on the testimony of




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Detective Carroll regarding the alleged “bathroom confession.” In the restroom, Barbee then

allegedly told Carroll the following: that he and Dodd had created a plan to kill Lisa as she was

trying to take money from him and ruin him and his relationship with his wife. (24 RR 102-103.)

However, the “money” motive does not hold up, as the evidence shows that Mr. Barbee’s past

actions have never been particularly motivated by financial considerations. He gave up and walked

away from his expensive house outright, giving it to Theresa when they divorced. As a consequence,

there was no acrimony about financial considerations in the divorce. (See, e.g. Exhibit 19, Jackie

Barbee’s declarations; Exhibit 20, Stephen Barbee’s declaration, etc.) Compared to these large

sums, and a house worth in the neighborhood of $400,000, the paltry amount Mr. Barbee would be

required to pay in child support would not have even entered into the picture, let alone been the

prime motive for two brutal murders.

       Additionally, Det. Carroll admitted that his report was not detailed in regard to the bathroom

interview at the Tyler Police Department (24 RR 134) and the only report that was generated was

a five page report in December 2005, ten months after the incident, which he consulted to support

his testimony. (24 RR 136.) It strains credulity to believe that a crucial report of an alleged

confession in a high-publicity case would be left unwritten for almost a year after the incident.

       Author Pat Springer, who wrote a book entitled “Lethal Charmer” about this case, has stated

in her sworn declaration that she went to the Tyler Police Station where the alleged confession took

place and

       When I was shown the bathroom, I observed the entire layout of the room, and the room had
       two urinals, one enclosed toilet, and the opposite side of the room there was a double sink
       with a counter. This was not a large room. I asked the officer if anyone had ever confessed
       while in that bathroom, and he said “not to my knowledge.”
       (Exhibit 34, Declaration of Patricia Springer.)



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       Ms. Springer also states that

       I did several interviews for the book including one with Stephen Barbee. During this
       interview, Stephen told me that he did not commit the murders, and that Ron Dodd was
       responsible. I asked him why he did[n’t](sic) say anything right away to the authorities, and
       he said that he was fearful for his family. He stated that Ron Dodd had threatened to hurt
       his family.
       (Id.)

       5) A nationally-recognized expert on false confessions has opined that the circumstances of

the confession are suspicious. (See Exhibit 36, Letter of Dr. Richard A. Leo to attorney Bill Ray.)

Dr. Leo states:

       As I mentioned over the phone, there are two major issues that lawyers must confront if they
       are putting forward a false confessions defense: first, why the client would have falsely
       confessed; and second, how we know the confession is false. The second issue is related to
       but logically independent of the first.
       In this case, the police suspiciously turned the tape recorder off after they appeared to begin
       an accusatorial interrogation of Mr. Barbee. As I understand it from you, they had no good
       explanation for why they turned the tape recorder off and failed to memorialize the entire
       interrogation, especially since the tape was running at the beginning of the interrogation.
       In his written account, Mr. Barbee describes an interrogation that is highly
       coercive—involving death penalty threats in the absence of confessions and promises of
       leniency in exchange for confession. Mr. Barbee describes the kind of interrogation that
       researchers regard as psychologically coercive and that involve the kind of psychological
       interrogation techniques that typically lead to false confessions when false confessions
       occur. However, these very same interrogation techniques can also coerce true confessions.

       Further, Mr. Barbee consistently maintained to counsel that during the interrogation he was
       coerced into stating that he committed the murders by threats of the death penalty, that
       portions of his interrogation, including Det. Carroll banging on the table and threatening
       him, were missing from the recording provided to counsel, and that he spent only a brief
       time in the bathroom with Det. Carroll. Notwithstanding these facts, counsel did not give
       Mr. Barbee the option of testifying during the suppression hearing, thus leaving the State’s
       case unrefuted.

       There is little doubt that the most damaging evidence in this case was Mr. Barbee’s alleged
       statement to Det. Carroll. To say that the circumstances of the alleged “bathroom”
       confession are unusual are an understatement. This alleged confession was not
       memorialized in Det. Carroll’s notes and it occurred conveniently out of recording range.
       It simply defies coincidence that the tape recorder was turned off just as the detectives began
       to accuse Mr. Barbee of the murders, and that none of his responses after this point nor any
       of the police interrogation appear on the recording, until later when Det. Carroll leads him

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       through his statement after the alleged “confession” in the bathroom.
       (Exhibit 36, Letter of Dr. Leo.)

       It is important to note that Dr. Leo was not used by the defense due to his opinion that the

confession was likely to be true.90 Dr. Leo’s opinion, however, was based on a number of mis-

perceptions and incomplete information that should and could have been cleared up by defense

counsel. Dr. Leo thought that Mr. Dodd did not have a motive to commit the murders, whereas he

had a huge financial motive as discussed above. In fact, there was no motive for Mr. Dodd to

merely “assist” Mr. Barbee in the concealment of the bodies, as the State’s case had it. Secondly,

Dr. Leo was troubled by his assumption that he told his wife that he had committed the murders,

when in fact he merely told her of his involvement in the disposal of the bodies. Dr. Leo did not

know that Mr. Barbee has a long history of consistently denying that he committed the murders, to

his wife and everyone else involved in this case, while admitting that he disposed of the bodies.

Third, Dr. Leo was disturbed by the fact that Mr. Barbee led the police to the bodies, apparently not

knowing or not being told by the defense attorneys that he had admitted his involvement in burying

the bodies, and thus knew where they were buried, and that the police already knew the approximate

location of the bodies from Ron Dodd’s confession.91

       90
            In fact, the trial attorneys have eagerly seized upon this as support for their failure to
call this witness in support of Petitioner’s claim of actual innocence and to denigrate the claim of
innocence generally. (Exhibit 37 at 4-5.) However, the failure of the defense attorneys to fully
inform Dr. Leo of the facts surrounding Petitioner’s “confession”and the facts of the case led
directly to his negative opinion. Dr. Leo’s letter is just one more indication of the trial attorneys’
ineffectiveness.
       91
           It should be noted that false confessions, even in murder cases, are far from
uncommon. See, e.g., “Two Alleged False Murder Confessions for Waukegan Police Officer,”
by Dan Hinkel, Chicago Tribune, Sept. 25, 2010 (Jerry Hobbs confessed to killing his 9-year-old
daughter and her friend; 5 years in prison before DNA cleared him); “Confessing to Crime, but
Innocent”, by John Schwartz, New York Times, Sept. 10, 2010 (several false confessions to
rape and murder; Jeffrey Deskovic confessed to murder; prosecutors asked jury to consider his
“highly detailed” confession which proved to be false); “DNA Clears Man Wrongly Convicted of

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       B. What the State Court Held.

       This claim was first presented to this Court in Mr. Barbee’s initial federal habeas petition,

as Claim One. This Court stayed those proceedings and held Mr. Barbee’s petition in abeyance in

order to present his unexhausted claims in state court. This claim was then first presented to the

state courts as Claim One in Mr. Barbee’s subsequent petition. The Texas Court of Criminal

Appeals held that only Claim Two, the conflict of interest claim, met the successor writ standards

under Section 11.071 Sec. 5(a). Claim 1 was dismissed “as an abuse of the writ” because those

allegations “do not satisfy the requirements of Article 11.071 Section 5.” Ex parte Stephen Dale

Barbee, No. WR-71,070-02, at 2. (Tex. Crim. App. May 8, 2013)(Exhibit 52.) Hence, it was not

denied on the merits but only on procedural grounds, and the 2254(d) standard of review does not

apply. Nor does procedural default apply to claims of actual innocence under the “miscarriage of

justice” exception to procedural default.



       C. Why the Claim Is Not Barred Under 2254(d).

       i) The “gateway” claim of actual innocence.

       There are two types of claims advanced in federal habeas corpus proceedings. “Merits”

claims are those claims upon which a federal court may grant relief. “Gateway” claims are those

claims which are used to explain why otherwise procedurally barred constitutional claims should

be considered on the merits.

       Mr. Barbee has shown supra a compelling case of freestanding innocence as well as


1988 Murder,” Associated Press, April 28, 2010 (Frank Sterling convicted of murder after all-
night interrogation resulted in confession; DNA testing cleared him); “DNA Clears Man
Convicted of Murder at 15", Associated Press, Sept. 9, 2009 (Anthony Caravella wrongly
convicted of murder and rape 26 years ago; death penalty sought; DNA evidence cleared him.)

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innocence of the death penalty. Additionally, at the very least he has also shown sufficient

prejudice for him to meet the Strickland standards for ineffectiveness of counsel for failure to

effectively present his case for actual innocence.

        The procedural default doctrine is not applicable to gateway claims for two reasons. First,

a federal court may not grant relief from a state court judgment based purely upon a gateway claim;

the favorable resolution of a gateway claim merely permits a federal court to consider an otherwise

defaulted merit claim. Thus, a state's interest in finality is not compelling at the gate-keeping stage

because the petitioner is merely seeking authorization from the court to apply for the writ. Second,

the question of procedural default is a purely federal inquiry. Federal courts decide which merit

claims should be reviewed, and while a state's disposition of a case on procedural grounds is a

relevant consideration with respect to merit claims, a state may not preemptively determine the

scope of a federal court's discretion.

       In Herrera v. Collins, 506 U.S. 390 (1993), and Schlup v. Delo, 513 U.S. 298 (1995), the

Supreme Court defined the difference between merit claims and gateway claims. Herrera and

Schlup explain that merit claims and gateway claims serve distinct purposes.

      In Herrera, the habeas petitioner alleged that he was actually innocent of the crime for which

he was convicted and sentenced to death, but he did not allege a constitutional, trial error. Without

an accompanying constitutional claim, a plurality of the Supreme Court held, his claim of actual

innocence was irrelevant. "A claim of 'actual innocence' is not itself a constitutional claim, but

instead a gateway through which a habeas petitioner must pass to have his otherwise barred

constitutional claim considered on the merits." Herrera, 506 U.S. at 404.92

       92
          While Herrera was a plurality opinion, all nine Justices of the Supreme Court agreed
that Herrera's actual innocence claim could serve as a gateway to another constitutional claim.


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      Herrera's claim of actual innocence was of no import because Herrera did not seek to excuse

a procedural error so that he might bring an independent constitutional claim challenging his

conviction or sentence. (Id.) The gateway claim of actual innocence would only be relevant if "the

prisoner supplements his constitutional claim with a colorable showing of actual innocence." (Id.

at 404 (emphasis in original) citing Kuhlman v. Wilson, 477 U.S. 436, 454 (1986).) In other words,

had Herrera presented a separate merit claim -- one amounting to a denial of a federal constitutional

right -- Herrera could have asserted actual innocence as his gateway claim to excuse the default of

his merit claim.

       The situation was different in Schlup v. Delo, 513 U.S. 298 (1995) where Schlup filed a

second federal habeas corpus petition asserting that he was actually innocent and that he was denied

the effective assistance of trial counsel. Schlup's ineffectiveness claim was procedurally defaulted;

nevertheless, the Supreme Court remanded his case for further proceedings to determine if he could

demonstrate sufficient evidence of his actual innocence so that the procedural default of his

ineffectiveness claim could be excused. Schlup, 513 U.S. at 332.

       In Schlup, the Supreme Court again noted the fundamental distinction between gateway

claims and merit claims. Gateway claims, that Court held, are procedural rather than substantive.

Schlup, 513 U.S. at 314. Because no relief can be granted on claims that are purely procedural, a

state has no interest in blocking a federal court's review of that claim; therefore, the federal courts

were not restrained by the fact that much of Schlup's evidence of actual innocence was presented

for the first time in a successor habeas petition. (Id.) Rather, the Supreme Court characterized

Schlup's case as resting, in the final analysis, on his underlying merit claim, which could only be

addressed if Schlup proved his gateway claim. (Id. at 316.)



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       More recently, in House v. Bell, 126 S. Ct. 2064 (2006) the Supreme Court answered the

following two questions which are important in determining the question of procedural default in

Mr. Barbee’s case:

       1. Did the majority below err in applying this Court’s decision in Schlup v. Delo [513 U.S.
       298 (1995] to hold that Petitioner’s compelling new evidence, though presenting at the very
       least a colorable claim of actual innocence, was as a matter of law insufficient to excuse his
       failure to present that evidence before the state courts–merely because he had failed to
       negate each and every item of circumstantial evidence that had been offered against him at
       the original trial?

       2. What constitutes a “truly persuasive showing of actual innocence” pursuant to Herrera
       v. Collins [506 U.S. 390 (1993)] sufficient to warrant freestanding habeas relief?

       In House, the Supreme Court held that “the habeas court must consider ‘all the evidence,’

old and new, incriminating and exculpatory, without regard to whether it would necessarily be

admitted...” House, at 2077, quoting Schlup at 327-328. The Court emphasized that

       the Schlup standard does not require absolute certainty about the petitioner’s guilt or
       innocence. A petitioner’s burden at the gateway stage is to demonstrate that, more likely
       than not, in light of the new evidence, no reasonable juror would find him guilty beyond a
       reasonable doubt—or, to remove the double negative, that more likely than not any
       reasonable juror would have reasonable doubt.”
       House, at 2077.

       The House court added that “[b]ecause a Schlup claim involves evidence the trial jury did

not have before it, the inquiry requires the federal court to assess how reasonable jurors would react

to the overall, newly supplemented record.” (House, id.) Although “deference” is given to the trial

court’s assessment of the evidence, “the Schlup inquiry, we repeat, requires a holistic judgment

about ‘all the evidence.’” (House, id.) House had an evidentiary hearing regarding his new evidence

of innocence, including newly-discovered DNA evidence.




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          While Herrera, Schlup and House all deal with the fundamental-miscarriage-of- justice

exception to procedural default, they teach that all claims advanced in federal habeas proceedings

and, indeed, all arguments advanced in support of them, need not be constrained by the doctrines

of exhaustion and procedural default. See Vasquez v. Hillery, 474 U.S. 254, 257-58 (1986) ("We

have never held that presentation of additional facts to the district court, pursuant to that court's

directions, evades the exhaustion requirement when the prisoner has presented the substance of his

claim to the state courts"); House, at 2068 (“In certain exceptional cases involving a compelling case

of actual innocence, however, the state procedural default rule is not a bar to a federal habeas corpus

petition,” citing Schlup at 319-322.

          Federal courts unquestionably owe a great degree of respect to state-court judgments, but

not at the expense of an Article III Court's discretion to determine, in the first instance, if merit

claims should be reviewed. See Reed v. Ross, 468 U.S. 1, 15 (1984) ("This Court has never held,

however, that finality, standing alone, provides a sufficient reason for federal courts to compromise

their protection of constitutional rights under Sec. 2254"). Comity requires more than protecting the

states' interests; those interests must be weighed against the federal courts' authority to remedy

fundamental wrongs committed by the states. See House v. Bell at 2076 (“the principles of comity

and finality that inform the concepts of cause and prejudice ‘must yield to the imperative of

correcting a fundamentally unjust incarceration” quoting Murray v. Carrier, 477 U.S. 478, 495

(1986).

          Thus, procedural default is not applicable to this claim.

          D. State court procedures were inadequate to deal with the factual disputes raised in
          this claim.

          Despite requesting an evidentiary hearing on this claim, the state courts granted the hearing


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only on Claim 2, the conflict of interest. Although the hearing did touch on issues of both actual

innocence and ineffective assistance of trial counsel for failure to present Mr. Barbee’s claim to his

jury, the state fact-findings procedures did not resolve the many outstanding factual issues described

herein.




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CLAIM TWO: MR. BARBEE WAS DEPRIVED OF DUE PROCESS AND A FAIR TRIAL
BECAUSE HIS ATTORNEYS HAD A CONFLICT OF INTEREST.

        Mr. Barbee was denied due process and a fair trial because his attorneys, particularly Mr.

Ray, had a conflict of interest that precluded them from effectively representing him at trial. This

conflict of interest deprived Petitioner of his rights under the Fifth, Sixth, Eighth and Fourteenth

Amendments to the United States Constitution.

        A. Introduction.

        Both of Mr. Barbee’s trial attorneys were appointed by Judge Robert Gill, on the basis of an

understanding that they were to “move” the case rapidly through the court process. Recent

revelations of a secret agreement between lead counsel Mr. Bill Ray and Judge Gill, in terms of the

number of a huge number of appointments he received from Judge Gill and how Judge Gill handled

those cases, make clear that Mr. Ray was under pressure to handle this case similarly to the hundreds

of others to which he was appointed by Judge Gill. The attorneys were expected to plead Mr.

Barbee guilty, and, failing that, they were to put up only a minimal defense so that the case would

move quickly. Mr. Ray has been held to have rendered ineffective assistance of counsel and Judge

Gill’s conduct has been termed “outrageous” by a judge of this Court. This claim could not have

been brought earlier, as it is based on revelations that only became public less than a year ago, after

Petitioner’s state writ application had been denied. The conflict of interest also involves Mr.

Moore, as second-chair, as the court’s imperative to move the case along quickly also implicated

his actions and failures to act.

        This is both a stand-alone claim of a conflict of interest and a claim that also explains the

ineffective assistance of counsel claims (3 through 5) that follow this claim. The failure of Mr.




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Barbee’s counsel to investigate his actual innocence and the inexplicable jettisoning of a multitude

of mitigating evidence become very clear when viewed through the explanatory prism of this claim.

This conflict also amounted to ineffective assistance of counsel, as there was no valid strategic

reason for this failure and Mr. Barbee was prejudiced as a result.

       B. Facts in Support of Claim.

       The Facts in Support of the prior claim (actual innocence) and the claims of ineffective

assistance of trial counsel (Claims Three, Four, and Five) are hereby incorporated by reference.

       i. Facts previously presented to this Court in the initial federal petition and to the state
       court in the subsequent state petition.

       As mentioned in the factual summaries, there was a multitude of mitigating evidence that

was either not investigated or else, when it had been investigated, was not presented at trial.

       In February of 2010, shocking revelations came to light regarding secret, long-standing

practices in the courtroom of Judge Robert K. Gill, Mr. Barbee’s trial judge, and Mr. Bill Ray, Mr.

Barbee’s lead counsel. As summarized by Associated press reporter Danny Robbins in his February

21, 2010 article entitled “Secret Testimony: Tarrant judge acted as prosecutor”:

               For years, thousands of probation revocation cases moved through the courtroom of
       one Texas judge with remarkable efficiency.
               Robert K. Gill disposed of nearly 8,000 such cases in 14 years as a state district judge
       before his retirement in 2007. No other judge in Tarrant County handled more.
               But the method he used to clear his docket, detailed in secret testimony obtained by
       The Associated press, raises fairness and ethics concerns for legal experts and leads some
       to think that many of the revocations could be overturned.
               An attorney who regularly represented indigent probationers facing revocation in
       Gill’s court has testified that the judge personally negotiated plea deals, a role normally
       reserved for prosecutors. Rejecting Gill’s offer often meant a tougher sentence if he later
       heard the case and decided a violation occurred, the attorney, William H. Ray, said under
       oath.
               “In his court, as opposed to other courts, there was no interaction with the
       prosecutors,” Ray testified. “They didn’t enter into the conversation unless it became a
       contested matter.”


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              Ray, a well-known Fort Worth criminal defense attorney, testified at a hearing in
     federal court last May that was part of a case that has since been sealed. Documents from
     the case were obtained by the AP.
              The testimony suggests conduct that would violate defendant’s constitutional right
     to due process, according to some who study criminal law and judicial matters.
              “The judge, after all, is supposed to be a neutral referee,” said John Schmolesky, a
     law professor at St. Mary’s University in San Antonio.
              Attorneys who specialize in post-conviction issues said Ray’s testimony raises the
     possibility that every revocation in Gill’s court could be challenged, although defendants
     who have already been denied relief on other grounds would face significant legal hurdles...
              The Tarrant County District Attorney’s Office was aware of what Gill was doing,
     said Alan Levy, chief of the criminal division. Although he acknowledged that the judge’s
     procedure was ‘contrary to the way every other court has ever handled these cases,’ he said
     the DA’s office went along with it because cases moved rapidly, sentences seemed to fit the
     offenses and defense attorneys didn’t complain.
              ‘No, [the process] was not approved by us,’ Levy said. “But he’s the judge. It’s his
     court. If we were worried about our rights, I suppose we could have intervened at some
     point. But it wasn’t our rights [being affected].’ ...
              Gill’s procedure became an issue during a hearing on a writ of habeas corpus filed
     on behalf of a mentally ill woman whose probation was revoked in his court in 2007.
              The woman, Sandra W[],93 contended that Ray, her court-appointed attorney, was
     ineffective because he failed to mention her mental condidtion even after she tried to hang
     herself in her jail cell.
              The focus shifted to Gill when Ray testified that W[] received a 15-year prison
     sentenceafter she rejected a plea deal in which the judge offered 12 years.
              U. S. District Judge John McBryde later vacated W[]’s sentence on the grounds of
     ineffective counsel. But he also noted Gill’s ‘unusual procedure’ for sentencing and said he
     had ‘serious concern’ that it denied W[] due process....
              Ray said in an interview that he disclosed McBryde’s ruling to Tarrant County’s
     district court judges and they have allowed him to continue representing indigent defendants
     on the condition that he attend a five-hour seminar on mitigation.
              Ray has received more than $1.3 million from court appointments in Tarrant County
     the last five years, the most of any attorney, according to data compiled for the AP by the
     county auditor.
              In giving Ray most of the appointments for probation revocations in his court, Gill
     bypassed the rotation system, or ‘wheel’, usually used for matching attorneys with indigent
     defendants.
              The Texas Fair Defense Act, in effect since 2001, requires counties to have an
     impartial system for making court appointments, but it doesn’t explicitly state that probation
     revocations must be included. Consequently, some counties, including Tarrant, allow judges
     to choose attorneys for those cases.



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          The last name of this defendant has been redacted for privacy concerns.

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               Ray earned $710,000 from his work in Gill’s court between 2001 and 2007, an
       amount that represented 43 percent of his total earnings from court appointments, according
       to the auditor.
               When Gill ran for reelection in 2004, Ray was the largest contributor to the
       campaign, giving the judge, who was unopposed, $1000....94

       See Exhibit 38, Danny Robbins, Associated Press, February 21, 2010 article entitled “Secret

Testimony: Tarrant judge acted as prosecutor.”

       These revelations only came to light only after Petitioner’s writ had been denied in the state

courts. On May 12, 2009, Judge John McBryde of the Dallas Division of the United States District

Court for the Northern District of Texas held a hearing at which Mr. Ray testified. (Exhibit 39,

Hearing on a Writ of Habeas Corpus Before the Honorable John McBryde, United States District

Court, Northern District of Texas, May 12, 2009, W____ v. Quarterman, No. 4:07-cv-___-A). Mr.

Ray was appointed to represent a defendant named Sandra W. (Id. at 5.) She was there because she

had allegedly violated her deferred adjudication and was now charged with selling drugs. Mr. Ray

told her that the judge “wants you to plea bargain for twelve years.” (Id. at 10.) Ms. W. told Mr.

Ray about her mental health and retardation issues. (Id. at 11.)      She did not accept the twelve

years offered to her. (Id. at 13.) Then she tried to hang herself in prison. (Id. at 14.) When she

returned to the court, she was given fifteen years. (Id. at 18.)

       Mr. Ray testified that he was appointed by Judge Gill to represent Ms. W. on this probation

revocation charge. (Id. at 25.) Mr. Ray explained the appointment system of Judge Gill:

       Well, what happened, in Tarrant County there is a rotating basis of people that are appointed,
       and judges can go outside that rotation and appoint people outside the wheel. Judge Gill

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           Despite having no opposition, Judge Gill collected over $20,000.00 in contributions
but had “campaign” expenditures of less than $3,000.00. (Exhibit 46). The records compiled by
the Texas Ethics Commission show that Bill Ray donated $1000.00 as the largest contributor
(see Exhibit 38, quoted supra); co-counsel Tim Moore contributed $300.00; and appellate
attorney Mary Thornton contributed $500.00. (Exhibit 46.) All three large contributors
benefitted from appointments by Judge Gill in this case.

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       appointed me and other judges would appoint other lawyers on people that had probation
       violations because those cases they never had a jury trial, and they were typically all settled
       without a trial. And he would appoint me outside the process, which the law allowed him
       to do.
       (Id. at 25.)

       He was appointed to the W. case on November 13, 2006. (Id. at 26.) According to Mr. Ray,

Judge Gill “would just appoint me because he felt like I took care of my business pretty well.” (Id.

at 27.) This arrangement with Judge Gill started in 2001 or 2002 and Mr. Ray would handle from

4 to 15 cases per week. (Id.) The total number of cases he handled in this way from Judge Gill was

400 to 500. (Id. at 28.) The arrangement was unusual because there was no interaction with the

prosecutor:

       In Judge Gill’s court, what would happen is the probation officer would bring their files over
       to the court. He would look at the files, and he would write whatever his offer was in the
       file. In his court, as opposed to other courts, there was no interaction with the prosecutors.
       They didn’t enter into the conversation unless it became a contested matter. So to answer
       your question more specifically, Judge Gill made the offers and the negotiations, if there
       were any, and quite frankly, there wasn’t much [it] was directly between myself and Judge
       Gill....he [Judge Gill] would write it [the offer] in the file, and it was generally in a specific
       part of the file.”
       (Id. at 28.)

       “[I]f a person had a robbery deferred adjudication and they had a new offense, the offer was

almost always twelve years, and it was even predictable.” (Id. at 29.)

       On November 13, 2006 Ms. W. did not want to accept the offer. (Id. at 31.) Mental health

issues usually did not figure into Judge Gill’s offers: “[i]f the person was sane and competent, my

experience was it didn’t make a whole lot of difference.” ( Id. at 33.) If Mr. Ray had known about

the mental health issues in this case, he would have had her referred to a psychologist to see if she

was competent. (Id. at 33.)




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        Judge Gill was in the habit of handing out “standard sentences” of 15 years for someone who

had a deferred adjudication for a robbery and then dealt in drugs. (Id. at 37.) Judge Gill made an

offer of 12 years for Ms. W. (Id. at 38.) On January 5, 2007, Ms. W. did not accept the offer and

hence she was given 15 years. (Id. at 43.) She was wearing a neck brace as a result of her suicide

attempt. (Id. at 43.)

        Of particular significance to Mr. Barbee’s case are Mr. Ray’s admissions in the W. case as

to his attitude toward mitigating evidence. In that case, he admitted that the fact that Ms. W.’s house

burned and some of her relatives were killed “wasn’t going to make a lot of difference to Judge

Gill.” (Id. at 54.) Asa result of Judge Gill’s indifference to mitigating evidence, Mr. Ray did not

investigate the fire, did not investigate Ms. W.’s mental health issues, did not investigate her

retardation issues or her attempted suicide. (Id. at 55.) Even though the new offense of dealing

drugs was found to be not true in Ms. W.’s case, because the state changed the charge from actual

to constructive dealing of drugs, that finding did not make any difference for Judge Gill. (Id. at 61-

62, 72.) As Judge McBryde accurately stated regarding Judge Gill’s sentencing routine, “It sounds

like he has a fixed routine without taking into account the characteristics of the individuals.” (Id. at

66.) Mr. Ray agreed that “He’s pretty predictable.” (Id.) As he stated, “if they were deferred and

they had a new felony offense, the offer was almost always twelve years, and if they got revoked,

they would get fifteen years.” (Id. at 67.) Mr. Ray had no reason not to raise the mental retardation

issue had he known of it. (Id. at 73.) Mr. Ray believed that even if it had been shown that Ms. W.

was mentally retarded, it would not have made much difference to Judge Gill. (Id. at 74.)

        Judge McBryde held that because Ms. W. had a neck collar on when Mr. Ray visited her,

he should have made further inquiry as to what the problem was and that would have led to him



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finding out about her mental problems.(Id. at 78.) Judge McBryde also stated that “I think what

Judge Gill did is outrageous....[i]n my view what he did is outrageous, not considering her mental

condition or retardation.” (Id. at 82.) The judge also added that “it’s apparent in this case there has

been a miscarriage of justice.” (Id. at 85.)

       On August 19, 2009, Judge McBryde issued a detailed and lengthy Memorandum Opinion

and Order holding that Ms. W. was entitled to habeas corpus relief and that Mr. Ray had rendered

ineffective assistance of counsel. (Exhibit 40, Memorandum Opinion and Order, by Honorable John

McBryde, United States District Court, Northern District of Texas, August 19, 2009, W_____ v.

Quarterman, No. 4:07-cv-___-A.) The opinion summarized the extensive mental health problems

of Ms. W. (Id. at 10-13.) The report was particularly scathing in its description of Mr. Ray’s

handling of the case:

                The court is satisfied that Ray had sufficient information in advance of the January
       5, 2007, hearing to show that there was available evidence that applicant had mental
       shortcomings. She told him that she had attempted to commit suicide, had mental illnesses,
       and was mentally retarded. Ray did not take an interest in any of those things, and did not
       seek to acquire any knowledge about them. If he had been providing applicant with the kind
       of legal assistance to which she constitutionally was entitled, he would have made further
       inquiry, including and studying the jail records, the records of John Peter Smith Hospital,
       and applicant’s prison records....
                Ray’s failure to do those things was not the result of any trial strategy or reasoned
       decision on his part. His conduct fell below an objective standard of reasonableness, and
       was outside even the widest range of reasonable professional assistance. Ray’s conduct
       amounted to ineffective assistance of counsel that permeated the entire revocation hearing....
                The court has concluded, and finds, that there is a reasonable probability that, but for
       the unprofessional conduct of Ray in failing to acquire and bring to Judge Gill’s attention
       the available information about applicant’s suicide attempt, mental illness, and mental
       retardation, Judge Gill would have taken action different from the action he took....
                For the reasons given above, Ray deprived applicant of her right to effective
       assistance of counsel by his failure to render adequate legal assistance to her. Ray failed to
       play the role necessary to ensure that applicant’s revocation hearing was fair. He failed to
       play the role that is critical to the ability of the adversarial system to produce just results.
       (Id. at 24-28)(Order signed August 19, 2009.)



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        In that order, Judge McBryde also ruled that “the factual basis for the claim was not available

to her until the May 12, 2009 hearing.” (Id. at 35-36.) The court also held that it “has a serious

concern that applicant was denied due process because of Judge Gill’s plea bargaining practice...”

(Id. at 36.) Judge McBryde granted Ms. W.’s writ, found that Mr. Ray had rendered ineffective

assistance of counsel, and ordered either a new hearing or that the case be dismissed. (Id. at 35-38.)



        ii. Summary of the facts developed and presented at the evidentiary hearing in state
        court.

        On September 14, 2011, the Texas Court of Criminal Appeals issued an order finding that

this claim satisfied the subsequent writ requirements of Tex. Code Crim. Proc. 11.051 Section 5(a)

and remanded the application to the trial court for consideration of the claim. Ex parte Stephen Dale

Barbee, No. WR-71,070-02 (Tex. Crim. App. Sept. 14, 2011) at 2. The CCA phrased the question

to be resolved was whether Mr. Barbee “was deprived of due process and a fair trial because his

attorneys had a conflict of interest.” (Id. at 2.)

        The trial court then ordered that a live evidentiary hearing be held solely on this claim on

February 22 and 23, 2012, in the 213th Judicial District Court of Tarrant County, Texas, Judge Louis

Sturns presiding, on February 22 and 23, 2012. Representing the State were Steven W. Conder and

Charles M. Mallin of the Office of the District Attorney of Tarrant County. Representing Petitioner

were undersigned counsel and attorney Hilary Sheard.

        The subject of the hearing was summarized by this Court in its order holding federal

proceedings in abeyance:

               In claim two, Barbee contends he was denied due process and a fair trial
        because his counsel [Mr. Bill Ray and Mr. Tim Moore] had a conflict of interest that
        precluded them from effectively representing Barbee at trial. Specifically, Barbee
        contends there was a secret agreement between his lead counsel and the trial judge

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        under which the trial judge appointed lead counsel [Mr. Ray] to represent hundreds
        of indigent defendants in unrelated probation-revocation proceedings. Barbee
        contends that the trial judge [Judge Gill] personally negotiated plea bargains in the
        revocation proceedings without a prosecutor’s involvement, and if the probationer
        rejected the plea offer and insisted on a hearing, the sentence would be higher if the
        hearing resulted in revocation. Barbee contends the trial judge was indifferent to
        mitigating evidence in the revocation proceedings. He contends that the revocation
        appointments earned his lead counsel $710,000 (or 43 per cent of his total earnings
        from court appointments) between 2001 and 2007. Barbee, who was tried and
        convicted in 2006, concludes that lead counsel’s favored status as the sole appointee
        for hundreds of cases depended on counsel moving cases quickly without undue
        delay and abandoning due process in favor of efficiency and a high number of
        dispositions.
                 Barbee alleges that counsel, in keeping with this pattern of efficiency and
        high disposition count, put his own financial interests ahead of Barbee’s interests by
        (1) attempting to pressure Barbee into pleading guilty, (2) failing to investigate and
        present mitigating evidence, (3) acquiescing to voir dire being supervised by a
        different judge, (4) presenting a short, almost non-existent defense and concluding
        the trial in ‘near-record time’, (5) failing to inform the false-confession expert about
        basic facts which caused him to render an unfavorable opinion, and (6) failing to
        move for a change of venue.

        (Order Granting Motion For Stay and Abeyance, Barbee v. Thaler, No. 4:09-cv-074-Y (N.D.

Tex., May 18, 2011, at 3-4).

        Three motions were pending before the trial court at the commencement of the hearing. The

first was a motion to designate Petitioner’s trial counsel Bill Ray and Tim Moore and the trial Judge,

Robert Gill, as hostile witnesses. The trial court stated it while it would not grant the motion at this

time it would give the defense “latitude in questioning these witnesses.” (2 EH 9.)95 The second

motion was the State’s motion to limit the scope of the hearing. (2 EH 10.) Petitioner argued that

in order to show prejudice as a result of the conflict, it would be necessary to delve into instances

of ineffective assistance of counsel. (2 EH 10-13.) The State argued that the hearing should be



       95
          References to the evidentiary hearing will be designated as “EH” with the volume
number preceding the page number. The transcript of that hearing is included herein as Exhibit
49 (1st day, “2 EH”) and Exhibit 50 (2nd day, “3 EH”).

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limited to evidence of any possible conflict. (2 EH 14-15.) The trial court ruled that, in light of the

order of remand from the Court of Criminal Appeals, “it would allow some testimony with regard

to the issue of the impact of any alleged conflict of interest upon the attorneys’ representation of Mr.

Barbee in this matter.” (2 EH 26.) The trial court allowed “some latitude” as otherwise “this very

issue may have to be readdressed in a second hearing of some sort.” (2 EH 26.) The third motion

was to quash the State’s subpoena as to the records of trial counsel’s mitigation specialist Amanda

Maxwell. (2 EH 18.) Arguments were made as to whether the materials were privileged or not. (2

EH 18-24.) The trial court allowed the State to have access to Ms. Maxwell’s materials, but not to

any correspondence between Ms. Maxwell and Petitioner’s attorneys. (2 EH 26-27.) The exhibits

that were filed in support of Petitioner’s writ were received into evidence. (2 EH 27.)

        Amanda Maxwell testified that she is a licensed clinical social worker, has extensive

training in mitigation techniques, has trained as a court mediator, and has a master’s degree in social

work. (2 EH 30.) She is currently employed at the Dallas Independent School District in the

Psychological and Social Services Department and also as a mitigation specialist in Collin County.

(2 EH 30-31.) She has specialized in mitigation work since 2004 and has qualified as an expert in

many cases. (2 EH 31.)

        Ms. Maxwell was hired by Petitioner’s trial attorney Bill Ray in this case, which was her first

capital mitigation case. (2 EH 32.) Her duties in the case began on June 28, 2005. (2 EH 33.) Right

at the beginning of the case, the attorneys went to Petitioner’s mother’s house and showed her the

“confession” tapes. (2 EH 76.) At that time, Mr. Ray told Ms. Maxwell that she should include in

her mitigation report “all of the good stuff and all of the bad information that I received from the

witnesses...” (2 EH 32.) She later realized that this is not the normal practice in mitigation work.



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(2 EH 32.) Ms. Maxwell also considered it to be a bad practice because it turned Mr. Barbee’s

mitigation report into an “aggravation report” and it also became subject to discovery. (2 EH 33.)

She did not know why Mr. Ray wanted the “bad” information written down in the report. (2 EH 33.)

Ms. Maxwell learned both good and bad things about Mr. Barbee. (2 EH 72.) After the death of

his sister, Petitioner engaged in certain acts of vandalism at the school and stole from some stores

in reaction to his sister’s death. (2 EH 74-75.) Some of this, although minor, was information the

defense would not want the jury to hear. (2 EH 75.)

       As part of her duties, Ms. Maxwell requested and reviewed Petitioner’s mental and physical

health records, education records, employment records and family and social history records. (2 EH

34.) She also compiled a social history on Mr. Barbee. (2 EH 34.) The medical records indicated

that Mr. Barbee had suffered a series of head injuries, had a suicide attempt and had a diagnosis of

bipolar disorder. (2 EH 34.) Mr. Barbee’s first head injury occurred when he was eight months old

and then he had another when he was 16, and 18 and then again at age 36 or 37. (2 EH 35.) This

last incident, shortly before his arrest, occurred when Ron Dodd, who was living with Petitioner’s

ex-wife, dropped a 400-pound pipe on Petitioner’s head. (2 EH 35.) Ms. Maxwell felt this injury

could have been of significant mitigating value at the punishment phase of the trial. (2 EH 36.)

       Mr. Barbee also had a history of drug use, specifically hydrocodone, as a result of severe

migraine headaches caused by the last head injury. (2 EH 36.) He was also taking Advil and

Tylenol. (2 EH 36.) Ms. Maxwell also became aware of Petitioner’s’s diagnosis of Lyme Disease.

(2 EH 37.) As a result of these factors, Ms. Maxwell recommended to Petitioner’s attorneys an

MRI, a cat-scan and a neuropsychological evaluation. (2 EH 37.) However, they did not respond

to this suggestion. (2 EH 38.)



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       A later meeting with defense counsel occurred on November 2, 2005. (2 EH 38.) At that

meeting, Ms. Maxwell told the attorneys that Petitioner was hallucinating in the jail and was seeing

spiders on the walls. (2 EH 39.) Ms. Maxwell had also found out that Petitioner’s ex-wife Theresa

Barbee had visited him in the prison and told him (falsely) that his DNA was all over the crime

scene, that he should sign over the two businesses to her, and that she coerced the signing over of

the businesses. (2 EH 39-41.) Ms. Maxwell also found out that Theresa Barbee had been

embezzling money from the businesses. (2 EH 39.) Theresa Barbee was also trying to obtain 51 per

cent ownership of the businesses so she could apply for a minority business loan. (2 EH 40.) At this

time, Theresa Barbee was living with Ron Dodd who had dropped the pipe on Petitioner’s head. (2

EH 40.) Although Theresa Barbee had promised to keep money on Petitioner’s books in the jail,

she failed to do so. (2 EH 41.) At the time of this November 2, 2005 meeting, Mr. Barbee’s

attorneys were attempting to have him plead guilty. (2 EH 41.)

       Ms. Maxwell met again with Petitioner’s attorneys on November 17, 2005. (2 EH 41.) Mr.

Ray did not allow Ms. Maxwell to order any of Petitioner’s records although she had requested

them. (2 EH 42.) Eventually, she had to go to Azle, Texas and obtain the records personally. (2 EH

42.) Ms. Maxwell again requested a neuropsychiatrist and a psychiatrist and again there was no

response from Mr. Ray or Mr. Moore. (2 EH 42.) A Dr. Shupe, a psychologist, had apparently been

hired. (2 EH 42, 69.) Again, at this meeting, the overriding issue was to have Mr. Barbee plead

guilty. (2 EH 43.)

       On December 28, 2005, the defense met with Mr. Barbee in the courtroom. (2 EH 43.) The

purpose was to show Petitioner the crime scene photos and autopsy pictures of the victim in order

to convince Mr. Barbee to plead. (2 EH 43.) The attorneys made Petitioner look at all the pictures.



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(2 EH 43-44.) It was apparent that Petitioner’s attorneys were pressuring him to plead. (2 EH 44.)

After Ms. Maxwell submitted her mitigation report to Mr. Ray, she never heard from him. (2 EH

45.) At one point prior to trial, the defense investigator Kathy Minnick disappeared. (2 EH 45.) He

was replaced by a man named Stanley Keeton. (2 EH 46.) He contacted Ms. Maxwell and wanted

to know who all the people were that Ms. Maxwell had previously interviewed. (2 EH 46.)

Although these people were listed in the mitigation report, Mr. Keeton did not know who they were.

(2 EH 46.) Mr. Keeton had not seen the report. (2 EH 46.) Some of these witnesses called Ms.

Maxwell and indicated they were confused and didn’t understand who Stanley Keeton was or why

he was calling them. (2 EH 48.) Ms. Maxwell believed that the witnesses were not prepared to

testify and she was not allowed to meet with them to prepare them prior to the trial. (2 EH 48.) They

were only spoken to briefing by Mr. Keeton and told not to display any emotion or cry. (2 EH 49.)

 In Ms. Maxwell’s opinion, the mitigation testimony in Mr. Barbee’s trial was “not effective.

Dismal. It was not the information that, had I been allowed to prepare the witnesses, would have

come forward.” (2 EH 49-50.) Additionally, she interviewed helpful witnesses who were not called

at trial. (2 EH 50.) The jury was not given information about Mr. Barbee’s hydrocodone use, his

good acts, his lack of prior arrests. (2 EH 50.) The relationship of Theresa Barbee and Ron Dodd

was not presented. (2 EH 54.) The numerous documents gathered by Ms. Maxwell were not used

at trial. (2 EH 55.)

        A number of stressor factors, such as business pressures, were also not presented at trial. (2

EH 55-56, 70.) Also not presented was the fact that Mr. Barbee had caught Theresa Barbee stealing

from the company shortly before the murders. (2 EH 56.) Other mitigating stressor factors, such as

1) Petitioner’s wife pressuring him to recover money from his ex-wife; 2) Petitioner finding out his

father was dying from cancer just days before his arrest; 3) fetal alcohol exposure; 4) his suicide

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attempts; 5) a car wreck when he was 16; and 6) the blow to his head shortly before his arrest were

not presented to the jury. (2 EH 57-59.)96 Also, the fact that Petitioner was a reserve police officer

with the Blue Mound Police Department was not presented to the jury as a mitigating factor. (2 EH

60.) Although Ms. Maxwell has worked on 16 additional capital cases, she had never seen another

such case handled as this one was. (2 EH 60-61.) Mr. Ray and Mr. Moore found Petitioner

disgusting because he cried. (2 EH 61.) At the conclusion of this case, Mr. Ray stated that “we will

all end up in federal court answering for this case.” (2 EH 63.)

       Ms. Maxwell did not keep her original notes of the witness interviews. (2 EH 64.) She

prepared a “Psychosocial History Report” at the request of Mr. Ray and Mr. Moore. (2 EH 66.) Ms.

Maxwell told Mr. Ray that she did not need 40 or 50 people testifying at the trial “all saying the

same thing.” (2 EH 68.) This referred to the social history and mitigation report and was made at

a time when Ms. Maxwell thought that many people would indeed be testifying on behalf of

Petitioner. (2 EH 116.)

       When Mr. Ray saw Ms. Maxwell’s affidavit submitted in the state habeas proceedings, he

promptly sent her a “nasty e-mail” and fired her from the case and another one she was working on

for Mr. Ray. (2 EH 62.) The submission of the affidavit hurt Ms. Maxwell financially. (2 EH 62.)

It terminated her relationship with Mr. Ray. (2 EH 63.)


       96
            On cross examination, Ms. Maxwell testified that State’s witness Theresa Barbee
answered one question identifying herself as Ron Dodd’s boyfriend (2 EH 108); testified briefly
regarding the head accident with the pipe (2 EH 109-110); and mentioned Petitioner’s attempted
suicide (2 EH 111-112.) These incidents were not presented by defense witnesses but by Ms.
Barbee. (2 EH 124-125.) Jackie Barbee also mentioned her son’s service as a reserve police
officer. (2 EH 113-114.) However, beside these brief references, none of these factors were
developed by the defense as mitigation themes in terms of the two special issues and they were
“never presented, developed and supported by an expert.” (2 EH 125.) They weren’t “developed
and presented in a way as a mitigating factor” and this is what she meant when she said these
factors “were not presented.” (2 EH 125.)

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       Mr. Barbee’s mother Jackie Barbee was unhappy with Mr. Ray from the beginning and

wanted different counsel. (2 EH 72-73.) Jackie Barbee believed in Petitioner’s innocence. (2 EH

76.)   One of the persons interviewed by Ms. Maxwell, a Mr. Boyd, provided some negative

information about acts of vandalism, violence to animals. (2 EH 78-79.) The vandalism acts may

have been grief reactions to the death of his sister. (2 EH 122.)

       Ms. Maxwell also interviewed Mr. Tim Davis, but her notes of that interview were

inadvertently destroyed as a result of a computer crash. (2 EH 80.)97 Her notes regarding that

interview referred to an incident where Mr. Davis and Petitioner were driving and got into an

altercation with two other men when Petitioner cut them off. (2 EH 87.) The other men “walked

back to Steve’s truck and reached in hitting Tim and Steve.” (2 EH 87.) They ended up fighting and

Mr. Davis pulled Petitioner off the younger man as “Steve had no off button.” (2 EH 88.) At the end

of this report, Ms. Maxwell wrote that Mr. Davis “would be a good witness....I don’t think he would

go into court and say anything negative about Steve” and “we could explore this with him, he would

be a good witness.” (2 EH 118.) Ms. Maxwell testified that Mr. Ray and Mr. Moore’s affidavit,

where they stated that “applicant attempted to kill the driver of the other vehicle” was not accurate

and there was nothing in her report to that effect. (2 EH 119.) She testified that in effect Petitioner

was the victim of this “road rage” incident as the other men first punched Petitioner and Mr. Davis.

(2 EH 120.) In her opinion, this incident would not justify the defense attorneys’ attempt to

characterize it as a valid reason to preclude any mention of future dangerousness. (2 EH 121.) The

police were not called, she was unaware of any other witnesses to the incident, and the defense

attorneys’ characterization of it as an “attempt to kill” the other driver was a lie (2 EH 121) and a


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           On the State’s objection, Ms. Maxwell confirmed that the notes she produced
included all the information in the handwritten notes. (2 EH 85.)

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mischaracterization of what was in the report. (2 EH 130.)

        Ms. Maxwell may also have told the defense attorneys that Petitioner wanted Theresa

Barbee to implicate Ron Dodd in the crime. (2 EH 91.) At the time she worked for Mr. Ray, she was

inexperienced. (2 EH 94.) With her current experience, she would provide the defense attorney with

all the information, both good and bad, but the bad would be provided verbally. (2 EH 95.) The

negative information would not normally be in the written reports. (2 EH 96-97.) At the time she

provided the report in this case she “had no idea the prosecution was even allowed to see my report”

and Petitioner’s attorneys failed to advise her that it could. (2 EH 97.) Since this case, Ms. Maxwell

has learned “to only provide mitigating information in the final report.” (2 EH 97-98.) In seven or

eight years of mitigation training, Ms. Maxwell has been taught that it is “standard procedure” not

to write down bad or negative information as it may become discoverable. (2 EH 123-124.) In her

report, Ms. Maxwell wrote that Petitioner had poor behavioral and impulse control (2 EH 100, 104),

did not do well under stress (2 EH 101-102), and had numerous girlfriends and a secret cell phone

(2 EH 103) but would not have done that in light of her training. She said that she did not realize

that the prosecution would obtain a copy of her report as this was her first capital case. (2 EH 128.)

Ms. Maxwell thought that Petitioner’s attorneys may have provided a copy of her report to the

prosecution but was not certain of that. (2 EH 129.) Currently, Ms. Maxwell does not include

anything other than mitigating facts in her mitigation report (2 EH 133.)

       Tim Davis testified that he worked with Petitioner at “All Green Lawn Care” and another

company for four years. (2 EH 140.) He was his best friend for ten years, from 1990 to 2000. (2 EH

141.) Mr. Davis’ declarations, submitted in the subsequent writ, were identified by the witness. (2

EH 140.) Mr. Davis reaffirmed his statement in his supplemental declaration that “”I’ve been told



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that Stephen’s attorneys stated in the[ir] affidavit that I told them that Stephen attempted to kill the

driver of the other vehicle. That is completely and totally untrue and a lie.” (2 EH 163.) He also

reaffirmed his declaration statement that “there is no way I believe that Stephen could have killed

anyone.” (2 EH 164.)

       Mr. Davis characterized Petitioner as easy-going and friendly. (2 EH 142.) An automobile

incident in 1996 or 1997 was recalled. On the highway, in icy driving conditions, two people in a

truck swerved in front of Petitioner and Mr. Davis’ vehicle and forced them off the road. (2 EH

143.) The two men approached their vehicle, so Mr. Davis and Mr. Barbee rolled down the window

to see what they wanted. (2 EH 143.) One of the other drivers tried to punch Mr. Davis so Petitioner

and Mr. Davis got out and defended themselves. (2 EH 143.) Then they got back in the truck and

drive away. (2 EH 143) The other people were the aggressors, Mr. Davis and Petitioner were trying

to defend themselves, and no one was hurt. (2 EH 144.)

       At no time did Mr. Davis ever tell Petitioner’s mitigation person or his attorneys that

Petitioner tried to kill the other persons and it was nothing even close to that. (2 EH 145.) The

incident was a simple fistfight. (2 EH 145.) Mr. Davis did not think that Petitioner was violent or

that he would be likely to commit future acts of violence and he had never seen him being the

aggressor. (2 EH 144-145.) Mr. Davis would have been willing to be a witness at Petitioner’s trial

and if he had been called as a witness he would have told the jury that he would “absolutely not” be

a threat to society or likely to commit future violent acts. (2 EH 146.) Had he been asked any “have

you heard” or “do you know” questions about Mr. Barbee’s past incidences of violence, he would

have said “I don’t know of any” such incidents. (2 EH 146.) Other than the highway incident where

they were defending themselves, “I’ve never seen Stephen be aggressive at all.” (2 EH 146.)



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However, he was not asked to testify at Petitioner’s trial. (2 EH 147.)

       On cross-examination, Mr. Davis testified he did not remember telling Amanda Maxwell that

Mr. Barbee ever said “watch this,” that he had “no off button,” and that “he didn’t know how to

stop.” (2 EH 150-153.) Mr. Davis reaffirmed on cross-examination that both he and Mr. Barbee

were defending themselves during the “road rage” incident. (2 EH 157.) He had not thought about

it much from when it occurred. (2 EH 158.) Mr. Davis believes what he told Ms. Maxwell was

positive as “I don’t have anything negative to say about Steve.” (2 EH 159.)

       Calvin Cearley, a teacher at Weatherford College, testified that he met Stephen Barbee

about 20 years ago when he began to attend the church where Mr. Cearley was the pastor. (2 EH

166.) Mr. Barbee and his wife led the children’s program and Mr. Barbee was the children’s church

leader. (2 EH 167.) He loved children and animals and had a happy temperament and was polite

and respectful. (2 EH 168-169.) When Mr. Cearley heard about the murders, his reaction was

“unbelief.” (2 EH 169.) Yet he was not contacted by Mr. Barbee’s defense attorneys at the time of

his trial. (2 EH 170.) Had he been asked about the likelihood of Mr. Barbee being a danger to

society or committing future violent acts, he would have told the jury that he was not such a danger.

(2 EH 170.)

       Dr. Nancy Cearley, Calvin Cearly’s wife, was the former co-pastor of the church Mr.

Barbee used to attend. (2 EH 173-174.) She knew Mr. Barbee for 20 years. (2 EH 185.) She also

testified that the church needed a children’s church leader and Mr. Barbee took that role. (2 EH 174.)

Under his leadership, the program grew from about ten children to about 75 or 80. (2 EH 174.) Mr.

Barbee did this for two or three years. (2 EH 174.) His temperament was easy-going, very friendly

and very likeable, polite and respectful. (2 EH 175.) Dr. Cearley knew Mr. Barbee for about 20



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years. (2 EH 175.) In that time, Dr. Cearley never knew Petitioner to commit any acts of violence.

(2 EH 175.)

       Dr. Cearley was a witness at Petitioner’s trial, but she was never asked about his character

or whether he would be likely to commit future violent acts. (2 EH 176.) This witness had never

met Tim Davis and did not know of any incident of alleged “road rage.” (2 EH 176.) Had this

witness been asked about her opinion as to the likelihood of Mr. Barbee committing future violent

acts, she would have said that he did not think he would be likely to commit these acts. (2 EH 177.)

       On cross-examination, Dr. Cearley stated that notwithstanding Petitioner’s conviction for

the murders, she not only did not believe he would be a future danger, she knew he wouldn’t. (2 EH

179.) Dr. Cearley also reaffirmed her statement in her declaration that she felt that Mr. Barbee’s

attorneys “were just going through the motions.” (2 EH 180.) This opinion was based on what she

saw at trial, that “no evidence or any kind of defense” was being put on. (2 EH 183.) She was at

the trial not because the attorneys asked her, but because she just decided to attend. (2 EH 184.) Mr.

Barbee’s attorneys actually told her not to come to the trial. (2 EH 184.) She would have liked to

tell the jury that he was not the kind of person the State was portraying him to be, that he was

actually very friendly and “all the children dearly loved him at the church.” (2 EH 185.) Yet she

was not given a chance to tell this to the jury. (2 EH 185.) She did not believe Mr. Barbee had

committed the murders. (2 EH 186.)

       Mike Cherry, Petitioner’s ex-brother-in-law and an ordained minister, testified that he has

known Mr. Barbee since he was 10 or 11 years old. (2 EH 187, 199.) Mr. Cherry married Kathy,

Mr. Barbee’s sister, in 1980. (2 EH 188.) Kathy died at age 20 and this affected Mr. Barbee greatly.

(2 EH 189.) Mr. Barbee also had a brother, David, who also died at age 20 in a car accident. (2 EH



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189-190.) Thus, Mr. Barbee lost both his brother and sister when they were 20. (2 EH 190.) These

losses affected him greatly. (2 EH 189.)

       Mr. Barbee married Theresa and Mr. Cherry knew them to have arguments but never

anything physical. (2 EH 190.) Stephen Barbee came from a stable family. (2 EH 191.) About one

year prior to the murders, Mr. Cherry moved to San Antonio and then just two weeks prior to the

murders, he moved back. (2 EH 192.) When he heard about the murders, Mr. Cherry was in

“complete shock.” (2 EH 192.) He never talked to Mr. Barbee’s attorneys. (2 EH 192.) If he had

been asked to testify at Mr. Barbee’s trial, he would have told the jury that he was not likely to

commit violent acts in the future. (2 EH 192.) There was only one occasion where he had seen Mr.

Barbee get into a fight and that was at a party when a guest was acting inappropriately and “dirty

dancing” around children. (2 EH 193.) Mr. Barbee first asked the man to leave but he didn’t. (2 EH

193.) Mr. Cherry had never heard of the alleged incident of road rage and had he been asked about

it, he would have said that he knew nothing about it. (2 EH 194.) Mr. Cherry was aware of some

of the acts of vandalism of Mr. Barbee’s youth. (2 EH 198.)

       On cross-examination, Mr. Cherry again stated that he had never seen Mr. Barbee act

violently towards his wife, that “there was no violence,” and that Mr. Barbee would confide in him

about “most everything.” (2 EH 199-200.)

       Jennifer Cherry, Mr. Barbee’s niece and Mike Cherry’s daughter, testified that she has

known Mr. Barbee for 30 years. (2 EH 202-203.) Growing up, he was playful and wanted to make

her laugh. (2 EH 204.) Mr. Barbee ran the church children’s program and would put on puppet

shows and the like for the children. (2 EH 204.) At the time of the murders, Theresa was still in debt

to Jackie Barbee as Theresa had taken out a loan to build a cabana in their back yard. (2 EH 204.)



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Theresa was living in this house with Ron Dodd at the time of the murders. (2 EH 205.) It was a

very large home, about 6000 square feet. (2 EH 205.) In 2002 Jennifer began to work at one of

Theresa and Stephen’s businesses, “Cowboy Cutters.” (2 EH 205.) Jennifer was Theresa’s assistant

and worked on the books. (2 EH 206.) Jennifer became aware that Theresa was embezzling from

the company by paying her bills with company money. (2 EH 206, 207.) One time, Theresa gave

Jennifer $14,000 in cash to deposit and, when she learned that it would alert the IRS, she wanted

some of it back. (2 EH 207.) Theresa tried to keep Mr. Barbee from seeing the cash. (2 EH 207.)

       While working at the office, Jennifer noticed that Theresa would bad-mouth Stephen a lot

after they divorced. (2 EH 208.) Jennifer recalled an incident when they got into a yelling match

and Theresa accused Stephen of hitting her, which was false. (2 EH 210-211.) Although Jennifer

told Stephen’s attorneys about this incident, they did not want to hear it. (2 EH 211.) Jennifer had

never seen Stephen in a physical fight with Theresa. (2 EH 212.) After their separation and divorce,

Theresa said that she wished Stephen would die. (2 EH 214.) Although at the trial Theresa said she

would love Stephen until the day she died, in reality she had told Jennifer that she hated Stephen.

(2 EH 216.) At the time of the murders, Stephen was living with Ron Dodd. (2 EH 216.) This did

not bother Stephen as he wanted Theresa to be happy. (2 EH 218.) Jennifer thought that Ron Dodd

was “crass, rude and uncouth.” (2 EH 223.)

       When Jennifer talked to Stephen’s attorneys, they seemed set on their opinions and thoughts

and they were not interested “in what any of us had to say much.” (2 EH 219.) She did not feel that

they prepared her to testify and all they said was “follow my lead.” (2 EH 219.) When Jennifer

testified, she was not asked any questions about her opinion of the likelihood of Stephen committing

future acts of violence, but if she had been she would have said that she did not think he would. (2



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EH 220.) The attorneys never asked for her opinion as to Stephen’s future dangerousness. (2 EH

220.) Her opinion was that he was not a future danger. (2 EH 220.) Although she knew Tim Davis,

she had never heard of an incident where they were the victims of road rage. (2 EH 220.) Stephen’s

attorneys never asked her about this incident. (2 EH 220.) At trial she was just asked if she loved

Stephen. (2 EH 221.)

       Sharon Calvin testified that she met Stephen Barbee in 1984. (2 EH 226.) She was friends

with his mother. (2 EH 226.) Stephen attended her church for about a year. (2 EH 226.) She had

nothing bad to say about Stephen. (2 EH 227.) His attorneys never asked her to testify at trial

although she would have been willing to do so. (2 EH 228.) She was never asked by Stephen’s

attorneys whether she thought he would be a future danger but if she had been so asked she would

have said that she “probably wouldn’t be.” (2 EH 228.) Ms. Calvin had never heard of an incident

in which Stephen and Mr. Davis were the victims of a road rage incident. (2 EH 229.) Nor had she

ever heard of any incidents of violence involving Stephen. (2 EH 229.)

       Robert Gill testified he was currently an assistant criminal district attorney in the Tarrant

County District Attorney’s Office. (2 EH 231.) From 1993 until 2007 he was a judge in the 213th

District Court. (2 EH 232.) Mr. Gill presided over Stephen Barbee’s pre-trial and trial in 2005 and

2006. (2 EH 232.) When he retired, Mr. Gill was considering running for district attorney of Tarrant

County. (2 EH 233.) But he did not run. (2 EH 233.)

       Mr. Gill was familiar with the article in the Fort Worth Star Telegram of February 21, 2010

entitled “Secret Testimony, Judge Acted As Prosecutor” by Danny Robbins.98 He did not dispute

the number of case resolutions cited in the article, 8,000 probation revocation cases before his



       98
            This is Exhibit 38.

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retirement. (2 EH 234.) Mr. Gill denied that he had ever cited his high case resolution rate in his

campaign materials. (2 EH 234.) Shown a copy of a web page entitled “welcome to the official web

page of Bob Gill, former presiding judge of the 213th District Court” and whose domain name was

“bobgillcampaign.com,” where his case resolution rate was cited, Judge Gill denied that this was

related to a campaign. (2 EH 237.) He stated that “‘Bob Gill Campaign’ was the domain name that

I chose for it, but it was not designed in connection with the campaign.” (2 EH 237.) Even though

Mr. Gill had a website domain name of “Bob Gill Campaign” the witness claimed he was not

running a campaign. (2 EH 238.) He stated that he was considering running for district attorney in

2010 but not in 2007. (2 EH 238.) Mr. Gill claimed that the purpose of placing the web page on

the internet was simply to provide “information about the court and about myself.” (2 EH 239.) The

information in that page included “a page dedicated to the number of cases we processed in this

court.” (2 EH 239.) But he claimed this had nothing to do with any political ambitions, it was

simply “because the public wants to know about the number of cases that we disposed of and

handled.” (2 EH 240.) He considered that a high case disposition rate would be something he would

want the public to be aware of if he was running for district attorney. (2 EH 261-262.)

        Mr. Gill admitted that he had an arrangement with Mr. Ray regarding the handling of

probation revocation cases in his court, Mr. Barbee’s trial court. (2 EH 246.) Mr. Ray handled a lot

of those cases. (2 EH 247.) Mr. Gill stated that he did not know if it was common practice for other

judges to have similar arrangements with other attorneys as in 14 years on the bench he never asked

another judge how they handled these cases. (2 EH 248.) Nor did any information come his way

about these cases as he “never investigated, while I was on the bench, how other judges handled

their probation revocation cases.” (2 EH 248.) Mr. Gill did not dispute the statistic in the article that



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said that 60 per cent of those who came to Judge Gill’s court for these cases had their probation

revoked. (2 EH 248.)

       Mr. Gill claimed not to know in how many cases he personally made a recommendation or

in how many cases Mr. Ray would attempt to make a plea. (2 EH 249.) Mr. Gill saw no conflict of

interest in later presiding over the trial of those persons who had rejected his recommendation of a

sentence. (2 EH 250.) Mr. Gill was aware that federal Judge McBryde had termed his conduct in

these cases “outrageous.” (2 EH 252.) He did not use the Tarrant County rotation system in

appointing Mr. Ray to these cases, he stated that he used “another provision of the indigent

appointment plan” that “allowed the courts to employ a lawyer to handle probation revocations on

the Court’s own motion.” (2 EH 253.) Mr. Gill appointed Mr. Ray because of his manner of

handling the cases and his efficiency but said that was an “oversimplification.” (2 EH 253.) He

stated that he appointed Mr. Ray because he was “available” and “followed up and took care of

business.” (2 EH 263.) Mr. Gill claimed never to have checked how much Mr. Ray earned from

these cases in his court and did not know if the $710,000 the article cited Mr. Ray was paid between

2001 and 2007 was accurate. (2 EH 253-254.) In those years, Mr. Ray had a “high volume” of cases

in Judge Gill’s court. (2 EH 254.)

       In Mr. Barbee’s case, Mr. Gill thought that the case was of average length for a capital case.

(2 EH 266.) The guilt-phase defense preparation was three pages but that was “three pages longer

than most of them I see.” (2 EH 266.) Mr. Gill claimed that in most capital cases he saw no guilt-

phase defense at all. (2 EH 266.) He did not remember what mitigation evidence was presented by

the defense or whether the witnesses presented any evidence as to the second special issue of future

dangerousness. (2 EH 267.) Although he thought that Mr. Barbee was “satisfactorily represented”



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by Mr. Moore and Mr. Ray (2 EH 265), Mr. Gill did not “recall a lot of specifics...” (2 EH 268.)

       Mr. Gill had no idea how many capital cases Mr. Ray handled in his own court although he

could think of two. (2 EH 255.) In Mr. Barbee’s case, Mr. Gill said he signed off on the attorneys’

bills without an hourly itemization and it would not be unusual for him to sign off on an attorney

voucher that simply listed the number of hours without an hourly itemization. (2 EH 257.) If the

bill did not look “out of line” he would not request an hourly itemization. (2 EH 257.)

       Mr. Gill ran unopposed for re-election as a judge in the 213th District Court but had no

recollection of his total campaign contributions. (2 EH 259.) He did “not doubt” that Mr. Ray

contributed to the campaign in the amount of $1000. (2 EH 259.) His total contributions in that

campaign were $20,175. (2 EH 259.) Mr. Moore contributed $300. (2 EH 260.) Mr. Gill discussed

his testimony with Mr. Conder and Mr. Mallin once before testifying but not with Mr. Ray or Mr.

Moore. (2 EH 261.)

       Jackie Barbee, Petitioner’s mother, testified that Mr. Ray and Mr. Moore represented her

son Stephen at his capital murder trial. (2 EH 270.) Stephen was a person with a good heart and a

hard worker. (2 EH 271.) He was involved in Sunday school since he was three years old. (2 EH

271.) Mrs. Barbee had three children and two of them died at age 20. (2 EH 272.) Both deaths

affected Stephen greatly. (2 EH 273.) He married Theresa in 1996. (2 EH 274.) Stephen started

a tree and yard service called “All Four Seasons” and it became very successful. (2 EH 274.) Mrs.

Barbee lent them money to build a dream house. (2 EH 275.) When Stephen and Theresa divorced,

he let her have everything and moved to an apartment. (2 EH 275.) At one point, Mrs. Barbee

became aware that Theresa had switched herself as the beneficiary of a life insurance policy that was

meant to be a performance bond for a tree job. (2 EH 276.)



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       Only ten days after Mr. Ray and Mr. Moore were appointed, Stephen thought he was going

to have to defend himself. (2 EH 278.) The attorneys only wanted to show a film of the confession

and that’s the only thing they concentrated on at first. (2 EH 279.) Because of the attorneys’ efforts

to have the family view the film, Mrs. Barbee came to the conclusion that they wanted Stephen to

plead guilty. (2 EH 280.) The attorneys “didn’t care for me at all, and they didn’t talk to Bill

[Petitioner’s father] because he was sick.” (2 EH 290.) Mrs. Barbee once overheard Theresa saying

that she wished that Stephen was dead. (2 EH 281.)

       Before the trial, Mrs. Barbee met with Amanda Maxwell two or three times. (2 EH 283.)

Ms. Maxwell knew everything about Stephen’s background. (2 EH 283.) But much of this

information was not presented at the trial. (2 EH 284.) It was a surprise when the attorneys failed

to present many of her findings. (2 EH 284.) At the time of the trial, Mrs. Barbee did not know

anything about the alleged “road rage” incident herself other than what Amanda Maxwell had told

her. (2 EH 285.)99 When she testified at Stephen’s trial, Mrs. Barbee did not feel as if she had been

prepared for a picture that she was handed and there were things that she was not asked about which

she would have liked to tell the jury. (2 EH 282.) The argument in the guilt phase, when Mr. Ray

told the jury that Stephen was guilty, came as a shock to Mrs. Barbee. (2 EH 282.)

       William “Bill” Ray testified that he was admitted to practice law in Texas in 1985 and was

a criminal defense attorney. (3 EH 7.) Previously he was a prosecutor. (3 EH 135.) At the time of

his appointment to Petitioner’s case, about 70 to 80 per cent of his practice was court-appointed. (3

EH 8.) Mr. Barbee’s trial court, where Judge Gill was sitting, accounted for “certainly more than


       99
            The attorneys had apparently told Ms. Maxwell that “we can’t use Tim Davis because
of a road rage incident” and that is what she told Mrs. Barbee. (2 EH 285.) Ms. Maxwell’s
report indicates that she herself felt that Mr. Davis would be a helpful witness and should be
called as a witness.

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25 percent and certainly less than 75" per cent of his practice. (3 EH 9.) It could have been 50 per

cent of his practice. (3 EH 9.) Mr. Ray asked Judge Gill to appoint Mr. Moore as co-counsel. (3 EH

12, 14.)

       As for the division of duties, Mr. Ray stated that he handled “the DNA review and

determined what evidence we were going to send to Identigene in Houston to be examined.” (3 EH

13.) It was a collaborative effort on the part of both attorneys. (3 EH 13.) Mr. Ray may have been

more responsible for the penalty phase. (3 EH 14.)

       As far as the pre-trial publicity, Mr. Ray agreed that it was heightened in Tarrant County

because the local paper, the Star-Telegram, covered the crime. (3 EH 16.) Mr. Ray and Mr. Moore

discussed a change of venue motion with Mr. Barbee and he may have wanted it filed. (3 EH 17.)

However, they did not file a motion for change of venue because when Mr. Ray has done this in the

past “the people in the town get the impression that whoever you’re trying is such a notorious

criminal that he’s actually not treated as fair there as he would be here. That’s my concern in the

change of venue.” (3 EH 17.) Mr. Ray stated that Judge Gill suppressed some evidence relating to

the confessions at the pre-trial suppression hearing. (3 EH 146.)

       Mr. Ray testified he was paid $40,400 for his work on this case (3 EH 19) but later stated

it was $66,000. (3 EH 41.)

       Mr. Barbee told Mr. Ray and Mr. Moore that Ron Dodd may have been the actual murderer.

(3 EH 21.) Their initial investigator was Kathy Minnich and she “fell in love with a judge who

retired and they moved to Florida, and we had to get someone else.” (3 EH 21.) Ms. Minnich

submitted a report from a person named Donald Painter who was housed in the Tarrant County Jail.

(3 EH 22.) In the report, signed by Mr. Painter, he stated that he was housed with Mr. Dodd. (3 EH



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23.) Mr. Dodd would ask Mr. Painter to call Theresa Barbee and Mr. Dodd gave him money to

make the calls. Initially, Mr. Dodd said that Mr. Barbee had committed the murders but gradually

his story changed. Dodd later said that Barbee was upset about a woman (identified as the victim

Lisa Underwood) who wanted him to leave his wife. (3 EH 23.) He drove Barbee to the woman’s

house, told Barbee to wait in the truck and went in to talk to her. (3 EH 23.) Dodd said the girl got

mad and he stopped telling the story to Painter. (3 EH 24.) Later, Painter said that Theresa told

Dodd not to worry because she washed down his truck and the police would not find anything

because it was clean. (3 EH 24.) Another day, Dodd admitted hitting the child: “I hit that kid. I

threw him face down on the bed and sat on him...Another day Dodd told Painter that he helped put

the bodies in the girl’s car.” (3 EH 24.) Dodd said that Mr. Barbee drove off with the bodies and

then ran out of gas and called Dodd. (3 EH 24.) Painter at first believed that Barbee had committed

the murders and told him he needed to die. (3 EH 25.) Then after talking with him, Dodd believed

his story and came to believe that “Dodd was the actual killer.” (3 EH 25.) Painter was reluctant

to come forward because Dodd was a member of the Aryan Brotherhood, a powerful prison gang.

(3 EH 25-26.) The statement of Mr. Painter taken by Ms. Minnich was admitted into evidence. (3

EH 27.)

       On cross examination, Mr. Ray claimed that he did not call Mr. Painter as a witness because

he had “an extensive criminal history.” (3 EH 171-172.) Mr. Ray also claimed that Mr. Barbee had

given Mr. Painter some money which he characterized as a “bribe.” (3 EH 173.) Mr. Ray was given

some documents which were introduced into evidence as Respondent’s 11 and 12. (3 EH 178.) The

letter from Mr. Barbee expresses concern that Mr. Painter was asking for money. (Respondent’s

12.) Mr. Ray believed that it was “more if not all Painter’s idea. I don’t think, given the way it all

kind of transpired, that it was Steve’s idea to bribe Donald Painter.” (3 EH 178.) Although they had

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nothing to indicate that Mr. Painter was lying about what he heard from Mr Dodd, or how Painter

came to be in possession of a knowledge of the facts of the case, Mr. Ray decided that he would not

be a good witness, “worse than anybody else we could have got to the courtroom.” (3 EH 179.)

        Mr. Ray said that he told Mr. Barbee he should think about pleading guilty because of his

statements to the police. (3 EH 28.) Yet Mr. Ray admitted that “[t]he State never offered him

anything.” (3 EH 183.) Mr. Ray admitted that one of his first acts was to have Mr. Barbee’s family

view the tape of the confession. (3 EH 29.) Mr. Ray said that this was done because he wanted them

to know “what the testimony was going to be.” (3 EH 170.) He also admitted he made no opening

statement, called no witnesses at the guilt phase other than one to obtain a foundation for some

records, and the total of the defense guilt phase presentation was three transcript pages. (3 EH 29.)

The guilt and punishment phases together were under three days. (3 EH 29.) Mr. Ray told the jury

that one of the murders was not intentional. (3 EH 30.) Mr. Barbee had told Mr. Ray all along that

he was innocent. (3 EH 31.) “Mr. Barbee told me unequivocally, in no uncertain terms, that he was

completely innocent of what he was charged with. The evidence that I found in this case, from

various sources, tended to indicate that was not a correct statement.” (3 EH 32.) Mr. Ray also

admitted that in the affidavit he submitted for the state in the state habeas proceedings he also stated

that “Mr. Barbee has, from the beginning of...your representation, maintained that he was innocent.”

(3 EH 34.) Mr. Ray then qualified that as follows: “The problem with Mr. Barbee, which is what

a lot of clients have, is they don’t understand the law of parties....He felt in his own mind that he was

innocent...Some of the things that Mr. Barbee said, while he felt made him innocent, and I firmly

believe that he felt that way, they also subjected him to liability under the law of parties.” (3 EH

35-36.) However, none of this qualifying language appeared in the affidavit Mr. Ray and Mr. Moore



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submitted for the state.

       Mr. Ray denied that he had an “arrangement” or “agreement” with Judge Gill to handle

probation revocation cases. (3 EH 37.) He termed it a “situation”: “We had a situation where Judge

Gill would appoint me on criminal cases...they weren’t all probation revocations...and I would

represent those people, and then he would decide the case, if it needed to be decided. Some of them

resulted in plea agreements. And then he would appoint me on another case, and we would do that

same process over. It could have ended at any time and it ultimately did.” (3 EH 37.) Mr. Ray also

said that “I don’t think we had an arrangement...Judge Gill appointed me, I took care of cases, he

paid me based on the work I did, and he appointed me on other cases.” (3 EH 40.) Yet again, Mr.

Ray denied this was an “agreement”: “I don’t know what the right word is. If it’s a word to say we

had an agreement, that’s the wrong word. So I guess we can call it whatever we want.” (3 EH 42.)

Except, apparently, an “arrangement” or “agreement.”

       Whatever it was called, it started in 2001 or 2002. (3 EH 40.) Judge Gill originally had

another lawyer handling these case from the time of his election in 1991. (3 EH 43.) Then that

lawyer did not want to do the cases anymore and Mr. Ray volunteered to take them over. (3 EH 43.)

He handled 5 to 15 cases per week and about 400 to 500 cases before Judge Gill. (3 EH 41.) In five

years, Mr. Ray made about $1.3 million in five years and in that time, about $710,000 from cases

before Judge Gill, and $66,000 from Mr. Barbee’s case. (3 EH 41.)100 Mr. Ray did not dispute that

this represented about 43 per cent of his earnings. (3 EH 42.) Mr. Ray agreed that Judge Gill

handled “many more probation revocation cases...in...2001 through 2007.” (3 EH 44.)

       Mr. Ray recalled a newspaper article written by Danny Robbins that appeared on February


       100
             This contradicts his earlier statement that he made only about $40,000 from the case.
(3 EH 19.)

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21, 2010 in the Fort Worth Star-Telegram. (3 EH 37.) He remembered the article’s reference to his

testimony in the W____ hearing in Judge McBryde’s court. (3 EH 38.) Mr. Ray said he told the

truth at that hearing. (3 EH 38.) In the year 2000, a bill was passed which had as its object the goal

of promoting the more equitable distribution of cases by a system of random or rotational selection

of attorneys, known as the “wheel.” (3 EH 45.) Mr. Ray claimed that the probation revocation cases

were not required to be included in this system. (3 EH 45.) Some judges utilize the “wheel” for

these probation revocation cases. (3 EH 46.)

       Mr. Ray said that mitigating evidence did not make a whole lot of difference to Judge Gill

in these cases. (3 EH 49.) His offers often did not take into account the personal characteristics of

the defendant. (3 EH 50.) As a result of the federal case, Mr. Ray was found to have rendered

ineffective assistance of counsel and ordered to take a five-hour course on mitigating evidence. (3

EH 50.) When Judge Gill ran for reelection unopposed, Mr. Ray donated $1000 to his campaign.

(3 EH 51.) At the time the contribution was made, it was possible that Judge Gill could have had

an opponent. (3 EH 137.)

       Mr. Ray stated that he drafted two memos of understanding for Mr. Barbee to sign. (3 EH

51- 52.) It was Mr. Ray’s idea because he did not trust Mr. Barbee or his family. (3 EH 53.) In

drafting these memos, Mr. Ray admitted that “I thought we might be sitting here one day,” in other

words that his work would one day be the subject of an ineffective assistance of counsel claim. (3

EH 53.) Mr. Ray also admitted that the memo was “protection” for him if Mr. Barbee changed his

mind (3 EH 54) or said something different later. (3 EH 187-188.) Mr. Barbee did not want to sign

the second memo. (3 EH 56.) Mr. Ray did not obtain Mr. Barbee’s consent to the divulging of the

memo as “[i]t’s my understanding that when he claims I’m an ineffective lawyer, I can provide



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whatever I need to do to defend myself, which is what I did.” (3 EH 56.) The memo was drafted to

protect himself from a possible state post-conviction writ alleging ineffectiveness. (3 EH 57.) Nor

did Mr. Ray obtain Mr. Barbee’s permission to divulge his letters or other confidential attorney

work-product. (3 EH 57-58.) Mr. Ray asserted that he could do anything to defend himself against

the ineffectiveness claim, including divulging confidential communications. (3 EH 63-64.)

       Regarding the affidavit he and Mr. Moore submitted to the state, Mr. Ray stated that the

district attorney had requested it. (3 EH 66.) Mr. Ray drafted the affidavit after talking to Mr.

Moore. (3 EH 67.) Regarding his statement in the affidavit that he assembled a team of experts,

Mr. Ray admitted that he did not present any testimony from the “licenced forensic psychologist,”

the “licenced forensic psychiatrist,” the expert on false confessions, and the mitigation specialist he

referred to in his affidavit as showing that he properly prepared for the trial. (3 EH 68-69.) He also

did not present any expert to explain the significance of the cell phone records or himself explain

their significance to the jury. (3 EH 69, 191.) Yet those cell phone records were the entirety of his

guilt phase presentation. (3 EH 69.) On cross examination, Mr. Ray stated at length that he obtained

the records through subpoenas under seal, and what they purported to show. (3 EH 140-145.) He

also explained that he though he did not introduce the cell phone records into evidence because there

was a “mix-up on [his] understanding” of what the record showed. (3 EH 144.) But he actually did

introduce the records at the guilt phase. (24 RR 177.)

       Although Mr. Ray stated in the affidavit that Mr. Barbee “initially explained that the murders

were accidental” this explanation was to the police officers, not to his attorneys. (3 EH 69.) Mr. Ray

admitted that from the first time he met Petitioner, Mr. Barbee insisted he did not commit the

murders. (3 EH 70.) Although in his affidavit Mr. Ray had written that “Applicant ultimately took



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the position that Ron Dodd killed Lisa,” Mr. Ray admitted that this referred to his first statements

to the police that it was an accident. (3 EH 70-71.) Mr. Ray admitted that “Stephen consistently

stated that Ron Dodd was the real killer” from the outset of the case. (3 EH 71.) Mr. Ray also used

the word “steadfast” in relation to Mr. Barbee’s statements about Ron Dodd’s culpability. (3 EH 71.)

          Despite these admissions, Mr. Ray wrote in his affidavit that “due to Applicant continuously

changing his version of the events and his specific involvement, it was difficult to develop a defense

theory that would be beneficial or consistent in both the guilt/innocence and punishment phases of

the trial.” (3 EH 72.) Mr. Ray the problem was that he had “two or three different theories of how

it happened” and Petitioner allegedly provided different facts at different times. (3 EH 73, 185.) Mr.

Ray admitted that “[i]f I said something [in the affidavit] that reads a little bit different than that,

then, you know, maybe that’s not completely accurate.” (3 EH 73.)                 He stated that the

“inconsistencies” he was referring to were those that had arisen before he was appointed to the case.

(3 EH 75.) Mr. Ray admitted that in his affidavit he had attributed to Mr. Barbee, as the reason he

did not want to testify, something Mr. Barbee had crossed out in the memo of understanding. (3 EH

76-77.)

          As to Dr. Richard Leo, an expert on false confessions, Mr. Ray first sent him a letter and

materials. (3 EH 80-81.) The motion for his appointment was filed under seal. (3 EH 147-1148.)

Mr. Ray did not inform Dr. Leo that Mr. Barbee’s admission that he had helped move the bodies did

not indicate that he was necessarily guilty of the murders. (3 EH 83.) In his report, Dr. Leo said that

one of the reasons he felt the confession was true was that Mr. Barbee had led the police to the

bodies. (3 EH 83.) Yet Mr. Ray could not state that he had told Dr. Leo that Mr. Barbee had

admitted to helping conceal the bodies, but not to the murders. (3 EH 83.) Mr. Ray also admitted



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giving Dr. Leo false information about the cell phone records which Mr. Ray claimed indicated that

Mr. Barbee was lying. (3 EH 84-85.) That information, relied upon by Dr. Leo, was false. (3 EH

84.) Mr. Ray sent a corrective letter to Dr. Leo after he had rendered his opinion that the confession

was true. (3 EH 85, 151-153.) The false information was not shared with Mr. Barbee. (3 EH 88.)

Dr. Leo also based his opinion on his belief that Ron Dodd had no motive to commit the murders.

(3 EH 90.) On cross examination, Mr. Ray stated that “in virtually all confession cases, the suspect

will immediately recant the confession after the police leave the room and a loved one enters. And

that didn’t happen in this case.” (3 EH 150.)101 Mr. Ray found Dr. Leo’s report “unfavorable,” yet

his own omissions contributed to the unfavorable findings of that report. (3 EH 155.)

       A Dr. Shupe was also contacted and he examined Mr. Barbee. (3 EH 163.) Mr. Ray did not

use him as a witness because the doctor said that he believed Mr. Barbee was “fixated” on how his

mother would view him and so “I did not think that was going to help us.” (3 EH 164.) Dr. Shupe

examined Mr. Barbee but even though he “came up with some explanations to kind of diminish his

responsibility for the deaths” he was not called because he “got this bipolar disorder result” and even

though that jibed with Dr. Goodness’ finding of Lyme’s Disease, which “might cause some bipolar

symptoms,” Mr. Ray felt that his three experts were “getting different answers and that just wasn’t

going to work.” (3 EH 164.) Mr. Ray also testified that he had a Dr. Norman interview Mr. Barbee

but he was not called as a witness because “he didn’t think there was anything wrong with him,

specifically over getting hit on the head with this pipe.” (3 EH 182.)        Mr. Ray, in dismissing

anything or any witness who had the least perceived or possible risk or unfavorable outcome, did

not explain why he did not just call those experts who agreed with each other or question them on


       101
           Yet Mr. Ray later admitted that Mr. Barbee did recant when he met with his mother
Jackie Barbee. (3 EH 192.)

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potentially helpful areas.

       Mr. Ray said he did not call Theresa Barbee as a witness because he did not know “which

way the sail was going to blow” with her and “[c]alling your ex-wife is not a good idea anyway.”

(3 EH 180.) As to Jennifer Cherry, she was not called as a witness because of “some criminal

matters” in her background. (3 EH 189.) As to three jailers who agreed to be witnesses as long as

no one was singled out individually, Mr. Ray could not “say specifically why we did not call those

three jailers.” (3 EH 197.)

       Mr. Ray also stated in his affidavit that “Ron Dodd had no motive to commit the crimes nor

could we discover any reason to kill two persons he had no association with.” (3 EH 93.) Mr. Ray

also asserted that the defense would have had no way to show he did unless Mr. Barbee testified.

(3 EH 93.)102 The witness admitted that “maybe I didn’t say that correctly in my affidavit” but

“that’s what I meant.” (3 EH 94.)

       Mr. Ray admitted that “there was a financial motive” for Ron Dodd to commit the murders,

contrary to the statement in his joint affidavit with Mr. Moore. (3 EH 94.) Mr. Ray stated that what

he meant when he said that “Ron Dodd had no motive to commit the crimes nor could we discover

any reason to kill two persons he had no association with” was actually that “there was no motive

that we could prove. Maybe I should have put that in there to be a little clearer.” (3 EH 95.) Mr.

Ray also admitted that he did not know what Jennifer Cherry, who worked at the businesses, knew



       102
             As shown elsewhere herein, both statements are false. Mr. Dodd, an ex-con living
lavishly in a huge luxury home, had a tremendous financial motive to commit the crimes. This
could have easily been shown by the testimony of numerous other witnesses, including Amanda
Maxwell (the embezzlement, fact that Ron Dodd was living with Theresa Barbee, etc.), Jackie
Barbee (debts owed, Theresa and Ron Dodd’s lavish lifestyle, large house, loans, etc.), Jennifer
Cherry (embezzlement, their life style, Theresa’s statement that she wished that Mr. Barbee was
dead) and Theresa Barbee herself (financial dealings, large house, living with Ron Dodd.)

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about Theresa Barbee’s embezzlements, which also could have shown a motive. (3 EH 96.) Mr. Ray

admitted that he knew Ron Dodd was living in a very large and expensive house. (3 EH 97.) But,

in explanation for his failure to present this to the jury, Mr. Ray stated that “the jury wasn’t going

to decide what, if anything, Ron Dodd had to do with it. The jury was deciding one thing which is

whether or not Mr. Barbee here was guilty of capital murder...So it really doesn’t matter what

anybody’s theory was on Ron Dodd.” (3 EH 99.) This is of course a non sequitur, as showing Ron

Dodd’s involvement would also have showed Mr. Barbee’s innocence. This explanation also

ignored the fact that the jury did not consider Mr. Dodd’s involvement because it was not presented

to them by Petitioner’s attorneys. Mr. Ray also admitted that “I don’t know very much about Ron

Dodd.” (3 EH 99.) Neither did Mr. Barbee’s jury.

       As to the head injury suffered by Petitioner when Ron Dodd dropped a pipe on his head, Mr.

Ray stated in his affidavit that they “determined not to present the head injury theory because that

theory would necessitate that Petitioner was, in fact, guilty as charged.” (3 EH 100.) Mr. Ray

attempted to explain this by stating that

       [i]f he got hit on the head by a 400-pound pipe, or whatever this was, and that somehow
       caused him to be psychological (sic) infirm or have bad judgment or do the wrong thing or
       overreact, or whatever you want to call it, any of those things would have lended (sic)
       credence to the idea that he did commit the murder because of that reason....I felt like
       presenting psychological or physical or bodily-type evidence...that would have shown that
       he either wasn’t in his right state of mind or that he had some injury that caused a seizure or
       whatever, that ultimately caused him to be (sic) the motive or the reason that he killed Lisa
       and Jayden Underwood, I thought that would undermine the defense of innocence.
       (3 EH 101-102.)

       Mr. Ray then admitted that this reasoning actually applied to the punishment phase: “And

when you are at the punishment phase and you try to excuse conduct for somebody who has just

been found guilty that you’ve stood and told the jury that they were completely innocent and the



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State’s whole case was a lie, that does not help your client.” (3 EH 102.) Yet this was not what Mr.

Ray told Mr. Barbee’s jury, he told them that one of the killings was an accident. Additionally, this

explanation would mean that no mitigation would ever be presented as the jury would not reach the

punishment phase without the client being found guilty. Mr. Ray stated that “[i]f he’s got a head

injury, then the argument is that’s why he committed the murder.” (3 EH 103.) He thought it would

be a “bad idea” to present the mitigating evidence because of Mr. Barbee’s claim of innocence. (3

EH 104-105.)103

       Mr. Ray stated that he “tried to run all those people down” who had been talked to by Ms.

Maxwell. (3 EH 105.) Mr. Ray admitted he did not use Ms. Maxwell’s findings of hydrocodone use.

(3 EH 105.) He did not have a neuropsychological examination performed although Ms. Maxwell

recommended it, he only had “three doctors look at Mr. Barbee.” (3 EH 106.) He never told the

jury that Theresa Barbee was deeply in debt to Mr. Barbee’s mother, another finding of Ms.

Maxwell. (3 EH 107.) Mr. Ray also never told the jury about Theresa Barbee’s embezzlement from

the company because somehow “this would have been inconsistent with the “Ron Dodd did it”

theory...”(3 EH 107.)

       On cross-examination, Mr. Ray stated that he thought it was good to know both the positive

and negative information about his client. (3EH 156.) He denied providing Ms. Maxwell’s

“Psychosocial History report” to the prosecution. (3 EH 157.) As to having experts keep negative

information out of written reports, Mr. Ray did not think that was a good idea because “it makes it



       103
             Despite the fact that Mr. Ray presented no guilt phase defense, he attempted to
justify not presenting the head injury as follows: he stated that the experts did not find it to be
significant and if he had presented it “we would have had a big nothing over something that
could have backfired into this whole concept of I got a head injury, it made me snap, and than
that leads into solidifying a guilty issue. I was concerned about that.” (3 EH 182.)

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look somewhere like you’re trying to hide something.” (3 EH 195.)

        Mr. Ray stated that Judge Gill did not restrict him on the number of experts he could use.

(3 EH 160.) Dr. Kelly Goodness was one of these experts and although she thought Mr. Barbee may

have had Lyme’s Disease, Mr. Ray did not use her as a witness because “people with Lyme’s

Disease sometimes act out in a rage and have violent tendencies.” (3 EH 162.)

       As to the “road rage” incident involving Mr. Davis, Mr. Ray stated that Mr. Davis had told

him that Mr. Barbee tried to kill the driver of the other vehicle. (3 EH 109.) Mr. Ray did not present

Mr. Davis as a witness because he “didn’t know if [prosecutor] Kevin Rousseau knew about it or

not, which would have been a big gamble on my part.” (3 EH 109.) “I thought that it was extremely

likely that he might know about some other things that Mr. Barbee had allegedly done....I just

couldn’t take that risk.” (3 EH 110.) Even though Mr. Ray understood there were no police records

regarding this event, “that didn’t mean they wouldn’t know about it.” (3 EH 110.)

       Mr. Ray admitted that he “stayed away from presenting evidence on lack of future

dangerousness based on what Mr. Davis told” him. (3 EH 112.) Mr. Ray explained that he did not

ask other mitigation witnesses about future dangerousness because they could have been asked by

the state if they had heard of other incidents. (3 EH 117-118.) Mr. Ray admitted that he did not take

any steps to investigate what the prosecution knew about the road rage or any other incident, but he

assumed that “they were very well prepared in this case...” (3 EH 119.) He claimed that “there’s no

way to investigate it without potentially causing someone like the District Attorney to find out about

it.” (3 EH 119.) Mr. Ray testified that he felt there was some risk of the prosecutor finding out about

this unreported incident involving four people, none of whom were going to testify. (3 EH 120.) He

claimed that Mr. Barbee’s past has “some history” of violence. (3 EH 121.)



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       On cross examination, Mr. Ray read parts of Ms. Maxwell’s report about the Tim Davis

incident and claimed that Mr. Davis was lying when he said they never asked him to testify at trial.

(3 EH 168.) However, Mr. Ray contradictorily admitted that he told Mr. Davis “don’t come to the

courthouse.” (3 EH 169.) Mr. Ray testified that he did not know “who else the defendant or Mr.

Davis had ever related this story to. ” (3 EH 169.) But apparently, Mr. Ray made no efforts to find

out. Although he had searched the State’s file and found nothing relating to the incident, he did not

know if the State knew about it and said it was somehow “likely” that they did. (3 EH 169.) “If

those two guys had gotten hurt and went to the hospital, you know, or some traffic camera caught

it...you have no idea how that could happen.” (3 EH 169.) This logic assumed that the State had

searched several years of hospital records of an unknown number of hospitals, for an incident that

was not known to them, for records of two people whose names were not known to them, and who

in all likelihood did not know Mr. Davis or Mr. Barbee’s names. Or that the State would randomly

search traffic camera recordings for years after an event that they did not know about. This rationale

is logically flawed, as these searches would have been impossible as the state did not know who or

what they were searching for, and, without that knowledge, would have had no reason to instigate

any record searches in the first place.

       Mr. Ray’s basic rationale for not presenting future dangerousness mitigation was that “the

mitigating fact of future dangerousness, as told by the witnesses, was all subject to knowledge

assassination.” (3 EH 123.) Of course, this logic would preclude any presentation of a lack of future

dangerousness, as any witness could always be asked about potential incidents or be subject to

“knowledge assassination,” by which Mr. Ray presumably meant “have you heard” questions.

       Mr. Ray did not agree with statistics that showed that the best predictor of future



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dangerousness is the age of the person and Mr. Barbee was in his late 30s at the time of the trial.

(3 EH 125.) On cross examination, Mr. Ray somewhat irrelevantly stated that Mr. Barbee was not

the oldest person he had ever defended on capital murder charges. (3 EH 140.)

       As to the harmful testimony of Susan Evans, Mr. Ray claimed that he was trying “to show

to the jury...that the prison system has the ability to react to violence of inmates...that Mr.

Barbee...was going to be able to conform to those policies because he hadn’t been in any trouble in

the Tarrant County Jail...” (3 EH 129.) This evidence was presented to show that Mr. Barbee could

conform to prison. (3 EH 130.) As for the evidence of “violence, riots and escapes” she presented,

which would be a reason for the jury to want to put Mr. Barbee in a more secure placement on death

row, Mr. Ray could only say that “you can make that argument.” (3 EH 131.) Mr. Ray was also

asked about a well-known state expert named A. P. Merillat,104 who, as a state’s witness, gives

essentially the same testimony as to prison violence that Ms. Evans gave. (3 EH 132.)

       Mr. Ray said that he had discussed his testimony beforehand with the district attorney “at

least twice.” (3 EH 134.) He also said that Judge Gill never threatened him with “lack of future

appointments.” (3 EH 190.) Mr. Ray had talked about their testimony with Mr. Moore. (3 EH 201.)

       Tim Moore, who was Mr. Ray’s co-counsel, testified that he had tried three capital cases

before Mr. Barbee’s. (3 EH 203.) Mr. Moore was a former assistant district attorney. (3 EH 226.)

Trial counsel did not file a motion for a change of venue because they were worried it might

possibly be transferred “to a smaller community, more conservative community.” (3 EH 205, 229.)

He stated that he never called Amanda Maxwell as a witness . (3 EH 207.) Mr. Moore did not know

that Mr. Ray was going to tell the jury that Mr. Barbee had committed the murders but that it was



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             Spelled incorrectly in the transcript as “Marital.” (3 EH 132-133.)

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accidental. (3 EH 208.) He was not aware that Mr. Barbee was upset when he heard that argument.

(3 EH 208.) Mr. Moore did not recall if he contributed to Judge Gill’s 2004 election campaign but

admitted that he contributed to every criminal judge in Tarrant County. (3 EH 209.) As to his and

Mr. Ray’s joint affidavit, Mr. Moore gave some input but Mr. Ray drafted it. (3 EH 210-211.) As

to the “memo of understanding,” that was drafted because Mr. Barbee did not want to testify and

its purpose was to protect themselves if he changed his mind. (3 EH 211.)

       Mr. Moore said he “probably” did not obtain Mr. Barbee’s permission when they divulged

the reports and letters to the state in defending themselves in state habeas. (3 EH 214.) Mr. Moore

did not remember if he presented any experts to explain the cell phone records. (3 EH 214.) He did

not remember how he found out about Mr. Barbee’s head injury (3 EH 216.) When asked to explain

his statement in the affidavit that they did not present evidence of the head injury because “that

theory would necessitate that Applicant was, in fact, guilty as charged,” Mr. Moore could not

explain what that meant: “I’m not sure.” ( 3 EH 217.) Mr. Moore did not believe the defense

presented Mr. Barbee’s hyrdocodone use to the jury nor his history of migraine headaches. (3 EH

218.) He did not remember if he told Ms. Maxwell of the trial date so that she could be present. (3

EH 219.) Mr. Moore felt that the information they obtained from their experts was not favorable

to Mr. Barbee. (3 EH 232.)

       Mr. Moore said that Mr. Davis was “lying” if he said he did not tell them that Mr. Barbee

“tried to kill” the driver of the other vehicle in the “road rage” incident. (3 EH 220.) But Mr. Moore

admitted he never attempted to investigate this incident. (3 EH 221.) Mr. Moore repudiated his

statement in his affidavit that the only reason they did not present mitigation of a lack of future

dangerousness was Mr. Davis’s statement; he said there “were other reasons.” (3 EH 221.) The



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reason they did not call the other witnesses on future dangerousness was that they thought the state

might somehow know about the “road rage” incident. (3 EH 222, 235.) He explained that “when

you bring somebody’s character up for being a peaceful and law-abiding citizen, and the State has

knowledge of some kind of a bad act that they can ask you those questions.” (3 EH 235.) Despite

being risk-averse in this respect, Mr. Moore testified that he was not concerned about the risk of

damaging information on his client being discovered by the prosecution if his experts wrote it down.

(3 EH 237-239.) But he did not remember if he asked the other witnesses if they knew about it or

any other potentially damaging incidents. (3 EH 222-223.) Mr. Moore admitted that Ms. Maxwell

wrote that she did not think Mr. Davis would say anything negative about Mr. Barbee if he was

called as a witness. (3 EH 222.)

       Mr. Moore admitted that Mr. Barbee’s relatively advanced age of 37 at the time of trial was

not presented as a factor that would have meant he was a lower risk for future dangerousness. (3 EH

225.) Mr. Moore said that he had discussed his testimony with Mr. Ray “a couple of times.” (3 EH

226.) Finally, Mr. Moore admitted making a campaign contribution to Judge Gill. (3 EH 227-228.)

       Dr. Jack Randall Price, a clinical and forensic psychologist and neuropsychologist, was

called by the State. (3 EH 214.) He was retained by the State in 2008 to analyze information from

Dr. Stephen Martin. (3 EH 248.) Dr. Price did not conduct a personal interview with Mr. Barbee.

(3 EH 248, 302.) Nor did the witness perform the “Hare Psychopathy Checklist” on Mr. Barbee.

(3 EH 302.) As a result, Dr. Price did not diagnose him as a psychopath. (3 EH 303.)

       Dr. Martin, who examined Mr. Barbee, concluded that he suffered some impairment in

functioning from his head injury. (3 EH 252.) Dr. Price found that “the test results he obtained do

not indicate either generalized brain impairment nor do they suggest frontal lobe impairment.” (3



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EH 257.) He found no brain damage because there was no such conclusion in the file and no

behavioral indicators and he found Dr. Martin’s data to be in the normal range. (3 EH 258-260.) Dr.

Price did not agree that an expert should destroy files if they contained negative information. (3 EH

264.) He thought that if Dr. Martin had been called as a witness, the prosecution could have seen

the “Psychosocial History” which contained negative elements. (3 EH 266, 269.) There were

descriptions of past behavior and poor impulse control and a failure to take responsibility for his

actions. (3 EH 267.)

       On cross-examination, the witness admitted that there was always the possibility that an

expert’s reports would be discoverable by the opposite side. (3 EH 271-272.) Sometimes attorneys

will ask what the information is and then decide if they want a written report. (3 EH 272-273.) Mr.

Barbee’s IQ would fall in the low-average range. (3 EH 274.) He had some impairment on the

verbal fluency portion of the Multilingual Aphasia Examination. (3 EH 275.) Of 51 areas of

impairment, Mr. Barbee scored abnormal in 7 of those. (3 EH 277.) However, almost anyone would

score abnormally or in the impaired range in some of these tests. (3 EH 307.) There was still some

impairment in the category of word-finding and fluency. (3 EH 278.) The current edition of DSM-

IV (Diagnostic and Statistical Manual) does not refer to “psychopathy” but to “Antisocial

Personality Disorder.” (3 EH 281.) The witness admitted that some courts have ruled that the Hare

PCL-R should not be administered in capital cases. (3 EH 282.)

       Dr. Price was asked about some of the 11 factors out of 20 that he put in his report regarding

the Hare Psychopathy Checklist (PCL-R) that he claimed showed signs of psychopathy. But he

admitted that “I’m not saying he’s a psychopath.” (3 EH 305.)        Dr. Price stated that charm or

glibness is subjective (3 EH 284) but there was evidence of “superficial charm.” (3 EH 305.) The



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second factor, grandiosity, can be a facet of bipolar disorder. (3 EH 286.) As to the third point, a

need for stimulation, the witness admitted that Mr. Barbee worked at jobs that many would find

boring. (3 EH 287.) The fourth characteristic, pathological lying, is not uncommon and not related

to violence. (3 EH 288.) As to the fifth point, a parasitical lifestyle, Mr. Barbee did work hard and

occasionally receiving help from one’s family is not unusual. (3 EH 289.)105 As to poor behavior

controls, spending money lavishly does not mean that one is a psychopath. (3 EH 291.) As to point

number seven, promiscuous sexual behavior, the only evidence of this was that he was involved

with more than one woman at a time. (3 EH 291.) As to number eight, impulsivity, the witness

admitted that Mr. Barbee worked hard to pass his GED. (3 EH 292.) As to irresponsibility, the

witness admitted that Mr. Barbee ran his own business. (9 EH 294.) Dr. Price admitted that the type

of risk assessment done by Dr. Mark Cunningham and Dr. Thomas Ready, whose research was

available at the time of Mr. Barbee’s trial, shows that the offense itself is not a good predictor of

the likelihood of future violence in prison. (3 EH 295-298.)

       This witness admitted that age is a factor and “criminal acts of violence is a young man’s

game...the older you get, the less likely it is.” (3 EH 299-300.) But there has been criticism of this

“actuarial” approach. (3 EH 300-301.) However, Dr. Cunningham has won awards from the

American Psychological Association and the Texas Psychological Association. (3 EH 308-309.)

This witness did not perform an evaluation of Mr. Barbee and hence never diagnosed him as a

psychopath. (3 EH 302.) Dr. Price gleaned from the psychosexual report that Mr. Barbee had many

sexual partners. (3 EH 304.)          The witness saw signs of financial irresponsibility or

“manipulativeness.” (3 EH 305.) Even though Mr. Barbee scored in the impaired range in some


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             The “help” was in the form of loans from his parents which he was paying back. (3
EH 309.)

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tests, it would not be unusual, and that alone would be insufficient to conclude that he has suffered

brain damage. (3 EH 307.)

        Taking into account the facts and evidence adduced at the evidentiary hearing and

summarized supra, the Court concludes that the exculpatory affidavit submitted by Mr. Ray and Mr.

Moore in the initial state habeas proceedings is both self-serving and not credible. Further, in and

of itself without making any credibility determination, the affidavit is evidence of a conflict of

interest between trial counsel and their client, as it shows the attorneys’ willingness to put their own

interests ahead of their client’s as they go out of their way to denigrate Mr. Barbee. The affidavit

goes well beyond what was factually necessary or legally permissible for Mr. Ray and Mr. Moore

to defend themselves in state habeas proceedings.

        C. Argument in Support.

        i) Conflict of interest.

        The facts described above do not just illustrate ineffective assistance of counsel by Mr. Ray

in one case, the W.____ matter, as Respondent will probably argue. They show an ongoing

relationship between Judge Gill and Mr. Ray that extended over many years and over many

hundreds of cases which were the main source of income for Mr. Ray during the period before,

during and after Mr. Barbee’s capital murder trial. The Associated Press article quoted above shows

that Ray earned $710,000 from his work in Judge Gill’s court between 2001 and 2007, an amount

that represented 43 percent of his total earnings from court appointments during those years,

according to the auditor. (Exhibit 38). There is no reason to believe that this case, which

demonstrates Mr. Ray’s attempts to have Mr. Barbee plead guilty, his lack of interest in his claim

of actual innocence, and mysterious refusal to present all the mitigation evidence amassed by



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Amanda Maxwell, was not following the same script as Ms. W.’s case and the other probation

revocation cases handled by Mr. Ray in Judge Gill’s court. Mr. Ray’s favored status as the sole

appointee for these many hundreds of cases and almost three-quarters of a million dollars in fees

from Judge Gill, depended on his moving the cases quickly without undue “delay.” In accepting this

appointment, knowing that it was in his interest to plead the case, just as in Ms. W.’s matter, Mr.

Ray put his own financial interests ahead of those of his client, Mr. Barbee.

       Texas Disciplinary Rules of Professional Conduct Rule 1.06 (“Conflict of Interest; General

Rule”) states in relevant part as follows:

       Rule 1.06(b)...a lawyer shall not represent a person if the representation of that person...

       (2) reasonably appears to be or become adversely limited by the lawyer’s or law firm’s

responsibilities to another client or to a third person or by the lawyer’s or law firm’s own interest.

       Mr. Ray’s and Mr. Moore’s representation of Mr. Barbee fell afoul of this disciplinary rule

because of their responsibilities to a “third person,” Judge Gill. Mr. Ray was beholden financially

to Judge Gill for a huge number of appointments to probation revocation cases in which he was

expected to move the cases along expeditiously. Mr. Ray, in accepting this appointment, knew that

he had to move Mr. Barbee’s case as quickly as possible through Judge Gill’s court and that may

indeed have been the reason he was appointed to this high-profile case. Mr. Moore simply

acquiesced in the goal of moving this case quickly through the system.

       There is no reason to believe that this conflict of interest, which resulted in the ineffective

assistance of counsel to which Mr. Ray admitted in the Sandra W. case, was limited solely to his

probation revocation cases. It clearly extended to this capital case, as the facts of the case show

prejudice to Mr. Barbee as a result of this secret agreement between Judge Gill and Mr. Ray:



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       1) both defense attorneys attempted to pressure Mr. Barbee into accepting a guilty plea, thus

avoiding a lengthy trial and one of their first acts was to try to convince Mr. Barbee’s family that

he was guilty (Exhibits 19, 20, etc.);

       2) neither Mr. Ray nor Mr. Moore bothered to investigate or present Mr. Barbee’s case of

actual innocence, hoping for a quick guilty plea (Exhibit 16, statement of Amanda Maxwell);

       3) the lengthy jury selection process was not overseen by Judge Gill, but was instead handed

over to Judge Thornton, leaving Judge Gill free to tend to his “rocket docket”;

       4) the defense trial presentation was so short as to be almost non-existent and the trial itself

was conducted in near-record time;

       5) much of Mr. Barbee’s mitigation evidence was not presented, for no apparent strategic

reason, which would have slowed things down considerably (Exhibit 16);

       6) the mitigation expert, Amanda Maxwell was fired by Mr. Barbee’s attorneys and her

findings were not presented, again for no apparent strategic reason (Id.);

       7) counsel made no efforts to inform important witnesses such as false confession expert Dr.

Richard Leo, of basic facts about the case which caused him to render an unfavorable opinion;

       8) counsel made no efforts to have the venue of the case moved out of Fort Worth, despite

massive unfavorable publicity about the case in the local newspaper.

       These actions or inactions are understandable when viewed through the prism of what we

now know about Judge Gill’s manner of running his court. Basic due process was abandoned in the

search for efficiency and a high case-resolution count. Mr. Ray and Mr. Moore went along with this

program and thereby put their own interests in future appointments ahead of those of their client.

As Rule 1.06(b) of the Texas Rules of Disciplinary Conduct states, “...a lawyer shall not represent



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a person if the representation of that person...reasonably appears to be or become adversely limited

by the lawyer’s or law firm’s responsibilities to another client or to a third person or by the lawyer’s

or law firm’s own interest.” Here, clearly, that third person was Judge Gill.

        Habeas petitioners normally do not have to show prejudice from a conflicted lawyer’s

performance to establish a Sixth Amendment violation because “[t]he case law is clear that actual

prejudice need not be shown. Once a habeas petitioner has proved the existence of an actual

conflict, only an adverse impact on the attorney’s performance need be shown.” Ruffin v. Kemp, 767

F.2d 748, 752 (11th Cir. 1985); see also, Holloway v. Arkansas, 435 U.S. 475 (1978); Cuyler v.

Sullivan, 446 U.S. 335 (1980); Burden v. Zant, 24 F.3d 1298 (11th Cir. 1994); Baty v. Balkcom, 661

F.2d 391, 395 (5th Cir. 1982). But if prejudice has to be shown, it has been shown in abundance in

the eight factors listed above.

        The Court's focus should be whether defense counsel did, or failed to do, something because

of the conflict. Holloway v. Arkansas, supra, 435 U.S. at 490 (“the evil – it bears repeating – is in

what the advocate finds himself compelled to refrain from doing.”) Zuck v. Alabama, 588 F.2d 436,

439 (5th Cir. 1979) (actual conflict occurs when defense counsel is placed in a situation “inherently

conducive to divided loyalties.”); United States v. Chronic, 466 U.S. 648 (1984) (Where "the

surrounding circumstances made it so unlikely that any lawyer could provide effective assistance,”

prejudice is presumed.) (citing, Powell v. Alabama, 287 U.S. 45 (1932)). Under Strickland v.

Washington, 466 U.S. 668, 692 (1985), the court has to presume prejudice if a conflict existed.

        As recounted supra, trial counsel made great efforts to have their client plead guilty and

then, failing that, to make sure the trial moved through Judge Gill’s court quickly. This conflict

“adversely affected his lawyer’s performance.” Strickland, supra, 466 U.S. at 692. A petitioner



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is presumed to have been prejudiced by acts trial counsel did not do as a result of the conflict. See,

Cuyler v. Sullivan, 446 U.S. 335 (1980) (the Court must focus on whether the attorney's performance

was adversely affected); Burden v. Zant, 24 F.2d 1298 (11th Cir. 1994) (upon remand in Burden v.

Zant, 510 U.S. 132 (1994); Stoia v. United States, 22 F.3d 766 (7th Cir. 1994).

       In Mickens v. Taylor, 535 U.S. 162, 122 S. Ct. 1237 (2002) the Supreme Court held that in

situations where the trial court failed to inquire into a potential conflict of interest about which it

knew or reasonably should have known, a defendant has to establish that this conflict adversely

affected counsel’s performance. There are a number of reasons why this holding may not be

applicable here. First, it is explicitly limited to situations where the court fails to inquire into a

potential conflict and, as we have seen, there was a limited inquiry and questioning by the judge as

to the propriety of the representation. (22 RR 166-173.) Secondly, Mickens involved a prior

representation, whereas the conflicts here were concurrent. As the court in Mickens explained

       Both Sullivan itself...and Holloway...stressed the high probability of prejudice arising from
       multiple concurrent representation, and the difficulty of proving that prejudice...Not all
       attorney conflicts present comparable difficulties. Thus, the Federal Rules of Criminal
       Procedure treat concurrent representation and prior representation differently, requiring a
       trial court to inquire into the likelihood of conflict whenever jointly charged defendants are
       represented by a single attorney (Rule 44(c)) but not when counsel previously represented
       another defendant in a substantially related matter, even where the trial court is aware of the
       prior representation.
       (Mickens, 122 S. Ct. at 1246.)

       In Cuyler v. Sullivan, supra, the court held that a showing of deficient performance was

required, but not requiring the additional Strickland showing of a probable effect on the outcome

of the trial. Mickens was decided on the assumption that Cuyler v. Sullivan was applicable, and its

decision did not hold, even in the successive representation situation, that Sullivan did not apply.

In its conclusion, the Supreme Court stated that “[i]n resolving this case on the grounds on which



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it was presented to us, we do not rule upon the need for the Sullivan prophylaxis in cases of

successive representation. Whether Sullivan should be extended to such cases remains, as far as the

jurisprudence of this Court is concerned, an open question.” (Id. at 1246.)

       Therefore, we must look to pre-Mickens Fifth Circuit precedent, and precedents from other

circuits. In Perillo v. Johnson, 79 F.3d 441 (5th Cir. 1996) (Perillo I) and, on remand, Perillo v.

Johnson, 205 F.3d 775 (5th Cir. 2000) (Perillo II), the Fifth Circuit reaffirmed that when an actual

conflict adversely affects trial counsel’s performance, the governing legal standard is Cuyler v.

Sullivan, 100 S. Ct. 1708 (1980) and its progeny. See Strickland v. Washington, supra; Beets v.

Scott, 65 F.3d 1258 (5th Cir. 1995) (en banc). The Cuyler standard applicable when a criminal

defendant alleges that counsel’s performance was impaired by an actual conflict of interest differs

substantially from the Strickland standard generally applicable to Sixth Amendment ineffectiveness

claims. See Strickland, 104 S. Ct. at 2067; see also Beets, 65 F.3d at 1265.

       Cuyler permits a defendant who raised no objection at trial to recover upon a showing that

an actual conflict106 of interest adversely affected counsel’s performance. See Cuyler, 100 S. Ct. at

1718; Perillo I, 79 F.3d at 447; Beets, 65 F.3d at 1264; see also Strickland, 104 S. Ct. at 2067. The

Perillo court stated that an “adverse effect” may be established with evidence that “some plausible

alternative defense strategy or tactic” could have been pursued, but was not because of the actual

conflict impairing counsel’s performance. See, also Perillo I, 79 F.3d at 449. Assuming the

defendant establishes an actual conflict that adversely affected counsel’s performance, prejudice is


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            The Fifth Circuit stated in Perillo, supra, that an “actual conflict” exists when
defense counsel is compelled to compromise his or her duty of loyalty or zealous advocacy to
the accused by choosing between or blending the divergent or competing interests of a former or
current client. See Strickland at 2067; Perillo I, 79 F.3d at 447; United States v. Alvarez, 580
F.2d 1251, 1254 (5th Cir. 1978).


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presumed without any further inquiry into the effect of the actual conflict on the outcome of the

defendant’s trial. See Strickland, 104 S. Ct. at 2067; Cuyler, 100 S. Ct. at 1719; Beets, 65 F.3d at

1265.

        The Fifth Circuit recognized in Perillo, supra, that beyond those basic legal precepts,

Cuyler’s “actual conflict” and “adverse effect” elements have been described as “rather vague,” see

Beets, 65 F.3d at 1265, and even a brief review of the precedent reveals that any categorical

treatment of when an actual conflict exists is difficult.

        The Fifth Circuit in Perillo found that the determination of actual conflict and adverse effect

is tightly bound to the particular facts of the case at hand. Petitioner is claiming that trial counsel

were conflicted due to his attorneys’ putting their interests ahead of and in conflict with his. There

could have been no reasonable strategy in failing to present the mitigating evidence, to fail to

present the case for actual innocence and to fail to attempt to have the trial moved out of Tarrant

County.

        Perillo recognized that several circuits have drawn a distinction in Sixth Amendment conflict

of interest cases, holding that an actual conflict may be more difficult to prove when it arises in the

context of successive or serial representation rather than concurrent representation. See, e.g., Freund

v. Butterworth, 165 F.3d 839, 859 (11th Cir.), cert. denied, 120 S. Ct. 57 (1999); Maiden v. Bunnell,

35 F.3d 477, 480 (9th Cir. 1994); McConico v. Alabama, 919 F.2d 1543, 1546 (11th Cir. 1990). But

see Church v. Sullivan, 942 F.2d 1501, 1511 (10th Cir. 1991) (rejecting the view that successive

representation cases are necessarily more difficult to prove). This difficulty, however, does not

preclude the Fifth Circuit from finding that an actual conflict did exist because trial counsel put their

personal interests ahead of their duty to Petitioner. An evidentiary hearing will be the only



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opportunity to develop these facts.

        The Fifth Circuit has not limited Cuyler to concurrent representation cases. The Fifth

Circuit’s recent en banc treatment of Cuyler in Perillo II expressly extends Cuyler to all cases of

multiple representation, whether successive or concurrent. See Beets v. Scott, 65 F.3d 1258, 1265

(5th Cir. 1995) (en banc) (“Strickland offers a superior framework for addressing attorney conflicts

outside the multiple or serial client context.”) & id. at 1265 n.8 (“Cuyler has been routinely applied

to cases in which an alleged attorney conflict resulted from serial representation of criminal

defendants as well as simultaneous multiple representation. . . . For convenience, we denominate

both of these situations as ‘multiple representation.’”). Moreover, Cuyler itself can be viewed as

a serial or successive representation case. The Third Circuit granted relief in Cuyler on the basis

that the multiple representation involved a “possible” conflict of interest. The Supreme Court

vacated, but remanded for reconsideration of whether the successive representation of the three

defendants created an actual, as opposed to possible, conflict of interest. (See id. at 1719.) Cuyler

has routinely been applied to cases involving successive representation.

        The Fifth Circuit, therefore, has not definitively embraced the theory that there is any real

and inviolate substantive difference between conflicts of interest arising in the context of successive,

as opposed to concurrent, representations. Instead, the Fifth Circuit has in each case focused upon

the “guiding principle in this important area of Sixth Amendment jurisprudence,” which is whether

counsel’s allegiance to the accused was compromised by competing obligations owed to others.

Alvarez, 580 F.2d at 1255, 1258. In Perillo, the Fifth Circuit stressed that a conflict exists when

counsel is prevented “by his interest in another’s welfare from vigorously promoting the welfare of

his [current] client.” Vega, 149 F.3d at 360. Certainly this would apply here, where the competing



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welfare was their own.

        The issue is simply whether trial counsel were burdened by an actual conflict. An actual

conflict may exist and the Constitution is implicated when an attorney is placed or places himself

or herself in a situation “inherently conducive to divided loyalties” such as trial counsel did here.

Johnson v. Hopper, 639 F.2d 236, 238 (5th Cir. 1981) (internal quotations omitted); Zuck v.

Alabama, 588 F.2d 436, 439 (5th Cir. 1979) (internal quotations omitted). But, in keeping with the

requirement for an actual, as opposed to a mere hypothetical or possible conflict, the Fifth Circuit

has also held that something more must be shown to demonstrate that the inherent potential for

conflict actually moved into the realm of an actual conflict. See, e.g., Olivares, 786 F.2d at 663-64.

Petitioner has demonstrated “something more” and established the conflict.

        The very essence of a conflict of interest is that it requires counsel to make a choice between

competing interests.     This Court’s focus must remain upon the adequacy of Petitioner’s

representation. See Strickland, 104 S. Ct. at 2064-67; Cuyler, 100 S. Ct. at 1718-19. An adverse

effect on counsel’s performance may be shown with evidence that counsel’s judgment was actually

“fettered by concern” over the effect of certain trial decisions on other clients. Perillo I, 79 F.3d at

448. As the Fifth Circuit held in Perillo I, when a petitioner’s claim is premised solely upon what

a conflicted lawyer failed to do on his or her behalf, the petitioner must generally establish adverse

effect by demonstrating that there was some plausible alternative defense strategy that could have

been pursued, but was not, because of the actual conflict. (See id. at 449)(relying upon Beets, 65

F.3d at 1284 (King,J., dissenting), which in turn relied upon the Second Circuit’s test for measuring

adverse effect premised upon “what an attorney failed to do"). Thus, Petitioner has shown not only

that trial counsel’s performance was compromised, but that the compromises were generated by the



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actual conflict between trial counsel’s interests and Petitioner’s interests.

        A showing of intentional compromising of interests is not required. The Fifth Circuit has

stated that it is enough that there was an error in judgment that adversely affected trial counsel’s

performance. See Castillo, 504 F.2d at 1245 (“We do not ascribe to Castillo’s appointed attorney

nor to the appointing judge improper motives, but they are chargeable with an error of judgment

fatal to a fair trial.”). Neither does a showing of adverse effect require a “but for” inquiry. Nealy,

782 F.2d at 1365 (finding adverse effect where the record suggested that defense counsel decided

against calling a particular witness because he feared the witness would harm the petitioner’s case,

rather than because he also represented the potential witness); see also Malpiedi, 62 F.3d at 469.

To the contrary, the defendant need only establish that there was a plausible alternative defensive

strategy that could have been pursued, but was not because of the actual conflict of interest.

Petitioner has done this.

        Petitioner has proven that trial counsels’ performance was adversely affected by the conflict

of interest and he has shown prejudice. Based upon the particular factual context of this case, trial

counsel compromised their duty of loyalty to Petitioner in order to accommodate their own

interests. Petitioner has also demonstrated that there were plausible alternative defense strategies

(the actual innocence claim, the investigation of Mr. Barbee’s innocence, and the mitigation

evidence) that could have been pursued, but were not, because of the conflict between counsel’s

interests and the interests of their client.

        A review of the entire record in this case is persuasive that trial counsel’s failures

appreciably weakened the defense. This failure was caused by the conflicts alleged demonstrated

by Petitioner. This court should find that trial counsels’ representation was burdened by a conflict

which adversely affected trial counsels’ performance throughout the trial.

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       D. What the State Court Held.

       This claim was brought in Petitioner’s subsequent writ application. The CCA determined

that it met the requirements for a subsequent writ under art. 11.071 Sec. 5(a) and the trial court held

an evidentiary hearing on this claim. The trial court ultimately denied relief and adopted verbatim

the State’s “Proposed Memorandum, Findings of Fact and Conclusions of Law.” (Exhibit 54.) The

Texas Court of Criminal Appeals denied relief on Claim 2 “[b]ased upon the trial court’s findings

and conclusions and our own review.” Ex parte Stephen Dale Barbee, No. WR-71,070-02, at 2.

(Tex. Crim. App. May 8, 2013)(Exhibit 52.)



       E. Why the State Court Holding Was Unreasonable.

       1. The 2254(d)(2) analysis.

       To see why the state court decision is contrary to 2254(d)(2) as a “decision that was based

on an unreasonable determination of the facts in light of the evidence presented in the State court

proceeding,” we must examine the basis of the trial court and the CCA’s holding, the prosecutors

“Proposed Memorandum, Findings of Fact and Conclusions of Law.” (Exhibit 54.) Many of these

findings are derived uncritically from either Mr. Ray and Moore’s self-serving declaration or their

testimony at the evidentiary hearing. The problem is that many of these findings are either not

supported by the record, are directly contradicted by testimony from witnesses without any incentive

to lie on behalf of Mr. Barbee, are illogical, or are inherently incredible or unbelievable.

       Subsequent Finding of Fact107 No. 12 is somewhat inaccurate in that it states that “other

       107
            The Findings of Fact in the subsequent state habeas proceedings are in Exhibit 54 and
are referred to herein as “Subsequent Findings of Fact” to differentiate them from the state
courts’ original Findings of Fact in the initial state habeas proceedings (Exhibit 14). As these
subsequent findings purport to deal (at least partially) with the conflict of interest claim, in the
broad sense of the claim, the 2254(d)(2) analysis is presented here as to all those subsequent

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criminal district courts used similar arrangements with attorneys to handle probation revocations,”

citing 2 EH 247. But what Mr. Gill actually testified that “other courts had arrangements with other

lawyers to handle probation revocation cases...” 2 EH 247. But when asked if they handled them

in the same way as he did, Judge Gill said “I don’t know” and he never bothered to find out. 2 EH

247.

       Subsequent Finding of Fact No. 13 holds that the reason “Judge Gill appointed Mr. Ray to

handle many probation cases [is] because 1) Mr. Ray made himself available on Friday afternoons

when Judge Gill preferred to handle probation revocation proceedings and 2) Mr. Ray investigated

his cases beforehand and was prepared to handle the probation when scheduled.” Yet Mr. Ray’s

testimony contradicts this and at the hearing he denied that he had an “arrangement” or “agreement”

with Judge Gill to handle probation revocation cases. (3 EH 37.) “We had a situation where Judge

Gill would appoint me on criminal cases...they weren’t all probation revocations...and I would

represent those people, and then he would decide the case, if it needed to be decided. Some of them

resulted in plea agreements. And then he would appoint me on another case, and we would do that

same process over. It could have ended at any time and it ultimately did.” (3 EH 37.) Mr. Ray also

said that “I don’t think we had an arrangement...Judge Gill appointed me, I took care of cases, he

paid me based on the work I did, and he appointed me on other cases.” (3 EH 40.) Mr. Ray never

claimed that the alleged “Friday” arrangement Judge Gill was the main basis for the appointments.

       Subsequent Finding of Fact No. 31 states that “Mr. Moore believes that any effect from pre-

trial publicity can be worked out in jury selection.” That standard would obviate the need for any



findings that are an unreasonable determination of the facts. Some of the subsequent findings of
fact discussed here in Claim 2 are also relevant to claims other than the conflict of interest.
These subsequent findings of fact are also discussed infra, in the relevant claims.

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change of venue in any case, and it is obviously not a tenable standard for effective assistance of

counsel. There would be no need to “work it out” had they filed for a change of venue in the first

place.

         Subsequent Finding of Fact No. 36 states that soon after their appointment, “Mr. Ray and

Mr. Moore interviewed the applicant’s family and other witnesses—including witnesses who could

provide information regarding the applicant’s family background.” This ignores the large number

of family members who were either not interviewed at all, or interviewed without asking the crucial

questions regarding Mr. Barbee’s propensity for future acts of violence. And Mr. Ray himself

admitted that one of his first acts was not to interview the family members, but to gather them in one

place to view the tape of the “confession,” presumably so that they would support his efforts to have

Mr. Barbee plead guilty. (3 EH 29.)

         Subsequent Finding of Fact No. 46 points to several pre-trial motions filed in the case.

However, these were basically boiler-plate standard motions filed in every capital case.

         Subsequent Findings of Fact Nos. 54 through 64, dealing with Dr. Leo, are seriously flawed

and contrary to the record. For instance, Subsequent Finding of Fact No. 57 holds that Dr. Leo

“concluded that the applicant’s confession was more likely to be true than false.” Subsequent

Finding of Fact No. 58 gives three reasons why Dr. Leo reached this conclusion: 1) that Mr. Barbee

led the police to the bodies; and two reasons that are basically similar: 2) that Mr. Barbee did not

deny committing the crime to his wife; and 3) that he told his wife he committed the murders.

         These findings completely ignore the basics of the claim, which is Mr. Ray did not inform

Dr. Leo that Mr. Barbee’s admission that he had helped move the bodies did not indicate that he was

necessarily guilty of the murders. (3 EH 83.) This omission resulted in the unfavorable report from



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Dr. Leo and his opinion that the confession was valid. In his report, Dr. Leo said that one of the

reasons he felt the confession was true was that Mr. Barbee had led the police to the bodies. (3 EH

83.) Yet Mr. Ray could not state that he had told Dr. Leo that Mr. Barbee had admitted to helping

conceal the bodies, but not to the murders. (3 EH 83.) Mr. Ray also admitted giving Dr. Leo false

information about the cell phone records which Mr. Ray claimed indicated that Mr. Barbee was

lying. (3 EH 84-85.) That information, relied upon by Dr. Leo, was false. (3 EH 84.) Dr. Leo also

based his opinion on his belief that Ron Dodd had no motive to commit the murders. (3 EH 90.) Mr.

Ray found Dr. Leo’s report “unfavorable,” yet his own omissions contributed to the unfavorable

findings of that report. (3 EH 155.) As for telling his wife he committed the murders, Mr. Barbee

has explained that was the result of the death penalty threats and he had repudiated that confession

around the time he left the police station. Thus, all the findings of fact relating to Dr. Leo are an

unreasonable determination of the facts under 2254(d)(2) because they ignore these central facts.

The conclusory Subsequent Finding of Fact No. 61, that Dr. Leo was not called “because his

testimony would be favorable to the State,” is flawed because the reason his testimony would have

been favorable to the State was directly due to Mr. Ray’s errors and omissions in failing to properly

inform Dr. Leo of the facts of the case.

       Subsequent Finding of Fact No. 65 states that “Mr. Ray and Mr. Moore’s efforts to prepare

and present a defense were hampered by the applicant’s ever-changing version of these murders and

his specific involvement therein.” Yet, immediately after his transfer to the county jail, and before

Mr. Ray and Mr. Moore were even appointed, Mr. Barbee recanted his confession and professed his

innocence of the murders of Lisa and Jayden Underwood. (See, e.g., Exhibits 19, 20, 37.) Mr. Ray

himself admitted that “Stephen consistently stated that Ron Dodd was the real killer” from the outset



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of the case. (3 EH 71.) Mr. Ray also used the word “steadfast” in relation to Mr. Barbee’s

statements about Ron Dodd’s culpability. (3 EH 71.) His own declaration also shows the opposite.

E.g., “Applicant consistently stated that Ron Dodd was the real killer, Exhibit 37, at 5; “Applicant

was steadfast in his assertion that he was innocent”, Id. at 5; “Applicant maintained that he was

completely innocent” Id. at 6; “Client has maintained his innocence to attorneys since the date of

appointment”, Memo of Understanding, appendix to Exhibit 37.

       Subsequent Findings of Fact Nos. 66 and 67 are similarly flawed. No. 66 held that “[t]he

applicant initially explained that the murders of Lisa and Jayden Underwood were accidental” and

No. 67 held that “applicant later took the position that Ron Dodd killed Lisa and Jayden Underwood

and that he was not present when it happened.” This is an unreasonable determination of the facts

in light of Mr. Ray’s own testimony and the other evidence and testimony that clearly shows that

Mr. Barbee repudiated his “confession” before Mr. Moore and Mr. Ray were even appointed to his

case. These glaring inconsistencies should cause the Court to afford little credibility to trial

counsel’s testimony.

       Similarly, Subsequent Findings of Fact No. 67 through 70, 78, and 80-82 are also flawed

and contrary to the record and an unreasonable determination of the facts. Subsequent Finding of

Fact No. 65 held that “Mr. Ray and Mr. Moore’s efforts to prepare and present a defense were

hampered by the applicant’s ever-changing version of these murders and his specific involvement

therein.” Subsequent Finding No. 67 holds that “applicant later took the position that Ron Dodd

killed Lisa and Jayden Underwood, and that he was not present when it happened.” These holdings

ignore and are directly contrary to the attorneys’ contradictory statements in their affidavit that Mr.

Barbee always insisted on his innocence and that Ron Dodd was the actual murderer. (E.g.,



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“Applicant consistently stated that Ron Dodd was the real killer, Exhibit 37, at 5; “Applicant was

steadfast in his assertion that he was innocent”, Id. at 5; “Applicant maintained that he was

completely innocent” Id. at 6; “Client has maintained his innocence to attorneys since the date of

appointment”, Memo of Understanding, appendix to Exhibit 37.) Mr. Barbee’s statement that the

killings were accidental occurred at the police interrogation and he had clearly repudiated that

statement as coerced well before the attorneys were appointed, as they themselves admit.

       Subsequent Finding No. 69 held that Mr. Ray believed the “Ron Dodd did it” theory “was

unworkable because Dodd had no motive to kill to people with whom he had no association and

because this theory did not take into account the applicant’s confessions.” On the contrary, Mr. Ray

admitted at the evidentiary hearing that “there was a financial motive” for Ron Dodd to commit the

murders and to frame Mr. Barbee, contrary to the statement in his joint affidavit with Mr. Moore.

(3 EH 94.) Mr. Ray also admitted that Theresa Barbee’s embezzlements and her fear of being

discovered could have also been a motive for Mr. Dodd, as Mr. Dodd was living with her at the time

of the murders. (3 EH 96.) Mr. Ray also admitted that he knew Ron Dodd was living in a very large

and expensive house and he had a motive to continue that life style. (3 EH 97.)

       In testimony that showed his lack of understanding of this issue, Mr. Ray stated that “the jury

wasn’t going to decide what, if anything, Ron Dodd had to do with it. The jury was deciding one

thing which is whether or not Mr. Barbee here was guilty of capital murder...So it really doesn’t

matter what anybody’s theory was on Ron Dodd.” (3 EH 99.) This is of course a non sequitur, as

showing Ron Dodd’s involvement would also have showed Mr. Barbee’s innocence. This

explanation also ignored the fact that the jury did not consider Mr. Dodd’s involvement because it

was not presented to them by Petitioner’s attorneys. Mr. Ray actually admitted that “I don’t know



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very much about Ron Dodd.” (3 EH 99.) And as to the head injury suffered by Petitioner when Ron

Dodd dropped a pipe on his head, Mr. Ray stated in his affidavit that they “determined not to present

the head injury theory because that theory would necessitate that Petitioner was, in fact, guilty as

charged.” (3 EH 100.) This too, is a non sequitur.

       Subsequent Findings of Fact Nos. 74 through 77 relating to Donald Painter, an inmate who

implicated Ron Dodd in the murder, are similarly contrary to the record and an unreasonable

determination of the facts. They are based on Subsequent Findings Nos. 76 and 77, which hold that

the alleged reason for not presenting Mr. Painter was that he supposedly wanted money for his

testimony. Yet the money motive, which allegedly made him a bad witness, was never adequately

investigated.

       Subsequent Finding of Fact No. 78 purports to explain why the “Ron Dodd did it” theory was

inconsistent with evidence admitted at trial. But Subsequent Finding of Fact 78(a) and (b) are based

on Mr. Barbee’s repudiated confession. That repudiated confession could have been explained to

the jury as a result of coercion and threats of the death penalty.

       Subsequent Findings of Fact No. 88 and 89 are unreasonable because they are misleading

and miss the point. No. 88 held that “Mr. Ray instructed Ms. Maxwell to learn everything about the

applicant’s past, including positive and negative information” and No. 89 held that they believe such

information is useful, and No. 91 held that “Mr. Ray’s decision to prepare a psychosocial history

report containing both positive and negative information was not due to any relationship to Judge

Gill.” The problem here is not that Ms. Maxwell was asked to learn positive and negative

information, but that Mr. Ray told her to write up and put the negative information in a report that

was in fact later given to the prosecution and used against Mr. Barbee.



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       At the hearing, Ms. Maxwell testified that, with her current experience, she would provide

the defense attorney with all the information, both good and bad, but the bad would be provided only

verbally. (2 EH 95.) The negative information would not normally be in the written reports. (2 EH

96-97.) At the time she provided the report in this case she “had no idea the prosecution was even

allowed to see my report” and Petitioner’s attorneys failed to advise her that it could be seen by

them. (2 EH 97.) Since this case, Ms. Maxwell has learned “to only provide mitigating information

in the final report.” (2 EH 97-98.) In seven or eight years of mitigation training, Ms. Maxwell has

been taught that it is “standard procedure” not to write down bad or negative information as it may

become discoverable. (2 EH 123-124.)108 In her report, Ms. Maxwell wrote that Petitioner had poor

behavioral and impulse control (2 EH 100, 104), did not do well under stress (2 EH 101-102), and

had numerous girlfriends and a secret cell phone (2 EH 103) but would not have done that in light

of her training. She said that she did not realize that the prosecution would obtain a copy of her

report as this was her first capital case. (2 EH 128.) Ms. Maxwell thought that Petitioner’s attorneys

may have provided a copy of her report to the prosecution but was not certain of that. (2 EH 129.)

Currently, Ms. Maxwell does not include anything other than mitigating facts in her mitigation

report (2 EH 133.) Thus, these findings are all unreasonable determinations of fact.

       Subsequent Finding of Fact No. 96, relating to the head injury, is flawed. In the only

subsequent finding relating to the non-presentation of the head injury, it held that “Dr. Goodness did

not find significant symptoms suggestive of a head injury.” However, it was Amanda Maxwell

(Exhibit 16) and Dr. Martin (Exhibit 17) who found these symptoms, not Dr. Goodness, who held


       108
             This is standard practice and was so at the time of Mr. Barbee’s trial. For instance, in
Crutsinger v. Stephens, No. 12-70014 (5th Cir. Sept. 18, 2013) an expert involved in this case,
Dr. Kelly Goodness, indicated that in Crutsinger’s 2003 capital trial, “she would first make an
oral report to trial counsel and prepare a written report only if requested.” Crutsinger, at *7.

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a Ph.D, not a medical degree.

       Subsequent Finding of Fact No. 97 held that “Dr. Goodness did not find that the applicant

suffered from any developmental delay or from bipolar mood disorder.” This was found by Ms.

Maxwell and Dr. Martin.

       Subsequent Finding of Fact No. 108 is completely illogical. It held that “Mr. Ray and Mr.

Moore’s decision not to offer head injury evidence was not a decision adverse to the applicant’s

interests, but rather a reasonable tactical decision given the applicant’s lack of significant symptoms

and his unwillingness to accept responsibility for the murders...” As discussed supra, innocent

people can also have head injuries, and the head injury evidence was not in any way dependent or

diminished by a claim of actual innocence. And there were significant symptoms, including severe

headaches. Subsequent Finding of Fact No. 110 offers the same illogical rationale for not presenting

the evidence of hydrocodone use.         It too was not dependent or tied to an “acceptance of

responsibility” for the murders as the state courts held when they adopted this finding.

       Subsequent Findings of Fact Nos. 111 through 128, relating to the “road rage” incident, are

similarly flawed and illogical and an unreasonable determination of the facts. These are discussed

in detail in Claim 5(c), infra, and that discussion is incorporated by reference herein. The evidentiary

hearing testimony of Mr. Davis showed that this incident was misrepresented by Mr. Moore and Mr.

Ray in their affidavit in an attempt to avoid responsibility for their complete failure to offer any

evidence of Mr. Barbee’s low propensity for future dangerousness, the crucial special issue. At the

hearing, Mr. Davis testified that two people in a truck swerved in front of Petitioner and Mr. Davis’

vehicle and forced them off the road. (2 EH 143.) The two men approached their vehicle, so Mr.




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Davis and Mr. Barbee rolled down the window to see what they wanted. (2 EH 143.) One of the

other drivers tried to punch Mr. Davis so Petitioner and Mr. Davis got out and defended themselves.

(2 EH 143.) Then they got back in the truck and drove away. (2 EH 143) The other people were the

aggressors, Mr. Davis and Petitioner were trying to defend themselves, and no one was hurt. (2 EH

144.)

           At the evidentiary hearing, Mr. Davis testified that at no time did he ever tell Petitioner’s

mitigation person or his attorneys that Petitioner tried to kill the other persons and it was nothing

even close to that. (2 EH 145.) The incident was a simple fistfight. (2 EH 145.) Mr. Davis did not

think that Petitioner was violent or that he would be likely to commit future acts of violence and he

had never seen him being the aggressor. (2 EH 144-145.) Mr. Davis would have been willing to

be a witness at Petitioner’s trial and if he had been called as a witness he would have told the jury

that he would “absolutely not” be a threat to society or likely to commit future violent acts. (2 EH

146.) Had he been asked any “have you heard” or “do you know” questions about Mr. Barbee’s past

incidences of violence, he would have said “I don’t know of any” such incidents. (2 EH 146.)

           Subsequent Findings of Fact Nos. 122 and 124 are totally contrary to the record. No. 122

held that “Mr. Davis denied meeting with Mr. Ray and Mr. Moore before the applicant’s trial” citing

2 EH 147. Mr. Davis made no such denial. At 2 EH 147 he testified only that he was never

contacted by Mr. Barbee’s attorneys to testify in the case. Subsequent Finding of Fact No. 124 held

that “Mr. Davis’ writ hearing testimony that he never met with Mr. Ray and Mr. Moore is not

credible.” Again, Mr. Davis newer so testified, he said that he was never contacted by them to

testify.

           Subsequent Finding of Fact No. 126 is also flawed. It held that “Mr. Ray and Mr. Moore

were concerned that the State was aware of the applicant’s road rage incident.” First, it was not a

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road rage incident, at least on the part of Petitioner and Mr. Davis. Second, there was simple way

to avoid any harmful testimony: simply ask each prospective witness if they knew about it. Any

“concerns” about the State finding out about the so-called road rage were certainly bogus and an

after-the-fact pretext for the trial attorneys’ failure to present mitigating evidence as to future

dangerousness, as shown herein. Subsequent Finding of Fact No. 127 has the same defect.

        Subsequent Finding of Fact No. 130 encapsulates this issue: “Mr. Ray and Mr. Moore’s

decision to limit their examination of the defense punishment witnesses was...rather a reasonable

tactical decision given the applicant’s past violent behavior.” This cannot bear reasonable scrutiny

against the arrest-free behavior of a 38-year old successful businessman. Even if the “road rage”

incident was as the defense attorneys depicted it, and even if some of the defense witnesses had

known of it, this cannot reasonably be called a history of “violent behavior.”

       Subsequent Findings of Fact Nos. 134 through 138 relate to the “memorandum of

understanding” that Mr. Ray drew up. There is no other logical explanation for this memorandum

than that it was intended to undercut any future claims of ineffective assistance of counsel that Mr.

Barbee might bring against the trial attorneys. Yet the Subsequent Findings of Fact state in

conclusory manner that it “was not a conflict of interest” and Mr. Ray’s use of the memorandum to

“defend himself” was not a conflict of interest. (Subsequent Findings of Fact Nos. 137 and 138.)

The fact that the trial attorneys felt they needed to prepare this memorandum is in itself proof of a

conflict of interest. These Subsequent Findings of Fact are all unreasonable determinations of the

facts under 2254(d)(2).

       Subsequent Finding of Fact No. 139 is essentially a selective summary (some of it

misleading) of some of the guilt phase trial testimony that purports to “undercut[] any additional



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potential evidence or theory which Mr. Ray and Mr. Moore could have presented to the jury.” This

too is illogical. Mitigating evidence is not “undercut” even if the prosecution’s guilt phase case is

very strong. This has been discussed supra. The finding flies in the face of Williams, Wiggins and

Rompilla, supra, where despite much more aggravating evidence than Mr. Barbee’s arrest-free past

and less omitted mitigating evidence, ineffective assistance of counsel was found.         See, e.g,

Williams 120 S. Ct. at 1500; Rompilla, 125 S. Ct. at 2460 and 2462; and Wiggins (trial counsel’s

punishment-phase strategy not owed the deference usually accorded trial strategy, because it was

not the product of a professionally reasonable investigation into other potential mitigation themes).

The Supreme Court in these cases has repeatedly rejected the notion that even an extremely

aggravating guilt phase presentation absolves the trial attorneys of their obligation to present

mitigating evidence at the punishment phase.

          The same flaw is seen in Subsequent Finding of Fact No. 140, which holds that “[t]he

following guilt/innocence phase evidence undercuts any additional potential evidence or theory

which Mr. Ray and Mr. Moore could have presented to the jury.”

          Subsequent Findings of Fact Nos. 141 through 153 are all conclusory statements, most of

which are not supported by the facts as developed at the hearing and in Petitioner’s writ, as shown

herein.

          Subsequent Finding of Fact No. 140 presents an egregiously slanted and unreasonable view

of the very sparse aggravating evidence in the case. Subsequent Finding of Fact No. 140(a) is

particularly inaccurate. Stephen allegedly assaulted his wife Theresa twice in the course of the

marriage. (25 RR 34.) Regarding alleged fights when Mr. Barbee was married to Theresa, the

actual testimony was that the first fight occurred when they were living in an apartment in Fort



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Worth, and the next one was when they lived in a metal building they had bought for the company

(25 RR 34-36) and Theresa did not have any injuries from either one. (Id.) The next “fight”

involved Mr. Barbee knocking something off the wall and it accidentally hit Theresa. (25 RR 40.)

She had a concussion (25 RR 43) and Stephen later showed up at the hospital. (25 RR 44.)109 The

next fight was in 2002 when Theresa admitted she egged him on and Stephen hit her in the arm. (25

RR 45.) She suffered a bruise. (25 RR 45.) Another incident was recalled from 2003 when Theresa

was the aggressor and she hit Stephen at a party, at which point he left her for good. (25 RR 47-48.)

He did not move back to the house. (25 RR 48, 68.)110 All told, they had 3 or 4 fights. (25 RR 67-

68.) This evidence hardly “under cuts any additional potential evidence or theory which Mr. Ray

or Mr. Moore could have presented to the jury.” Subsequent Finding of Fact No. 140a. Subsequent

Finding of Fact No. 140c actually highlights the paucity of aggravating evidence, as the State had

to rely on an incident when a witness “rejected a personal relationship with the applicant [and] he

had an outburst and began cursing her.”

       The factual analysis supra in Section C, “Argument in Support” is also incorporated herein,

as also shows why the state court holding was an unreasonable determination of the facts under

2254(d)(2).

       2. The 2254(d)(1) analysis.

       To examine why the state court holding is contrary to 2254(d)(1), and resulted in a decision



       109
            The witness also testified about Stephen once joking about throwing her through the
wood chipper and on July 4, 2003, when he said it, she thought he was serious. (25 RR 64-65.)
But at the grand jury hearing, Theresa had earlier testified that she did not think Stephen was
serious when he said this at the July 4th party. (25 RR 65-67.)
       110
           The house in question was 4000 square feet with a movie room and a pool. (25 RR
63.) Stephen’s mother helped them pay for it. (25 RR 63.)

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that was contrary to, or an unreasonable application of clearly established Federal law,” we must

similarly look to the “Conclusions of Law,” adopted verbatim by the trial court and later by the

CCA., contained in the prosecutors’ “Proposed Memorandum, Findings of Fact and Conclusions

of Law.” (Exhibit 54.) As Conclusion of Law No. 2 points out, “[a] defendant who shows that a

conflict of interest actually affected the adequacy of his representation need not demonstrate

prejudice in order to obtain relief,” citing Cuyler, 446 U.S. at 349-350. Petitioner has shown at

length that there was an actual conflict here and that his interests were prejudiced by various acts

and omissions of the trial attorneys.

       The evidentiary hearing in this matter brought out clearly the many ways in which the trial

attorney’s interests were put ahead of their client’s interests. Even if we use the Strickland

ineffective assistance of counsel yardstick, the performance of Mr. Moore and Mr. Ray falls short.

       Petitioner incorporates herein the above discussion in Section C of this claim, “Argument

in Support” is also incorporated herein, as also shows why the state court holding was an

unreasonable application of clearly established federal law under 2254(d)(1).




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CLAIM THREE: MR. BARBEE RECEIVED INEFFECTIVE ASSISTANCE OF COUNSEL
AT THE PRE-TRIAL STAGE OF HIS TRIAL.111

        Petitioner’s conviction, judgment, sentence and confinement are illegal and were obtained

in violation of his Fifth, Sixth, Eighth and Fourteenth Amendment rights to a fair and impartial jury,

the presumption of innocence, a fair trial, freedom from self-incrimination, effective assistance of

counsel, due process of law, and reliable guilt and penalty determinations, because trial counsel

failed adequately to prepare for trial.

A. Standard of review and legal analysis for ineffective assistance of counsel claims in
general.112
                                   ************

                We hope, of course, that the defendant whose life is at risk will be
                represented by competent counsel -- someone who is inspired by the
                awareness that a less-than-vigorous defense truly could have fatal
                consequences for the defendant. We hope that the attorney will
                investigate all aspects of the case, follow all evidentiary and
                procedural rules, and appear before a judge who is still committed to
                the protection of defendants’ rights.

                                          *************

Callins v. Collins, 114 S. Ct. 1127 (1994) (J. Blackmun, dissenting). Unfortunately, for the indigent

accused of a capital crime, it is the rare case indeed where competent counsel is appointed. See

Stephen Bright, Counsel for the Poor: The Death Sentence Not for the Worst Crime, But for the

Worst Lawyer, 103 YALE L.J. 1832 (1995). Mr. Barbee is a perfect example of a man who was

denied a fair trial because he had the misfortune to be represented by counsel who put on a “less



        111
            This claim is exhausted as it was brought as Mr. Barbee’s first claim for relief in his
state habeas application.
        112
            This analysis applies to all three ineffective assistance of counsel claims: Claim
Three (pre-trial ineffectiveness; Claim Four (guilt/innocence phase ineffectiveness and Claim
Five (punishment phase ineffectiveness) and is incorporated herein as to those claims.

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than vigorous” defense, did not effectively investigate and present a compelling case for actual

innocence of the murders of Lisa and Jayden Underwood, did not diligently investigate readily

available mitigating evidence, were not aware of significant facts concerning the background of their

client, and did not present an accurate picture of him to the jury.

       1.      The legal standard under Strickland v. Washington

       The Sixth Amendment to the United States Constitution guarantees criminal defendants the

fundamental right to effective assistance of counsel. McMann v. Richardson, 397 U.S. 759, 771,

n.14 (1970) (“[i]t has long been recognized that the right to counsel is the right to the effective

assistance of counsel.”)113 As the Court in McMann explained, the existence of a right to effective

assistance of counsel follows logically and necessarily from the existence of the Sixth Amendment

basic right to the assistance of counsel: “[I]f the right to counsel guaranteed by the Constitution is

to serve its purpose, defendants cannot be left to the mercies of incompetent counsel.” McMann, at

771. Our adversary system of criminal justice, and the concept of counsel contemplated by the Sixth

Amendment assumes, at a minimum, that counsel will act as an advocate for the accused. Anders

v. California, 386 U.S. 738, 87 S. Ct. 1396 (1967); United States v. Cronic, 466 U.S. 648, 104 S.

Ct. 2039 (1984). The Sixth Amendment also demands that counsel be able to provide the “guiding

hand” necessary to adequately prepare and present a defense, and not simply the physical presence

of one who is licensed to practice law. Powell v. Alabama, 287 U.S. 45, 68-69 (1932).

       In the 1984 decision of United States v. Cronic, 466 U.S. 648 (1984), the Supreme Court

reiterated the logical connection between the existence of a constitutional right to effective


       113
           See also Avery v. Alabama, 308 U.S. 444, 446 (1940); Glasser v. United States, 315
U.S. 60, 69-70 (1942); Reece v. Georgia, 350 U.S. 85, 90 (1955); Herring v. Estelle, 491 F.2d
125, 127 (5th Cir. 1974) (a criminal defendant has the right to be represented by counsel
“reasonably likely to render and rendering reasonably effective assistance.”)

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assistance of counsel and the text of the Sixth Amendment, reasoning that

       [t]he special value of the right to the assistance of counsel explains why “[i]t has long been
       recognized that the right to counsel is the right to affective assistance of counsel.”....The text
       of the Sixth Amendment itself suggests as much. The Amendment requires not merely the
       provision of counsel for the accused, but “Assistance”, which is to be “for his defense.”
       Thus, “the core purpose of the counsel guarantee was to assure ‘Assistance’ at trial, when
       the accused was confronted with both the intricacies of the law and the advocacy of the
       public prosecutor.”...If no actual “Assistance” “for” the accused’s “defense” is provided,
       then the constitutional guarantee has been violated.114

       Cronic, at 654 (footnote and citations omitted).

       The constitutional standard for judging the effectiveness of counsel under the Sixth

Amendment is a two-prong test, requiring that the petitioner show that: (i) counsel's performance

was so "deficient" that counsel did not provide "reasonably effective assistance," and (ii) that

counsel's errors "prejudiced" the defense by depriving the defendant of a fair trial whose result is

reliable. Strickland v. Washington, 466 U.S. 668 (1984). An attorney is ineffective if his or her

performance "fell below an objective standard of reasonableness." (Id. at 688.) "Prejudice" is

established if, but for counsel's errors, there is a "reasonable probability" that the result of the

proceeding would have been different. "A reasonable probability is a probability sufficient to

undermine confidence in the outcome." Strickland, 466 U.S. at 694 (emphasis added). The

Strickland test is the proper standard to gauge the effectiveness of counsel at the guilt/innocence

phase of a non-capital trial and at the guilt/innocence and punishment phases of a capital trial.

Livingston v. Johnson, 107 F.3d 297, 304-05 (5th Cir. 1997).

       2. Standard for deficient performance.

       Counsel owes the accused a duty of competent representation. This is particularly true in a

capital case, because "there is a significant difference between the death penalty and lesser


       114
             See also Strickland v. Washington, 466 U.S. 668, 686 (1984).

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punishments." Beck v. Alabama, 447 U.S. 625, 637 (1980). Although the effectiveness of counsel

must be determined on a case-by-case basis, Strickland v. Washington, supra at 688-89 (1984),

Courts are entitled to look to objective standards and to the appropriate case law to determine what

constitutes "reasonably competent counsel" in a particular death penalty case.

       a. Case law.

       When “counsel’s performance as a whole,” United States v.Cronic, 466 U.S. 648, 657 n.20,

104 S. Ct. 2039, 2046 (1984), or through individual errors, Strickland, supra, 104 S. Ct. at 2064,115

falls below an objective standard of reasonableness, deficient performance is established. The writ

will issue if the failings amount to counsel being functionally absent116 or if prejudice is shown such

that there is a reasonable probability that, but for counsel’s unprofessional errors, the result of the

proceeding would have been different. Strickland, supra. See Williams v. Washington, 59 F.3d 673

(7th Cir. 1995) (counsel ineffective in investigating and presenting defense); Antwine v. Delo, 54

F.3d 1357 (8th Cir. 1995) (counsel ineffective for failing to investigate and present available

evidence of bipolar disorder); Baxter v. Thomas, 45 F.3d 1501 (11th Cir. 1995) (trial counsel

ineffective during penalty phase of capital trial for failing to adequately investigate and present

mitigation evidence); Bryant v. Scott, 28 F.3d 1411 (5th Cir. 1994) (counsel ineffective for failure

to interview alibi witnesses); Hill v. Lockhart, 28 F.3d 832 (8th Cir. 1994) (trial counsel ineffective

at penalty phase for failing to prepare and present evidence of defendant’s mental state at the time

of the offenses); Loyd v. Whitley, 977 F.2d 149 (5th Cir. 1992) (counsel ineffective in sentencing


       115
           See also Curry v. Zant, 371 S.E.2d 647, 649 (Ga. 1988) (notwithstanding an otherwise
reasonable performance by counsel, the single error of failing to obtain “an independent
psychiatric evaluation of [the defendant] deprived his client of the protection of counsel.”)
       116
          See Holloway v. Arkansas, 435 U.S. 475, 98 S. Ct. 1173, 1181 (1978) (“The mere
physical presence of an attorney does not fulfill the Sixth Amendment guarantee”).

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phase for failing to obtain an independent mental health evaluation when funds were available);

Griffin v. Warden, 970 F.2d 1355 (4th Cir. 1992) (trial counsel ineffective for failure to contact alibi

witnesses); Harris v. Reed, 894 F.2d 871 (7th Cir. 1990) (counsel ineffective for failure to interview

eyewitnesses); Blake v. Kemp, 758 F.2d 523, 531 (11th Cir. 1985) (“[T]he courts have ‘long

recognized a particularly critical relationship between expert psychiatric assistance and minimally

effective assistance of counsel.’”) (citations omitted).

        b. Objective standards.

        This Court is entitled to refer to guidelines such as the ABA Standards for Criminal Justice

to determine what level of performance is required by reasonably competent counsel in a capital

sentencing trial. As the Supreme Court stated in Strickland:

        In any case presenting an ineffectiveness claim, the performance inquiry must be
        whether counsel's assistance was reasonable considering all the circumstances.
        Prevailing norms of practice as reflected in American Bar Association standards and
        the like, e. g., ABA Standards for Criminal Justice 4-1.1 to 4-8.6 (2d ed. 1980) ("The
        Defense Function"), are guides to determining what is reasonable....

466 U.S. at 687.
       The need to investigate is an essential part of the duty of competent representation and is set

forth in the ABA's Standards:

        It is the duty of the lawyer to conduct a prompt investigation of the circumstances
        of the case and to explore all avenues leading to facts relevant to the merits of the
        case and the penalty in the event of conviction. The investigation should always
        include efforts to secure information in the possession of the prosecution and law
        enforcement authorities. The duty to investigate exists regardless of the accused's
        admissions or statements to the lawyer of facts constituting guilt or the accused's
        stated desire to plead guilty.

American Bar Association, Standards for Criminal Justice: The Defense Function, Standard 4-4.1,

Duty to Investigate, at 4-53 (2d ed. 1980)(emphasis added).




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       Counsel's duty to investigate in preparation for sentencing is even more critical:
       The lawyer has a substantial and important role to perform in raising mitigating
       factors both to the prosecutor initially and to the Court at sentencing. This cannot
       effectively be done on the basis of broad emotional appeals or on the strength of
       statements made to the lawyer by the defendant. Information concerning the
       defendant's background, education, employment record, mental and emotional
       stability, family relationships and the like will be relevant, as will mitigating
       circumstances surrounding the commission of the offense. Investigation is essential
       to the fulfillment of these functions.

American Bar Association, Standards for Criminal Justice: The Defense Function, Standard 4-4.1,

Commentary, at 4-55 (2d ed. 1980)(emphasis added).

Claim Three(a): Ineffective assistance of counsel for failure to properly challenge the veracity
of the video recording of Mr. Barbee’s interrogation and confession and to investigate whether
it was coerced.

       A. Facts in Support.

       Defense counsel were provided with recordings (in VHS format) of the interrogations of both

Mr. Barbee and Mr. Dodd. Both the trial testimony and a comparison of the two recordings makes

it clear that the recording of Mr. Barbee’s interrogation was altered and edited.

       First, the recording of Mr. Dodd’s interview is a continuous one, as even when Detective

McCaskill has left the room the recording continues and no obvious breaks in it are apparent. On

the other hand Mr. Barbee’s recording inexplicably stops as soon as Detectives Jamison and Carroll

begin to accuse him of the murders of Lisa and Jayden Underwood. It only resumes when he gives

his statement confessing to the murders.

       Second, at the suppression hearing, Detective Carroll gave detailed testimony about Mr.

Barbee’s actions during the interrogation, both with Detective Jamison after he left the room and

when Mr. Barbee was left alone in the interrogation room prior to the alleged trip to the bathroom,

none of which appears on the video provided to counsel.



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       The testimony of Det. Carroll was that after initial questioning of about 25-27 minutes, there

was a break in the recording in order to document some injuries on Mr. Barbee’s body. (15 RR 16.)

This was about an eight-minute break. (15 RR 17.) Det. Carroll testified that the tape was re-started

and Mr. Barbee was confronted with the issue of running from the police. (15 RR 19-20.) Det.

Jameson left the interview room and Mr. Barbee was left alone in the room for 30 to 35 minutes.

(15 RR 22.) Then Mr. Barbee needed to go to the restroom, and Det. Carroll allegedly accompanied

him. (15 RR 25-26.) Supposedly this took about 45 minutes to an hour and no one else entered or

left the restroom. (15 RR 32.) Then they returned to the interview room to put it on tape. (15 RR

33.) None of this appears on the video which was provided to counsel.

       Notwithstanding the foregoing, and notwithstanding the fact that Dr. Richard Leo, a

nationally known expert on false confessions, noted the suspicious nature of the gap in the recording

provided to defense counsel, counsel failed to cross-examine any of the officers involved in the

interrogation on the missing data from the tape or to later address this issue in the suppression

hearing. (See Exhibit 36, Letter of Dr. Richard A. Leo to attorney Bill Ray.) Dr. Leo states:

               As I mentioned over the phone, there are two major issues that lawyers must confront
       if they are putting forward a false confessions defense: first, why the client would have
       falsely confessed; and second, how we know the confession is false. The second issue is
       related to but logically independent of the first.
               In this case, the police suspiciously turned the tape recorder off after they appeared
       to begin an accusatorial interrogation of Mr. Barbee. As I understand it from you, they had
       no good explanation for why they turned the tape recorder off and failed to memorialize the
       entire interrogation, especially since the tape was running at the beginning of the
       interrogation.
               In his written account, Mr. Barbee describes an interrogation that is highly
       coercive—involving death penalty threats in the absence of confessions and promises of
       leniency in exchange for confession. Mr. Barbee describes the kind of interrogation that
       researchers regard as psychologically coercive and that involve the kind of psychological
       interrogation techniques that typically lead to false confessions when false confessions
       occur. However, these very same interrogation techniques can also coerce true confessions.
       (Exhibit 36.)


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       Further, Mr. Barbee consistently maintained to counsel that during the interrogation he was

coerced into stating that he committed the murders by threats of the death penalty, that portions of

his interrogation, including Det. Carroll banging on the table and threatening him, were missing

from the recording provided to counsel, and that he spent only a brief time in the bathroom with Det.

Carroll. (Exhibit 20.) Notwithstanding these facts, counsel did not give Mr. Barbee the option of

testifying during the suppression hearing, thus leaving the State’s case unchallenged.

       There is little doubt that the most damaging evidence in this case was Mr. Barbee’s alleged

statement to Det. Carroll. To say that the circumstances of the alleged “bathroom” confession are

unusual are an understatement. This alleged confession was not memorialized in Det. Carroll’s

notes and it occurred conveniently out of recording range. It simply defies coincidence that the tape

recorder was turned off just as the detectives began to accuse Mr. Barbee of the murders, and that

none of his responses after this point nor any of the police interrogation appear on the recording,

until later when Det. Carroll leads him through his statement after the alleged “confession” in the

bathroom.

       B. What the state court held.

       This claim is exhausted and Respondent has conceded that it was brought in the initial state

habeas proceedings. (See Docket No. 40, RA at 17.) The CCA held, in Mr. Barbee’s first habeas

application, that “[w]e adopt the trial judge’s findings and conclusions. Based upon the trial court’s

findings and conclusions and our own review, the relief sought is denied.” (Exhibit 9, Ex parte

Stephen Dale Barbee, No. 71,070-01.)




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       C. The State court erred in denying this claim as the findings were an unreasonable
       determination of the facts under 2254(d)(2).

       This claim was brought in the initial round of state habeas. (Exhibit 11, at 17-20, Claim 1.)

The State court’s findings as to this claim, written verbatim by the prosecutor and rubber-stamped

by the Texas Court of Criminal Appeals, were multiply flawed and erroneous. The State claimed

that, based on trial counsels’ self-serving affidavit (Exhibit 37), that “Mr. Ray and Mr. Moore do

not believe that the video-recordings support the applicant’s contention that they have been altered

or edited....From their review of the video-recording, Mr. Ray and Mr. Moore had no reason to

believe that the Petitioner’s video-recording was altered—only that it stopped and started—and

knew of no fact supporting an ‘alteration’ claim.” (Exhibit 12, State’s Reply at 19; Exhibit 14 at 5,

factual finding number 22.) That is not surprising, as the “alteration claim” is that it was edited by

stopping and starting it. The State court findings and conclusions are based on this false assumption.

In fact, the attorney’s affidavit admits what Petitioner is claiming here—that the tape has

unexplained gaps and that it stops and starts.

       The State court findings are similarly flawed when they attempt to debunk this claim using

the letter of Dr. Richard Leo.117 (Exhibit 12. at 19-21; Exhibit 14 at 5-6, factual findings numbers

24-26) The state court points to Mr. Barbee’s leading the police to the bodies, not denying the

crime to his wife, and Dodd’s lack of motive. (Exhibit 14, finding of fact number 26.) However,

as discussed supra in Claim One, Dr. Leo’s opinion was based on a number of mis-perceptions and

incomplete information that should have been cleared up by defense counsel. (See Exhibit 36.) Dr.

Leo thought that Mr. Dodd did not have a motive to commit the murders, whereas he had a huge

financial motive as discussed above. (Id.) In fact, there was no motive for Mr. Dodd to merely


       117
             Dr. Leo’s letter is Exhibit 36.

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“assist” Mr. Barbee in the concealment of the bodies, as the State’s case had it. Secondly, Dr. Leo

was troubled by his assumption that he told his wife that he had committed the murders, when in fact

he never said this, but merely told her of his involvement in the disposal of the bodies. Id. Dr. Leo

did not know that Mr. Barbee has a long history of consistently denying that he committed the

murders, to his wife and everyone else involved in this case, while admitting that he disposed of the

bodies. Id. Third, Dr. Leo was disturbed by the fact that Mr. Barbee led the police to the bodies,

apparently not knowing or not being told by the defense attorneys that he had admitted his

involvement in burying the bodies, knew where they were buried, and that the police already knew

the approximate location of the bodies from Ron Dodd’s confession. Id. Far from excusing trial

counsel’s performance, their sloppy handling and preparation of this potential witness is merely

more proof of their ineffective assistance. Had Dr. Leo been properly informed, he would have

known that none of the factors he expressed concerns about had any bearing on the truth of Mr.

Barbee’s confession. By their failure to properly inform this potentially crucial witness, the trial

attorneys threw away their best opportunity to cast doubt on Mr. Berbee’s “confession,” the most

damaging evidence against him.

       The summary of the state court’s finding is contradicted by its own language and the

language of the trial attorneys used to support it: “Mr. Ray and Mr. Moore found no evidence that

the applicant’s video-taped statement was altered or edited.” (Exhibit 12 at 21; Exhibit 14 at 5,

finding of fact No. 23) But the attorneys themselves state that it stops and starts, which means that

it was edited. (Exhibit 37.) Thus, the state court findings as to this claim are an unreasonable

determination of the facts under 2254(d)(2) as well as being incoherent.118

       118
          As discussed in the prior claim, the evidence adduced at the evidentiary hearing also
showed that Mr. Ray did not supply Dr. Leo with adequate information, which led to his
conclusion that the confession was probably valid. Yet the conclusions in the subsequent writ

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       Similarly, the state court findings err in discussing the non-recorded oral statements of

Petitioner. Basically, the State court held that counsel were effective because they filed motions

to suppress the statements and preserved their motion for appeal. (Exhibit 12 at 21-23; Exhibit 14

at 6, factual findings numbers 30, 35, 38.)    However, this does not address the failure of the

attorneys to effectively challenge these statements at the suppression hearing.

       The state habeas court judge (who was not the state trial judge) held that “there exits no

controverted previously unresolved factual issues material to the legality of the applicant’s

confinement.” (Exhibit 15, Memorandum and Order of September 30, 2008, signed by Judge

Sturns.) This was clearly erroneous, as the state’s own findings and conclusions admitted the

existence of many controverted factual issues in their use of the affidavits of trial counsel (which

the state habeas judge ordered) and the prosecutor in order to attempt to controvert the claims. The

same judge later stated that he “carefully reviewed the State’s proposed memorandum, findings of

fact, and conclusions of law, the Court hereby orders adjudges and decrees that they be adopted as

its own.” (Exhibit 15, Order of Nov. 7, 2008). The CCA later held that “[w]e adopt the trial

judge’s findings and conclusions. Based upon the trial court’s findings and conclusions and our own

review, the relief sought is denied.” (Exhibit 9, Ex parte Stephen Dale Barbee, No. 71,070-01.)

This was erroneous on its face, as the “trial judge,” Judge Gill, made no findings and conclusions

in the initial state habeas proceedings and the CCA’s “review” apparently overlooked this fact.

       Some of the Subsequent Findings of Fact are also relevant to this claim because they made

holdings regarding Dr. Leo’s opinion of the veracity of the videotaped confession. As discussed




mirrored those of Mr. Barbee’s first application. That discussion is incorporated herein by
reference.

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supra, Subsequent Finding of Fact No. 57 holds that Dr. Leo “concluded that the applicant’s

confession was more likely to be true than false.” Subsequent Finding of Fact No. 58 gives three

reasons why Dr. Leo reached this conclusion: 1) that Mr. Barbee led the police to the bodies; and

two reasons that are basically similar: 2) that Mr. Barbee did not deny committing the crime to his

wife; and 3) that he told his wife he committed the murders. These findings ignore the bases of the

claim, which is that 1) Mr. Ray did not inform Dr. Leo that Mr. Barbee’s admission that he had

helped move the bodies did not indicate that he was necessarily guilty of the murders(3 EH 83); 2)

that Mr. Ray also admitted giving Dr. Leo false information about the cell phone records which Mr.

Ray claimed indicated that Mr. Barbee was lying (3 EH 84-85) and this false information was relied

upon by Dr. Leo (3 EH 84); 3) that Dr. Leo also based his opinion on his belief that Ron Dodd had

no motive to commit the murders (3 EH 90) because he was not given information that would have

provided that motive; 4) and as for telling his wife he committed the murders, Mr. Barbee has

explained that was the result of the death penalty threats and he had repudiated that confession

around the time he left the police station. Thus, these subsequent findings of fact relating to Dr. Leo

are also an unreasonable determination of the facts under 2254(d)(2) because they ignore these

central facts. The conclusory Subsequent Finding of Fact No. 61, that Dr. Leo was not called

“because his testimony would be favorable to the State,” is flawed because the reason his testimony

would have been favorable to the State was directly due to Mr. Ray’s errors and omissions in failing

to properly inform Dr. Leo of the facts of the case.

       Habeas corpus relief may be granted, under the AEDPA, 28 U.S.C. § 2254 (1994 & Supp.

2000), if the decision of the Texas Court of Criminal Appeals (“CCA”) affirming the conviction

and death sentence “resulted in a decision that was based on an unreasonable determination of the



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facts in light of the evidence presented in the State court proceedings.” Coble v. Quarterman, 496

F.3d 430, 435 (5th Cir. 2007) (quoting 28 U.S.C.A. § 2254(d)(2)). For the reasons discussed supra,

the state court decision here was an unreasonable determination of the facts under 2254(d)(2).

        Nor are any of the state court findings and conclusions entitled to any presumption of

correctness under 2254(e)(1). Sumner v. Mata, 499 U.S. 539 (1981),“presumption of correctness is

defeated by a showing that “the fact-finding procedure employed by the state was not adequate to

afford a full and fair hearing.’” citing Cabana v. Bullock, 474 U.S. 376, 399 (1986); Nethery v.

Collins, 993 F.2d 1154 (5th Cir. 1993)( no presumption of correctness where state habeas court

never conducted an evidentiary hearing and adopted in whole the state’s proposed findings of fact

two days after the petition was filed); Armstead v. Scott, 37 F.3d 202 (5th Cir. 1994)( “a

presumption of correctness will not apply to a state court finding of fact if the fact-finding procedure

employed by the state court was not adequate to afford a full and fair hearing.” Id., at 207; Amos v.

Scott, 61 F.3d 333 (5th Cir. 1995)(“[f]actual findings based solely on a paper hearing are not

automatically entitled to a Sec. 2254(d) presumption of correctness” at 347.) Although a hearing

was granted in the subsequent application, it was limited to Claim Two, and denied on this claim.



        D. Exhaustion and Procedural Default.

        This claim is exhausted and not procedurally defaulted as it was raised in the initial round

of state habeas proceedings.


Claim Three(b): Ineffective assistance of counsel for failure to complete DNA testing prior to
trial.

        A. Facts in Support.

        As discussed supra, Connie Patton, a DNA tester for the Tarrant County Medical Examiner’s

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Office, testified that she took some swabs from the deadbolt knob, the east living room wall, and

they matched the DNA profile of Lisa Underwood. (24 RR 42.) A swab from the garage floor and

the entertainment center also matched her DNA profile. (24 RR 44.) Various swabs from the Dodge

Durango were also offered in evidence. (24 RR 46.) However, no conclusions could be made about

them. (24 RR 47-48.) A blood stain was found on the couch cover, but both Mr. Barbee and Mr.

Dodd were excluded as being possible contributors. (24 RR 50.) After the testimony of this

witness, a stipulation was received that evidence samples were also received from the fingernails

of Jayden and Lisa and nothing linking Mr. Barbee or Mr. Dodd to them was found. (24 RR 63-64.)

It does not appear that all the DNA samples that were taken were tested.

       Petitioner was denied expert funding for any forensic work or testimony and is unable to

prove that the incomplete testing would have resulted in exculpatory evidence. He is making this

claim in order to preserve it for exhaustion in state court and/or as the basis for a future motion for

DNA testing.

       B. What the state court held.

       This claim was first brought in Mr. Barbee’s subsequent writ application as Claim 3(b). It

was denied on the basis that it did not meet the standards for a subsequent writ claim under art.

11.071 sec. 5(a). (Exhibit 52.)

       C. Petitioner has “cause” for the failure to raise the claim in his initial state habeas
       petition.

       Any procedural default of this claim is excused under the Martinez/Trevino exception

discussed supra, which provides “cause” for failure to adequately raise it in that application. The

prejudice component is discussed in the factual summary of this claim.




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CLAIM FOUR: TRIAL COUNSEL RENDERED INEFFECTIVE ASSISTANCE OF
COUNSEL AT THE GUILT/INNOCENCE PORTION OF THE TRIAL BY COMPLETELY
ABANDONING THEIR CLIENT.

       Petitioner’s conviction, judgment, sentence and confinement are illegal and were obtained

in violation of his Fifth, Sixth, Eighth and Fourteenth Amendment rights to a fair and impartial jury,

the presumption of innocence, a fair trial, freedom from self-incrimination, effective assistance of

counsel, due process of law, and reliable guilt and penalty determinations, because trial counsel

rendered ineffective assistance of counsel at the guilt/innocence phase of the trial.


       Law governing Cronic claims.

       Petitioner herein incorporates by reference the legal analysis of ineffective assistance of

counsel claims, presented supra in Claim Three.

       Our adversary system of criminal justice, and the concept of counsel contemplated by the

Sixth Amendment assumes, at a minimum, that counsel will act as an advocate for the accused.

Anders v. California, 386 U.S. 738, 87 S. Ct. 1396 (1967); United States v. Cronic, 466 U.S. 648,

104 S. Ct. 2039 (1984). The Sixth Amendment also demands that counsel be able to provide the

“guiding hand” necessary to adequately prepare and present a defense, and not simply the physical

presence of one who is licensed to practice law. Powell v. Alabama, 287 U.S. 45, 68-69 (1932).

       In the 1984 decision of United States v. Cronic, 466 U.S. 648 (1984), the Supreme Court

reiterated the logical connection between the existence of a constitutional right to effective

assistance of counsel and the text of the Sixth Amendment, reasoning that



       [t]he special value of the right to the assistance of counsel explains why “[i]t has long been
       recognized that the right to counsel is the right to affective assistance of counsel.”....The text
       of the Sixth Amendment itself suggests as much. The Amendment requires not merely the
       provision of counsel for the accused, but “Assistance”, which is to be “for his defense.”

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       Thus, “the core purpose of the counsel guarantee was to assure ‘Assistance’ at trial, when
       the accused was confronted with both the intricacies of the law and the advocacy of the
       public prosecutor.”...If no actual “Assistance” “for” the accused’s “defense” is provided,
       then the constitutional guarantee has been violated.119

       Cronic, at 654 (footnote and citations omitted).

       When “counsel’s performance as a whole,”, United States v.Cronic, 466 U.S. 648, 657 n.20,

104 S. Ct. 2039, 2046 (1984), or through individual errors, Strickland, supra,120 falls below an

objective standard of reasonableness, deficient performance is established. The writ will issue if the

failings amount to counsel being functionally absent121 or if prejudice is shown such that there is

a reasonable probability that, but for counsel’s unprofessional errors, the result of the proceeding

would have been different. Strickland, supra. See Williams v. Washington, 59 F.3d 673 (7th Cir.

1995) (counsel ineffective in investigating and presenting defense); Antwine v. Delo, 54 F.3d 1357

(8th Cir. 1995) (counsel ineffective for failing to investigate and present available evidence of

bipolar disorder); Baxter v. Thomas, 45 F.3d 1501 (11th Cir. 1995) (trial counsel ineffective during

penalty phase of capital trial for failing to adequately investigate and present mitigation evidence);

Bryant v. Scott, 28 F.3d 1411 (5th Cir. 1994) (counsel ineffective for failure to interview alibi

witnesses); Hill v. Lockhart, 28 F.3d 832 (8th Cir. 1994) (trial counsel ineffective at penalty phase

for failing to prepare and present evidence of defendant’s mental state at the time of the offenses);

Loyd v. Whitley, 977 F.2d 149 (5th Cir. 1992) (counsel ineffective in sentencing phase for failing



       119
             See also Strickland v. Washington, 466 U.S. 668, 686 (1984).
       120
           See also Curry v. Zant, 371 S.E.2d 647, 649 (Ga. 1988) (notwithstanding an otherwise
reasonable performance by counsel, the single error of failing to obtain “an independent
psychiatric evaluation of [the defendant] deprived his client of the protection of counsel.”)
       121
          See Holloway v. Arkansas, 435 U.S. 475, 98 S. Ct. 1173, 1181 (1978) (“The mere
physical presence of an attorney does not fulfill the Sixth Amendment guarantee”).

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to obtain an independent mental health evaluation when funds were available); Griffin v. Warden,

970 F.2d 1355 (4th Cir. 1992) (trial counsel ineffective for failure to contact alibi witnesses); Harris

v. Reed, 894 F.2d 871 (7th Cir. 1990) (counsel ineffective for failure to interview eyewitnesses);

Blake v. Kemp, 758 F.2d 523, 531 (11th Cir. 1985) (“[T]he courts have ‘long recognized a

particularly critical relationship between expert psychiatric assistance and minimally effective

assistance of counsel.’”) (citations omitted).


Claim Four(a): Trial counsel completely abandoned their client by failing to effectively present
petitioner’s case for actual innocence through expert testimony.

        A. Facts in Support.

        As discussed supra in Claim One, petitioner has a strong claim of actual innocence.

Petitioner incorporates by reference the facts and argument from Claim One herein.

        Immediately after his transfer to the county jail after his alleged “confession” to Detective

Carroll, Mr. Barbee recanted his confession and continued to maintain his innocence to his attorneys

and others involved in the case, further maintaining that it was Ron Dodd, who was living with his

ex-wife and who only weeks before had dropped a 500-pound pipe on Mr. Barbee’s head, who had

actually committed the murders. (See, e.g., 25 RR at 98; Exhibit 16, Affidavit of Amanda Maxwell.)

        Despite Mr. Barbee’s constant assertion of his innocence, at trial his attorneys made no

opening statement, put on no testimony, and during final argument confessed to the jury that the

evidence was conclusive that Mr. Barbee intentionally killed Lisa and Jayden Underwood, and Mr.

Ray attempted to argue that Ms. Underwood’s death was accidental. (25 RR 14-16.)

        There were two main failures here:




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       i) Ineffective assistance for failure to present expert medical testimony at the
       guilt/innocence phase.

       Defense counsel were ineffective for failing to present expert medical opinion testimony to

rebut the coroner’s testimony regarding the cause of death. Petitioner’s request for expert assistance

from Dr. Glenn Larkin to investigate this claim was denied and Petitioner is unable to present

evidence that the testimony was flawed. Had the expert assistance been granted, Petitioner would

have attempted to show that the testimony of Dr. Krouse and Dr. White was flawed. Petitioner

presents this claim in order to preserve it.

       ii) Ineffective assistance for failure to present guilt/innocence phase neuropsychological
       evidence.

       At trial, Petitioner’s attorneys presented no expert medical testimony regarding the effect of

Mr. Barbee’s head injury just two months before trial or expert opinion regarding his frontal lobe

injuries and impairment. Attached to this petition as Exhibit 17 is the statement of Dr. Stephen K.

Martin, Ph.D, a licensed clinical neuropsychiatrist. Dr. Martin conducted extensive neuropsychiatric

testing on Mr. Barbee and discovered that his known history of head injuries caused damage to the

frontal lobes of Mr. Barbee’s brian and that “Mr. Barbee’s brain-related impairment appears to be

long-standing in nature, and would have been present at the time of the offense. (Exhibit 17 at 7.)

       These findings have implications for the guilt/innocence phase. Dr. Martin noted that


               When the behavioral effects of his frontal lobe impairment are considered, a broader
       and more accurate explanation for why Mr. Barbee could have engaged in a violent crime
       emerges. As previously described, the brain’s “frontal lobes’ tend to directly moderate how
       we react to emotionally charged situations. Individuals that have damage to the frontal lobes
       are at greater risk to engage in impulsive and potentially violent behavior without fully
       considering the consequences.
               Based upon this information, it is my opinion that Mr. Barbee’s violent actions at the
       time of the offense would have been mediated by emotional factors as opposed to reason due
       to the aforementioned damage to his frontal lobes. The negative effects of damaged frontal
       lobes would have likely increased his impulsivity tendencies and reduced his ability to fully

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        consider the consequences of his actions.
                It is my understanding that at the time of the trial, Mr. Barbee’s trial attorney was
        aware of his history of head trauma and was encouraged by his mitigation expert to pursue
        neuropsychological testing. Nevertheless, this testing was not performed. It is my opinion
        that his trial attorney should have requested a neuropsychological evalaution, particularly
        given his knowledge that Mr. Barbee had, in fact, suffered head trauma a few weeks prior
        to the offense. Further, an expert with the same or comparable experience and training such
        as I could have given testimony substantially the same as outlined in my affidavit above at
        the guilt/innocence phase of the trial to challenge the legal elements of his knowing and
        intentionality. It is my opinion that had this evidence been adequately investigated,
        developed and presented by trial counsel in the guilt/innocence phase, the verdict may have
        been different.
        (Exhibit 17 at 7-8.)


        B. The State court holdings as to this claim were erroneous and were an unreasonable
        determination of the facts and an unreasonable application of clearly established
        federal law.

        This claim was brought in the initial state habeas proceedings. (Exhibit 11, at 10-11, 21-23).

It was Claim 2. Hence it is exhausted. The state habeas court and the CCA’s holding, in rubber-

stamping the State’s findings, were based on the controverting conclusions of Dr. Price, which they

submitted as an appendix to their proposed findings and conclusions. (Exhibit 14 at 12.) Thus, the

state court’s holding that there were no controverted factual issues (Exhibit 15; adopted by the CCA,

Exhibit 9) is erroneous on its face. The state court also erred when it found that “Mr. Ray and Mr.

Moore’s decision not to use a ‘head injury’ explanation for the appellant’s murderous conduct was

a valid strategic choice based on reasonable investigation given the applicant’s lack of significant

symptoms and his unwillingness to accept responsibility.” (Exhibit 14 at 12.) An “unwillingness

to accept responsibility”, even if true, is no valid strategic reason for failing to present the mitigating

value of the evidence as explained by Dr. Martin.

        The state used the same rationale in the subsequent habeas proceedings, as the evidentiary




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hearing also touched on this issue. Subsequent Finding of Fact No. 108 held that “Mr. Ray and Mr.

Moore’s decision not to offer head injury evidence was not a decision adverse to the applicant’s

interests, but rather a reasonable tactical decision given the applicant’s lack of significant symptoms

and his unwillingness to accept responsibility for the murders...”

       However, the record shows that no neuropsychiatric testing was ever done, despite Ms.

Maxwell’s recommendation, so this failure cannot be seen as “strategic.” The attorneys did not

know what mitigating value the impairment had because they did not investigate it. This cannot be

seen as “strategic.” Therefore, the underlying conclusion of law, that this failure was “strategic”

and based on “reasonable investigation” and that the attorneys provided Petition with “reasonable

counsel” were also erroneous. (Exhibit 14 at 23, Conclusions of Law Nos. 35-38.)

       Habeas corpus relief may be granted, under the AEDPA, 28 U.S.C. § 2254 (1994 & Supp.

2000), if the decision of the Texas Court of Criminal Appeals (“CCA”) affirming his conviction and

death sentence “was either (1) contrary to, or resulted in an unreasonable application of clearly

established Federal Law, as determined by the Supreme Court of the United States, or (2) resulted

in a decision that was based on an unreasonable determination of the facts in light of the evidence

presented in the State court proceedings.” Coble v. Quarterman, 496 F.3d 430, 435 (5th Cir. 2007)

(quoting 28 U.S.C.A. § 2254(d)(1) and d(2)). Petitioner has shown herein that he is entitled to relief

under 2254(d)(2) as the state court holding was an unreasonable determination of the facts. It was

also erroneous under 2254(d)(1), as an unreasonable application of clearly established federal law.




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Claim Four(b): Abandonment of client and ineffective assistance of counsel for confessing
their client’s guilt without the client’s permission.

        A. Facts in Support.

        The trial attorneys, Bill Ray and Tim Moore, have repeatedly admitted that their client, from

the first stages of their representation, has always insisted on his innocence. They state this

repeatedly in this affidavit submitted for the state habeas proceedings. (E.g., “Applicant consistently

stated that Ron Dodd was the real killer, Exhibit 37, at 5; “Applicant was steadfast in his assertion

that he was innocent”, Id. at 5; “Applicant maintained that he was completely innocent” Id. at 6; “...a

frame up [Petitioner’s insistence that Ron Dodd was the actual killer] ...became a controversy that

existed from the very beginning of our representation throughout our representation of Applicant”,

Id. at 7-8; “Client has maintained his innocence to attorneys since the date of appointment”, Memo

of Understanding, appendix to Exhibit 37.) In fact, the attorneys use this “refusal to accept

responsibility” (Id. at 7, 8) to attempt to justify their failure to present any reasonably sufficient case

at the punishment phase. (Exhibit 37, passim.)

        Petitioner himself brought his concerns to the attention of the trial court. (Exhibit 3.) He

stated that “There is a complete breakdown in communication between both attorneys and myself.”

Id., letter of June 22, 2005. He asked for outside help in obtaining different attorneys. Id. Letter of

June 19, 2005. He asked his attorneys to call in additional help. Id. On September 23, 2005 he asked

the court to dismiss them. Id.

        After virtually no defense at the guilt/innocence phase, which as discussed herein establishes

deficient performance, Mr. Barbee’s attorneys confessed his guilt to the jury without his permission.

Mr. Ray told the jury that “[as hard as it is to say, the evidence from the courtroom shows that




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Stephen Barbee killed Jayden Underwood. There is no evidence to the contrary.” (25 RR 14.) He

also told them that “Lisa Underwood. Was he there? Yes. Did he hold her down? Yes.” (25 RR 18.)

       At the evidentiary hearing, Mr. Ray admitted he confessed his client’s guilt without his

permission:

       And I had typed up a memo and I showed it to him [Mr. Barbee] and he didn’t want
       to sign it. And the gist of the memo was that that [telling the jury Mr. Barbee did the
       murders but they are accidental] was the only way we could get through this get
       through this and him be found not guilty. And it was not a...it was not an agreement
       to get his permission. It was just my theory of the case. He didn’t sign the memo but
       he had it explained to him. So did I explicitly ask him if I could do that [confess his
       guilt]? The answer is no. Did he explicitly tell me he didn’t want me to do it? The
       answer is no.”
       (3 EH 31.)

       Deficient performance is also shown by the fact that the strategy adopted had no chance of

success and did not make sense. This argument failed completely to account for the death of Jayden,

a prime reason why the “accident” theory was inadequately presented.

       The facts of this claim are undisputed, yet the state court denied relief.



       B. The State courts erred in denying this claim as the findings and conclusions were an
       unreasonable application of clearly established federal law and an unreasonable
       determination of the facts under 2254(d)1 and (d)(2).

       This claim was brought in the initial state habeas proceedings as a Cronic claim. (Exhibit

11 at 21-23, Claim 2.) Respondent has previously conceded that this claim is exhausted. Docket

No. 40, RA at 17, 31-41. The CCA in denying this claim relied on the state habeas court’s ruling

(Exhibit 9) and the state habeas court in turn relied on the State’s Findings and Conclusions (Exhibit

14) which were adopted verbatim. So we must look to those pleadings to ascertain the state court’s

holding.



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        As pointed out supra, the state habeas court judge (who was not the state trial judge) held

that “there exits no controverted previously unresolved factual issues material to the legality of the

applicant’s confinement.” (Exhibit 15, Memorandum and Order of September 30, 2008, signed by

Judge Sturns.) This was clearly erroneous, as the state’s own findings and conclusions admitted the

existence of many controverted factual issues in their use of the affidavits of trial counsel (which

the state habeas judge ordered) and the prosecutor in order to attempt to controvert this claim.

        Secondly, as to this claim, there was a very heavy reliance on the affidavits of the trial

attorneys (Exhibit 37), and that affidavit is shown herein to be replete with misrepresentations, non

sequiturs, and contradictions. The factual findings as to this claim are, in part, actually copied

virtually verbatim from the trial attorneys’ affidavit. For instance, the state court adopted as fact the

trial attorneys’ statement that “Mr. Ray and Mr. Moore’s effort to prepare and present a defense

were hampered by the applicant’s ever-changing version of these murders and his specific

involvement therein...The applicant initially explained that the murders of Lisa and Jayden

Underwood were accidental...The applicant later took the position that Ron Dodd killed Lisa and

Jayden Underwood, and that he was not present when it happened.” (Exhibit 14 at 4-5.) This

ignores and is directly contrary to the attorneys’ contradictory statements in the same affidavit that

Mr. Barbee always insisted on his innocence and that Ron Dodd was the actual murderer. (E.g.,

“Applicant consistently stated that Ron Dodd was the real killer, Exhibit 37, at 5; “Applicant was

steadfast in his assertion that he was innocent”, Id. at 5; “Applicant maintained that he was

completely innocent” Id. at 6; “Client has maintained his innocence to attorneys since the date of

appointment”, Memo of Understanding, appendix to Exhibit 37.)               The dangers of total and

uncritical reliance on the pleadings of one side could hardly be clearer than here, where those



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pleadings are based on self-serving and contradictory affidavits.122 Mr. Barbee’s statement that the

killings were accidental occurred at the police interrogation and he had clearly repudiated that

statement as coerced well before the attorneys were even appointed, as they themselves admit.

       The state court findings admit that trial counsel admitted Mr. Barbee’s guilt without his

permission:

               During closing argument, Mr. Ray argued the defense theory of accidence rather than
       a pure innocence defense...
               Mr. Ray decided to use the accident theory because, in his professional opinion, the
       applicant’s favored ‘Ron Dodd did it’ theory would not work...
               The applicant’s ‘Ron Dodd did it’ theory asserted that Dodd killed Lisa and Jayden
       Underwood to get the applicant out of a potential disruption in his marriage to Trish
       Barbee...
       Mr. Ray believed that this theory was unworkable because Dodd had no motivation to kill
       two people with whom he had no association and because it did not take into account the
       applicant’s confessions...
       The “Ron Dodd did it” theory was not a viable jury argument...
       (Exhibit 14 at 7-9.)

       The state court errors are compounded in their “Conclusions of Law” as to this claim.

(Exhibit 14 at 19-24.) The claim is erroneously analyzed under the Strickland standard, which

requires a showing of prejudice, rather than the Cronic standard under which the claim was brought.

(Exhibit 11, at 14, 21-23.) The cases cited all relate to ineffective assistance of counsel, and do not

incorporate the Cronic standard discussed in the following section.            The main case cited,

Yarborough v. Gentry, 540 U.S. 1 (2003)(Exhibit 14 at 20-21) for the proposition that “[t]he right

to effective assistance extends to closing arguments,” relates to ineffective assistance of counsel.

Cronic is not mentioned or discussed.

       122
             In Anderson v. City of Bessemer City, 470 U.S. 564 (1985) the Supreme Court stated:
“We, too, have criticized courts for their verbatim adoption of findings of fact prepared by
prevailing parties, particularly when those findings have taken the form of conclusory statements
unsupported by citation to the record.” Id., at 572. Here, the record does not support the basis
for the state court findings.


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       Habeas corpus relief may be granted, under the AEDPA, 28 U.S.C. § 2254 (1994 & Supp.

2000), if the decision of the Texas Court of Criminal Appeals (“CCA”) affirming his conviction and

death sentence “was either (1) contrary to or resulted in an unreasonable application of clearly

established Federal Law, as determined by the Supreme Court of the United States, or (2) resulted

in a decision that was based on an unreasonable determination of the facts in light of the evidence

presented in the State court proceedings.” Coble v. Quarterman, 496 F.3d 430, 435 (5th Cir. 2007)

(quoting 28 U.S.C.A. § 2254(d)(1) and d(2)).

       A state court decision is contrary to clearly established Supreme Court precedent if (1) the

state court applies a rule that contradicts the governing law set forth in [the Supreme Court’s ]

cases,” or (2) “the state court confronts a set of facts that are materially indistinguishable from a

decision of [the Supreme] Court and nevertheless arrives at a result different from [Supreme Court]

precedent.” Williams v. Taylor, 529 U.S. 362, 406 (2000). The CCA’s holding was erroneous and

Petitioner has shown that he is entitled to relief under the standards of both 2254(d)(1) and d(2).

       C. The State courts failed to apply the Cronic standard for confession of client’s guilt.

       Mr. Ray’s closing argument was not merely a negligent misstep in an attempt to champion

his client’s cause. The concession that there was no reasonable doubt that his client committed the

murders was an abandonment of the defense of his client at a critical stage of the criminal

proceedings.


       The Cronic standard of structural error has been held to apply to situations in which counsel

confesses his client’s guilt to a jury without his client’s acquiescence or permission. In U.S. v.

Swanson, 943 F.2d 1070 (9th Cir. 1991), the Ninth Circuit addressed this issue:




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        “A lawyer who informs the jury that it is his view of the evidence that there is no reasonable

doubt regarding the only factual issues that are in dispute has utterly failed to ‘subject the

prosecution’s case to meaningful adversarial testing. Cronic, 466 U.S. at 659, 104 S. Ct. at 2047.”

Swanson, 943 F.2d at 1974. See also Jackson v. State, 41 P.3d 395, 400-401 (Okla.Crim.App.

2001); State v. Maready, ___ S.E.2d ___, 2010 WL 2650482 (N.C. Ct. App. July 6, 2010)(Counsel

per se ineffective in murder case for conceding guilt of involuntary manslaughter in closing

arguments. Because North Carolina courts require the defendant’s explicit consent prior to any

concession of guilt, even after Florida v. Nixon, 543 U.S. 175 (2004), reversal was required. The

record did not reflect that “Defendant was asked if he consented to these admissions, or that

Defendant had given informed and voluntary consent to these admissions of his guilt.”).

        The Fifth Circuit has held, in Haynes v. Cain, 298 F.3d 376 (5th Cir. 2002) that an opening

statement confession of guilt was a strategic attempt to avoid the death penalty and thus did not raise

the presumption of prejudice under Cronic. The situation in Haynes, however, was less egregious

than here. In Haynes the attorneys made at least some meaningful attempt to challenge the

prosecution’s case, whereas here there was no attempt to present Mr. Barbee’s claim of actual

innocence and his contention that Ron Dodd was the actual killer. There was massive forensic

evidence implicating Haynes in the crime, such as video surveillance tapes of him at the crime

scene, blood in his car and on his pants, the victim’s wallet found in his home, and his semen found

in the victim’s body and the evidence of his guilt was termed “overwhelming” (Haynes at 377, 380-

383). Here, there was no forensic evidence linking Mr. Barbee to the murder scene at the victim’s

residence.123 The strategy in Haynes actually proved effective as their client received a life sentence,

        123
            The state courts repeatedly emphasized evidence linking Mr. Barbee to the scene of
the burial of the bodies, his presence near that scene when stopped by the officer and his leading
the police to the burial site of the bodies. However, he has admitted his involvement in the

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unlike Mr. Barbee. (Id. at 382.) Additionally, the confession of guilt there occurred at the opening

statement and the judge allowed Haynes to take the stand if he wished. (Id. at 378.) No such option

was available for Mr. Barbee, as the statement at his trial occurred at final guilt phase argument.

       The facts in Mr. Barbee’s case fit squarely within the parameters of Cronic and its progeny.

Mr. Barbee never consented or acquiesced to allowing his attorney to confess his guilt in final

argument, particularly in a case where the entire defense case consisted of three transcript pages.

Defense counsel’s actions constitute a complete abandonment of Mr. Barbee at a critical stage of

his trial, and because this error is structural, prejudice need not be shown.

       Nor are any of the state court findings and conclusions entitled to any presumption of

correctness under 2254(e)(1) due to the failure of the court to hold an evidentiary hearing on

controverted issues of material fact where the state habeas court judge was not the trial judge.

Sumner v. Mata, 499 U.S. 539 (1981); Armstead v. Scott, 37 F.3d 202 (5th Cir. 1994); Amos v. Scott,

61 F.3d 333 (5th Cir. 1995)(“[f]actual findings based solely on a paper hearing are not automatically

entitled to a Sec. 2254(d) presumption of correctness” at 347.)

       D. Exhaustion and procedural default.

       Respondent has previously conceded that this claim was presented to the state courts. See

Docket No. 40, RA at 17. Hence, it is not defaulted.




disposal of the bodies, but has maintained his innocence of the murders. The main evidence
against Mr. Barbee was his “confession” which he repudiated as coerced soon after it was given.

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Claim Four(c): Ineffective assistance for failing to explain the phone records.

        Facts in Support.

        Stanley Keaton was called as a defense witness. (24 RR 174.) He was the defense

investigator and served subpoenas for cell phone records from the City of Fort Worth on February

21 through February 22, 2005. (24 RR 175.) These records were admitted into evidence. (24 RR

177.) However, the significance of these records was never explained or argued to the jury. The

jury would have no way of ascertaining the evidentiary value, if any, of these records.

        Any procedural default of this claim, for failure to raise it in his initial state habeas petition,

is excused under the Martinez/Trevino exception discussed supra, which provides “cause” for failure

to adequately raise it in that application.


Claim Four(d): Ineffective assistance for failure to object to prejudicial speculation by the
coroners.

        The coroners were allowed to engage in a highly speculative reconstruction of the victim’s

death. It was based mainly on their own conjectures and was very prejudicial to the defendant.

        A. Dr. Krouse.

        Dr. Marc Krouse performed the autopsy on Lisa Underwood. (23 RR 137.) He claimed that

he performed the autopsy under his authority as the Deputy Chief Medical Examiner in Fort Worth

covering Tarrant, Denton and Parker Counties. (23 RR 141.

        Dr. Krouse was allowed to give several extremely speculative and conjectural theories

regarding the cause of death of the victim Lisa Underwood, all of which were extremely prejudicial

to Petitioner:

        1) He opined that there was evidence of blunt force trauma caused by having a great force



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applied to her. (23 RR 155-157.) However, the witness could not say what type of force caused

these injuries. (23 RR 158.) As for the compression force required, it had to be sufficient to

asphyxiate someone (five to seven minutes of 100 to 300 or 400 pounds of force) which would have

caused the type of soft tissue injury, and not bony trauma, seen by the witness. (23 RR 158-159.)

       2) He opined that the facial injuries could have been from a moderate blow (23 RR 159) and

were consistent with blunt force injury. (23 RR 160.)

       3) He opined that the patterned injuries were probably due to pressure or pressure with a

blow component to it (23 RR 160) and that force was applied over a very broad area of the victim’s

back. (23 RR 160-161.) The broken bone in her forearm indicates that force was applied from

above, a shearing force. (23 RR 169-172.)

       4) He opined that it would have required several minutes to cause her death, from two to

three minutes to seven or eight. (23 RR 163.)

       5) He opined that because the body had been secreted and concealed, this increased the

chances it was a homicide. (23 RR 165.) The doctor was quite confident that it was a homicide.

(23 RR 166.)

       6) He was allowed to speculate that the bruises on the victim’s back could have been caused

by someone sitting on her. (23 RR 174-175.) The doctor was allowed to answer the speculative and

leading question, “is there anything that is inconsistent with Lisa Underwood being beaten followed

by or contemporaneous with her face being forced to the floor while her assailant sat or kneeled on

her back?” (23 RR 180.)

       7) The doctor was also allowed to speculate that “[t]he allegation here is that Lisa’s death

was caused by smothering her with the weight of a body or with an object that is unknown or by a



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combination of the two.” (23 RR 183.) It could take up to seven minutes for death to occur. (23

RR 184.) But someone could lose consciousness within seven or eight seconds. (23 RR 184.)

        8) He opined that she was certainly in a fight of some sort as she had a black eye and other

bruises. (23 RR 191.) “The other injuries tell me that this happened in the context of an altercation,

of a fight, basically.” (23 RR 195.) There were bruises on the victim’s hands. (23 RR 197.)

        9) He also speculated that the victim may have stopped breathing and started again. (23 RR

199.)

        B. Dr. White

        Dr. Lloyd White, a deputy Tarrant County Medical Examiner, testified that he performed

the autopsy on Jayden Underwood on February 23, 2005. (24 RR 155.) He too was allowed to

testify as to many speculative conjectures regarding the method of Jayden’s death.

        1)   Dr. White testified that “petechiae” are “little pinpoint hemorrhages” sometimes seen

“around the face and sometimes on the internal organs in association with asphyxial death, such as

strangulation where the neck is constricted.” (24 RR 156-157.)

        2) The following speculation was not objected to by the defense:

        Dr. White: There was a small amount of blood-tinged fluid in the mouth and also over the
        pleural surface...surface of the left lung, I saw petechiae. These are small pinpoint
        hemorrhages that are associated with increased pressure in the chest and are sometimes seen
        with asphyxial death, or death due to lack of oxygen, associated with increased pressure in
        the chest.
        Q. Let’s start with the petechiae in the lungs. What...you say it is associated with increased
        pressure. What does that mean exactly? Let’s say you are being asphyxiated, you cannot
        breathe. What causes petechiae and what exactly is it?
        A. Petechiae are little pinpoint hemorrhages literally the size of a pin point that are seen in
        the skin or on mucous membranes or on the surfaces of the organs that are believed to be due
        to actual ruptures of capillaries in those areas.
        And we have seen them around the face and sometimes on the internal organs in association
        with asphyxial death, such as strangulation where the neck is constricted. We see them in
        the legs when a person has been hanged and the legs have been suspended. They also can
        be seen in heart failure and other natural causes as well.

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        Q. So is it caused from the pressure put on the...in this case in lung tissue, it’s caused by the
        pressure put on the pulmonary system.
        A. Correct.
        Q. Okay. Let’s...let’s review those...those injuries just a little bit more. You said there was
        some bloody fluid in the mouth. Were there injuries in the mouth that could have caused the
        blood...that could have been the source of that blood?
        A. Yes. There were the bruises of the mucous membranes and the lips which could have
        caused that. I examined the membranes and didn’t find an actual laceration or tear, but there
        could have been a small tear in some area that simply was not visible.
        (24 RR 156-157.)

        3) The witness speculated that the injuries to the lips and gums are caused by compression,

“some object put over the area of the mouth pressing on the mouth and compressing the lips against

the underlying teeth.” (24 RR 158.)

        4) He speculated that the scrapes and scratches appeared to be antemortem, caused before

death. (24 RR 159.)

        5) In Dr. White’s opinion, the cause of death was “asphyxia by smothering...obstruction or

occulation of the airway externally by something being put over the face and the mouth so that

adequate oxygen and air is not supplied to the organs and tissues of the body.” (24 RR 160.) He also

speculated that something hit the victim in the head, causing a hemorrhage, before he died. (24 RR

163.)



        C. What the state courts held and why the claim is not procedurally barred.

        This claim was brought in Mr. Barbee’s subsequent state habeas application and was

dismissed “as an abuse of the writ” because those allegations “do not satisfy the requirements of

Article 11.071 Section 5.” Ex parte Stephen Dale Barbee, No. WR-71,070-02, at 2. (Tex. Crim.

App. May 8, 2013)(Exhibit 52.) Hence, it was not denied on the merits but only on procedural




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grounds, and the 2254(d) standard of review does not apply.

       Any procedural default of this claim, for failure to raise it in his initial state habeas petition,

is excused under the Martinez/Trevino exception discussed supra, which provides “cause” for failure

to adequately raise it in that application. The prejudice to Mr. Barbee has been discussed supra.

This damaging testimony could and should have been excluded.




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CLAIM FIVE: TRIAL COUNSEL RENDERED INEFFECTIVE ASSISTANCE OF
COUNSEL AT THE PENALTY PHASE OF THE TRIAL.

       Petitioner’s conviction, judgment, sentence and confinement are illegal and were obtained

in violation of his Fifth, Sixth, Eighth and Fourteenth Amendment rights to a fair and impartial jury,

the presumption of innocence, a fair trial, freedom from self-incrimination, effective assistance of

counsel, due process of law, and reliable guilt and penalty determinations, because trial counsel

rendered ineffective assistance of counsel at the penalty phase of the trial.

       Petitioner herein incorporates by reference the legal analysis of ineffective assistance of

counsel claims, presented supra in Claims Three and Four.

       General Argument Regarding Punishment Phase Ineffective Assistance of Counsel.124

       i. Sentencing Phase Ineffectiveness and the Wiggins case.

       This standard, regarding the duty to investigate, applies acutely to a capital sentencing trial

because the Constitution requires that the sentencer be provided with and must consider "any aspects

of the defendant's background and record" that may be "proffer[ed] as a basis for a sentence less

than death." Lockett v. Ohio, 438 U.S. 586, 604 (1977). The standard of performance in a capital

case is, and must be, higher than in a non-capital case since "death is different." See, e.g., Gardner

v. Florida, 430 U.S. 349, 357-358 (1977)(plurality opinion). Courts, therefore, have given particular

attention to capital cases where little or no mitigating evidence is presented in support of a life

sentence. See, e.g., Harris v. Dugger, 874 F.2d 756 (11th Cir. 1989); Kubat v. Thieret, 867 F.2d

351 (7th Cir. 1989); Cook v. Lynaugh, 821 F.2d 1072 (5th Cir. 1987)125.

       124
             This argument is applicable to all sub-claims of Claim Five, (a) through (f).
       125
           The Seventh Circuit reasoned that trial counsel's failure had produced "`a breakdown
in the adversarial process that our system counts on to produce just results.'" Id. at 369 (quoting
Strickland v. Washington, 466 U.S. 688 (1984)). The Court of Appeals further found that by not
presenting mitigating evidence "no effort was made to present Kubat to the jury as a human

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          Courts have long considered evidence of mental illness, emotional disturbance, the

defendant's and victim’s background, character, and childhood abuse to be types of mitigating

evidence that juries should be allowed to hear. Lockett v. Ohio, 438 U.S. 586, 604 (1978), Eddings

v. Oklahoma, 455 U.S. 104, 113-114, 102 S. Ct. 869, 68 L.Ed.2d 378 (1982); Franklin v. Lynaugh,

487 U.S. 164, 108 S. Ct. 2320, 101 L.Ed.2d 2320 (1988); Skipper v. South Carolina, 476 U.S. 1

(1986).

          Independent investigation of the facts and circumstances of a case in preparation for trial is

one of the cornerstones of the Sixth Amendment right to effective assistance of counsel. Over

seventy-five years ago, in the landmark case of Powell v. Alabama, 287 U.S. 45 (1932), the Supreme

Court recognized that thorough factual investigation is at the heart of effective representation:

          It is not enough that defense counsel thus precipitated into the case thought there was no
          defense, and exercised their best judgment in proceeding to trial without preparation.
          Neither they nor the court could say what a prompt and thorough-going investigation might
          disclose as to the facts.
          Powell, 287 U.S. at 58. See also Strickland, 466 U.S. at 668, 691 (reiterating the primacy
          of counsel’s duty to investigate client’s available defenses at both phases of trial).126

          The Supreme Court's directives on this subject have been clear. "[C]ounsel has a duty to

make reasonable investigations or to make a reasonable decision that makes particular investigations

unnecessary. In any ineffectiveness case, a particular decision not to investigate must be directly

assessed for reasonableness in all the circumstances[.]" Strickland v. Washington, 466 U.S. at 691



being." Id. at 368.
          126
           The Fifth Circuit has repeatedly recognized the vital importance of meaningful
investigation. See, e.g., Bell v. Watkins, 692 F.2d 999, 1009 (5th Cir. 1982), cert. denied sub
nom Bell v. Thigpen, 464 U.S. 843 (1983); Baldwin v. Maggio, 704 F.2d 1325, 1332-33 (5th Cir.
1983), cert. denied, 467 U.S. 1220 (1984) (unless counsel undertakes “a reasonably substantial,
independent investigation into the circumstances and the law from which potential defenses may
be derived,” he cannot provide effective assistance).

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(1984). See also Goodwin v. Balkcom, 684 F.2d 794, 805 (11th Cir. 1982) ("[a]t the heart of

effective representation is the independent duty to investigate and prepare.").

       In Baxter v. Thomas, 45 F.3d 1501, (11th Cir., 1995), trial counsel was found ineffective

where he conducted some limited investigation into the client's background, but failed to discover

evidence of mental deficiency. See also Antwine v. Delo, 54 F.3d 1357 (8th Cir. 1995), cert. denied,

116 S. Ct. 753 (1996).

       In Blanco v. Singletary, 943 F.2d 1477, 1502 (11th Cir. 1991), cert. denied, 504 U.S. 943

(1992), the court held that because counsel "failed to discover and present any of the available

mitigating evidence....the errors committed by Blanco's counsel fell below an objective standard of

reasonable representation " Id. This case involved a situation where the defense attorneys’ only

attempt to procure witnesses to testify at the penalty phase was to leave messages for them and wait

for them to call back. The court rejected the explanations offered by counsel for their failure to call

the witnesses, including the fact that the defendant himself instructed them not to present evidence.

In this case, the court concluded that no adequate investigation had been conducted:

       The ultimate decision that was reached not to call witnesses was not a result of investigation
       and evaluation, but was instead primarily a result of counsel’s eagerness to latch onto
       Blanco’s statements that he did not want any witnesses called...From these facts, we do not
       see that counsel conducted a reasonable investigation into the availability of mitigation
       evidence, or that there was a strategic reason for not presenting such evidence.
       (Id. at 1503.)

       When an attorney fails to collect medical records, interview family members or conduct

other investigation into the defendant’s background, his decision cannot be considered a "tactical"

one. "An attorney's trial decisions must be based on a proper exercise of judgment based on

adequate knowledge" of the facts and relevant law. United States v. Cronic, 839 F.2d 1401, 1404




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(10th Cir. 1988); see also McDougall v. Dixon, 921 F.2d 518, 537 (4th Cir. 1991) (a "strategic"

choice by counsel is one "made with full knowledge of the facts and the law, and the options

available to him"); Kimmelman v. Morrison, 477 U.S. 365, 385 (1986) ("`[C]ounsel has a duty to

make reasonable investigations or make a reasonable decision that makes particular investigations

unnecessary.'"); Baxter v. Thomas, 45 F.3d 1501, (11th Cir. 1995) ("An attorney's decision to limit

his [mitigation] investigation must `flow from an informed judgment.'")

          Any deference that courts must afford trial counsel under Strickland in judging whether such

failures were constitutionally deficient, as opposed to "tactical" or "strategic" trial decisions,

presupposes that an attorney's trial decisions are fully informed and reasonable exercises of

professional judgment. "Judges wisely defer to true tactical choices -- that is to say, to choices

between alternatives that each have the potential for both benefit and loss." Profitt v. Waldren, 831

F.2d 1245, 1249 (5th Cir. 1987). Moreover, "`[t]his measure of deference ... must not be watered

down into a disguised form of acquiescence.'" Bouchillon v. Collins, 907 F.2d 589, 595 (5th Cir.

1990) (quoting Profitt v. Waldren, Supra at 1248).

          Any choice that flows “from lack of diligence in preparation and investigation is not

protected by the presumption in favor of counsel.” Kenley v. Armontrout, 937 F.2d 1298, 1304 (8th

Cir. 1991), cert. denied sub nom Deleo v. Kentucky, 112 S. Ct. 431 (1991). As the Kenley court

stated:

          We will not fault a reasonable strategy not to investigate further if it is based on sound
          assumptions. Here it was not a reasonable strategy that led counsel not to investigate, but
          lack of thoroughness and preparation. “Counsel can hardly be said to have made a strategic
          choice against pursuing a certain line of investigation when s/he has not yet obtained the
          facts on which such a decision could be made.”

Id. at 1308 (quoting Chambers v. Armontrout, 907 F.2d 825, 835 (8th Cir. 1990) (en banc), cert.



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denied, 111 S. Ct. 369 (1990).127

        Courts have not characterized omissions by trial counsel as “strategic” based merely on

counsel’s assertion that they were. For instance, in Holsomback v. White, 133 F.3d 1382 (11th Cir.

1998), the petitioner challenged the adequacy of his trial counsel’s investigation of the medical

evidence, specifically his failure to interview and call as witnesses two doctors and introduce a

report prepared by one of them. The trial attorney justified his failure to contact the physicians and

introduce the records based on his view that there was nothing to be gained by doing so, as there was

no medical evidence to substantiate the alleged crime of molestation. Id., at 1387. The trial attorney

also stated that he feared that some harmful evidence may have surfaced had he called the doctors

to the stand. Id.

        The Eleventh Circuit Court of Appeals found this unpersuasive. Id., at 1388. If the doctors

had been interviewed, a decision not to call them as witnesses at trial may well have fallen within

the “wide range of reasonable professional assistance.” Strickland, 466 U.S. at 689, 104 S. Ct. at

2065. But

        [h]aving conducted no investigation into the significance of the lack of medical
        evidence...counsel could not have made an informed tactical decision that the
        risk...outweighed ‘what potential benefit might come from [their testimony].’ Because
        counsel never actually spoke with the physicians, he remained entirely unaware...of whether
        and to what extent their testimony might have helped Holsomback’s case. In these
        circumstances, we cannot say that counsel’s decision not even to contact the physicians as
        part of his pre-trial investigation was professionally reasonable...[W]e are also persuaded
        that counsel’s failure to conduct an adequate pre-trial investigation satisfies the prejudice
        prong of Strickland.

        Holsomback, at 1388.


        127
          See also Wilson v. Butler, 813 F.2d 664, 672 (5th Cir. 1987), cert. denied, 484 U.S.
1079 (1988).

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       Thus, adequate performance of counsel in a capital case requires that counsel undertake an

independent investigation to unearth any potential mitigating circumstances or evidence that may

be offered during the sentencing phase. This objective standard may be established by either

national performance guidelines such as the ABA Standards for Criminal Justice or by reference to

relevant case law. Based upon either standard, trial counsels' performance in this case fell below

that of a "reasonably competent attorney" defending a capital case during the penalty phase trial.

In Mr. Berbee’s case, his counsels' decision to forego expert medical and forensic testimony, to fail

to secure experts who could have challenged the State’s case, to fail to present significant mitigating

evidence, and to fail to even interview many friends and family members whose declarations are

included herein fell below widely accepted professional norms. This decision was, therefore, not

a strategic or tactical decision nor was it a reasonable one, and the CCA’s decision is objectively

unreasonable.

       In Wiggins v. Smith, 123 S. Ct. 2527 (2003) , the Supreme Court, in an important decision,

addressed the standards for ineffective assistance of counsel at the punishment phase of a capital

trial under Strickland and Williams. Specifically, that Court held that Wiggins’ counsel rendered

ineffective assistance of counsel at the punishment phase of his capital trial by their failure to

perform an adequate investigation of his background, which included evidence of his dysfunctional

family background and physical and sexual abuse. The Supreme Court held that trial counsel’s

punishment-phase strategy of disputing Wiggins’ direct responsibility for the murder was not owed

the deference usually accorded trial strategy, because it was not the product of a professionally

reasonable investigation into other potential mitigation themes.           Wiggins’ trial counsel’s

performance was held deficient under the standards of the Anti-Terrorism and Effective Death



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Penalty Act of 1996 (“AEDPA”).

       Strickland, Williams and Wiggins are the definitive triad of holdings on ineffectiveness of

counsel, and the Supreme Court has made clear they are to be read together: Strickland “established

the legal principles that govern claims of ineffective assistance of counsel” (Wiggins at 2535), and

Williams “is illustrative of the proper application of these standards” (Id.).128 Wiggins specifically

addresses the scope of background investigation Strickland requires in a capital case in order to

make a reasonably informed strategic judgment concerning the mitigation presentation.

       ii. Extent of background investigation.

       Crucially, the investigation deemed inadequate in Wiggins was fairly substantial, much more

substantial than here. Wiggins’ counsel:

!      arranged for a psychologist to conduct a number of tests on their client, in which he was

       found to have “an IQ of 79, had difficulty coping with demanding situations and exhibited

       features of a personality disorder.” Wiggins at 2536;

!      hired a criminologist who interviewed Wiggins and testified he would adjust adequately to

       life in prison (Id. at 2538, 2547);

!      secured access to Wiggins’ PSI report, which included an account of his disadvantaged and,

       in his own words “disgusting” youth; and

!      “‘tracked down’ records kept by the Baltimore City Department of Social Services (DSS)

       documenting petitioner’s various placement in the State’s foster care system.” (Id. at 2536).

       Trial counsel in Wiggins were held ineffective for abandoning a mitigation investigation that



       128
           The Supreme Court “made no new law in resolving Williams’ ineffectiveness
claims” (Wiggins at 2535) and likewise no new law was made in Wiggins.


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should have been completed; here, we have the same factor, as Ms. Maxwell’s investigation was

simply abandoned and not presented at trial. (Exhibit 16 at 4-5.)

       iii. Presentation of a “half-hearted mitigation case” crippled by lack of adequate
       preparation and investigation.

       The Supreme Court noted that Wiggins’ attorneys “put on a halfhearted mitigation case”

(Wiggins at 2538). We also have that factor here, although it would be charitable to call what was

presented “half-hearted.” The crucial issue of future dangerousness was never even addressed by

the witnesses that were called and the trial attorneys’ explanation for this failure was false as well

as nonsensical. (Exhibit 37, affidavit of trial counsel). The same nonsense was adopted verbatim

by the state habeas court (Exhibits 14, 15) and ultimately by the CCA. (Exhibit 9.) These facts are

discussed in detail in Claim Five, infra.

       iv. Reliance on dubious and unconvincing strategic justification for failure to perform
       adequate investigation.

       The Supreme Court in Wiggins emphasized that “our principal concern...is not whether

counsel should have presented a mitigation case. Rather we focus on whether the investigation

supporting counsel’s decision not to introduce mitigating evidence of Wiggins’ background was

itself reasonable.” Wiggins, at 2536 (emphasis in original). In Wiggins, the trial attorneys had much

more credible reasons for their failure than here: “trial counsel made ‘a deliberate, tactical decision

to concentrate their effort at convincing the jury’ that appellant was not directly responsible for the

murder.” Wiggins at 2533, quoting Wiggins v. State, 724 A.2d 1, 15 (1999).129

       129
             Additionally, Wiggins’ “counsel likely knew further investigation ‘would have
resulted in more sordid details surfacing’” (Wiggins v. Corcoran, 288 F.3d 629, 641-42 (4th Cir.
2002) and “conflicting medical testimony with respect to the time of death, the absence of direct
evidence against Wiggins, and unexplained forensic evidence at the crime scene supported
counsel’s strategy.” (Id. at 641, quoted in Wiggins at 2534.) Compare this with the flimsy and
false state court holdings here: “Mr. Ray and Mr. Moore limited questioning character witnesses
as to their opinion whether the applicant would be a future danger because they could not take

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       Wiggins elaborates on the Strickland standard:

        “[i]n assessing the reasonableness of an attorney’s investigation, however, a court must
       consider not only the quantum of evidence already known to counsel, but also whether the
       known evidence would lead a reasonable attorney to investigate further. Even assuming [the
       attorneys] limited the scope of their investigation for strategic reasons, Strickland does not
       establish that a cursory investigation automatically justifies a tactical decision with respect
       to sentencing strategy. Rather, a reviewing court must consider the reasonableness of the
       investigation said to support that strategy.”
       Wiggins at 2538.

       Even with Wiggins’ attorneys’ explanations of their strategic reasons, the Supreme Court

found their performance deficient. Counsel for Wiggins

       sought, until the day before sentencing, to have the proceedings bifurcated into a retrial of
       guilt and a mitigation stage... On the eve of sentencing, counsel represented to the court that
       they were prepared to come forward with mitigating evidence...and that they intended to
       present such evidence in the event the court granted their motion to bifurcate.

Wiggins at 2537. The motion was, of course, not granted. Mr. Barbee’s trial record trial shows

much worse inattentiveness than that seen in Wiggins.

       In the state habeas proceedings, the trial attorneys submitted a staggeringly dishonest and

self-serving affidavit, replete with nonsensical and demonstrably false explanations for their actions

and inactions and so-called “strategic decisions.” To call it “dubious and unconvincing” would be

charitable. This very affidavit, in fact, is strong evidence that Mr. Barbee’s attorneys failed to meet

the standards of care discussed herein. The state courts signed on to it virtually verbatim. It is

analyzed in detail infra.

       v. Performance shown deficient under prevailing professional standards.

       The Supreme Court held in Wiggins that counsels’ investigation “fell short of the



the chance of the State learning of other instances of violence—such as the incident reported by
Mr. Davis—through opinion and reputation cross-examination.” (Exhibit 14 at 14-14, factual
finding 111.)

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professional standards prevailing in Maryland in 1989.” Wiggins at 2536. Texas lawyers routinely

performed more thorough mitigation investigations than performed by Petitioner’s counsel, and

made conscious strategic decisions to put evidence of their clients’ troubled backgrounds and mental

problems before Texas sentencing juries.130      It should further be noted that this formidable

collection of cases does not, of course, include capital cases in which Texas death penalty lawyers

avoided a death sentence by the presentation of compelling mitigation evidence.131

       The Wiggins case provides additional powerful confirmation that Mr. Barbee has met the


       130
            See, e.g., Jurek v. Estelle, 593 F.2d 672, 675 (5th Cir. 1979) (verbal IQ of 66,
possible brain damage, and inability to recite alphabet, give change or say how many weeks in a
year); Riles v. McCotter, 799 F.2d 947, 952 (5th Cir. 1986)(history of mental illness as possible
mitigating factor); Wicker v. McCotter, 783 F.2d 487, 496 (5th Cir. 1986)(physicians called to
establish psychiatric disease and drug and alcohol abuse); Brock v. McCotter, 781 F.2d 1152,
1160 (5th Cir. 1986)(troubled childhood and heavy drug abuse); Williams v. Lynaugh, 809 F.2d
1063, 1065 (5th Cir. 1987)(defendant hit by automobile at age six, slow learner, headaches,
borderline mentally retarded); Elliason v. State, 815 S.W.2d 656, 663 (Tex. Crim. App.
1991)(drug addiction, intense paranoia); Ex parte Patrick Rogers, 819 S.W.2d 533, 534-37 (Tex.
Crim. App. 1991)(habitual drug use, youth, remorse); Ex parte Jewel Richard McGee, Jr., 817
S.W.2d 77, 79-80 (Tex. Crim. App. 1991)(mental retardation, abandonment, severe child abuse);
Ex parte David Ray Harris, 825 S.W.2d 120, 121 (Tex. Crim. App. 1991)(alcoholism); Joiner v.
State, 825 S.W.2d 701, 706 (1992)(emotional problems, suicide attempts, no prior criminal
record); Ex parte Carl Kelly, 832 S.W.2d 44, 45 (Tex. Crim. App. 1992)(difficulty in school,
drug use, youth, good work ethic); Nobles v. State, 843 S.W.2d 503, 505-06 (Tex. Crim. App.
1992)(drug use, severe child abuse and neglect); Ex parte Toby Lynn Williams, 833 S.W.2d 150,
151-52 (Tex. Crim. App. 1992)(mental retardation and child abuse); Kemp v. State, 846 S.W.2d
289, 309 (1992)(positive character traits, religious devotion, poor parenting, youth); Nelson v.
State, 848 S.W.2d 126, 136-37 (19920(drug use, molestation, child abuse, youth); Gunter v.
State, 858 S.W.2d 430, 446 (Tex. Crim. App. 1993)(childhood physical and sexual abuse,
abandonment, emotional problems, etc.); Richardson v. State, 879 S.W.2d 874, 883 (Tex. Crim.
App. 1993)(parental neglect, starvation, learning disabilities); Emery v. State, 881 S.W.2d 702,
711 (Tex. Crim. App. 1994)(unstable and abusive upbringing, parental neglect); Ex parte Henry
Lee Lucas, 877 S.W.2d 315, 317 (Tex. Crim. App. 1994)(physical and emotional abuse, poor
parenting, low IQ).
       131
          See, e.g. Gary Goodpaster, The Trial for Life: Effective Assistance of Counsel in Death
Penalty Cases, 58 N.Y.U. L. REV. 299, 300-01 (1983) (describing extremely aggravated capital
murder case tried in Harris County, Texas during the 1970s in which the jury spared the
defendant’s life after hearing an extensive mitigation presentation).

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Strickland standards on this issue.

       vi. Rompilla v. Beard.

       In Rompilla v. Beard, 125 S. Ct. 2456 (2005), the Supreme Court reaffirmed the Williams-

Wiggins high standards for effective assistance of counsel at the punishment phase of a capital trial.

In this case, the Court held that Rompilla was entitled to sentencing phase relief on the ground that

his trial counsel had been ineffective in failing to obtain and review a readily available court file

which, had it been reviewed, would have led to a range of mitigating evidence. As the Court held,

“[E]ven when a capital defendant’s family members and the defendant himself have suggested that

no mitigating evidence is available, his lawyer is bound to make reasonable efforts to obtain and

review material that counsel knows the prosecution will probably rely on as evidence of aggravation

at the sentencing phase of trial.” (125 S. Ct. at 2460.) Even though trial counsel took efforts to

interview various family members and presented testimony from five of them at trial, and consulted

with three mental health experts, this was held insufficient. The Court noted that petitioner’s own

contributions to any mitigation case were minimal” as he was uninterested in helping counsel and

at times “even actively obstructive.” (125 S. Ct. at 2462.)

        The Court described the ABA Standards for Criminal Justice and the ABA Guidelines for

the Appointment and Performance of Counsel in Death Penalty Cases as “well recognized.” The

state court decision to the contrary that “defense counsel’s efforts were enough to free them from

any obligation to enquire further” was held to be objectively unreasonable. (125 S. Ct. at 2467.)

These lapses were found prejudicial under the second prong of Strickland, as “[t]his evidence adds

up to a mitigation case that bears no relation to the few naked pleas for mercy actually put before

the jury...the undiscovered ‘mitigating evidence, taken as a whole, ‘might well have influenced the



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jury’s appraisal of [Rompilla’s] culpability,’ and the likelihood of a different result if the evidence

had gone in is ‘sufficient to undermine confidence in the outcome..’” (125 S. Ct. at 2469.)

       vii. Fifth Circuit holdings on sentencing phase ineffectiveness.

       The Supreme Court’s holdings in Williams, Wiggins and Rompilla show unmistakably that

Courts cannot pay lip-service to trial counsel’s invocation of “strategic” reasons for their failures,

and these decisions have echoed in recent holdings of the Fifth Circuit. In Smith v. Dretke, 417

F.3d 438 (5th Cir. 2005) that Court held counsel ineffective in a murder case for failing to adequately

prepare and present evidence of self-defense, close to the situation here, where the defense of

accidental death was not effectively presented. Although petitioner identified four witnesses for

counsel, counsel did not interview them or call them to testify to corroborate the petitioner’s

testimony concerning the victim’s history of violence. Counsel did not do so because of his

erroneous belief that the testimony of these witnesses was inadmissible and that only evidence

known to the defendant was permitted. Prejudice was found because petitioner’s only plausible

defense was that he acted in self-defense and he testified to that affect but his testimony was easily

discounted and disparaged by the prosecutor in argument without corroboration. “[A]n objectively

reasonable court could not conclude otherwise.” Id. at 444.

       In Tenny v. Dretke, 416 F.3d 404 (5th Cir. 2005), a similar case, the Fifth Circuit held

counsel ineffective in murder case for failing to adequately prepare and present evidence of self-

defense. Prejudice was found because the evidence counsel failed to prepare and present included

evidence that the victim, the defendant’s live-in girlfriend, had threatened to kill him in the days

prior to her death and even on that day, she had stabbed him within the week before, she had

threatened to burn the house down, she had violent tendencies and would have “insane rages,” and



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she was strong enough to throw almost any grown man to the ground. Under the AEDPA standards,

the state court’s and the district court’s upholding of it were unreasonable.

       Based upon the above standards, Petitioner's trial counsel rendered ineffective assistance of

counsel at all phases of this case.

       viii. Standard for meeting the "prejudice" prong.

       In order to demonstrate prejudice under Strickland, the defendant must show that it is

reasonably likely that the jury would have reached a different decision absent counsel’s

unprofessional errors. Strickland, 466 U.S. at 696. This showing must be sufficient to undermine

confidence in the outcome of the proceeding. 466 U.S. at 693. Importantly, Strickland does not

require Mr. Barbee to prove the errors of counsel were outcome-determinative. Indeed, the Court

in Strickland expressly considered and rejected such a test:

       [W]e believe that a defendant need not show that counsel’s conduct more likely than not
       altered the outcome in the case...The result of a proceeding can be rendered unreliable, and
       hence the proceeding itself unfair, even if the errors of counsel cannot be shown by a
       preponderance of the evidence to have determined the outcome.
       (466 U.S. at 693-94.)132

       In assessing whether confidence is undermined in the punishment trial verdict (and thus

whether Strickland "prejudice" has been established), this Court must look at trial counsel's

deficiencies both individually and cumulatively during the course of the penalty trial.133 See Mak

       132
             The Fifth Circuit, in Bouchillon v. Collins, 907 F.2d 589 (5th Cir. 1990), observed
that the prejudice prong imposes “a lower burden of proof than the preponderance standard.”
Even when “the evidence arguably supports a different result under a preponderance standard”,
the court can still be “confident that it meets the ‘reasonable probability’ standard.” Id. at 595.
As demonstrated herein, the evidence available to counsel in this case establishes a “reasonable
probability” that the result of the proceeding would have been different but for counsel’s
unprofessional performance.
       133
            As a constitutional matter, the punishment phase trial in Texas is a full-blown trial in
and of itself and thus entitled to the same due process rights, including the right to the effective
assistance of counsel, as the guilt-innocence phase trial. See, e.g., Barclay v. Florida, 463 U.S.

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v. Blodgett, 970 F.2d 614, 622 (9th Cir. 1992); Kubat v. Thieret, 867 F.2d 351, 370 (7th Cir. 1989).

See also Hendricks v. Calderon, 70 F.3d 1032 (9th Cir. 1995), cert. denied, 116 S. Ct. 1335 (1996)

(trial counsel held ineffective for failing to prepare and present mitigation evidence even though a

defense expert was called; although the jury was given some lay evidence in mitigation, it was given

no guidance of how to connect the facts and expert testimony about background to the mitigating

factors; and the “quantum of prejudice the case law seems to require for deficient penalty phase

performance is relatively low”).

       Because a single hold-out juror during the punishment phase would have resulted in a life

sentence, see Tex. Code Crim. Pro. Art. 37.071(e) (Vernon 1983), this Court's "prejudice" analysis

regarding errors in the sentencing phase must ask only whether there is a reasonable probability that

a single juror's mind could have been changed had counsel performed effectively. See Mak v.

Blodgett, 970 F.2d 614, 619-21 (9th Cir. 1992) (considering the Washington death penalty statute's

"single holdout juror" provision in analyzing a Strickland claim); Cf. Kirkpatrick v. Whitley, 992

F.2d 491, 497 (5th Cir. 1993) ("[G]iven the unanimity required at the Louisiana punishment phase,

the proper frame of reference, at least with regard to the punishment assessed, is whether the mind

of one juror could have been changed with respect to the imposition of the sentence of death.").

       In Moore v. Johnson, 185 F.3d 244 (5th Cir. 1999) the Fifth Circuit held that trial counsel’s



939, 952-954 (1983); Bullington v. Missouri, 451 U.S. 430 (1981). "A capital sentencing
proceeding ...is sufficiently like a trial in its adversarial format and in the existence of standards
for decision...that counsel's role in the proceeding is comparable to counsel's role at trial -- to
ensure that the adversarial testing process works to produce a just result under the standards
governing decision. For purposes of describing counsel's duties, therefore...[a]... capital
sentencing proceeding need not be distinguished from an ordinary trial." Strickland, 466 U.S. at
684. Thus, the proper application of the cumulative assessment of the constitutional
ineffectiveness of Petitioner's trial counsel on the issue before this Court is whether counsel was
ineffective considering all of their performance during the penalty trial.

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performance was constitutionally insufficient and prejudicial to the outcome of the penalty phase.

Counsel in Moore failed to investigate potentially mitigating evidence, including an abusive and

deprived childhood, impaired mental functioning and an early release from prison on a prior

conviction. At an evidentiary hearing in state court, counsel for Moore admitted that he was

cognizant of some elements of Moore’s turbulent childhood but failed to engage in investigation of

potentially mitigating evidence because it was “per se inconsistent with an alibi defense.” Id., at 271.

The Fifth Circuit rejected counsel’s explanation stating:

        Moore maintains that counsel’s failure to present mitigating evidence is not entitled to a
        presumption of reasonableness because it was neither informed by a reasonable investigation
        nor supported by any logical position that such failure would benefit Moore’s defense. We
        agree.

Moore at 273. The Fifth Circuit characterized counsel’s view as “over broad and insufficient alone,

without any reference to why that justification would apply in this case, to justify counsel’s complete

failure to investigate for the purpose of making an informed decision and failure to offer any

mitigating evidence.” Moore at 275. The Court went on to clarify that:

        To be clear, we are dealing here with counsel’s complete, rather than partial, failure to
        investigate whether there was potentially mitigating evidence that could be presented during
        the punishment phase of Moore’s trial. The fact that distinguishes this case from those cases
        in which we have rejected similar claims because the record established counsel conducted
        an adequate investigation, but made an informed trial decision not to use the potentially
        mitigating evidence because it could have a potential backlash effect on the defense.

Moore at 274. Finally, the Fifth Circuit substantially based its conclusion that counsel’s failures

were harmful “upon the fact that counsel also failed to use what limited mitigating evidence was

readily available.” Moore at 278.

        Counsel’s ineffective performance was more egregious, and the resulting prejudice more

harmful to Mr. Barbee than the circumstances in Moore, supra. As in Moore, trial counsel failed



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to investigate or present much of the potentially favorable character or background evidence. As

in Moore, there was in Mr. Barbee’s case “no logical or factual support and no conceivable strategic

purpose” in failing to present this potentially mitigating evidence.

       In Lewis v. Dretke, 355 F.3d 364 (5th Cir. 2003) the Fifth Circuit granted penalty phase

relief, reversing the district court, for failure to conduct an adequate penalty phase investigation.

After an evidentiary hearing, the magistrate judge found that counsel attempted to speak with family

members about Lewis’ abusive background, but that they were “not forthcoming.” This “mere

modicum of evidence” was held insufficient to support the district court’s conclusion that counsel’s

very limited presentation of Lewis’ childhood abuse was reasonable.            To assess counsel’s

performance in preparing for the sentencing phase of trial, the proper focus is not whether counsel

should have presented a mitigation case, but “whether the investigation supporting counsel’s

decision not to introduce mitigation evidence … was itself reasonable.” (citing Wiggins v. Smith,

539 U.S. 510 (2003) (emphasis in original)). “It is axiomatic – particularly since Wiggins – that [a

decision not to present mitigating evidence] cannot be credited as calculated tactics or strategy

unless it is grounded in sufficient facts, resulting in turn from an investigation that is at least

adequate for that purpose.”

       Three of Lewis’ sisters could have provided detailed testimony about the severe abuse

suffered by Lewis at the hands of his father. These sisters attended Lewis’ trial but counsel never

asked them to testify. Though counsel did present testimony from Lewis’ grandmother, “her

conclusional testimony contained none of the details provided by Lewis’ siblings at the habeas

hearing, which could have been truly beneficial. [The grandmother’s] skeletal testimony concerning

the abuse of her grandson was wholly inadequate to present to the jury a true picture of the tortured



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childhood experienced by Lewis.” Furthermore, the sisters’ testimony could have been corroborated

by abundant records documenting numerous hospital visits and domestic disturbance calls.

        The district court’s reasons for finding that Lewis was not prejudiced by the failure to present

detailed evidence of his childhood abuse were held to be flawed. The district court held that the

amount of time elapsed between the alleged child abuse and the commission of the crime, and

Lewis’ intervening criminal convictions, diminished the weight that could be given to the omitted

mitigation. The circuit court, however, noted that in both Williams v. Taylor, 529 U.S. 362 (2000)

and Wiggins, the time that elapsed between the abuse and commission crime were greater than in

Lewis’ case, and that the defendant in Williams had many intervening criminal convictions. “It is

obvious to us that the level of abuse to which Lewis was exposed mandates the conclusion that, had

this evidence been produced, it is quite likely that it would have affected the sentencing decision of

at least one juror.”

        All of these cases are consistent with the Supreme Court's directives on this subject.

"[C]ounsel has a duty to make reasonable investigations or to make a reasonable decision that makes

particular investigations unnecessary. In any ineffectiveness case, a particular decision not to

investigate must be directly assessed for reasonableness in all the circumstances[.]" Strickland v.

Washington, 466 U.S. at 691 (1984). See also Goodwin v. Balkcom, 684 F.2d 794, 805 (11th Cir.

1982) ("[a]t the heart of effective representation is the independent duty to investigate and

prepare.").

        Similarly, it has been held that "...a lawyer is not entitled to rely on his own belief about a

defendant's mental condition, but must instead make a reasonable investigation." Becton v. Barnett,

920 F.2d 1190, 1192 (4th Cir. 1990). After all, "the fact that a person is intelligent does not

represent proof that he is free from mental illness." United States v. Tate, 419 F.2d 131, 132 (6th

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Cir. 1969).

        Trial counsel were at least bound to conduct more than a bare-bones investigation into

Petitioner's background and life history. See, e.g., Strickland, 466 U.S. 688, 706 (1984) (Brennan,

J., concurring in part and dissenting in part); Gray v. Lucas, 677 F.2d 1086, 1093-94 (5th Cir. 1982),

cert. denied, 461 U.S. 910 (1983); Martin v. Maggio, 711 F.2d 1273, 1280 (5th Cir. 1983), cert.

denied, 469 U.S. 1028 (1984); Thompson v. Wainwright, 787 F.2d 1447, 1451, 1452 (11th Cir.

1986); Goodwin v. Balkcom, 684 F.2d 794, 805 (11th Cir. 1982). The most minimal investigation

of this sort would have revealed the information that is set forth in detail below.

        The Wiggins case also reiterates the Strickland standard for showing prejudice:

        ...to establish prejudice, a ‘defendant must show that, but for counsel’s unprofessional errors,
        the result of the proceeding would have been different. A reasonable probability is a
        probability sufficient to undermine confidence in the outcome. In assessing prejudice, we
        reweigh the evidence in aggravation against the totality of available mitigating evidence.
        Wiggins at 2542.

        The Wiggins court, echoing Williams, twice stressed that in assessing prejudice, the

mitigating evidence must be evaluated as a totality (Wiggins at 2542 and 2543) and without

reference to its constitutional or trial-based dimensions.

        Finally, Wiggins confirms that a court should find prejudice and grant punishment-phase

relief upon a finding that “ there is a reasonable probability that at least one juror would have struck

a different balance.” Wiggins at 2543. That standard was met in Wiggins, Williams, and Rompilla

and is met here as well.

        The discussion above regarding the Strickland standards in Claim Three is incorporated

herein by reference. Of additional interest to a claim of penalty phase ineffective assistance of

counsel are several recent cases. The Supreme Court, in Sears v. Upton, 130 S. Ct. 3259 (2010)(per



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curiam) granted certiorari, vacated the judgment, denying state post-conviction relief, and remanded

the case for further consideration of whether Sears was prejudiced by trial counsel’s deficient failure

to investigate mitigating evidence. The state court in Sears committed the same errors as the state

courts in Mr. Barbee’s case. In Sears, after reviewing the mitigating evidence that was available

through reasonable investigation, the Court first noted that “the fact that some of such evidence may

have been ‘hearsay’ does not necessarily undermine its value—or its admissibility–for penalty phase

purposes.” (130 S. Ct. at 3263.) The Court found two errors in the state court’s analysis: ‘First, the

court curtailed a more probing prejudice inquiry because it placed undue reliance on the assumed

reasonableness of counsel’s mitigation theory.” (130 S. Ct. at 3265.) That a theory might be

reasonable, in the abstract, does not obviate the need to analyze whether counsel’s failure to conduct

an adequate mitigation investigation before arriving at this particular theory prejudiced Sears.” (Id.)

“Second, and more fundamentally, the [state] court failed to apply the proper prejudice inquiry.”

(130 S. Ct. at 3265-3266.) Whereas the state court perceived a barrier to applying Strickland’s

“reasonable probability” inquiry in a case where some mitigating evidence was presented at trial,

the Court emphasized that no such barrier exists:

” “[T]he fact that some of this evidence may have been ‘hearsay’ does not necessarily undermine

its value–or it admissibility–for penalty phase purposes” because:

       We have . . . recognized that reliable hearsay evidence that is relevant to a capital
       defendant’s mitigation defense should not be excluded by rote application of a state
       hearsay rule. See Green v. Georgia, 442 U.S. 95, 97, 99 S. Ct. 2150, 60 L.Ed.2d 738
       (1979) (per curiam) (“Regardless of whether the proffered testimony comes within
       Georgia’s hearsay rule, under the facts of this case its exclusion constituted a
       violation of the Due Process Clause. . . . The excluded testimony was highly
       relevant to a critical issue in the punishment phase of the trial); see also Chambers
       v. Mississippi, 410 U.S. 284, 302, 93 S. Ct. 1038, 35 L.Ed.2d 297 (1973) (“In these
       circumstances, where constitutional directly affecting the ascertainment of guilt are
       implicated, the hearsay rule may not be applied mechanistically to defeat the ends
       of justice”).

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       (Id.)

       In considering the state court’s prejudice analysis, the Court noted that the state court

“appears to have stated the proper prejudice standard,” but then “did not correctly conceptualize how

that standard applies to the circumstances of this case.” Because some mitigation evidence had been

presented, the state court concluded that it could not “be fairly compared with those where little or

no mitigation evidence is presented and where a reasonable prediction of outcome can be made.”

Likewise, the state court found it “impossible to know what effect [a different mitigation theory]

would have had on [the jury].” (130 S. Ct. at 3266-3267.) In short, in the state court’s view,

“counsel put forth a reasonable theory with some supporting evidence,” which precluded finding “a

reasonable likelihood that the outcome at trial would have been different if a different mitigation

theory had been advanced.” The state court committed two errors in its analysis. First, it “placed

undue reliance on the assumed reasonableness of counsel’s mitigation theory,” when the

reasonableness of counsel’s theory was, “at the very least, called into question” by the state court’s

“determination that counsel had conducted a constitutionally deficient mitigation investigation.”

       [T]hat a theory might be reasonable in the abstract, does not obviate the need to
       analyze whether counsel’s failure to conduct an adequate mitigation investigation
       before arriving at this particular theory prejudiced [petitioner]. The “reasonableness”
       of counsel’s theory was, at this stage in the inquiry, beside the point: [petitioner]
       might be prejudiced by his counsel’s failures, whether his haphazard choice was
       reasonable or not.

       Id.

       The Court made this “plain” in Williams v. Taylor, 529 U.S. 362 (2000), where the Court

“rejected any suggestion that a decision to focus on one potentially reasonable trial strategy–in that




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case, petitioner’s voluntary confession–was ‘justified by a tactical decision’ when ‘counsel did not

fulfill their obligation to conduct a thorough investigation of the defendant’s background.’”

(quoting, Williams, 529 U.S. at 396). “A ‘tactical decision’ is a precursor to concluding that counsel

has developed a ‘reasonable’ mitigation theory in a particular case.”            Second, “and more

fundamentally, the court failed to apply the proper prejudice inquiry.” The Court has “never limited

the prejudice inquiry under Strickland to cases in which there was only ‘little or no mitigation

evidence’ presented.” To the contrary, “the Strickland inquiry requires . . . probing and fact-specific

analysis,” rather than “the type of truncated prejudice inquiry undertaken by the state court in this

case.” A proper prejudice analysis must consider “the newly uncovered evidence” and the

mitigation evidence introduced during sentencing.

       Thus, Petitioner has shown that he is entitled to relief on this claim under both 2254(d)(1)

and d(2). Nor are any of the state court findings and conclusions entitled to any presumption of

correctness under 2254(e)(1) due to the failure of the court to hold an evidentiary hearing on

controverted issues of material fact where the state habeas court judge was not the trial judge. See,

e.g. Sumner v. Mata, 499 U.S. 539 (1981); Armstead v. Scott, 37 F.3d 202 (5th Cir. 1994); Amos v.

Scott, 61 F.3d 333 (5th Cir. 1995)(“[f]actual findings based solely on a paper hearing are not

automatically entitled to a Sec. 2254(d) presumption of correctness” at 347.)



Claim Five(a): Ineffective assistance of counsel for presenting harmful testimony from Susan
Evans.

       We begin our factual analysis of this claim with an examination of what was actually

presented at trial on behalf of Mr. Barbee at the punishment phase. As discussed supra in the




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statement of facts, the penalty phase was an extremely perfunctory affair. Although the defense

called ten witnesses, many of them were simply called to the stand to say that they loved and

supported Stephen.

        Most of the defense punishment phase case, in terms of time and transcript pages, was

occupied by a single witness, Susan Evans, a former warden who testified, disastrously for the

defense, about prison conditions. (25 RR 2-92.) Much of her testimony was not only unhelpful but

actually very damaging to Mr. Barbee’s case for a life sentence. It highlighted the violence in

prisons even in high security areas, escapes, and the privileges of inmates. Inexplicably, Ms. Evans

testified:

        --about guard training which was necessary to respond to riots and security issues in prison

(26 RR 5-16), including that persons convicted of a DWI could be a prison guard (26 RR 7);

        --that guards “[h]ave to be able to use force and deadly force, including the use of chemical

agents and firearms to control offenders” (26 RR 9);

        --that guards have training to deal with “riots and disturbances,” (26 RR 13);

        --that there is “gang involvement in the prison system” (26 RR 14, 36);

        – that“riots and hostage situations” are prevalent in prison along with contraband (26 RR 13-

14);

        --that there are sometimes “inappropriate relations between staff and inmates (26 RR 15);

        -- that “inmates and guards having sexual relations is a problem sometimes” and that the

training to prevent this is only two hours (26 RR 15-16);

        – that “sexual assault. That’s a fact of life in the prison system. The situation is that an

employee can be sexually assaulted as can another offender (26 RR 16);



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          --that inmates try to extort things from employees and other inmates, that some inmates

choose to harm others (26 RR 17);

          –that sometimes, chemical agents and tear gas are necessary to control prison riots (26 RR

18-20);

          –that officers are taken hostage and need to know “things you need to do to come out of the

situation alive” (26 RR 20);

          –that riot batons have to be used to control inmates (26 RR 21);

          —that despite all of the above-described dangerous situations, guards do not carry guns

inside the prison (26 RR 22);

          —the defense attorney mentioned the escape of “the Texas 7", “when they were in the

maintenance barn and they had access to some automotive tools or tools you can hurt someone with”

(26 RR 24);

          ---that “all the bad things that have happened within the prison system, there were policies

and procedures in place to prevent that from happening. Unfortunately, people don’t always follows

(sic) policies and procedures” (26 RR 32);134

          –that wardens have no control over who the parole board decides to let out of prison (26 RR

33);

          –that ‘most inmates that come into the system at some point or another they’re going to get

out (26 RR 37);

          –that some inmates are “a current escape risk, threat to the public, safety of the offender or

staff or public or threat to the order and security of the institution...” (26 RR 38);


          134
           This testimony alone would have largely negated any positive factors of the prior
testimony regarding prison policies and procedures.

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       —that inmates who are classified as G1 are trusted to go outside prison, “the person who

takes care of the lawns outside, works on a community service squad, works in agriculture, the guy

out on a horse checking on cows... “[h]e’s let out there by himself. You have to check on them about

every two hours” (26 RR 42);

       --that a person who is convicted of murder could be classified as a G2 the second lowest

security classification (26 RR 45);

       -- that offenders committed to TDCJ for G3 offenses of 50 years or more may serve only five

years before they can go to the lower G2 level (26 RR 46);

        --that a prisoner with a sentence of 50 years or more who are higher than a G3 can go down

to G3 level (26 RR 48);

       --once more testified that prisoners engage in assaults and violence (26 RR 49);

       –again reminded jurors that prisoners escape and assault officers (26 RR 51);

       –told jurors that everyone in the prison system is either in general population, administrative

segregation or death row (26 RR 52);

       –presented a 17-minute videotape tour of the Connelly Unit as it was a “footprint” of the

Polunsky Unit and “basically the same” as the Polunsky Unit in order to show the security

precautions similar to both units (26 RR 53-55);135

        --defense counsel, in questioning stated “That’s Martin Gerule. He was on death row, and

he escaped from death row.” (26 RR 57); Ms. Evans answered “He escaped from death row. He

and six other inmates attempted to escape. He was the only one who actually got out.” (26 RR 57-

58);


       135
           As discussed infra, this was disastrous as the Connelly Unit was the unit from which
the Texas 7 escaped.

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       —that people on death row have recreation, visitation, meals served in their cells,

commissary where “an inmate can purchase ice cream, cookies, a bowl, soup, tennis shoes, watch,

radio...”, they can be sent money, they have showers, are allowed mail (26 RR 60);

       –that the inmates ‘are not under direct supervision all the time” (26 RR 62);

       –that security measures and restrictions are greater on death row than for other prisoners (26

RR 65-67);

       --that the inmates in general population have television in the day room (26 RR 70);

       --gave qualified testimony that “[g]enerally they are under a very controlled environment.”

(26 RR 72);

       --that prison is a hazardous work environment with assaults on prison officers (26 RR 74);

       --that the current rules for changes in prisoner status are always subject to revision and may

not apply in the future. (26 RR 76);

       --that they are housing the “worst of the worst”, “from minimally bad people” to “people

who have done the most heinous thing you can imagine,” “[s]uch as brutally slaughtering innocent

people in their homes” (26 RR 74-77);

       –that some inmates intimidate weaker cellmates, commit violent acts against them, shake

others down for their commissary or sex and might get away with it (26 RR 80-81);

       –that the Texas 7 escaped from the Connelly Unit and that four of them were already

murderers and two are there for rape and one for injury to a child, all violent offenses (26 RR 84-85)

       --testified that there were 19,000 disciplinary convictions for assaults in the Texas prison

system in 2005 (26 RR 88);

       –that two death row inmates seized a guard and shackled her (26 RR 90);

       --was asked about reports of prior assaults and a rape of a corrections officer (26 RR 90);

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       --and stated that murderers are sometimes the best trustees. (26 RR 94-95);

       – that “I had an inmate who was an outside trustee who killed his girlfriend, chopped her up,

hid her body in a dump. He was an outside trustee, worked in our radio shop. Never had a problem

one with him. I’m sure he’s out on the streets by now.” (26 RR 95);

       –that she does believe in the death penalty (26 RR 95).

       Topping all of this, probably the most damaging testimony of this “defense” witness was

when she admitted that there were seven people who escaped from the Connally Unit in 2000, the

very same unit that was the subject of the videotape she showed at trial in an attempt to show high

security in prison (26 RR 84) and that they all eluded capture and they were walking around the

streets and they then murdered a police officer. (26 RR 84-86). Defense counsel stated that “the

Connelly Unit, the Polunsky Unit...are basically all the same” and the witness agreed, and the

Polunsky Unit and the Connelly Unit were “built on the same footprint.” (26 RR 53-54.) This

escape was very well-known and resulted in national publicity, and the presentation of these

damaging facts to the jury can be explained only by a lack of investigation and preparation. It defies

rational comprehension to imagine how any of Ms. Evans’ testimony could have possibly been

construed as helpful to the defense.



       B. What the state courts held and why this claim is not procedurally barred.

       This claim was brought in Mr. Barbee’s subsequent state habeas application and was

dismissed “as an abuse of the writ” because those allegations “do not satisfy the requirements of

Article 11.071 Section 5.” Ex parte Stephen Dale Barbee, No. WR-71,070-02, at 2. (Tex. Crim.

App. May 8, 2013)(Exhibit 52.) Hence, it was not denied on the merits but only on procedural



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grounds, and the 2254(d) standard of review does not apply.

       Any procedural default of this claim, for failure to raise it in his initial state habeas petition,

is excused under the Martinez/Trevino exception discussed supra, which provides “cause” for failure

to adequately raise it in that application. The prejudice to Mr. Barbee has been laid out in detail in

the factual summary of Ms. Evans’ testimony.



Claim Five(b): Ineffective assistance of counsel for failure to present mitigating evidence.

       A. Facts in Support.

       The rest of the defense penalty case, while perhaps not undeniably harmful like Ms. Evans’

testimony, did little to present the defense case for a life sentence. The defense called Nancy Kearly

to show Stephen’s involvement in church activities (25 RR 122-131); Petitioner’s mother Jackie

Barbee to provide brief family background (25 RR 134-150); Mary Hackworth and Jennifer Cherry,

Stephen’s sister and niece, who both testified that they loved and supported him(25 RR 153-157);

Ashley Vandiver, who testified that they met at church and she has visited him in jail (25 RR 161-

164); Denise Morrison, who testified that she became romantically involved with Stephen after his

divorce and did not believe Stephen committed the murders (25 RR 168-175); Christy McKemson,

who testified that she was there to support Stephen (26 RR 98-99); Jerry Jones, who testified that

Stephen’s family’s health has been affected by what has happened (26 RR 101-102); and David

Derusha, a bailiff in the trial court, who testified that Stephen had never been a problem during the

trial. (26 RR 105.)

       Inexplicably, none of these witnesses were asked to specifically address the crucial special

issue of future dangerousness and their assessment of the likelihood of Stephen committing future



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violent acts.136 This failure was particularly apparent with the defense witnesses who were called

simply to say they were there to support Stephen, such as Ms. Hackworth, Ms. Cherry, Ms.

Vandiver, and Ms. McKemson. The jury could well have made an adverse inference from this

glaring omission.

        Petitioner has appended to this petition a large number of declarations attesting to what could

have been presented at the penalty phase of Mr. Barbee’s trial in terms of mitigation evidence.

        Jackie Barbee, Stephen’s mother, would have had much to tell the jury had she been asked.

At trial, she testified briefly about family background (25 RR 134-150). However, had she been

properly prepared, her testimony would have told the jury a different story. She relates detailed

information regarding Stephen’s reading comprehension problems in school (Exhibit 19, 7/30/10

declaration, at 1); his academic struggles in school (Id.); his reactions to the death of his sister and

brother (Id. at 1-2); his service as a reserve police officer in the Blue Mound Police department (Id.

at 3); his hard work at his businesses (Id. at 3-4); Stephen’s serious head injury just a few months

prior to his arrest, caused by Ron Dodd (Id. at 5); his suicidal ideation in jail (Id. at 5); his history

of severe migraine headaches, which were a factor in his “confession” (Id. at 5); the motivation of

Ron Dodd and Theresa to blame the murders on Stephen (Id. at 3-7); and her testimony regarding

Stephen’s lack of a history of violence.

        Other witnesses could also have presented other important mitigating evidence. Sally Boyd

could have testified regarding Stephen being “polite and well-behaved” as a boy. (Exhibit 22.)

         Mandy Carpenter could have testified that Stephen was “very upbeat, happy, fun loving,


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            See Claim Five(c). The trial attorneys have tried to justify this failure based on a
spurious theory that Tim Davis told them about a road-rage incident and that if they had asked
the “future dangerousness” question, this incident would have been revealed. As shown herein,
this is simply untrue, and Mr. Ray and Mr. Moore’s explanation is bogus.

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having a good sense of humor, and very generous with people.” (Exhibit 23.) He “never showed

any signs of an anger problem or difficulty getting along with people.” (Id.) Yet she was never

contacted by the defense despite knowing Stephen for 21 years. (Id.)

       Jennifer Cherry was Stephen’s niece and she did testify briefly at the trial. (Exhibit 24 at 1.)

However she had much more to add had she been properly interviewed, as on the stand she “was

asked for virtually none of the information in this declaration.” (Id. at 3.) She was very close to

Stephen and was very close to him:

                I was born when Stephen was 14 and I felt he was more like a brother than an uncle.
       Throughout my childhood he was very playful, funny and very loving and it continued as
       such though my adult years. He loved to make me laugh and always made sure I was taken
       care of and happy as I was his only niece.
                Through out my life I noticed Stephen’s love for animals and children. He often
       brought home stray dogs that became a part of the Barbee family. He also taught children’s
       church along with Theresa and the kids loved him. I was involved with the puppet shows
       and vacation bible school under the guidance of Stephen and Theresa....
       (Id. at 1.)

       Ms. Cherry could have countered any suggestions that Stephen had a violent nature and

could have discredited the penalty phase testimony of Theresa:

               Theresa was mouthy and I noticed signs of this even before they were married. She
       would provoke Stephen into arguments and was very aggressive not only with speech but
       bodily as well. She would agitate Stephen until he would turn and leave, as that’s what
       Stephen does when he’s angry. He leaves the situation to cool off and then returns when his
       temper has leveled off. I never saw Stephen touch her or in any way engage in physical
       violence in one of their fights.
               On one occasion I was working at Cowboy Cutters in my office, which was approx.
       20 feet from Theresa’s office. I heard Stephen and Theresa arguing in the hallway so I
       stepped out of my office and watched the argument ensue. Theresa was up in Stephen’s face
       yelling and he was trying to leave. I had full view of both of them and Theresa did not
       notice I was watching as she was so engrossed in arguing with Stephen. They were standing
       in the hallway between Theresa’s office door and the door that went out to the shop area of
       the building. Once Stephen had had enough of Theresa’s yelling, he turned to leave through
       the shop door. I still had a clear view of Theresa and she followed him yelling as he was
       walking out. Stephen went through the door and Theresa was still in the hallway. I could
       see her clearly when all of a sudden she yelled loudly, “You hit me!” Stephen hitting her
       was impossible as he was already through the door, going towards the shop and Theresa was

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       standing there in the middle of the hallway, in my full view the whole time. Stephen never
       raised a hand to her or moved towards her in any threatening manner. She also said he tried
       to slam the door on her, which is a lie because when he was going out the door, she tried to
       grab him and stop him.
               Once he was in the shop, she called the police and lied about him hitting her once
       again. When the police arrived, she told them she had handled it and they left, no report was
       filed. They had a very tumultuous relationship at times but had many good times as well.

       After their separation and divorce, Theresa would say directly to me that she wished Stephen
       would die and wished he was out of the office. She used to think aloud that she wished there
       was a way to get rid of him. I was always shocked she would say these things to me as I was
       Stephen’s niece.
       (Id. at 1-2.)

       This testimony to rebut Theresa would have been extremely important, as the prosecution

presented little in terms of aggravating evidence aside from her allegations. Ms. Cherry could also

have discredited Theresa in terms of her animosity towards Stephen and motive to lie:

                During my employment with Cowboy Cutters, I observed Theresa operate the
       business in a shady manner. She never paid the bills on time and would avoid calls from
       creditors. She also paid her personal bills with company checks, and I know this for a fact
       because she had me write out the company checks and she would later sign them. I observed
       her embezzling thousands of dollars from Cowboy Cutters throughout the years of my
       employment. On one occasion, I was instructed by Theresa to forge a letter from a vendor
       as a letter of reference so that she could obtain a line of credit from the bank. I typed the
       letter and Theresa forged the vendor’s signature. When I told Stephen what was going on,
       he had no idea and confronted Theresa about the monies. Shortly after alerting Stephen of
       Theresa’s fraudulent money transactions, Theresa would no longer give me enough hours
       of employment to pay my bills so I left the company.
                While I was working at Cowboy Cutters, Theresa and Ron Dodd became
       romantically involved. I was surprised because through the years of Ron’s employment, he
       and Theresa had nothing nice to say to each other or about each other. From all my
       observations, I would have thought they hated each other. However, they did get together
       and was very open about it in the office and even brought their sexual relationship into the
       office. They were very open about their exploits and Theresa often talked about what a good
       lover Ron was. On one occasion, Theresa, Ron and I were sitting in Theresa’s office having
       a conversation which included them talking about sex and then the subject turned to Stephen
       and Cowboy Cutters. Theresa said, “I know he’s your uncle but I wish he would just die!
       There has got to be a way to get him out of the office.” Then Ron looked over at me and
       said, “One of these days I’m going to run this mother fucker”. He was referencing Cowboy
       Cutters. I was shocked they would say this to me.



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       Theresa often pitted the office employees against Stephen, telling them things he said about
       them in private conversations between him and Theresa, resulting in the office personnel
       disliking him.
                Lauren Edmondson, who also worked in the office, has written a book about her
       experience there. After Theresa took over, Lauren pronounced her the worst person ever to
       work for. Lauren no longer works for Theresa. Theresa filed a law suit to block the release
       of White Trash Inc., the book Lauren wrote.
       (Id. at 2-3.)

       Ms. Cherry also tells how she was rendered an ineffective witness as a result of Stephen’s

trial attorneys’ failure to investigate or develop what she had to say:

       At the time of Stephen’s trial, I talked with a defense mitigation expert who was developing
       mitigating evidence for Stephen’s attorney to use at the trial.
       I did testify during Stephen’s punishment phase, however, when I was on the stand, I was
       asked for virtually none of the information in this declaration. I do not know why as much
       of the information I have experienced first hand could have been useful in discrediting
       Theresa as a witness. Stephen’s attorneys only spoke to me once when they asked why
       Stephen would admit to something he didn’t do. I told them what Stephen told me when I
       asked him the same question, which was he was protecting his family because Ron
       threatened Stephen that if he told anyone what really happened, he would hurt his family;
       however the attorneys did not want to hear this I was never spoken to again.
       (Id. at 3-4.)

       Ms. Tina Church, a well-known investigator, offered her services to Mr. Ray on a pro bono

basis. He refused. (Exhibit 25, Declaration of Tina Church of July 21, 2010 at 2.) Mr. Ray and Mr.

Moore were more interested in having their client plead guilty than in developing evidence of his

innocence or mitigating evidence. (Id. at 2.) Ms. Church also discovered evidence of Theresa

changing the bonding policy to an insurance policy for which she was the beneficiary. (Id.)

       Calvin Cearley did not testify at the trial. (Exhibit 26, Declaration of Calvin Cearley.) If he

had, he would have told the jurors about Stephen being “very congenial, honest, caring of other,

respectful of others and very friendly and outgoing....He was always a kind and loving person.

Stephen always liked to make people laugh.” (Id.) His wife Nancy Cearley did testify but she could




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have gone into much more detail about Stephen’s activities with the church youth group. (Id.)

“Stephen was a very hard worker, dedicated to his job and took his job seriously being the

Children’s church leader. The children loved him. It was obvious to anyone whenever he walked

into the church, as they would all go running to him.” (Id.) Mrs. Cearley felt that “Stephen’s

attorneys were just going through the motions, as they did not question me in depth about my

knowledge of Stephen’s character, his family, his efforts for the church and his non-violent nature.

I was on and off the stand in a matter of minutes. Had I been properly prepared and questioned by

the defense attorneys, I would have been able to give a much more thorough and complete picture

of Stephen to the jury. (Id.)

       Mike Cherry is Stephen’s brother-in-law, having been married to his sister Kathy before her

untimely death. (Exhibit 27, Declaration of Mike Cherry.) He could have told the jury that Stephen

was

               very outgoing, bubbly...I found Stephen to be kind and courteous...Stephen was very
       devastated at the loss of my then-wife Stephen’s sister and shortly thereafter the death of his
       brother David...I would say that Stephen came from a very good stable environment, and the
       family attended church regularly...Stephen loved animals and children and they loved
       Stephen....
               In all of the years that I have known Stephen and Theresa I have never seen Stephen
       raise his hand to Theresa. Stephen would walk away from Theresa, because she would just
       go on and on trying to take control. Theresa would rather bite her nails off than be wrong
       about anything.
       (Id.)

       Yet despite this helpful information, both as to mitigation and to discredit the prosecution’s

picture of Stephen as violent, Mr. Cherry was never contacted by the defense attorneys. (Id.)

       Sharon Colvin, who was the co-pastor at the Azle Baptist Church, was never contacted by

the defense attorneys or asked to testify at trial. (Exhibit 28.) Had she been, she could have told the




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jury that

       We met the Barbee’s shortly after the death of their son David. At the time my husband was
       the pastor of the Azle Baptist Church. Stephen was dating Michele Cook whose mother
       Carol was a part time member of the church. I remember Steve as a jovial and friendly
       young man, funny and outgoing. I have nothing bad to say about him.
       (Id.).

       Ms. Colvin had additional testimony to rebut Stephen’s future dangerousness which will be

discussed in the next sub-claim.

       Tim Davis, a former business partner of Stephen’s was never asked by the attorneys to

testify. (Exhibit 29.) If he had been, he could have told them important information that would have

discredited Theresa’s testimony regarding violence:

       ...Everything about our friendship changed when Steve met Theresa. After they started
       dating Steve changed. She ruined him, changed him for the worst. Neither I nor my wife
       could stand Theresa. She was loud, crude and rude. My wife was the total opposite of
       Theresa in every way. After Steve decided to marry Theresa, I walked away from the
       business. I couldn’t stand her and what she had done to Steve. Once we were no longer
       business partners, our contact became less and less. Both of us were working a lot and had
       little time to socialize. Belisa and I did not want to socialize with Theresa.
       (Id.)

       Mr. Davis would also have had important information regarding Stephen’s future

dangerousness, which will be discussed in the next sub-claim.

       Jerry Dowling, in addition to being able to substantiate Stephen’s claim of actual innocence

(see Claim One), would have been a valuable witness at the punishment phase:

       Stephen was a very hard worker and a generous person. Stephen came from a very good
       stable family. The family had endured personal tragedy with the loss of his sister and brother
       and when Stephen and I would discuss this it would sadden Stephen. Stephen looked up to
       me like a father figure and would ask me questions or seek direction on personal matters as
       well as business matters.
       (Exhibit 30, Declaration of Jerry Dowling.)

       Mary Hackworth, Stephen’s aunt, did testify, but she had much more to say than what little



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she was asked at the trial. (Exhibit 31, Declaration of Mary Hackworth.) In the next sub-claim, we

will discuss what she could have said regarding the future dangerousness special issue, but she also

had a lot of general mitigating evidence that was never told to the jury:

                I have always known Stephen to be a loving, caring, wonderful child who went
        through extreme adversities due to the sudden death of his older sister Kathy, and then less
        than two years later, the death of his older brother David....
                Stephen has always been a very hard worker, and has always wanted to help others.
        Stephen was very fond of animals...
                On one occasion Stephen at his own expense flew from Fort Worth to South Carolina
        to put in a back yard for Gerald and me. Since he was very good at landscaping, he knew
        what needed to be done and he came on his own without us asking. Stephen did a wonderful
        job...
                Stephen was always a gentleman around women, and children loved him. During
        this visit with Jackie, I met with both trial attorneys Bill Ray and Tim Moore. All they
        wanted me to do was view the confession tape....
                On several occasions I tried to speak with both attorneys regarding what is stated in
        this declaration, however they would not listen. They did not prepare me for my testimony
        other than to tell me to just answer their questions that were limited to knowing and loving
        my nephew. I was more than willing to testify to what is in this declaration had I been asked
        to...
        (Exhibit 31, Declaration of Mary Hackworth.)

        Similarly, Christy Mackemson, the girlfriend of Stephen’s former roommate, did testify

briefly at the trial but there was much that she did not have the opportunity to tell Stephen’s jury:


        Steve was crazy about Trish’s kids and was very good with them....
        I never saw Steve angry. He was always fun and the life of the party....
        Basically, I told Steve’s jury that I was there to support him. Had the defense attorneys
        asked me more questions, I would have testified to what is in this declaration.
        (Exhibit 32, Declaration of Christy Mackemson.)

        Melody (Tarwater) Novak did not testify at trial. (Exhibit 33, Declaration of Melody

(Tarwater) Novak.) Had she been interviewed and talked to by the trial attorneys, she could have

told the jury that:

                I am Stephen’s cousin and I have known Stephen all of his life. Stephen was a fun
        loving kid, mischievous, and he loved collecting animals. He loved animals and was always
        good to them..

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              When I was a child I would visit with the Barbee family maybe once a year, and as
       I grew older I saw them more frequently. I knew the family was devastated at the loss of
       Kathy and, less than two years later, the loss of David. Stephen was very devastated. He
       was like a ‘lost puppy’ because the sublings were very close.
       (Exhibit 33, Declaration of Melody (Tarwater) Novak.)

       The evidentiary hearing held on Claim Two, the conflict of interest claim, necessarily

touched on this issue, as the prejudice component of the conflict claim. The testimony at that

hearing both amplified and supported the declarations summarized supra. The testimony has been

summarized supra in the factual summary of Claim Two, and that summary is incorporated herein

by reference. Hence, only a short synopsis of that testimony will be repeated here.

       At the evidentiary hearing, Amanda Maxwell testified that the medical records indicated that

Mr. Barbee had suffered a series of head injuries, had a suicide attempt and had a diagnosis of

bipolar disorder. (2 EH 34.) Mr. Barbee’s first head injury occurred when he was eight months old

and then he had another when he was 16, and 18 and then again at age 36 or 37. (2 EH 35.) This

last incident, shortly before his arrest, occurred when Ron Dodd, who was living with Petitioner’s

ex-wife, dropped a 400-pound pipe on Petitioner’s head. (2 EH 35.) Ms. Maxwell felt this injury

could have been of significant mitigating value at the punishment phase of the trial. (2 EH 36.)

       Mr. Barbee also had a history of drug use, specifically hydrocodone, as a result of severe

migraine headaches caused by the last head injury. (2 EH 36.) He was also taking Advil and

Tylenol. (2 EH 36.) Ms. Maxwell also became aware of Petitioner’s’s diagnosis of Lyme Disease.

(2 EH 37.) As a result of these factors, Ms. Maxwell recommended to Petitioner’s attorneys an

MRI, a cat-scan and a neuropsychological evaluation. (2 EH 37.) However, they did not respond

to this suggestion. (2 EH 38.) Ms. Maxwell also found out that Theresa Barbee had been

embezzling money from the businesses. (2 EH 39.)



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       Ms. Maxwell again requested a neuropsychiatrist and a psychiatrist and again there was no

response from Mr. Ray or Mr. Moore. (2 EH 42.) After Ms. Maxwell submitted her mitigation

report to Mr. Ray, she never heard from him. (2 EH 45.) Ms. Maxwell believed that the witnesses

were not prepared to testify and she was not allowed to meet with them to prepare them prior to the

trial. (2 EH 48.) They were only spoken to briefing by Mr. Keeton and told not to display any

emotion or cry. (2 EH 49.) In Ms. Maxwell’s opinion, the mitigation testimony in Mr. Barbee’s

trial was “not effective. Dismal. It was not the information that, had I been allowed to prepare the

witnesses, would have come forward.” (2 EH 49-50.) Additionally, she interviewed helpful

witnesses who were not called at trial. (2 EH 50.) The jury was not given information about Mr.

Barbee’s hydrocodone use, his good acts, his lack of prior arrests. (2 EH 50.) The relationship of

Theresa Barbee and Ron Dodd was not presented. (2 EH 54.) The numerous documents gathered

by Ms. Maxwell were not used at trial. (2 EH 55.) A number of stressor factors, such as business

pressures, were also not presented at trial. (2 EH 55-56, 70.) Also not presented was the fact that

Mr. Barbee had caught Theresa Barbee stealing from the company shortly before the murders. (2

EH 56.) Other mitigating stressor factors, such as 1) Petitioner’s wife pressuring him to recover

money from his ex-wife; 2) Petitioner finding out his father was dying from cancer just days before

his arrest; 3) fetal alcohol exposure; 4) his suicide attempts; 5) a car wreck when he was 16; and 6)

the blow to his head shortly before his arrest were not presented to the jury. (2 EH 57-59.)137

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             On cross examination, Ms. Maxwell testified that State’s witness Theresa Barbee
answered one question identifying herself as Ron Dodd’s boyfriend (2 EH 108); testified briefly
regarding the head accident with the pipe (2 EH 109-110); and mentioned Petitioner’s attempted
suicide (2 EH 111-112.) These incidents were not presented by defense witnesses but by Ms.
Barbee. (2 EH 124-125.) Jackie Barbee also mentioned her son’s service as a reserve police
officer. (2 EH 113-114.) However, beside these brief references, none of these factors were
developed by the defense as mitigation themes in terms of the two special issues and they were
“never presented, developed and supported by an expert.” (2 EH 125.) They weren’t “developed
and presented in a way as a mitigating factor” and this is what she meant when she said these

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        At the hearing, Tim Davis testified, among other things, about an automobile incident in

1996 or 1997. On the highway, in icy driving conditions, two people in a truck swerved in front

of Petitioner and Mr. Davis’ vehicle and forced them off the road. (2 EH 143.) The two men

approached their vehicle, so Mr. Davis and Mr. Barbee rolled down the window to see what they

wanted. (2 EH 143.) One of the other drivers tried to punch Mr. Davis so Petitioner and Mr. Davis

got out and defended themselves. (2 EH 143.) Then they got back in the truck and drive away. (2

EH 143) The other people were the aggressors, Mr. Davis and Petitioner were trying to defend

themselves, and no one was hurt. (2 EH 144.) At no time did Mr. Davis ever tell Petitioner’s

mitigation person or his attorneys that Petitioner tried to kill the other persons and it was nothing

even close to that. (2 EH 145.) The incident was a simple fistfight. (2 EH 145.) Mr. Davis did not

think that Petitioner was violent or that he would be likely to commit future acts of violence and he

had never seen him being the aggressor. (2 EH 144-145.) Mr. Davis would have been willing to

be a witness at Petitioner’s trial and if he had been called as a witness he would have told the jury

that he would “absolutely not” be a threat to society or likely to commit future violent acts. (2 EH

146.) Had he been asked any “have you heard” or “do you know” questions about Mr. Barbee’s past

incidences of violence, he would have said “I don’t know of any” such incidents. (2 EH 146.) Other

than the highway incident where they were defending themselves, “I’ve never seen Stephen be

aggressive at all.” (2 EH 146.) However, he was not asked to testify at Petitioner’s trial. (2 EH

147.)

        Calvin Cearley testified that Mr. Barbee and his wife led the children’s church program and




factors “were not presented.” (2 EH 125.)

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Mr. Barbee was the children’s church leader. (2 EH 167.) He loved children and animals and had

a happy temperament and was polite and respectful. (2 EH 168-169.) When Mr. Cearley heard

about the murders, his reaction was “unbelief.” (2 EH 169.) Yet he was not contacted by Mr.

Barbee’s defense attorneys at the time of his trial. (2 EH 170.) Had he been asked about the

likelihood of Mr. Barbee being a danger to society or committing future violent acts, he would have

told the jury that he was not such a danger. (2 EH 170.)

       Dr. Nancy Cearley, Calvin Cearly’s wife, was the former co-pastor of the church Mr. Barbee

used to attend. (2 EH 173-174.) She knew Mr. Barbee for 20 years. (2 EH 185.) She also testified

that the church needed a children’s church leader and Mr. Barbee took that role. (2 EH 174.) Under

his leadership, the program grew from about ten children to about 75 or 80. (2 EH 174.) Mr. Barbee

did this for two or three years. (2 EH 174.) His temperament was easy-going, very friendly and very

likeable, polite and respectful. (2 EH 175.) Dr. Cearley knew Mr. Barbee for about 20 years. (2 EH

175.) In that time, Dr. Cearley never knew Petitioner to commit any acts of violence. (2 EH 175.)

Dr. Cearley was a witness at Petitioner’s trial, but she was never asked about his character or

whether he would be likely to commit future violent acts. (2 EH 176.) Had this witness been asked

about her opinion as to the likelihood of Mr. Barbee committing future violent acts, she would have

said that he did not think he would be likely to commit these acts. (2 EH 177.)

       Mike Cherry, Petitioner’s ex-brother-in-law and an ordained minister, testified that Mr.

Cherry knew Mr. Barbee and Theresa had arguments but he never heard about anything physical.

(2 EH 190.) If he had been asked to testify at Mr. Barbee’s trial, he would have told the jury that

he was not likely to commit violent acts in the future. (2 EH 192.) There was only one occasion

where he had seen Mr. Barbee get into a fight and that was at a party when a guest was acting



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inappropriately and “dirty dancing” around children. (2 EH 193.) Mr. Barbee first asked the man

to leave but he didn’t. (2 EH 193.) Mr. Cherry had never heard of the alleged incident of road rage

and had he been asked about it, he would have said that he knew nothing about it. (2 EH 194.)

       Jennifer Cherry, Mr. Barbee’s niece and Mike Cherry’s daughter, testified that Mr. Barbee

ran the church children’s program and would put on puppet shows and the like for the children. (2

EH 204.) Theresa was living in this house with Ron Dodd at the time of the murders. (2 EH 205.)

It was a very large home, about 6000 square feet. (2 EH 205.) Jennifer became aware that Theresa

was embezzling from the company by paying her bills with company money. (2 EH 206, 207.) One

time, Theresa gave Jennifer $14,000 in cash to deposit and, when she learned that it would alert the

IRS, she wanted some of it back. (2 EH 207.) Theresa tried to keep Mr. Barbee from seeing the

cash. (2 EH 207.) Jennifer recalled an incident when they got into a yelling match and Theresa

accused Stephen of hitting her, which was false. (2 EH 210-211.) Although Jennifer told Stephen’s

attorneys about this incident, they did not want to hear it. (2 EH 211.) Jennifer had never seen

Stephen in a physical fight with Theresa. (2 EH 212.) After their separation and divorce, Theresa

said that she wished Stephen would die. (2 EH 214.) Although at the trial Theresa said she would

love Stephen until the day she died, in reality she had told Jennifer that she hated Stephen. (2 EH

216.) When Jennifer talked to Stephen’s attorneys, they seemed set on their opinions and thoughts

and they were not interested “in what any of us had to say much.” (2 EH 219.) She did not feel that

they prepared her to testify and all they said was “follow my lead.” (2 EH 219.) When Jennifer

testified, she was not asked any questions about her opinion of the likelihood of Stephen committing

future acts of violence, but if she had been she would have said that she did not think he would. (2

EH 220.) The attorneys never asked for her opinion as to Stephen’s future dangerousness. (2 EH



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220.) Her opinion was that he was not a future danger. (2 EH 220.) At trial she was just asked if

she loved Stephen. (2 EH 221.)

       Sharon Calvin testified that Stephen attended her church for about a year. (2 EH 226.) She

had nothing bad to say about Stephen. (2 EH 227.) His attorneys never asked her to testify at trial

although she would have been willing to do so. (2 EH 228.) She was never asked by Stephen’s

attorneys whether she thought he would be a future danger but if she had been so asked she would

have said that she “probably wouldn’t be.” (2 EH 228.)


       B. The State court holdings are erroneous as they are an unreasonable determination
       of the facts and contrary to and an unreasonable application of clearly established
       federal law.

       There is a full discussion of how the State courts erred in denying this claim of failure to

present mitigating evidence in the immediately following sub-claim. (Claim 5(c).) That discussion

is incorporated herein by reference. The CCA’s denial is largely based on the false and self-serving

affidavit of trial counsel, and other extra-record evidence, that clearly shows the existence of

controverted material issues of fact. The factual determinations of the CCA were clearly not

supported by the record, as shown herein. The CCA’s holding was also an unreasonable application

of clearly-established federal law (the Williams, Wiggins, Rompilla standard discussed in the legal

analysis section of this claim).

       The findings regarding this claim made in the subsequent state habeas application are also

flawed. For instance, some of the Subsequent Findings of Fact Nos. 105 through 139 basically offer

the flawed rationale that mitigating evidence was not presented because Mr. Barbee insisted he was

innocent, which is nonsensical. Some of the subsequent findings also attempt to justify the failure




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to offer any evidence as to the critical issue of future dangerousness on the basis of their

misrepresentation of the “road rage” incident and their fear that Me. Barbee’s “violent past” would

be exposed. Both these rationales have been shown to be bogus after-the-fact rationalizations by

the trial attorneys. The discussion of the Subsequent Findings of Fact in the following claim is

hereby incorporated by reference.

       C. Exhaustion and cause and prejudice.

       Respondent has previously conceded that this claim was brought in the initial round of state

court proceedings (Docket No. 40, RA at 41-46), but argued that it has no merit. (RA at 14-51.)

All evidence in support of this claim was brought before the state court either in the initial and/or

the subsequent habeas proceedings, extensive testimony was heard at the evidentiary hearing

regarding this claim, and the state court issued and adopted extensive findings and conclusions as

well as subsequent findings and conclusions as to this claim. Hence, as it was completely presented

in both rounds of state habeas proceedings, it is exhausted and not procedurally defaulted.

       Even if it were not, any procedural default of this claim, for failure to raise it in his initial

state habeas petition, would be excused under the Martinez/Trevino exception discussed supra,

which provides “cause” for failure to raise it adequately in his first state habeas application. The

prejudice component is discussed in the statement of facts pertaining to this claim.



Claim 5(c): Ineffective assistance of counsel in failing to present mitigating evidence regarding
the future dangerousness special issue.

       A. Facts in Support.

       Here again, virtually of the declarations attached to the petition show that these potential




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witnesses would have presented a dramatically different picture of the “future dangerousness”

special issue to Mr. Barbee’s jury, as well as the general mitigation themes discussed in the prior

sub-claim. Even those witnesses who were called were not even asked about their opinion as to Mr.

Barbee’s likelihood of committing future violent acts. As a result, Mr. Barbee’s non-violent nature

and low risk of future dangerousness was ever presented to his jury.

       Bobby Boyd, former Assistant Superintendent of the Azle Independent School District, was

not called as a defense witness. If he had, he would have testified that when he knew Stephen, he

“was a well-behaved young man when I knew him and his behavior was not out of the ordinary for

a young man his age...based on my knowledge of him when he was young, I do not think Steve has

a high probability of committing future violent acts.” (Exhibit 21, Declaration of Bobby Boyd.).

       Sallie Boyd states the same thing: “Steve was always polite and well-behaved...I do not think

Steve has a high probability of committing violent acts, nor would he be a threat to society.”

(Exhibit 22.)

       Mandy Carpenter, who has known Stephen Barbee for 21 years states:

                When I heard of the murders I was shocked, because this was not in Stephen’s
       character. I would describe Stephen as very upbeat, happy, fun loving, having a good sense
       of humor, and very generous with people. He was always fun to be around. Stephen never
       showed any signs of having an anger problem, or difficulty getting along with people. I
       never knew of Stephen to be a confrontational type of person....
                Despite my having known Stephen as long as I have, I was never contacted by his
       trial attorneys or anyone on his defense team. Had I been asked to testify during his trial,
       I would have said what is contained in this declaration. If asked if I thought that Stephen
       would be capable of committing future acts of violence, or be a threat to society, my answer
       would have been no.
       (Exhibit 23.)

       Jennifer Cherry, who did testify at Stephen’s trial, was never asked by the defense her

opinion on the crucial “future dangerousness” special issue. If she had been, she could have told



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the jury:


               Stephen and I are very close and I consider him one of my favorite uncles. I was born
       when Stephen was 14 and I felt he was more like a brother than an uncle. Throughout my
       childhood he was very playful, funny and very loving and it continued as such though my
       adult years. He loved to make me laugh and always made sure I was taken care of and
       happy as I was his only niece.
               Through out my life I noticed Stephen’s love for animals and children. He often
       brought home stray dogs that became a part of the Barbee family. He also taught children’s
       church along with Theresa and the kids loved him. I was involved with the puppet shows
       and vacation bible school under the guidance of Stephen and Theresa....
               Theresa was mouthy and I noticed signs of this even before they were married. She
       would provoke Stephen into arguments and was very aggressive not only with speech but
       bodily as well. She would agitate Stephen until he would turn and leave, as that’s what
       Stephen does when he’s angry. He leaves the situation to cool off and then returns when his
       temper has leveled off. I never saw Stephen touch her or in any way engage in physical
       violence in one of their fights.
               On one occasion I was working at Cowboy Cutters in my office, which was approx.
       20 feet from Theresa’s office. I heard Stephen and Theresa arguing in the hallway so I
       stepped out of my office and watched the argument ensue. Theresa was up in Stephen’s face
       yelling and he was trying to leave. I had full view of both of them and Theresa did not
       notice I was watching as she was so engrossed in arguing with Stephen. They were standing
       in the hallway between Theresa’s office door and the door that went out to the shop area of
       the building. Once Stephen had had enough of Theresa’s yelling, he turned to leave through
       the shop door. I still had a clear view of Theresa and she followed him yelling as he was
       walking out. Stephen went through the door and Theresa was still in the hallway. I could
       see her clearly when all of a sudden she yelled loudly, “You hit me!” Stephen hitting her
       was impossible as he was already through the door, going towards the shop and Theresa was
       standing there in the middle of the hallway, in my full view the whole time. Stephen never
       raised a hand to her or moved towards her in any threatening manner. She also said he tried
       to slam the door on her, which is a lie because when he was going out the door, she tried to
       grab him and stop him.
               Once he was in the shop, she called the police and lied about him hitting her once
       again. When the police arrived, she told them she had handled it and they left, no report was
       filed. They had a very tumultuous relationship at times but had many good times as well.
       ..
               I did testify during Stephen’s punishment phase however, when I was on the stand,
       I was asked for virtually none of the information in this declaration. I do not know why as
       much of the information I have experienced first hand could have been useful in discrediting
       Theresa as a witness. Stephen’s attorneys only spoke to me once when they asked why
       Stephen would admit to something he didn’t do. I told them what Stephen told me when I
       asked him the same question, which was he was protecting his family because Ron
       threatened Stephen that if he told anyone what really happened, he would hurt his family;
       however the attorneys did not want to hear this I was never spoken to again.

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               If I would have been asked by trial counsel during the trial if Stephen would be a
       future threat to society, my answer would have been no and it is still no today.
       (Exhibit 24.)

       Calvin Cearly was never called to testify at Stephen’s trial. If he had been, he would have

told the jurors that Stephen was

       very congenial, honest, caring of others, respectful of others, and very friendly and outgoing.
       I know that Stephen loved animals and children....When I heard about the murders and
       Stephen being arrested for them I was shocked. The Stephen that I knew would never have
       done anything like this, because he was always such a kind and loving person...At no time
       did any of Stephen’s defense team attempt to contact me prior to his trial, or at any time until
       this declaration....If I would have been asked if I would consider Stephen capable of
       committing future acts of violence my answer would have been no. I personally do not
       know of Stephen even having arguments with other people.
       (Exhibit 26.)

       Nancy Cearly, Calvin’s wife, did testify at Stephen’s trial but, as with all the witnesses called

by the defense, was never asked about the crucial question of future dangerousness. Had she been

properly prepared, she could have told the jury that:


       I have known the Barbee family since the late 1980’s. My husband Calvin and I had been
       given a pastor-ship at the Gospel Outreach Pentecostal Holiness Church in Azle Texas.
                Jackie and Bill Barbee were regular attendees at the church and as he reached his
       twenties, Steve began to attend regularly as well.My husband and I officiated at the wedding
       of Stephen and Theresa Barbee. The wedding was held at a local hotel and was a very nice
       affair. The Barbees and us had grown close by this time. We often socialized together
       outside of church. The two couples would frequently go out to dinner or to a function
       together. After the marriage of Steve and Theresa, they too would come out to dinner with
       us.
                The children’s church was not doing well and children were not attending. My
       husband and I asked Steve and Theresa if they would take over the program. They agreed.
       At the time, there were 10-12 children who came on a regular basis. After Steve and
       Theresa took over regular attendance soared to 50-75 children every Sunday. Steve loved
       the children and the children loved him. All the parents were very happy with how Steve
       and Theresa interacted with the children. They ran this program successfully for three
       years...
       Steve could never have committed such a crime and could not under any circumstances, kill
       a child. Steve loved children...
                I testified at Stephen’s trial, at the punishment phase. However, I felt that Stephen’s
       attorneys were just going through the motions as they did not question me in depth about my

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       knowledge of Stave’s character, his family, his efforts for the church and his non-violent
       nature. I was on and off the witness stand in a matter of minutes. Had I been properly
       prepared and questioned by the defense attorneys I would have been able to give a much
       more thorough and complete picture of Stephen to the jury. I feel that he is innocent of the
       crime for which he has been convicted and that a great injustice has taken place.
       (Exhibit 26.)


       Mike Cherry, who has known Stephen since he was 12, was never contacted by the defense

attorneys. If he had been, he could have told the jury that

               Stephen loved and still loves [his child] Jennifer very much....I would say that
       Stephen came from a very good stable environment, and the family attended church
       regularly...Stephen loved animals and children...In all of the years that I have known Stephen
       and Theresa I have never seen Stephen raise his hand to Theresa. Stephen would walk away
       from Theresa, because she would just go on and on trying to take control....When I first
       learned about the murders, I was in complete and total disbelief...I just said that is crazy,
       because Stephen would never hurt a child....
               I was never contacted by Stephen Barbee’s defense, and had I been I would have
       been willing to testify at Stephen’s trial in his defense on what is contained in this
       declaration. If I were to have been asked if Stephen Barbee would be a future threat to
       society I would say not at all.
       (Exhibit 27.)

       Sharon Colvin knew Stephen from the Azle Baptist Church were she was the co-pastor with

her husband. However, Ms. Colvin was never contacted by the defense attorneys. Had she been

asked to testify, she could have told the jurors that


               My husband B.M. Colvin and I were the pastors for the Azle Baptist Church. We
       met Stephen shortly after the death of his brother David when he began to attend church with
       Michele Cook, a semi regular parishioner. Michele dated Stephen when he was about 16 for
       a short period of time.
               We met the Barbee’s shortly after the death of their son David. At the time my
       husband was the pastor of the Azle Baptist Church. Stephen was dating Michele Cook
       whose mother Carol was a part time member of the church. I remember Steve as a jovial
       and friendly young man, funny and outgoing. I have nothing bad to say about him.
               Based on my knowledge of him, I do not think Steve has a high probability of
       committing future violent acts. I would have been willing to be a witness at Stephen
       Barbee’s trial. Had I been asked about Steve’s likelihood of committing future violent acts,
       I would have testified that I believe the risk would be very low.
               Around the time of Steve’s trial, I talked with Amanda Maxwell, an investigator and

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        mitigation expert working for Steve’s attorney, Mr. Bill Ray.          I told Ms. Maxwell
        everything that is in this declaration. However, I was never contacted by Steve’s attorneys
        and they never asked me to testify at Steve’s trial. Had they asked me to do this, I would
        have been willing to do so and I would have testified to what is in this declaration.
        (Exhibit 28.)


        Tim Davis was Stephen Barbee’s best friend for ten years, yet he was never asked to testify

at his trial. If he had, he could have told the jurors that


                 I was Stephen Barbee’s best friend for ten years. Steve lived with me and my wife
        in Burleson, Texas, for about one year. With Steve, we started the company which would
        eventually become All Four Seasons. Steve referred to me as “brother of mine.”
                 I first met Stephen at All Green Lawn Care in 1989-1990. We worked applying lawn
        chemicals. Steve had an apartment in Euless but stayed at least half of the time at his
        parent’s house in Azle. I was married in 1990 to a woman named Belisa. In about 1991
        Steve and I transferred to Ameritech where we continued to apply chemicals to lawns as well
        as sell lawn treatments. We remained at this company till about 1995 or 1996. We started
        doing a little tree work on the side. Jackie and Bill, Steve’s parents, bought the first tree
        truck and equipment. We worked on weekends and evenings when we got done with lawns.
         Steve was talking about getting state contracts to trim the power lines. We were making
        excellent money and both of us had a lot of money. We dressed well and drove nice cars.
        Steve could have any girl he wanted. He looked good and could really talk the talk. He had
        the gift of gab. He was dating Michele Howell at the time. I thought she was a really nice
        girl, quiet and sweet. Belisa and I were quiet people.
                 ...He was very respectful to Belisa and did his best to keep his stuff picked up. He
        was on his best behavior. Steve did not do a lot of running around. The three of us grilled
        or cooked at home most of the time. Steve moved back home with his parents after Belisa
        became pregnant. Steve was never a big drinker but he might occasionally have a drink or
        two socially. I never saw him intoxicated.
                 ...Everything about our friendship changed when Steve met Theresa. After they
        started dating Steve changed. She ruined him, changed him for the worst. Neither I nor my
        wife could stand Theresa. She was loud, crude and rude. My wife was the total opposite of
        Theresa in every way. After Steve decided to marry Theresa, I walked away from the
        business. I couldn’t stand her and what she had done to Steve. Once we were no longer
        business partners, our contact became less and less. Both of us were working a lot and had
        little time to socialize. Belisa and I did not want to socialize with Theresa.
                 Around the time of Steve’s trial, I talked with Amanda Maxwell, an investigator and
        mitigation expert working for Steve’s attorney, Mr. Bill Ray. We had a long talk when I was
        visiting Steve in jail. I told Ms. Maxwell everything that is in this declaration. However,
        I was never contacted by Steve’s attorneys and they never asked me to testify at Steve’s trial.
        Had they asked me to do this, I would have been willing to do so and I would have testified
        to what is in this declaration.

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       (Exhibit 29.)


       Jerry Dowling was Stephen’s father-in-law and the father of his ex-wife Theresa. If he had

been called as a witness, he could have told the jury that

               Stephen was a very hard worker, and a generous person. Stephen came from a very
       good stable family...When I heard about the murders of Lisa Underwood and her child, and
       that Stephen had been arrested I was shocked, and could not believe this at all....I met Ron
       Dodd and my first impression was that he was a smart ass, loud mouth, and obnoxious.
       When Theresa wanted me to meet him, I told her I did not want to meet him and wanted
       nothing to do with him. I knew that Ron Dodd was like a dog that would come up to the
       back door and Theresa was feeding him. He was there for the money. Big money was being
       thrown around.
               If I had been called to testify at Stephen’s trial, I would have clearly stated that
       Stephen would not be a future threat to anyone in prison or in the free world.
       (Exhibit 30, Declaration of Jerry Dowling.)

       Mary Hackworth was Stephen’s aunt and although she did testify at the trial, it was

extremely brief and it did not cover the crucial issue of future dangerousness. Had she been properly

interviewed and prepared, Ms. Hackworth would have told the jury that

               I have always known Stephen to be a loving, caring, wonderful child who went
       through extreme adversities due to the sudden death of his older sister Kathy, and then less
       than two years later, the death of his older brother David....
               Stephen has always been a very hard worker, and has always wanted to help others.
       Stephen was very fond of animals...
               On one occasion Stephen at his own expense flew from Fort Worth to South Carolina
       to put in a back yard for Gerald and me. Since he was very good at landscaping, he knew
       what needed to be done and he came on his own without us asking. Stephen did a wonderful
       job...
               Since he was a child, I have always known Stephen to walk away from any kind of
       confrontation. Once, Stephen was grilling steaks on the grill and had put barbeque sauce on
       Theresa’s steak. She became so outraged that it scared both Gerald and myself. She went
       into a total rage and threw her engagement ring on the floor, and Stephen was so
       embarrassed that he just walked out the door. She went right after him, screaming and
       making a huge spectacle of herself, but Stephen finally calmed her down....
               No one could even comprehend this [Stephen’s arrest] especially as the victims were
       a pregnant woman and a small child.
               Stephen was always a gentleman around women, and children loved him. During
       this visit with Jackie, I met with both trial attorneys Bill Ray and Tim Moore. All they
       wanted me to do was view the confession tape....

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                 On several occasions I tried to speak with both attorneys regarding what is stated in
        this declaration, however they would not listen. They did not prepare me for my testimony
        other than to tell me to just answer their questions that were limited to knowing and loving
        my nephew. I was more than willing to testigy to what is in this declaration had I been asked
        to. If the attorneys had asked me about Stephen’s risk of committing future violent acts, I
        would have told the jury that I believed his chances were small.
        (Exhibit 31, Declaration of Mary Hackworth).


        Similarly, Christy Mackemson did testify very briefly at Petitioner’s trial but was not asked

about her views about his potential for future dangerousness:


                 I never saw Steve angry. He was always fun and the life of the party. Based on my
        prior knowledge of him, and his love for Trish’s kids, it is hard for me to believe that Steve
        is guilty of these murders. Based on this knowledge, I do not think that Steve would be a
        high risk of committing future acts of violence.
                 Around the time of Steve’s trial, I talked with an investigator and mitigation expert
        working for Steve’s attorney. I told the investigator everything that is in this declaration.
        I did testify briefly at Steve’s trial. Basically, I told Steve’s jury that I was there to support
        him. Had the defense attorneys asked me more questions, I would have testified as to what
        is in this declaration. I would have also told the jurors that, based on my knowledge of Steve
        from when I knew him, I believe that he is a very low risk of committing future acts of
        violence.
        (Exhibit 32, Declaration of Christy Mackemson).


        Melody (Tarwater) Novak, Stephen’s cousin, has known Stephen all his life yet she was

never contacted by the trial attorneys. Had she been called to testify at the trial, she could have told

the jury that

        Stephen was a fun loving kid, mischievous, and he loved collecting animals...He also loved
        children and children loved him. My granddaughter adored Stephen...
        I was shocked to learn that Stephen had been arrested for something like this, and I still don’t
        believe that he would be capable of such an act....
        Stephen’s attorneys never contacted me. However, if I had been, I would have been willing
        to testify to what is in this declaration. If I would have been asked it (sic) Stephen would
        be a future danger to society my answer would have been no.
        (Exhibit 33, Declaration of Melody Novak.)

        The trial attorneys had Mr. Barbee evaluated by Dr. Kelly Goodness, Ph.D. (Exhibit 18,


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Letter of Dr. Kelly Goodness.) She conducted a dangerousness risk assessment on Mr. Barbee. She

noted that Mr. Barbee had never been a problem while he was housed in the local jail awaiting trial.

(Id. at 1.) She revealed that he had been diagnosed positive for Lyme’s Disease and which may

explain his symptoms and behavior. (Id. at 2.) As it was treatable with antibiotics, it could be seen

as more mitigating than aggravating. (Id.) She did not think that Mr. Barbee would be a future

danger. Yet she did not testify.

       The evidentiary hearing held pursuant to the subsequent state habeas application touched on

this issue, although the hearing itself was on the conflict of interest issue. Evidence was presented

that reenforced Mr. Barbee’s showing of deficient performance and prejudice under the Strickland

standard. The factual summary of the hearing testimony in Claim 2 is incorporated herein by

reference.

       Briefly, some highlights of the evidentiary hearing testimony were as follows:

       1) Amanda Maxwell testified that Mr. Ray told her that she should include in her mitigation

report “all of the good stuff and all of the bad information that I received from the witnesses...” (2

EH 32.) She later realized that this is not the normal practice in mitigation work. (2 EH 32.) Ms.

Maxwell also considered it to be a bad practice because it turned Mr. Barbee’s mitigation report into

an “aggravation report” and it also became subject to discovery. (2 EH 33.) She did not know why

Mr. Ray wanted the “bad” information written down in the report. (2 EH 33.) In seven or eight

years of mitigation training, Ms. Maxwell has been taught that it is “standard procedure” not to write

down bad or negative information as it may become discoverable. (2 EH 123-124.)




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       2) Ms. Maxwell requested and reviewed Petitioner’s mental and physical health records and

recommended to Petitioner’s attorneys an MRI, a cat-scan and a neuropsychological evaluation. (2

EH 37.) However, they did not respond to this suggestion. (2 EH 38.)

       3) Ms. Maxwell found out that Theresa Barbee had been embezzling money from the

businesses. (2 EH 39.) Theresa Barbee was also trying to obtain 51 per cent ownership of the

businesses so she could apply for a minority business loan. (2 EH 40.) At this time, Theresa Barbee

was living with Ron Dodd who had dropped the pipe on Petitioner’s head. (2 EH 40.)

       4) Mr. Ray did not allow Ms. Maxwell to order any of Petitioner’s records although she had

requested them. (2 EH 42.) Eventually, she had to go to Azle, Texas and obtain the records

personally. (2 EH 42.) Ms. Maxwell again requested a neuropsychiatrist and a psychiatrist and

again there was no response from Mr. Ray or Mr. Moore. (2 EH 42.) The overriding issue was to

have Mr. Barbee plead guilty. (2 EH 43.)

       5) After Ms. Maxwell submitted her mitigation report to Mr. Ray, she never heard from him.

(2 EH 45.) At one point prior to trial, the defense investigator Kathy Minnick disappeared. (2 EH

45. Ms. Maxwell believed that the witnesses were not prepared to testify and she was not allowed

to meet with them to prepare them prior to the trial. (2 EH 48.) They were only spoken to briefing

by Mr. Keeton and told not to display any emotion or cry. (2 EH 49.) In Ms. Maxwell’s opinion,

the mitigation testimony in Mr. Barbee’s trial was “not effective. Dismal. It was not the information

that, had I been allowed to prepare the witnesses, would have come forward.” (2 EH 49-50.)

       6) Additionally, she interviewed helpful witnesses who were not called at trial. (2 EH 50.)

The jury was not given information about Mr. Barbee’s hydrocodone use, his good acts, his lack of




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prior arrests. (2 EH 50.) The relationship of Theresa Barbee and Ron Dodd was not presented. (2

EH 54.) The numerous documents gathered by Ms. Maxwell were not used at trial. (2 EH 55.)

       7) A number of stressor factors, such as business pressures, were also not presented at trial.

(2 EH 55-56, 70.) Also not presented was the fact that Mr. Barbee had caught Theresa Barbee

stealing from the company shortly before the murders. (2 EH 56.) Other mitigating stressor factors,

such as 1) Petitioner’s wife pressuring him to recover money from his ex-wife; 2) Petitioner finding

out his father was dying from cancer just days before his arrest; 3) fetal alcohol exposure; 4) his

suicide attempts; 5) a car wreck when he was 16; and 6) the blow to his head shortly before his

arrest were not presented to the jury. (2 EH 57-59.)

       8) Although Ms. Maxwell has worked on 16 additional capital cases, she had never seen

another such case handled as this one was. (2 EH 60-61.) Mr. Ray and Mr. Moore found Petitioner

disgusting because he cried. (2 EH 61.) At the conclusion of this case, Mr. Ray stated that “we will

all end up in federal court answering for this case.” (2 EH 63.)

       9) Ms. Maxwell wrote that Mr. Davis “would be a good witness....I don’t think he would go

into court and say anything negative about Steve” and “we could explore this with him, he would

be a good witness.” (2 EH 118.) Ms. Maxwell testified that Mr. Ray and Mr. Moore’s affidavit,

where they stated that “applicant attempted to kill the driver of the other vehicle” was not accurate

and there was nothing in her report to that effect. (2 EH 119.) She testified that in effect Petitioner

was the victim of this “road rage” incident as the other men first punched Petitioner and Mr. Davis.

(2 EH 120.)

       10) In her opinion, this incident would not justify the defense attorneys’ attempt to

characterize it as a valid reason to preclude any mention of future dangerousness. (2 EH 121.) The



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police were not called, she was unaware of any other witnesses to the incident, and the defense

attorneys’ characterization of it as an “attempt to kill” the other driver was a lie (2 EH 121) and a

mis-characterization of what was in the report. (2 EH 130.)

       11) Tim Davis testified that “”I’ve been told that Stephen’s attorneys stated in the[ir]

affidavit that I told them that Stephen attempted to kill the driver of the other vehicle. That is

completely and totally untrue and a lie.” (2 EH 163.) He also reaffirmed his declaration statement

that “there is no way I believe that Stephen could have killed anyone.” (2 EH 164.)

       12) As to the “road rage” incident, in icy driving conditions, two people in a truck swerved

in front of Petitioner and Mr. Davis’ vehicle and forced them off the road. (2 EH 143.) The two

men approached their vehicle, so Mr. Davis and Mr. Barbee rolled down the window to see what

they wanted. (2 EH 143.) One of the other drivers tried to punch Mr. Davis so Petitioner and Mr.

Davis got out and defended themselves. (2 EH 143.) Then they got back in the truck and drive

away. (2 EH 143) The other people were the aggressors, Mr. Davis and Petitioner were trying to

defend themselves, and no one was hurt. (2 EH 144.)

       13) At no time did Mr. Davis ever tell Petitioner’s mitigation person or his attorneys that

Petitioner tried to kill the other persons and it was nothing even close to that. (2 EH 145.) The

incident was a simple fistfight. (2 EH 145.) Mr. Davis did not think that Petitioner was violent or

that he would be likely to commit future acts of violence and he had never seen him being the

aggressor. (2 EH 144-145.)

       14) Mr. Davis would have been willing to be a witness at Petitioner’s trial and if he had been

called as a witness he would have told the jury that he would “absolutely not” be a threat to society

or likely to commit future violent acts. (2 EH 146.) Other than the highway incident where they



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were defending themselves, “I’ve never seen Stephen be aggressive at all.” (2 EH 146.) However,

he was not asked to testify at Petitioner’s trial. (2 EH 147.)

       15) Calvin Cearley, testified that Mr. Barbee and his wife led the children’s program and

Mr. Barbee was the children’s church leader (2 EH 167); he loved children and animals and had

a happy temperament and was polite and respectful (2 EH 168-169); he was not contacted by Mr.

Barbee’s defense attorneys at the time of his trial (2 EH 170); and had he been asked about the

likelihood of Mr. Barbee being a danger to society or committing future violent acts, he would have

told the jury that he was not such a danger. (2 EH 170.)

       16) Dr. Nancy Cearley testified that the church needed a children’s church leader and Mr.

Barbee took that role (2 EH 174); under his leadership, the program grew from about ten children

to about 75 or 80 (2 EH 174); Mr. Barbee did this for two or three years (2 EH 174); his

temperament was easy-going, very friendly and very likeable, polite and respectful (2 EH 175);

Dr. Cearley knew Mr. Barbee for about 20 years (2 EH 175) and in that time, Dr. Cearley never

knew Petitioner to commit any acts of violence. (2 EH 175.)

       17) Dr. Cearley was a witness at Petitioner’s trial, but she was never asked about his

character or whether he would be likely to commit future violent acts. (2 EH 176.) Had this witness

been asked about her opinion as to the likelihood of Mr. Barbee committing future violent acts, she

would have said that he did not think he would be likely to commit these acts. (2 EH 177.)

       18) Mike Cherry, Petitioner’s ex-brother-in-law and an ordained minister, testified that he

has known Mr. Barbee since he was 10 or 11 years old (2 EH 187, 199); Mr. Cherry married

Kathy, Mr. Barbee’s sister, in 1980 (2 EH 188); Kathy died at age 20 and this affected Mr. Barbee

greatly (2 EH 189); Mr. Barbee also had a brother, David, who also died at age 20 in a car accident.



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(2 EH 189-190.)

       19) Mr. Cherry never talked to Mr. Barbee’s attorneys. (2 EH 192.) If he had been asked

to testify at Mr. Barbee’s trial, he would have told the jury that he was not likely to commit violent

acts in the future. (2 EH 192.) There was only one occasion where he had seen Mr. Barbee get into

a fight and that was at a party when a guest was acting inappropriately and “dirty dancing” around

children. (2 EH 193.)

       20) Jennifer Cherry, Mr. Barbee’s niece and Mike Cherry’s daughter, testified that Mr.

Barbee ran the church children’s program and would put on puppet shows and the like for the

children (2 EH 204); at the time of the murders, Theresa was still in debt to Jackie Barbee as

Theresa had taken out a loan to build a cabana in their back yard (2 EH 204); and Theresa was living

in this house with Ron Dodd at the time of the murders (2 EH 205). It was a very large home, about

6000 square feet.

       21) Jennifer became aware that Theresa was embezzling from the company by paying her

bills with company money. (2 EH 206, 207.) One time, Theresa gave Jennifer $14,000 in cash to

deposit and, when she learned that it would alert the IRS, she wanted some of it back. (2 EH 207.)

Theresa tried to keep Mr. Barbee from seeing the cash. (2 EH 207.)

       22) When Jennifer talked to Stephen’s attorneys, they seemed set on their opinions and

thoughts and they were not interested “in what any of us had to say much.” (2 EH 219.) She did not

feel that they prepared her to testify and all they said was “follow my lead.” (2 EH 219.) When

Jennifer testified, she was not asked any questions about her opinion of the likelihood of Stephen

committing future acts of violence, but if she had been she would have said that she did not think

he would. (2 EH 220.) The attorneys never asked for her opinion as to Stephen’s future

dangerousness. (2 EH 220.) Her opinion was that he was not a future danger. (2 EH 220.) Although

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she knew Tim Davis, she had never heard of an incident where they were the victims of road rage.

(2 EH 220.) Stephen’s attorneys never asked her about this incident. (2 EH 220.) At trial she was

just asked if she loved Stephen. (2 EH 221.)

        23) Sharon Calvin testified that she met Stephen Barbee in 1984. (2 EH 226.) She was

friends with his mother. (2 EH 226.) Stephen attended her church for about a year. (2 EH 226.) She

had nothing bad to say about Stephen. (2 EH 227.) His attorneys never asked her to testify at trial

although she would have been willing to do so. (2 EH 228.) She was never asked by Stephen’s

attorneys whether she thought he would be a future danger but if she had been so asked she would

have said that she “probably wouldn’t be.” (2 EH 228.)


        B. No “strategic decisions” excuse this failure as the State courts erroneously held, and
        the State court’s denial of this claim was an unreasonable determination of the facts
        and an unreasonable application of clearly established federal law.138

        i. The state court holding was an unreasonable determination of the facts under
        2254(d)(2).

        When the State asked for affidavits from the trial attorneys, and the state habeas court

obligingly complied with this request, Mr. Ray and Mr. Moore attempted to provide some

justification for their inaction at the penalty phase. (Exhibit 37.) But in reality, their joint affidavit

actually shows that they have inadvertently admitted their own ineffectiveness. In addition it

contains serious misrepresentations and it is both internally contradictory and contradicted by the

very appendices they attached to it. Far from showing that they acted effectively, it actually shows

the exact opposite.




        138
             The following analysis relates to all claims and sub-claims of punishment phase
ineffective assistance of counsel and is incorporated herein as to all such claims and sub-claims.

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       Initially, the attorneys state

       Applicant initially explained that the murders were accidental. This was shown by the letter
       Applicant wrote to counsel, which was provided to habeas counsel, and is attached hereto,
       wherein Applicant basically says that he accidentally killed Lisa and Jayden Underwood.
       Applicant ultimately took the position that Ron Dodd killed Lisa and Jayden Underwood and
       Applicant was not present when that happened.
       (Id. at 2.)139

       Petitioner’s attorneys’ actions, in choosing to reveal their client’s privileged confidential

communications in order to defend themselves, have actually shown quite clearly where their

loyalties lie. However, the very letter that they point to actually shows something else:

       Det. Jamison kept asking me questions about the ware-abouts (sic) of Lisa. That I knew
what   happened to them. I said no. They kept saying that I knew something. I kept saying no.
       I wasn’t there.
                They (Det.) Would leave and come back. They kept saying that I knew what
       happened. I kept telling them, I didn’t do it. I wasn’t there. Det. Jamison left and det.
       Carroll stayed. He was asking me if I knew what had happened, I said I didn’t know.
                Det. Carroll left, stayed a long time. I almost fell asleep. Det. Carroll finally came
       back. He said something about DNA on a fence. I said what? He said ‘nothing.’ Then he
       said do [I] know anything about 407 and a gas can because Ron Dodd had told him (Det.
       Carroll) that he saw me in 407 and a gas can. I sit down and said why would he say that for.
       Det. Carroll said that Ron was taking them there where Ron saw me on 407 with the bodies.
       Det. Carroll ask me where were they. I didn’t say any thing, still asking myself why would
       Ron say that for, it sounded like he was blaming me for everything, because Ron Dodd was
       driving right behind me. And he knew what he did. Det. Carroll said I know you did it! I
       said no, no.
                Det. Carroll said, I know you did it, while he hit his fist on the desk, where I was
       sitting. And if I don’t say something, that they will look at me as a cold blooded killer and
       that was the death penalty. I said, I wasn’t there.
                Det. Carroll said they have enough evidence to convict me with capital murder and
       that was the death penalty. I was till thinking about the death penalty. I said no. Det. Carroll
       asked if it was an accident because those things happen. With me thinking about it all, and
       Det. Carroll said he was leaving and the talking was over when he left. If I didn’t say
       anything I was going to die, and look like a cold-blooded killer. Det. Carroll opened the
       door, I said wait a minute. That’s when I said it was an accident thinking that a accident was
       a accident (sic). I told him that Lisa and I got into argument and she kicked me, and I hit her
       in the nose and I held her down too long, and her son was screaming and I put my hand over

       139
             As we will see, both the “initial” explanation and Mr. Barbee’s “ultimate” position
occurred well before Mr. Ray and Mr. Moore were appointed to the case, and their attempt to
cite this as a rationale for being hamstrung in their defense efforts is bogus.

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       his mouth until he stopped screaming. Then I went to jail.
       (Exhibit 37, Stephen Barbee’s Letter To Counsel About His Version Of The Events
       Concerning The Death Of Lisa And Jayden Underwood.)

       It is clear in this letter that Stephen is explaining how he came to falsely confess to the

killings, and not that this was what he actually did. He repeatedly states in this same letter that he

was not there and explains how he believed that if he told Det. Carroll it was an accident that he

would not get the death penalty. Yet his attorneys have attempted to construe this as an admission

of guilt to them. Their statements that “Applicant initially explained that the murders were

accidental” and then “Applicant ultimately took the position that Ron Dodd killed Lisa and Jayden

Underwood and Applicant was not present when that happened” are also false, as their own affidavit

repeatedly states that Stephen has maintained his innocence from the beginning of their

representation. (E.g., “Applicant consistently stated that Ron Dodd was the real killer, Exhibit 37,

Counsel’s Joint Declaration, at 5; “Applicant was steadfast in his assertion that he was innocent”,

Id. at 5; “Applicant maintained that he was completely innocent” Id. at 6; “Client has maintained

his innocence to attorneys since the date of appointment”, Memo of Understanding, appendix to

Exhibit 37.) In fact, Stephen takes this position in the very letter they cite. Apparently, Mr. Ray and

Mr. Moore, in attempting to claim that their client was “continuously changing his version of the

events” (Id. at 2) have forgotten their oft-repeated main theme, that they were hamstrung from the

outset because their client has always insisted that he was innocent. (Id. at 5-7).

       The “Memo of Understanding Between William Ray, Tim Moore, and Stephen Barbee” that

the attorneys submitted in support of their affidavit is also extremely troubling. First, it was

obviously prepared to use against their client at some future date. The fact of its existence is, in




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itself, disturbing and evidence of a conflict of interest.140 It also shows that both Mr. Ray and Mr.

Moore felt that their representation was so deficient that some such protection would be needed in

the future against a claim of ineffective assistance of counsel. Additionally, it contradicts the

attorneys’ own affidavit. Point 4 of this Memo states that “Client then said to the detectives that the

murders were accidental in that client felt that he would not then be in trouble.” Memo of

Understanding, appendix to Exhibit 37. This mirrors what the attorneys state in their affidavit. (Id.

at 2.) Yet this statement in the Memo is crossed out and replaced by “The detective advised client

that a accident was a accident it would be better on me rather than death.” Id. The attorneys have

attempted to twist their client’s statements into an admission of guilt in order to absolve themselves

of their own ineffectiveness.

        The attorneys state that “[w]e also consulted with and interviewed witnesses concerning

Applicant’s family background.” (Id. at 3.) The total inadequacy of this “consultation and

investigation becomes apparent in the declarations attached to this petition (Exhibits 16, 19 to 34)

(discussed at length supra) where the vast majority of the declarants state that they had no

interaction whatsoever with the attorneys. Testimony at the evidentiary hearing, summarized supra,

also bears this out.

        Next, the attorneys attempt to absolve themselves of the claim involving not letting their

client testify. In so doing, they engage in a remarkable piece of sophistry:

        Concerning the subject of Applicant not being allowed to testify at the suppression hearing,
        we submit that is not correct. Attached hereto is an agreement, which was provided to
        Applicant’s counsel, that indicates Applicant’s desire to not testify, as well as the portion

        140
            The State’s Subsequent Findings of Fact in the subsequent writ application (Exhibit
54) again show the obvious conflict here. Subsequent Findings of Fact Nos. 137 and 138
simply state that the preparation and use of the “memorandum of understanding” “was not a
conflict of his [Mr. Ray’s] interests with the applicant’s interests.” This conclusion flies in the
face of the facts.

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        of the record where Applicant stated that he did not want to testify. While it does not appear
        in the record on the hearing on the Motion to Suppress, the only version of the facts
        concerning the voluntariness of his confession would be the testimony of the police.
        Applicant continued to refuse to testify. Item 2 of the Memo of Understanding, which
        Applicant marked out, is the real reason that Applicant did not want to testify, that being that
        Applicant’s mother was convinced by persons unknown to us that Applicant would waive
        all rights if he testified. Applicant and his counsel are lying on this matter.141 Applicant
        refused to testify and it was his decision to do so.
        Id. at 4.(emphasis added)

        Thus, according to the trial attorneys, the “real reason” Mr. Barbee did not testify is in a

passage that he crossed out. This Memo, drafted by the attorneys for the sole purpose of possible

later use against their client, indicates in Point 1 that “Attorney’s (sic) have been told on numerous

occasions by client, that client does not want to testify in this case, either at guilt/innocence or...”

and then “punishment phases” is crossed out and initialed. Id., Memo of Understanding, appendix

to Exhibit 37.) Then Mr. Barbee crosses out entirely the attorneys’ cited justification regarding his

mother being told that testifying was a waiver. (Id.) At most, this shows an unwillingness to testify

at the guilt/innocence phase, which the court transcript attached to the affidavit shows. (24 RR 171-

173.)

        Mr. Ray and Mr. Moore point to a letter from Dr. Shupe “that indicates that if Applicant

would have taken some responsibility for his actions, he might have been able to receive a life

sentence.” (Exhibit 37 at 5.)142 This is illogical, as the failure to present mitigating evidence and

evidence of a lack of potentiality for future dangerousness had nothing to do with Petitioner’s

acceptance of guilt. Additionally, if this reasoning is accepted, counsel would be excused from their




        141
              The trial attorneys calling state habeas counsel a “liar” needs no further comment.
        142
          Dr. Shupe did not testify at trial, and Petitioner has been afforded no opportunity to
cross-examine him in an evidentiary hearing.

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own ineffectiveness in all cases in which an innocent client has been wrongfully convicted unless

that client wants to accept “responsibility” for something they did not do. This reasoning also

mirrors the attorneys’ own belief that Petitioner was guilty and that fact absolved them of any

deficiencies in the penalty phase.

       From here, the logic deteriorates even further. The attorneys then state that

       Applicant claims in his Third Claim for relief that Amanda Maxwell, our mitigation
       specialist, had provided useful information that was not used in Applicant’s trial. Maxwell
       stated in her affidavit that she provided several witnesses and a history of head in juries (sic)
       that could have helped in Applicant’s case. We discussed what we were provided from Ms.
       Maxwell, and determined not to present the head injury theory because that theory would
       necessitate that Applicant was in fact guilty as charged.
       (Exhibit 37 at 6.)

       The French have a well-known saying: “qui s’excuse, s’accuse.” (He who excuses himself,

accuses himself). That saying is particularly appropriate here, where Mr. Ray and Mr. Moore’s

affidavit actually shows the exact opposite of its intent, as it highlights the lack of any reasonable

strategic decisions on their part, as well as some very strange conceptions about mitigating evidence.

Additionally, they trip all over themselves in trying to arrange the facts in their favor. Here, they

believe that the presentation of the head injury “would necessitate that Applicant was in fact guilty

as charged.” (Id.) The logic of this statement is inscrutable. In other words, only the guilty suffer

from head injuries? Or, perhaps, the innocent just don’t get head injuries? The metaphysical

implications of this statement exceed the bounds of rational analysis and are thus well within the

bounds of “an unreasonable determination of the facts” under 2254(d)(2).143

       143
            The state habeas court, and hence the CCA, similarly adopted this nonsensical
reasoning: “Mr. Ray and Mr. Moore made the tactical decision not to offer head injury evidence
because it only served to diminish mitigation absent any acceptance of responsibility for the
murders of Lisa and Jayden Underwood as a ‘head injury’ explanation is factually inconsistent
with a ‘no involvement’ defense....Mr. Ray and Mr. Moore concluded that a ‘head injury’
explanation would necessitate the applicant accepting responsibility and admitting guilt...”
(Exhibit 14, State’s Proposed Findings and Conclusions , Findings No. 78, 82 at 11-

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        The attorneys continue in a similar vein:

        Applicant maintained that he was completely innocent, in spite of overwhelming evidence
        to the contrary. Applicant was injured, and as Dr. Goodness pointed out, there were several
        items that could be considered in mitigation. However, the overwhelming thought in
        mitigation is some acceptance of responsibility.
        (Id.)

        Counsel have backtracked just a little and instead of it being “necessary” that their client be

guilty in order to present mitigation, now “acceptance of responsibility” of guilt is the

“overwhelming thought” in mitigation. This too is not only false but completely illogical, as the

“acceptance of responsibility” has nothing to do with a thorough and complete presentation of

mitigating evidence that includes head injuries, good character, a history of non-violence toward

women and lack of potential for future violent acts. If “acceptance of responsibility” is the

“overwhelming thought,” then all of Mr. Ray and Mr. Moore’s innocent clients would be plumb out

of luck. It is not for nothing that Mr. Ray has recently been ordered by a judge of this Court to take

a course in “mitigation” in another case in which he was held to be ineffective for failing to present

readily-available mitigating evidence. (See Exhibits 38, 39, 40.)

        The affidavit continues in a like vein: “Applicant refused to accept any responsibility.” It

has apparently failed to register on Mr. Ray and Mr. Moore that since their client “consistently

stated that Ron Dodd was the real killer” (Id. at 5) that he had no responsibility for the murders to

accept.144

        Applicant would have had a much better presentation if Applicant had taken some

12.)(emphasis added).
Of course, the head injury evidence could not “diminish mitigation” because it itself was
mitigation evidence.
        144
           The trial attorneys even get this wrong, as Petitioner, however, has always accepted
full responsibility for those actions he has admitted committing, the removal and the
concealment of the bodies of the victims. (Exhibit 20.)

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         responsibility for his actions. The entire theory of head injury and mental illness, combined
         with hydrocodone abuse, in our opinion, only serves to diminish any mitigation if there is
         no acceptance of responsibility.
         (Id. at 6.)

         Now the attorneys have shifted their position once again. Acceptance of guilt has gone from

“necessary” to an “overwhelming thought” to making a “better presentation.” But all three premises

are both false and illogical. How “head injury and mental illness” and drug abuse would “diminish

any mitigation” is entirely unclear. Again, the attorneys assume that only the innocent can suffer

head injuries or have valid mitigation evidence. Additionally, and more importantly, the “head

injury and mental illness” and drug abuse are in themselves mitigation evidence, so how could they

“diminish” it?

         Next, the attorneys attempt to justify their failure to present a mitigation case based on

something that Mr. Tim Davis allegedly told their mitigation specialist, Amanda Maxwell. The

attorneys claim

         ...we found that one of the witnesses provided by Ms. Maxwell, had information regarding
         an extraneous offense. Tim Davis, a friend of Applicant was interviewed in William Ray’s
         office prior to trial. Davis indicated that he was once with Applicant when they were cut off
         by another vehicle. The two vehicles stopped, and Applicant attempted to kill the driver of
         the other vehicle. Attached is Ms. Maxwell’s notes on her interview of Mr. Davis.
                  In light of that episode, neither Ms. Clearly, or any other witness was asked if they
         thought that Applicant would be a future danger, because that type of questioning would be
         subject to cross examination by the State with ‘have you heard’ or ‘did you know’ questions
         concerning the incident that Tim Davis informed us about. We chose not to take the chance
         on the State knowing about Applicant’s violent past.
         (Id. at 6.)

         This is simply untrue and the attorneys’ account is patently false. Ms. Maxwell’s notes,

which the attorneys themselves cite, and which they appended to their affidavit, tell a very different

story:




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        Tim recollected that one day some men on the highway got angry because Steve had cut
        them off. The men gave them the finger and cut in front of their truck motioning them to
        pull over. Steve said, watch this.” Steve pulled over on the median as did the two men. It
        turned out to be an older man and his son. They walked back to Steve’s truck and reached
        in hitting Tim and Steve. They all ended up on the shoulder fighting. Tim said he had to
        pull Steve off of the old man to keep him from hurting him really bad. Then Steve started
        in on the son. Tim pulled Steve off of him as well and the two men left in Steve’s truck.
        (Exhibit 37, appendix, Mitigation Interview of Amanda Maxwell at 2.)

        Additional verification of this was provided when Ms. Maxwell testified at the evidentiary

hearing. Her interview with Mr. Tim Davis referred to an incident where Mr. Davis and Petitioner

were driving and got into an altercation with two other men when Petitioner cut them off. (2 EH 87.)

The other men “walked back to Steve’s truck and reached in hitting Tim and Steve.” (2 EH 87.) At

the end of this report, Ms. Maxwell wrote that Mr. Davis “would be a good witness....I don’t think

he would go into court and say anything negative about Steve” and “we could explore this with him,

he would be a good witness.” (2 EH 118.) Ms. Maxwell testified that Mr. Ray and Mr. Moore’s

affidavit, where they stated that “applicant attempted to kill the driver of the other vehicle” was not

accurate and there was nothing in her report to that effect. (2 EH 119.) She testified that in effect

Petitioner was the victim of this “road rage” incident as the other men first punched Petitioner and

Mr. Davis. (2 EH 120.) In her opinion, this incident would not justify the defense attorneys’ attempt

to characterize it as a valid reason to preclude any mention of future dangerousness. (2 EH 121.)

The police were not called, she was unaware of any other witnesses to the incident, and the defense

attorneys’ characterization of it as an “attempt to kill” the other driver was a lie (2 EH 121) and a

mis-characterization of what was in the report. (2 EH 130.)         The fact that Ms. Maxwell, who

formerly made her living as a mitigation expert, has gone out of her way to bring this to counsel’s

and the Court’s attention, in itself lends credibility to her account in comparison with trial counsel’s




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self-serving version. Ms. Maxwell, unlike the trial attorneys, has no motive to present an untruthful

declaration.


        More directly, Mr. Davis himself has submitted a supplemental declaration that completely

demolishes the attorneys’ claims:


        The incident that happened on the highway goes as follows: Stephen was working for the
        Blue Mound Police Department as a reserve officer. Stephen and I were in Stephen’s truck
        when another pick-up truck curved and tried to run us off the road. Both trucks ended on
        the side of the freeway and two people exited their truck and approached our vehicle. It was
        a man approximately 50 years old and another man that was approximately 25 years old.
        Stephen said as they started getting out of their truck to let them come to us, because if they
        start something it would be self-defense, because we both could tell that they (sic) two men
        were very angry. When they approached the vehicle the younger guy came around to the
        passenger side where I was, and the windows were both down and the younger guy slugged
        me, so I got out of the truck. By this time the older man had approached Stephen. The
        younger guy and me were fighting on the ground, but I was much larger and was able to get
        the guy off of me. I walked over to Stephen while Stephen was defending himself. I did
        pull Stephen off of him so that we could get out of there. At no time were we ever the
        aggressors. We were only defending ourselves. It was simply a fist fight and all four guys
        walked away from it with no serious injuries.
                 I have been told that Stephen’s attorneys have stated in an affidavit that I told them
        that Stephen “attempted to kill the driver of the other vehicle.” This is completely and
        totally untrue and a lie. My prior statement said nothing even remotely close to this and the
        attorneys have twisted it around. There is no way that I believe that Stephen could have
        killed anyone, and had I been asked if I believe that Stephen would be a future danger to
        society my answer would have been no.
        (Exhibit 29, Supplemental Declaration of Tim Davis.)

        Mr. Davis also testified at the evidentiary hearing. He reaffirmed his statement in his

supplemental declaration that “”I’ve been told that Stephen’s attorneys stated in the[ir] affidavit that

I told them that Stephen attempted to kill the driver of the other vehicle. That is completely and

totally untrue and a lie.” (2 EH 163.) He also reaffirmed his declaration statement that “there is no

way I believe that Stephen could have killed anyone.” (2 EH 164.)




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       Mr. Davis characterized Petitioner as easy-going and friendly. (2 EH 142.) An automobile

incident in 1996 or 1997 was recalled. On the highway, in icy driving conditions, two people in

a truck swerved in front of Petitioner and Mr. Davis’ vehicle and forced them off the road. (2 EH

143.) The two men approached their vehicle, so Mr. Davis and Mr. Barbee rolled down the window

to see what they wanted. (2 EH 143.) One of the other drivers tried to punch Mr. Davis so Petitioner

and Mr. Davis got out and defended themselves. (2 EH 143.) Then they got back in the truck and

drive away. (2 EH 143) The other people were the aggressors, Mr. Davis and Petitioner were trying

to defend themselves, and no one was hurt. (2 EH 144.)

       At no time did Mr. Davis ever tell Petitioner’s mitigation person or his attorneys that

Petitioner tried to kill the other persons and it was nothing even close to that. (2 EH 145.) The

incident was a simple fistfight. (2 EH 145.) Mr. Davis did not think that Petitioner was violent or

that he would be likely to commit future acts of violence and he had never seen him being the

aggressor. (2 EH 144-145.)


       Thus, there is nothing about an “attempt to kill” the driver. Instead, it is clear that the

physical confrontation was initiated not by Stephen but by the driver and the other man when they

reached inside Stephen’s truck and punched both him and Mr. Davis. (Id.) They were the

aggressors, not Stephen and Tim Davis. (Id.) Even if the State had somehow found out about this

incident of “road rage,” with the other side instigating the physical confrontation, it does not come

close to attempted murder. Nor was this incident so threatening that it would cast a cloud over all

the mitigating evidence in the entire case and excuse the non-presentation of evidence regarding

future dangerousness of a thirty-eight year old successful businessman with no criminal record.




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       It is ludicrous to suggest that such a trivial incident would outweigh the positives of a 38-

year-old successful businessman’s arrest-free past and cause the jury to see him as a danger of

committing violent acts. Nor is there any logic to the attorneys’ self-serving assertion that the

questioning of witnesses other than Mr. Davis regarding future dangerousness would have made it

more likely that this incident would have come out.

       Actually, Mr. Davis himself would have been an excellent witness. Indeed, Ms. Maxwell

states that “I don’t think he would go into court and say anything negative about Steve. We could

explore this with him. He would be a good witness.” (Exhibit 37, appendix, Mitigation Interview

of Amanda Maxwell at 2.) (Emphasis added.) Mr. Davis himself says “had I been asked if I believe

that Stephen would be a future danger to society my answer would have been no.” (Exhibit 29,

Supplemental Declaration of Tim Davis.) Thus, in an effort to exculpate themselves, Mr. Barbee’s

trial attorneys have fabricated a bogus rationale and a bogus affidavit upon which the state habeas

court and the CCA uncritically relied.

       But there is yet another reason why the trial attorneys’ affidavit is false. Even if this incident

was harmful, which it was clearly not, there was no reason to believe that the State would ever learn

of it, as indeed Mr. Davis did not testify for either side. Nor was there any reason to believe that

questioning other witnesses about “future dangerousness” would increase “the chance of the State

knowing about Applicant’s violent past.” (Exhibit 37 at 6.) How would the other witnesses even

know about this incident, as only Stephen, Mr. Davis and the two aggressors were present? Of

course, terming their own client’s arrest-free history as “violent” says much more about Mr.

Barbee’s attorneys than it does about Mr. Barbee.

       Mr. Ray and Mr. Moore’s affidavit then makes the following strange statement:



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        Finally, there is an allegation in the first part of Applicant’s Application that is not assigned
        to any particular point. That is the allegation that Jackie Barbee, Applicant’s mother, could
        not identify Applicant’s high school diploma and an elementary school photograph. Ms.
        Barbee stated in her affidavit that she was not prepared by William Ray for this testimony.
        Ms. Barbee provided these items to us. We felt she would be able to identify her own child.
        (Id. at 7.)

        The actual statement in the habeas petition was as follows:

        Similarly, when defense counsel was questioning Jackie Barbee, the applicant’s mother, he
        showed her two exhibits which she could not even identify; a photograph allegedly
        containing her son, who she could hardly pick out, and his high school diploma, which she
        had not seen. Id. at 141-145. Attached hereto as Exhibit D and by this reference made a part
        hereof is an affidavit of Jackie Barbee, in which she states that she was not prepared either
        for her testimony or the exhibits that were shown to her, and further states that her sole
        contact throughout the period that the case was pending was Amanda Maxwell.
        (Exhibit 11 at 17.)

        Thus, in a further effort to excuse themselves, the trial attorneys have trivialized the

allegations of Mrs. Barbee’s affidavit into a complaint that she was not able to identify the exhibits

instead of its real import as an overall failure to prepare this crucial witness.

        Next, the attorneys make the astonishing statement that “[w]e did everything we could to

help Applicant.” (Exhibit 37 at 7.) However, their affidavit goes to extreme lengths in an attempt

to attempt to justify the exact opposite, why they did not do various actions. Then the attorneys

inadvertently admit their own ineffectiveness:

        We felt that there were several items that could help in showing a lack of future danger, or
        a mitigating fact that would prevent Applicant from receiving the death penalty. While we
        did offer evidence at punishment concerning Applicant’s background, we could not afford
        to take the chance on expert or lay testimony concerning an opinion on future dangerousness
        for the reasons set out in paragraph 3 above.
        (Id.)

        Here is the same theme we have seen above: they couldn’t even address the future

dangerousness special issue because if they had, somehow there would have been an increased risk




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of the State finding out about an incident in which Stephen and Mr. Davis were attacked by two

out-of-control drivers. There was a simple way to eliminate this so-called “chance,” which was to

ask prospective witnesses if they knew of anything that would indicate violence in Stephen’s past,

and the affidavits presented herein show that this was not done. Additionally, the State could have

called so-called “future dangerousness experts” regardless of what the defense did or did not do. The

defense attorneys present as a “strategic decision” the fact that they sat on their hands instead of

addressing the issue because of this imaginary fear. In no way can this be seen as “strategic”

because the State was not in any way constrained in their future dangerousness presentation simply

because the defense shied away from the issue entirely.

       The State’s meager case for future dangerousness did not rely on cross-examining the

defense witnesses. If there is any logic at all to the attorneys’ statement, it seems to assume some

sort of quid-pro-quo, where if they don’t present mitigating evidence of non-future dangerousness,

then the State will also not try to present aggravating evidence. This is a false assumption. Were this

standard to be adopted, it would justify complete inaction at all penalty phase trials, because of the

“fear” that whatever was presented could be countered by the prosecution. This clearly violates the

Williams, Wiggins and Rompilla standards discussed herein in the argument section of this claim

and shows that the state court holding was an unreasonable determination of the facts and the law

under both 2254(d)(1) and (2).

       Finally, the attorneys return to their oft-repeated theme, that they couldn’t present mitigation

evidence because Stephen refused to admit that he was guilty:

              The problem is that Applicant refused to accept any responsibility for any action.
       What we had, according to Applicant, was a frame up by his exwife, and Ron Dodd. This
       frame up we discovered was not based on any fact other than Applicant’s claims, and
       Applicant refused to offer any evidence on this matter.


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                Applicant’s parents catered to this theory, and this became a controversy that existed
       from the very beginning of our representation throughout our representation of Applicant.
       We felt then, and still do, that Applicant refused to accept responsibility for his actions,
       which prevented any meaningful effort on our part to show mitigation and a lack of a future
       danger....
       (Id. at 7-8.)

       As discussed above, this “strategy” is a complete non sequitur. The fact that a client “refuses

to accept responsibility”, i.e., admit that he is guilty, has no bearing whatsoever on the decision to

present or not to present mitigating evidence, especially of the sort foregone here: head injuries,

abundant good character evidence and lack of future dangerousness. According to Stephen’s trial

counsel, only the guilty who admit their guilt are “entitled” to present mitigating evidence. The

innocent who maintain their innocence and the guilty who do likewise are apparently not so

“entitled.”

       This failure of the Strickland performance prong is underlined by the fact that, as mentioned

above, there was so much readily available positive information.            The Barbee family was

cooperative, work records were available, and good character information was at hand. This was

not a case in which nothing was said at the penalty phase regarding future dangerousness because

there was nothing good to say, but, by remaining silent, this is exactly the impression that the jurors

were given. In fact, this was the only possible impression they could have had given the lack of

defense evidence as to future dangerousness.

       There is a basic inconsistency in the rationale used by the trial attorneys to justify their

inaction, a contradiction that reveals the lack of “strategy” behind their decisions. They repeatedly

states that their prime objective was not to introduce damaging double-edged future dangerousness

evidence at the penalty phase. However, because they never investigated the existence of such




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evidence, by asking the Barbee family about it, they could not know its substance and they could

not have possibly formulated any clear and objectively-reasonable “strategy.” Reasonable strategies

cannot be based on ignorance or designed in a vacuum.

       The CCA’s holding as to this claim was based on the uncritical acceptance of the trial

attorneys’ flawed affidavit. The holding was erroneous and unreasonable because that Court and

the trial court were misled by both the prosecution and the trial attorneys who jointly wrote the basis

of the state courts’ holdings. The state habeas court, and hence the CCA, similarly adopted findings

and conclusions that make no sense at all (findings of fact by number):

       98. Mr. Tim Davis, a friend of the applicant and one of the witnesses provided by Ms.
       Maxwell, related information about a prior violent road rage incident where the applicant
       ended up in a physical confrontation. See Mr. Ray and Mr. Moore’s Affidavit, page 6;
       Mitigation Interview–Tim Davis, page 2.
       99. Mr. Davis eventually had to pull the applicant off each of the other two men before he
       hurt them badly. See Mitigation Interview-Tim Davis, page 2.
       100. Mr. Davis described the applicant as having no ‘off-button’ and did not know how to
       stop. See Mitigation Interview–Tim Davis page 2.
       101. Mr. Davis recalled fights involving the applicant on other occasions. See Mitigation
       Interview–Tim Davis, page 2...
       104. The applicant’s violent history limited the ability of Mr. Ray and Mr. Moore to
       question defense punishment witnesses because they could not take the chance of the State
       learning of other instances of violence—such as the incident reported by Mr.
       Davis—through opinion and reputation cross-examination. See Mr. Ray and Mr. Moore’s
       Affidavit, page 6.
       105. Mr. Ray and Mr. Moore attempted to present evidence regarding the applicant’s
       background which was mitigating or would show a lack of future danger; however, such
       evidence had to be tempered to limit the discovery and admission of the applicant’s
       heretofore unknown past violent conduct. See Mr. Ray and Mr. Moore’s Affidavit, page 7...
       107. Mr. Ray and Mr. Moore’s decisions regarding the presentation of punishment evidence
       were valid strategic choices based upon a reasonable investigation and an understanding of
       the applicant’s violent past...
       109. Mr. Ray and Mr. Moore’s defense was undercut by the applicant’s unwillingness to
       accept any responsibility for his own conduct.
       110. Nancy Cearley and Jackie Barbee complain that they were not asked whether, in her
       opinion, the applicant would be a future threat to society. See Nancy Cearley’s letter;
       Affidavit of Jackie Barbee, page 2.
       111. Mr. Ray and Mr. Moore limited questioning character witnesses as to their opinion


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        whether the applicant would be a future danger because they could not take the chance of
       the State learning of other instances of violence—such as the incident reported by Mr.
       Davis—through opinion and reputation cross-examination. See Mr. Ray and Mr. Moore’s
       Affidavit, page 6.
       112. The decision by Mr. Ray and Mr. Moore not to ask this type of questions was valid
       trial strategy....
       119. The following guilt/innocence phase evidence would have undercut any additional
       potential evidence or theory which Mr. Ray and Mr. Moore could have presented to the jury:
       [there follows a three-page summary of the guilt/innocence phase]...
       120. The following punishment phase evidence combined with the guilt-innocence phase
       evidence would have undercut any additional other potential evidence or theory which Mr.
       Ray and Mr. Moore could have presented to the jury: [there follows a slanted and inaccurate
       summary of the punishment phase evidence]...
       (Exhibit 14 at 13-18.)

       Some of the Subsequent Findings of Fact also touch on this claim and the previous one and

they too are unreasonable determinations of the facts under 2254(d)(2). Subsequent Finding of Fact

No. 65 states that “Mr. Ray and Mr. Moore’s efforts to prepare and present a defense were hampered

by the applicant’s ever-changing version of these murders and his specific involvement therein.”

Yet, immediately after his transfer to the county jail, and before Mr. Ray and Mr. Moore were even

appointed, Mr. Barbee recanted his confession and professed his innocence of the murders of Lisa

and Jayden Underwood. (See, e.g., Exhibits 19, 20, 37.)

       Subsequent Findings of Fact No. 88 and 89 are unreasonable because they are misleading

and miss the point. No. 88 held that “Mr. Ray instructed Ms. Maxwell to learn everything about the

applicant’s past, including positive and negative information” and No. 89 held that they believe such

information is useful, and No. 91 held that “Mr. Ray’s decision to prepare a psychosocial history

report containing both positive and negative information was not due to any relationship to Judge

Gill.” The problem here is not that Ms. Maxwell was asked to learn positive and negative

information, but that Mr. Ray told her to write up and put the negative information in a report that




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was in fact later given to the prosecution and used against Mr. Barbee.

       At the hearing, Ms. Maxwell testified that, with her current experience, she would provide

the defense attorney with all the information, both good and bad, but the bad would be provided only

verbally. (2 EH 95.) The negative information would not normally be in the written reports. (2 EH

96-97.) At the time she provided the report in this case she “had no idea the prosecution was even

allowed to see my report” and Petitioner’s attorneys failed to advise her that it could be seen by

them. (2 EH 97.) Since this case, Ms. Maxwell has learned “to only provide mitigating information

in the final report.” (2 EH 97-98.) In seven or eight years of mitigation training, Ms. Maxwell has

been taught that it is “standard procedure” not to write down bad or negative information as it may

become discoverable. (2 EH 123-124.) In her report, Ms. Maxwell wrote that Petitioner had poor

behavioral and impulse control (2 EH 100, 104), did not do well under stress (2 EH 101-102), and

had numerous girlfriends and a secret cell phone (2 EH 103) but would not have done that in light

of her training. She said that she did not realize that the prosecution would obtain a copy of her

report as this was her first capital case. (2 EH 128.) Ms. Maxwell thought that Petitioner’s

attorneys may have provided a copy of her report to the prosecution but was not certain of that. (2

EH 129.) Currently, Ms. Maxwell does not include anything other than mitigating facts in her

mitigation report (2 EH 133.) Thus, these findings are all unreasonable determinations of fact.

       Subsequent Finding of Fact No. 96, relating to the head injury, is flawed. In the only

subsequent finding relating to the non-presentation of the head injury, it held that “Dr. Goodness

did not find significant symptoms suggestive of a head injury.” However, it was Amanda Maxwell

(Exhibit 16) and Dr. Martin (Exhibit 17) who found these symptoms, not Dr. Goodness, who held

a Ph.D, not a medical degree.



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        Subsequent Finding of Fact No. 97 held that “Dr. Goodness did not find that the applicant

suffered from any developmental delay or from bipolar mood disorder.” This was found by Ms.

Maxwell and Dr. Martin.

        Subsequent Findings of Fact Nos. 111 through 128, relating to the “road rage” incident, are

similarly flawed and illogical and an unreasonable determination of the facts. The evidentiary

hearing testimony of Mr. Davis showed that this incident was misrepresented by Mr. Moore and Mr.

Ray in their affidavit in an attempt to avoid responsibility for their complete failure to offer any

evidence of Mr. Barbee’s low propensity for future dangerousness, the crucial special issue. At the

hearing, Mr. Davis testified that two people in a truck swerved in front of Petitioner and Mr. Davis’

vehicle and forced them off the road. (2 EH 143.) The two men approached their vehicle, so Mr.

Davis and Mr. Barbee rolled down the window to see what they wanted. (2 EH 143.) One of the

other drivers tried to punch Mr. Davis so Petitioner and Mr. Davis got out and defended themselves.

(2 EH 143.) Then they got back in the truck and drove away. (2 EH 143) The other people were the

aggressors, Mr. Davis and Petitioner were trying to defend themselves, and no one was hurt. (2 EH

144.)

        At the evidentiary hearing, Mr. Davis testified that at no time did he ever tell Petitioner’s

mitigation person or his attorneys that Petitioner tried to kill the other persons and it was nothing

even close to that. (2 EH 145.) The incident was a simple fistfight. (2 EH 145.) Mr. Davis did not

think that Petitioner was violent or that he would be likely to commit future acts of violence and he

had never seen him being the aggressor. (2 EH 144-145.) Mr. Davis would have been willing to

be a witness at Petitioner’s trial and if he had been called as a witness he would have told the jury

that he would “absolutely not” be a threat to society or likely to commit future violent acts. (2 EH



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146.) Had he been asked any “have you heard” or “do you know” questions about Mr. Barbee’s past

incidences of violence, he would have said “I don’t know of any” such incidents. (2 EH 146.)

           Subsequent Findings of Fact Nos. 122 and 124 are totally contrary to the record. No. 122

held that “Mr. Davis denied meeting with Mr. Ray and Mr. Moore before the applicant’s trial” citing

2 EH 147. Mr. Davis made no such denial. At 2 EH 147 he testified only that he was never

contacted by Mr. Barbee’s attorneys to testify in the case. Subsequent Finding of Fact No. 124 held

that “Mr. Davis’ writ hearing testimony that he never met with Mr. Ray and Mr. Moore is not

credible.” Again, Mr. Davis newer so testified, he said that he was never contacted by them to

testify.

           Subsequent Finding of Fact No. 126 is also flawed. It held that “Mr. Ray and Mr. Moore

were concerned that the State was aware of the applicant’s road rage incident.” First, it was not a

road rage incident, at least on the part of Petitioner and Mr. Davis. Second, there was simple way

to avoid any harmful testimony: simply ask each prospective witness if they knew about it. Any

“concerns” about the State finding out about the so-called road rage were certainly bogus and an

after-the-fact pretext for the trial attorneys’ failure to present mitigating evidence as to future

dangerousness, as shown herein. Subsequent Finding of Fact No. 127 has the same defect.

           Subsequent Finding of Fact No. 130 encapsulates this issue: “Mr. Ray and Mr. Moore’s

decision to limit their examination of the defense punishment witnesses was...rather a reasonable

tactical decision given the applicant’s past violent behavior.” This cannot bear reasonable scrutiny

against the arrest-free behavior of a 38-year old successful businessman. Even if the “road rage”

incident was as the defense attorneys depicted it, and even if some of the defense witnesses had

known of it, this cannot reasonably be called a history of “violent behavior.”



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       Subsequent Findings of Fact Nos. 134 through 138 relate to the “memorandum of

understanding” that Mr. Ray drew up. There is no other logical explanation for this memorandum

than that it was intended to undercut any future claims of ineffective assistance of counsel that Mr.

Barbee might bring against the trial attorneys. Yet the Subsequent Findings of Fact state in

conclusory manner that it “was not a conflict of interest” and Mr. Ray’s use of the memorandum to

“defend himself” was not a conflict of interest. (Subsequent Findings of Fact Nos. 137 and 138.)

The fact that the trial attorneys felt they needed to prepare this memorandum is in itself proof of a

conflict of interest. These Subsequent Findings of Fact are all unreasonable determinations of the

facts under 2254(d)(2).

       Subsequent Finding of Fact No. 139 is essentially a selective summary (some of it

misleading) of some of the guilt phase trial testimony that purports to “undercut[] any additional

potential evidence or theory which Mr. Ray and Mr. Moore could have presented to the jury.” This

too is illogical. Mitigating evidence is not “undercut” even if the prosecution’s guilt phase case is

very strong. This has been discussed supra. The finding flies in the face of Williams, Wiggins and

Rompilla, supra, where despite much more aggravating evidence than Mr. Barbee’s arrest-free past

and less omitted mitigating evidence, ineffective assistance of counsel was found.          See, e.g,

Williams 120 S. Ct. at 1500; Rompilla, 125 S. Ct. at 2460 and 2462; and Wiggins (trial counsel’s

punishment-phase strategy not owed the deference usually accorded trial strategy, because it was

not the product of a professionally reasonable investigation into other potential mitigation themes).

The Supreme Court in these cases has repeatedly rejected the notion that even an extremely

aggravating guilt phase presentation absolves the trial attorneys of their obligation to present

mitigating evidence at the punishment phase.



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          The same flaw is seen in Subsequent Finding of Fact No. 140, which holds that “[t]he

following guilt/innocence phase evidence undercuts any additional potential evidence or theory

which Mr. Ray and Mr. Moore could have presented to the jury.”

          Subsequent Findings of Fact Nos. 141 through 153 are all conclusory statements, most of

which are not supported by the facts as developed at the hearing and in Petitioner’s writ, as shown

herein.

          Subsequent Finding of Fact No. 140 presents an egregiously slanted and unreasonable view

of the very sparse aggravating evidence in the case. Subsequent Finding of Fact No. 140(a) is

particularly inaccurate. Stephen allegedly assaulted his wife Theresa twice in the course of the

marriage. (25 RR 34.) Regarding alleged fights when Mr. Barbee was married to Theresa, the

actual testimony was that the first fight occurred when they were living in an apartment in Forth

Worth, and the next one was when they lived in a metal building they had bought for the company

(25 RR 34-36) and Theresa did not have any injuries from either one. (Id.) The next “fight”

involved Mr. Barbee knocking something off the wall and it accidentally hit Theresa. (25 RR 40.)

She had a concussion (25 RR 43) and Stephen later showed up at the hospital. (25 RR 44.)145 The

next fight was in 2002 when Theresa admitted she egged him on and Stephen hit her in the arm. (25

RR 45.) She suffered a bruise. (25 RR 45.) Another incident was recalled from 2003 when Theresa

was the aggressor and she hit Stephen at a party, at which point he left her for good. (25 RR 47-48.)




          145
            The witness also testified about Stephen once joking about throwing her through the
wood chipper and on July 4, 2003, when he said it, she thought he was serious. (25 RR 64-65.)
But at the grand jury hearing, Theresa had earlier testified that she did not think Stephen was
serious when he said this at the July 4th party. (25 RR 65-67.)

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He did not move back to the house. (25 RR 48, 68.)146 All told, they had 3 or 4 fights. (25 RR 67-

68.) This evidence hardly “under cuts any additional potential evidence or theory which Mr. Ray

or Mr. Moore could have presented to the jury.” Subsequent Finding of Fact No. 140a. Subsequent

Finding of Fact No. 140c actually highlights the paucity of aggravating evidence, as the State had

to rely on an incident when a witness “rejected a personal relationship with the applicant [and] he

had an outburst and began cursing her.”

       These initial and subsequent factual determinations and findings are both unreasonable and

not supported in fact in that the failure to present mitigating evidence depends heavily on the false

statement attributed to Tim Davis, as shown supra. They also make no sense as there was no reason

to believe that there were other undiscovered violent instances in Mr. Barbee’s past or that the

questioning of the many mitigating witnesses listed herein would have somehow led to that result.

Equally importantly, almost all of these potential witnesses, and even those witnesses who did

testify (Exhibits 21-33) state that either the attorneys never talked to them or else talked to them

only superficially. This cannot be “strategy.” See, e.g., Lewis v. Dretke, 355 F.3d 364 (5th Cir.

2003)( penalty phase relief granted for failure to conduct an adequate penalty phase investigation.

A “mere modicum of evidence” was held insufficient to support the district court’s conclusion that

counsel’s very limited presentation of Lewis’ childhood abuse was reasonable. To assess counsel’s

performance in preparing for the sentencing phase of trial, the proper focus is not whether counsel

should have presented a mitigation case, but “whether the investigation supporting counsel’s

decision not to introduce mitigation evidence … was itself reasonable.” (citing Wiggins v. Smith,

539 U.S. 510 (2003) (emphasis in original)). “It is axiomatic – particularly since Wiggins – that [a


       146
           The house in question was 4000 square feet with a movie room and a pool. (25 RR
63.) Stephen’s mother helped them pay for it. (25 RR 63.)

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decision not to present mitigating evidence] cannot be credited as calculated tactics or strategy

unless it is grounded in sufficient facts, resulting in turn from an investigation that is at least

adequate for that purpose.”)

        The state court conclusions of law were also unreasonable as they were based on these faulty

findings of fact. The state habeas court and the CCA found these actions to be “strategic.”

(Conclusions of Law Nos. 30, 31, 32, Exhibit 14 at 22.) This was erroneous and unreasonable

because the decisions were based on a less than thorough investigation. Other conclusions were

similarly unreasonable, for instance conclusion 28 (“It is not deficient strategy for an attorney to

decline to call witnesses who would testify to some mitigating fact, but be subject to cross-

examination over a vast array of aggravating facts.” (Id. at 22.) No such evidence of a “vast array

of aggravating facts” exists here.

        ii. The state court holding was also an unreasonable application of clearly established
        federal law under 2254(d)(1).

        The state court holdings were also an unreasonable application of clearly established federal

law under 2254(d)(1). The Strickland standard was unreasonably interpreted and applied. The

supreme Court has held that even a general standard such as Strickland can be applied in an

unreasonable manner. Panetti v. Quarterman, 551 U.S. 930, 953 (2007). Additionally, ‘AEDPA

does not ‘require state and federal courts to wait for some nearly identical pattern before a legal rule

must be applied.’” Panetti at 953, quoting Carey v. Musladin, 549 U.S. 70, 81 (2006)(Kennedy, J.,

concurring in judgment). Nor does AEDPA prohibit a federal court from finding an application of

a principle unreasonable when it involves a set of facts ‘different from those of the case in which

the principle was announced.” Locker v, Andrade, 538 U.S. 63, 76 (2003).




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         C. Exhaustion and cause and prejudice.

         Respondent has previously conceded that this claim was brought in the initial round of state

court proceedings but argued that it has no merit. (Docket No. 40, RA at 41-51.) All evidence in

support of this claim was brought before the state court either in the initial and/or the subsequent

habeas proceedings, extensive testimony was heard at the evidentiary hearing regarding this claim,

and the state court issued and adopted extensive findings and conclusions as well as extensive

subsequent findings and conclusions as to this claim. Hence, as it was completely presented in both

rounds of state habeas proceedings, it is exhausted and not subject to procedural default.

         Even if it were not exhausted, any procedural default of this claim, for failure to raise it in

his initial state habeas petition, or raise it fully or adequately, is excused under the Martinez/Trevino

exception discussed supra, which provides “cause” for failure to raise it adequately in his first state

habeas application. The prejudice component is discussed in the statement of facts pertaining to this

claim.




Claim Five (d): Ineffective assistance of counsel for failure to present mitigating evidence of
Petitioner’s head injury and hydrocodone use.

         A. Facts in support.

         i) Hydrocodone use.

         The basic facts of Mr. Barbee’s hydrocodone use are not in dispute. As Mr. Barbee explains

in his own affidavit:

         The next morning, Monday, I was once again contacted by the police. I agreed to meet them
         at the Wal-Mart at 6:30 p.m. My headache had still not gone away. I took three more
         hydrocodone in addition to 3-4 generic ibuprophen.


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       (Exhibit 20 at 13-14.)

       Ms. Amanda Maxwell brought this to the attention of the trial attorneys:

       As a result of this most recent injury [the head injury] Mr. Barbee was ingesting a number
       of medications, one of which was hydrocodone prescribed for his wife Trish...
       On November 2, 2005 the defense team met to discuss strategy...Prior to this date I had
       requested that a neuropsychological examination be conducted on Stephen due to his
       multiple head injuries, because I felt that any brain damage would constitute significant
       mitigating evidence in the event Mr. Barbee’s case went to a punishment hearing. At the
       time I made this request I also requested an evaluation be done to address the potential
       effects of Stephen’s hydrocodone abuse after his most recent head injury. I had found
       through research that hydrocodone is contraindicated in head injuries. I was also concerned
       about Stephen’s report that the hydrocodone made him itch and kept him awake at night.
       I did not receive any response from either of the attorneys to any of my requests.
       (Exhibit 16, Statement of Amanda Maxwell at 3.)

       This claim was brought on state habeas as part of Claim 3. (Exhibit 10, at 23-25)

       ii) Head injury.

       Here too, the basic facts are not in dispute that Mr. Barbee suffered a severe head injury a

few weeks before the murders and had other severe head injuries earlier in life. During the state

habeas proceedings, Mr. Barbee was evaluated by Dr. Stephen Martin, who found that


       2....Mr. Barbee’s medical history included several prior head injuries including: a. A fall
       from a window sill as an infant resulted in an impact to the back of his head and a ‘huge
       goose egg.” B. Shortly after obtaining his driver’s license, Mr. Barbee was not wearing his
       seatbelt when he was involved in a motor vehicle accidence (MVA) in which his head
       cracked the windshield. He received medical attention at a local hospital and was diagnosed
       with cervical strain. C. Another MVA occurred at age 18 involving a head-on collision with
       another car traveling approximately 50-60 miles per hour. Mr. Barbee was unrestrained, and
       impacted the steering wheel while shattering his nose. He was unconscious for an unclear
       duration, and was transported via ambulance to Azle hospital where he suffered a seizure.
       It was also reported that he was bleeding profusely from the nose, chin, and between his
       eyes. Mr. Barbee was then transported via helicopter to Harris Methodist where he remained
       for four days, and subsequently underwent several plastic surgeries to repair his nose and
       chin. d. In approximately January 2005, a 400 pound lead pipe was dropped on Mr.
       Barbee’s head while on a work site. The impact split his hard hat and resulted in loss of
       consciousness for an undetermined amount of time. He was treated at Parkland Hospital and
       released. The frequency and intensity of his migraine headaches increased after this injury...
       22.     It is my understanding that at the time of trial, Mr. Barbee’s trial attorney was aware

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       of his history of head trauma and was encouraged by his mitigation expert to pursue
       neuropsychological testing. Nevertheless, this testing was not performed. It is my opinion
       that his trial attorney should have requested a neuropsychological evaluation, particularly
       given his knowledge that Mr. Barbee had, in fact, suffered head trauma a few weeks prior
       to the offense. Further, an expert with the same or comparable experience and training such
       as I could have given testimony substantially the same as outlined in my affidavit above at
       the guilt/innocence phase of the trial to challenge the legal elements of his knowing and
       intentionality. It is my opinion that had this evidence been adequately investigated,
       developed and presented by trial counsel in the guilt/innocence phase, the verdict may have
       been different.
       23.     Finally, it is my opinion that this clinical information had mitigating significance and
       Mr. Barbee’s trial attorney was ineffective in failing to present it. As a result, the jury
       could not have appreciated and given effect to the mitigating significance of this evidence
       in making a life/death decision.
       (Exhibit 17, Statement of Dr. Stephen Martin.)


       Amanda Maxwell had been hired by the trial attorneys to discover and develop mitigating

evidence. (Exhibit 16, Statement of Amanda Maxwell at 2.) Ms. Maxwell found the following

information about Mr. Barbee’s head injuries:

       As a part of my mitigation investigation I obtained all of Mr. Barbee’s medical and school
       records. Mr. Barbee’s medical records showed a history of head injuries of various types
       which began at a young age and culminated with Mr. Barbee being hospitalized a month
       before the alleged offense after having a 400 pound pipe dropped on his had by Ronald
       Dodd, one of Mr. Barbee’s employees and the boyfriend of his ex-wife...
       Prior to this date I had requested that a neuropsychological examination be conducted on
       Stephen due to his multiple head injuries, because I felt that any brain damage would
       constitute significant mitigating evidence in the event Mr. Barbee’s case went to a
       punishment hearing...
       I did not receive any response from either of the attorneys to any of my requests.
       (Exhibit 16 at 3.)



       B. The State courts erred in denying this claim and their holding is based on an
unreasonable determination of the facts and an unreasonable application of clearly established
federal law.

       The trial attorneys attempted to justify their non-presentation of this evidence as follows:

       Applicant would have had a much better presentation if Applicant had taken some
       responsibility for his actions. The entire theory of head injury and mental illness, combined

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       with hydrocodone abuse, in our opinion, only serves to diminish any mitigation if there is
       no acceptance of responsibility.
       (Exhibit 37, Joint Affidavit of Trial Attorneys at 6.)

       As discussed supra, this is nonsensical.

       The State court holding regarding this claim basically rubber-stamped this statement in the

following factual findings (by number):

       78. Mr. Ray and Mr. Moore made the tactical decision not to offer head injury evidence
       because it only served to diminish mitigation absent any acceptance of responsibility for the
       murders of Lisa and Jayden Underwood as a ‘head injury’ explanation is factually
       inconsistent with a ‘no involvement’ defense. See Mr. Ray and Mr. Moore’s Affidavit, page
       6. (Exhibit 37.)
       79. In preparing her mitigation report, Ms. Maxwell learned that the applicant had a history
       of head injuries, including a four-hundred pound pipe being dropped on his head by Ron
       Dodd about one month before the Underwood murders. (See Ms. Maxwell’s Report, page3.
       (Exhibit 16.)
       80. Ms. Maxwell brought this information to the attention of Mr. Ray and Mr. Moore. See
       Mr. Ray and Mr. Moore’s Affidavit, page 6. (Exhibit 37.)
       81. Mr. Ray and Mr. Moore discussed the head injury information. See Mr. Ray and Mr.
       Moore’s Affidavit, page 6. (Exhibit 37.)
       82. Mr. Ray and Mr. Moore concluded that a ‘head injury’ explanation would necessitate
       the applicant accepting responsibility and admitting guilt, which the applicant was unwilling
       to do. See Mr. Ray and Mr. Moore’s Affidavit, page 6. (Exhibit 37.) ...
       87. Mr. Ray and Mr. Moore’s decision not to use a ‘head injury’ explanation for the
       applicant’s murderous conduct was a valid strategic choice based on reasonable
       investigation given the applicant’s lack of significant symptoms and his unwillingness to
       accept responsibility.
       88. Mr. Ray and Mr. Moore made the tactical decision not to offer hydrocodone use
       evidence because it only served to diminish mitigation absent any acceptance of
       responsibility for the murders of Lisa and Jayden Underwood as a ‘hydrocodone use’
       explanation is factually inconsistent with a ‘no involvement’ defense. See Mr. Ray and Mr.
       Moore’s Affidavit , page 6.
       89. In her mitigation investigation, Ms. Maxwell learned that the applicant had been
       ingesting numerous medications, including hydrocodone, which had been prescribed to his
       wife, Trish Barbee. See Ms. Maxwell’s Report, page 3.
       90. Ms. Maxwell brought this information to the attention of Mr. Ray and Mr. Moore. See
       Mr. Ray and Mr. Moore’s Affidavit, page 6.
       91. Mr. Ray and Mr. Moore discussed the hyrdocodone information. See Mr. Ray and Mr.
       Moore’s Affidavit, page 6.




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       92. Mr. Ray and Mr. Moore concluded that a hydrocodone abuse explanation would also
       necessitate the applicant accepting responsibility and admitting guilt, which the applicant
       was unwilling to do. See Mr. Ray and Mr. Moore’s Affidavit, page 6.
       (Exhibit 14 at 11-13.)

       Under 2254(d)(2), these findings, with the possible exceptions of 80-81 and 89-91, are

unreasonable determinations of the facts. In uncritically copying verbatim the trial attorney’s

affidavit, the prosecutor and the State habeas court led the CCA astray.

       The state court findings are also unreasonable applications of clearly established federal law

under 2254(d)(1). The conclusions of law as to this claim were similarly flawed as they repeated

verbatim the findings of fact:

       37. Mr. Ray and Mr. Moore’s decision not to use a ‘head injury’ explanation for the
       applicant’s murderous conduct was a valid strategic choice based on reasonable
       investigation given his lack of significant symptoms and his unwillingness to accept
       responsibility.
       38. Mr. Ray and Mr. Moore provided the applicant with adequate counsel regarding the
       decision not to present a ‘head injury’ explanation for his murderous conduct.
       39. Mr. Ray and Mr. Moore’s decision not to use a ‘hydrocodone abuse’ explanation for the
       applicant’s murderous conduct was a valis strategic choice based on a reasonable
       investigation given his lack of significant symptoms and his unwillingness to accept
       responsibility.
       40. Mr. Ray and Mr. Moore provided the applicant with adequate counsel regarding the
       decision not to present a ‘hydrocodone abuse’ explanation for his murderous conduct.
       (Exhibit 14 at 23.)

       Additional findings were made in the subsequent habeas proceedings. Subsequent Finding

of Fact No. 108 is illogical. It held that “Mr. Ray and Mr. Moore’s decision not to offer head injury

evidence was not a decision adverse to the applicant’s interests, but rather a reasonable tactical

decision given the applicant’s lack of significant symptoms and his unwillingness to accept

responsibility for the murders...” As discussed supra, innocent people can also have head injuries,




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and the head injury evidence was not in any way dependent or diminished by a claim of actual

innocence. And there were significant symptoms, including severe headaches. Subsequent Finding

of Fact No. 110 offers the same illogical rationale for not presenting the evidence of hydrocodone

use. It too was not dependent or tied to an “acceptance of responsibility” for the murders as the state

courts held when they adopted this finding.


       As these conclusions were also based on the errors discussed above, they were an

unreasonable application of clearly established federal law (the Williams, Wiggins, Rompilla

standard discussed infra).

       C. Exhaustion and procedural default.

       Respondent has previously conceded that this claim is exhausted and was brought in the

initial round of state habeas proceedings. Docket No. 40, RA at 17. It was brought before the state

courts in the initial habeas petition and hence it is not subject to procedural default.




Claim Five(e): Ineffective assistance for failure to present evidence of Petitioner’s low
intelligence.

       A. Facts in Support.

       Mental retardation and sub-average intellectual functioning have been widely recognized as

mitigating evidence. In Atkins v. Virginia, 536 U.S. 304 (2002), the United States Supreme Court

declared that the Eighth Amendment’s ban on excessive and cruel and unusual punishments

prohibited the execution of individuals with mental retardation.147 The decision in Atkins relies upon


       147
          Atkins specifically overruled the Supreme Court's contrary decision in Penry v.
Lynaugh, 492 U.S. 302 (1989) (Penry I)


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three related rationales: The empirically established consensus against executing the mentally

retarded; the Court’s independent determination that retaining the death penalty for the mentally

retarded would not further any interest in retribution or deterrence; and the fact that the nature of

the impairment of mental retardation leads to an unacceptable risk of wrongful executions. All

three of these rationales apply equally to persons such as Mr. Barbee. Even if Mr. Barbee does not

meet the traditional criteria for mental retardation, his sub-average functioning would have been

seen as having mitigating value, as it was a disability that he suffers through no fault of his own.

       Had Jackie Barbee been properly prepared and presented to the jury, she would have been

able to tell the jury about Stephen’s difficulty in school with reading comprehension; that he was

consistently in the bottom 20% of his classes; that he had been assigned to a classroom where

students needed extra help; that he struggled throughout his academic career, mainly with reading

comprehension and conduct problems; that he had to attempt his GED three times before passing

it. (Exhibit 19, Declaration of Jackie Barbee). Had Mr. Barbee been tested and had the attorneys

presented this at trial, his jury would have learned that he has a verbal IQ of 87 (low average), a

performance IQ of 99 (average) and a full scale IQ of 91 (average). (Exhibit 17, Statement of Dr.

Stephen Martin, at 3.) However, on other tests he scored lower, such as the Wide Range

Achievement Test-3, he scored in the 13th percentile on the reading segment, the 16th percentile on

the spelling component, and the 27th percentile on the arithmetic segment. (Id. at 4.) Even though

Petitioner had not met the Atkins standard, this would have been significant mitigating evidence.

       B. Argument.

        The legal argument as to this sub-claim overlaps with the prior sub-claim (Five (d)) and the

next sub-claim (Five(f)) and those arguments are incorporated herein by reference.



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        C. Exhaustion and procedural default.

        This claim was presented in the initial state habeas petition as part of Claim 3 and hence it

is exhausted and not defaulted. Even if it were not, any procedural default of this claim, for failure

to adequately raise it in his initial state habeas petition, or raise it adequately, is excused under the

Martinez/Trevino exception discussed supra, which provides “cause” for failure to raise it

adequately in his first state habeas application. The prejudice component is discussed in the

statement of facts pertaining to this claim.



Claim Five(f): Ineffective assistance of counsel for failure to present medical evidence of
frontal lobe impairment, brain impairment and neuropsychiatric evidence.


        A. Facts in Support.

        At trial, Petitioner’s attorneys presented no expert medical testimony regarding the effect

of Mr. Barbee’s head injury just a month before trial, his prior head injuries, or expert opinion

regarding his frontal lobe injuries and impairment. Attached to this petition as Exhibit 17 is the

statement of Dr. Stephen K. Martin, Ph.D, a licensed clinical neuropsychiatrist. Dr. Martin

conducted extensive neuropsychiatric testing on Mr. Barbee and discovered that his known history

of head injuries caused damage to the frontal lobes of Mr. Barbee’s brain and that “Mr. Barbee’s

brain-related impairment appears to be long-standing in nature, and would have been present at the

time of the offense. (Exhibit 17 at 7.)

        Dr. Martin found that:

        3.      Neuropsychological testing has been demonstrated to reliably document the presence
        of brain-related impairment and other forms of brain injury. A neuropsychological
        examination consists of various standardized tests which have the ability to measure a
        variety of cognitive abilities which include: intelligence, academic skills, attention, verbal
        and visual processing, decision-making, memory, language, visual-spatial skills, sensory

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     functions, and motor functions. Such tests are customarily used in the evaluation of an
     individual’s neuropsychological functioning and are accepted by the scientific community
     as reliable tools in the evaluation and treatment of brain impairment. I am licensed to
     administer such neuropsychological tests and have done so hundreds of times.
     4.      I evaluated Mr. Barbee at the Allen B. Polunsky Unit in Livingston, TX on June 14,
     2007. During my examination of Mr. Barbee, I administered various standard and
     customary neuropsychological tests. The tests that were administered are as follows:
     Wechsler Adult Intelligence Scale (WAIS-3); Wechsler Memory Scale (WMS-3); Halstead
     Reitan Neuropsychological Test Battery; Wide Range Achievement Test (WRAT-3); Lateral
     Dominance Exam; Grip Strength; Aphasia Screening Exam; Wisconsin Card Sorting Test
     (WCST); Paced Auditory Serial Addition Test (PASAT); Stroop Neuropsychological
     Screening Test; Controlled Oral Word Association (COWA); Sensory Perceptual Exam;
     Trail Making Test A&B; California Verbal Learning Test (CVLT-2); Rey-O Complex
     Figure; Clock Drawing; Grooved Pegboard; Test of Memory Malingering (TOMM); Rey-15
     Item Test.
     5.      Mr. Barbee was quite cooperative throughout the testing session. He demonstrated
     excellent effort at all times during the evaluation. In order to further evaluate his effort, he
     was given the Rey 15-Item Test and TOMM which are malingering inventories. Mr.
     Barbee’s scores, 15/15 on the Rey-15 Item Test and 49/50 and 50/50, on the TOMM
     reflected excellent effort and was not indicative of malingering. As a result, this evaluation
     is considered to be a valid reflection of his cognitive abilities. Sections 6 - 16 of this
     affidavit include the results of this evaluation:
     6.      On the WAIS-3, he demonstrated a verbal IQ of 87 (low average), a performance IQ
     of 99 (average), for a full scale IQ of 91 (average). The age corrected subtest scores are
     presented below:




     Verbal                                           Performance
     Vocabulary              6                        Picture Completion     11
     Similarity              8                        Digit Symbol           9
     Arithmetic              7                        Block Design           10
     Digit Span              9                        Matrix Reasoning       10
     Information             9                        Picture Arrangement    10
     Comprehension           8

     In terms of his verbal skills he demonstrated mildly impaired performance on a measure
     assessing knowledge of vocabulary words. He demonstrated low average skills on measures
     assessing verbal concept formation, general fund of knowledge and social comprehension.
     Average skills were noted on measures assessing simple and complex auditory attention.
     In terms of his performance skills he demonstrated average performance on measures
     assessing attention to detail, visual motor learning and motor persistence, visual perceptual
     reasoning and problem solving, abstraction and problem solving and visual sequencing.
     7.      On the Wide Range Achievement Test-3, he demonstrated the following grade

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     equivalents: Reading-High School, Spelling-8th grade and Arithmetic-8th grade. These are
     equivalent to the standard scores of 83 (13th percentile), 85 (16th percentile) and 91 (27th
     percentile), respectively. Mr. Barbee’s reading skills (high school) and, to a lesser degree,
     spelling and math skills (7th grade) remain consistent with his educational level.
     8.       On tests more sensitive to the biological integrity of the brain, the patient
     demonstrated a Halstead Impairment Index of 0.3 (30% of components test within the brain
     damage range). On the General Neuropsychological Deficit Scale, his score of 28 falls in
     the mildly impaired range.
     9.       In terms of his auditory attention, he demonstrated mildly impaired performance
     while attending to slowly paced auditory information and low average skills while attending
     to more rapidly paced auditory information. On a complex auditory attention task requiring
     Mr. Barbee to rapidly add a sequence of numbers, he demonstrated variable scores that
     overall suggested a mild degree of impairment. He demonstrated average simple visual
     attention and tracking skills. On a complex visual attention and tracking task requiring
     flexibility of thought and motor sequencing ability, he demonstrated low average
     performance. He demonstrated mildly impaired skills on another visual attention task
     requiring rapid visual sequencing and processing and the ability to rapidly shift cognitive
     sets.
     10.      On other complex cognitive measures, he demonstrated average performance on a
     semi structured task requiring flexibility of thought, ability to shift cognitive sets and
     problem solving ability. However, he also demonstrated a single “failure to maintain set
     error” suggesting some disruption with sustained problem solving skills. On another
     measure assessing abstraction ability and logical analysis, he demonstrated average skills.
     On this test, he was required to “figure out” the underlying principle to use in a problem
     solving situation. Finally, on a complex psychomotor problem solving task (placing blocks
     in a form board while blindfolded), he demonstrated average skills.
     11.      On a brief aphasia screening exam, he demonstrated evidence of dysnomia. He also
     demonstrated severely impaired verbal fluency skills on a measure requiring him to generate
     as many words as possible beginning with a specific letter.             12.     The patient did
     not demonstrate clear evidence of constructional dyspraxia upon examination. He
     performed adequately on a clock drawing task. Average performance was noted on a WAIS-
     3 measure requiring visual spatial and visual motor integration skills. He demonstrated
     average skills on a psychomotor problem solving task that has a strong spatial component.
     13.      In terms of his ability to incidentally learn information that he did not specifically
     set out to learn, he demonstrated above average skills with simple information and average
     skills with complex information.
     14.      In terms of his verbal memory, he demonstrated high average immediate (SS=12)
     and mildly impaired 30 minute delayed recall (SS=5) for simple, paragraph length material.
     On a less structured list learning task, he demonstrated average memory storage as he was
     able to learn fourteen of sixteen words after five trials. He did not benefit a great deal from
     verbal cuing and his recognition memory was in the average range.
     15.      In terms of his visual memory, he demonstrated high average immediate (SS=13) and
     very superior 30 minute delayed recall (SS=16) for simple visual information. On a more



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      complex visual memory measure, he demonstrated mildly impaired performance while
     reconstructing a complex geometrical design. However, his immediate and 30 minute
     delayed recall fell within the average to above average ranges. His recognition of specific
     details of the design and the overall gestalt of the design was within normal limits.
     16.      A mild degree of impairment was noted involving simple motor abilities. In
     particular, his right hand was noted to be somewhat slower and weaker than expected in
     comparison to his left hand on each of these measures. On the specific measures, his
     bilateral finger tapping speed appeared average, his grip strength scores were moderately
     impaired, and his fine motor dexterity scores fell in the average – low average ranges. He
     did not demonstrate any simple sensory errors in the tactile, auditory or visual modalities,
     nor did he demonstrate any finger agnosia errors. He demonstrated two right sided finger
     tip number writing errors. His tactile form recognition performance was within normal
     limits. He did not demonstrate any visual field cuts upon gross visual field examination.
     17.      Results of this neuropsychological evaluation reflect a subtle to mild degree of
     diffuse neuropsychological impairment along with subtle bilateral hemisphere dysfunction.
     General impairment was noted on measures assessing recognition of simple auditory
     information, mental flexibility and cognitive shifting, as well as complex auditory attention.
     Left hemisphere dysfunction was noted to involve word finding and verbal fluency, mildly
     impaired delayed verbal recall of contextual information, and mild sensory-motor
     impairment. Cognitive abilities associate with the right hemisphere were largely intact with
     the exception of left sided psychomotor problem solving issues. Mr. Barbee’s intellectual
     skills are falling in the average to low average ranges including his verbal IQ (VIQ = 87) and
     performance IQ (PIQ = 99). From an academic standpoint, his basic abilities appear
     relatively intact although his spelling and math skills represent areas of relative academic
     weakness. Other areas of cognition that fell generally within normal limits included basic
     visual tracking skills, simple problem solving, abstraction skills, psychomotor problem
     solving, incidental memory, visual-spatial skills, simple and complex sensory abilities,
     verbal recall for non-contextual information, as well as visual recall for simple and complex
     information.
     (Exhibit 17, Statement of Dr. Stephen Martin.)

     Dr. Martin concluded that:

             The areas of impairment on this profile appear to reflect primarily frontal lobe-
     mediated abilities including simple motor and psychomotor skills, word finding and verbal
     fluency, mental flexibility, cognitive processing speed, as well as aspects of auditory
     attention particularly for rapidly-paced information. There were also some indications of
     mild verbal memory dysfunction. From an etiological standpoint, this pattern of impairment
     would be consistent with long-term residual effects from a concussion(s). There are no
     indications that psychiatric factors contributed towards this profile, and Mr. Barbee is not
     taking any medications that could have negatively affected his performance.
             Mr. Berbee’s brain-related impairment appears to be long-standing in nature, and
     would have been present at the time of the alleged offense. As previously noted, the most
     significant impairment currently being reported involves frontal lobe-mediated abilities....
             When the behavioral effects of his frontal lobe impairment are considered, a broader

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       and more accurate explanation for why Mr. Barbee could have engaged in a violent crime
       emerges. As previously described, the brain’s “frontal lobes’ tend to directly moderate how
       we react to emotionally charged situations. Individuals that have damage to the frontal lobes
       are at greater risk to engage in impulsive and potentially violent behavior without fully
       considering the consequences.
               Based upon this information, it is my opinion that Mr. Barbee’s violent actions at the
       time of the offense would have been mediated by emotional factors as opposed to reason due
       to the aforementioned damage to his frontal lobes. The negative effects of damaged frontal
       lobes would have likely increased his impulsivity tendencies and reduced his ability to fully
       consider the consequences of his actions.
               It is my understanding that at the time of the trial, Mr. Barbee’s trial attorney was
       aware of his history of head trauma and was encouraged by his mitigation expert to pursue
       neuropsychological testing. Nevertheless, this testing was not performed. It is my opinion
       that his trial attorney should have requested a neuropsychological evalaution, particularly
       given his knowledge that Mr. Barbee had, in fact, suffered head trauma a few weeks prior
       to the offense. Further, an expert with the same or comparable experience and training such
       as I could have given testimony substantially the same as outlined in my affidavit above at
       the guilt/innocence phase of the trial to challenge the legal elements of his knowing and
       intentionality. It is my opinion that had this evidence been adequately investigated,
       developed and presented by trial counsel in the guilt/innocence phase, the verdict may have
       been different.
               Finally, it is my opinion that this clinical information had mitigating significance and
       Mr. Barbee’s trial attorney was ineffective in failing to present it. As a result, the jury could
       not have appreciated and given effect to the mitigating significance of this evidence in
       making a life/death decision.
       (Exhibit 17 at 7-8.)

       Mitigation expert Amanda Maxwell was hired by the trial attorneys to obtain mitigation

evidence. She obtained extensive mental, physical health, educational, employment and family and

social history records of Mr. Barbee. (Exhibit 16, Statement of Amanda Maxwell, at 3.) Ms.

Maxwell also found that there was significant mitigating evidence regarding these factors and

brought them to the attention of trial counsel. (Exhibit 16 at 2-5.)




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       B. The state court erred in denying this claim and its holding was an unreasonable
       determination of the facts and an unreasonable application of clearly established
       federal law.

       This claim was brought in the initial state habeas proceedings. (Exhibit 11 at 10-11, 23-24,

Claim 3.) The state habeas court and the CCA, in rubber-stamping the State’s findings, were based

on the controverting conclusions of Dr. Price, which they submitted as an appendix to their proposed

findings and conclusions. (Exhibit 14 at 12.) Thus, the state court’s holding that there were no

controverted factual issues (Exhibit 15) is erroneous on its face. The state court also erred when

it found that “Mr. Ray and Mr. Moore’s decision not to use a ‘head injury’ explanation for the

appellant’s murderous conduct was a valid strategic choice based on reasonable investigation given

the applicant’s lack of significant symptoms and his unwillingness to accept responsibility.” (Exhibit

14 at 12.) However, the record shows that no neuropsychiatric testing was ever done, despite Ms.

Maxwell’s recommendation, so this failure cannot be seen as “strategic.” The attorneys did not

know what mitigating value the impairment had or did not have because they did not investigate it.

This cannot be seen as “strategic.” Therefore, the underlying conclusion of law, that this failure

was “strategic” and based on “reasonable investigation” and that the attorneys provided Petition

with “reasonable counsel” was also erroneous. (Exhibit 14 at 23, Conclusions of Law Nos. 35-38.)

        Subsequent Finding of Fact No. 108 is completely illogical. It held that “Mr. Ray and Mr.

Moore’s decision not to offer head injury evidence was not a decision adverse to the applicant’s

interests, but rather a reasonable tactical decision given the applicant’s lack of significant symptoms

and his unwillingness to accept responsibility for the murders...” As discussed supra, innocent

people can also have head injuries, and the head injury evidence was not in any way dependent or

diminished by a claim of actual innocence. And there were significant symptoms, including severe


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headaches. Subsequent Finding of Fact No. 110 offers the same illogical rationale for not presenting

the evidence of hydrocodone use. It too was not dependent or tied to an “acceptance of

responsibility” for the murders as the state courts held when they adopted this finding.

          The state court conclusions of law were also an unreasonable application of clearly

established federal law, as discussed in the argument section at the end of this claim.

          C. Exhaustion.

          This claim is exhausted as it was brought in the initial round of habeas proceedings and, as

discussed supra, the state courts issued and adopted extensive findings of fact and conclusions of

law regarding this claim. Respondent has previously conceded that the claim is exhausted and

devoted a large part of the Answer to this claim. Docket No. 40, RA at 57-75. It was also brought

in the subsequent round of state habeas proceedings, and subsequent findings and conclusions were

issued.

          Even if it were not exhausted, any procedural default of this claim, for failure to adequately

raise it in his initial state habeas petition,       or raise it adequately, is excused under the

Martinez/Trevino exception discussed supra, which provides “cause” for failure to raise it

adequately in his first state habeas application. The prejudice component is discussed in the

statement of facts pertaining to this claim.




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CLAIM SIX: DUE TO PERVASIVE AND EXTREMELY PREJUDICIAL PRE-TRIAL AND
TRIAL PUBLICITY, MR. BARBEE’S TRIAL WAS CONDUCTED IN AN ATMOSPHERE
THAT RENDERED IT INHERENTLY UNFAIR.

       Mr. Barbee’s conviction and sentence are invalid because he was deprived of his

constitutional right to effective assistance of counsel, due process of law, equal protection of the

laws, cross-examination and confrontation, and a reliable sentence due to the fact that his trial was

conducted in an inherently unfair venue.        U.S. Const. Art. VI, Amends. V, VI, VIII, XIV;

International Covenant on Civil and Political Rights, Art. XIV and comparable provisions of the

Texas Constitution.

       Due to extensive media coverage of the events surrounding the murders, Mr. Barbee’s trial

was conducted in an atmosphere calculated to deprive him of any chance of fairness, due to the

extensive exposure of the jurors to that publicity. The pre-trial and trial coverage of the murders was

both inflammatory and prejudicial, and could only have had the effect of depriving Petitioner of due

process of law.

       A. Facts in Support of Claim.

       i) Juror knowledge of the case and exposure to pre-trial publicity.

       Many jurors had heard of this case because of the extensive pre-trial publicity, such as juror

Denise Anderson who actually sat on Petitioner’s jury. (See Claim Nine, infra.)

       ii) The newspaper coverage.

       The news coverage of the events leading up to Mr. Barbee’s 2006 trial was pervasive and

prejudicial. A fair trial was impossible in Tarrant County. Due to the large number of prominent

stories on the case, the coverage of the Forth Worth Star-Telegram was undoubtedly the main

source of the jurors’ knowledge of the case. This paper, according to the Audit Bureau of



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Circulation (compiled by BurrellesLuce), in 2005 had a circulation of 237,554 on weekdays and a

Sunday circulation of 333,933.148 In 2006, the circulation was 219,715 on weekdays and 321,322

on Sundays, also according to the Audit Bureau of Circulation figures quoted by the owners. In

2000, Tarrant County had a total of 533,864 households, and in 2009 it had 691,604 “housing units”

which indicated that the paper was received by about 43 per cent of the households in the county.149

 Due to the notoriety of the charges and the case, the paper has given the Underwood murder case

extensive and prominent coverage. In 2005, the year of the trial, there were many articles featuring

this case.

        From the very initial stages of this case, there was massive publicity in Tarrant County that

was extremely prejudicial to Mr. Barbee’s chance of a fair trial and of an unbiased jury. Because

the publicity was much more localized and of interest to residents of Tarrant County, much or all

of this prejudice could have been avoided had his attorneys filed a motion for change of venue.

        On February 22, 2005, the Forth Worth Star-Telegram featured a story entitled “Missing

mom’s vehicle found.” (Exhibit 10.)150 The article gave details about the victims.

        Also on February 22, 2005, the Forth Worth Star-Telegram featured a story entitled “Bodies

of missing woman, child found .” (Exhibit 10.) That story mentioned that “Stephen Barbee, 37,

who had romantically been involved with Underwood, was taken into custody in Tyler in East

Texas...” (Exhibit 10.)



        148
              See Exhibit 42, circulation figures for Fort Worth Star-Telegram; Tarrant County
population.
        149
              See Exhibit 42, U.S. Census Bureau Statistics for Tarrant County, at 2.
        150
              The articles in Exhibit 10 are arranged in chronological order, as they are discussed
here.

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       The same day, an article appeared in the Fort Worth paper entitled “Man charged with

double homicide in Texas.” It stated that “Stephen Dale Barbee, 37, admitted arguing with

Underwood over leaving his wife, according to court papers. Barbee allegedly said he suffocated

Underwood, then did the same to the boy after he interrupted the attack. Court papers said Barbee

was the father of Underwood’s fetus... Barbee told investigators he put the bodies in the back of

Underwood’s sport utility vehicle and dug a shallow grave...Court papers also revealed that a

sheriff’s deputy briefly had Barbee in custody early Saturday when he stopped a suspicious man

covered in mud. The man ran into the woods and escaped...Underwood and Barbee met about two

years ago but split up last fall because Barbee had another girlfriend.... ” (Exhibit 10.)

       Also on Feb. 22, 2005, a long article appeared in the same paper entitled “Police arrest

suspect on murder warrant. (Exhibit 10.) The article mentioned that Mr. Barbee had been arrested.

       On February 23, 2006, a very long and detailed update to the previous’s day’s article

appeared in the Fort Worth Star-Telegram by Melody McDonald and Deanna Boyd entitled “Bodies

of missing mom, child found near Justin; Woman’s ex-boyfriend leads authorities to grave.”

(Exhibit 10.) The article started out with the statement that

               The bodies of a missing pregnant woman and her 7-year-old son were found Tuesday
       after the father of the unborn baby led authorities to their shallow grave off a rural road near
       Justin.
               Stephen D. Barbee, had told homicide detectives that he suffocated ex-girlfriend Lisa
       Underwood and Jayden, her son from another relationship, after arguing with her over his
       refusal to leave his wife. Barbee, who worked in the concrete and tree-clearing business,
       was arrested in Tyler on a capital murder warrant early Tuesday after making the admission.
       He was being held in the Mansfield Jail, with bail set at $2 million....
               After determining that Barbee was the father of Underwood’s unborn child, police
       questioned him about the missing woman and her son. He told investigators that he was at
       his business partner’s home at the time of their disappearance.
               On Monday night, Barbee’s story changed.
               Fort Worth police officers had traveled to Tyler, near where Barbee had told police



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        he would be clearing trees if they needed to talk to him again.
       This time, Barbee admitted that he had killed the mother and son.
               According to an arrest warrant, he told Detective Mike carroll that Ron Dodd, a
       friend and business associate, had dropped him off at Underwood’s house late Friday.
               Barbee told police that he and Underwood, who was seven months pregnant with his
       daughter, began to argue and that Underwood kicked him in the leg, Carroll wrote in the
       affidavit.
               Barbee said he punched Underwood, 34, several times in the face, causing her nose
       to bleed, then held her down and suffocated her, the affidavit states.
               At some point, Jayden ran into the room screaming, and Barbee used his hand to
       cover the boy’s mouth and nose until he was dead, according to the affidavit.
               Barbee loaded the bodies into the back of Underwood’s sport utility vehicle, drove
       to a deserted location in Denton County and buried them together, the affidavit states.
               On Tuesday morning, Barbee was taken from Tyler to Fort Worth. Later, sheckled
       and handcuffed, he led investigators to the grave.
               Throughout the day, friends of the victims stopped by Boopa’s Bagel Deli, which
       Underwood co-owned, to place memorials. On Tuesday night, classmates and friends of
       Jayden gathered outside the deli for a candlelight vigil.
               Brittany Bumgarner, a first-grader at North Riverside Elementary School, where
       Jayden was also a student, placed a card she made among the flowers, balloons and candles
       that were piled in front of the deli.
       (Exhibit 10.)

       The same long article gave Ron Dodd’s version of the events; stated that Barbee had

admitted he was the man who ran away from the law enforcement officer who stopped him near the

site where the bodies were discovered; that Lisa and Stephen Barbee had been romantically

involved; that a friend of Lisa’s was struggling about how to tell her son that Jayden was dead; that

Mr. Barbee had admitted killing Lisa and Jayden; and a long time-line of “how it happened” taken

from “an arrest warrant.” (Exhibit 10.)

       On Feb. 23, 2005, another article appeared in the Fort Worth paper entitled “Associate of

suspect arrested on parole violation.” It again stated that Mr. Barbee had admitted suffocating Lisa

and Jayden. (Exhibit 10.)

       The same day, another article appeared entitled “Acquaintances views on suspect differ.”




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The article stated that some was in disbelief on hearing of Mr. Barbee’s arrest, but quoted a Tim

Housman as saying that Mr. Barbee would set fires from his tree clippings and leave them

unattended, and that “Barbee was not the most likeable of people.” Another acquaintance was

quoted as saying that Mr. Barbee was “prone to drinking and in trouble with his wife because of his

extramarital affairs...‘he wanted to run around buy new cars.’” (Exhibit 10.)

       Also on Feb. 23, 2005, the Fort Worth paper ran another long article entitled “Authorities:

Suspect tells police he suffocated woman, son.” (Exhibit 10.) That article detailed Mr. Barbee’s

alleged confession; falsely reported that he was the father of Lisa’s unborn child; and gave extensive

details on Mr. Barbee’s alleged actions in both the murders and the concealment of the bodies.

(Exhibit 10.)

       Also that date, the paper ran an article entitled “Memorials and flowers flow at bagel shop,”

which contained details regarding the mourners at the victim’s bagel shop, such as “Ian Korpi, 5,

dropped off flowers for Underwood, stickers for Jayden and a pink stuffed bunny for the baby. He

didn’t quite understand that they had been killed, his mother, Lara Korpi said.” (Exhibit 10.)

       On Feb. 24, 2005, the Fort Worth paper ran an article entitled “Suspect’s wife says he’s not

a murderer.” (Exhibit 10.)      Although the article contained supportive statements from Trish

Barbee, it also contained statement from the police disputing Trish’s statements, including

allegations that Lisa was blackmailing Mr. Barbee.

       Also on Feb. 24, the same paper ran an article entitled “Barbee transferred to county jail”

which stated that “[c]ourt documents state Barbee confessed to investigators that he suffocated Lisa

Underwood and Jayden, her son from another relationship, after he and Underwood began arguing

over his refusal to leave his wife.” (Exhibit 10.)



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       On that date, another article appeared in the Fort Worth paper entitled “Man jailed on parole

violation,” relating Ron Dodd’s version of the events. (Exhibit 10.)

       On Feb. 25, 2005, the Fort Worth paper carried an article entitled “Capital murder charges

filed.” (Exhibit 10.) The article indicated that “[a]ccording to investigators, Barbee, 37, confessed

that he suffocated Underwood and Jayden after arguing with Underwood about his refusal to leave

his wife. He then buried the bodies in Denton County, police reported.”

       Also on that date, the same paper ran an article entitled “Company distances itself from

Barbee.” (Exhibit 10.) It detailed a company spokesman’s “shock, sadness and dismay at the

disgusting and despicable events that took place and resulted in the murder of three innocent

individuals: Lisa Underwood, her unborn child, and Jayden Underwood.” It also included Ron

Dadd’s statement that “he was not involved.”

       On Feb. 26, 2005, the Fort Worth paper ran an article entitled “Friends remember slain mom,

son” which mentioned the memorial services for the victims.

       On Feb. 27, 2005, the same paper ran an article entitled “Paying respects” which stated

“Stephen Barbee, who police say admitted suffocating the two, has been charged with capital

murder.” (Exhibit 10. )

       The articles continued well after the first week, well into the beginning of the trial.

       As a result of this pre-trial publicity, the notoriety of the case and the strong feelings that the

re-trial engendered in the local community, the trial was conducted in an inherently prejudicial

atmosphere.

       B. Legal Standard

       Pre-trial publicity, see Sheppard v. Maxwell, 384 U.S. 333 (1966), may make the trial



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process inherently unfair and violate due process of law. “Where a petitioner adduces evidence of

inflammatory, prejudicial pretrial publicity that so pervades or saturates the community as to render

virtually impossible a fair trial by an impartial jury drawn from that community, prejudice is

presumed and there is no further duty to establish bias.” Mayola v. Alabama, 623 F.2d 992, 997 (5th

Cir. 1980).

        The due process clause of the Fourteenth Amendment guarantees the right of state criminal

defendants to be tried by an impartial jury. The Fourteenth Amendment incorporates the essence

of the Sixth amendment right to be tried “by a panel of impartial ‘indifferent’ jurors [whose] verdict

must be based upon the evidence developed at the trial.” Irwin v. Dowd, 366 U.S. 717 (1961). As

Chief Justice Earl Warren noted in his concurrence in Estes v. Texas, 381 U.S. 532, 552 (1965)

(Warren, C.J., concurring) due process requires the courts to safeguard against “the intrusion of

factors into the trial process that tend to subvert its purpose.” Id. at 560. Specifically, the courts must

guard against ‘the atmosphere in and around the courtroom [becoming] so hostile as to interfere with

the trial process, even though...all the forms of trial conformed to the requirements of law...” Id. at

561; Woods v. Dugger, 923 F.2d 1454, 1456-57 (11th Cir. 1991).

        As the leading case of Sheppard v. Maxwell, supra, observed, “legal trials are not like

elections, to be won through the use of the meeting-hall, the radio, and the newspaper.” Sheppard,

at 350, quoting Bridges v. State of California, 314 U.S. 252, 271 (1941). A defendant is entitled to

a fair trial “in a public tribunal free of prejudice, passion, excitement, and tyrannical power.” Id.

There is the requirement that “the jury’s verdict be based on evidence received in open court, not

from outside sources”, Sheppard, at 351, and the “prejudice from such material ‘may indeed be

greater’ than when it is part of the prosecution’s evidence ‘for then it is not tempered by protective



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procedures’” Id., quoting Marshall v. United States, 360 U.S. 310, 313 (1959). Juror statements

“that [they] would not be influenced by the news articles, that [they] could decide the case only on

the evidence of record, and that [they] felt no prejudice against petitioner as a result of the articles”

are not considered dispositive. Sheppard, at 351.

          In Estes v. State of Texas, 381 U.S. 532 (1965), the Supreme Court set aside a conviction

despite the absence of any showing of prejudice. As the Court said in Estes:

                 [i]t is true that in most cases involving claims of due process deprivations we
                 require a showing of identifiable prejudice to the accused. Nevertheless, at
                 times a procedure employed by the State involves such a probability that
                 prejudice will result that it is deemed inherently lacking in due process.
                 Id., at 542-43.

          The procedure in question in Estes was the denial of a change of venue “to a locale away

from where the publicity originated; nor was his jury sequestered.” Sheppard, at 352-53.

          Similarly, Rideau v. Louisiana, 373 U.S. 723 (1963) dealt with the trial court’s refusal to

grant a change of venue motion. In Rideau, there was a single broadcast of a videotaped

confession. The Supreme Court held that

          for anyone who has ever watched television the conclusion cannot be avoided that this
          spectacle, to the tens of thousands of people who saw and heard it, in a very real sense was
          Rideau’s trial...Any subsequent court proceedings in a community so pervasively exposed
          to such a spectacle could be but a hollow formality.”
          Rideau, at 726.

          Due process of law, the Court held, “required a trial before a jury drawn from a community

of people who had not seen and heard” [the interview]. Id. at 727, and this same due process,

“preserved for all by our Constitution, commands that no such practice as that disclosed by this

record shall send any accused to his death.” Rideau, id., quoting Chambers v. Florida, 309 U.S. 227

(1940).



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       i) Bias and prejudice

       Normally, a showing of either actual or inherent prejudice is required in order to prevail on

a claim of denial of a fair trial. Holbrook v. Flynn, 475 U.S. 560 (1986); Irvin v. Dowd, 366 U.S.

717 (1961); Woods v. Dugger, 923 F.2d 1454, 1457 (11th Cir. 1991). The test for inherent prejudice

is “not whether jurors actually articulated a consciousness of some prejudicial effect, but rather

whether ‘an unacceptable risk is presented of impermissible factors coming into play.’” Holbrook

v. Flynn, 475 U.S. at 570, quoting Estelle v. Williams, 425 U.S. 501 (1976).

       But, as Rideau held, prejudice is presumed when the record demonstrates that the community

where the trial was held was saturated with prejudicial and inflammatory media publicity about the

crime. Rideau, 726-27; see also Sheppard v. Maxwell, 384 U.S. 333, 352-55 (1966). Under such

circumstances, it is not necessary to demonstrate actual bias. Estes, 381 U.S. at 542-43; Mayola v.

Alabama, 623 F.2d 992, 997 (5th Cir. 1980), cert. denied, 451 U.S. 913 (1981). As shown above,

the record in Mr. Barbee’s case shows that the relevant community, Tarrant County, was saturated

in highly prejudicial and inflammatory publicity that assumed the guilt of Mr. Barbee and served

to create a hostile atmosphere in which a fair trial was impossible. Thus, “prejudice is presumed,

and there is no further duty to establish bias. Mayola v. Alabama, 623 F.2d 992, 997 (5th Cir. 1980).

Thus, if this Court should hold that a showing of bias is required in Mr. Barbee’s case, he has easily

meet that burden.

       C. What the state courts held.

       This claim was brought in Mr. Barbee’s subsequent state habeas application as Claim 6, and

was dismissed “as an abuse of the writ” because those allegations “do not satisfy the requirements

of Article 11.071 Section 5.” Ex parte Stephen Dale Barbee, No. WR-71,070-02, at 2. (Tex. Crim.



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App. May 8, 2013)(Exhibit 52.) Hence, it was not denied on the merits but only on procedural

grounds, and the 2254(d) standard of review does not apply. Cone v. Bell, 129 S. Ct. 1769, 1784

(2009)(“Because the Tennessee courts did not reach the merits of Cone’s Brady claim [and instead

rejected claim on procedural default grounds], federal habeas review is not subject to the deferential

standard that applies under AEDPA...Instead the claim is reviewed de novo”); Graves v. Dretke, 442

F.3d 334, 339 (5th Cir.), cert. denied, 549 U.S. 943 (2006)(section 2254(d) is inapplicable because

petitioner’s “claims were dismissed by the Texas courts as abuses of the writ, i.e., on procedural

grounds,” and thus “were not adjudicated on the merits in Stare court”).

        D. Cause and prejudice.

        To the extent that the trial occurred in this prejudicial setting because of the failure of trial

counsel to file a motion for change of venue (the subject of the next claim) then any procedural

default of this claim, for failure to raise it in his initial state habeas petition, or failure to raise it

adequately, is excused under the Martinez/Trevino exception discussed supra, which provides

“cause” for failure to raise it adequately in his first state habeas application. The prejudice

component is discussed in the statement of facts pertaining to this claim.




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CLAIM SEVEN: DEFENSE COUNSEL WERE INEFFECTIVE FOR FAILING TO FILE
A MOTION FOR CHANGE OF VENUE.

         Mr. Barbee’s conviction and sentence are invalid because he was deprived of his

constitutional right to effective assistance of counsel, due process of law, equal protection of the

laws, cross-examination and confrontation, and a reliable sentence due to the failure of trial counsel

to file a motion for change of venue. U.S. Const. Art. VI, Amends. V, VI, VIII, XIV; International

Covenant on Civil and Political Rights, Art. XIV and comparable provisions of the Texas

Constitution. As recounted supra in Claim Six, supra, due to extensive media coverage of the

events surrounding the murders, Mr. Barbee’s trial was conducted in an atmosphere calculated to

deprive him of any chance of fairness, due to the extensive exposure of the jurors to that publicity.

The pre-trial and trial coverage of the murders was both inflammatory and prejudicial, and could

only have had the effect of depriving Petitioner of due process of law. Yet, inexplicitly, counsel

failed to file a motion for change of venue.

         A. Facts in Support of Claim.

         Petitioner incorporates herein by reference the facts and argument in support of Claim Six,

supra.

         No motion for change of venue was filed by the defense attorneys, despite the massive level

of local prejudice. There would have been no downside to such a motion. Had the case been moved

to another city in Texas, it is highly likely that the jury pool would not have been prejudiced by the

pre-trial publicity detailed supra. The Fort Worth paper’s massive publicity caused a tainting of the

juror pool. As the case had significance to Tarrant County, and the publicity was particularly

intense in that county, simply moving the case out of county would have largely eliminated the

threat to a fair trial that existed in Tarrant County.


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       B. Legal Standard.

       Mr. Barbee’s attorneys’ failure to attempt to move for a change of venue caused his

conviction and death sentence to violate the Fifth, Sixth, Eighth, and Fourteenth Amendments of

the United States Constitution. But for counsel’s unprofessional omission to file the motion, the

result of the proceeding would have been different. Wiggins v. Smith, 539 U.S. 510, 521, 534

(2003); Strickland v. Washington, 466 U.S. 668, 694 (1984); Thompson v. State, 9 S.W.3d 808, 812

(Tex. Crim. App. 1999). The standards discussed supra are incorporated herein by reference.

       Given the community’s animosity toward Mr. Barbee, as shown infra, it was unreasonable

under these standards for defense counsel to fail to file a motion for change of venue. As we have

seen, the massive publicity was mainly generated by the local newspaper (Exhibit 10), along with

other media such as television. The level of interest in the crime would have been much less even

in nearby counties or in any nearby city such as Austin, Houston, or Dallas. But the crime,

involving the murder of a pregnant woman and her young son, was of great local interest. There

was no reasonable strategic reason for defense counsel not to at least try to have the trial moved out

of Fort Worth and Tarrant County.

       Mr. Barbee has established the prejudice component of the Strickland test by showing that

there was massive negative publicity that would have meant that a motion for change of venue likely

would have been successful. The massive publicity shown in Exhibit 10 documents clearly that a

fair and unbiased jury would have been impossible. The only chance Mr. Barbee had of a fair trial

depended on this matter being removed from Tarrant County, the source of the jury pool, which had

been contaminated by the numerous local newspaper and television stories.




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        C. What the state courts held.

        This claim was brought in Mr. Barbee’s subsequent state habeas application as Claim 7, and

was dismissed “as an abuse of the writ” because those allegations “do not satisfy the requirements

of Article 11.071 Section 5.” Ex parte Stephen Dale Barbee, No. WR-71,070-02, at 2. (Tex. Crim.

App. May 8, 2013)(Exhibit 52.) Hence, it was not denied on the merits but only on procedural

grounds, and the 2254(d) standard of review does not apply. Cone v. Bell, 129 S. Ct. 1769, 1784

(2009)(“Because the Tennessee courts did not reach the merits of Cone’s Brady claim [and instead

rejected claim on procedural default grounds], federal habeas review is not subject to the deferential

standard that applies under AEDPA...Instead the claim is reviewed de novo”); Graves v. Dretke, 442

F.3d 334, 339 (5th Cir.), cert. denied, 549 U.S. 943 (2006)(section 2254(d) is inapplicable because

petitioner’s “claims were dismissed by the Texas courts as abuses of the writ, i.e., on procedural

grounds,” and thus “were not adjudicated on the merits in Stare court”).

        D. Cause and prejudice.

        As this claim involves ineffective assistance of trial counsel, any procedural default of this

claim, for failure to raise it in his initial state habeas petition, or failure to raise it adequately, is

excused under the Martinez/Trevino exception discussed supra, which provides “cause” for failure

to raise it adequately in his first state habeas application. The prejudice component is discussed in

the statement of facts pertaining to this claim.




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CLAIM EIGHT: PETITIONER WAS DEPRIVED OF HIS RIGHTS UNDER THE FIFTH
AND FOURTEENTH AMENDMENTS TO THE UNITED STATES CONSTITUTION BY
THE FAILURE OF THE STATE COURTS TO HOLD AN EVIDENTIARY HEARING ON
SUBSTANTIAL, CONTROVERTED AND UNRESOLVED ISSUES OF FACT.

       Petitioner was deprived of due process and his right to a fair trial when, in Petitioner’s initial

state habeas proceedings, the state court erroneously refused his request to hold an evidentiary

hearing on substantial controverted factual issues and the Texas Court of Criminal Appeals failed

to order such a hearing.151 The error was repeated in the subsequent round of state habeas

proceedings, where a hearing was denied on all claims except Claim 2, the conflict of interest claim.

The judge who presided over the state habeas proceedings, Judge Louis Sturns, was not the same

judge who presided over Petitioner’s trial (Judge Robert Gill). This deprived Petitioner of his rights

under the Fifth, Sixth and Fourteenth Amendments to the United States Constitution.

       A. Facts in Support.

       The initial state habeas proceedings involved no more input from the state habeas judge than

that which could have been provided by the use of a rubber stamp or an Auto-Pen.

       The judge who presided at Petitioner’s trial was Judge Robert K. Gill. See, e.g., 2 CR 394,

Court’s Charge at Guilt/Innocence, signed by Judge Bob Gill, 213th District Court. However, Judge

Gill did not preside over Petitioner’s state habeas proceedings. His successor Judge Louis Sturns

did. (See, e.g. Exhibit 15.)

       On March 14, 2008, Petitioner filed his application for writ of habeas corpus setting forth

four claims for relief, including abandonment of counsel, ineffective assistance of counsel at both

pretrial and trial, and police misconduct. (Exhibit 11.) Then the State filed a “Motion To Compel


       151
            The trial court, in the subsequent application, did order a hearing on one issue,
Claim 2, relating to a conflict of interest. This Claim concerns the issues upon which a hearing
was requested and refused, principally the ineffective assistance of counsel claims.

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Disclosure Of Medical Information And Records” from Dr. Martin, as Petitioner’s state habeas

counsel had included Dr. Martin’s affidavit in the state habeas application. (Exhibit 45, Orders of

the state habeas court.) The State helpfully included a proposed Order to compel this disclosure,

which was signed verbatim by Judge Sturns. Id. The State applied for an extension of time to file

their reply (unopposed) and this was granted by Judge Sturns. (Exhibit 45, Orders of the state

habeas court). Then the State requested affidavits from trial counsel Mr. Ray and Mr. Moore and

again Judge Sturns granted the motion signed the State’s pre-prepared order verbatim. Id. (This

joint affidavit was submitted to the state habeas court, Exhibit 37.)152 On September 29, 2008, Judge

Louis Sturns signed a “Memorandum and Order” holding that

       the Court hereby determines, pursuant to article 11.071, section 8(a), of the Code of
       Criminal Procedure, that there exists no controverted, previously unresolved factual issues
       material to the legality of the applicant’s confinement.
       (Exhibit 15, Memorandum and Order of September 29, 2008, by Judge Louis Sturns.)

        Petitioner specifically requested an evidentiary hearing on the contested factual issues.

(Exhibit 41, Petitioner’s Reply to State’s Response and Request for Hearing) but this was never even

ruled upon. Petitioner’s state habeas application was then denied by Judge Louis Sturns on

November 6, 2008, by adopting verbatim the State’s proposed findings and conclusions without

changing so much as a comma. (See Exhibit 15, Order adopting the State’s proposed memorandum,

findings of fact, and conclusions of law and forwarding these findings and the application to the

Texas Court of Criminal Appeals.) No evidentiary hearing was held, as the CCA’s Order of

January 14, 2009 points out. (See Exhibit 9, Order in Ex Parte Stephen Dale Barbee, No WR-


       152
             As discussed supra, the joint affidavit of Mr. Ray and Mr. Moore was based on many
misrepresentations and distortions and was so haphazardly written, in an effort to ensure that
their client’s death sentence be upheld, that it is contradictory on its own terms. As such, it
created many controverted factual issues that were never resolved in the state habeas
proceedings, such as they were.

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71,070-01, at 2; “The trial court did not hold an evidentiary hearing.”)

        Contrary to the state habeas court’s finding (Exhibit 15), and the CCA’s holding (Exhibit

9), it is very clear that there were numerous unresolved factual issues. Judge Sturns was in no

position to dispose of these issues through “paper hearings” as they involved claims of ineffective

assistance of trial counsel which involved controverted issues of fact, and Judge Sturns had not

presided over the trial. Without a live hearing, he was in no position to judge the veracity of the

conflicting factual claims, particularly those regarding ineffective assistance of counsel. In fact, the

State’s own reply to Petitioner’s writ application, and the State’s proposed findings of fact and

conclusions of law, adopted verbatim by the state habeas court, establish the existence of many

disputed factual issues. The State’s reply to Petitioner’s application claimed that there was no

ineffective assistance of counsel as counsel’s decisions were “tactical” and thus immune from

challenge as ineffective assistance of counsel and that there was no police misconduct because the

recordings were accurate and complete. (See Exhibit 12, State’s Reply at 13-51 (discussing the

claims of ineffective assistance of counsel and frequently referencing the trial attorneys’ affidavit);

at 51-59, discussing police misconduct.) Yet the state habeas judge had no personal recollection of

these events as he had not presided over the trial.

        To dispute Petitioner’s factual allegations, the State relied on various affidavits and in fact

the entire reply was almost completely based upon these affidavits. Repeatedly cited in the Reply

are:

        1) the affidavit of Dr. Jack Randall Price, Ph.D, submitted by the State in support of the

Reply, to allege that the findings of Petitioner’s expert Dr. Stephen Martin were erroneous and that

Mr. Barbee’s neuropsychological tests were within normal range and he did not suffer from frontal



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lobe damage, and that the mitigation report of Amanda Maxwell was “more of an ‘aggravation’

report”; (Exhibit 12, Affidavit of Dr. Price, at 2-5, 6);

       2) the affidavit of trial attorneys Bill Ray and Tim Moore, which were ordered by the state

habeas judge, designed to show that their actions were tactical and because “Applicant refused to

accept responsibility for his actions, which prevented any meaningful effort on our part to show

mitigation and a lack of future danger, because Applicant did not want to tell his parents,

specifically his mother, about his involvement in the murders of Lisa and Jayden Underwood.” See

Exhibit 37, Affidavit of Bill Ray and Tim Moore at 8.

       3) the affidavit of trial prosecutor Richard Kevin Rousseau, in which he attempted to justify

the recordings as complete and to show that they were provided to defense counsel. (Exhibit 12,

Affidavit of Kevin Rousseau.)

       Petitioner’s habeas attorney pointed this out in his “Applicant’s Reply to State’s Response

and Request for Evidentiary Hearing.” (See Exhibit 41, Reply to State’s Response and Request for

Hearing, Ex parte Stephen Dale Barbee, Cause No. 1004856R1, 213th District Court.) In that

pleading, Petitioner discusses the outstanding factual issues presented by the State’s reply and

requested an evidentiary hearing because “substantial factual issues remain unresolved and can only

be resolved at a hearing and the Applicant respectfully requests that the Court set this matter for an

evidentiary hearing prior to ordering the parties to submit proposed findings of fact and conclusions

of law.” ( Id at 3.) Yet the state habeas court refused to hold a hearing and incorrectly held that

“there exists no controverted, previously unresolved factual issues material to the legality of the

applicant’s confinement.” (Exhibit 15, Memorandum and Order of September 29, 2008, by Judge

Louis Sturns; ultimately adopted by the CCA, Exhibit 9.)



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        B. Argument.

        Nowhere in these state habeas proceedings did Judge Sturns’ do anything more than sign

his name to the State’s prepared pleadings and orders. The entire state habeas proceedings consisted

of Judge Sturns adoption of the State’s pleadings and orders without changing a comma. There was

one-sided discovery of medical information and the ordered disclosures of trial counsel to the State,

when they asked for it, but when the petitioner requested an evidentiary hearing, this was ignored.

        Where a trial court (here the state habeas court) accepts all of a prosecutor’s explanations

at face value, and has no way to independently scrutinize their validity, the habeas court abdicates

its judicial responsibilities and violates a defendant’s rights to due process. The state habeas court’s

actions in this case, its refusal to hold an evidentiary hearing on the controverted unresolved factual

issues, constituted an abdication of its constitutional responsibilities and obligations.

        Based upon its absence from the trial proceedings, the state habeas court here was unable

to scrutinize the State’s “tactical” explanations for the attorneys’ performance and its reliance on

the affidavits of Dr. Price, Kevin Rousseau, and the trial attorneys. The record reflects that

Petitioner timely requested an evidentiary hearing which was never ruled on. (Exhibit 41.)



        In these circumstances, Judge Sturns was acting as a rubber stamp for the State. The state

habeas court and the CCA’s actions deprived Petitioner of his right to a fair trial and due process

of law, under the Fifth, Sixth and Fourteenth Amendments to the United States Constitution.

        i) Petitioner is entitled to an evidentiary hearing and the state court findings are not
        entitled to any presumption of correctness as there was no evidentiary hearing and the
        state habeas judge that ruled on the habeas claims was not the trial judge.

        As shown above, the judge that presided over petitioner’s trial, Judge Gill, was not the trial

judge at the state habeas proceedings, which were presided over by Judge Sturns. A long line of

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Fifth Circuit cases have consistently refused to accord any deference or presumption of correctness

to state court findings made without an evidentiary hearing when the state habeas judge was not the

trial judge. Additionally, that Court has repeatedly recognized that the existence of any exception

to the presumption of correctness will entitle a petitioner to both discovery and an evidentiary

hearing.

       a. No presumption of correctness.

       The Fifth Circuit has held that the fact that the state habeas judge was not the trial judge is

not a prerequisite to according the presumption of correctness to state court findings. Carter v.

Johnson, 131 F.3d 452, 460 n. 13 (5th Cir. 1997). But this is only one of the factors at play here.

The other vital factor is the lack of an evidentiary hearing on disputed factual issues on which the

state habeas court made factfindings, so-called “paper hearings.”153 In the circumstances of Mr.

Barbee’s case, there should be no presumption of correctness to any of the state court factfindings.

       A review of the Fifth Circuit’s holdings on the appropriateness of “paper hearings” will

show that they were inadequate and inappropriate, and are not entitled to any presumption of

correctness in this Court. The question is broader than merely a focus on credibility determinations

by a ‘judicial entity’ other than the state habeas judge. It involves the circumstances under which

a paper hearing is entitled to a presumption of correctness.

       In Sumner v. Mata, 499 U.S. 539 (1981), it was held that the presumption of correctness of

state court fact-finding only applies to those proceedings that are found to be adequate, and the

“presumption of correctness is defeated by a showing that “the fact-finding procedure employed by

the state was not adequate to afford a full and fair hearing.’” citing Cabana v. Bullock, 474 U.S. 376,


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             The term “paper hearings” refer to the state habeas court and the CCA’s denial of
all Petitioner’s state habeas claims without an evidentiary hearing.

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399 (1986).154

        In Nethery v. Collins, 993 F.2d 1154 (5th Cir. 1993) the Fifth Circuit again took up the

question of whether findings made after a “paper hearing” should be accorded a presumption of

correctness. In Nethery, the Fifth Circuit held that the state habeas court’s finding was not entitled

to a presumption of correctness where that court never conducted an evidentiary hearing and

adopted in whole the state’s proposed findings of fact two days after the petition was filed.

        In Armstead v. Scott, 37 F.3d 202 (5th Cir. 1994) the Fifth Circuit again held that “a

presumption of correctness will not apply to a state court finding of fact if the fact-finding procedure

employed by the state court was not adequate to afford a full and fair hearing.” Id., at 207. Again,

in Amos v. Scott, 61 F.3d 333 (5th Cir. 1995) the Fifth Circuit again held that “[f]actual findings

based solely on a paper hearing are not automatically entitled to a Sec. 2254(d) presumption of

correctness.” Id, at 347.

        Thus, time and time again, the Fifth Circuit has held that the major, and not infrequently the

only factor in upholding state habeas “paper hearings” is this unity of state trial and habeas judge.

The fact that the state habeas claims were not denied by the trial judge is a major reason to not

afford a presumption of correctness to the state court’s findings as to this issue.

        In Perillo v. Johnson, 79 F.3d 441 (5th Cir. 1996), the Fifth Circuit, quoting Ward v.

Whitley, 21 F.3d 1355, 1367 (5th Cir. 1994), held that where there is a “factual dispute, [that,] if

resolved in the Petitioner’s favor, would entitle [her] to relief and the state has not afforded the


       154
             One factor highlighting the unfairness of the state court procedures was the state
court’s verbatim adoption of the state’s pleadings. In Anderson v. City of Bessemer City, 470
U.S. 564 (1985) the Supreme Court stated: “We, too, have criticized courts for their verbatim
adoption of findings of fact prepared by prevailing parties, particularly when those findings have
taken the form of conclusory statements unsupported by citation to the record.” Id., at 572.


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petitioner a full and fair evidentiary hearing”, there is no presumption of correctness. Id. at 444. The

holding did not require that the petitioner prove the allegations at the pleading stage, but held that

they were sufficient to merit an evidentiary hearing.

        Equally important for Mr. Barbee’s case is the reaffirmation in Perillo that “[s]tate court

fact-findings are presumed correct only when there has been a full and fair hearing.” Id., at 446,

citing Armstead v. Scott, 37 F.3d 202 (5th Cir. 1994). In Perillo, the decisive factor was the fact that

the state habeas judge was different from the trial judge.

        In Salazar v. Johnson, 96 F.3d 789 (5th Cir. 1996), the Fifth Circuit again refused to grant

any presumption of correctness to a state court finding when the state judge who presided over

Salazar’s plea did not conduct the habeas proceeding, and remanded the matter for an evidentiary

hearing.

           Thus, no presumption of correctness applies to the state court holdings as to all the state

habeas claims and Petitioner is also entitled to a state court evidentiary hearing, as discussed next.

        b. Mr. Barbee is also entitled to an evidentiary hearing.

        Mr. Barbee is entitled, at least, to an evidentiary hearing on his claims that present

controverted factual issues (except as to Claim 2, where a hearing was held in the subsequent habeas

proceedings). In the initial round, the CCA’s order (Exhibit 9) relied entirely on the state district

court “findings of fact and conclusions of law” (Exhibit 13) written by the state prosecutors in this

case and rubber-stamped -- without changing so much as a comma -- by the state habeas court,

which adopted them verbatim only 17 days after they were filed on September 12, 2008. No

evidentiary hearing was ever held in the state court in the initial round of habeas proceedings. The

state habeas judge who perfunctorily denied Mr. Barbee’s claims was not the state trial judge. The

prior holdings of the Fifth Circuit show that this is a case in which “paper hearings” are

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inappropriate and the district court’s decision is not within the contours of Fifth Circuit precedent.

Disputed factual issues are and were raised by Petitioner in his state habeas application. Thus, the

CCA’s and the district court’s denial of the application without the hearing violated the mandatory

hearing requirements of Townsend v. Sain, 372 U.S. 293, 318 (1963) and Fifth Circuit precedents.

        i) The state court’s failure to hold an evidentiary hearing.

        The state habeas court failed to engage in an independent review of Mr. Barbee’s allegations

of federal constitutional violations.

        This threshold question of whether a federal habeas court must hold an evidentiary hearing

has long been controlled not by statute, but rather by the Supreme Court’s decision in Townsend.

In that case, the Court held that as a general matter an evidentiary hearing must be held if the

applicant alleged disputed facts that, if true, would entitle the applicant to relief. Clearly Mr. Barbee

has done that here. Of the six Townsend circumstances, each of which make a hearing mandatory,

all six apply to Mr. Barbee’s case, even though only one would have triggered the hearing

requirement.155

        The perfunctory denial of Mr. Barbee’s claims by the state habeas court through verbatim

adoption of the state’s pleadings meant that the merits of the factual dispute were not resolved. The


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             Under certain circumstances findings of fact by the state court may be presumed
correct. But questions of federal law are always for the federal court to determine independently.
Townsend v. Sain, 372 U.S. 293, 318 (1963) (district judge has independent duty to apply federal
law to state court fact-findings).
        Under Townsend, a federal court must grant an evidentiary hearing to a habeas applicant
if any of the following six circumstances apply: 1) the merits of the factual dispute were not
resolved in the state hearing; 2) the state factual determination is not fairly supported by the
record as a whole; 3) the fact-finding procedure employed by the state court was not adequate to
afford a full and fair hearing; 4) there is a substantial allegation of newly-discovered evidence; 5)
the material facts were not adequately developed at the state court hearing; or 6) for any reason it
appears that the state trier of fact did not afford the habeas applicant a full and fair fact hearing.
Townsend, at 312-313.

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fact-finding procedure was not full or fair, and the material facts were not adequately developed.

Additionally, there were substantial allegations of ineffectiveness of trial counsel and the factual

determinations were not fairly supported by the record.

       As discussed supra, the presumption of correctness does not apply to the findings of fact

made by the state court regarding Mr. Barbee’s constitutional claims. The state habeas court should

have made its own factual determination whether the prosecutor-written findings were fairly

supported by the record. Sumner v. Mata, 449 U.S. 539, 550 (1981). If none of the six exceptions

apply, then, and only then, does the burden shift to the petitioner to establish, by convincing

evidence, that the factual findings of the state court are erroneous. Id. An evidentiary hearing may

itself be another appropriate way of determine whether one or more of the exceptions are present

and thus that the purported “fact-findings” may not be presumed correct. See, e.g., Ross v. Kemp,

785 F.2d 1467 (11th Cir. 1986); United States ex rel. Gorham v. Franzen, 675 F.2d 932, 936 n.1 (7th

Cir. 1982) cert. denied, 474 U.S. 922 (1985). The reasons that the presumption of correctness does

not apply are explained in detail with respect to each claim infra.

       The state court fact-finding procedures in Mr. Barbee’s case were not only inadequate, they

were nonexistent. Thus the state court review can be seen, on its face, as inadequate because not

only were the affidavits and documentary evidence not considered, but the state court also abdicated

its responsibility to impartially review the arguments and evidence submitted by the parties when

it adopted verbatim the state’s findins and conclusions a few days after they were filed. As pointed

out, this practice has been widely condemned as inadequate to afford even minimal standards of due

process. This procedure denied him an opportunity to present his legal claims to the court.




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        ii) Inadequacy of “paper” hearings and the presumption of correctness.

        A review of the Fifth Circuit’s holdings on the appropriateness of “paper hearings” will

show that, in the circumstances of this case, they were both inadequate and inappropriate, and, at

the least, the matter must be remanded for an evidentiary hearing. The question is broader than

merely this focus on credibility determinations by a ‘judicial entity’ other than the state habeas

judge. It involves the circumstances under which a paper hearing is entitled to a presumption of

correctness and whether a live evidentiary hearing is mandatory when it will be the only effective

mechanism for review of a Petitioner’s claims.

        A survey of the most important cases will show the glaring need for a live hearing in the

instant case. In May v. Collins, 955 F.2d 299 (5th Cir. 1992), the Fifth Circuit held that review by

a state habeas court that failed to conduct an evidentiary hearing may be sufficient when the same

district judge hears both the trial and the state habeas application and, “where credibility

determinations are made on a paper record by a state judge who had an opportunity to view the

witnesses at the trial, the petitioner has received a hearing sufficient to invoke the presumption of

correctness.” May, at 307. In Sawyers v. Collins, 986 F.2d 1493 (5th Cir. 1993), where, again, the

state habeas judge had presided at the trial, the Fifth Circuit held that “it is necessary to examine in

each case whether a paper hearing is appropriate to the resolution of the factual disputes underlying

the petitioner’s claim,” and in Sawyers the only reason the paper hearings were held adequate was

because the judge was in an “excellent position” to judge witness credibility. Id., at 1504-05.

Sawyers did hold that “May does not stand for the proposition that findings of fact made on the basis

of a paper hearing are entitled to a presumption of correctness only when the judge has observed the

demeanor of all the affiants.” Id., at 1505.



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         In Sumner v. Mata, 499 U.S. 539 (1981), the presumption of correctness to state court fact-

finding only applies to those proceedings that are found to be adequate, and the “presumption of

correctness is defeated by a showing that ‘the fact-finding procedure employed by the state was not

adequate to afford a full and fair hearing.’” Cabana v. Bullock, 474 U.S. 376, 399.

         As May, supra, pointed out, Sumner is not dispositive of the issue, because it stands for the

proposition that the presumption of correctness is not inapplicable for the sole reason that no live

evidentiary hearing has been held. In other words, in some cases paper hearings are adequate and

in others they are not. Because the paper hearing in Mr. Barbee’s case was not accompanied by the

necessary factors of reliability, the procedure was inadequate.

         In Mr. Barbee’s case, we are presented with a situation in which the credibility

determinations that were necessary to deny his writ were not made by the trial judge and, even

worse, were made on the basis of affidavits sought by the state and oredered by the state habeas

court. An important issue is the matter of the effectiveness of trial counsel. This and the other

claims also involve credibility determinations or issues that could not adequately be resolved on

paper.

         In Buxton v. Lynaugh, 879 F.2d 140 (5th Cir. 1989) the Fifth Circuit again addressed the

issue of the adequacy of a “paper hearing.” The court in Buxton drew a distinction between a

situation where the fact-finding was made by a state appellate court on the basis of a paper hearing

and the situation in Buxton, “a decision made by the trial court that conducted Buxton’s trial and

sentenced him.” Buxton, at 146. Again, the decision in Buxton to allow this hearing by affidavit was

based on the numerous reasons for the reliability of trial judge conducted hearings:

                “The trial judge before whom Buxton was tried was in a different and better



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         position to make determinations regarding the facts and circumstances surrounding that trial
        than other courts on direct or collateral review. The trial judge had the opportunity to watch
        the trial as it progressed, he saw both [trial attorneys] in action, and he was familiar with the
        jury... As a federal court in collateral review, we are far removed from the trial proceedings
        and therefore defer to the trial courts’ determination of the facts surrounding that trial.”
        Buxton, at 146-47.

        Unlike Mr. Buxton, Mr. Barbee was not afforded a review of his conviction by the trial

judge, so the state habeas court’s (and the CCA’s, whose decision was based on the state habeas

court’s findings and conclusions) determination in the instant case is not due any deference or

presumption of correctness here because it does not have any of the criteria of reliability that

normally inhere in trial-court-conducted review. The decision in Buxton falls within Fifth Circuit

precedent in allowing paper hearings when they were conducted by the trial judge, but disallowing

them when they were not.

        But in Sawyers, the judge ruling on the habeas claim had observed some of the affiants,

whereas here the judge did not have the opportunity to observe any of them. Even if not dispositive,

it can be seen that it is certainly a major factor that the habeas proceedings were presided over by

a judge totally unfamiliar with any of the trial attorneys, witnesses, lawyers and state habeas affiants,

and, coupled with the other factors mentioned above, it can be seen that the state habeas hearing was

not a real hearing to which this court should afford a presumption of correctness. The fact that this

is Petitioner’s first chance to present these claims, that his own affidavits are of high quality, and

that they present compelling claims, added to the fact that the state habeas proceeding was not

conducted by the trial judge, all lead to the conclusion that the state habeas proceeding was unfair,

and hence no presumption of correctness should adhere to it and he is entitled to a live evidentiary

hearing.

        In Anderson v. City of Bessemer City, 470 U.S. 564 (1985) the Supreme Court stated:


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       We, too, have criticized courts for their verbatim adoption of findings of fact
       prepared by prevailing parties, particularly when those findings have taken the form
       of conclusory statements unsupported by citation to the record.”
       Id., at 572.

       In Nethery v. Collins, 993 F.2d 1154 (5th Cir. 1993) the Fifth Circuit again took up the

question of whether findings made after a “paper hearing” should be accorded a presumption of

correctness. In Nethery, the Fifth Circuit held that the state habeas court’s finding was not entitled

to a presumption of correctness where that court never conducted an evidentiary hearing and adopted

in whole the state’s proposed findings of fact two days after the petition was filed. Thus, the factual

circumstances in Nethery are similar to those in Mr. Barbee’s case.

       Also significant is the importance the Fifth Circuit placed on the fact that the state habeas

petition was not heard by the trial judge:

                Notably, and for obvious reasons, unlike the petitioners in Ellis and May,
       Nethery’s petition was not considered by the same trial judge who had presided over
       this trial; thus, there was never a meaningful opportunity for the court to assess the
       credibility of the conflicting affiants.” Id.

       This decision places Nethery in the mainstream of Fifth Circuit cases, discussed infra, that

view with extreme caution the state habeas proceedings conducted solely on the basis of paper

hearings, when that review was not conducted by the trial judge. This type of review has been held,

time and again, not to be a “full and fair” hearing to which a presumption of correctness should

attach. The precipitous haste of the state habeas court raises the unescapable conclusion that these

findings could not represent the judge’s own considered conclusions. See Anderson, supra, at 572-

573. Thus, under the standards outlined in Nethery, Petitioner is at least entitled to an evidentiary

hearing on his federal constitutional claims.

       In Armstead v. Scott, 37 F.3d 202 (5th Cir. 1994) the Fifth Circuit again held that “a



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presumption of correctness will not apply to a state court finding of fact if the fact-finding procedure

employed by the state court was not adequate to afford a full and fair hearing.” Id., at 207.

        In Armstead, the court held that the crucial factor in holding the state fact finding procedures

adequate was the fact that the trial judge had presided over the state habeas application. Id., at 208.

Similarly, this court held in Ellis v. Collins, 956 F.2d 76 (5th Cir. 1992) that a crucial factor in

holding state habeas “paper hearings” adequate is whether the state habeas judge was the trial judge.

In Ellis, he was. As the Court held in Ellis,

        “[w]e have previously held that when (1) a state court enters written fact-findings in
        which credibility questions are resolved and (2) the same state district judge hears
        both the trial on the merits and the state application for writ of habeas corpus, the
        state fact-finding procedures are entitled to a presumption of correctness even
        without a state evidentiary hearing.” Id, at 79, citing May v. Collins, supra, at 307.

        In Amos v. Scott, 61 F.3d 333 (5th Cir. 1995) the Fifth Circuit again held that “[f]actual

findings based solely on a paper hearing are not automatically entitled to a Sec. 2254(d) presumption

of correctness.” Id, at 347. The Court went on:

                “[n]evertheless, a fact-finding procedure that involves credibility
        determinations and is based on a “paper hearing” affords the habeas petitioner a full
        and fair hearing when the state court judge who presided over the petitioner’s trial
        conducts the habeas proceeding (citing Armstead, supra). Whenever such a judicial
        identity exists, the presumption of correctness applies, and a federal habeas court
        must accord the presumption to the factual facts.” Amos, at 347.

        Thus, time and time again, this court has held that the major, and not infrequently the only

factor in upholding state habeas “paper hearings” is this unity of state trial and habeas judge. The

fact that Mr. Barbee’s state application was not ruled on by his trial judge is a major reason why this

court should not afford a presumption of correctness to the state court’s findings. This unwarranted

presumption is the lynchpin in the state courts’ dismissal of Mr. Barbee’s writ.




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        This court has held that “[t]he opportunity for an evidentiary hearing in a federal habeas
corpus proceeding is mandatory only where there is a factual dispute which, if resolved in the
Petitioner’s favor, would entitle the Petitioner to relief and Petitioner has not received a full and fair
evidentiary hearing in state court.” East v. Scott, 55 F.3d 996, 1000 (5th Cir. 1995) citing Townsend
v. Sain, 372 U.S. 293,(1963). See also Montoya v. Scott, 65 F.3d 405, 417 (5th Cir. 1995).


c)      Perillo v. Johnson and the standard for an evidentiary hearing.

        In 1996, the Fifth Circuit Court clarified the standards for granting an evidentiary hearing

and discovery when the state habeas petition was ruled on by someone other than the trial judge. In

Perillo v. Johnson, 79 F.3d 441 (5th Cir. 1996), the federal district court had refused to allow any

discovery or an evidentiary hearing and granted summary judgement denying the writ. The Fifth

Circuit held that the district court erred and reversed.

        In Perillo, the Court, quoting Ward v. Whitley, 21 F.3d 1355, 1367 (5th Cir. 1994), held that

where there is a “factual dispute, [that,} if resolved in the Petitioner’s favor, would entitle [her] to

relief and the state has not afforded the petitioner a full and fair evidentiary hearing”, a federal

habeas corpus petitioner is entitled to discovery and an evidentiary hearing. Id. at 444.

        A conflict of interest was alleged in Perillo. In finding that there was a factual dispute

regarding this conflict, the Perillo court looked at whether the allegations, if resolved in her favor,

would entitle her to relief, “and there are no state fact-findings on the issue that are entitled to the

presumption of correctness.” Id. This court did not require that the petitioner prove the allegations

at the pleading stage, but held that they were sufficient to merit an evidentiary hearing.

        Even more important for Mr. Barbee’s case is the reaffirmation in Perillo that “[s]tate court

fact-findings are presumed correct only when there has been a full and fair hearing.” Id., at 446,

citing Armstead v. Scott, 37 F.3d 202 (5th Cir. 1994). In Perillo, the decisive factor was the fact that




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the state habeas judge was different from the trial judge:

                In the instant case, the judges were different... Because the judge in the state
       habeas corpus proceedings was not the trial judge, he could not compare the
       information presented in the various affidavits against his own firsthand knowledge
       of the trial”... We do not suggest that a full and fair hearing cannot be had any time
       the state habeas judge is different from the trial judge. In our case-by-case review,
       the identity of the judges is but one factor to consider, as we explained in Nethery,
       993 F.2d at 1157 n.8. In this case [the state habeas judge] could not supplement the
       affidavits with his own recollection of the trial and [the attorney’s] performance in
       it. Thus, there is a danger of ‘trial by affidavit’ (quoting Amos, 61 F.3d at 347).
       Therefore, the findings of fact in the state habeas corpus proceedings are not entitled
       to the 2254(d) presumption of correctness.
       Id., at 447.


       This was not a new holding, but was squarely in line with existing Fifth Circuit precedent:

                In Nethery v. Collins, 993 F.2d 1154, 1157 (5th Cir. 1993)., cert. denied 128
       L.Ed.2d 87, 114 S.Ct. 1416 (1994), we held that, because the state habeas judge was
       not the judge at the state trial, the paper hearing was not an adequate and fair hearing.
       In Armstead, we found that a paper hearing was adequate because, ‘unlike the
       scenario in Nethery, the trial judge in Armstead’s case who made the factual finding
       with regard to the conflicting affidavits via the ‘paper hearing’ was the same judge
       who presided over Armstead’s guilty plea. The judge had the opportunity to fully
       assess Armstead during his plea process and determine his credibility then.’”
       Armstead, 37 F.3d at 208. See Vuong v. Scott, 62 F.3d 673, 683-84 (5th Cir.) (same
       judge -- paper hearing accorded presumption of correctness), cert. denied 133 L.Ed.
       2d 458, 116 S.Ct. 557 (1995); Amos v. Scott, 61 F.3d 333, 347 (5th Cir.) (same judge
       -- paper hearing accorded presumption of correctness), cert. denied, 133 L.Ed.2d
       458, 116 S.Ct. 557 (1995); Sawyers v. Collins, 986 F.2d 1493, 1505 (5th Cir.) (same
       judge -- paper hearing accorded presumption of correctness), cert. denied, 508 U.S.
       933, 113 S.Ct. 2405, 124 L.Ed.2d 300 (1993).
       Perillo, at 7.

       Mr. Barbee has shown, in his pleadings, that at a minimum, this court should remand for a

hearing on his claims raised in his state habeas petition: ineffective assistance of counsel and police

misconduct in addition to the claims that could not have been raised previously.




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       C. What the state courts held.

       This claim was brought in Mr. Barbee’s subsequent state habeas application as Claim 8, and

was dismissed “as an abuse of the writ” because those allegations “do not satisfy the requirements

of Article 11.071 Section 5.” Ex parte Stephen Dale Barbee, No. WR-71,070-02, at 2. (Tex. Crim.

App. May 8, 2013)(Exhibit 52.) Hence, it was not denied on the merits but only on procedural

grounds, and the 2254(d) standard of review does not apply. Cone v. Bell, 129 S. Ct. 1769, 1784

(2009)(“Because the Tennessee courts did not reach the merits of Cone’s Brady claim [and instead

rejected claim on procedural default grounds], federal habeas review is not subject to the deferential

standard that applies under AEDPA...Instead the claim is reviewed de novo”); Graves v. Dretke, 442

F.3d 334, 339 (5th Cir.), cert. denied, 549 U.S. 943 (2006)(section 2254(d) is inapplicable because

petitioner’s “claims were dismissed by the Texas courts as abuses of the writ, i.e., on procedural

grounds,” and thus “were not adjudicated on the merits in Stare court”).

       D. Exhaustion and procedural default.

       As this claim involves the failure of the state habeas court to order an evidentiary hearing

after one was requested by initial state habeas counsel, it could not have been raised as an issue in

the initial state habeas petition. Hence, it is not procedurally defaulted.




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CLAIM NINE: TRIAL COURT ERROR IN REFUSING TO GRANT PETITIONER’S
CHALLENGE FOR CAUSE TO JUROR #126, DENISE ANDERSON.

         Petitioner’s conviction, judgment, sentence and confinement are illegal and were obtained

in violation of his Fifth, Sixth, Eighth and Fourteenth Amendment rights to a fair and impartial jury,

the presumption of innocence, a fair trial, freedom from self-incrimination, effective assistance of

counsel, due process of law, and reliable guilt and penalty determinations, because, inter alia, a

biased pro-death juror was allowed to serve due to the Court’s denial of a defense challenge for

cause.
         A. Facts in Support.

         Venire member number one-hundred twenty-six, Denise Anderson, made the following

statements during the State’s individual voir dire regarding her significant knowledge of the facts

of this case:

                       Q.    You have heard police -- you have heard -- tell
                       me what you have heard.

                               A.      I just remember about a girl that was
                       pregnant had gone missing. And then it seemed like
                       they found her three days later and her boyfriend and
                       his friend were involved and -- or the friend was
                       involved in discovering where she was thrown.
                       That’s all I remember.

                              Q.       Do you remember anything about the
                       victim?

                               A.     I remember that she was excited about
                       going to her baby shower. Because during the time
                       that she was missing they kind of questioned if she
                       was depressed and if she would have left, seemed like
                       the report did. And her friend or coworker or
                       something said no, in fact, she was excited about
                       having this baby and going to a baby shower.

                                             *    *      *


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                               Q.    Do you remember anything -- you said
                       the friend or the boyfriend. Do you remember
                       anything specifically about the friend or the
                       boyfriend?

                                A.     No. I remember that it seemed like the
                       friend didn’t have any idea what was going on or
                       something. But that he had been asked to borrow his
                       truck or something the actual night or day she was
                       missing or time. And the only other thing that stands
                       out it seems like I remember hearing something about
                       a T-shirt.

                              Q.      Do you remember what you heard
                       about a T-shirt?

                               A.     I can’t remember -- I can’t remember
                       if they found a T-shirt -- or I don’t remember. I just
                       remember a T-shirt.
                       (21 RR 42-43.)

       Pursuant to defense counsel’s questions, Ms. Anderson elaborated on her knowledge of the

facts surrounding this case as well as her obvious, preconceived belief in Petitioner’s guilt:

                              Q.     And did you hear any specifics about
                       her pregnancy that you can remember?

                               A.     That she was not married.

                               Q.     Okay.

                              A.      And just that she was excited about
                       going to a baby shower or that’s what her friend --

                               Q.      Okay. She’s not married. She’s
                       pregnant and she was going to a baby shower. Was
                       that the baby that was getting ready to be born?

                              A.     Yes. Or that she was going to it. I just
                       know that one of the questions to this co-worker or
                       friend was was there any reason why she would be
                       depressed about being pregnant.

                               Q.     Okay. And what did you hear about

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                 that?

                         A.     And that’s when she just said: No, she
                 was excited about this baby. She was looking
                 forward to her baby shower. When that baby shower
                 was, I am not sure or --

                         Q.       So you heard somewhere in the
                 newscast she might have been depressed. But then
                 her friend said, no, she wasn’t depressed, that she was
                 excited about this baby?

                         A.      I didn’t hear she was depressed. I
                 heard that they were wondering -- this was during the
                 phase of when she was missing.


                                      *    *      *

                          Q.      Okay. And do you remember anything
                 about how long she was missing or whatever became
                 of that, if anything?

                         A.     I don’t -- I couldn’t tell you for sure,
                 but for some reason three days --

                         Q.     Okay.

                         A.     -- stands out to me.

                         Q.     Okay. Why is that?

                        A.      I think maybe because I watched the
                 news three days in a row to see if they found her or
                 something, you know. When I found out she was
                 missing I was just kind of curious.


                                      *    *      *

                         Q.    . . .And did you ever listen to the
                 news to find out whether or not anybody had been
                 arrested?

                         A.     I think the last time I listened to the

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                 news was when they said something about a friend
                 and the boyfriend.

                        Q.      Okay. Tell me a little about it, what
                 you heard there.

                         A.      Just that a friend came forward and
                 said that he had been asked to borrow his truck.

                         Q.     Okay.

                        A.      And this coincided with the time with
                 about the time she was first missing.


                                      *     *     *

                         Q.     So you watched this on the news for
                 three days more than once, and specifically wanted to
                 watch it so you could see what happened to this girl
                 or whether she was going to be found or not. You see
                 that somebody’s friend is asked to borrow his truck
                 has no idea himself of what’s going on, and then you
                 just quit watching it?

                        A.      Oh, no. It seemed like when the --
                 during the course of the time that the friend had
                 borrowed his truck, that’s when her body was found.

                         Q.     Okay. Tell me what you heard about
                 that.

                          A.    And then just that her body was found
                 in a field.

                                      *     *     *

                        Q.      Anything particular details you heard
                 about that?

                          A.     Just that, you know, this friend’s truck
                 -- or I apparently -- I don’t know if the guy went with
                 the truck or just loaned the truck or -- but somehow
                 he knew where she was dumped.


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                         Q.      Okay. Is this the same friend you are
                 talking about, the friend that had no idea?

                         A.     Yeah.

                         Q.     So he knew where she was dumped?

                          A.    It seemed like -- I’m telling you, my
                 memory is sketchy on that part. It was like once she
                 was found dead, I didn’t really watch any more
                 because it was more just why she was missing in the
                 first place.

                         Q.     Okay.

                         A.     Was what was my interest.

                         Q.     Up until that point, did you have any
                 feelings about Mr. Barbee’s here guilt based on these
                 news reports?

                        A.      Well, I felt like he was definitely
                 involved.

                         Q.     Okay. Tell me what you mean by that.

                         A.     I felt like that he was the boyfriend.

                                      *     *     *


                         Q.     Okay. Tell me what you heard about
                 that.

                         A.     Because of the friend of her boyfriend,
                 that’s what was said, the friend of the boyfriend it was
                 his truck --

                         Q.     Okay.

                         A.     -- that was borrowed.

                                      *     *     *



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                        Q.     Okay. But you felt -- you felt Mr.
                 Barbee here was involved?

                          A.    Yes.

                        Q.    Okay. When you say involved, tell me
                 what you mean by that?

                        A.      I think most crimes are done by people
                 that know you.

                          Q.    Okay.

                        A.     And when she was found dead then --
                 and he was implicated -- or I don’t know if that’s the
                 right word.

                                       *    *      *

                        Q.      Was it because of borrowing the truck
                 or was it something else?

                          A.    I think it was from borrowing the
                 truck.

                          Q.    Okay.

                         A.     Because I remember that the reason
                 they just thought she was missing was that they
                 didn’t, you know, didn’t look like anything happened
                 where she lived.

                                       *    *      *

                        Q.     Okay. So let’s go back to him being
                 implicated. Do you feel like he was guilty of that?

                          A.    At the time I am sure I did.

                         Q.     Okay. Well, what is it that’s changed
                 between then and now that based on these news
                 reports that you don’t think he is guilty, if I [sic]
                 that’s what you are saying. I am not trying to put
                 words in your mouth.


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                        A.      Well, I don’t trust my memory for one
                 thing. And, again, as soon as she was found the news
                 story wasn’t that interesting to me.

                                        *    *      *

                          Q.       And you have stated that based on
                 what you heard at the time that you thought he was
                 guilty; is that --

                         A.      Yes. Well, I thought he was involved.

                         Q.      Okay. Well --

                        A.      And I just kind of like, well, you know,
                 since most crimes it seems like are people that know
                 you, you know, or it seems like that, that once I knew
                 he was involved it was just sad to me.

                                        *    *      *

                         Q.      Well, but you were interested enough
                 to watch it enough to form an opinion that Mr. Barbee
                 is involved?

                         A.      Yes.

                                        *    *      *

                         Q.      And so the question then becomes, are
                 you really going to be able to do that even it it’s -- if
                 it’s kind of a subconscious thing that -- what
                 guarantee do I have that you are really not going to be
                 considering that? It’s one thing for you to say, well,
                 I am going to do it. I don’t question your will. What
                 I question is your subconscience [sic]

                         A.      Right.

                         Q.      -- that’s going say, well, I saw that on
                 TV and I saw the -- I am just throwing one of these
                 facts out there -- the friend had no idea.




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                              A.      Okay.

                             Q.     And the friend knew something about
                      the truck. And then you think, well, that’s what
                      implicated Mr. Barbee.

                              A.      Yeah.

                               Q.      Okay. And so now I have got a juror
                      that at least subconsciously hadn’t been able to move
                      that out of her mind. And what happens in the
                      courtroom might or might not take precedence over
                      that. Do you see?

                              A.       I see. And that’s -- I mean, I don’t
                      really know how to tell you that I think I could do it
                      other than I am a person who follows rules and tries
                      really hard to -- I mean, I feel like just from coming
                      to these different little times here with y’all of
                      learning and seeing and even feeling like I know such
                      more about the difference like capital murder versus
                      murder or whatever. But I can’t tell you that I’m
                      going to be able to put it through my mind other than
                      the fact that I don’t feel like at the time I knew all the
                      facts.    I just remember feeling very strongly
                      concerned for this girl because she was pregnant.
                      And I don’t know if that’s because, you know, I am a
                      mom or whatever. And then once she was found, you
                      know, then the story -- I was just glad that there was
                      an end to it.
                      (21 RR 48-59)(emphasis added).



       B. Argument.

       The record reflects that Petitioner properly preserved his error pursuant to art. 35.16 (a) (10)

Tex. Crim. Proc. Code Ann. (Vernon 1995). (RR. XXI-68-71). See, Halprin v State, 170 S.W. 3d

111, 117-18 (Tex. Crim. App. 2005); Escamilla v State, 143 S.W. 3d 814, 821 (Tex. Crim. App.




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2004) cert. denied, 161 L.Ed. 2d 528 (2005); Allen v State, 108 S.W. 3d 281, 282 (Tex. Crim. App.

2003) cert. denied, 158 L.Ed. 2d 90 (2004). Art. 35.16 (a) (10) reads as follows:

                              That from hearsay, or otherwise, there is
                      established in the mind of the juror such a conclusion
                      as to the guilt or innocence of the defendant as would
                      influence the juror in finding a verdict. To ascertain
                      whether this cause of challenge exists, the juror shall
                      first be asked whether, in the juror’s opinion, the
                      conclusion so established will influence the juror’s
                      verdict. If the juror answers in the affirmative, the
                      juror shall be discharged without further interrogation
                      by either party or the court. If the juror answers in the
                      negative, the juror shall be further examined as to
                      how the juror’s conclusion was formed, and the extent
                      to which it will affect the juror’s action; and, if it
                      appears to have been formed from reading newspaper
                      accounts, communications, statements or reports or
                      more rumor or hearsay, and if the juror states that the
                      juror feels able, notwithstanding such opinion, to
                      render an impartial verdict upon the law and the
                      evidence, the court, if satisfied that the juror is
                      impartial and will render such verdict, may, in its
                      discretion, admit the juror as competent to serve in
                      such a case. If the court, in its discretion, is not
                      satisfied that the juror is impartial, the juror shall be
                      discharged...


       The state courts utilize an abuse of discretion standard when evaluating a trial court’s ruling

on a challenge for cause. Blue v State, 125 S.W. 3d 491, 497 (Tex. Crim. App. 2003) cert. denied,

160 L.Ed. 2d 87 (2004); Herron v State, 86 S.W. 3d 621, 629 (Tex. Crim. App. 2002); Feldman v

State, 71 S.W. 3d 738, 749 (Tex. Crim. App. 2002); Hart v State, 173 S.W. 3d 131, 142 (Tex. App.

-- Texarkana 2005, no pet.). The trial court’s ruling is reviewed with considerable deference being

given because the trial court is in the best position to evaluate the venire member’s demeanor and




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responses. Newbury v State, 135 S.W. 3d 22, 32 (Tex. Crim. App. 2004) cert. denied, 160 L.Ed. 2d

376 (2004); Granados v State, 85 S.W. 3d 217, 231 (Tex. Crim. App. 2002) cert. denied, 155 L.Ed.

2d 321 (2003); See also, Routier v State, 112 S.W. 3d 554, 588 (Tex. Crim. App. 2003) cert. denied,

158 L.Ed. 2d 728 (2004).

       Ms. Anderson’s interest in this case was apparent from her answers during her individual

voir dire. Of particular concern was her misinformation. The dissemination of inaccurate

information relative to this case through the various media outlets was illuminated through her

responses; her rapt attention to those sources, manifest. To believe that this woman was capable of

forgetting such information was preposterous, if not ludicrous. Moreover, her glaring belief in

Petitioner’s guilt had the most pernicious effect. The trial court expressed its concern, obviously

wavering in its ruling on Appellant’s objection:

                               The Court, when she began to go into all this,
                       I took -- I observed her completely and totally the
                       whole time. I have listened to what she had to say. I
                       vacillated as she vacillated. And I feel like frankly
                       that based upon what I have observed that I am going
                       to overrule the challenge and she will be juror number
                       42.
                       (21 RR 71.)


       Though the trial court evidently believed that Ms. Anderson could base her decision strictly

on the evidence presented at trial, the record chronicling her preconceived notions about Petitioner

speaks for itself. As a result, the trial court abused its discretion in refusing to grant the defense

challenge for cause.

       The Sixth Amendment guarantees the accused the right to trial by an impartial jury. When

a trial is biased against a defendant, the Fourteenth Amendment Due Process Clause requirement



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 of an impartial and disinterested tribunal is violated and reversal is automatic. See Porter v.

Singletary, 49 F.3d 1483, 1489 (11th Cir. 1995) (evidence that “the judge had a fixed predisposition

to sentence this particular defendant to death if he were convicted” warrants relief); see also Arizona

v. Fulminante, 499 U.S. 279, 111 S. Ct. 1246, 1265 (1991); Marshall v. Jerrico, Inc., 446 U.S. 238

(1980).

          This bias analysis also applies to biased jurors. In Leonard v. United States, 378 U.S. 544,

84 S. Ct. 1696 (1964) (per curiam), the Court reversed a conviction because of the “implied bias”

of certain jury members at Leonard’s second trial who had been in the courtroom during the

announcement of the guilty verdict at his first trial. There are other circumstances under which

implied bias would be appropriate. See Smith v. Phillips, 455 U.S. 209, 102 S. Ct. 940, 949 (1982)

(O’Conner, J., concurring). Juror bias, whether presumed or proven, requires automatic reversal.

Id.

          Harm from the erroneous denial of a defense challenge during voir dire occurs when: (1) a

defendant exercises a peremptory challenge on a venire member whom the trial court should have

excused for cause at the defendant’s request, (2) the defendant uses all of his statutorily allotted

peremptory challenges, and (3) the defendant unsuccessfully requests an additional peremptory

challenge which he claims he would use on another venire member whom the defendant identifies

as objectionable and who actually sits on the jury. Newbury, supra at 30-31. Since Ms. Anderson

was one of the twelve jurors in Petitioner’s case who found him guilty of this offense, harm has been

established.

          C. What was presented to the state courts.

          The claim was presented in the direct appeal as Point of Error Number Three (Exhibit 4,

direct appeal brief, at pages 31 to 43.) The claim is exhausted and not defaulted.

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       Petitioner respectfully requests that this Court reverse the trial court’s Judgment and

Sentence of Death, and remand his case for a new trial.




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CLAIM TEN: TRIAL COURT ERROR FOR ABUSE OF ITS DISCRETION IN DENYING
PETITIONER’S MOTION TO SUPPRESS HIS ALLEGED STATEMENTS MADE TO
DETECTIVE CARROLL

       Mr. Barbee’s conviction and death sentence are invalid under state and federal constitutional

guarantees of due process, a fair trial, a reliable sentence, and to be free from cruel and unusual

punishment. Mr Barbee is entitled to a new trial because the trial court improperly denied the

defense motion to suppress Mr. Barbee’s alleged statements to Detective Carroll in the Tyler Police

Department bathroom and in the office of the Tyler Police Department and the statements allegedly

made the next day in the car to find the victim’s bodies U.S. Const. amend. VI, VIII, XIII, & XIV.



       A. Facts in Support.

       i. The Bathroom Statement

       During the hearing on Petitioner’s original Motion to Suppress any oral or written

statements, the State elicited testimony from Detective Carroll of the Fort Worth Police Department

regarding three separate inculpatory statements allegedly made by Petitioner, the first of which took

place in the bathroom of the Tyler Police Department. Det. Carroll testified to the following:

                               Q.      What is it that he [Petitioner] said?

                               A.       First he said he was going to go to jail
                       [sic] the rest of his life. And I asked him, “What do
                       you mean by that?” He went on to say that he didn’t
                       mean to, but he killed Lisa. From there he went on to
                       talk about in detail what happened.

                               Q.      What detail do you recall him giving
                       you at that point?




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                          A.     He talked about why he went over, that
                 she was trying to break up his marriage with Trish, he
                 loved his wife very much, he didn’t want to lose that
                 relationship; and so he talked about in detail about
                 their relationship.
                          He also talked about the fact that he went to
                 the house in an attempt -- there was a plan to kill Lisa
                 that he and Ron had discussed. They had gone to the
                 house and wanted him to carry out this plan, and he
                 couldn’t do it. So he called Ronald Dodd and said, “I
                 can’t do it,” so Ron picked him up.

                        Q.      Did he tell you how he had gotten to
                 her house in the first place?

                        A.      Ronald Dodd had dropped him off.

                        Q.       And that when the intent -- when that
                 took place, the intent had been to kill -- that he was
                 going to kill Lisa?

                        A.      That’s correct.

                        Q.      But he had called Dodd to come pick
                 him up, that he could not do it?

                         A.     Well, the plan was -- he said they were
                 going to meet at Ronald Dodd’s house and Ron was
                 going to take him over to kill Lisa. When he got
                 there, he couldn’t go -- he was going to leave his car
                 at Ronald Dodd’s house. When he got there, he
                 couldn’t go through with it, so he left the house and
                 called Ronald Dodd. Ronald Dodd picked him up and
                 took him back to Dodd’s house where they discussed
                 it again. At that point Dodd made the comment,
                 “Should we hire a hit man,” and he said, “No, I can
                 do it.” So then Dodd took him back to Lisa’s house.

                        Q.     Was there any discussion about him
                 being -- him being Stephen Barbee -- provoking an
                 argument, provoking a fight in some way?

                          A.    Yes. Apparently the first time he
                 couldn’t get her upset -- he couldn’t get mad enough
                 to kill her.

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                         Q.      Why was that important to him?

                         A.      I don’t think he could go through with
                 it unless he could get upset or mad at her.

                         Q.      So the second time around?

                        A.       The second time around he went back
                 and they got into a fight. He picked an argument with
                 her.

                         Q.       Did he say what happened when he got
                 into that fight?

                         A.      He did say that she let him in. They
                 got into an argument. She kicked him in the leg and
                 he punched her in the nose. Then they began to fight.
                 He then held her down on the carpet for quite some
                 time. He told me he thought he held her too long, and
                 she stopped breathing. At that point during the
                 struggle, the fight, the seven-year old, Jayden, walks
                 in, and he’s crying. So he approaches Jayden, puts
                 his hand over Jayden’s mouth and nose and suffocates
                 him.

                        Q.     Did he say what happened -- did he tell
                 you any more detail about what happened while --
                 about the crime itself while y’all were there in the
                 bathroom?

                         A.      He did talk about trying to clean up the
                 crime scene, straighten up the place; that he left the
                 house through the garage because he didn’t have a
                 key so it appeared locked. He put both of the bodies
                 in the back of her vehicle and left.

                         Q.       Now, did you ask -- did he -- were
                 there other comments that he made during this time
                 period about his -- who he was personally, about
                 things that -- things he did or things he felt during that
                 time period?

                          A.    Yes. He also told me then that he had
                 lost a loved one and that he felt he understood that --
                 what Lisa’s family would be going through, and so he

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                       said that he buried both victims together and said a
                       prayer for both victims. And he also wanted closure
                       for Lisa’s family, and he asked if he could speak with
                       them.
                       (15 RR 28-31.)


       ii.     The Office Statement

       After the purported conversation in the restroom, Det. Carroll escorted Petitioner to an office

in the Tyler Police Department in order to utilize the internet MapQuest site to ascertain the location

of the bodies. During the hearing on Petitioner’s Motion to Suppress Det. Carroll detailed the

conversation that ensued between them:

                               Q.      What did you do?

                               A.     We then went to Detective Cashell’s
                       office because Barbee agreed to show us on a map
                       exactly where the bodies had been buried. So we
                       went back into the office and got on MapQuest on the
                       computer, and he looked and kind of pointed out to us
                       where the bodies were. He gave a description.

                              Q.      And the description that he gave you --
                       he’s describing to you the location?

                               A.      Yes.

                                              *    *      *

                              Q.      Were you able to locate with any
                       degree of specificity where these bodies were?

                               A.      Yes.

                               Q.     Enough to where you could have
                       driven there yourself the next day?




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                              A.    Yes.
                              (15 RR 33-34.)


       iii. The Police Car Statement

       Finally, during the ride back to Fort Worth the following morning, Det. Carroll contended

that Petitioner initiated a conversation with him that consisted of various incriminating comments.

Det. Carroll testified as follows during the suppression hearing:

                              Q.     Did the Defendant -- did he appear to
                       have concerns that he wanted to talk to you about?

                              A.      Yes.

                              Q.      What were those concerns?

                              A.      As we were driving -- like I said, we
                       were just making small talk. And as we were heading
                       that way, we had probably been driving for maybe 30,
                       40 minutes when he said that he wanted to take us to
                       the bodies but he didn’t want to see the bodies.

                                             *    *      *

                               Q.      So you were headed toward the
                       location that he gave you the night before.

                              A.      That’s correct.

                             Q.      And he’s asking you some questions.
                       What were the questions?

                              A.     He asked about wanting to take us to
                       the bodies but not wanting to see the bodies. His
                       other concern was not wanting to be seen by the
                       media. Those were his two concerns.

                              Q.      What did you tell him?




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                        A.     I said he wouldn’t have to see the
                 bodies, and I would make sure the media is not
                 present when he arrived on the scene.

                        Q.       As you got closer -- I mean, as I
                 understand it, you have to drive all the way -- whether
                 you are going to the bodies or to downtown Fort
                 Worth, you have to drive all the way to 287 on I-20
                 anyway; is that correct?

                         A.      That’s correct.

                                       *    *      *

                        Q.     As you got past downtown, you were
                 going toward the direction of where the bodies were,
                 at some point did the Defendant tell you how to get
                 there?

                        A.       Yes. We -- we had a basic idea from
                 his description from looking at the map and how he
                 described to us where the bodies were, where we were
                 going. I also knew from that description that my
                 sergeant and a lot of officers were in that same area.

                                       *    *      *

                         Q.      Text-messaged?

                         A.      Text-messaged through my cell phone
                 to my sergeant saying we were getting close. So the
                 plan was that he would get the media away from there
                 so Barbee wouldn’t have to see them.
                         So our plan was to take 35 to another exit.
                 However, as we got to the exit we were going take,
                 [sic] Barbee cut in and said, “No, take this street,” and
                 directed us to another road. And so at that point he
                 kind of guided us in through a back way. Instead of
                 going the direction we were going off 35, he guided
                 us in through a back way to the same location.

                                       *    *      *

                        Q.       How did you go about locating the
                 bodies?

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                               A.      When he described -- as we came off
                       the road, he said, “We are going into a gate, and along
                       the road there will be a body of water to the right.”
                       So I saw that as we turned in. He said it would be
                       pretty close as we entered.

                                             *    *      *

                               Q.      So you pull up --

                                A.      So as we pulled in -- the night before
                       he described that as we pull into this gate, just about
                       a few yards into the gate to the left there will be two
                       barbed-wire fences. Over that second set of barbed-
                       wire fences will be some shrubbery and a fresh dug
                       grave he described and loose shrubbery on top of it.
                                As we entered the gate and drove a little bit to
                       the left, I saw such a mound of debris, but farther
                       down I saw a second such description.
                                So Stephen said -- he looked at that one and
                       made the comment to me that he thought that was it.
                       Then he said, “Wait, wait. Go further down.”
                                So we drove to the second mound. We looked
                       at that one for a minute, and then said, “No, back up.”
                       So we started to back up.
                                At that point I got out of the truck and went
                       over the fence. As I went over the fence, Stephen
                       Barbee is yelling instructions to me; also Officer
                       Thornhill is standing near the truck, so he’s relaying
                       information to me also of what he’s telling me, to
                       walk further to my left, walk further to my left as I
                       was going back toward that first mound of debris, and
                       that’s where I found the bodies.
                       (15 RR 43-47.)



All of Det. Carroll’s testimony was admitted before the jury over Petitioner’s objections. (15 RR 75-

84; 22 RR 76-83; 23 RR 2-4; 24 RR 99-115, 123-131.)




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       B. Analysis and Argument.

       Art. 38.22 sec. 3 (a) of the Tex. Crim. Proc. Code Ann. (Vernon 2001) reads as follows:

                              No oral or sign language statement of an
                      accused made as a result of custodial interrogation
                      shall be admissible against the accused in a criminal
                      proceeding unless:
                              (1) an electronic recording, which may
                      include motion picture, video tape, or other visual
                      recording, is made of the statement;
                              (2) prior to the statement but during the
                      recording the accused is given the warning in
                      Subsection (a) of Section 2 above and the accused
                      knowingly, intelligently, and voluntarily waives any
                      rights set out in the warning;
                              (3) the recording device was capable of
                      making an accurate recording, the operator was
                      competent, and the recording is accurate and has not
                      been altered;
                              (4) all voices on the recording are identified;
                      and
                              (5) not later than the 20th day before the date
                      of the proceeding, the attorney representing the
                      defendant is provided with a true, complete, and
                      accurate copy of all recordings of the defendant made
                      under this article.

Strict compliance with all portions of sec. 3 (a) is required. Nonn v State, 117 S.W. 3d 874, 879

(Tex. Crim. App. 2003); Davidson v State, 25 S.W. 3d 183, 185 (Tex. Crim. App. 2000) aff’d, 42

S.W. 3d 165 (Tex. App. -- Fort Worth 2001); Vega v State, 32 S.W. 3d 897, 901-02 (Tex. App. --

Corpus Christi 2000) rev’d on other grounds, 84 S.W. 3d 613 (Tex. Crim. App. 2002).

       Sec. 3 (c) of art. 38.22 is an exception to the requirement that oral statements be recorded

before they can be admitted into evidence:

                              Subsection (a) of this section shall not apply
                      to any statement which contains assertions of facts or
                      circumstances that are found to be true and which
                      conduce to establish the guilt of the accused, such as
                      the finding of secreted or stolen property or the

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                       instrument with which he states the offense was
                       committed.

See Woods v State, 152 S.W. 3d 105, 117 (Tex. Crim. App. 2004) cert. denied, 161 L.Ed. 2d 1092

(2005); Moore v State, 999 S.W. 2d 385, 400-01 (Tex. Crim. App. 1999) cert. denied, 147 L.Ed. 2d

252 (2000). The appellate standard of review regarding the admission of evidence pursuant to a

motion to suppress is abuse of discretion. Martin v State, 173 S.W. 3d 463, 467 (Tex. Crim. App.

2005); Frank v State, 183 S.W. 3d 63, 75 (Tex. App. -- Fort Worth 2005, pet. ref’d); Alameda v

State, 181 S.W. 3d 772, 780 (Tex. App. -- Fort Worth 2005, pet. granted). The trial judge is the sole

trier of fact at a suppression hearing and evaluates the credibility of the witnesses accordingly.

Torres v State, 182 S.W. 3d 899, 902 (Tex. Crim. App. 2005); Lambeth v State, No. 2-04-140-CR,

slip    op.5      (Tex.App.        --Fort      Worth       Apr.      5,   2007)available           at

http://www.2ndcoa.courts.state.tx.us/opinions/htm/opinion.asp?OpinionId=18479; State v Garrett,

177 S.W. 3d 652, 655-56 (Tex. App. -- Houston [1st Dist.] 2005, pet. ref’d [3]). A trial court clearly

abuses its discretion when its decision is so clearly wrong as to lie outside that zone within which

reasonable persons might disagree, Apolinar v State, 155 S.W. 3d 184, 186 (Tex. Crim. App. 2005);

State v Franco, 180 S.W. 3d 219, 225 (Tex. App. -- San Antonio 2005, pet. ref’d [2]); Carty v State,

178 S.W. 3d 297, 304-05 (Tex. App. -- Houston [1st Dist.] 2005, pet. ref’d) or if its ruling was

reached arbitrarily and unreasonably without reference to any guiding rule or principle. Bradford

v State, 178 S.W. 3d 875, 878 (Tex. App. -- Fort Worth 2005, pet. ref’d); Stewart v State, 162 S.W.

3d 269, 273 (Tex. App. -- San Antonio 2005, pet. ref’d); Jiminez v State, 67 S.W. 3d 493, 504 (Tex.

App. -- Corpus Christi 2002, no pet.).




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       Here the trial court ruled Petitioner’s’s oral statements admissible because he provided

details pertinent to the burial location of the bodies of Lisa and Jayden Underwood. (2 CR 474-475.)

However, prior to Petitioner’s information in this regard, Ron Dodd had already volunteered this

information to the police. (2 CR 475.) During the second hearing on Petitioner’s Motion to

Suppress, Det. J.D. Thornton testified that the police would have been able to locate the bodies

based upon the information provided by Ron Dodd and without Petitioner’s assistance:



                              Q.      And when did you hear about where
                       the bodies were buried? When did you find that out?

                              A.      Well, we had a general idea.

                              Q.      Okay. And what was that based on?

                              A.      That was originally based           on
                       information from Detective McCaskell.

                              Q.      And what was his -- was that based on
                       his conversation with a particular person?

                              A.      Yes, sir.

                              Q.      Who was that?

                              A.      That was Mr. Dodd.

                               Q.    That would have been information that
                       Defendant [sic] McCaskell got while he was
                       interviewing Ron Dodd in Tyler?

                              A.      That’s correct.

                              Q.    About what time did you have that
                       information?

                              A.     It would have been shortly before the
                       conversation with Carroll. Again, I didn’t document
                       the time --

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                        Q.      Would it be evening hours of the 21st?

                        A.      Yes, sir.

                                      *      *      *

                         Q.     Okay. Well, I want to ask you to go
                 back through that, if you don’t mind. When you say
                 we got and -- who gave you this information that you
                 are talking about? Did you get it from Detective
                 Carroll?

                         A.     I got it from originally Detective
                 McCaskell. Once I was contacted by Detective
                 Carroll and given information about the confession,
                 my conversations usually were with him from then
                 on.

                        Q.      Okay. Now, when you got this
                 information from Detective McCaskell, was he
                 already on the way from Tyler with Ron Dodd?

                        A.     No, when the original information
                 came, he was still in Tyler.

                                      *      *      *

                         Q.     I guess here is what I am getting at,
                 Detective Thornton.        Did you have enough
                 information before Stephen Barbee actually got there
                 to say that’s where the bodies are?

                        A.      We would have found the bodies.

                         Q.     Okay. And you would have found the
                 bodies, but based on the information you got when?

                        A.      Throughout the night.

                        Q.       Well, so -- if Mr. Barbee, then, had
                 decided at five o’clock in the morning on the 22nd, “I
                 am not going to talk to the police anymore, I am not
                 going to say another word,” it is your position that
                 you would have found the bodies based on what you
                 already knew?

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                        A.      Yes, it is.

                                       *      *    *

                         Q.      And based on all those conversations,
                 at 7:00 o’clock in the morning, even though you were
                 the distance between you and me apart, you didn’t
                 find the bodies.

                        A.      That’s correct.

                        Q.       It was only after that, that you found
                 the bodies; is that right?

                        A.    Our position, yes, was to let Mr.
                 Barbee come and show us exactly where they were.

                        Q.      Okay.

                        A.     If that didn’t work out, we were
                 prepared to make a search of that area; and, yes, in
                 my opinion we would have discovered the bodies.
                 We would have found them.

                         Q.     You would have found them anyway
                 even if he hadn’t shown up.

                        A.      Yes.

                       Q.      Even though you didn’t find them and
                 you were looking for them.

                         A.     Well, there were two of us looking for
                 them. There were two of us walking an area which
                 probably initially ten acres. So with [sic] number of
                 people we had coming out, the number of dogs we
                 had coming out, we hadn’t flown the helicopter over
                 yet, we hadn’t done anything of that yet. There were
                 just two of us making a walk-through of that area.
                 (22 RR 46-54)(emphasis added.)




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           Detective McCaskell, who had interviewed Ron Dodd at the Tyler Police Department, also

confirmed that the information regarding the location of the bodies came from Mr. Dodd. He

related:

                                Q.    Did you ultimately have an interview
                         with a Ron Dodd in the Tyler police department?

                                 A.    Yes, sir, I did.

                                Q.      Would that have been 7:00 8:00
                         o’clock that night?

                                 A.    Yes.

                                              *     *     *

                                 Q.    All right.

                                A.     There was some information that had
                         come forth in my part of the investigation that
                         brought us back this way.

                                 Q.    Tell us what that was.

                               A.       I had received some information from
                         Mr. Dodd, if that’s permissible?

                                 Q.    Yeah.

                                A.     That he had an idea of where Mr.
                         Barbee had last been seen with the remains of Lisa
                         and Jayden Underwood.

                                 Q.    And you wanted to go see where they
                         were?

                                 A.    Yes.

                                              *     *     *




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                               Q.     Was that generally because you had
                        Ron Dodd with you, and he was going to show you
                        where he thought these bodies might be?

                                A.      Yes, sir.

                              Q.        I mean, that’s the gist of why you
                        came back?

                                A.      Yes, sir.

                               Q.     And Ron Dodd, did he appear like he
                        was cooperating with you?

                                A.      He did.

                               Q.      So you had good intentions to go try
                        and find these bodies?

                                A.    Yes.
                                (22 RR 57-60.)


        Based upon the testimony of the State’s witnesses, the detectives would have located the

bodies based upon the information previously gleaned from Ron Dodd; they did not need Petitioner.

When Petitioner finally agreed to talk, the police were already aware of the general location, and

by their own admission, would have honed in on the site without his assistance. As a result, the

evidence eventually provided by Petitioner was not unknown to the authorities.

        The erroneous admission of Petitioner’s incriminating statements amounts to constitutional

error, as it rendered the trial unfair, and reversal is required if a substantial right has been affected.

A substantial right is affected when the error has a substantial and injurious effect or influence in

determining the jury’s verdict. Woods at 118-19. See also, Wappler v State, 104 S.W. 3d 661, 668-

69 (Tex. App. -- Houston [1st Dist.] 2003) rev’d on other grounds and remanded, 138 S.W. 3d 331




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(Tex. Crim. App. 2004) rev’d on other grounds, 183 S.W. 3d 765 (Tex. App. -- Houston [1st Dist.]

2005, no pet.). Obviously the admission of these highly incriminating statements before the jury

influenced the jury’s verdict of guilt. A principal facet of the State’s case hinged on Petitioner’s

knowledge of the precise location of the burial site. Without this evidence, Petitioner likely would

have been acquitted of this offense. The admission of this prejudicial testimony had a profound

impact on his fate.

         Because the trial court abused its discretion by admitting Petitioner’s oral statements into

evidence before the jury, Mr. Barbee respectfully prays that this Court remand his case for a new

trial.

         C. The claim is exhausted and not subject to procedural default.

         This claim was multiply presented, as Points of Error Numbers 4, 5, 6, and 7 in his direct

appeal. (Exhibit 4, pages 44-66.) Thus, the claim is exhausted and not procedurally defaulted.




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CLAIM ELEVEN: ARTICLE 37.071(e) & (g)'S PROHIBITION AGAINST INFORMING
JURORS THAT A SINGLE HOLDOUT JUROR WILL CAUSE THE IMPOSITION OF A
LIFE SENTENCE VIOLATED MR. BARBEE’S RIGHTS UNDER THE EIGHTH AND
FOURTEENTH AMENDMENTS TO THE UNITED STATES CONSTITUTION.


A.     Texas' "12-10 rule" violated Mr. Barbee's rights under the Eighth and
       Fourteenth Amendments to the United States Constitution and Article I, section
       13 of the Texas Constitution

        The version of TEX. CODE CRIM. PRO. Art. 37.071 in operation at the time of Petitioner's trial

provided that in order for the trial court to impose a death sentence, all twelve jurors had to answer

both of the "special issues" affirmatively; to impose a life sentence, at least ten jurors had to answer

any of the special issues negatively. A failure of a capital sentencing jury to garner the requisite

number of votes either way resulted in the imposition of a life sentence. However, Petitioner's

jurors were not informed that if they failed to reach a collective decision either way -- if one

juror answered "no" to any special issue -- the court would impose a life sentence. Instead,

they were instructed by the trial court that the jury must either unanimously agree to answer both

of the "special issues" affirmatively (in which case a death sentence would be imposed), or ten or

more jurors were to agree to answer one or more of the "special issues" negatively (in which case

a life sentence would be imposed).156 As we shall see, this had dramatic consequences for Mr.


        156
             The court instructed Mr. Barbee’s jury:
        In deliberating on Special Issue No. 1, the jury shall consider all evidence
        admitted at the guilt or innocence stage and the punishment stage, including
        evidence of the defendant’s background or character, or circumstances of the
        offense that militates for or mitigates against the imposition of the death penalty...
        The jury may not answer Special Issue No. 1 “Yes” unless the jury agrees unanimously
on the answer.
        You are instructed that in answering Special Issue No. 1, the jury may not answer “No”
unless ten or more jurors agree...
        You may not answer [Special Issue No. 2] “No” unless the jury unanimously agrees, and
you may not answer the issue “Yes” unless ten or more jurors agree.
        2 CR 400-401 (Exhibit 6.)

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Barbee’s jury.


       The collective operation of these provisions of Article 37.071, upon which Texas capital

sentencing jury charges are modeled, has come to be known as the "12-10 rule."157 This feature of

37.071 creates the potential for considerable confusion among reasonable jurors. The United States

Supreme Court has held that, in judging the constitutionality of a capital sentencing statute, a court

must ask how a reasonable juror could view his or her role under the statutory scheme. See

California v. Brown, 479 U.S. 538, 541 (1985); Francis v. Franklin, 471 U.S. 307, 315-16 (1985).

The Texas statute implicitly informs a juror that, absent similar votes from nine other jurors, his or

her "no" vote to a special issue -- e.g. a vote against the imposition of the death penalty -- is

meaningless because it alone cannot be sufficient to result in a life sentence.

       Texas' 12-10 rule generates the danger that confused jurors otherwise disposed to vote for

a life sentence will conform to a "majority rules" mentality. Potential holdout jurors may reasonably

believe that their votes in favor of a life sentence are worthless unless nine others join them; if a

majority of other jurors are firmly voting "yes," a single juror may feel obliged to vote "yes" since

there would appear to be no possibility of a life sentence and the jury has been instructed to return

a verdict. See Mills v. Maryland, 486 U.S. 367, 383 (1988) ("[C]ommon sense . . . suggest[s] that

juries do not leave blanks and do not report themselves as deadlocked over mitigating circumstances

after reasonable deliberation . . . unless they are expressly instructed to do so."). Such a belief on

the part of a juror is contrary to Texas law, which dictates that if a capital juror is unable to agree

on answer to any of the special issues, the court must sentence the defendant to life.



       157
          See Robert J. Clary, "Voting for Death: Lingering Doubts About the Constitutionality
of Texas' Capital Sentencing Procedure," 19 St. Mary's L. J. 353, 358-59 (1987).

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       In Davis v. State, 782 S.W.2d 211 (Tex. Crim. App. 1989), the Court acknowledged the

possibility that “‘a juror who conscientiously believes that the evidence called for a life sentence

might nevertheless vote for the death penalty in order to avoid mistakenly assumed consequences

of jury deadlock.’” Id. at 221, quoting Barfield v. Harris, 540 F.Supp. 451, 472 n. 17 (E.D.N.C.

1982), affirmed, 719 F.2d 58 (4th Cir. 1983), cert. denied, 467 U.S. 1210 (1984). However, the

Barfield opinion quoted in Davis also speculated that it was just as likely that a life-prone juror

would refuse to consider the evidence and the views of her fellow jurors in favor of a death sentence

if she knew her steadfastness would result in a life sentence. Id. The Barfield opinion, cited with

approval by the Texas Court of Criminal appeals concluded that:

       Neither scenario results in a "reliable" or desirable process of deliberation, but the
       court cannot say that the first scenario is significantly more likely to occur as a result
       of not giving the instruction than is the second as of giving it. Id.

       Support for the proposition that a juror in the minority may be subject to coercion, and that

such coercion results in a constitutionally unreliable sentence, is found in the United States Supreme

Court's cases criticizing the practice by trial courts of inquiring into the numerical division of

deadlocked juries prior to requiring further jury deliberations. See, e.g., Lowenfield v. Phelps, 484

U.S. 231, 239-40 (1988); Brasfield v. United States, 272 U.S. 448, 450 (1926). In such cases, the

Court has held that "inquiry into the jury's numerical division necessitated reversal because it was

generally coercive and almost always brought to bear `in some degree, serious although not

measurable, an improper influence upon the jury.'" Lowenfield, 484 U.S. at 239 (citing Brasfield,

272 U.S. at 450).    Put another way, Texas' "12-10 rule" is a built-in impermissible "dynamite

charge," which the Supreme Court has recognized as a possible Eighth Amendment violation in the

capital sentencing context. See Lowenfield, 484 U.S. at 240-41.



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       In Kubat v. Thieret, 867 F.2d 351, 371 (7th Cir. 1989), the United States Court of Appeals

for the Seventh Circuit noted that the instructions to Kubat's jury stated both correctly and

incorrectly the law as to whether a unanimous verdict was required to find a mitigating

circumstance.158 However, they reasoned that the fact that the jury had heard a correct explanation

of the law did not rescue the law's constitutionality:

       At worst, the jury may have retired for deliberations believing it had to reach a
       unanimous verdict on sentencing just as it had to do on the merits. At best, it may
       have entered the jury room confused. Indeed, even if only one juror had been
       confused, the reliability of the verdict is undermined. For if that one juror thought
       that the death penalty should not be imposed, he or she might have submitted to the
       views of the other eleven because of the mistaken belief that unanimity was required.

Kubat v. Thieret, 867 F.2d 351, 371 (7th Cir. 1989). As the reasoning of the Seventh Circuit reveals,

there is little constitutional difference between a jury being instructed that they must find a

mitigating circumstance unanimously, and a jury being instructed that they must answer a special

issue unanimously or by a majority of 10 jurors.

       The United States Supreme Court has held that the possibility that a jury may be confused

about facts important to their capital-sentencing role has constitutional implications. In Simmons

v. South Carolina, 114 S. Ct. 2187 (1994) the Court held that a criminal defendant must be given

the opportunity to inform the jury that he would never be eligible for parole if given a life sentence.

Id. at 2196 (plurality opinion per Blackmun). The plurality reasoned that "[t]he jury was left to

speculate about petitioner's parole eligibility when evaluating petitioner's future dangerousness, and

was denied a straight answer about petitioner's parole eligibility even when it was requested." Id.




       158
          As shown above, Mr. Barbee's jury received similarly ambiguous instructions. 2 CR
400-401 (Exhibit 6.) They were also told that the burden of proof in Special Issue No. 1 rests
upon the State, and it must prove that issue beyond a reasonable doubt. (Id. at 401.)

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at 2195. The information about petitioner's parole eligibility was of "obvious relevance . . . to the

jury's formidable sentencing task." Id. at 2197. The parallel is obvious: the significance of an

individual vote of "no" to either of the special issues was of "obvious relevance" to any jury, but

they were denied information on this point. Justice Souter's concurring opinion in Simmons makes

the reliability concerns raised by potential jury confusion even clearer: "Whenever there is a

reasonable likelihood that a juror will misunderstand a sentencing term, a defendant may demand

instruction on its meaning. . . ." Id. at 2198 (Souter, J., concurring). The jurors in Petitioner's case

were told they could vote "no" to a special issue, but were never told what the result of that single

vote would be, as a result, they may have misunderstood the meaning of their vote. Thus, the Texas

capital-sentencing scheme "diminish[ed] the reliability of the sentencing determination." Beck v.

Alabama, 447 U.S. 625, 638 (1980).

        In this way, Article 37.071's "12-10 Rule" injected arbitrariness into the proceedings and

created an unreliable sentencing determination -- a constitutional violation of the highest order in

the capital sentencing context.159 See State v. Williams, 392 So.2d 619, 631 (La. 1980) (on

rehearing). In Williams, the court stated:

        In the present case the jurors were not fully informed of the consequences of their
        votes and the penalties which could result in each eventuality. They were not told
        that, by their failure to decide unanimously, they would in fact decide that the court
        must impose a sentence of life imprisonment. . . . Instead, the members of the
        sentencing body were left free to speculate as to what outcome would be in the
        event there was no unanimity. Under these circumstances, individual jurors could

        159
           See Lowenfield v. Phelps, 484 U.S. 231, 238-39 (1988) (noting that capital sentencing
proceedings made unreliable by coercion of jurors violate Eighth Amendment); Woodson v.
North Carolina, 428 U.S. 280, 305 (1976) (opinion of Stewart, Stevens, & Powell, JJ.) (holding
that mandatory death sentences deprive defendants of reliable, individualized sentences in
violation of Eighth Amendment); Cf. Gardner v. Florida, 430 U.S. 349 (1977) (plurality
opinion) (holding that capital-sentencing procedures which restrict defendant's ability to offer
mitigating evidence lead to unreliable capital sentencing proceedings that violate due process
clause of Fourteenth Amendment).

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        rationally surmise that in the event of a disagreement a new sentencing hearing, and
        perhaps a new trial, before another jury would be required.

Williams, 392 So.2d at 631 (emphasis added). Such a risk of speculation and confusion was held

to be a constitutional violation by the Louisiana Supreme Court. Id. See also State v. Ramseur, 524

A.2d 188, 284 (N.J. 1987). Like the statute under which Mr. Barbee was sentenced, the sentencing

statute at issue in Williams required the trial court automatically to impose a life sentence if the jury

deliberations ended in a deadlock. See TEX. CODE CRIM. PRO. Art. 37.071(e) (Vernon's 1994).

Williams deemed constitutionally impermissible the potential for speculation and confusion on the

part of the jury. Mr. Barbee is similarly entitled to relief.

        2.       Texas' 12-10 rule violated Mr. Barbee’s rights under the Eighth
                 Amendment to the United States Constitution, as construed by the
                 United States Supreme Court's decision in Mills v. Maryland160

        The 12-10 rule also violates the Eighth Amendment principle in Mills v. Maryland, 486 U.S.

367 (1988),161 that it is unconstitutional to instruct capital sentencing jurors in a manner leading

reasonable jurors to believe that their individual vote in favor of returning a life sentence based on

particular mitigating factors is worthless unless some threshold number of jurors are in agreement

a that particular mitigating factor or factors exist. That is, a constitutional violation occurs if a

reasonable juror could interpret the jury charge to instruct that there must be a meeting of the minds

among some threshold number of jurors162 as to whether the mitigating evidence offered by the



        160
              486 U.S. 367, 383 (1988).
        161
            See also McKoy v. North Carolina, 494 U.S. 433 (1990) (holding that it is a violation
of the Eighth Amendment to require a unanimous verdict as to mitigating circumstances in
capital sentencing trials).
        162
           In Mills, the threshold number was twelve; under the Texas statute, the threshold
number is ten.

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capital defendant warrants a negative answer to at least one special issue, thus resulting in the

imposition of a life sentence. See Mills, 486 U.S. at 373-75. Unless jurors are informed of the result

of a deadlock in such a situation, the risk that one or more jurors will cave into a "majority rules"

mentality is too great under the Eighth Amendment. See Mills, 486 U.S. at 383 ("[C]ommon sense

. . . suggest[s] that juries do not leave blanks and do not report themselves as deadlocked over

mitigating circumstances after reasonable deliberation unless they are expressly instructed to do

so.").

         Under Mills, a constitutional violation would occur under the Texas scheme if reasonable

jurors who were instructed pursuant to Article 37.071 were led to believe that their votes in favor

of a life sentence based on particular mitigating factors would be worthless unless at least nine other

jurors joined them.163 See Kubat v. Thieret, 867 F.2d 351, 369-73 (7th Cir.), cert. denied, 493 U.S.

874 (1989). In Kubat, in finding a Mills violation, the Seventh Circuit was faced with a capital




         163
            Under the Texas statute at issue here, jurors were not asked to find specific mitigating
factors which were to be weighed against specific aggravating factors, as was true in Mills.
Rather, as this Court is aware, Texas' unique capital sentencing scheme instead only asks jurors
to answer three "special issues" -- whether a capital defendant committed the crime
"deliberately" (however, this issue was not given to the jury in Mr. Barbee’s case) and whether
the capital defendant would pose a "future threat" to society if given a life sentence. See Tex.
Code. Crim. Pro. Art. 37.071(b) (Vernon's 1989).
    However, as the United States Supreme Court has repeatedly held, Article 37.071(b)'s
"special issue" format permits juries to consider and give proper mitigating effect to almost all
types of mitigating evidence. See Johnson v. Texas, 119 S. Ct. 2658, 2670 (1993) ("A Texas
capital jury deliberating over the Special Issues . . . is likely to weigh mitigating evidence as it
formulates . . . answers in a manner similar to that employed by capital juries in `pure balancing'
states."); Adams v. Texas, 448 U.S. 38, 46 (1980) (in deliberating special issues, jurors answer
"on the basis of all relevant evidence not only why the death sentence should be imposed but
also why it should not be imposed"). Thus, for purposes of Petitioner's arguments herein, this
Court must treat the Texas capital sentencing scheme as one in which jurors weigh mitigating
factors against aggravating factors, just as jurors do under a "pure" balancing statute.

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sentencing scheme virtually identical164 to the one at issue in the present case:

        Kubat's jurors were never expressly informed in plain and simple language that even
        if one juror believed that the death penalty should not be imposed, Robert Kubat
        would not be sentenced to death. . . . [T]here is a substantial possibility that one or
        more of Kubat's jurors might have been precluded from granting mercy to Kubat
        because of a mistaken belief that the sufficiency of mitigating factors had to be found
        unanimously.

867 F.2d at 373; cf. Andres v. United States, 333 U.S. 740, 752 (1948) (reasoning that, in a federal

death penalty case, a juror uninformed as to the consequences of a less-than-unanimous verdict

"might reasonably conclude that, if they cannot all agree to grant mercy, then the verdict of death

must stand unqualified").

        The Ninth Circuit has similarly construed the Court's decision in Mills. Mak v. Blodgett, 970

F.2d 614, 624-625 (9th Cir. 1992), cert. denied, 113 S. Ct. 1363 (1993). The Mak court stated:

        The Supreme Court has held that, where the underlying statute does not require
        unanimity [in assessing a life sentence], due process will not tolerate instructions that
        could reasonably be interpreted by a jury to preclude consideration of any mitigating
        factor unless a such a factor was unanimously found to exist. . . . As in Mills,
        "[u]nless we can rule out the substantial possibility that the jury may have rested its
        verdict on the `improper' ground, we must remand for resentencing."

Id. at 625 (citations omitted) (quoting Mills v. Maryland, 486 U.S. 367, 377 (1988)).

        In Draughon v. State, 831 S.W.2d 331 (Tex. Crim. App. 1992) the appellant argued the 12-

10 rule could mislead the jury to believe that a sentence less than death was not possible unless ten

or more jurors answered one of the special issues in the negative. Id. at 337. The Draughon opinion

recognized that "it is conceivable that. . .[the jury] will surmise later instructions requiring ten votes

for a negative answer [to] mean that a life sentence will not be imposed otherwise." Id. The Court


        164
           In Kubat, as in Mills, the jury was instructed that the threshold number of jurors
required for a life sentence was twelve; in Texas, capital sentencing juries are instructed that the
threshold number is ten. The difference is irrelevant since the possibility for one or more jurors
"caving in" and not voting for a life sentence based on particular mitigating evidence is identical.

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further acknowledged that is was "troubled" by the implication of Draughon's argument "that. . .[the

Texas sentencing scheme], by requiring [a] consensus [of ten votes for a "no" answer to a special

issue], inhibit[s] the free exercise by each juror of his individual judgment about the propriety of a

death sentence." Id. at 338. However, the Court stated:

       [I]t is the danger that jurors, unaware of the operation of the law, might mistakenly
       think a sentence other than death to be impossible unless ten of them agree that
       renders the procedure constitutionally suspect. But, because the jury instructions of
       which Appellant here complains are not reasonably susceptible of such an
       interpretation, we are satisfied that no juror would be misled by them into thinking
       that an affirmative answer should be given unless ten or more jurors agree to give a
       negative one.

Id. at 338. However, the Court of Criminal Appeals failed to consider the possibility that Texas' 12-

10 rule would mislead the jury to believe a mistrial would result from the jury's failure to garner 12

"yes" votes or 10 ten "no" votes, resulting in one or more jurors basing his or her determination on

an incorrect understanding of the law.

       Even before the United States Supreme Court's decision in Mills, at least one other state

court has recognized the constitutional infirmity in a sentencing determination made after a jury had

"thrown away" their dissenting vote because they could not sway a majority of their fellow jurors.

In People v. Durre, 690 P.2d 165 (Colo. 1984), the jury was instructed according to Colorado law,

which called for them to explicitly note any mitigating or "additional mitigating" factors they found

and weigh them against the aggravating factors they found. Id. at 175-76. The jury was not told

how to find the mitigating factors or whether they had to agree on which factor called for leniency.

Id. The foreman returned a jury form reflecting that they had found aggravating circumstances and

had found no mitigating circumstances, and thus that Durre should be sentenced to death. Id. at 170.

However, the foreman attached a note to the form saying that though they could neither "claim the



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mitigating circumstances" nor "deny the aggravating circumstances," nevertheless several jurors

had concluded that Durre should not die. Id. The trial judge personally interviewed the five

dissenting jurors, who told him that even though they felt that Durre should be spared, they agreed

with the "verdict." Id. at 170 & n.10. The trial judge, however, dismissed their votes against death

as the product of mere "conscientious difficulties" and sentenced the defendant to death in

accordance with the general verdict. Id. at 170.

       The Colorado Supreme Court reversed the death sentence, dismissing as "faulty" the state's

contention that "jury findings on mitigation and aggravation involve no consideration whatever of

the issue of punishment." Id. at 171. That court intoned:

       Without such an instruction [on the effect of their verdict], the jury will not only be
       required to labor in the dark about what it is actually deciding by its verdicts but also,
       of equal importance, will be ill-equipped to fulfill its function of serving as the vital
       link between contemporary community values and the propriety of the life-and-death
       decision which its verdicts necessarily resolve.

Id. at 173. Therefore, the Colorado Supreme Court ruled that jurors must be explicitly informed of

the results of their findings of mitigating and aggravating circumstances. Id. at 174 & n.15. Here,

Mr. Barbee’s jurors were never informed of the results of any individual juror’s decision to stick

to his verdict for life. This is no different from not being told what the consequences of the entire

jury’s verdict would be. Any one of Mr. Barbee’s jurors may have believed that by holding out

for a life sentence, a mistrial would be declared.165 This aspect of Texas' 12-10 rule is a Mills

       165
             The Louisiana Supreme Court explained the consequences of leaving the jury in the
dark thus:

       Under these circumstances, individual jurors could rationally surmise that in the
       event of disagreement a new sentencing hearing, and perhaps a new trial before
       another jury would be required. Such a false impression reasonably may have
       swayed a juror to join the majority, rather than hold to his honest convictions, in
       order to avoid forcing the parties, witnesses and court officials to undergo
       additional proceedings.

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violation a fortiori. That is, a reasonable juror may have believed, contrary to Texas law, that they

had no ability to give mitigating effect to any and all types of mitigating circumstances unless at

least nine other jurors also voted for life.

        This failure to instruct each individual juror of the consequences of his or her firmly held

beliefs was condemned by the Supreme Court over 100 years ago in Calton v. Utah, 130 U.S. 83

(1889). In Calton, the Supreme Court reversed a conviction under the Utah territorial statutes

where the jury had not been informed of the right to recommend a sentence other than death. The

Court wrote that if the jury had their attention called to the alternative sentence then "it may be that

they might have made such a recommendation and thereby enable the sentence to be a life

sentence." In his opinion for the Court, the first Mr. Justice Harlan adopted the lower court's dissent:

        The prisoner was deprived of a substantial right. The determination of the question
        as to whether he should suffer death or imprisonment was one of vital consequence
        to him. The jury, to whom the statute commits the determination of that question, at
        least in part, were not informed of their duty and responsibility in the matter, so as
        to require them to exercise their judgment and discretion in relation to it, and by the
        verdict they rendered the court had none.

        Id. quoting Territory v. Catton, 16 P. 902, 910 (Utah 1888) rev sub nom Calton v. Utah, 130

U.S. 83 (1889).

        Petitioner recognizes that "[a] critical assumption underlying [the] system [of trial by jury]

is that juries will follow the instructions given them by the trial judge." Parker v. Randolph, 442

U.S. 62, 73 (1979) (plurality opinion). Here, though, the instructions themselves were deficient:

they "did not tell the whole truth, because [they] did not tell the jurors what to do in the event of a

disagreement." Gacy v. Welborn, 994 F.2d 305, 307 (7th Cir. 1993), cert. denied 114 S. Ct. 269




State v. Williams, 392 So.2d 619, 634-35 (La. 1980).

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(1993). Where one instruction contradicts another instruction, it has constitutional consequences.

Contradictory instructions make it impossible to know which instructions jurors used in reaching

their verdict. Cabana v. Bullock, 106 S. Ct. 689, 695 n.2 (1986). Here, the jurors were instructed

that each must be convinced beyond a reasonable doubt, but also instructed that it would take 10

votes to impose a life sentence. Such contrary instructions were constitutionally deficient. In Boyde

v. California, 494 U.S. 370, 380 (1990), the Court held that the proper inquiry is "whether there is

a reasonable likelihood that the jury has applied the challenged instruction in a way that prevent[ed]

the consideration of constitutionally relevant [mitigating] evidence."




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CLAIM TWELVE: LETHAL INJECTION – AS IT IS CURRENTLY ADMINISTERED IN
TEXAS – PRODUCES UNNECESSARY PAIN, TORTURE, AND LINGERING DEATH,
AND VIOLATES THE EIGHTH AMENDMENT.

       The Eighth Amendment’s proscription against cruel and unusual punishment forbids the

infliction of unnecessary pain in the execution of a sentence of death. Louisiana ex rel. Francis v.

Resweber, 329 U.S. 459, 463 (1947) (opinion of Reed, J.); Fierro v. Gomez, 865 F. Supp. 1387,

1413 (N.D. Cal. 1994) (execution by lethal gas in California held unconstitutional where evidence

indicated “death by this method is not instantaneous. Death is not extremely rapid or within a matter

of seconds. Rather . . . inmates are likely to be conscious for anywhere from fifteen seconds to one

minute from the time that the gas strikes their face” and “during this period of consciousness, the

condemned inmate is likely to suffer intense physical pain” from “air hunger”; “symptoms of air

hunger include intense chest pains . . . acute anxiety, and struggling to breath”), aff’d, 77 F.3d 301,

308 (9th Cir. 1996), vacated on other grounds, 519 U.S. 918 (1996). Further, “[p]unishments are

cruel when they involve . . . a lingering death.” In re Kemmler, 136 U.S. 436, 447 (1890). A

punishment is particularly constitutionally offensive if it involves the foreseeable infliction of

suffering. Furman v. Georgia, 408 U.S. 238, 273 (1973), citing Resweber, supra (had failed

execution been intentional and not unforeseen, punishment would have been, like torture, “so

degrading and indecent as to amount to a refusal to accord the criminal human status”).

       It is not only foreseeable, it is predictable that death by lethal injection as it is currently

practiced in Texas – using a paralytic agent in combination with a sedative – will produce

unnecessary pain, torture, and lingering death. Evidence has existed for at least fifty years that the

“drugs used in lethal injections pose a substantial threat of torturous pain to persons being executed.”

Chaney v. Heckler, 718 F.2d 1174 (D.C. Cir. 1983), overturned on other grounds, Heckler v.



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Chaney, 470 U.S. 821 (1985) (citing ROYAL COMMISSION ON CAPITAL PUNISHMENT,

1949-1953 REPORT (1953)). The Court of Appeals found that

       Appellants have presented substantial and uncontroverted evidence to support their claim
       that execution by lethal injection poses a serious risk of cruel, protracted death. See
       ROYAL COMMISSION ON CAPITAL PUNISHMENT, 1949-1953 REPORT (1953),
       Exhibit 1 to Letter to the Secretary, supra, JA 34-40. Even a slight error in dosage or
       administration can leave a prisoner conscious but paralyzed while dying, a sentient witness
       of his or her own slow, lingering asphyxiation.
       Id. at 1191.

       Further, an employee of the Texas Department of Criminal Justice has admitted that the

Texas lethal injection protocol has not changed since it was first used in 1982. Judge Denies Stays

of Three Executions, HOUSTON CHRONICLE, Dec. 9, 2003, at A29 (quoting a TDCJ official who

acknowledges that no changes have been made to the procedure in place since 1982).

       What has changed over the last two decades, however, is that numerous states, most recently

the State of Texas, have enacted statutes regulating the euthanasia of animals which preclude using

the same combination of drugs currently administered to human beings during executions.166 If

evolving standards of decency, as reflected by legislative action and professional association of

veterinarians, preclude the use of these particular drugs when killing a dog or a cat, then certainly

those same standards of decency would require a more humane, readily available version of the

lethal injection for human beings as well. “‘The basic concept underlying the Eighth Amendment

is nothing less than the dignity of man . . . . The Amendment must draw its meaning from the

evolving standards of decency that mark the progress of a maturing society.’” Atkins v. Virginia,

311-312 (2002) (quoting Trop v. Dulles, 356 U.S. 86, 100-101(1958)).




       166
            See Exhibit 43, Vernon’s Tx. Health & S. §821.052 and 821.055 and related statutes
forbidding for animal euthanasia the combination of drugs used to execute humans in Texas.

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A.       The combination of chemicals used to execute inmates in Texas creates a strong
         probability of unnecessary suffering and torture.

         The State of Texas proposes to execute Mr. Barbee by poisoning him with a lethal

combination of three chemical substances: Sodium Thiopental, or Sodium Pentothal (an ultrashort-

acting barbiturate); Pancuronium Bromide, or Pavulon (a curare-derived agent which paralyzes all

skeletal or voluntary muscles, but which has no effect whatsoever on awareness, cognition or

sensation); and potassium chloride (an extraordinarily painful chemical which activates the nerve

fibers lining the person’s veins and which can interfere with the rhythmic contractions of the heart

and cause cardiac arrest).167 While each of these chemicals individually creates concern about their

use in the execution process, in combination they cannot pass constitutional muster. Far from

producing a rapid and sustained loss of consciousness and humane death, this particular combination

of chemicals often causes the inmate to consciously suffer an excruciatingly painful and protracted

death.

         1.     Sodium Thiopental

         Sodium thiopental, or sodium pentothal, is a short-acting barbiturate which is ordinarily used

to render a surgical patient unconscious for mere minutes, only in the induction phase of anesthesia,

specifically so that the patient may re-awaken and breathe on their own power if any complications

arise in inserting a breathing tube pre-surgery. Because of its brief duration, sodium thiopental may

not provide a sedative effect throughout the entire execution process. Dr. Dennis Geiser, the

chairman of the Department of Large Animal Clinical Sciences at the College of Veterinary

Medicine at the University of Tennessee, recently explained:



         167
             See Exhibit 43, drugs used to execute in Texas, from TDCJ website “Death Row
Facts” at p. 2.

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       Sodium thiopental is not a proper anesthetic for use in lethal injection. Indeed, the American
       Veterinary Medical Association standards for euthanasia indicate that the ideal barbituric
       acid derivative for animal euthanasia should be potent, long acting, stable in solution, and
       inexpensive. Sodium pentobarbital (not sodium thiopental) best fits these criteria. Sodium
       thiopental is a potent barbituric acid derivative but very short acting with one therapeutic
       dose.

(Affidavit of Dr. Dennis Geiser, in the case of Texas v. Jesus Flores, No. 877,994A).168

       Due to the chemical combination used in the Texas execution process, there is also a

probability that the sedative effect of the sodium thiopental is neutralized by the second chemical,

pancuronium bromide. As Dr. Mark Heath, Assistant Professor of Clinical Anesthesia at Columbia

University states:

       Sodium thiopental is an ultra short-acting barbiturate. It would not be used to maintain a
       patient in a surgical plane of anesthesia for purposes of performing surgical procedures. It
       is unnecessary, and risky, to use a short-acting anesthesia in the execution procedure. If the
       solution of sodium thiopental comes into contact with another chemical, such as
       pancuronium bromide, the mixture of the two will cause the sodium thiopental immediately
       to precipitate or crystallize. These factors are significant in the risk of the inmate not being
       properly anesthetized, especially since no-one checks that the inmate is unconscious before
       the second drug is administered.

       (Affidavit of Dr. Heath, in the case of Texas v. Jesus Flores, No. 877,994A).169

       Concerns about using sodium thiopental are heightened by the lack of medical personnel,

the lack of proper monitoring of the inmate during the process and the lack of inmate-specific dosing

of the barbiturate. According to Dr. Geiser:

       [T]he dosage of thiopental sodium must be measured with some degree of precision, and the
       administration of the proper amount of the dosage will depend on the concentration of the
       drug and the size and condition of the subject. Additionally, the drug must be administered
       properly so that the full amount of the dosage will directly enter the subject’s blood stream
       at the proper rate. If the dosage is not correct, or if the drug is not properly administered,
       then it will not adequately anaesthetize the subject, and the subject may experience the
       untoward effects of the neuromuscular blocking agent. . .

       168
             See Exhibit 43.
       169
             See Exhibit 43.

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       Affidavit of Dr. Dennis Geiser, in the case of Abu-Ali Abdur’ Rahman v. Bell, 226 F.3d 696

(6th Cir. 2000), cert. granted on other grounds, 122 S .Ct. 1463 (U.S. April 8, 2002) (No. 01-

9094).(emphasis supplied).170

       Moreover, drug manufacturers warn that without careful medical supervision of dosage and

administration, sedatives can cause “paradoxical excitement” and can heighten sensitivity to pain.

See Physicians Desk Reference, 50th Ed. (1996) at 438-440.             Manufacturers warn against

administration by intravenous injection unless a patient is unconscious or out of control. Id.



       2.      Pancuronium Bromide

       The second chemical involved in the lethal injection process, pancuronium bromide, or

Pavulon, is a derivative of curare that acts as a neuromuscular blocking agent. If, as is probable in

the Texas execution process, the sedative effect of the sodium thiopental is ineffective or

neutralized, the pancuronium bromide would serve only to mask the excruciating pain of the

condemned inmate.

       Pancuronium bromide makes the patient look serene because of its paralytic effect on the
       muscles. The face muscles cannot move or contract to show pain and suffering. It therefore
       provides a ‘chemical veil’ over the proceedings. By completely paralyzing the inmate,
       pancuronium bromide masks the normal physical parameters that an anesthesiologist or
       surgeon would rely upon to determine if a patient is completely unconscious and within a
       proper surgical plane of anesthesia. Because pancuronium bromide is an invisible chemical
       veil and not a physical veil like a blanket or hood that is easily identifiable, the use of
       pancuronium bromide in lethal injection creates a double veil. It disguises the fact that there

       170
            The problems inherent in Texas’ use of sodium thiopental and pancuronium bromide
cannot be directly discounted because of TDCJ’s sudden administrative decision in 1989 to
cease conducting autopsies of executed individuals. Texas’ failure to collect any post-mortem
data precludes the State from presenting any direct evidence to argue that the dosage of sodium
pentothal injected into the veins of Texas condemned inmates still provides therapeutic levels of
sodium pentothal: the terrible specter of inadequate anesthesia can never be ruled out for any
Texas condemned inmate.


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       is a disguise over the process.
        (Affidavit of Dr. Heath, in the case of Texas v. Jesus Flores, No. 877,994A).171

       In Abdur’ Rahman v. Bell, Dr. Geiser asserted that while Pavulon paralyzes skeletal muscles,

including the diaphragm, it has no effect on consciousness or the perception of pain or suffering.

Administration of Pavulon is “like being tied to a tree, having darts thrown at you, and feeling the

pain without any ability to respond.” Affidavit of Dr. Dennis Geiser, in the case of Abu-Ali Abdur’

Rahman v. Bell, 226 F.3d 696 (6th Cir. 2000), cert. granted on other grounds, 122 S.Ct. 1463 (U.S.

April 8, 2002) (No. 01-9094) (emphasis added). This assertion is corroborated by the experience

of eye surgery patient, Carol Weihrer. During Ms. Weihrer’s surgery the sedative she received was

ineffectual and Ms. Weihrer was conscious of the entire surgery. Due to the administration of a

neuromuscular blocking agent like pancuronium bromide, however, she was unable to indicate her

consciousness to doctors:

       I experienced what has come to be known as Anesthesia Awareness, in which I was able to
       think lucidly, hear, perceive and feel everything that was going on during the surgery, but
       I was unable to move. It burnt like the fires of hell. It was the most terrifying, torturous
       experience you can imagine. The experience was worse than death.

       (Affidavit of Carol Weihrer, in the case of Texas v. Jesus Flores, No. 877,994A)172.

       In short, the second chemical, pancuronium bromide, or Pavulon, in the lethal injection

protocol serves no purpose other than to guarantee that the condemned inmate will be forced into

a total chemical straightjacket and gag while he consciously experiences the potassium chloride

ravaging his internal organs. Persons viewing the lethal injection procedure and the public will

never realize that a cruel fraud is being perpetrated upon them: instead of witnessing an inmate quiet



       171
             Exhibit 43.
       172
             Id.

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and motionless while being “put to sleep,” they are in fact witnessing the cover-up of a deliberate

act of excruciating torture for which only the inmate is fully conscious.173

       3.      Potassium Chloride

       Finally, the use of potassium chloride itself raises important Eighth Amendment concerns.

James J. Ramsey, a certified perfusionist and currently the Program Director in the Program in

Cardiovascular Perfusion at Vanderbilt Medical Center, Nashville, Tennessee, gave a lengthy

statement in Abdur Rahman’s case regarding the use of potassium chloride in lethal injections.

Perfusion involves the study of medicine related to the artificial circulation technologies, including

but not limited to the operation of the heart-lung machine, a medical device commonly used during

open-heart surgeries of all kinds. The arena involving the chemical arrest of the heart lies uniquely

within the practice of the clinical perfusionist.

       Regarding the administration and efficacy of potassium chloride in the lethal injection

context, Ramsey stated that:

       It is my understanding that during the performance of lethal injection as carried out during
       the death penalty, potassium (and other agents) are administered intravenously to the
       defendant. Such administration is, in my professional opinion based upon my knowledge,
       training, and experience, and within a reasonable degree of medical certainty, entirely
       inadequate in order to achieve reasonable cardiac standstill. Since the agents are
       introduced intravenously, there will occur an immediate dilution of the solution, weakening
       any potential effect it may have. By illustration an 80 kilogram person would have a blood
       volume of approximately 5.5 to 6 liters. An administration of 100 milli-equivalents of
       potassium intravenously to the 80 kilogram person would result in a blood concentration of
       only 16.6 meq/L. Such a dose is according to scientific literature… and as evidenced in my
       practice, inadequate to achieve cardiac standstill.

       Furthermore, it must be remembered that [in contrast to the administration of potassium
       chloride in the surgical context] such administration is: (1) NOT DIRECTED INTO THE
       CORONARY ARTERIES; (2) DIRECTED ONLY IN AN ANTEGRADE FASHION; AND
       (3) IS AT MORMOTHERMIA (37 degrees Celsius, NOT at five degrees Celsius). Without

       173
           See also Exhibit 43, “Critics Say Execution Drug May Hide Suffering” by Adam
Liptak, New York Times, Oct. 7, 2003.

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        reasonable data regarding any one person’s anatomic and pathologic state as to their
        myocardial function prior to administration of the potassium, there can be no reasonable
        certainty that the potassium solution intended to arrest the heart would be distributed in a
        fashion that would arrest the heart. Thus, the very orchestrated and methodical methods
        used in surgery should not be thought of as optimizing the arrest of the heart, but should be
        considered to be necessary as the only reasonable means of ensuring that the heart is
        arrested. If the heart could be arrested by intravenous objections, cardiac surgery today
        would be a very different animal-science and research tell us that mere intravenous injection
        of potassium is not sufficient.
…

        Additionally, in my professional opinion and within a reasonable degree of medical
        certainty, barring an effective cardiac arrest, it is entirely possible that a lethal injection as
        I understand it will serve ONLY to arrest the function of the pulmonary system, thereby
        causing a state of ischemia to the entire body (no oxygen delivery), which, in turn, will
        ultimately arrest the heart as well (with no oxygen delivery to it.) As a result, the defendant
        is simply suffocated due to lack of oxygen.

        Affidavit of James J. Ramsey, in the case of Abu-Ali Abdur’ Rahman v. Bell, 226 F.3d 696

(6th Cir. 2000), cert. granted. on other grounds, 122 S.Ct. 1463 (U.S. April 8, 2002) (No. 01-9094)

(emphasis supplied).



        B.      The danger of lethal injection creating unnecessary suffering and torture is
                greatly increased by the lack of physician involvement in the execution process.

        The risk of inflicting severe and unnecessary pain and suffering upon Mr. Barbee in the

lethal injection process is particularly grave in Texas because the meager procedures and protocols

designed by TDCJ fail to include safeguards regarding the manner in which the execution is to be

carried out, fail to establish the minimum qualifications and expertise required of the personnel

performing the critical tasks in the lethal injection procedure, and fail to establish appropriate criteria

and standards that these personnel must rely upon in exercising their discretion during the lethal

injection procedures. For instance, TDCJ execution protocols do not explain what to do in case an

IV port cannot be established. The experience of other states teaches that, in such a case, a


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medically trained person must perform a “cut down” to expose a deeply buried vein, or perform an

infraclavicular catheterization, or other invasive medical procedure to facilitate the subsequent lethal

injection such as an attempt to establish a port through the carotid enclosure in the neck. In Texas,

the physician’s services are limited to his or her pronouncing death.

        There are no directions and no standards for the necessary training, education, or expertise

of the personnel who will be exercising this critical discretion and performing these tasks and duties.

TDCJ guidelines totally fail to articulate the criteria or standards that such personnel must rely upon

in exercising this discretion.174 The consequences of this failure will likely result in the unnecessary

and wanton infliction of severe pain and suffering.

        Perhaps most importantly, there are no apparent answers to critical questions governing a

number of crucial tasks and procedures in the lethal injection procedure such as

        (a)     the minimum qualifications and expertise required for the different personnel
                performing the tasks involved in the lethal injection procedure after the catheter is
                inserted;

        (b)     the methods for obtaining, storing, mixing, and appropriately labeling the drugs, the
                minimum qualifications and expertise required for the person who will determining
                the concentration and dosage of each drug to give, and the criteria that shall be used
                in exercising this discretion;

        (c)     the manner in which the IV tubing, three-way valve, saline solution and other
                apparatus shall be modified or fixed in the event it is malfunctioning during the
                execution process, the minimum qualifications and expertise required of the person
                who shall have the discretion to decide to attempt such action, and the criteria that
                shall be used in exercising this discretion;

        (d)     the manner in which the heart monitoring system shall be modified or fixed in the
                event it is malfunctioning during the execution process, the minimum qualifications
                and expertise required of the person who shall have the discretion to decide to

        174
             The protocols also fail to provide any direction regarding how TDCJ is to obtain
these controlled substances in a manner that insures the drugs are effective, how to store the
drugs in a manner to keep them effective, how to “mix” the drugs, or how to store and label the
drugs once they have been prepared and transported to the execution chamber.

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               attempt such action, and the criteria that shall be used in exercising this discretion;

       (e)     the manner in which the IV catheters shall be inserted into the condemned prisoner,
               the minimum qualifications and expertise required of the person who is given the
               responsibility and discretion to decide when efforts at inserting the IV catheters
               should be abandoned and the cut down procedure begun, and the criteria that shall
               be used in exercising this discretion;175

       (f)     the manner in which the condition of the condemned prisoner will be monitored to
               confirm that proceeding to the next procedure would not inflict severe and
               unnecessary pain and suffering on the condemned prisoner;

       (g)     the minimum qualifications and expertise required of the person who is given the
               responsibility and discretion to order the staff to divert from the established protocols
               if necessary to avoid inflicting severe and unnecessary pain and suffering on the
               condemned prisoner, and the criteria that shall be used in exercising this discretion;
               and

       (h)     the minimum qualifications and expertise required of the person who is given the
               responsibility and discretion to insure that appropriate procedures are followed in
               response to unanticipated problems or events arising during the lethal injection
               procedure, and the criteria that shall be used in exercising this discretion.

       This disturbing lack of outlined medical procedure and personnel in Texas contributes in part

to the numerous execution errors in Texas. See e.g. Deborah Denno, When Legislatures Delegate

Death: The Troubling Paradox Behind State Uses of Electrocution and Lethal Injection and What



       175
            See Deborah Denno, When Legislatures Delegate Death: The Troubling Paradox
Behind State Uses of Electrocution and Lethal Injection and What It Says About Us, 63 Ohio St.
L.J. 106, n. 303 (February 2002) (citing Thomas O. Finks, Lethal Injection: An Uneasy Alliance
of Law and Medicine, 4 J. Legal Med. 383, 397 (1983) (explaining that “(l)ethal injections may
not work effectively on diabetics, drug users, and people with heavily pigmented skins”); Harold
L. Hirsh, Physicians as Executioners, Legal Aspects of Med. Prac., Mar. 1984, at 1 (noting that
“if a person is nervous or fearful, his veins become constricted”); On Lethal Injections and the
Death Penally, 12 Hastings Center Rep. 2, 2 (Oct. 1982) (explaining that lethal injections are
particularly difficult to administer “to people with heavily pigmented skins . . . and to diabetics
and drug users”); Jacob Weisberg, This is Your Death: Capital Punishment: What Really
Happens, New Republic, July 1, 1991, at 23 (describing the 45 minutes required for technicians
to find a serviceable vein in a former heroin addict); Another U.S. Execution Amid Criticism
Abroad, N.Y. Times Apr. 24, 1992, at B7 (reporting that the difficulty in executing Billy Wayne
White was due to his history as a heroin user).)

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It Says About Us, 63 Ohio St. L.J. 111 (February 2002) (quoting Fred Leuchter, “the highly

controversial and later-discredited creator of much, if not most, of the execution equipment in this

country,” as admitting that “‘about eighty percent’ of the lethal injections in Texas “have had one

problem or another.”).

       Some of the previous errors in Texas executions include:176

       !       Stephen Peter Morin -- March 13, 1985 – “Technicians” punctured him repeatedly
               in both arms and legs for 45 minutes before they found a suitable vein.

       !       Randy Woolls – August 20, 1986 – A drug addict, Woolls had to help the
               executioner technicians find a good vein for the execution.

       !       Elliot Johnson – June 24, 1987 – Executioners struggled for 35 minutes to insert the
               catheter into his veins.

       !       Raymond Landry -- December 13, 1988 – Pronounced dead 40 minutes after being
               strapped to the execution gurney and 24 minutes after the drugs first started flowing
               into his arms. Two minutes into the killing, the syringe came out of Landry’s vein,
               spraying the deadly chemicals across the room toward the witnesses. The execution
               team had to reinsert the catheter into the vein. The curtain was drawn for 14 minutes
               so witnesses could not see the intermission.

       !       Stephen McCoy -- May 24, 1989 – Had such a violent physical reaction to the drugs
               (heaving chest, gasping, choking, etc.) that one of the witnesses (male) fainted,
               crashing into and knocking over another witness. Houston attorney Karen Zellars,
               who represented McCoy and witnessed the execution, thought that the fainting would
               catalyze a chain reaction. The Texas Attorney General admitted the inmate “seemed
               to have a somewhat stronger reaction,” adding “The drugs might have been
               administered in a heavier dose or more rapidly.”

       !       Billy Wayne White – April 23, 1992 – It took 47 minutes for authorities to find a
               suitable vein, and White eventually had to help.

       !       Justin Lee May – May 7, 1992 – May had an unusually violent reaction to the lethal
               drugs. According to Robert Wernsman, a reporter for the Item (Huntsville), Mr.
               May “gasped, coughed and reared against his heavy leather restraints, coughing once
               again before his body froze . . .” Associated Press reporter Michael Graczyk wrote,

       176
          Sources for this information include: Michael Radelet, “On Botched Executions”
Peter Hodgkinson and William Schabas (eds.), Capital Punishment: Strategies for Abolition
(Cambridge University Press, 2001) and Stephen Trombley, The Execution Protocol, (1992).

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                “He went into coughing spasms, groaned and gasped, lifted his head from the death
                chamber gurney and would have arched his back if he had not been belted down.
                After he stopped breathing his eyes and mouth remained open.”

       !        Joseph Cannon – April 22, 1998 – After his final statement, the execution
                commenced. A vein in Cannon’s arm collapsed and the needle popped out. Seeing
                this, Cannon lay back, closed his eyes, and exclaimed to the witnesses, “It’s come
                undone.” Officials then pulled a curtain to block the view of witnesses, reopening
                it fifteen minutes later when a weeping Cannon made a second final statement and
                execution process resumed.


       C.       Euthanasia Practices that Include the Use of a Sedative in Conjunction with a
                Neuromuscular Blocking Agent Violate Evolving Standards of Decency.

       Recent legislative changes regarding pet euthanasia cast serious doubt as to whether the

Texas execution protocol passes constitutional muster. Since 1981, at least nineteen states,

including Texas, have passed laws that preclude the use of a sedative in conjunction with a

neuromuscular blocking agent.177 Moreover, in the year 2000, the leading professional association

of veterinarians promulgated guidelines for euthanasia that preclude the practice. Those guidelines

specifically state that “[a] combination of pentobarbital with a neuromuscular blocking agent is not

an acceptable euthanasia agent.” Appendix 5 (2000 Report of the American Veterinary Medical

Association Panel on Euthanasia, 218 Journal of the American Veterinary Medical Association,

669, 681 (2001)) at 680. A euthanasia practice widely considered unfit for a dog is certainly unfit

for humans as well, especially in light of the fact that the State may easily accomplish the same

result with a more humane combination of chemicals. Given the consistency in the statutory

regulation of euthanasia, the method currently practiced by the State of Texas is outside the bounds

of evolving standards of decency.

       Texas recently passed legislation mandating inhumane methods of euthanizing animals


       177
             See Exhibit 43.

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which precludes the use of neuromuscular blocking agents such as pancuronium bromide. TEX.

HEALTH & SAFETY CODE ANN. § 821.052(a), (b) (Vernon 2003) (specifically prescribing the

methods of euthanasia for cats and dogs in the custody of animal shelters and requiring that shelters

euthanize all other animals “only in accordance with the applicable methods, recommendations, and

procedures set forth in the 2000 Report of the American Veterinary Medical Association Panel on

Euthanasia . . . .”).178 With this legislation, Texas has joined numerous states with laws recognizing

that use of these chemicals would be inhumane in the euthanasia of dogs and cats. See Florida, Fla.

Stat. §§ 828.058 and 828.065 (enacted in 1984); Georgia, Ga. Code Ann. § 4-11-5.1 (enacted in

1990); Maine, Me.Rev.Stat. Ann., Tit. 17, § 1044 (enacted in 1987); Maryland, Md.Code Ann.,

Criminal Law, § 10-611 (enacted in 2002); Massachusetts, Mass.Gen.Laws § 140:151A (enacted

in 1985); New Jersey, N.J.S.A. 4:22-19.3 (enacted in 1987); New York, N.Y.Agric. & Mkts § 374

(enacted in 1987); Oklahoma, Okla. Stat., Tit. 4, § 501 (enacted in 1981); Tennessee, Tenn.Code

Ann. § 44-17-303 (enacted in 2001). Other States have implicitly banned such practices. See

Illinois, 510 Ill. Comp. Stat., ch. 70, § 2.09; Kansas, Kan. Stat. Ann. § 47-1718(a); Louisiana, La.

Rev. Stat. Ann. § 3:2465; Missouri, 2 CSR 30-9.020(F)(5); Rhode Island, R.I. Gen. Laws § 4-1-34,

Connecticut, Conn. Gen.Stat. § 22-344a; Delaware, Del.Code Ann., Tit. 3, § 8001; Kentucky,

Ky.Rev.Stat. Ann. § 321.181(17) and 201 KAR 16:090, § 5(1); South Carolina, S.C.Code Ann. §

47-3-420.

       In addition to explicitly forbidding the use of sedative with a neuromuscular blocking agent,

the American Veterinary Medical Association stressed that only personnel trained and

knowledgeable in anesthetic techniques should administer potassium chloride (the third drug in



       178
             Id.

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Texas’ lethal injection) in conjunction with any anesthesia:

       [i]t is of utmost importance that personnel performing this technique are trained and
       knowledgeable in anesthetic techniques, and are competent in assessing anesthetic depth
       appropriate for administration of potassium chloride intravenously. Administration of
       potassium chloride intravenously requires animals to be in a surgical plane of anesthesia
       characterized by loss of consciousness, loss of reflex muscle response, and loss of response
       to noxious stimuli.
       (2000 Report of the American Veterinary Medical Association Panel on Euthanasia, 218

Journal of the American Veterinary Medical Association, 669, 681 (2001)).179 The statutes in at

least five other states, in addition to Texas, expressly reference the AVMA guidelines when

delimiting humane methods of animal euthanasia. Illinois, 510 Ill. Comp. Stat., ch. 70, § 2.09;

Kansas, Kan. Stat. Ann. § 47-1718(a); Louisiana, La. Rev. Stat. Ann. § 3:2465; Missouri, 2 CSR 30-

9.020(F)(5); Rhode Island, R.I. Gen. Laws § 4-1-34.

       “A claim that punishment is excessive is judged not by the standards that prevailed in 1685

when Lord Jeffreys presided over the ‘Bloody Assizes’ or when the Bill of Rights was adopted, but

rather by those that currently prevail.” Atkins, 536 U.S. at 311. The scope of the substantive

protections afforded by the Eighth Amendment, as the Atkins Court reiterated, is defined by

“evolving standards of decency that mark the progress of a maturing society.” Id. at 312 (quoting

Trop v. Dulles, 356 U.S. 86, 101 (1958)). The Atkins Court re-emphasized that evolving standards

of decency are best reflected in the various relevant laws enacted throughout the country:

       Proportionality review under those evolving standards should be informed by
       “‘objective factors to the maximum possible extent,’” see Harmelin, 501 U.S., at
       1000, 111 S.Ct. 2680 (quoting Rummel v. Estelle, 445 U.S. 263, 274-275, 100 S.Ct.
       1133, 63 L.Ed.2d 382 (1980)). We have pinpointed that the “clearest and most
       reliable objective evidence of contemporary values is the legislation enacted by the
       country’s legislatures.” Penry, 492 U.S., at 331, 109 S.Ct. 2934.

Id. Moreover, “[i]t is not so much the number of these States that is significant, but the consistency


       179
             See Exhibit 43, Report of the AVMA Panel on Euthansia (2000).

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of the direction of change.” Id. at 315.

       The unmistakable trend over the past two decades of condemning the use of neuromuscular

blocking agents, such as pancuronium bromide, in euthanasia is clear evidence that the practice

violates the Eighth Amendment ban on cruel and unusual punishment. These recent alterations of

euthanasia protocols for pets underscore the inhumanity of the chemicals currently used in Texas.

It can hardly be disputed that if certain euthanasia techniques are banned as overly cruel to animals,

those same practices must violate our current standards of decency regarding the execution of

humans.

       D. Exhaustion.

       This claim was first brought in Mr. Barbee’s subsequent state writ application as Claim 12.

It was denied on the basis that it did not meet the standards for a subsequent writ claim under art.

11.071 sec. 5(a). (Exhibit 52.)




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CLAIM THIRTEEN: THE SECOND SPECIAL ISSUE IS UNCONSTITUTIONAL
BECAUSE IT OMITS A BURDEN OF PROOF AND MAKES IMPOSSIBLE ANY
MEANINGFUL APPELLATE REVIEW OF THE JURY'S DETERMINATION.

       A. Facts in Support.

       Petitioner’s counsel submitted written pretrial motions alleging that the Texas death penalty

statute is unconstitutional and, on its face, the mitigation special issue in Art. 37.071, Sec. 2(e),

V.A.C.C.P., is infirm as a matter of federal Eighth Amendment law because it omits any burden of

proof placing no burden upon the State to prove aggravating factors, remaining silent as to any

standard of proof on either party and provided no opportunity for a meaningful appellate review of

the mitigation verdict. (1 CR 145-150, 223-229, 230-238.) The trial court denied the motions.

       After the trial court overruled these objections to the constitutionality of the mitigation

special issue, the jury received the statutory instruction found in Art. 37.071, Sec. 2(e), V.A.C.C.P.,

telling them they were to proceed to answer the following question:

       Special Issue No 2
       Whether taking into consideration all of the evidence, including the circumstances of the
       offense, the Defendant’s character and background and the personal moral culpability of the
       defendant, there is a sufficient mitigating circumstance or circumstances to warrant that a
       sentence of life imprisonment rather than a death sentence be imposed?
       (2 CR 402, Exhibit 6.)

       The court gave the following abstract instructions concerning mitigation:


      In deliberating on Special Issue No. 1, the jury shall consider all evidence admitted
      at the guilt or innocence stage and the punishment stage, including evidence of the
      defendant’s background or character, or circumstances of the offense that militates
      for or mitigates against the imposition of the death penalty...
      The jury may not answer Special Issue No. 1 “Yes” unless the jury agrees unanimously on
      the answer.
      You are instructed that in answering Special Issue No. 1, the jury may not answer “No”
      unless ten or more jurors agree...
      You may not answer [Special Issue No. 2] “No” unless the jury unanimously agrees, and
you may not answer the issue “Yes” unless ten or more jurors agree.
      (2 CR 400-401, Exhibit 6.)

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       B. Argument.

       Petitioner’s argument is that the state courts have a federal constitutional duty to review for

"sufficiency" the jury's negative answer to the mitigation special issue. What has become apparent

is that the Texas death penalty scheme is functioning like the schemes in "weighing" states, even

though on its face it is framed in "non-weighing" terms. It has become a fiction to say that the

mitigation special issue is intended to be or is functioning as a conduit for mitigating evidence to

counter the already-answered aggravating special issue or issues. Instead, the so-called mitigation

issue has become the State's favored tool for introducing non-statutory aggravating factors it need

not have proved in relation to the other issues, free from any statutorily defined constraints, free

from any troublesome jury instructions like those found in "weighing states," telling the jurors what

may be considered aggravating or mitigating, free from any burden of proof and free from any

possibility of review for sufficiency.

       There are certainly other states which provide the meaningful appellate review the Supreme

Court required in Clemons v. Mississippi, 494 U.S. 738 (1990) by considering whether the

mitigating evidence was outweighed by aggravating evidence. In Texas, however, the result of the

code's failure to assign a burden or proof and a standard of proof regarding mitigation is that the

death penalty will be applied arbitrarily, inconsistently and without clear preventive measures

properly to select the persons who receive the penalty of death. The State escapes the burden it

should have: that of proving the non-statutory aggravating circumstances comprised by "all of the

evidence, including the circumstances of the offense" as the mitigation special issue requires,

aggravating factors it had not necessarily proved up to that point.




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        Why should the reviewing court simply defer to the jury's conclusion "that the evidence was

not sufficient to warrant a life sentence" without at the same time asking whether it is fair for such

a state of affairs to exist?

        In Colella v. State, 915 S.W.2d 834 (Tex. Crim. App. 1995) the dissenting opinion noted that

the Court could not "say that the evidence was mitigating as a matter of law" any more than it could

say in a non-capital case that the particular punishment assessed was not supported by the evidence,

while another particular punishment should have been assessed. Of course the answer should be,

again, to assign a burden of proof to both the State and the defense and to begin the process of

analyzing what the Court believes was shown to be, or not to be, sufficiently mitigating in a

particular case, to overcome the aggravating factors.

        The capital jury's mitigation verdict is normative only to the extent that it is informed by

subjective analysis of the evidence. Every time a state court affirms or reverses a jury's verdict on

future dangerousness, it reviews the jury's normative judgment and does not select some other

punishment it finds appropriate, it substitutes the proper answer to the punishment question and the

law assigns the proper punishment to that answer. The same process should apply to the mitigation

special issue.

        After all, the Court has not pronounced any factor as establishing "dangerousness as a matter

of law," but it has been able to isolate and list factors to be used in assessing sufficiency to prove

the continuing threat issue. It could do the same for mitigating and aggravating circumstances.

Arizona has done it by statute, as have other "weighing" states.

        As for the statutory requirement of review of sufficiency to support a negative mitigation




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verdict, under Art. 44.251(s), V.A.C.C.P., Petitioner argues that the Legislature having been once

burned (by Penry) was twice shy, and realistically anticipated that some reviewing court might one

day decide that the U. S. Constitution required some kind of sufficiency review of the mitigation

special issue. That day has come, and the purpose of 44.251 may now be fulfilled. The scheme as

it is now interpreted and implemented allows the State to offer and use extra-statutory aggravating

factors without the traditional controls of a burden of proof or production and without any means

of evaluation by review. The result is that rather than an opportunity for the defendant to gain a

reprieve from death through an issue that "does not involve consideration of aggravating factors,"

the mitigation special issue is wide open for the unfettered introduction and argument of

extra-statutory aggravating factors.

       i. Omission of Burden of Proof.

       As to this mitigating issue, the code is silent as to which party has the burden of production

or persuasion. The CCA has held that the defendant, as the only supposed "beneficiary" of the

mitigation special issue, bears the burden of production on that issue, and has specifically declined

to review the jury's subjective "normative" weighing of mitigation evidence. McFarland v. State,

supra, 928 S.W.2d at 499.

       Acknowledging the Court's McFarland opinion, Petitioner respectfully disagrees with its

result on this issue, presenting the following arguments which he believes were not advanced in

McFarland and not addressed by the Court in that case or in any later case. E.g., Baker v. State,

supra ; Eldridge v. State, 940 S.W.2d 646, 652 (Tex. Crim. App. 1996).

       The Texas Court of Criminal Appeals has wavered as to whether or not it has a constitutional

duty to review for sufficiency the jury's negative answer to the mitigation special issue submitted



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under Sec. 2(e). Judge Baird has issued a dissenting opinion in which he states, "I joined the

majority in Lawton, supra and Broussard v. State, 910 S.W.2d 952 (Tex. Crim. App. 1995).

However, for the reasons stated infra, I now believe my doing so was erroneous." Judge Overstreet,

who had joined Judge Clinton in finding review of the mitigation verdict impossible in Colella v.

State, 915 S.W.2d 834 (Tex. Crim. App. 1995), joined Judge Baird in his opinion, some two years

later, that such review was possible and was constitutionally mandated. Moms v. State, ___ S.W.2d

___, (Tex. Crim. App. No.71,799, delivered September 11, 1996) (Baird, J., joined by Overstreet,

J., dissenting).

        That the dissenting opinion has failed to gain any additional converts is apparent from

subsequent opinions.180 However, what is also apparent is that mitigation counts for nothing in the

sufficiency review that is provided under the Texas scheme. In Soria v. State, 933 S.W.2d 46 (Tex.

Crim.App. 1996), the majority granted the State's motion for rehearing and reversed its original

opinion, in which it had reformed the death sentence to life based upon the insufficiency of evidence

to prove future dangerousness. In its changed view, the majority adjusted its original assessment of

the evidence and found the same evidence sufficient, once all mitigation evidence was

disregarded.181

        Thus, it is clear that in Texas the reviewing court will not balance or weigh mitigating


        180
            Shannon v. State, 942 S.W.2d 591 (Tex. Crim. App. 1996); Matchett v. State, 941
S.W.2d 922 (Tex. Crim. App. 1996), cert. denied 117 S. Ct. 2487; Bell v. State, 938 S.W.2d 35
(Tex. Crim. App. 1996); Eldridge v. State, 940 S.W.2d 646 (Tex. Crim. App. 1996); Anderson v.
State, 932 S.W.2d 502 (Tex. Crim. App. 1996), cert. denied, 117 S. Ct. 2517
        181
            The defense psychiatrist, who had personally examined the defendant, testified that
he did not present a continuing threat. "However," the majority noted, "because we view the
evidence in a light most favorable to the verdict, we do not factor that opinion into our analysis
or weigh his testimony against the testimony of (the State psychiatrist)." Id. at 47, n.2.


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evidence against aggravating evidence within the special issues it does review for sufficiency, nor

within the mitigation special issue itself nor will it weigh all the defense evidence proffered as

mitigating against the statutory aggravating factors proven in the other special issues.

        It has become a fiction to say that the mitigation special issue is intended to be or is

functioning as a conduit for mitigating evidence to counter the already-answered aggravating special

issue or issues. Instead, the so-called mitigation issue has become the State's favored tool for

introducing non-statutory aggravating factors it need not have proved in relation to the other issues,

free from any statutorily defined constraints, free from any troublesome jury instructions like those

found in "weighing states," telling the jurors what may be considered aggravating or mitigating, free

from any burden of proof and free from any possibility of review for sufficiency.

        Judge Baird lists, in his Morris opinion, other states which provide the meaningful appellate

review he maintains the Supreme Court required in Clemons v. Mississippi, 494 U.S. 738,749, 1105

S. Ct. 1441 (1990) by considering whether the mitigating evidence was outweighed by aggravating

evidence: State v. Breton, 663 A.2d 1026, 1039 (Conn. 1995); State v. Richardson, 462 S.E.2d 492

(N.C. 1995); Sheridan v. State, 852 S.W.2d 772 (Ark. 1993); State v. Hernandez, 562 N.E.2d 219

(111. App. 2 Dist. 1990); Lowery v. State, 547 N.E.2d 1046 (Ind. 1989) and Fisher v. State, 736 P.2d

1003 (Okl.Cr. 1987). Morris, supra, (slip opinion at 11 of opinion of Baird, J., joined by Overstreet,

J., dissenting).

        The result of the code's failure to assign a burden of proof and a standard of proof regarding

mitigation, even after the CCA has assigned a burden of production, with no possibility of review

for the defense, is that the death penalty will be applied arbitrarily, inconsistently and without clear

preventive measures properly to select the persons who receive the penalty of death. The State

escapes the burden it should have: that of proving the non-statutory aggravating circumstances

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comprised of "all of the evidence, including the circumstances of the offense" as the mitigation

special issue requires, aggravating factors it had not necessarily proved up to that point.

        The Supreme Court has held that the Eighth Amendment requires the State to prove the

existence of aggravating factors during the capital punishment phase. See, e.g., Walton v. Arizona,

497 U.S. 639, 650 (1990) (State's method of allocating the burdens of proof during capital

sentencing phase cannot "lessen the State's burden ... to prove the existence of aggravating factors").

In order to understand why Walton applies to the statutory Penry special issue, rather than solely

to the aggravating factors under the other special issues, this Court should recognize that this special

issue is a conduit for aggravating factors (victim impact evidence for example) as well as mitigating

factors. By asking jurors to determine whether there are "sufficient ... mitigating circumstances,"

Art. 37.071, Sec. 2(e), V.A.C.C.P., the statutory special issue in effect tells jurors to consider any

possible aggravating factors present in all the evidence, including the circumstances of the case, that

may outweigh the mitigating factors. Although the statute does not explicitly use the term

"aggravating circumstance," clearly that is how a reasonable juror would interpret the statute, and

that is how the state argues the issue. Cf. Johnson v. Texas, 113 S. Ct. 2658 (1993) (describing

jurors' determination of answer to "future dangerousness" special issue to require balancing of

aggravating and mitigating circumstances).

        In Walton v. Arizona, supra, four members of the Supreme Court found constitutionally

permissible the Arizona scheme that placed upon capital defendants the burden of establishing, by

a preponderance of the evidence, the existence of mitigating circumstances sufficiently substantial

to call for leniency in spite of the fact that the State had established (by what standard, the opinion




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did not say) the existence of one or more of ten statutorily defined aggravating factors:182 “So long

as a State's method of allocating the burdens of proof does not lessen the State's burden to prove ....

the existence of aggravating circumstances, a defendant's constitutional rights are not violated by

placing on him the burden of proving mitigating circumstances sufficiently substantial to call for

leniency.” Walton, supra, 497 U.S. 639,650 (1990).

       The Texas statutory scheme does lessen the State's burden to prove the existence of

aggravating factors that fall outside the scope of the special issues that preceded the mitigation

special issue. (Again, victim impact evidence, which can only pertain to the mitigation special issue,

is the most significant aggravating factor.) If the defendant had to establish mitigating evidence

sufficient to overcome or outweigh only the statutorily-defined aggravating circumstances, then the

process would be similar to Arizona's -and the defendant could obtain review of the question just

as the Arizona defendant did. The syllabus of the Walton opinion states that the Arizona Supreme

Court "in an independent review" concluded not only that the evidence was sufficient to prove the

existence of both aggravating factors found by the trial court but also "agreed that there were no

mitigating factors sufficient to call for leniency..." Walton, supra, Syllabus at 111 L. Ed.2d 511, 519



       182
             It is clear from a reading of Walton and also from the CCA’s opinions cited below in
the brief that the State if it bears any burden at all under the mitigation special issue bears only
the burden of proving the existence of facts which it may argue are aggravating (or which are
defined by statute as aggravating, under the Arizona scheme) while the defendant hears the
burden of producing the existence of facts sufficient to warrant a sentence of life rather than
death or to call for leniency in the face of aggravating facts.
        In fact the CCA held in McFarland that the State hears no burden to prove aggravating
factors because there is no burden of proof to assign regarding aggravating factors outside the
other special issues in the Court’s view, “. . . the special issue under Sec. 2(e) does not involve
consideration of aggravating factors.” McFarland, supra, slip opinion at 84. (Yet a plurality of
the Court in Ford, infra, found victim impact evidence, which is clearly an aggravating factor, to
he relevant to the issue of moral blameworthiness under Sec. 2(e). These two positions cannot he
resolved without correcting one situation or the other.)

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(1990); 159 Ariz. 571, 589, 769 P.2d 1017, 1035 (1989).

       The Texas defendant, however, as the statute is now interpreted, may obtain review of the

sufficiency of the evidence to prove only the aggravating factors upon which the State is assigned

the burden of proof. He may not, however, obtain the CCA’s review of his proffered mitigation

evidence to see if the Court agrees that it was not sufficient to call for a life sentence. See,

McFarland, supra.

       The reality is that in Texas, the State submits in argument many aggravating factors that are

not set out in the statute (factors upon which it has no independent burden of proof at guilt or at

punishment) for the jury to weigh against the defense's mitigating evidence.

       The mitigation special issue in Texas, by omitting a burden of proof entirely, opens up the

range of aggravating factors to include whatever the prosecution wishes to argue from the evidence,

yet places no burden of proof on the State with respect to those factors; it prevents a reviewing court

from evaluating the sufficiency of evidence to prove those extra-statutory aggravating factors183 and

it prevents a rational, meaningful review of the sufficiency of mitigating evidence (even if the

sufficiency issue is more precisely a determination whether the jury's answer was against the great

weight and preponderance of evidence).

       ii. Impossibility of Reviewing Mitigation under Texas Statute.

       Petitioner notes that members of the CCA recently expressed the opinion in dictum (and have

now specifically held, in McFarland, supra) that the mitigation special issues does impose, at least



       183
            For instance in deciding that the Arizona "heinous and depraved" aggravating factor
was not unconstitutionally vague and overbroad, the Supreme Court noted that the State court
had not considered as aggravating the fact that the victim had not died for some time from his
head wound, that he had floundered, blind in the desert for days before dying of dehydration,
starvation and pneumonia. Walton v. Arizona, supra, 497 U.S. at 654 111 L.Ed.2d at 529 (1990).

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by implication, a burden of proof and a standard of proof on the capital defendant: he must establish

sufficient mitigating facts to overcome the jury's prior answers to the special issue or issues by a

preponderance of evidence. He may argue on appeal only that the jury's verdict was against the great

weight and preponderance of evidence, yet he may not obtain review as to whether he met his

burden. Petitioner cites the following excerpts from the dissenting opinion of Judge Clinton, joined

by Judge Overstreet, in Colella v. State, 915 S.W.2d 834 (Tex. Crim. App. 1995):

       Appellant nakedly contends that the mitigating evidence was so compelling that we should
       reform his sentence to life imprisonment. Whether this is a "sufficiency" review appellant
       thus requests, as the majority characterizes it (slip op. at 16), or a claim that the verdict is
       against the great weight and preponderance of the evidence, depends upon who carries the
       burden of proof under Article 37.071, '2(e), supra. We have yet to resolve this question.
                We came closest in Barnes v. State, 876 S.W.2d 316 (Tex.Cr.App. 1994), where we
       commented on the question in passing. Barnes had argued that the trial court erred not to
       instruct the jury at the punishment phase of his capital murder trial that the State had a
       burden to negate evidence proffered in mitigation of the death penalty. This Court held that
       the trial court had not erred because neither the Eighth Amendment, nor any state provision
       implementing it, had assigned such a burden to the State. In a footnote we remarked:
                "Currently, Article 37.071 mandates that a jury that finds beyond a reasonable doubt,
       as required by Subsection (c), that the special issues under Subsection (b) should be
       answered affirmatively must go on pursuant to Subsection (e) to decide whether mitigating
       circumstances nevertheless warrant a life sentence. However, neither Subsection (c) nor
       Subsection (e) itself expressly assigns a particular burden of proof on the issue of mitigation.
       It might be argued, although we certainly have no occasion here to hold, that Subsection (c)
       implicitly assigns the burden to the beneficiary of a finding of 'sufficient mitigating
       circumstances to warrant that a sentence of life . . . be imposed. Cf. Arnold v. State, 786
       S.W.2d 295, at 298 (Tex.Cr.App. 1990) (State has burden of proof to establish harmless
       error under Tex.R.App.P. 81(b)(2), as beneficiary of the error). That, of course, would be the
       defendant."
       Id., at n.17.
                I agree with the Barnes footnote that Article 37.071, '2(e) assigns at least a burden
       of production to the defendant. Before a capital jury can even reach the '2(e) issue, it must
       have affirmatively found the existence of aggravating facts under Article 37.071, '2(b), for
       which the State expressly shoulders the burden of proof under '2(c). Once these facts have
       been established to the jury's satisfaction to a level of confidence beyond a reasonable doubt,
       the jury proceeds to the '2(e) special issue, viz: "whether. . . there is a sufficient mitigating
       circumstance or circumstances to warrant that a sentence of life imprisonment rather than
       a death sentence be imposed." (Emphasis added.) If there are not sufficient mitigating
       circumstances, the default position is that a sentence of death will be imposed. This means
       that it is the capital defendant who stands to benefit from the presentation of mitigating

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       evidence.
               Because appellant is, thus, the beneficiary of mitigating evidence, the burden of
       production falls to him. Arnold v. State, supra. Therefore, if the jury verdict is against him,
       Petitioner can only argue on appeal that the verdict was against the greater weight and
       preponderance of the evidence. Cf., Meraz v. State, 785 S.W.2d 146, 155 (Tex.Cr.App.
       1990) (defendant has burden to prove affirmative defense of insanity, and appellate review
       of a verdict against him inquires whether verdict as against the great weight and
       preponderance of the evidence); Bigby v. State, 892 S.W.2d 864, at 875 (Tex.Cr.App. 1994)
       (same). Strictly speaking, the majority errs to characterize Petitioner's contention as a claim
       that the evidence is not "sufficient."
               In any event the majority is correct that we cannot review the claim on appeal,
       however we characterize it. Subsection 2(f)(4) of Article 37.071 defines as mitigating
       anything "that a juror might regard as reducing the defendant's moral blameworthiness."
       (Emphasis added.) Thus the statute assigns exclusively to the jury the task of evaluating
       what evidence proffered in mitigation of the death penalty is sufficient and what is not. We
       cannot say that evidence was mitigating as a matter of law any more than we can say, in a
       non-capital case, that the evidence is insufficient to support a twenty year sentence, or that
       the greater weight and preponderance of the evidence establishes that the proper sentence
       would have been ten years, probated. There is simply no way for an appellate court to review
       the jury's normative judgment "that the evidence was not sufficient to warrant a sentence of
       life imprisonment." Slip op. at 16. Though it should not have reached this sub-contention in
       appellant's fifth point of error, the majority correctly disposes of it on the merits.
       Colella v. State, supra, (Clinton, J., dissenting, joined by Overstreet, J.) (Emphasis in
       Opinion).

       The majority opinion in Colella began its answer to the Petitioner's sufficiency argument on

mitigation by stating that no burden of proof exists for either the State or the defendant "to disprove

or prove the mitigation evidence." Colella v. State, supra, slip opinion at 16. Noting that there is no

evidence that is per se mitigating, i.e., that a juror must view as reducing a defendant's moral

blameworthiness under the Texas definition of mitigation, the majority declined to review the

evidence on that issue to see if it supported the jurors' subjective determination that it did not

warrant a life sentence. Id.

       Petitioner submits that if a listing of aggravating and mitigating factors, together with an




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assignment of a burden of proof and a requirement of special findings as to those factors, permits

appellate review like the review in Walton, supra, and the Texas scheme with its lack of specific

factors and its omission of burdens of proof forecloses appellate review, then the Texas procedure

is unconstitutional on its face.

        It is rare, certainly, for the defense to ask for a burden of proof. Nevertheless, if the defense

could at the same time require the State to shoulder a burden it should bear (in proving

extra-statutory aggravating circumstances it offers in opposition to the mitigating circumstances)

and thereby obtain review of the mitigation verdict similar to the kind of review available in

Arizona, then he should welcome the burden. He could then obtain review of the State's evidence

offered as aggravating on the mitigation special issue as well, just as in Walton the reviewing courts

assessed and approved the narrow application of the "heinousness" aggravating factor to the facts

of the case.

        The Texas appellate courts now sit routinely as a “thirteenth juror” on review of factual

sufficiency when the Petitioner claims he met his burden of proving some defensive issue; the

appellate courts determine whether the verdict was so against the great weight and preponderance

of evidence as to be manifestly unjust. E.g., Meraz v. State, supra, cited in the Colella dissent.

        The Colella dissenting opinion noted that the Court could not "say that the evidence was

mitigating as a matter of law" any more than it could say in a non-capital case that the particular

punishment assessed was not supported by the evidence, while another particular punishment should

have been assessed. Of course the answer should be, again, to assign a burden of proof to both the

State and the defense and to begin the process of analyzing what the Court believes was shown to

be, or not to be, sufficiently mitigating in a particular case, to overcome the aggravating factors.

        The CCA does, after all, review the jury's "subjective" and "normative" judgment that the

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evidence was sufficient to prove the defendant's future dangerousness. After all, the answer is based

upon evidence that any juror might regard as increasing the likelihood, to the required degree, that

the defendant will be a continuing threat. In the face of longstanding defense arguments that such

a prediction is too subjective and too abstract to be proven or reviewed, the Court has taken on and

performed the task of reviewing the sufficiency of evidence on that issue. The Court has not

pronounced any factor as establishing "dangerousness as a matter of law," but it has been able to

isolate and list factors to be used in assessing sufficiency. It could do the same for mitigating and

aggravating circumstances. Arizona has done it by statute, as have other "weighing" states. This

Court could do it by its opinions, as it has on the future dangerousness issue, or it could hold that

the present statute as framed does not permit a fair review and is therefore unconstitutional, leaving

the Texas Legislature to formulate a structure that will permit review.

       The CCA’s review of "sufficiency" under a preponderance standard would not be similar to

the setting aside of a term of years and assigning a different term of years as the dissent stated in

Colella. Neither the State nor the defense bears any burden of proving the proper term of

punishment in a non-capital case. The capital jury's mitigation verdict is "normative" only to the

extent that it is informed by subjective analysis of the evidence. Every time a State court affirms or

reverses a jury's verdict on future dangerousness, it reviews the jury's normative judgment and does

not choose some other punishment it finds appropriate, it substitutes the proper answer to the

punishment question and the law assigns the proper punishment to that answer. The same process

should apply to the mitigation special issue.

       iii. Statute Requires Sufficiency Review of Mitigation Verdict.

       Article 44.251(a) of the Code of Criminal Procedure requires that a State court shall reform



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a sentence of death to a sentence of life imprisonment if the Court finds there is insufficient evidence

to support "a negative answer to an issue submitted to a jury under Section 2(e), Article 37.071 of

the Code. Appellants have argued in the past that the statute mandates a sufficiency review of a

negative ' 2(e) answer. The CCA has answered by finding, essentially, that the Legislature in adding

the mitigation-review was attempting to avoid a loophole by which an appellant who successfully

challenged sufficiency under 2(e) could gain an entirely new trial, when in fact the intent of the

statute when first passed was to avoid retrial. By providing this "remedy" for a possible unwarranted

mitigation verdict, the CCA has held the Legislature did not mean to create any additional scope for

review or relief for a capital defendant. See, e.g., McFarland, supra, (concurring opinion of Keller,

J.).

        Petitioner can hardly argue that the Legislature ever intended to enlarge upon the

opportunities for a capital Petitioner to gain review of any issue that would result in a life sentence

where a death sentence had been pronounced. He does argue that the Legislature having been once

burned (by Penry) was twice shy, and realistically anticipated that some reviewing court (the CCA

or the Supreme Court) might one day decide that the Constitution required some kind of sufficiency

review of the mitigation special issue.

        That day has come, and the purpose of 44.251 may now be fulfilled. The scheme as it is now

interpreted and implemented allows the State to offer and use extra-statutory aggravating factors

without the traditional controls of a burden of proof or production and without any means of

evaluation by review. The result is that rather than an opportunity for the defendant to gain a

reprieve from death through an issue that "does not involve consideration of aggravating factors."

McFarland, supra, 928 S.W.2d at 520. The mitigation special issue is wide open for the unfettered

introduction and argument of extra-statutory aggravating factors.

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       Petitioner submits that as a consequence the Court should either grant habeas relief and

reform his sentence to life imprisonment or remand his case to the state courts for retrial of the

punishment issue pursuant to a scheme that permits the proper assignment of the burden of

production (if not proof) the proper introduction of evidence pursuant to that scheme followed by

the meaningful review of the mitigation answer if it is negative.

       C. Exhaustion.

       The Respondent has previously conceded that this claim was reviewed on the merits in state

court and hence is exhausted. (Docket No. 40, RA at 17.) It is not defaulted. This claim was also

brought in Mr. Barbee’s subsequent writ application as Claim 13. It was denied on the basis that

it did not meet the standards for a subsequent writ claim under art. 11.071 sec. 5(a). (Exhibit 52.)




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CLAIM FOURTEEN: THE TRIAL COURT ERRED IN DENYING PETITIONER'S
MOTION RELATING TO INFORMING THE JURY THAT THE FAILURE TO ANSWER
A SPECIAL ISSUE WOULD RESULT IN A LIFE SENTENCE, IN VIOLATION OF
PETITIONER'S RIGHTS AS PROTECTED BY THE EIGHTH AMENDMENT TO THE
UNITED STATES CONSTITUTION.

       Petitioner raised this point by written pretrial motion, but it was denied. (1 CR 223-238.)

Petitioner offered mitigating testimony from several witnesses concerning his general good conduct.

See factual summary, supra.

       A. Argument and Authorities.

       The jury in Petitioner's case was charged in accordance with Art. 37.071, Sec. 2(d)(2),

V.A.C.C.P. that they could not answer the future dangerousness special issue "yes" unless they

agreed unanimously and could not answer it "no" unless 10 or more of them agreed. (Exhibit 6.)

They were also instructed in accordance with the statute, section (f)(2) that they could not answer

the mitigation issue "no" except by unanimous agreement and could not answer "yes" unless 10 or

more agreed. (Exhibit 6.)

       In accordance with the statute's prohibition in 37.071 Sec. 2(a), the jurors were never

informed that the effect of their failure to agree on a "yes" or "no" answer under the above

guidelines would be the automatic assessment of a life sentence under the mandate of Section 2(g)

of the same statute.

       The State might suggest that this request is improper under this Court's decision in Robertson

v. State, 871 S.W.2d 701 (Tex. Crim. App. 1993). However, in Robertson the defendant requested

a charge which would allow the jury to answer “yes,” “no”or “we can't decide.” That is not the

request here. Petitioner's requested charge sought to inform the jury of the effect of their failure to

answer -- that Petitioner would receive a life sentence. The Court in Robertson did cite Nobles v.



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State, 843 S.W.2d 503, 510 (Tex. Crim. App. 1992), for the proposition that informing the jurors

of the effect of their answers would somehow cause them to "skirt this responsibility by failing to

return a vote."

       The cases cited above somehow suggest that a vote of 6 “yes”and 6 “no” is not an answer,

or is a "skirting of responsibility" by the jury. Any such suggestion ignores the fact that each juror

answers the issue, and a sentence is entered based upon those answers, whatever the combination.

If the answers are any combination other than 12-0 or 10-2, the verdict is one of life. To contend that

a juror should not be informed of the effect of anything less than a "12-0" or "10-2" vote is to

continue to hide information from jurors against the great trend of our criminal system.

       The CCA’s consideration of the issue in Nobles v. State, 843 S.W.2d 503 (Tex. Crim. App.

1992), Petitioner respectfully submits, misses the point. The Court equates a split vote with a juror

who refuses to vote. The jury is told what happens at a 12-0 and 10-2 vote, and they are told that

death cannot be imposed on this verdict unless the death vote is unanimous. They are simply left to

wonder what happens to the case after a vote that did not produce a 12-0 or a 10-2 result.

       Returning to the suspect logic in Nobles, at 509, n. 12, the Court notes that the instruction

is not necessary anyway because "based upon what is usually told to the panel-members at voir dire,

jurors are capable of surmising Article 37.071's mandated outcome", citing Draughon v. State, 831

S.W.2d 331, 337-38 (Tex. Crim. App. 1992). Apparently then it is acceptable for a juror to surmise

something but not to be instructed on the point. With no citation to the record, it is not possible to

know how the Court surmises what a juror surmised. Indeed, as argued in the foregoing point of

error, it is quite consistent with common sense that a juror might fear there would be a mistrial if

anything did not go according to the rules, and that a retrial might be impossible. What does the



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surmise do then to the fear of a juror skirting his responsibility to vote “yes” or “no”? The Court

does not condemn the knowledge, just the instruction. These cases are not defensible on this point.

Should those cases stand, they do not defeat Petitioner's simple request that the jury be informed

what business it is about. The importance of providing information to the jury as to what each

individual’s vote means cannot be overemphasized.

       The statutory scheme encourages jurors to change their decisions, rationally reached on the

basis of the evidence, and return a verdict contrary to their considered judgment, solely in order to

satisfy a numerical balance they are led to believe they must satisfy in order to avoid an imagined

retrial or even the release of the defendant. The scheme is inherently flawed, and encourages the

arbitrary and wanton imposition of the death penalty, in violation of both federal and state

guarantees against cruel and/or unusual punishment, United States Constitution, Eighth Amendment.

       Petitioner asks for reversal based upon the unconstitutionality of this statutory scheme, and

its unconstitutional application in his case.

       B. Exhaustion and procedural default.

       This claim was brought on direct appeal. The Director has previously not asserted non-

exhaustion or procedural default as to this claim. (Docket No. 40., RA at 75-76.) This claim was

also brought in Mr. Barbee’s subsequent writ application as Claim 14. It was denied on the basis

that it did not meet the standards for a subsequent writ claim under art. 11.071 sec. 5(a). (Exhibit

52.)




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CLAIM FIFTEEN: PETITIONER WAS DENIED HIS FEDERAL CONSTITUTIONAL
RIGHT TO A FAIR TRIAL AND DUE PROCESS OF LAW, AS THE EVIDENCE
SUPPORTING SPECIAL ISSUE NUMBER ONE WAS INSUFFICIENT.

       The evidence in this matter was legally insufficient to support the jury’s answer to Special

Issue No. One as the State failed to prove beyond a reasonable doubt that there is a probability that

Mr. Barbee would commit criminal acts of violence and would constitute a continuing threat to

society. Thus, Petitioner’s sentence of death violates his constitutional right to due process of law.

U.S. Const., amends IV, V and XIV.

       A. Facts in Support.

       The trial court at the punishment phase of Petitioner’s trial submitted a jury charge which

contained the “continuing threat” Special Issue No. One and the mitigation special issue was number

two. (Exhibit 6.) The jury answered these issues. (Exhibits 6, 7.) Thereafter, the court pronounced

Petitioner’s sentence of death by lethal injection based upon these two answers. (Exhibit 7.) This

sentence violated Petitioner’s federal constitutional right to due process of law.

       On direct appeal, Petitioner asserted that Special Issue No. One, relating to future acts of

criminal violence, should be submitted to a sufficiency review. (Exhibit 8, opinion on direct

appeal.)

       B. Argument.

       The standard of review for the legal sufficiency for the issue of future dangerousness is

whether a rational trier of fact could have concluded beyond a reasonable doubt that the defendant

would commit criminal acts of violence that would constitute a continuing threat to society. Jackson

v. Virginia, 443 U.S. 307, 99 S. Ct. 2781 (1979).

       The State bears the burden of proof requiring each and every element of the offense. In re

Winship, 397 U.S. 358, 90 S. Ct. 1068 (1970); Apprendi v. New Jersey, 120 S. Ct. 2348 (2000). See

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also Tex. Penal Code. Ann. Sec. 2.01 (Vernon 1994). Proof beyond a reasonable doubt requires that

the State produce evidence showing something more than a strong suspicion, and this standard of

“proof beyond a reasonable doubt” is a federal constitutional one, guaranteed by a citizen’s federal

constitutional right to due process of law. Jackson v. Virginia, 443 U.S. 307, 319, 99 S. Ct. 2781,

2789 (1979).

       Art. 37.071 sec. 2 (a) (2) (b) (1) of the Tex. Crim. Proc. Code Ann. (Vernon 2001) reads as

       follows:

                               (b) On conclusion of the presentation of the
                       evidence, the court shall submit the following issues
                       to the jury:
                                      (1) whether there is a probability that
                       the defendant would commit criminal acts of violence
                       that would constitute a continuing threat to society[.]

       This special issue was included in the court’s charge on punishment. (Exhibit 6, 2 CR 401).

When evaluating whether the evidence is legally sufficient to support the jury’s affirmative answer

to the “future dangerousness” special issue this Court reviews the evidence in the light most

favorable to the jury’s verdict to determine whether any rational trier of fact could have concluded

beyond a reasonable doubt that “there is a probability that the defendant would commit criminal acts

of violence that would constitute a continuing threat to society.” Jackson v Virginia at 573; Swain

v State, 181 S.W. 3d 359, 368 (Tex. Crim. App. 2005) cert. denied, 166 L.Ed. 2d 106 (2006); Bible

v State, 162 S.W. 3d 234, 245 (Tex. Crim. App. 2005); Mathis v State, 67 S.W. 3d 918, 922 (Tex.

Crim. App. 2002). The non-exclusive list of factors that may be considered on review of a finding

of future dangerous in a capital murder prosecution include (1) the circumstances of the capital

offense, including the defendant’s state of mind and whether he was acting alone or with other




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parties; (2) the calculated nature of defendant’s acts; (3) forethought and deliberateness exhibited

by the crime’s execution; (4) existence of a prior criminal record and severity of the prior crimes;

(5) defendant’s age and personal circumstances at the time of the offense; (6) whether defendant was

acting under duress or domination of another at the time of the offense; (7) psychiatric evidence; and

(8) character evidence. Manns v State, 122 S.W. 3d 171, 193 (Tex. Crim. App. 2003); Wardrip v

State, 56 S.W. 3d 588, 594 (Tex. Crim. App. 2001). Though the circumstances surrounding the

actual offense can be sufficient taken alone to sustain an affirmative finding, this is not always the

case. Valle v State, 109 S.W. 3d 500, 502-03 (Tex. Crim. App. 2003); Guevara v State, 97 S.W. 3d

579, 581 (Tex. Crim. App. 2003); Hall v State, 67 S.W. 3d 870, 874 (Tex. Crim. App. 2002) cert.

granted, vacated and remanded, 154 L.Ed. 2d 4 (2002) aff’d, 160 S.W. 3d 24 (Tex. Crim. App.

2004).

         Petitioner called ten witnesses to testify in his behalf at the punishment phase. All of those

witnesses testified to his prior involvement in the community, including having been a youth advisor

and leader in his church. (25 RR 125-27.) Of particular note is that prior to this offense, Petitioner

had no criminal record; indeed, he was the owner of two fairly successful businesses in the Fort

Worth area.. (23 RR14-15.) The facts surrounding this offense, though severe, do not rise to the

level of supporting the jury’s affirmative answer to the first special issue. For this reason the

evidence is legally insufficient to support the jury’s answer.

         Because the evidence is legally insufficient to support the jury’s affirmative answer to the

future dangerousness special issue, Petitioner respectfully prays that this Court reform the Judgment

to a life sentence.

         This violated Petitioner’s rights to due process and a fair trial under the Fourth, Fifth and



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Fourteenth Amendments to the United States Constitution. Additionally, the state court’s finding

denying this point of error on direct appeal “resulted in a decision that was contrary to, and involved

an unreasonable application of, clearly established Federal law, as determined by the Supreme Court

of the United States” under Section 2254(d)(1) of AEDPA.

       C. Exhaustion.

       The Respondent has previously conceded that this claim is exhausted, as it was brought on

direct appeal. (Docket No. 40, RA at 76-78.) This claim was also brought in Mr. Barbee’s

subsequent writ application as Claim 15. It was denied on the basis that it did not meet the standards

for a subsequent writ claim under art. 11.071 sec. 5(a). (Exhibit 52.)




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CLAIM SIXTEEN: PETITIONER’S JURY WAS UNCONSTITUTIONALLY SELECTED
BY DEATH QUALIFYING THE JURY MEMBERS.

        A ‘death qualified’ jury is said to be “one from which prospective jurors have been excluded

for cause in light of their inability to set aside their views about the death penalty that would prevent

or substantially impair the performance of their duties as jurors in accordance with their instructions

and oath.” Buchanan v. Kentucky, 483 U.S. 40 at fn. 6 (1987). Death qualification is the process

by which these prospective jurors are sought out and excluded during voir dire.

        The jury in this case was death qualified. For the numerous reasons discussed below, death

qualification in Texas, in general and as applied in this case, violates the Fifth, Sixth, Eighth and

Fourteenth Amendments, as well as International Law, Treaties, Norms, and Customs.

        A. Facts in Support.

        Several prospective jurors in this case were removed for cause during death qualification

based on alleged opposition to the death penalty. For instance, prospective juror Jason Tennerson

was challenged by the State and excused due to his unwillingness to impose the death penalty. (6

RR 105.) Margaret Wossum was also excused for cause due to her willingness to find mitigating

evidence. (13 RR 102.) Others were removed for similar reasons.

        B. Argument.

Claim 16(a): Death qualification in Texas is unconstitutional based on the Supreme Court’s
“evolving standards” jurisprudence.

        The standard for death qualification in Texas is “whether the juror’s views would prevent

or substantially impair the performance of his duties as a juror in accordance with his instructions

and his oath.” Wainwright v. Witt, 469 U.S. 41, 424 (1985) and Adams v. Texas, 448 U.S. 38, 45

(1980). When viewed properly in the context of the Texas death penalty scheme, as interpreted by



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the Texas Court of Criminal Appeals and the Supreme Court’s Eighth Amendment jurisdiction, this

standard is unconstitutional.

        In Texas, the “crucial” determination during death qualification is whether a potential juror’s

views about capital punishment in the abstract would substantially impair their ability to perform

their duties. The only question that a trial court needs to resolve during death qualification is

whether any prospective juror has such conscientious or religious scruples about capital punishment,

in the abstract, that his views would prevent or substantially impair the performance of his duties

as a juror in accordance with his instructions and his oath.” See Wainwright v. Witt, 469 U.S. at 420

and Adams v. Texas, 448 U.S. 38, 45.

        The standard for death qualification in Texas is focused on the abstract, conscientious, or

religious scruples of prospective jurors. A scruple is defined as “an ethical consideration or

principle that inhibits action.” Merriam-Webster’s Collegiate Dictionary (1995) 10th Edition. In

other words, the “views” that matter here are, ultimately, moral ones.

        Whether the juror’s views would “prevent or substantially impair the performance of his

duties as a juror in accordance with his instructions and his oath,” is the courts controlling question.

Wainwright v. Witt, 469 U.S. 41, 424 quoting Adams v. Texas, 448 U.S. 38, 45. A juror’s oath is a

vow to follow the law. The “impairment” issue revolves around what duties a juror has under the

Texas death penalty law.

        A juror’s duty at the penalty phase is to determine whether the penalty shall be death or

confinement in state prison for a term of life by answering the special issues. General guidance to

consider and weigh the evidence is all that the statute provides.

        The jury’s duty in a death penalty case is further explained in the jury instructions. The



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jury’s duty at the penalty phase of a death penalty case in Texas is quite different from a jury’s

typical duty. Jurors at the penalty phase do not merely find facts and apply the law to those facts.

Instead, these jurors are explicitly called upon to make their own moral and sympathetic judgment

on various factors in deciding an appropriate penalty.

       The jurors’ duty includes numerous types of “moral and sympathetic” judgments. They must

determine if evidence exists to support a special issue. For instance, Special Issue No. One asked:

“Do you find from the evidence beyond a reasonable doubt that there is a probability that the

defendant would commit criminal acts of violence that would constitute a continuing threat to

society?” (Exhibit 6, 2 CR 401.) Likewise, Special Issue No. Two asked: “Whether taking into

consideration all of the evidence, including the circumstances of the offense, the Defendant’s

character and background and the personal moral culpability of the defendant, there is a sufficient

mitigating circumstance or circumstances to warrant that a sentence of life imprisonment rather than

a death sentence be imposed?” (Exhibit 6, 2 CR 402)

       The jury had to determine whether Mr. Barbee’s evidence, character and background were

aggravating or mitigating based on its moral context, and they must determine the weight of each

factor. Finally, they must weigh all of the factors against each other and determine, which penalty

is justified and appropriate. The jury was called upon to make moral determinations.

       A jury’s duty at the penalty phase in Texas is the extraordinary duty of making moral and

sympathetic determinations about a human being whose life hangs in the balance. There is a serious,

underlying problem in the death qualification standard as it applies to the Texas death penalty

scheme. Under the standard, a potential juror is removed for cause if their moral views will

substantially impair their duty. As shown above, some jurors were so removed. Yet, their duty is



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to make “moral and sympathetic” determinations. Thus, a juror can be removed if their moral

views on the death penalty substantially impairs them from making a moral and normative decision.

This standard is illogical and irrational on its face.

        An irrational law cannot withstand even the most minimal scrutiny under the Fourteenth

Amendment. See e.g. San Antonio Ind. School Dist. v. Rodriguez, 411 U.S. 1, 40 (1973)[The

traditional standard of review under the Equal Protection Clause requires only that the State's system

be shown to bear some rational relationship to legitimate state purposes.]; Williamson v. Lee Optical

Co., 348 U.S. 483, 487-488 (1955) [State laws must be rational under the Due Process Clause of the

Fourteenth Amendment.]; Hudson v. United States, 522 U.S. 93, 103 (1997) [“The Due Process and

Equal Protection Clauses . . . protect individuals from sanctions which are downright irrational.”].

        In addition, because death is a qualitatively different punishment, heightened reliability is

required in capital cases, and procedural rules that tend to diminish the reliability of the sentencing

and guilt determination are invalidated. See e.g. Beck v. Alabama, 447 U.S. at 638; Woodson v.

North Carolina, 428 U.S. at 305. An irrational procedure for selecting and removing prospective

jurors who will determine a defendant’s guilt and punishment cannot meet this heightened review.

For these reasons alone, Texas’s death penalty scheme is unconstitutional and Mr. Barbee’s sentence

should be reversed.

        Even more important is the fact that this Eighth Amendment aspect of Witherspoon, which

was ignored in Witt, was the embryo of a long line of Supreme Court cases that now completely

undermine the constitutionality of death qualification in Texas. Under the Eighth Amendment, the

Supreme Court has the constitutional duty to determine whether a punishment is cruel and unusual

– that is whether the evolving standards of decency have reached the point where society deems the

punishment to be cruel and unusual.

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       One of the best sources of objective information on the evolving standards is to look to the

jurors who have the responsibility of deciding whether to impose the punishment. See e.g. Furman

v. Georgia, 408 U.S. at 278-279, and 299 (concurring opinion of J. Brennan); Id. at 439-442 (J.

Powell, C.J. Burger, J. Blackmun, and J. Rehnquist dissenting); Gregg v. Georgia, 428 U.S. at 181-

182 (plurality opinion of J. Stewart, J. Powell, and J. Stevens); Woodson v. North Carolina, 428 U.S.

at 288, fn 13, 293-296, and 301 (plurality opinion of J. Stewart, J. Powell, J. Stevens) [holding that,

based upon the “crucial indicator” of jury determinations, a mandatory death penalty violates the

evolving standards of decency]; Coker v. Georgia, 433 U.S. 584, 592 and 596-597 (1977) (plurality

opinion of J. White, J. Stewart, J. Blackmun, and J. Stevens) [holding that, based upon the “response

of juries reflected in their sentencing decisions,” the death penalty for rape of an adult woman

violates the evolving standards of decency]; Id. at 603-604 (concurring and dissenting opinion of

J. Powell); Enmund v. Florida, 458 U.S. 782, 788-789 and 794-796 (1982) (majority opinion by

White, J., in which Brennan, Marshall, Blackmun, and Stevens, JJ., joined.) [holding that, based

upon the sentencing decisions of juries, the death penalty for those defendants who did not kill or

even intend to kill the victims violated the evolving standards of decency]; Id. at 814, 815, 816,

818-819, and 825-826 (dissenting opinion of J. O'Connor, C.J. Burger, J. Powell, and J. Rehnquist)

[disagreeing with conclusion but agreeing with analysis]); Thompson v. Oklahoma, 487 U.S. 815,

822-823, fn 7 and 831-833 (1988) (plurality opinion of J. Stevens, J. Brennan, J. Marshall, and J.

Blackmun) [holding that, based upon jury determinations as an “indicator of contemporary standards

of decency,” the death penalty for offenses committed by defendants who were under 16 violates

the evolving standards of decency]; Id. at 852-853 (O’Connor concurring); McCleskey v. Kemp, 481




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 U.S. 279, 300 (1987)(majority opinion by Powell, J., in which Rehnquist, C. J., and White,

O'Connor, and Scalia, JJ., joined); Penry v. Lynaugh, 492 U.S. at 331 and 334 (majority opinion by

O’Connor, in which Rehnquist, C. J., and White, Scalia, and Kennedy, JJ., joined) [holding that the

death penalty for mentally retarded persons is not unconstitutional and noting that defendant here

offered no evidence on jury behaviour on this topic].

       Recently, three Supreme Court Justices wrote a separate opinion to emphasize their belief

that the actions of sentencing juries, along with legislative judgments, are the sole reliable factors

in the “evolving standards” analysis. See Atkins v. Virginia, 536 U.S. at 322-325 and 328 (C.J.

Rehnquist, J. Scalia, and J. Thomas dissenting).) In summarizing this long line of decisions, Chief

Justice Rehnquist wrote for the dissenters:

                Our opinions have also recognized that data concerning the actions of sentencing
       juries, though entitled to less weight than legislative judgments, “‘is a significant and reliable
       index of contemporary values,’” Coker v. Georgia, 433 U.S. 584, 596 (1977) (plurality
       opinion) (quoting Gregg, supra, at 181), because of the jury's intimate involvement in the
       case and its function of “‘maintaining a link between contemporary community values and
       the penal system,’” Gregg, supra, at 181 (quoting Witherspoon v. Illinois, 391 U.S. 510, 519,
       n. 15 (1968). In Coker, 433 U.S. at 596-597, for example, we credited data showing that “at
       least 9 out of 10” juries in Georgia did not impose the death sentence for rape convictions.
       And in Enmund v. Florida, 458 U.S. 782, 793-794 (1982), where evidence of the current
       legislative judgment was not as “compelling” as that in Coker (but more so than that here),
       we were persuaded by “overwhelming [evidence] that American juries . . . repudiated
       imposition of the death penalty” for a defendant who neither took life nor attempted or
       intended to take life.

               In my view, these two sources – the work product of legislatures and sentencing jury
       determinations – ought to be the sole indicators by which courts ascertain the contemporary
       American conceptions of decency for purposes of the Eighth Amendment. They are the only
       objective indicia of contemporary values firmly supported by our precedents. More
       importantly, however, they can be reconciled with the undeniable precepts that the
       democratic branches of government and individual sentencing juries are, by design, better
       suited than courts to evaluating and giving effect to the complex societal and moral
       considerations that inform the selection of publicly acceptable criminal punishments.

       Id. at 323-324; emphasis added.


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       The Supreme Court has repeatedly held that death penalty juries have a constitutional duty

to represent the evolving standards of decency of society. Since juries represent community values,

their verdicts inform the Supreme Court’s determination of how far society has evolved.

       However, inexplicably, potential jurors in Mr. Barbee’s case were removed precisely

because they represented community values as to their views on the death penalty. This improper

“death qualification” resulted in a skewed jury that could not properly perform its constitutional

functions. “A penalty jury can speak for the community only insofar as the pool of jurors from

which it is drawn represents the full range of relevant community attitudes.” Hovey v. Superior

Court, 28 Cal. 3d 1, 73 (1981). Thus, death qualification in Texas stifles society from evolving by

insuring that reliable evidence of certain community values as to the death penalty are never brought

to the attention of the Supreme Court. Death qualification in Texas also results in unconstitutional

stifling of evolving standards and skewing of community values in capital juries.

       In Gregg v. Georgia, 428 U.S. 153 (plurality opinion of J. Stewart, J. Powell, and J. Stevens),

the Supreme Court held that society had yet to evolve to the point that the death penalty per se was

deemed to be cruel and unusual. One of the key factors the Court examined was the actual verdicts

of jurors. In doing so, the Court stated:

                The jury also is a significant and reliable objective index of contemporary values
       because it is so directly involved. See Furman v. Georgia, 408 U.S., at 439-440 (POWELL,
       J., dissenting). See generally Powell, Jury Trial of Crimes, 23 Wash. & Lee L. Rev. 1 (1966).
       The Court has said that “one of the most important functions any jury can perform in
       making... a selection [between life imprisonment and death for a defendant convicted in a
       capital case] is to maintain a link between contemporary community values and the penal
       system.”

Witherspoon v. Illinois, 391 U.S. 510, 519 n. 15 (1968). Id. at 181; emphasis added.




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       The Court then reviewed the evidence on jury behavior and held that it did not show that

society had evolved to the point where the death penalty was per se cruel and unusual. By

definition, these “evolving standards of decency” are constantly changing. Thus, it is an open

question whether at some point in the future they will have evolved to the point where the death

penalty is unconstitutional per se. Compare Penry v. Lynaugh, 492 U.S. 302[holding that society

had yet to evolve to the point where the death penalty for the mentally retarded is unconstitutional]

with Atkins v. Virginia, 536 U.S. 304 [holding that society has evolved to the point where the death

penalty for the mentally retarded is unconstitutional]. In other words, the Gregg issue will have to

be addressed again by a future court as society evolves.

       Yet, when a future court addresses this issue, they will not have the proper constitutional

evidence and guidance because all people who believe that the death penalty is cruel and unusual

per se will have been disqualified from serving on a death penalty jury via death qualification. This

shows how death qualification in Texas stifles the evolving standards of decency and thus violates

the Eighth Amendment.

       The underlying premise of the Gregg issue – as well as the principle of the jury as indicator

of evolving standards in general – is that the jury maintains a link to community values. By

allowing some values to be excluded, the premise disappears and the future court grappling with the

Gregg question is left with a guidepost that represents only some community values – namely those

that support the status quo – which cannot possibly indicate evolving standards of society as a

whole. Indeed, the only way that a jury can be an accurate guidepost on the Gregg question of

whether the death penalty is unconstitutional per se is if jurors whose values reflect this view are

actually deciding cases. Aversion to imposing the death penalty is also part of the conscience of the



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community. For the Gregg question to be properly answered there must be jurors who decide – or

at least contemplate deciding – death penalty cases based on their moral views of whether the death

penalty is per se appropriate. If not, the future court will be looking at jury data, which will not

address the question that they are asking: Do members of society believe that the death penalty per

se is wrong? The effect is to stifle the evolving standards of decency.

       When a future court addresses the Gregg issue as to the constitutionality of the death penalty

per se again, they will look to jury statistics that will have been drastically skewed against capital

defendants, including Mr. Barbee. See e.g. Stanford v. Kentucky, 492 U.S. at 387, fn 3 (dissenting

opinion of Brennan, J.). And even if the future Court in some manner acknowledges that the proper

statistics were not available, it is likely that the future Court may view the lack of statistics as an

obstacle to relief. See e.g. Atkins v. Virginia, 536 U.S. at 324, fn. 13 (dissenting opinion of

Rehnquist, Scalia, and Thomas) quoting Stanford v. Kentucky, 492 U.S. 361, 373                 (1989)

[“Petitioner's inability to muster studies in his favor ought to cut against him, for it is his ‘heavy

burden,’ to establish a national consensus against a punishment deemed acceptable by the Virginia

Legislature and jury who sentenced him.”] Thus, Texas’s death qualification not only makes certain

that a jury skewed to death and guilt was improperly chosen at Mr. Barbee’s trial, but also makes

certain that he will be unjustly prevented of any future relief no matter how much society evolves.

A process of death qualification that guarantees these results is not constitutional.

       Moreover, it is entirely proper under Texas law for a juror to decide not to inflict death based

upon their moral beliefs about the death penalty. As the community's representative, the jury has

ultimate responsibility for determining if death is the appropriate penalty for the particular offense

and offender. In exercising this essentially normative task, it may apply its own moral standards to



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the aggravating and mitigating evidence presented. It may reject death if persuaded to do so on the

basis of any constitutionally relevant evidence or observation. A juror’s moral beliefs are

constitutionally relevant.    Indeed, the Supreme Court has repeatedly held that they are

constitutionally required so as to inform the Court’s analysis of “evolving standards of decency.”

Further, a juror who morally believes that the death penalty is not appropriate for any individual can

properly consider the evidence and then allow these moral standards to influence their views of

aggravating and mitigating evidence. In other words, these jurors can properly perform their duty

under Texas law to make moral and sympathetic determinations at the penalty phase through their

vote on the mitigation special issue.

       The Supreme Court has made it explicitly clear that the very reason that juries are allowed

to have broad discretion in capital cases is so that they may represent the conscience of the

community by allowing their values to influence their disposition of individual cases. The Supreme

Court was adamant that this required functioning of the capital jury is necessary for assessing the

constitutionality of the death penalty.

       Mr. Barbee has demonstrated that death qualification in Texas results in an unconstitutional

death penalty scheme. It is clear that the current “death qualification” test is inappropriate, as well

as simply irrational, and thus in violation of the Eighth and Fourteenth Amendments. Further, death

qualification in Texas is contrary to the Supreme Court’s long-standing Eighth Amendment

jurisprudence requiring that death penalty juries represent the values of the community and inform

the Supreme Court’s ability to discern evolving standards of decency. Death qualification in Texas

stifles evolving standards of decency and prevents defendants from having mitigating evidence

considered and given effect by sentencers in violation of the Eighth Amendment.



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        All of these constitutional violations are only made more egregious by the fact that death

qualification also results in juries that are skewed towards convictions and death sentences. Since

Mr. Barbee’s jury was chosen via Texas’ unconstitutional death qualification process here, his death

sentence cannot stand.

        Given these serious Federal Constitutional violations, as well as violations of International

Law, Treaties, Norms, and Customs, this Court should grant the petition for writ of habeas corpus

the relief requested.

Claim 16(b): Death qualification violated Petitioner’s fundamental right to a fair penalty jury
under the Equal Protection and Due Process Clauses of the Fourteenth Amendment.

        Death qualification violates the Fourteenth Amendment for another reason. A capital

defendant in Texas has a federal constitutional right under the Sixth Amendment to a jury trial at

the penalty phase. As detailed above, a right is deemed fundamental for Fourteenth Amendment

analysis if explicitly or implicitly protected by the Constitution. See San Antonio Independent Sch.

Dist. v. Rodriguez, 411 U.S. at 17. Texas has vested its people with this right to a penalty phase jury

and that right is fundamental. Like the legal situation in Bush v Gore, the Supreme Court has held:

“When the state legislature vests the right to vote for President in its people, the right to vote as the

legislature has prescribed is fundamental.” Bush v. Gore, 531 U.S. at 104 [Where the Supreme Court

held that since Florida gave its citizens the right to vote for President, it was a fundamental right for

equal protection analysis].

        The right to a jury in a criminal trial is a bedrock principle in the American justice system.

Further, a penalty phase jury provides a vital role in maintaining a link to the values of the

community both in deciding specific cases and in the overall constitutional death penalty scheme.




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See e.g. Gregg v. Georgia, 428 U.S. at 190 [“Jury sentencing has been considered desirable in

capital cases in order to maintain a link between contemporary community values and the penal

system - a link without which the determination of punishment could hardly reflect the evolving

standards of decency that mark the progress of a maturing society.”] In fact, in McCleskey v. Kemp,

481 U.S. at 309-311, the Supreme Court extensively defended the importance of the jury at the

penalty phase, going so far as to refer to the jury at the penalty phase both as a “fundamental

protection” id. at 310 and as having a “fundamental value” in the American criminal system. Id. at

313. Thus, just like in Bush, the statutory right to a jury trial at the penalty phase is a fundamental

right.

         The Texas legislature has not enacted any clear, uniform standards for death qualification.

It has been entirely left up to the courts to set standards for death qualification. Confusion as to how

the trial courts should conduct death qualification reigns. The Texas courts have failed to establish

any uniform standards. Instead, the court simply defers to the trial court’s discretion and never

addresses its own jurisprudence. .

         This discretion inevitably results in non-uniform standards and unequal treatment, just like

the discretion condemned in Bush. Death qualification in Texas is thus “inconsistent with the

minimum procedures necessary to protect the fundamental right” to a penalty phase jury. Bush v.

Gore, 531 U.S. at 109. Therefore, it is unconstitutional under the Equal Protection Clause.

         In addition to the unequal manner in which juries are death qualified in Texas, death

qualification also vastly impinges upon a capital defendant’s fundamental right to a penalty phase

jury by resulting in a jury that is skewed towards voting for death. Thus, Texas both impinges upon

a capital defendant’s individual right to an impartial jury at the penalty phase and distributes that

right in an unequal manner. Since Mr. Barbee’s jury was chosen in an unconstitutional manner, his

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penalty must be reversed.

           Death qualification violated Mr. Barbee’s rights under the Fourteenth Amendment for yet

another reason. The penalty jury is more death prone. Each similarly situated capital defendant also

receives vastly different juries who decide both phases. These results are impermissible when a

fundamental right is involved. And here, the most fundamental right of all is involved – the right

to life.

           The Supreme Court has referred to the “fundamental right to life.” Ford v. Wainwright, 477

U.S. at 409; see also e.g. generally Yick Wo v. Hopkins, 118 U.S. 356, 370 (1886) [“The

fundamental rights to life, liberty, and the pursuit of happiness, considered as individual possessions,

are secured by those maxims of constitutional law which are the monuments showing the victorious

progress of the race in securing to men the blessings of civilization under the reign of just and equal

laws.”]; Johnson v. Zerbst, 304 U.S. 458, 462 (1938)[“fundamental human rights of life and

liberty”].

           Life is a fundamental right. Since it is the jury that ultimately deprives capital defendants of

this fundamental right, the type of jury selected vastly affects this right. The state bears the heavy

burden of justifying death qualification under strict scrutiny, justifying these differences as to further

a compelling government interest. See e.g. Plyler v. Doe, 457 U.S. 202, 216-217 (1982). Texas

cannot meet this burden of justifying the death qualification as necessary. Further, the lack of

uniform standards for selecting jurors via death qualification cannot withstand the required Bush

equal protection analysis.

           Due to death qualification in Texas –capital defendants face significantly different juries at

the guilt phase than non-capital defendants. Capital defendants such as Mr. Barbee face juries more



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prone to inflict a death sentence. Similarly situated capital defendants face penalty juries that are

vastly different in any given capital case. Texas has failed to establish uniform guidelines for death

qualification. Death qualification in Mr. Barbee’s case was unconstitutional. His convictions, and

penalty must therefore be reversed.

        Given these serious Federal Constitutional violations, as well as violations of International

Law, Treaties, Norms, and Customs, this Court should grant the petition for writ of habeas corpus

the relief requested.

Claim 16(c): Death qualification in Texas violates the Eighth Amendment

        There is yet another reason that death qualification in Texas violates the Constitution by

skewing the jury to be more conviction prone and more prone to inflict death upon capital

defendants. Non-capital defendants do not face these skewed juries. This result is unacceptable

under the Eighth Amendment, as well as International Law, Treaties, Norms, and Customs.

        The Supreme Court has consistently made it clear that since “death is different,” the Eighth

Amendment requires “heightened reliability” at all phases of a capital case. See e.g. Beck, 447 U.S.

at 638. Death qualification vastly affects the jury that has the power to impose this ultimate penalty

in a manner so as to make death more likely. It cannot survive the requirement of “heightened

reliability.”

        This “heightened reliability” applies to the guilt phase of capital cases as well. Capital

defendants receive juries at the guilt phase that are more skewed towards conviction than guilt juries

in non-capital cases.

        Death qualification only targets capital defendants. It results in capital defendants receiving

juries at both phases that are far less “impartial” than any other defendant. A capital defendant is



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forced to face a jury unfairly skewed towards reaching a guilt verdict with a death sentence. Death

qualification violates the “heightened reliability” requirement of due process and the Eighth

Amendment.

       It is “cruel and unusual” to put a human being on trial for his life, yet systemically force him

to face a jury that is more prone to convict than the typical criminal jury and also more prone to

condemn him to die by excluding the jurors who would at least be open to the defense evidence.184

Since Mr. Barbee faced such treatment via the death qualified jury at his trial, his death penalty must

be reversed.

       Given these serious Federal Constitutional violations, as well as violations of International

Law, Treaties, Norms, and Customs, this Court should grant the petition for writ of habeas corpus

the relief requested.

Claim 16(d): Death qualification is unconstitutional because it results in a jury prone to vote
for death.

       The Supreme Court’s decision in Lockhart did not end the discussion or solve the problems

relating to these important constitutional issues involving death qualification in Texas because it was

based on a faulty analysis of the scientific evidence, severe misunderstandings of the claims, and

baffling logic.185 Lockhart also failed to address numerous claims, while later cases and data



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           Moreover, Texas has especially established a capital system whereby all the jurors
who would consider and give effect to mitigating evidence are systemically removed by
particularized death qualification in contravention of the Eighth Amendment.
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           As one commentator stated: “The majority opinion in Lockhart v. McCree
demonstrates the inability of the highest court in the land to accurately interpret and apply social
science data. The tragedy here – and there is a far reaching one – is that the Supreme Court has
licensed the imposition of death sentences by juries who are more likely to convict than juries
empaneled in any other type of criminal case.” Seltzer et al., The Effect of Death Qualification
on the Propensity of Jurors to Convict: The Maryland Example 29 How. L.J. 571, 573 (1986).

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continue to undermine its “constitutional facts.”

        One day the Supreme Court will acknowledge this untenable situation and reverse course

– as it has done recently in other areas of its capital jurisprudence. See e.g. Atkins v. Virginia, 536

U.S. 304 [reversing its earlier decision in Penry v. Lynaugh, 492 U.S. 302 and holding that it is

unconstitutional to execute mentally retarded people]; Ring v. Arizona, 536 U.S. 584 [reversing its

earlier decision in Walton v. Arizona, 497 U.S. 639 and holding that it is unconstitutional for a judge,

not a jury, to find aggravating circumstances]. Indeed, given the “evolving standards of decency”

aspect of its capital jurisprudence, the Supreme Court in the future will have to admit that society

has evolved to the point where death qualification is unconstitutional.

        The most telling aspect of the scientific data on death qualification is the consistency in

which it points in the same direction – which is that death qualification results in a jury that is prone

to convict and prone to vote for the death penalty.

        Death qualification also disproportionately excludes women, blacks, other “minorities,” and

religious persons. The very process of death qualification by its indoctrination of jurors skews the

jury towards assuming guilt and returning death sentences. One researcher has aptly summarized

the varied effects of death qualification detailed in the studies as follows:

                 [J]uries in capital cases are considerably different from non-capital juries, both in
        membership and in operation. The people whose attitudes and prejudices qualify them for
        service on capital juries also tend to favor the prosecution and its witnesses and are generally
        distrustful of persons accused of crime and their attorneys. The typical juror in a death case
        is also probably more likely to believe minority defendants are guilty, because capital jurors
        are more likely than non-capital jurors to be white males, with a lower threshold of
        reasonable doubt.

                 Their attitudes and biases make “death-qualified” jurors more likely to vote for
        conviction at the guilt phase of the trial. If a penalty phase is required, these jurors are also
        less likely to accept mitigation evidence and argument, and consequently are more likely to
        vote for the death penalty than a jury comprising a typical cross-section of the community.


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       Smith, Due Process Education for the Jury: Overcoming the Bias of Death Qualified Juries,
       18 Sw. U.L.Rev. 493, 498 (1989); footnotes omitted.

       For these reasons, death qualification in Texas must be deemed to be unconstitutional under

the Sixth, Eighth, and Fourteenth Amendments, as well as International Law, Treaties, Norms, and

Customs. Given these serious Federal Constitutional violations, as well as violations            of

International Law, Treaties, Norms, and Customs, this Court should grant the petition for writ of

habeas corpus the relief requested.

       C. Exhaustion and procedural default.

       These claims were first brought in Mr. Barbee’s subsequent state habeas application as Claim

16, and were dismissed “as an abuse of the writ” because those allegations “do not satisfy the

requirements of Article 11.071 Section 5.” Ex parte Stephen Dale Barbee, No. WR-71,070-02, at

2. (Tex. Crim. App. May 8, 2013)(Exhibit 52.) Hence, it was not denied on the merits but only on

procedural grounds, and the 2254(d) standard of review does not apply. Cone v. Bell, 129 S. Ct.

1769, 1784 (2009)(“Because the Tennessee courts did not reach the merits of Cone’s Brady claim

[and instead rejected claim on procedural default grounds], federal habeas review is not subject to

the deferential standard that applies under AEDPA...Instead the claim is reviewed de novo”); Graves

v. Dretke, 442 F.3d 334, 339 (5th Cir.), cert. denied, 549 U.S. 943 (2006)(section 2254(d) is

inapplicable because petitioner’s “claims were dismissed by the Texas courts as abuses of the writ,

i.e., on procedural grounds,” and thus “were not adjudicated on the merits in Stare court”).

       Respondent has argued that these claims are defaulted. (Docket No. 40, RA at 117.) For the

reasons discussed supra, procedural default is not appropriate for any of Petitioner’s claims.




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CLAIM SEVENTEEN: PETITIONER’S DEATH SENTENCE VIOLATES
INTERNATIONAL LAW, WHICH IS BINDING ON THIS COURT, AS WELL AS THE
EIGHTH AMENDMENT

       A few years ago, the Supreme Court of Canada placed the use of the death penalty in the

United States for ordinary crimes into an international context:

       Amnesty International reports that in 1948, the year in which the Universal Declaration of
       Human Rights was adopted, only eight countries were abolitionist. In January 1998, the
       Secretary-General of the United Nations, in a report submitted to the Commission on Human
       Rights (U.N. Doc. E/CN.4/1998/82), noted that 90 countries retained the death penalty,
       while 61 were totally abolitionist, 14 (including Canada at the time) were classified as
       abolitionist for ordinary crimes and 27 were considered to be abolitionist de facto (no
       executions for the past 10 years) for a total of 102 abolitionist countries. At the present time,
       it appears that the death penalty is now abolished (apart from exceptional offences such as
       treason) in 108 countries. These general statistics mask the important point that abolitionist
       states include all of the major democracies except some of the United States, India and Japan
       … According to statistics filed by Amnesty International on this appeal, 85 percent of the
       world's executions in 1999 were accounted for by only five countries: the United States,
       China, the Congo, Saudi Arabia and Iran.
(Minister of Justice v. Burns (2001) 1 S.C.R. 283 [2001 SCC 7], ¶ 91.) The Texas death penalty

scheme violates the provisions of international treaties and the fundamental precepts of international

human rights. Because international treaties ratified by the United States are binding on state courts,

the imposition of the death penalty is unlawful. To the extent that international legal norms are

incorporated into the Eighth Amendment determination of evolving standards of decency, Petitioner

raises this argument under the Eighth Amendment as well. (See Atkins v. Virginia (2002) 536 U.S.

304, 316, fn. 21; Stanford v. Kentucky (1989) 492 U.S. 361, 389-390 (Brennan, J., dissenting.).)

       A.      International Law

       Article VII of the International Covenant of Civil and Political Rights (“ICCPR”) prohibits

“cruel, inhuman or degrading treatment or punishment.” Article VI, section 1 of the ICCPR

prohibits the arbitrary deprivation of life, providing that “[e]very human being has the inherent right




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to life. This right shall be protected by law. No one shall be arbitrarily deprived of life.”

       The ICCPR was ratified by the United States in 1992, and applies to the states under the

Supremacy Clause of the federal Constitution. (U.S. CONST., art. VI, § 1, cl. 2.) Consequently, this

Court is bound by the ICCPR.186 The United States Court of Appeals for the Eleventh Circuit has

held that when the United States Senate ratified the ICCPR “the treaty became, coexistent with the

United States Constitution and federal statutes, the supreme law of the land” and must be applied

as written. (United States v. Duarte-Acero (11th Cir. 2000) 208 F.3d 1282, 1284; but see Beazley

v. Johnson (5th Cir. 2001) 242 F.3d 248, 267-268.)

       Mr. Barbee’s death sentence violates the ICCPR. Because of the improprieties of the capital

sentencing process challenged in this appeal, the imposition of the death penalty on him constitutes

“cruel, inhuman or degrading treatment or punishment” in violation of Article VII of the ICCPR.

There is a growing recognition that international human rights norms in general, and the ICCPR in

particular, should be applied to the United States. (See United States v. Duarte-Acero, supra, 208

F.3d at 1284; McKenzie v. Daye (9th Cir. 1995) 57 F.3d 1461, 1487 (Norris, J., dissenting).) Thus,

Petitioner requests that the Court reconsider and, in the context of this case, find his death sentence

violates international law. (See Smith v. Murray (1986) 477 U.S. 527 [holding that even issues



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             The Senate attempted to place reservations on the language of the ICCPR, including a
declaration that the covenant was not self-executing. (See 138 Cong. Rec. S4784, § III(1).)
These qualifications do not preclude Applicant’s reliance on the treaty because, inter alia, (1) the
treaty is self-executing under the factors set forth in Frolova v. U.S.S.R. (7th Cir. 1985) 761 F.2d
370, 373; (2) the declaration impermissibly conflicts with the object and purpose of the treaty,
which is to protect the individual’s rights enumerated therein (see RIESENFELD & ABBOT, The
Scope of the U.S. Senate Control Over the Conclusion and Operation of Treaties (1991) 68
Chi.-Kent L. Rev. 571, 608); and (3) the legislative history indicates that the Senate only
intended to prohibit private and independent causes of action (see 138 Cong. Rec. S4784) and
did not intend to prevent defensive use of the treaty (see Quigley, Human Rights Defenses in
U.S. Courts (1998) 20 Hum. Rts. Q. 555, 581-582).

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settled under state law must be reasserted to preserve the issue for federal habeas corpus review].)

       B.      The Eighth Amendment

       As noted above, the abolition of the death penalty, or its limitation to exceptional crimes

such as treason – as opposed to its use as a regular punishment for ordinary crimes – is particularly

uniform in the nations of Western Europe. (See, e.g., Stanford v. Kentucky (1989) 492 U.S. 361, 389

(Brennan, J., dissenting.); Thompson v. Oklahoma, supra, 487 U.S. at 830 (Stevens, J., plurality

opinion)). Indeed, all nations of Western Europe – plus Canada, Australia, and New Zealand – have

abolished the death penalty. (Amnesty International, “The Death Penalty: List of Abolitionist and

Retentionist    Countries”     (as   of   August     2002)     at   <http://www.amnesty.org>         or

<http://www.deathpenaltyinfo.org>.)187

       This consistent view is especially important in considering the constitutionality of the death

penalty under the Eighth Amendment because our Founding Fathers looked to the nations of

Western Europe for the “law of nations” as models on which the laws of civilized nations were

founded and for the meaning of terms in the Constitution. “When the United States became an

independent nation, they became, to use the language of Chancellor Kent, ‘subject to that system

of rules which reason, morality, and custom had established among the civilized nations of Europe

as their public law.’” (Miller v. United States (1870) 78 U.S. 268, 315 (Field, J., dissenting), quoting

l Kent’s Commentaries 1; Hilton v. Guyot (1895) 159 U.S. 113, 163, 227; Sabariego v. Maverick

(1888) 124 U.S. 261, 291-292.) Thus, for example, Congress’s power to prosecute war is, as a

matter of constitutional law, limited by the law of nations; what civilized Europe forbade, such as


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            Many other countries including almost all Eastern European, Central American, and
South American nations also have abolished the death penalty either completely or for ordinary
crimes. (See Amnesty International’s “List of Abolitionist and Retentionist Countries,” supra,
at <http://www.amnesty.org> or <http://www.deathpenaltyinfo.org>.)

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using poison weapons or selling prisoners of war into slavery, was constitutionally forbidden here.

(Miller v. United States, supra, 78 U.S. at 315-316, fn. 57 (Field, J., dissenting).)

       “Cruel and unusual punishment” as defined in the Constitution is not limited to whatever

violated the standards of decency that existed within the civilized nations of Europe in the 18th

century. The Eighth Amendment “draw[s] its meaning from the evolving standards of decency that

mark the progress of a maturing society.” (Trop v. Dulles (1958) 356 U.S. 86, 100.) And if the

standards of decency as perceived by the civilized nations of Europe to which our Framers looked

as models have evolved, the Eighth Amendment requires that we evolve with them. The Eighth

Amendment thus prohibits the use of forms of punishment not recognized by several of our states

and the civilized nations of Europe, or used by only a handful of countries throughout the world –

including totalitarian regimes whose own “standards of decency” are supposed to be antithetical to

our own. (See Atkins v. Virginia, supra, 536 U.S. at 316, fn. 21 [basing determination that

executing mentally retarded persons violated Eighth Amendment in part on disapproval in “the

world community”]; Thompson v. Oklahoma, supra, 487 U.S. at 830, fn. 31 [“We have previously

recognized the relevance of the views of the international community in determining whether a

punishment is cruel and unusual”].)

       Assuming arguendo that capital punishment itself is not contrary to international norms of

human decency, its use as regular punishment for substantial numbers of crimes – as opposed to

extraordinary punishment for extraordinary crimes – is contrary to those norms. Nations in the

Western world no longer accept the death penalty, and the Eighth Amendment does not permit

jurisdictions in this nation to lag so far behind. (See Hilton v. Guyot, supra, 159 U.S. 113; see also

Jecker, Torre & Co. v. Montgomery (1855) 59 U.S. 110, 112 [municipal jurisdictions of every



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country are subject to law of nations principle that citizens of warring nations are enemies].) Thus,

Texas’s use of death as a regular punishment, as in this case, violates the Eighth and Fourteenth

Amendments, and Petitioner’s death sentence should be set aside.

       C. Exhaustion and procedural default.

       This claim was first brought in Mr. Barbee’s subsequent state habeas application as Claim

17, and it was dismissed “as an abuse of the writ” because those allegations “do not satisfy the

requirements of Article 11.071 Section 5.” Ex parte Stephen Dale Barbee, No. WR-71,070-02, at

2. (Tex. Crim. App. May 8, 2013)(Exhibit 52.) Hence, it was not denied on the merits but only on

procedural grounds, and the 2254(d) standard of review does not apply. Cone v. Bell, 129 S. Ct.

1769, 1784 (2009)(“Because the Tennessee courts did not reach the merits of Cone’s Brady claim

[and instead rejected claim on procedural default grounds], federal habeas review is not subject to

the deferential standard that applies under AEDPA...Instead the claim is reviewed de novo”); Graves

v. Dretke, 442 F.3d 334, 339 (5th Cir.), cert. denied, 549 U.S. 943 (2006)(section 2254(d) is

inapplicable because petitioner’s “claims were dismissed by the Texas courts as abuses of the writ,

i.e., on procedural grounds,” and thus “were not adjudicated on the merits in Stare court”).




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CLAIM EIGHTEEN: APPELLATE COUNSEL RENDERED INEFFECTIVE ASSISTANCE
OF COUNSEL.

        Petitioner’s right to due process of law, equal protection of the laws, and a reliable sentence,

trial by jury, and by an impartial sentencer, was violated by his failure to receive effective assistance

of appellate counsel, through state court action. U.S. Const. Amends. V, VI, VIII, XIV and

applicable provisions of the Texas Constitution.

        A. Argument.

        Every criminal defendant has a right to effective assistance of counsel on his first direct

appeal as a matter of right. Evitts v. Lucey, 469 U.S. 387 (1985); Strickland v. Washington, 466 U.S.

668 (1984). Counsel's role on direct appeal is "that of an expert professional whose assistance is

necessary in a legal system governed by complex rules and procedures for the defendant to obtain

a decision at all -- much less a favorable decision -- on the merits of the case." Evitts, 469 U.S. at

394. Appellate counsel must make "a conscientious examination" of the record to identify all of the

potential issues for an appeal, thoroughly research every colorable claim, and make a reasonable

professional judgment about which points to raise. Anders v. California, 386 U.S. 738, 744 (1967).

Therefore, appellate counsel "must have a firm command of the facts of the case as well as

governing law before [they] can render reasonably effective assistance of counsel."

        In reaching its conclusion in Evitts, the Supreme Court rejected the state’s argument that the

Due Process Clause did not apply to state appeals because the state did not have to grant appeals as

of right at all. The Court stated, “[i]n short, when a State opts to act in a field where its action has

significant discretionary elements, it must nonetheless act in accord with the dictates of the

Constitution—and, in particular, in accord with the Due Process Clause.” Evitts, at 401. See also




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Goeke v. Branch, 514 U.S. 115, 119-20 (1995).

         The Supreme Court in Evitts concluded that “[a] first appeal as of right therefore is not
         adjudicated in accord with due process of law if the appellant does not have the effective
         assistance of an attorney... In short, the promise...that a criminal defendant has a right to
         counsel on appeal—like the promise...that a criminal defendant has a right to counsel at
         trial—would be a futile gesture unless it comprehended the right to the effective assistance
         of counsel.
         Evitts, at 396-97. See also Goeke v. Branch, 514 U.S. 115, 120 (1995).

         Any purely-record-based claims or sub-claims discussed herein could and should have been

raised on the direct appeal if the basis for them was entirely present in the record itself. As to any

such claims or sub-claims, direct appeal counsel’s performance was unreasonable under the

prevailing professional norms and there is a reasonable probability that, but for appellate counsels'

errors, Petitioner’s conviction or sentence would have been reversed on direct appeal. The two-

pronged Strickland standard of deficient performance and prejudice governing claims of

ineffectiveness of trial counsel likewise applies to the ineffectiveness of direct appeal counsel.

Evitts, 469 U.S. 387. Appellate counsel's inexcusable failure to raise a point of error that had a

reasonable probability of success would be sufficient to make the showing of deficient performance.

         Should this or any subsequent court hold that any purely-record-based claims or sub-claims

were not properly brought on the direct appeal Petitioner submits that although he had counsel on

appeal, that counsel did not provide the representation mandated by the Constitution. Evitts v. Lucy,

469 U.S. 387, 396 (1985) (“To be sure, counsel did have nominal representation when he brought

this appeal. But nominal representation on an appeal as of right – like nominal representation at trial

– does not suffice to render the proceeding constitutionally adequate; a party whose counsel is

unable to provide effective representation is in no better position that one who has no counsel at

all.”)



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       B. What the state courts held.

       This claim was first brought in Mr. Barbee’s subsequent state habeas application as Claim

18, and was dismissed “as an abuse of the writ” because those allegations “do not satisfy the

requirements of Article 11.071 Section 5.” Ex parte Stephen Dale Barbee, No. WR-71,070-02, at

2. (Tex. Crim. App. May 8, 2013)(Exhibit 52.) Hence, it was not denied on the merits but only on

procedural grounds, and the 2254(d) standard of review does not apply. Cone v. Bell, 129 S. Ct.

1769, 1784 (2009)(“Because the Tennessee courts did not reach the merits of Cone’s Brady claim

[and instead rejected claim on procedural default grounds], federal habeas review is not subject to

the deferential standard that applies under AEDPA...Instead the claim is reviewed de novo”); Graves

v. Dretke, 442 F.3d 334, 339 (5th Cir.), cert. denied, 549 U.S. 943 (2006)(section 2254(d) is

inapplicable because petitioner’s “claims were dismissed by the Texas courts as abuses of the writ,

i.e., on procedural grounds,” and thus “were not adjudicated on the merits in Stare court”).




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CLAIM NINETEEN: PETITIONER WAS DEPRIVED OF DUE PROCESS AND A FAIR
TRIAL BY PROVIDING AN EDITED VERSION OF THE VIDEOTAPE OF HIS
CONFESSION AND WITHHOLDING THE COMPLETE VIDEO.

       Mr. Barbee was deprived of his right to a fair trial, right of confrontation, and due process

under the Eighth and Fourteenth Amendments because of the action of the police in withholding the

complete videotape of his alleged confession and providing only an edited version of that

confession. Brady v. Maryland, 373 U.S. 83, 83 S. Ct. 1194 (1963); Strickler v. Greene, 527 U.S.

263, 119 S. Ct. 1936 (1999).

       A. Facts in Support.

       On February 21, 2005 Mr. Barbee and Ron Dodd accompanied the Fort Worth police to the

police station in Tyler for questioning about the disappearance of Lisa Underwood and her son. (24

RR 82-84.)

       Mr. Barbee and Mr. Dodd were placed in separate interview rooms which were wired for

video and sound recording. (25 RR 10-11.) Detectives Carroll and Jamison conducted the interview

of Mr. Barbee and Detective McCaskill questioned Mr. Dodd. The questioning of Mr. Barbee began

at 1945 hours (7:45 p.m.) and continued until the interrogators took a break to photograph Mr.

Barbee’s injuries. (25 RR 16.) The interrogation resumed after Mr. Barbee’s injuries were

photographed, at which time he was confronted with the issue of his running from the police. (25

RR 17-20.)

       At 2026 hours (8:26 p.m.), as soon as the police actually began accusing Mr. Barbee of the

murder of Ms. Underwood, Detective Carroll told Mr. Barbee he was leaving the room. He then left

the room, allegedly to corroborate some facts with Mr. Dodd. (Id.) Detective Jamison remained

in the interrogation room and continued to interrogate Mr. Barbee. (25 RR 21.)



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       Detective Carroll testified at the suppression hearing and at the trial that he returned to the

room to replace Detective Jamison, and when Mr. Barbee was alone in the room with Detective

Caroll, Mr. Barbee requested to go to the bathroom. However, this does not appear on the tape or

DVD that was supplied to defense counsel. Instead, the recording supplied to defense counsel

abruptly stops in the middle of Jamison’s interrogation of Mr. Barbee and only resumes when Mr.

Barbee offers his alleged confession to the murder of Ms. Underwood. This alleged confession was

suppressed by the trial court because Mr. Barbee invoked his right to counsel prior to making the

statement. (22 RR 78-79.)

       Thus, the only evidence of Mr. Barbee actually confessing to the murders comes from

Detective Carroll and his testimony regarding an alleged 45-minute conversation in the bathroom,

out of range of the video camera, during which Mr. Barbee allegedly confessed to the murders. As

was noted above, immediately upon reaching the county jail Mr. Barbee recanted his confession and

claimed it was obtained through coercion and threats of the death penalty.

       It simply defies coincidence that none of Mr. Barbee’s interrogation by the police leading

up to the alleged confession appears on the copies of the videos provided to counsel. Petitioner is

informed, believes and therefore alleges that these tapes were edited to remove those portions of Mr.

Barbee’s interrogation during which he was coerced into confessing to the murders of Lisa and

Jayden Underwood. Petitioner was denied any investigative funding in order to advance this claim

in these federal habeas proceedings.

       B. Argument in Support.

       A capital murder trial is not a game. The state's obligation is to do justice, not to seek the

short-term victories of gamesmanship. Berger v. United States, 295 U.S. 78, 80 (1935).



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 Consequently, when the state knows that testimony is false, it cannot rely upon that testimony to

secure a conviction at either stages of trial; few rules are more clearly established in constitutional

criminal jurisprudence than this. Mooney v. Holohan, 294 U.S. 103 (1935); Napue v. Illinois, 360

U.S. 264 (1959). In addition, the State must turn over to the accused all evidence in its custody that

is "both favorable to the accused and material to guilt or punishment." Brady v. Maryland, 373 U.S.

83, 87 (1963). Such evidence includes any evidence concerning the credibility of a state's witness.

Giglio v. United States, 405 U.S. 150 (1972).

        Because the state violated these well-settled principles by failing to turn over these materials

his sentence must be reversed. In the alternative, Mr. Barbee must be granted an evidentiary

hearing to present witnesses and documentary evidence regarding the above serious allegations. This

was a controverted material issue of fact in the state habeas proceedings and yet no hearing was ever

held on this or any other issue. The judge that signed off on the prosecution-prepared pleadings was

not the trial judge.

        It is a fundamental tenet of constitutional criminal procedure that "the government must turn

over evidence in its possession that is both favorable to the accused and material to guilt or

punishment." Pennsylvania v. Ritchie, 480 U.S. 39, 57 (1987) (citing United States v. Agurs, 427

U.S. 97 (1976) and Brady v. Maryland, 373 U.S. 83, 87 (1963)). The materiality requirement of

Brady is judged by whether there is a "reasonable probability that, had the evidence been disclosed

to the defense, the result of the proceeding would have been different. A 'reasonable probability'

is a probability sufficient to undermine confidence in the outcome." United States v. Bagley, 473

U.S. 667, 682 (1985). The defendant meets this burden if he shows that the suppressed evidence

could have created a reasonable doubt -- either as to the defendant's guilt or as to whether the death



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penalty would have been imposed -- that did not otherwise exist. Agurs, 427 U.S. at 112; McDowell

v. Dixon, 850 F.2d 740 (4th Cir. 1988). The State failed to provide this information to the defense

which constitutes the suppression of material evidence which “could reasonably be taken to put the

whole case in such a different light as to undermine confidence in the verdict.” Kyles v. Whitley,

115 S.Ct. 1555, 1566 (1995).

       C. The Materiality Standard.

       In Brady v. Maryland, 373 U.S. 83 (1963), the Supreme Court held that the prosecution’s

suppression of evidence favorable to a defendant violates due process where the evidence is material

either to guilt or to punishment. Id. at 87. Under Brady and its progeny, a proceeding is rendered

fundamentally unfair if: (1) the prosecution suppressed favorable evidence; and (2) the evidence was

material to either guilt or punishment. Kyles v. Whitley, 115 S.Ct. 1555, 1565 (1995); Bagley, 473

at 683; Brady, 373 U.S. at 87; Blackmon v. Scott, 22 F.3d 560, 564 (5th Cir. 1994). The Court has

rejected any distinction between impeachment and exculpatory evidence for purposes of Brady

analysis. United States v. Bagley, 473 U.S. 667, 677 (1985); Giglio v. United States, 405 U.S. 150,

154 (1972).

       Evidence is material “if there is a reasonable probability that, had the evidence been

disclosed, the result of the proceeding would have been different.” Kyles, 115 S.Ct. at 1565;

Bagley, 473 U.S. at 682. In Kyles, the Supreme Court clarified four significant aspects of the

materiality analysis. First, to demonstrate materiality, the petitioner is not required to prove by a

preponderance of the evidence that the suppressed evidence, if known to the defense, would have

ultimately resulted in an acquittal or a life sentence. Kyles, 115 S.Ct. at 1566-67. The inquiry is

more properly whether, in the absence of the suppressed evidence, the defendant received a fair trial.



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Id. at 1566. The Court has stated that a fair trial is “a trial resulting in a verdict worthy of

confidence.” Id. Accordingly, a “reasonable probability” of a different result occurs when the

State’s suppression of evidence undermines confidence in the jury’s verdict. Id.

       Second, the Kyles Court emphasized that materiality analysis “is not a sufficiency of the

evidence test.” Id. (emphasis added). The Court explained that “[a] defendant need not demonstrate

that after discounting the inculpatory evidence in light of the undisclosed evidence, there would not

have been enough left to convict.” Id. Instead, a petitioner can prove a Brady violation by “showing

that the favorable evidence could reasonably be taken to put the whole case in such a different light

as to undermine confidence in the verdict.” Id. (footnote omitted) (emphasis added); see Lindsey

v. King, 769 F.2d 1034, 1042 (5th Cir. 1985) (noting that suppressed evidence may have

consequences far beyond discrediting a witness’s testimony).

       The third aspect of materiality noted by the Kyles Court is that harmless error analysis is not

applicable to Brady violations. Kyles, 115 S.Ct. at 1566. The Court stated that “once a reviewing

court applying Bagley has found constitutional error there is no need for further harmless error

review.” Id.

       Finally, the Court explained that materiality involves the assessment of the “suppressed

evidence considered collectively, not item by item.” Id. at 1567 (emphasis added). Because

materiality is assessed cumulatively, the prosecution has the responsibility of gauging the net effect

of all exculpatory evidence and making disclosure to the defense when the point of “reasonable

probability” is reached. Id. The Kyles Court criticized the materiality assessment that the lower

court made in its review of that case. The Court recognized that “[t]he result reached by the Fifth

Circuit majority is compatible with a series of independent materiality evaluations, rather than the



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cumulative evaluation required by Bagley.” Id. at 1569. Consequently, “the individual prosecutor

has a duty to learn of any favorable evidence known to the others acting on the government’s behalf

in the case.” Id. (emphasis added). In other words, the prosecutor cannot ignore information

gathered by a police agency to duck his duty to disclose favorable information to the defense, and

he also has an affirmative duty to look for and disclose favorable evidence such as the criminal

history of his witnesses or the decedent if it is relevant to the defense. United States v. Auten, 632

F.2d 478 (5th Cir. 1980).

       Clearly the evidence here reaches this standard. Mr. Barbee’s alleged “bathroom” confession

was central to the State’s case, as has been discussed herein. The altering of the videotape would

have enabled the defense to challenge the prosecution’s chief witness, Detective Carroll. Coupled

with the fact that Detective Carroll admitted he made no contemporaneous notes regarding this

conversation, and that none of Mr. Barbee’s interrogation appears on the tapes, it is reasonable to

assume that the portions of the tape that would show coercion were removed.

       D. The State courts erred in denying this claim and their holding was both an
unreasonable determination of the facts and an unreasonable application of clearly-established
federal law.

       This claim was brought in the initial state habeas proceedings as Claim 4. (Exhibit 11 at 25-

29.) The State habeas findings as to this claim are multiply flawed.

       First, they rely extensively on the affidavit of trial prosecutor Kevin Rousseau which was

appended to the State’s reply. (Exhibit 12.) In fact, Findings of Fact numbers 2 through 10

regarding this claim rely completely on this affidavit. (Exhibit 14 at 25-26.) Basically, all of these

fact findings amount to simply “trust us, we turned over everything.” For example, Finding of Fact

10 states:

       Mr. Rousseau has no reason to believe, nor has he ever had any reason to believe, that the

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        representations of the Fort Worth Police Department regarding the accuracy of the
        recordings were anything less than completely truthful. See Mr. Rousseau’s Affidavit, page
        2.
        (Exhibit 14 at 26.)

        One could hardly expect Mr. Rousseau to say anything other than this. Petitioner has had

no opportunity to cross-examine Mr. Rousseau or the Fort Worth Police Department personnel on

the veracity of his allegations. His affidavit represents simply another self-serving allegation which

Petitioner has had no opportunity to probe for veracity.

        From here on, the state fact-findings become even more unreliable. Findings numbers 12

through 14 are based on the trial attorneys’s affidavit. (Exhibit 14 at 26.) Here again, the attorneys

go out of their way to dismiss their client’s claim but do so in an illogical manner. Finding 14 states

that “[f]rom their review of the video-recording, Mr. Ray and Mr. Moore had no reason to believe

that the applicant’s video-recording was altered–only that it stopped and started—and they know

of no fact supporting an ‘alteration’ claim.” (Id.) But the claim is that it was edited through

omission, not “altered,” and hence this finding is meaningless because it does not address the issue.

(see Claim One, supra.) And as discussed supra, the unreliability of the attorneys’ affidavit

precludes it being given any weight at all in these proceedings.

        Third, the state habeas fact findings then latch onto Dr. Leo’s letter in which he expresses

his opinion that the confession is more likely to be true than false. (Exhibit 14 at 27, Findings of Fact

numbers 18-20.) As extensively discussed supra, Dr. Leo’s conclusion was based on very

incomplete and inaccurate information about the case. In fact, Dr. Leo’s negative opinion was a

direct result of the negligence of the trial attorneys in failing to provide him with full information

about the case. If they had, it is likely his opinion would have been different.

        Finally, Finding of Fact number 22 is based on a misunderstanding of clearly-established


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federal law. It states that “[t]he following evidence presented during the guilt/innocence phase

undercuts any claim that any police misconduct regarding his interviews altered the outcome of the

applicant’s trial.” (Exhibit 14 at 27, finding number 22. There follows a long and slanted list of the

guilt phase evidence. (Id. at 27-30.) As discussed supra in the materiality section, this is simply

wrong. In Kyles, supra, the Supreme Court held that the petitioner is not required to prove by a

preponderance of the evidence that the suppressed evidence, if known to the defense, would have

ultimately resulted in an acquittal or a life sentence. Kyles, 115 S.Ct. at 1566-67. The inquiry is

more properly whether, in the absence of the suppressed evidence, the defendant received a fair trial.

Id. at 1566. The Court has stated that a fair trial is “a trial resulting in a verdict worthy of

confidence.” Id. Accordingly, a “reasonable probability” of a different result occurs when the

State’s suppression of evidence undermines confidence in the jury’s verdict. Id.

       Second, the Kyles Court emphasized that a petitioner can prove a Brady violation by

“showing that the favorable evidence could reasonably be taken to put the whole case in such a

different light as to undermine confidence in the verdict.” Id. (footnote omitted) (emphasis added);

see Lindsey v. King, 769 F.2d 1034, 1042 (5th Cir. 1985) (noting that suppressed evidence may have

consequences far beyond discrediting a witness’s testimony). Additionally, the Court stated that

“once a reviewing court applying Bagley has found constitutional error there is no need for further

harmless error review.” Id.

       Other findings denigrate the claim as mere speculation, but the summary of facts provided

supra goes well beyond that.

       Petitioner has shown here, under 2254(d), that the state court holdings as to this claim were

both an unreasonable determination of the facts and an unreasonable application of clearly

established federal law.

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       E. Exhaustion.

       The Respondent has conceded that this claim is exhausted, as it was first brought on direct

appeal. (Docket No. 40, RA at 17.) Hence, it is not defaulted. This claim was also brought in Mr.

Barbee’s subsequent writ application as Claim 19. It was denied on the basis that it did not meet

the standards for a subsequent writ claim under art. 11.071 sec. 5(a). (Exhibit 52.)




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CLAIM TWENTY: THE TESTIMONY OF THE CORONERS, AND THEIR LACK OF
AUTHORITY TO PERFORM THE AUTOPSY DEPRIVED PETITIONER OF A FAIR
TRIAL.

        Testimony by Dr. Marc Krouse and Dr. White, who lacked the proper authority to perform

the autopsy on the victims, deprived Petitioner of due process and a fair trial.

        A. Facts in Support.

        i. Dr. Krouse.

        Dr. Marc Krouse performed the autopsy on Lisa Underwood. (23 RR 137.) He claimed that

he performed the autopsy under his authority as the Deputy Chief Medical Examiner in Fort Worth

covering Tarrant, Denton and Parker Counties. (23 RR 141.

        Dr. Krouse was allowed to give several extremely speculative and conjectural theories

regarding the cause of death of the victim Lisa Underwood, all of which were extremely prejudicial

to Petitioner:

        1) He opined that there was evidence of blunt force trauma caused by having a great force

applied to her. (23 RR 155-157.) However, the witness could not say what type of force caused

these injuries. (23 RR 158.) As for the compression force required, it had to be sufficient to

asphyxiate someone (five to seven minutes of 100 to 300 or 400 pounds of force) which would have

caused the type of soft tissue injury, and not bony trauma, seen by the witness. (23 RR 158-159.)

        2) He opined that the facial injuries could have been from a moderate blow (23 RR 159) and

were consistent with blunt force injury. (23 RR 160.)

        3) He opined that the patterned injuries were probably due to pressure or pressure with a

blow component to it (23 RR 160) and that force was applied over a very broad area of the victim’s

back. (23 RR 160-161.) The broken bone in her forearm indicates that force was applied from



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above, a shearing force. (23 RR 169-172.)

        4) He opined that it would have required several minutes to cause her death, from two to

three minutes to seven or eight. (23 RR 163.)

        5) He opined that because the body had been secreted and concealed, this increased the

chances it was a homicide. (23 RR 165.) The doctor was quite confident that it was a homicide.

(23 RR 166.)

        6) He was allowed to speculate that the bruises on the victim’s back could have been caused

by someone sitting on her. (23 RR 174-175.) The doctor was allowed to answer the speculative and

leading question, “is there anything that is inconsistent with Lisa Underwood being beaten followed

by or contemporaneous with her face being forced to the floor while her assailant sat or kneeled on

her back?” (23 RR 180.)

        7) The doctor was also allowed to speculate that “[t]he allegation here is that Lisa’s death

was caused by smothering her with the weight of a body or with an object that is unknown or by a

combination of the two.” (23 RR 183.) It could take up to seven minutes for death to occur. (23

RR 184.) But someone could lose consciousness within seven or eight seconds. (23 RR 184.)

        8) He opined that she was certainly in a fight of some sort as she had a black eye and other

bruises. (23 RR 191.) “The other injuries tell me that this happened in the context of an altercation,

of a fight, basically.” (23 RR 195.) There were bruises on the victim’s hands. (23 RR 197.)

        9) He also speculated that the victim may have stopped breathing and started again. (23 RR

199.)

        However, Dr. Krouse has recently admitted on August 24, 2010 that he is not a state

employee as he stated at Mr. Barbee’s trial. In the case of State v. Gower, No. F-2009-2949-D



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(Denton County)(Exhibit 47), Dr. Krause admitted that he is actually employed by the Chief

Medical Examiner, Dr. Peerwani, through his corporation. Id. at 5. He also admitted that he is not

an employee of Tarrant County. Id. He denied that Dr. Peerwani’s charter had been revoked. Id. at

6.

        ii. Dr. White

        Dr. Lloyd White, a deputy Tarrant County Medical Examiner, testified that he performed

the autopsy on Jayden Underwood on February 23, 2005. (24 RR 155.) He too was allowed to

testify as to many speculative conjectures regarding the method of Jayden’s death.

        1)   Dr. White testified that “petechiae” are “little pinpoint hemorrhages” sometimes seen

“around the face and sometimes on the internal organs in association with asphyxial death, such as

strangulation where the neck is constricted.” (24 RR 156-157.)

        2) The witness speculated that the bruises of the membranes “could” have been the source

of blood fluid in the mouth. (24 RR 157.) The injuries to the lips and gums are caused by

compression, “some object put over the area of the mouth pressing on the mouth and compressing

the lips against the underlying teeth.” (24 RR 158.)

        3) He speculated that the scrapes and scratches appeared to be antemortem, caused before

death. (24 RR 159.)

        4) In Dr. White’s opinion, the cause of death was “asphyxia by smothering...obstruction or

occulation of the airway externally by something being put over the face and the mouth so that

adequate oxygen and air is not supplied to the organs and tissues of the body.” (24 RR 160.) He also

speculated that something hit the victim in the head, causing a hemorrhage, before he died. (24 RR

163.)



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        B. Argument.

        As defence counsel stated in the recent Gower case, “[h]e [Dr. Krause] is not certified by the

state. He’s not a county official and, therefore, his contract is void and null with the counties and

this district and, therefore, he should not be allowed to testify in this case as to the autopsy...” Id.

at 7.

        Texas Code of Criminal Procedure art. 49.25, sec. 2 states: “Commissioners court shall

appoint the medical examiner, who shall serve at the pleasure of the commissioners court.”

        Section 4, Salaries, states “The commissioners court shall establish and pay the salaries and

compensations of the medical examiner and his staff.” Id. at 8. The medical examiner’s office is

a public office. Garcia v. State, 868 S.W.2d 337 (Tex. Crim. App. 1993). Therefore, Dr. Krause was

not operating properly as a medical examiner and he should not have been allowed to testify in this

case. The credentials of Dr. White may also currently be under investigation, to the best of

undersigned counsel’s knowledge.

        Petitioner has not been able to fully develop the prejudice component of this claim, or to

show that the testimony of Dr. Krause and Dr. White was flawed, as all funding for the requested

medical examiner, Dr. Glenn Larkin, was denied by this Court. Petitioner respectfully presents this

claim in order to present it in its current unfinished state to preserve it for future developments, as

there is currently ongoing litigation regarding this matter in various cases throughout Texas.

        C. What the state courts held.

        This claim was brought in Mr. Barbee’s subsequent state habeas application as Claim 20, and

was dismissed “as an abuse of the writ” because those allegations “do not satisfy the requirements

of Article 11.071 Section 5.” Ex parte Stephen Dale Barbee, No. WR-71,070-02, at 2. (Tex. Crim.

App. May 8, 2013)(Exhibit 52.) Hence, it was not denied on the merits but only on procedural

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grounds, and the 2254(d) standard of review does not apply. Cone v. Bell, 129 S. Ct. 1769, 1784

(2009)(“Because the Tennessee courts did not reach the merits of Cone’s Brady claim [and instead

rejected claim on procedural default grounds], federal habeas review is not subject to the deferential

standard that applies under AEDPA...Instead the claim is reviewed de novo”); Graves v. Dretke, 442

F.3d 334, 339 (5th Cir.), cert. denied, 549 U.S. 943 (2006)(section 2254(d) is inapplicable because

petitioner’s “claims were dismissed by the Texas courts as abuses of the writ, i.e., on procedural

grounds,” and thus “were not adjudicated on the merits in Stare court”).




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CLAIM TWENTY-ONE: THE CUMULATIVE EFFECT OF THE ERRORS AT MR.
BARBEE’S TRIAL DENIED HIM OF DUE PROCESS UNDER THE FOURTEENTH
AMENDMENT.188

        A. Argument.

        In his presentation of the above claims, Petitioner has shown how each individually merits

relief as a denial of his constitutional rights or a violation of federal law. However, there are

situations in which a petitioner alleges several constitutional errors or violations of federal law, each

of which is found harmless by the court, or none of which is found to be a constitutional violation,

but which, in the aggregate, deny the petitioner a fair trial. Hence, this claim is presented in the

alternative to the analysis of Mr. Barbee’s other claims contained in this writ, not as a comment

on their individual merits.

        In Taylor v. Kentucky, 436 U.S. 478 (1978), the Supreme Court accepted the notion that

several errors, none of which individually rise to constitutional dimensions, may have the

cumulative effect of denying a defendant a fair trial. In Taylor, the Court did not assess each error

to determine whether it was individually harmless. Nor did the Court concern itself only with errors

which individually were of constitutional dimension. Instead, the Court evaluated the circumstances

surrounding the defendant’s trial to determine that the state had denied the defendant fundamental

fairness as guaranteed by the Due Process Clause of the Fourteenth Amendment. As the Fifth

Circuit has held, a trial is fundamentally unfair if “there is a reasonable probability that the verdict

might have been different had the trial been properly conducted.” Kirkpatrick v. Blackburn, 777

F.2d 272, 278-79 (5th Cir. 1985), cert. denied, 476 U.S. 1178 (1986).



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           This claim is argued in the alternative to the above claims, each of which merits relief
individually.


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       The Fifth Circuit, in Derden v. McNeel, 978 F.2d 1453 (5th Cir. 1992)(en banc), cert. denied,

113 S. Ct. 2928 (1993), recognized that, “[w]ith one exception, however, our sister circuits have

held in dicta that federal habeas relief may issue if a defendant was denied fourteenth amendment

due process by the cumulative effect of errors committed in a state trial, which together deny

fundamental fairness.” Id., at 1456. Adopting a “particularly cautious approach to granting habeas

relief for cumulative errors”, the Derden court articulated a four-prong test delineating the types of

errors the court will consider:

       First, any cumulative error theory must refer only to errors committed in the state trial court.
       A habeas petitioner may not just complain of unfavorable rulings or events in the effort to
       cumulate errors...
       Second, the error complained of must not have been procedurally barred from habeas corpus
       review...Beyond the notion of procedural bar, it is important that a defendant objected to
       errors to demonstrate that they were believed at the time of trial to have had an adverse
       effect on the defense...
       Third, errors of state law, including evidentiary errors, are not cognizable in [federal] habeas
       corpus as such... Errors of state law rise to constitutional dimension only if they “so infused
       the trial with unfairness as to deny due process of law...
       Fourth, the federal court must review the record as a whole to determine whether the errors
       more likely than not caused a suspect verdict.
       Derden, at 1457-58.

       The Fifth Circuit’s approach in Derden imposed three limitations that are not part of

cumulative error analysis in federal criminal cases or in direct appeal cases. Once federal courts

recognize the concept of cumulative error analysis, as they have overwhelmingly done, the next

question is whether courts should apply a different analysis depending on whether the claim is raised

in a direct appeal or in a habeas corpus petition.

       In Derden, the Fifth Circuit justified the more limited standard for cumulative error on

habeas review for several reasons. First, “[t]he standard for reversal on direct appeal of a criminal

conviction...should logically be more flexible than that available on collateral review.” Id. at 1457.



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But the opinion, by Judge Jones, failed to explain why this should “logically” be so. Rather, the

Court pointed to Supreme Court opinions that limited the application of the Due Process Clause,

and that “the category of infractions that violate ‘fundamental fairness’ [has been defined] very

narrowly.” Id., quoting Dowling v. United States, 493 U.S. 342, 352 (1990). Therefore, courts must

exercise caution, the Derden court held, in holding that an error which does not amount to a

constitutional error “by itself might suddenly, when aggregated with other non-constitutional errors,

become worthy of habeas relief.” Id.

       However, the Supreme Court has not imposed a different standard for fundamental fairness

in habeas corpus cases. The Court has never developed or implemented different standards for other

constitutional rights when a habeas petitioner has alleged a violation. An allegation that a defendant

has been deprived of a fair trial is a constitutional claim. Cumulative error analysis usually centers

on the fairness of the trial, and thus constitutes a claim that the petitioner has been denied due

process under the Fourteenth Amendment. The Fifth Circuit’s four-pronged test is therefore too

restrictive because it eliminates errors which, although individually are “non-constitutional”,

excludes the possibility that several individually non-constitutional errors might operate in the

aggregate to deprive a defendant of a fair trial. In Taylor v. Kentucky, 436 U.S. 478 (1978) the

Supreme Court held that several non-constitutional errors cumulatively deprived the defendant of

a fair trial. Id. at 487-88. A similar approach should be taken to an analysis of Mr. Barbee’s claim

of cumulative error.

       B. What the state courts held.

       This claim was first brought in Mr. Barbee’s subsequent state habeas application as Claim

21, and was dismissed “as an abuse of the writ” because those allegations “do not satisfy the



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requirements of Article 11.071 Section 5.” Ex parte Stephen Dale Barbee, No. WR-71,070-02, at

2. (Tex. Crim. App. May 8, 2013)(Exhibit 52.) Hence, it was not denied on the merits but only on

procedural grounds, and the 2254(d) standard of review does not apply. Cone v. Bell, 129 S. Ct.

1769, 1784 (2009)(“Because the Tennessee courts did not reach the merits of Cone’s Brady claim

[and instead rejected claim on procedural default grounds], federal habeas review is not subject to

the deferential standard that applies under AEDPA...Instead the claim is reviewed de novo”); Graves

v. Dretke, 442 F.3d 334, 339 (5th Cir.), cert. denied, 549 U.S. 943 (2006)(section 2254(d) is

inapplicable because petitioner’s “claims were dismissed by the Texas courts as abuses of the writ,

i.e., on procedural grounds,” and thus “were not adjudicated on the merits in Stare court”).




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                                                VIII.

                         CONCLUSION AND PRAYER FOR RELIEF

WHEREFORE, Mr. Barbee prays that this Honorable Court:

        A. Issue a writ of habeas corpus to have him brought before it, to the end that he may be

discharged from his unconstitutional confinement and restraint and/or be relieved of his

unconstitutional sentence of death;

        B. Conduct a hearing at which evidence and argument may be offered concerning the

allegations of his petition;

        C. Grant him the authority to obtain subpoenas in forma pauperis for witnesses and

discovery of documents, and grant him the authority to take depositions and obtain other information

necessary to prove the facts as alleged in his petition;

        D. Grant him an evidentiary hearing at which he may be allowed to present evidence on

these claims, and allow him a reasonable period of time subsequent to any hearing this Court

determines to conduct, in which to brief the issues of law raised by this petition or such hearing;

        E. Enter Findings of Fact and Conclusions of Law recommending that his conviction and

sentence of death be vacated and that his case be remanded for a new trial and sentencing hearing,

and

        F. Grant such other relief as may be necessary and appropriate

                                      Respectfully submitted,

                                          /s/ A. Richard Ellis
                                       _______________________
                                           A. Richard Ellis
                                           Attorney at Law
                                           Texas Bar No. 06560400
                                           75 Magee Avenue
                                           Mill Valley, CA 94941

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                                            Attorney for Petitioner

Dated: October 2, 2013.




                                         VERIFICATION

        I, A. Richard Ellis, am the attorney for Stephen Barbee, the petitioner in the foregoing

Petition for Writ of Habeas Corpus. I have read the petition and am familiar with its contents. On

behalf of Stephen Barbee and upon information and belief, I hereby verify, under penalty of perjury,

that the factual matters stated in the petition are true and correct.



DATED: October 2, 2013.



                                         /s/ A. Richard Ellis
                                        _________________________________
                                        A. RICHARD ELLIS
                                        Attorney for Petitioner




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                                 CERTIFICATE OF SERVICE

       I, A. Richard Ellis, counsel of record for Petitioner, hereby certify that a true and correct

copy of this First Amended Petition For Writ of Habeas Corpus and the accompanying Exhibits in

Support was served on counsel of record for Respondent via the Court’s automatic electronic service

this 2nd of October, 2013, to:


      Mr. Thomas Jones
      Assistant Attorney General
      Capital Litigation Division
      Office of the Texas Attorney General
      P.O. Box 12548, Capitol Station
      Austin, Texas 78711-2548

       As specified in the district court rules, the Court’s hard copy of the Petition and Exhibits was

also sent via 1st Class mail to the following on October 2, 2013:


        Hon. Terry Means
       U. S. District Court, Northern District of Texas
       1100 Commerce Street
       Dallas, TX 75242


                                                /s/ A. Richard Ellis
                                               _________________________
                                               A. RICHARD ELLIS
                                               Counsel for Petitioner




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